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                      Exhibit A
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                                                                          Deg Building, Slide 230
                                                                    4725 Peachtree Cornets Circle,
                                                                   Peachtree Canters, GA 30092
  IPinvestments                                                           Main: (404) 962-8740
                       Group                                               Fax: (404) 962-8741
                                                                                 imumOiglp.com




                                      February 21, 2020


  VIA EMAIL / FEDEX

  Ms. Rebecca Baneman
  VP, Litigation
  Altice USA, Inc.
  1111 Stewart Avenue
  Bethpage, NY 11714

  RE:    COMMWORKS SOLUTIONS, LLC ("COMMWORKS") - PATENT PORTFOLIO
         LICENSING PROGRAM

  Dear Ms. Baneman:

          IPinvestments Group has been retained to manage the monetization of an
  international patent portfolio owned by CommWorks Solutions, LLC (the "Portfolio).
  The Portfolio covers various aspects of telecommunication networks and services,
  including fiberoptic networks, wireless networks and equipment, mobile networks and
  devices, telephone networks, voice calling, voicemail, and services provided via the
  above described networks and equipment. A summary of the Portfolio is detailed below:

                 • Over 150 active issued patent assets (plus an additional 12 recently
                   expired patent assets)
                      o 125+ active issued US assets
                      o 20+ active foreign counterparts
                 • Over 3,500 patent claims
                      o Method Claims — 1,500+
                      o Apparatus / System Claims — 2,000+
                 • Over 4,300 forward references

  The Portfolio is included in the attached Exhibit A.

          While IPinvestments Group is serving as the licensing agent for the CommWorks
  Portfolio, CommWorks has retained the law firm of Kheyfits Belenky LLP to serve as
  outside litigation / licensing counsel. Our purpose in writing to Altice USA ("Altice") is
  to acquaint you with the CommWorks Portfolio and to open a dialogue for Altice to
  obtain a license under the CommWorks Portfolio prior to any potential enforcement
  action being initiated. To facilitate licensing discussions, we have attached a mutual NDA
  for your review and consideration. CommWorks is prepared to grant Altice coverage
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  •   e.
           Ms. Rebecca Baneman
      '•   February 21, 2020
           Page 2



   under the Portfolio for past and future use to allow you to continue providing and using
   the technologies. Once the NDA is in place and fully executed, we can provide
   additional information on potential licensing terms and conditions for the Portfolio.

           Over the past few years, we have had the opportunity to represent both small and
   large companies in their efforts to license their patent portfolios. All too often, it seems,
   initial licensing efforts are ignored and the burden, time and expense of needless
   prolonged litigation results. In that spirit, CommWorks believes that early licensing
   discussions could serve to benefit both parties and would be willing to offer more
   favorable terms to those that entertain such discussions.

          If you would like to participate in discussions regarding a license to the Portfolio
   or if you have any questions, please contact me at (404) 962-8743 or via email at
   rstrongeipipp.com. The CommWorks licensing team looks forward to hearing from
   you and working with you to resolve this matter.

                                         Sincerely,




                                         Rya      Strong


   cc: Dmitry Kheyfits, Esq., Kheyfits Belenky, LLP

   Enclosures
                                                               CommWorks Solutions - Exhibit A




     Patent Number       Application Number                                    Title                                    Country   Application Date       Grant Date


Active Issued Patents:

                                              SYSTEM AND METHOD FOR NOTIFICATION OF 911 TELEPHONE CALLS
         6427001             09/874998        USING LINK MONITORING SYSTEM                                                US         6/7/2001            7/30/2002


         6433742             09/693465        DIVERSITY ANTENNA STRUCTURE FOR WIRELESS COMMUNICATIONS                     US        10/19/2000           8/13/2002

         6438367             09/710614        TRANSMISSION SECURITY FOR WIRELESS COMMUNICATIONS                           US         11/9/2000           8/20/2002
         6456242             09/799411        CONFORMAL BOX ANTENNA                                                       US         3/5/2001            9/24/2002
                                              CARD-BASED DIVERSITY ANTENNA STRUCTURE FOR WIRELESS
         6456245             09/735977        COMMUNICATIONS                                                              US        12/13/2000           9/24/2002
         6456764             09/668372        Optical directional coupler                                                 US         9/25/2000           9/24/2002
         6483634             09/662904        Optical amplifier                                                           US         9/15/2000           11/19/2002
         6487406             09/545619        PCS-to-mobile IP internetworking                                            US         4/10/2000           11/26/2002
         6490067             09/860078        MULTI-CHANNEL OPTICAL TRANSCEIVER                                           US         5/16/2001           12/3/2002
         6490259             09/512514        Active link layer and intra-domain mobility for IP networks                 US         2/24/2000           12/3/2002
                                              NETWORK AND METHOD FOR PROVIDING AN AUTOMATIC RECALL
                                              TELECOMMUNICATIONS SERVICE WITH AUTOMATIC SPEECH
         6505163             09/634794        RECOGNITION CAPABILITY                                                      US         8/9/2000            1/7/2003
         6594356             10/014918        Initiating a controlling service                                            US        12/14/2001           7/15/2003
         6621854             08/003996        SPREAD-SPECTRUM ELECTROMAGNETIC SIGNALS                                     US         1/15/1993           9/16/2003
         6628943             09/512645        Mobility management utilizing active address propagation                    US         2/24/2000           9/30/2003
                                              TRACKING OF MOBILE TERMINAL EQUIPMENT IN A MOBILE
         6636742             09/599201        COMMUNICATIONS SYSTEM                                                       US         6/22/2000       l   10/21/2003
                                              NON-BLOCKING, SCALABLE OPTICAL ROUTER ARCHITECTURE AND
         6665495             09/698666        METHOD FOR ROUTING OPTICAL TRAFFIC                                          US        10/27/2000           12/16/2003
                                              Processing of data message in a network element of a communications
         6724883             09/660133        network                                                                     US         9/12/2000           4/20/2004
                                              SYSTEMS AND METHODS FOR LEAST COST ROUTING OF LONG DISTANCE
         6748064             09/749994        OR INTERNATIONAL TELEPHONE CALLS                                            US        12/28/2000           6/8/2004
         6754323             10/025722        ESTABLISHING A CONFERENCE CALL FROM A CALL-LOG                              US        12/19/2001           6/22/2004
         6771971             09/764696        SUBSCRIBER INFORMATION SERVICE CENTER (SISC)                                US        1/18/2001            8/3/2004
         6775253             09/512644        Adaptive signaling for wireless packet telephony                            US        2/24/2000            8/10/2004
                                              Apparatus, and associated method, for routing packet data in an ad hoc,
         6775258             09/527786        wireless communication system                                               US         3/17/2000           8/10/2004
         6785534             09/832011        PREPAID/POSTPAID AUTOMATIC CHANGE OF PAYMENT OPTION                         US         4/11/2001           8/31/2004
                                                                                                                                                                      Case 1:21-cv-01323-CFC Document 1-1 Filed 09/17/21 Page 4 of 440 PageID #: 53
                                                      CommWorks Solutions - Exhibit A




Patent Number   Application Number                                       Title                                  Country   Application Date   Grant Date
  6788660           09/512646          Adaptive mobile signaling for wireless Internet telephony                  US         2/24/2000        9/7/2004
  6792094           09/863477        ! INTELLIGENT CALL CONNECTION SERVICE                                        US         5/23/2001       9/14/2004
                                       SYSTEM AND METHOD FOR CUSTOMIZED TELEPHONE GREETING
   6795530          09/606062        ,ANNOUNCEMENTS                                                               US         6/29/2000        9/21/2004
   6804713          09/549687         Operational supervisory system for a server                                 US         4/14/2000       10/12/2004
                                      GLOBALLY ACCESSIBLE COMPUTER NETWORK-BASED BROADBAND
                                      COMMUNICATION SYSTEM WITH USER-CONTROLLABLE QUALITY OF
   6832249          09/860801        INFORMATION DELIVERY AND FLOW PRIORITY                                       US         5/18/2001       12/14/2004
   6836466          09/579371        Method and system for measuring IP performance metrics                       US        5/26/2000        12/28/2004
   6857007          09/723349        Personal digital assistant facilitated communication system                  US        11/27/2000       2/15/2005
   6859529          10/082386        Method and system for self-service scheduling of inbound inquiries           US         2/25/2002       2/22/2005
   6865237          09/676373        Method and system for digital signal transmission                            US         9/29/2000       3/8/2005
   6866587          09/669479        WIDE AREA REAL-TIME SOFTWARE ENVIRONMENT                                     US         9/25/2000       3/15/2005
   6868268          09/896835        AUDIO CALLING NAME AND NUMBER DELIVERY                                       US         6/29/2001       3/15/2005
   6891807          10/341847        Time based wireless access provisioning                                      US         1/13/2003       5/10/2005
   6901437          09/684047        Mobile cache for dynamically composing user-specific information             US         10/6/2000       5/31/2005
                                     MOBILE NETWORK SYSTEM AND SERVICE CONTROL INFORMATION
   6917605          09/770019        CHANGING METHOD                                                              US         1/25/2001       7/12/2005
                                     PACKET PRIORITIZATION PROTOCOL FOR A LARGE-SCALE, HIGH SPEED
   6931003          09/753743        COMPUTER NETWORK                                                             US        12/27/2000        8/16/2005
   6956941          09/547627        METHOD AND SYSTEM FOR SCHEDULING INBOUND INQUIRIES                           US        4/12/2000        10/18/2005
                                     SYSTEM FOR REORDERING SEQUENCED BASED PACKETS IN A
   6967951          10/044244         SWITCHING NETWORK                                                           US         1/11/2002       11/22/2005
   6975855          09/958065         Method for managing mobile station facilities                               US         4/26/2000       12/13/2005
   6980089          09/924730         Non-intrusive coupling to shielded power cable                              US         8/8/2001        12/27/2005
                                      Device for transmitting data and control commands via radio
                                      connections in a distributed control system for one or more machines
   6985724          10/239763         and/or processes                                                            US         2/27/2001       1/10/2006


   7006579          10/023924         151-robust slot formats for non-orthogonal-based space-time block codes     US        12/18/2001       2/28/2006
   7027465          10/167986         A Method for contention free traffic detection                              US         6/11/2002       4/11/2006
                                      Client device identification when communicating through a network
   7051116          09/983042         address translator device                                                   US        10/22/2001        5/23/2006
                                      RFID system and method for ensuring safety of hazardous or dangerous
   7061379          10/301846         substances                                                                  US        11/21/2002        6/13/2006
   7062475          10/715218         PERSONALIZED MULTI-SERVICE COMPUTER ENVIRONMENT                             US        11/17/2003        6/13/2006


   7069483          10/437128         System and method for identifying nodes in a wireless mesh network           US        5/13/2003        6/27/2006
                                                                                                                                                          Case 1:21-cv-01323-CFC Document 1-1 Filed 09/17/21 Page 5 of 440 PageID #: 54
                                                     CommWorks Solutions - Exhibit A




Patent NUMber   Application Numbe                                    Title                                   Country   Application Date   Grant Date
   7079823          09/980027       BAND-PASS FILTER WITH CARRIER FREQUENCY REDUCTION                          US         5/26/2000       7/18/2006
   7092986          10/067278       Transparent Mobile IPV6 Agent                                              US          2/7/2002        8/15/2006
   7106697          10/114925       METHOD FOR DYNAMICALLY COMPUTING A SWITCHING SCHEDULE                      US         4/3/2002         9/12/2006
   7124435          10/040933       Information management system and method                                   US        10/23/2001       10/17/2006
   7145867          10/114564       SYSTEM AND METHOD FOR SLOT DEFLECTION ROUTING                              US         4/2/2002        12/5/2006
   7177285          10/961959       lime based wireless access provisioning                                    US        10/8/2004         2/13/2007
   7184444          10/138760       SYSTEM AND METHOD FOR PACKET CLASSIFICATION                                US         5/3/2002         2/27/2007
                                    NON-BLOCKING ALL-OPTICAL SWITCHING NETWORK DYNAMIC DATA
   7190900          10/063301       SCHEDULING SYSTEM AND IMPLEMENTATION METHOD                                US         4/9/2002        3/13/2007
                                    Method and system for remote utilizing a mobile device to share data
   7206806          09/870536       objects                                                                    US         5/30/2001       4/17/2007
                                    Method and apparatus for a network independent short message
   7209950          09/921167        delivery system                                                           US         8/2/2001        4/24/2007
   7218637          10/114928       System For Switching Data Using Dynamic Scheduling                         US         4/3/2002        5/15/2007
   7224642          11/340733       Wireless sensor data processing systems                                    US         1/26/2006       5/29/2007
   7245201          10/947929       Power line coupling device and method of using the same                    US         9/23/2004       7/17/2007
   7248148          11/265230       Power line coupling device and method of using the same                    US         11/3/2005       7/24/2007
                                    Managed information transmission of electronic items in a network
   7254709          10/699632       environment                                                                US         11/1/2003        8/7/2007
                                    Method and arrangement for digital signal transmission using layered
   7355961          11/070624       space-time codes                                                           US         3/2/2005        4/8/2008
   7363030          10/852528        ESTABLISHING A CONFERENCE CALL FROM A CALL-LOG                            US         5/24/2004       4/22/2008
                                     METHOD AND APPARATUS FOR IMPROVING BANDWIDTH EFFICIENCY IN
   7412514          09/932431       A COMPUTER NETWORK                                                         US         8/17/2001       8/12/2008

   7443790          11/368867       System and method for slot deflection routing at optical router/switch     US         3/6/2006        10/28/2008
   7451365          11/425114       System and Method for Identifying Nodes in a Wireless Network              US         6/19/2006       11/11/2008
   7460609          10/739017       Transmission method using complex channel symbols                          US        12/19/2003        12/2/2008
   7463596          11/673513       TIME BASED WIRELESS ACCESS PROVISIONING                                    US         2/9/2007         12/9/2008
                                    NON-BLOCKING ALL-OPTICAL SWITCHING NETWORK DYNAMIC DATA
   7474853          11/299889       SCHEDULING SYSTEM AND IMPLEMENTATION METHOD                                US        12/12/2005        1/6/2009
                                    Client device identification when communicating through a network
   7484005          11/351116       address translator device                                                  US         2/10/2006       1/27/2009
   7496033          11/453755       Method for dynamically computing a switching schedule                      US         6/15/2006       2/24/2009

   7526203          10/659485       Apparatus and method for optical switching at an optical switch fabric     US         9/10/2003       4/28/2009
   7555273          11/330275       BANDPASS FILTER WITH CARRIER FREQUENCY REDUCTION                           US         1/11/2006       6/30/2009
   7564863          11/504144       FREQUENCY OFFSET DIFFERENTIAL PULSE POSITION MODULATION                    US         8/14/2006       7/21/2009
                                                                                                                                                       Case 1:21-cv-01323-CFC Document 1-1 Filed 09/17/21 Page 6 of 440 PageID #: 55
                                                      CommWorks Solutions - Exhibit A




Patent Number   Application Number                                    Title                              Country   Application Date   Grant Date
  7596533           11/467888         PERSONALIZED MULTI-SERVICE COMPUTER ENVIRONMENT                      US         8/28/2006       9/29/2009
  7609712           11/504967         FREQUENCY OFFSET DIFFERENTIAL PULSE POSITION MODULATION              US         8/15/2006       10/27/2009
                                      SYSTEM AND METHOD FOR IMPLEMENTING DYNAMIC SCHEDULING OF
   7715712          12/185198         DATA IN A NON-BLOCKING ALL-OPTICAL SWITCHING NETWORK                 US         8/4/2008        5/11/2010
                                     (METHOD AND APPARATUS FOR IMPROVING BANDWIDTH EFFICIENCY IN
   7734807          12/189417         A COMPUTER NETWORK                                                   US         8/11/2008        6/8/2010
   7760664          11/101136         Determining and provisioning paths in a network                      US         4/7/2005        7/20/2010
                                     Client device identification when communicating through a network
   7814230          12/337854        address translator device                                             US        12/18/2008       10/12/2010
                                     PRIORITIZING DATA TRANSMISSIONS USING THE NUMBER OF
   7835350          11/180764        ASSOCIATED ORIGIN ADDRESSES                                           US         7/13/2005       11/16/2010
                                     System and Method for Transparent Wireless Bridging of
   7835372          11/421998        Communication Channel Segments                                        US         6/2/2006        11/16/2010
                                     APPARATUS AND METHOD FOR CONNECTING HARDWARE TO A CIRCUIT
   7835897          11/557064        SIMULATION                                                            US        11/6/2006        11/16/2010
   7852796          11/420668        DISTRIBUTED MULTICHANNEL WIRELESS COMMUNICATION                       US        5/26/2006        12/14/2010
   7856011          11/237482        Reordering packets                                                    US        9/27/2005        12/21/2010
   7869427          11/796682        System For Switching Data Using Dynamic Scheduling                    US         4/27/2007       1/11/2011
   7911979          12/323399        TIME BASED ACCESS PROVISIONING SYSTEM AND PROCESS                     US        11/25/2008        3/22/2011
   7937081          12/720862        RECOVERY TECHNIQUES IN MOBILE NETWORKS                                US        3/10/2010         5/3/2011
   7941149          11/615582        Multi-Hop Ultra Wide Band Wireless Network Communication              US        12/22/2006       5/10/2011
                                     SCALABLE MEDIA ACCESS CONTROL FOR MULTI-HOP HIGH BANDWIDTH
   7957356          11/462663        COMMUNICATIONS                                                        US         8/4/2006         6/7/2011
   8031800          10/450997        Transmitting digital signal                                           US        12/19/2001       10/4/2011
   8107377          12/759221        Reordering packets                                                    US        4/13/2010        1/31/2012
   8116315          11/471149        SYSTEM AND METHOD FOR PACKET CLASSIFICATION                           US         6/20/2006       2/14/2012
                                     METHOD AND APPARATUS FOR PROVIDING AUDIO ADVERTISEMENTS
   8117068          12/464782        IN A COMPUTER NETWORK                                                 US         5/12/2009       2/14/2012
                                     System and method for connecting a logic circuit simulation to a
   8160863          10/044217        network                                                               US        11/19/2001       4/17/2012
                                     SYSTEMS AND METHODS FOR DETERMINING LOCATION OF DEVICES
   8175613          11/741630        WITHIN A WIRELESS NETWORK                                             US         4/27/2007        5/8/2012
   8195442          12/946721        Use of hardware peripheral devices with software simulations          US        11/15/2010        6/5/2012
   8200211          13/097709        RECOVERY TECHNIQUES IN MOBILE NETWORKS                                US         4/29/2011       6/12/2012
   8224909          12/369785        Personal digital assistant facilitated communication system           US         2/12/2009       7/17/2012
   8351924          13/484583        RECOVERY TECHNIQUES IN MOBILE NETWORKS                                US         5/31/2012        1/8/2013
                                     CONVEYING DATA FROM A HARDWARE DEVICE TO A CIRCUIT
   8380481          13/487750        SIMULATION                                                            US         6/4/2012        2/19/2013
                                                                                                                                                   Case 1:21-cv-01323-CFC Document 1-1 Filed 09/17/21 Page 7 of 440 PageID #: 56
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Patent Num er   I   App 'cation 1 um.er   I                                      it e                                ountry       • pp 'cation ate    ran   a e
                                              Responding to quality of service events in a multi-layered
   8423630              10/978953             communication system                                                    US            11/1/2004        4/16/2013


   8533278              13/490403             Mobile computing device based communication systems and methods         US             6/6/2012        9/10/2013
   8600372              13/682230             RECOVERY TECHNIQUES IN MOBILE NETWORKS                                  US            11/20/2012       12/3/2013
                                              SCALABLE MEDIA ACCESS CONTROL FOR MULTI-HOP HIGH BANDWIDTH
   8611320              12/950558             COMMUNICATIONS                                                          US            11/19/2010       12/17/2013
                                              METHOD AND APPARATUS FOR IMPROVING BANDWIDTH EFFICIENCY IN
   8671216              12/795597             A COMPUTER NETWORK                                                      US             6/7/2010        3/11/2014
   8719326              11/188095             Adaptive data transformation engine                                     US            7/22/2005         5/6/2014
                                              SYSTEMS AND METHODS FOR VOICE AND VIDEO COMMUNICATION
   8780770              11/741637             OVER A WIRELESS NETWORK                                                 US            4/27/2007        7/15/2014
                                              GLOBALLY ACCESSIBLE COMPUTER NETWORK-BASED BROADBAND
                                              COMMUNICATION SYSTEM WITH USER-CONTROLLABLE QUALITY OF
   8812665              13/781130             INFORMATION DELIVERY AND FLOW PRIORITY                                  US             2/28/2013       8/19/2014
   8913618              13/337717             Reordering packets                                                      US            12/27/2011       12/16/2014
   8923846              14/058473             RECOVERY TECHNIQUES IN MOBILE NETWORKS                                  US            10/21/2013       12/30/2014
   9230039              14/223936             Adaptive data transformation engine                                     US      ,      3/24/2014        1/5/2016
   9432842              14/549714             RECOVERY TECHNIQUES IN MOBILE NETWORKS                                  US            11/21/2014       8/30/2016
                                              SCALABLE MEDIA ACCESS CONTROL FOR MULTI-HOP HIGH BANDWIDTH
   9554304              14/090760             COMMUNICATIONS                                                          US            11/26/2013       1/24/2017
   9648122              11/133755             Mobile cache for dynamically composing user-specific information        US            5/19/2005         5/9/2017
   9918222              15/226422             RECOVERY TECHNIQUES IN MOBILE NETWORKS                                  US             8/2/2016        3/13/2018
                                              SCALABLE MEDIA ACCESS CONTROL FOR MULTI-HOP HIGH BANDWIDTH
   9930575              15/409896             COMMUNICATIONS                                                          US             1/19/2017       3/27/2018
  10051077              15/486546             Mobile cache for dynamically composing user-specific information        US             4/13/2017       8/14/2018
                                              SYSTEM AND METHOD FOR CUSTOMIZED TELEPHONE GREETING
   RE42122              11/971456             ANNOUNCEMENTS                                                           US             1/9/2008         2/8/2011


   RE42227              12/481943             Apparatus and method for connecting hardware to a circuit simulation    US             6/10/2009       3/15/2011    .
   RE42232              11/376700             RF CHIPSET ARCHITECTURE                                                 US             3/15/2006       3/22/2011
                                              NETWORK AND METHOD FOR PROVIDING A CALLING NAME
                                              TELECOMMUNICATIONS SERVICE WITH AUTOMATIC SPEECH
   RE42539              11/727638             RECOGNITION CAPABILITY                                                  US             3/27/2007       7/12/2011
   RE42883              12/001975             Enhanced Phone-Based Collaboration                                      US            12/13/2007       11/1/2011
                                              Determining and provisioning paths within a network of communication
   RE43704              12/608732             elements                                                                US            10/29/2009       10/2/2012
                                                                                                                                                                      Case 1:21-cv-01323-CFC Document 1-1 Filed 09/17/21 Page 8 of 440 PageID #: 57
                                                            CommWorks Solutions - Exhibit A




 Patent Number     Application Number   l                                    Title                                  Country       Application Date   Grant Date
                                            Method and radio system for digital signal transmission using complex
    RE43746            13/166702            space-time codes                                                          US             6/22/2011       10/16/2012
    RE44904            13/171882            A METHOD FOR CONTENTION FREE TRAFFIC DETECTION                            US             6/29/2011       5/20/2014
  CA2310783            CA2310783            PCS-to-mobile IP internetworking                                          CA             6/6/2000         2/3/2004
  CA2581734            CA2581734            Determining and provisioning paths in a network                           CA      l      9/28/2005       8/28/2012
CNZL00808958.2       CN00808958.2           INITIATING A CONTROLLING SERVICE                                          CN             6/13/2000       11/10/2004
 DE60037651.6        DE60037651.6           OPTICAL ADD/DROP MULTIPLEXER                                              DE             2/4/2000         1/2/2008


                                            CALL SET-UP CONTROL IN AN INTELLIGENT NETWORK BY CONDITIONAL
  DE60042650.5       DE60042650.5           INITIATION OF MORE THAN ONE CONTROLLING SERVICE                           DE             6/13/2000       7/29/2009
                                            Mobile network system and service control information changing
  DE60121094.8       DE60121094.8           method                                                                    DE            1/31/2001        6/28/2006
  DE60123282.8       DE60123282.8           Transmitting digital signal                                               DE            12/19/2001       10/11/2007
DE602005053126.2   DE602005053126.2         Determining and provisioning paths in a network                           DE             9/28/2005       11/22/2017
  DE60244331.8       DE60244331.8           Transmission method                                                       DE             6/24/2002       1/2/2013
   ES1192811          E500942154.6          INITIATING A CONTROLLING SERVICE                                          ES             6/13/2000       7/29/2009
                                            Mobile network system and service control information changing
   FR1150530          FR01102111.0          method                                                                    FR             1/31/2001       6/28/2006
   FR1151567          FR00903718.5          OPTICAL ADD/DROP MULTIPLEXER                                              FR             2/4/2000        1/2/2008
   FR1405453          FR02743313.5          Transmission method                                                       FR             6/24/2002       1/2/2013
                                            Mobile network system and service control information changing
   GB1150530         GB01102111.0           method                                                                    GB             1/31/2001       6/28/2006
   GB1151567         GB00903718.5           OPTICAL ADD/DROP MULTIPLEXER                                              GB             2/4/2000         1/2/2008


                                            CALL SET-UP CONTROL IN AN INTELLIGENT NETWORK BY CONDITIONAL
   GB1192811          GB00942154.6          INITIATION OF MORE THAN ONE CONTROLLING SERVICE                           GB             6/13/2000       7/29/2009
   GB1350354          GB01273305.1          Transmitting digital signal                                               GB            12/19/2001       9/20/2006
   GB1405453          GB02743313.5          Transmission method                                                       GB             6/24/2002        1/2/2013
   GB1797670          GB05857725.5          Determining and provisioning paths in a network                           GB             9/28/2005       11/22/2017


                                            CALL SET-UP CONTROL IN AN INTELLIGENT NETWORK BY CONDITIONAL
    XX-XXXXXXX     IT502009901774577        INITIATION OF MORE THAN ONE CONTROLLING SERVICE                            IT            6/13/2000 .      7/29/2009
                                            MOBILE NETWORK SYSTEM AND SERVICE CONTROL INFORMATION
   JP4294829         JP2000-125968          REVISION METHOD                                                            JP            4/26/2000        4/17/2009
   JP4777990         JP2007-534687          Determining and provisioning paths in a network                            JP            9/28/2005        7/8/2011


   JP4874550          JP2004-572210         System and method for routing packets in a wired or wireless network       JP            10/31/2003       12/2/2011
   TWI183532          TW089110383           PCS-to-mobile IP internetworking                                          TW             5/29/2000        8/11/2003
                                                                                                                                                                  Case 1:21-cv-01323-CFC Document 1-1 Filed 09/17/21 Page 9 of 440 PageID #: 58
                                                                 CommWorks Solutions - Exhibit A




     Patent Number         Application Nurnber                                   Title                               Coun rye;,   Application Date   Grant Date



Recentv Expired Patents:
        6335821                09/501606         Optical fiber amplifier and a method for controlling the same         US            2/10/2000       1/1/2002
                                                 Method of managing a subscriber service by an intelligent network
        6341221                09/702495         service                                                               US           10/31/2000       1/22/2002
        6427037                09/497235         Two-stage optical switch circuit network                              US            2/3/2000        7/30/2002
        6678080                09/923845         OPTICAL ADD/DROP MULTIPLEXER                                          US            8/7/2001        1/13/2004
        6711122                09/500750         FREQUENCY OFFSET DIFFERENTIAL PULSE POSITION MODULATION               US            2/8/2000        3/23/2004
                                                 TELEPHONE VOICE MESSAGING SYSTEM AND METHOD USING OFF-
         6721415               09/506021         HOOK IMMEDIATE TRIGGER                                                US            2/17/2000       4/13/2004
                                                 SYSTEM AND METHOD FOR WIRELESS HOT-SYNCHRONIZATION OF A
         6721787               09/501204         PERSONAL DIGITAL ASSISTANT                                            US            2/10/2000       4/13/2004
                                                 RESTRICTING COMMUNICATION BETWEEN NETWORK DEVICES ON A
         6754716               09/502155         COMMON NETWORK                                                        US            2/11/2000       6/22/2004
                                                 TELEPHONE VOICE MESSAGING SYSTEM AND METHOD USING OFF-
         7023978               10/818817         HOOK IMMEDIATE TRIGGER                                                US            4/6/2004         4/4/2006
         7180850               10/762197         FREQUENCY OFFSET DIFFERENTIAL PULSE POSITION MODULATION               US           1/20/2004        2/20/2007
         7626918               11/504252         FREQUENCY OFFSET DIFFERENTIAL PULSE POSITION MODULATION               US            8/14/2006       12/1/2009
         RE43163               11/318396         HIGH-SPEED NETWORK OF INDEPENDENTLY LINKED NODES                      US           12/22/2005        2/7/2012
                                                                                                                                                                  Case 1:21-cv-01323-CFC Document 1-1 Filed 09/17/21 Page 10 of 440 PageID #: 59
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                              MUTUAL.NONDISCLOSURE AGREEMENT

       This MUTUAL NONDISCLOSURE AGREEMENT is made and entered into as of                                , 20
between CommWorks Solutions, LLC, a Georgia company, and                                                     ,a


          1. Purpose. The parties wish to explore a business opportunity of mutual interest, and in connection
with this opportunity, each party (the "disclosing party") may disclose to the other (the "receiving party")
certain confidential technical and business information which the disclosing party desires the receiving party
to treat as confidential.

         2. "Confidential Information" means any information disclosed by either party to the other party,
either directly or indirectly, in writing, orally or by inspection of tangible objects (including without
limitation documents, prototypes, samples, plant and equipment), which is designated as "Confidential,"
"Proprietary" or some similar designation at or prior to the time of disclosure. Confidential Information shall
include without limitation technical data, trade secrets and know-how, including, but not limited to, research,
product plans, products, services, suppliers, customer lists and customer information, prices and costs,
markets, software, developments, inventions, laboratory notebooks, processes, formulas, technology,
designs, drawings, engineering, hardware configuration information, marketing, licenses, finances, budgets
and other business information. Confidential Information may also include information disclosed to a
disclosing party by third parties. Confidential Information shall not, however, include any information which
(i) was publicly known and made generally available in the public domain prior to the time of disclosure by
the disclosing party; (ii) becomes publicly known and made generally available after disclosure by the
disclosing party to the receiving party through no action or inaction of the receiving party in violation of this
Agreement; (iii) is already in the possession of the receiving party at the time of disclosure by the disclosing
party as shown by the receiving party's files and records immediately prior to the time of disclosure; (iv) is
obtained by the receiving party from a third party without a breach of such third party's obligations of
confidentiality; or (v) is independently developed by the receiving party without use of or reference to the
disclosing party's Confidential Information, as shown by the receiving party's documents or other competent
evidence in the receiving party's possession.

         3. Non-use and Non-disclosure. Each party agrees not to use any Confidential Information of the
other party for any purpose except to evaluate and engage in discussions concerning a potential business
relationship between the parties. Each party agrees not to disclose any Confidential Information of the other
party to third parties or to such party's employees, except to those employees of the receiving party who are
required to have the information in order to evaluate or engage in discussions concerning the contemplated
business relationship or to agents of a party retained to participate in licensing discussions between the
parties.

         4. Maintenance of Confidentiality. Each party shall ensure that its employees who have access to
Confidential Information of the other party have signed a non-use and non-disclosure agreement in content
substantially similar to the provisions hereof, prior to any disclosure of Confidential Information to such
employees. Neither party shall make any copies of the Confidential Information of the other party unless the
same are previously approved in writing by the other party. Each party shall reproduce the other party's
proprietary rights notices on any such approved copies, in the same manner in which such notices were set
forth in or on the original. If any material non-public information is disclosed, the recipient of such
information agrees that it will comply with SEC Regulation FD (Fair Disclosure), and refrain from trading in
the disclosing party's stock until that material non-public information is publicly disseminated.
Notwithstanding anything to the contrary set forth herein, a receiving party shall be permitted to disclose
Confidential Information to the extent (and only to the extent) the receiving party is required by law or upon
advice of counsel to disclose such Confidential Information, provided that the receiving party gives the
disclosing party prompt written notice of such requirement and upon the request of the disclosing party, the
receiving party cooperates in good faith and at the expense of the disclosing party in any reasonable and
lawful actions which the disclosing party takes to resist such disclosure or limit the information to be
disclosed.
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       5. No Obligation. Nothing herein shall obligate either party to proceed with any transaction
between them, and each party reserves the right, in its sole discretion, to terminate the discussions
contemplated by this Agreement concerning the business opportunity.

     6. No Warranty. ALL CONFIDENTIAL INFORMATION IS PROVIDED "AS IS". EACH
PARTY MAKES NO WARRANTIES, EXPRESS, IMPLIED OR OTHERWISE, REGARDING ITS
ACCURACY, COMPLETENESS OR PERFORMANCE.

         7. Return of Materials. All documents and other tangible objects containing or representing
Confidential Information which have been disclosed by either party to the other party, and all copies thereof
which are in the possession of the other party, shall be and remain the property of the disclosing party and
shall be promptly returned to the disclosing party or destroyed upon the termination of this Agreement or the
disclosing party's written request. At the request of the disclosing party, the recipient will furnish a
certificate, signed by an officer of the recipient, certifying that any Confidential Information not returned to
the disclosing party has been destroyed.

         8. No License. Nothing in this Agreement is intended to grant any rights to either party under any
intellectual property rights of the other party, nor shall this Agreement grant any party any rights in or to the
Confidential Information of the other party except as expressly set forth herein.

         9. Term. The obligations of each receiving party hereunder shall survive for a period of five (5)
years from the date of disclosure. Notwithstanding the expiration of the term, the obligations of Section 3
shall continue forever and shall terminate only at such time, and then only to the extent, the disclosing
party's Confidential Information no longer constitutes Confidential Information.

         10. Remedies. Each party agrees that any violation or threatened violation of this Agreement may
cause irreparable injury to the other party, entitling the other party to seek injunctive relief in addition to all
legal remedies.

        11. Export. The parties acknowledge that the export of Confidential Information may be subject to
regulations which may prohibit the export of such information to certain foreign countries or the disclosure
of such information to certain foreign nationals. The parties, therefore, agree to comply strictly with all
applicable export laws, regulations, executive orders and the like.

         12. Miscellaneous. This Agreement shall bind and inure to the benefit of the parties hereto and their
successors and assigns. This Agreement shall be governed by the laws of the State of Georgia, without
reference to conflict of laws principles. This document contains the entire agreement between the parties
with respect to the subject matter hereof, and neither party shall have any obligation, express or implied by
law, with respect to trade secret or proprietary information of the other party except as set forth herein. Any
failure to enforce any provision of this Agreement shall not constitute a waiver thereof or of any other
provision. This Agreement may not be amended, nor any obligation waived, except by a writing signed by
both parties hereto. This Agreement may be signed in counterparts, and delivered by facsimile, and such
facsimile counterparts shall be valid and binding on the parties hereto with the same effect as if original
signatures had been exchanged.


CommWorks Solutions, LLC

By:                                                           By:

Name:                                                         Name:

Title:                                                        Title:




                                                        -2-
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                       Exhibit B
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                                   KHEYFITS BELENKY LLP
TEL. (212) 203-5399                                                                      DMITRY KHEYFITS
FAX. (212) 203-6445                     1140 AVENUE OF THE AMERICAS                    DKHEYFITS@KBLIT.COM
                                                 9TH FLOOR
                                         NEW YORK, NEW YORK 10036

                                               WWW.KBLIT.COM




                                             April 17, 2020

     By FedEx Ground (Tracking No.
     770263257088)
     and email (Michael.Olsen@AlticeUSA.com)

     Michael Olsen
     Executive Vice President and General Counsel
     Altice USA, Inc.
     One Court Square
     Long Island City, New York 11101

     By Priority Mail                                  By Priority Mail
     (Tracking No. 9405503699300333280949)             (Tracking No. 9405503699300333301743)

     General Counsel                                   General Counsel
     Suddenlink Communications                         CSC Holdings, LLC.
     520 Maryville Centre Drive, Suite 300             1111 Stewart Avenue
     St. Louis, Missouri 63141                         Bethpage, New York 11714

             Re:      CommWorks Solutions, LLC

    Dear Mr. Olsen:

           By way of introduction, this law firm represents CommWorks Solutions, LLC
    (“CommWorks”) in connection with licensing of its patent portfolio. It is our understanding that
    you have already received a letter from CommWorks’ licensing agent, and I write to provide
    additional information. As previously noted by CommWorks, it owns over 140 U.S. Patents,
    which are listed in Exhibit A to this letter. Of particular interest to Altice USA, Inc. and its
    Optimum and Suddenlink branded services are the following patents (“CommWorks Patents”):

        •    U.S. Patent No. 6,832,249, entitled “Globally Accessible Computer Network-Based
             Broadband Communication System With User-Controllable Quality Of Information
             Delivery And Flow Priority” (“the ’249 Patent”);
        •    U.S. Patent No. 6,891,807, entitled “Time Based Wireless Access Provisioning”
             (“the ’807 Patent”);
        •    U.S. Patent No. 7,027,465, entitled “A Method For Contention Free Traffic Detection”
             (“the ’465 Patent”);
        •    U.S. Patent No. 7,177,285, entitled “Time Based Wireless Access Provisioning”
                                                   1 of 9
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       (“the ’285 Patent”);
   •   U.S. Patent No. 7,463,596, entitled “Time Based Wireless Access Provisioning”
       (“the ’596 Patent”);
   •   U.S. Patent No. 7,760,664, entitled “Determining And Provisioning Paths In A Network”
       (“the ’664 Patent”);
   •   U.S. Patent No. 7,911,979, entitled “Time Based Access Provisioning System And
       Process” (“the ’979 Patent”);
   •   U.S. Patent No. 8,116,315, entitled “System And Method For Packet Classification”
       (“the ’315 Patent”);
   •   U.S. Patent No. RE44,904, entitled “A Method For Contention Free Traffic Detection”
       (“the ’904 Patent”).

        Based on publicly available information, it is the understanding and contention of
CommWorks that Altice USA, Inc. infringes and induces others, such as its customers,
integrators, and suppliers, to infringe claims of the CommWorks Patents.

        For example, Altice USA, Inc. infringes and induces others to infringe at least claim 17
of the’807 Patent, claim 1 of the’465 Patent, claim 1 of the’285 Patent, claim 1 of the’596 Patent,
claim 19 of the’979 Patent, and claim 7 of the ’904 Patent by making, using, offering for sale,
selling, and/or importing into the United States Wi-Fi enabled modems and routers and Wi-Fi
services.

        Altice USA, Inc. also infringes and induces others to infringe at least claim 11 of
the ’249 Patent by making, using, offering for sale, selling, and/or importing into the United
States passive optical network (PON) equipment.

       Altice USA, Inc. also infringes and induces others to infringe at least claim 7 of the ’315
Patent and claim 31 of the ’249 Patent by making, using, offering for sale, selling, and/or
importing into the United States network switches and routers.

       Altice USA, Inc. also infringes and induces others to infringe at least claim 7 of the ’664
Patent by making, using, offering for sale, selling, and/or importing into the United States
network infrastructure provisioning tools used to provision network routers and switches.

    Our purpose in writing to Altice USA, Inc. is to acquaint and/or reacquaint you with the
CommWorks Patents, and to open a dialogue with you regarding a possible license under the
CommWorks portfolio. Enclosed with this letter are copies of the CommWorks Patents.

        Please note that CommWorks has not concluded analyzing the entirety of its assets, and it
may reach out to you regarding infringement of additional patents. If you have any questions,
please do not hesitate to contact me at the phone number or e-mail listed above.

Sincerely,

/s/ Dmitry Kheyfits

Dmitry Kheyfits
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                                       Exhibit A

                          CommWorks Solutions, LLC Patents

  Country    Patent No.                                   Title

    US        6335821        Optical Fiber Amplifier And A Method For Controlling The Same

    US        6341221        Method Of Managing A Subscriber Service By An Intelligent
                             Network Service

    US        6427001        System And Method For Notification Of 911 Telephone Calls Us-
                             ing Link Monitoring System
    US        6427037        Two-Stage Optical Switch Circuit Network

    US        6433742        Diversity Antenna Structure For Wireless Communications

    US        6438367        Transmission Security For Wireless Communications

    US        6456242        Conformal Box Antenna

    US        6456245        Card-Based Diversity Antenna Structure For Wireless Communi-
                             cations
    US        6456764        Optical Directional Coupler

    US        6483634        Optical Amplifier

    US        6487406        PCS-To-Mobile IP Internetworking

    US        6490067        Multi-Channel Optical Transceiver

    US        6490259        Active Link Layer And Intra-Domain Mobility For IP Networks

    US        6505163        Network And Method For Providing An Automatic Recall Tele-
                             communications Service With Automatic Speech Recognition Ca-
                             pability
    US        6594356        Initiating A Controlling Service

    US        6621854        Spread-Spectrum Electromagnetic Signals

    US        6628943        Mobility Management Utilizing Active Address Propagation

    US        6636742        Tracking Of Mobile Terminal Equipment In A Mobile Communi-
                             cations System


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  Country    Patent No.                                 Title

    US        6665495     Non-Blocking, Scalable Optical Router Architecture And Method
                          For Routing Optical Traffic
    US        6678080     Optical Add/Drop Multiplexer

    US        6711122     Frequency Offset Differential Pulse Position Modulation

    US        6721415     Telephone Voice Messaging System And Method Using Off-Hook
                          Immediate Trigger
    US        6721787     System And Method For Wireless Hot-Synchronization Of A Per-
                          sonal Digital Assistant
    US        6724883     Processing Of Data Message In A Network Element Of A Commu-
                          nications Network
    US        6748064     Systems And Methods For Least Cost Routing Of Long Distance
                          Or International Telephone Calls
    US        6754323     Establishing A Conference Call From A Call-Log

    US        6754716     Restricting Communication Between Network Devices On A
                          Common Network
    US        6771971     Subscriber Information Service Center (SISC)

    US        6775253     Adaptive Signaling For Wireless Packet Telephony

    US        6775258     Apparatus, And Associated Method, For Routing Packet Data In
                          An Ad Hoc, Wireless Communication System
    US        6785534     Prepaid/Postpaid Automatic Change Of Payment Option

    US        6788660     Adaptive Mobile Signaling For Wireless Internet Telephony

    US        6792094     Intelligent Call Connection Service

    US        6795530     System And Method For Customized Telephone Greeting An-
                          nouncements
    US        6804713     Operational Supervisory System For A Server

    US        6832249     Globally Accessible Computer Network-Based Broadband Com-
                          munication System With User-Controllable Quality Of Infor-
                          mation Delivery And Flow Priority
    US        6836466     Method And System For Measuring IP Performance Metrics

    US        6857007     Personal Digital Assistant Facilitated Communication System

    US        6859529     Method And System For Self-Service Scheduling Of Inbound In-
                          quiries
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  Country    Patent No.                               Title

    US        6865237     Method And System For Digital Signal Transmission

    US        6866587     Wide Area Real-Time Software Environment

    US        6868268     Audio Calling Name And Number Delivery

    US        6891807     Time Based Wireless Access Provisioning

    US        6901437     Mobile Cache For Dynamically Composing User-Specific Infor-
                          mation
    US        6917605     Mobile Network System And Service Control Information Chang-
                          ing Method
    US        6931003     Packet Prioritization Protocol For A Large-Scale, High Speed
                          Computer Network
    US        6956941     Method And System For Scheduling Inbound Inquiries

    US        6967951     System For Reordering Sequenced Based Packets In A Switching
                          Network
    US        6975855     Method For Managing Mobile Station Facilities

    US        6980089     Non-Intrusive Coupling To Shielded Power Cable

    US        6985724     Device For Transmitting Data And Control Commands Via Radio
                          Connections In A Distributed Control System For One Or More
                          Machines And/Or Processes
    US        7006579     ISI-Robust Slot Formats For Non-Orthogonal-Based Space-Time
                          Block Codes
    US        7023978     Telephone Voice Messaging System And Method Using Off-Hook
                          Immediate Trigger
    US        7027465     A Method For Contention Free Traffic Detection

    US        7051116     Client Device Identification When Communicating Through A
                          Network Address Translator Device
    US        7061379     RFID System And Method For Ensuring Safety Of Hazardous Or
                          Dangerous Substances
    US        7062475     Personalized Multi-Service Computer Environment

    US        7069483     System And Method For Identifying Nodes In A Wireless Mesh
                          Network
    US        7079823     Band-Pass Filter With Carrier Frequency Reduction

    US        7092986     Transparent Mobile Ipv6 Agent

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  Country    Patent No.                                 Title

    US        7106697     Method For Dynamically Computing A Switching Schedule

    US        7124435     Information Management System And Method

    US        7145867     System And Method For Slot Deflection Routing

    US        7177285     Time Based Wireless Access Provisioning

    US        7180850     Frequency Offset Differential Pulse Position Modulation

    US        7184444     System And Method For Packet Classification

    US        7190900     Non-Blocking All-Optical Switching Network Dynamic Data
                          Scheduling System And Implementation Method
    US        7206806     Method And System For Remote Utilizing A Mobile Device To
                          Share Data Objects
    US        7209950     Method And Apparatus For A Network Independent Short Mes-
                          sage Delivery System
    US        7218637     System For Switching Data Using Dynamic Scheduling

    US        7224642     Wireless Sensor Data Processing Systems

    US        7245201     Power Line Coupling Device And Method Of Using The Same

    US        7248148     Power Line Coupling Device And Method Of Using The Same

    US        7254709     Managed Information Transmission Of Electronic Items In A Net-
                          work Environment
    US        7355961     Method And Arrangement For Digital Signal Transmission Using
                          Layered Space-Time Codes
    US        7363030     Establishing A Conference Call From A Call-Log

    US        7412514     Method And Apparatus For Improving Bandwidth Efficiency In A
                          Computer Network
    US        7443790     System And Method For Slot Deflection Routing At Optical
                          Router/Switch
    US        7451365     System And Method For Identifying Nodes In A Wireless Network

    US        7460609     Transmission Method Using Complex Channel Symbols

    US        7463596     Time Based Wireless Access Provisioning


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  Country    Patent No.                                 Title

    US        7474853     Non-Blocking All-Optical Switching Network Dynamic Data
                          Scheduling System And Implementation Method
    US        7484005     Client Device Identification When Communicating Through A
                          Network Address Translator Device
    US        7496033     Method For Dynamically Computing A Switching Schedule

    US        7526203     Apparatus And Method For Optical Switching At An Optical
                          Switch Fabric
    US        7555273     Bandpass Filter With Carrier Frequency Reduction

    US        7564863     Frequency Offset Differential Pulse Position Modulation

    US        7596533     Personalized Multi-Service Computer Environment

    US        7609712     Frequency Offset Differential Pulse Position Modulation

    US        7626918     Frequency Offset Differential Pulse Position Modulation

    US        7715712     System And Method For Implementing Dynamic Scheduling Of
                          Data In A Non-Blocking All-Optical Switching Network
    US        7734807     Method And Apparatus For Improving Bandwidth Efficiency In A
                          Computer Network
    US        7760664     Determining And Provisioning Paths In A Network

    US        7814230     Client Device Identification When Communicating Through A
                          Network Address Translator Device
    US        7835350     Prioritizing Data Transmissions Using The Number Of Associated
                          Origin Addresses
    US        7835372     System And Method For Transparent Wireless Bridging Of Com-
                          munication Channel Segments
    US        7835897     Apparatus And Method For Connecting Hardware To A Circuit
                          Simulation
    US        7852796     Distributed Multichannel Wireless Communication

    US        7856011     Reordering Packets

    US        7869427     System For Switching Data Using Dynamic Scheduling

    US        7911979     Time Based Access Provisioning System And Process

    US        7937081     Recovery Techniques In Mobile Networks


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  Country    Patent No.                                Title

    US        7941149     Multi-Hop Ultra Wide Band Wireless Network Communication

    US        7957356     Scalable Media Access Control For Multi-Hop High Bandwidth
                          Communications
    US        8031800     Transmitting Digital Signal

    US        8107377     Reordering Packets

    US        8116315     System And Method For Packet Classification

    US        8117068     Method And Apparatus For Providing Audio Advertisements In A
                          Computer Network
    US        8160863     System And Method For Connecting A Logic Circuit Simulation
                          To A Network
    US        8175613     Systems And Methods For Determining Location Of Devices
                          Within A Wireless Network
    US        8195442     Use Of Hardware Peripheral Devices With Software Simulations

    US        8200211     Recovery Techniques In Mobile Networks

    US        8224909     Personal Digital Assistant Facilitated Communication System

    US        8351924     Recovery Techniques In Mobile Networks

    US        8380481     Conveying Data From A Hardware Device To A Circuit Simula-
                          tion
    US        8423630     Responding To Quality Of Service Events In A Multi-Layered
                          Communication System
    US        8533278     Mobile Computing Device Based Communication Systems And
                          Methods
    US        8600372     Recovery Techniques In Mobile Networks

    US        8611320     Scalable Media Access Control For Multi-Hop High Bandwidth
                          Communications
    US        8671216     Method And Apparatus For Improving Bandwidth Efficiency In A
                          Computer Network
    US        8719326     Adaptive Data Transformation Engine

    US        8780770     Systems And Methods For Voice And Video Communication Over
                          A Wireless Network
    US        8812665     Globally Accessible Computer Network-Based Broadband Com-
                          munication System With User-Controllable Quality Of Infor-
                          mation Delivery And Flow Priority
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  Country    Patent No.                                Title

    US        8913618     Reordering Packets

    US        8923846     Recovery Techniques In Mobile Networks

    US        9230039     Adaptive Data Transformation Engine

    US        9432842     Recovery Techniques In Mobile Networks

    US        9554304     Scalable Media Access Control For Multi-Hop High Bandwidth
                          Communications
    US        9648122     Mobile Cache For Dynamically Composing User-Specific Infor-
                          mation
    US        9918222     Recovery Techniques In Mobile Networks

    US        9930575     Scalable Media Access Control For Multi-Hop High Bandwidth
                          Communications
    US        10051077    Mobile Cache For Dynamically Composing User-Specific Infor-
                          mation
    US        RE42122     System And Method For Customized Telephone Greeting An-
                          nouncements
    US        RE42227     Apparatus And Method For Connecting Hardware To A Circuit
                          Simulation
    US        RE42232     RF Chipset Architecture

    US        RE42539     Network And Method For Providing A Calling Name Telecommu-
                          nications Service With Automatic Speech Recognition Capability
    US        RE42883     Enhanced Phone-Based Collaboration

    US        RE43163     High-Speed Network Of Independently Linked Nodes

    US        RE43704     Determining And Provisioning Paths Within A Network Of Com-
                          munication Elements
    US        RE43746     Method And Radio System For Digital Signal Transmission Using
                          Complex Space-Time Codes
    US        RE44904     A Method For Contention Free Traffic Detection




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                       Exhibit C
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                                                                           Day Building, Suite 230
                                                                     4725 Peachtree Cornea Circle,
                                                                    Peachtree Cornea, GA 30092
   IPinvestments                                                          Main: (404) 962-8740
            Group I                                                        Fax: (404) 962-8741
                                                                                  www.ipipp.com




                                         May 15, 2020


   VIA EMAIL / FEDEX
   Rebecca Baneman
   Vice President, Legal — Litigation
   Altice USA, Inc.
   One Court Square
   Long Island City, New York 11101

   RE:    COMMWORKS SOLUTIONS, LLC ("COMmWORKS") - PATENT PORTFOLIO
          LICENSING PROGRAM

   Dear Ms. Baneman:

       To follow up on our previous communications between CommWorks and Altice, and
   Kheyfits Belenky's letter on behalf of CommWorks to Altice on April 17, 2020 (see
   attached), CommWorks would like to bring several additional patents to your attention.
   The following CommWorks patents relate to the Altice Mobile phone service:

      •   U.S. Patent No. 6,341,221, entitled "Method Of Managing A Subscriber Service
          By An Intelligent Network Service" ("the '221 Patent");
      •   U.S. Patent No. 6,594,356, entitled "Initiating A Controlling Service" ("the '356
          Patent");
      •   U.S. Patent No. 6,636,742, entitled "Tracking Of Mobile Terminal Equipment In
          A Mobile Communications System" ("the '742 Patent");
      •   U.S. Patent No. 6,917,605, entitled "Mobile Network System And Service Control
          Information Changing Method" ("the '605 Patent");
      •   U.S. Patent No. 6,975,855, entitled "Method For Managing Mobile Station
          Facilities" ("the '855 Patent");
      •   U.S. Patent No. 7,209,950, entitled "Method And Apparatus For A Network
          Independent Short Message Delivery System" ("the '950 Patent");
      •   U.S. Patent No. 7,937,081, entitled "Recovery Techniques in Mobile Networks"
          ("the '081 Patent");
      •   U.S. Patent No. 8,200,211, entitled "Recovery Techniques in Mobile Networks"
          ("the '211 Patent");
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       •   U.S. Patent No. 8,600,372, entitled "Recovery Techniques In Mobile Networks"
           ("the '372 Patent");
       •   U.S. Patent No. 8,923,846, entitled "Recovery Techniques In Mobile Networks"
           ("the '846 Patent");
       •   U.S. Patent No. 9,918,222, entitled "Recovery Techniques In Mobile Networks"
           ("the '222 Patent");
       •   U.S. Patent No. RE42,883, entitled "Enhanced Phone-Based Collaboration" ("the
           '883 Patent").

          Based on publicly available information, it is the understanding and contention of
   CommWorks that Altice infringes and induces others, such as its customers, integrators,
   and suppliers, to infringe claims of the above CommWorks patents.

           For example, Altice infringes and induces others to infringe at least claim 1 of the
   '221 Patent (see 3GPP TS 23.082 V6.0.0 (2004-12)), claim 1 of the '356 Patent (see
   3GPP TS 29.078 7.0.0 (2005-06); 3GPP2 X.S0004-700-E v1.0 (2004-03)), claim 1 of the
   '742 Patent (see 3GPP TS 23.171 V3.11.0 (2004-03); 3GPP2 X.50002-0 v2.0 (2006-05)),
   claim 16 of the '605 Patent (see 3GPP TS 29.061 V6.0.0 (2004-03)), and claim 1 of the
   '855 Patent (see 3GPP TS 23.097 A/6.0.0 (2004-12)) by making, using, offering for sale,
   selling, and/or importing into the United States GSM/UMTS and/or CDMA2000
   compliant features of the Altice mobile services.

          Altice also infringes and induces others to infringe at least claim 1 of the '950
   Patent by making, using, offering for sale, selling, and/or importing into the United States
   GSMA compliant SMS Hubbing features of the Altice mobile services.

           Altice also infringes and induces others to infringe at least claim 1 of the '081
   Patent, claim 1 of the '211 Patent, claim 1 of the '372 Patent, claim 1 of the '846 Patent,
   and claim 1 of the '222 Patent, by making, using, offering for sale, selling, and/or
   importing into the United States LTE compatible Altice mobile networking systems and
   services, including its IP Multimedia Subsystem infrastructure.

          Altice also infringes and induces others to infringe at least claim 1 of the '883
   Patent by making, using, offering for sale, selling, and/or importing into the United States
   VoLTE compatible Altice mobile systems and services.
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          May 15, 2020
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           As mentioned previously, CommWorks welcomes a discussion with Altice with
   respect to a potential license to the CommWorks patent portfolio. Once you have had
   sufficient time to review the information CommWorks has presented, please let me know
   if Altice is interested in discussing a resolution to this matter.


                                      Sincerely,




                                      Ryan    Strong


   cc: Dmitry Kheyfits, Esq., Kheyfits Belenky, LLP

   Enclosures
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                       Exhibit D
Case 1:21-cv-01323-CFC Document 1-1 Filed 09/17/21 Page 28 of 440 PageID #: 77
919 THIRD AVENUE NEW YORK, NY 10022-3908                           JENNER&BLOCK,




                                                                   Amr O. Aly
June 3, 2020                                                       Tel +1 212 407 1774
                                                                   AAly@jenner.com
Mr. Ryan E. Strong
IPinvestments Group
Day Building, Suite 230
4725 Peach Corners Circle
Peachtree, GA 30092


Re:       COMM WORKS SOLUTIONS, LLC ("COMMWORKS- ) -
          PATENT PORTFOLIO LICENSING PROGRAM


Dear Mr. Strong:

I represent Altice USA and am in receipt of your letters dated February 21, 2020, and May 15,
2020 both addressed to Ms. Rebecca Baneman. Altice USA respects intellectual property rights
of others, and is evaluating your claims of patent infringement of certain patents owned by
CommWorks Solutions, LLC. To the extent you have additional information that would aid in
our analysis, such as infringement charts, we would appreciate receiving same.

In the meantime, please do not hesitate to contact me if you have any questions.



Regards,


Amr O. Aly

AOA:mr
          04r


CHICAGO   LONDON   LOS ANGELES    NEW YORK   WASHINGTON, DC        WWVV. JENNER.COM
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                       Exhibit E
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                                                                          11111111111111101111111111111I1
                                                                                       811!!1
                                                                                          91J1111111111111111111
 (12)   United States Patent                                                           (to) Patent No.:     US 6,832,249 B2
        Ciscon et al.                                                                  (45) Date of Patent:     Dec. 14, 2004


 (54)    GLOBALLY ACCESSIBLE COMPUTER                                            Primary Examiner—Robert B. Harrell
         NETWORK-BASED BROADBAND                                                 (74) Attorney, Agent, or Firm—Wong, Cabello, Lutsch,
         COMMUNICATION SYSTEM WITH                                               Rutherford & Brucculeri, LLP
         USER-CONTROLLABLE QUALITY OF
         INFORMATION DELIVERY AND FLOW                                           (57)                              ABSTRACT
         PRIORITY
                                                                                 A method for providing broadband communications over a
 (75)    Inventors: Larry Ciscon, Houston, TX (US);                              multi-layered network having a plurality of Open System
                    Steven Reynolds, Houston, TX (US); F.                        Interconnection (OSI) Reference Model layers functioning
                    Scott Yeager, Sugarland, TX (US)                             therein includes monitoring at least one OSI reference model
 (73)    Assignee: Intellectual Ventures Patent Holdings                         layer functioning in the multi-layered network. A quality of
                   III, LLC, Bellevue, WA (US)                                   service event is determined whether to have occurred in the
                                                                                 multi-layered network. The quality of service event is deter-
 (*)     Notice:     Subject to any disclaimer, the term of this                 mined to have occurred at a layer N in the OSI reference
                     patent is extended or adjusted under 35                     model. Network provisioning is changed at a layer less than
                     U.S.C. 154(b) by 719 days.                                  N in response to the quality of service event, and a signal is
                                                                                 provided when the network provisioning at the layer less
 (21)    Appl. No.: 09/860,801
                                                                                 than N has been changed. A system for providing broadband
 (22)    Filed:      May 18, 2001                                                communications includes a multi-layered network, a net-
 (65)                Prior Publication Data                                      work monitor, and a network controller. The multi-layered
                                                                                 network has a plurality of Open System Interconnection
         US 2002/0004827 Al Jan. 10, 2002                                        (OSI) reference model layers functioning therein. The net-
                 Related U.S. Application Data                                   work monitor is coupled to the multi-layered network, and
 (60)    Provisional application No. 60/205,529, filed on May 19,                the network monitor is adapted to monitor at least one OSI
         2000.                                                                   reference model layer functioning in the multi-layered
                                                                                 network, determine that a quality of service event has
 (51)    Int. C1.7                                GO6F 13/00
                                                                                 occurred in the multi-layer network, and determine that the
 (52)    U.S. Cl.                                      709/223
                                                                                 quality of service event occurred at a layer N in the OSI
 (58)    Field of Search                         709/200, 223;
                                                                                 reference model. The network controller is coupled to the
                                             370/328, 338, 903
                                                                                 multi-layered network, and the network monitor is adapted
 (56)                  References Cited                                          to respond to the quality of service event in the multi-layered
                                                                                 network by changing the network provisioning at a layer less
                   U.S. PATENT DOCUMENTS
                                                                                 than N.
        6,747,968 B1 * 6/2004 Seppala et al.                370/338
 * cited by examiner                                                                                        49 Claims, 8 Drawing Sheets


                                                      Monitor at least one OSI reference model layer
                                                          operating in a multi-layered network.
                                                                            400




                                                       Determine that a quality-of-service event has
                                                          occurred in the multi-layered network.
                                                                           404




                                                   Determine that the quality-of-service event occurred
                                                        at a layer N in the OSI Reference Model.
                                                                            408




                                                    Respond to the quality-of service event in the multi-
                                                   layered network by changing network provisioning at
                                                                   a layer less than N.
                                                                            412




                                                   Signal that the network provisioning at the layer less
                                                                 than N has been updated.
                                                                           416
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                                        108


         112                                                                     116
                            140
        (

       User                        Application Layer 7                      User

                                          -I
              120                       IP Layer 3
                    Local                                    Local
                    Loop                I                    Loop
              124             ATM/Frame Relay Layer 2

                                              I
              126                 Circuit/Fiber Layer 1


              128                 100
                      132                                      136         104


                               Figure 1
                              (Prior Art)
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                                                                  204


                       Layer 7 - The Application Layer


                                                                  208


                      Layer 6 - The Presentation Layer


                                                                  212


                        Layer 5 - The Session Layer          9
                                                                  216


                       Layer 4 - The Transport Layer


                                                                  220


                        Layer 3 - The Network Layer           2


                                                                  224


                       Layer 2 - The Data Link Layer          2


                                                                  228


                        Layer 1 - The Physical Layer         2
                            Figure 2
                           (Prior Art)
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                                  300
                                                             Resource Database
                                                                    312

                                                                  Layer 7


                                                                  Layer 6
                               322
           Network                                                Layer 5
                                        Network
           Controller   .4              Monitor      4
             304                         308                      Layer 4
                                          A
                                                                  Layer 3
     318

               V                                                  Layer 2

            Communication            Communication
               Link 1                   Link 2                    Layer 1


            Communication            Communication
               Link 3                   Link 4


            Communication            Communication
              Link Z -1                 Link Z


                             Network
                             Element
                               314




                                        Figure 3
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                  Monitor at least one OSI reference model layer
                      operating in a multi-layered network.
                                        400




                   Determine that a quality-of-service event has
                      occurred in the multi-layered network.
                                       404




                Determine that the quality-of-service event occurred
                     at a layer N in the 0S1 Reference Model.
                                         408




                 Respond to the quality-of-service event in the multi-
                layered network by changing network provisioning at
                                a layer less than N.
                                         412




                Signal that the network provisioning at the layer less
                              than N has been updated.
                                        416




                                 Figure 4
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                                               500


                                           i

                 512          508                        7 ,520       524

                                                        '5,       (


                                                 528
               504                                                              516



                                    Figure 5A

                                           500


                                       I


                 512         532
                                       (       540       ( -536       524


           A           ADM                             ADM                  B


     504                                        -544
                                                                                516




                                    Figure 5B
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                                             500


                                         I

                 512    ( 532   7 540        544       548     552
                                                                       ( -536       524


             A         ADM                                           ADM        (
                                                 (         (


     504                                                                                  516



                                   Figure 5C

                                                 600


                                             I

                                       612
                                                     616
                                                                                          B
        A

                                                                                          608
           604



                                   Figure 6A
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                       600


                     -(
                                                       620
                               632      624                  640


             628                                                       636


     A                                     ATM
                                                                              O
      604                                                                     608
                                      -- --- --...._



                                    Figure 6B
                              600


                          I
                    624              648      644      652


              632                                                       636




                                           ATM




                                    Figure 6C
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                           600


                       I


                                 648    644      652


       632                                                            636




                           ATM                           656




                             Figure 6D
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                                                     US 6,832,249 B2
                               1                                                                  2
        GLOBALLY ACCESSIBLE COMPUTER                                a city as well as enable the interconnection of corporate
          NETWORK-BASED BROADBAND                                   networks to a WAN for voice and data traffic. They are also
         COMMUNICATION SYSTEM WITH                                  the local loop infrastructure that connects end users to the
        USER-CONTROLLABLE QUALITY OF                                Internet. WANs serve as the backbone for corporations that
       INFORMATION DELIVERY AND FLOW                              5 operate in multiple cities and are the national or global
                  PRIORITY                                          networks that connect the majority of users. Public WANs,
                                                                    which serve as the Internet backbone, have large amounts of
     This application claims the benefit of U.S. Provisional        available bandwidth; however, no widely used routing sys-
 Application No. 60/205,529 filed May 19, 2000.                     tem exists that avoids the congestion and best efforts deliv-
                                                                 lo      method of today's Internet.
            BACKGROUND OF THE INVENTION
                                                                       The Internet at numerous points has congestion that
    1. Field of the Invention                                       results from "peering" and commercially expedient routing
    The present invention relates generally to a communica-         policies at the peering points, such as Metropolitan Area
 tion system that operates in association with a globally           Exchanges (MAEs), where there is no economic incentive to
 accessible computer network, such as the Internet, and, more 15 carry traffic over any particular equipment backbone struc-
 particularly, to a multi-layered communication system that is      ture. Peering routing is a consequence of the practice of
 implemented with a broadband communications platform               multiple service providers (SPs) using their routers to
 that enables quality of application service delivery and user      exchange information transmission routes with one another.
 control over the priority of information delivery flow.            Commercially expedient routing is the practice of an SP
    2. Description of the Related Art                            20 choosing a nearest location to transfer applications, irrespec-
                                                                    tive quality of service considerations. Thus, the finite num-
    The Internet has become vital to both businesses and
                                                                    ber of available locations for exchanging information
 consumers. The initial role of the Internet as an information
                                                                    becomes overly congested because application routing is
 tool has led to explosive adoption of its use; however, the
                                                                    motivated by commercial, not quality of service control,
 massive growth of the Internet has outpaced the capabilities
                                                                 25 considerations.
 of its infrastructure. Content providers have moved from
 providing static information to distributing applications that        The Internet operates with end users by way up dial-up
 consume large amounts of bandwidth.                                modems or LANs connected by an ISP local loop and
    The delivery of high quality service to an end user while       thereby create over the LAN a load that typically exceeds the
 maintaining an ability to provide a significant increase in 30 speed capability of the local loop. The consequence is that
 bandwidth over a global reach is an unmet challenge of             simple, high capacity bandwidth within the Internet by way
 contemporary communication systems. The public Internet            of any ISP of rudimentary quality of service is insufficient to
 is plagued with user problems such as congestion (too many         create a low latency, deterministic network solution. The
 users) and latency (long pauses and delays) and is, therefore,     demands    exerted on infrastructure support required by, for
 unable to support an increase in communication network 35 example, 10 million users simultaneously on line from all
 traffic resulting from the presence of additional users and the    branches of the Internet currently present a difficult band-
 advent of rich media applications. Deterministic applica-          width load management challenge, which promises to
 tions include, for example, media rich content, low latency        worsen as broadband applications gain popularity and
 applications, and other applications requiring mission criti-      increase in usage.
 cal delivery scheduling. Several causes of user problems are 40       What is needed, therefore, is a broadband communication
 deliberate off-loading and routing of data traffic through         system that can consistently deliver deterministic
 congestion points, inadequate security, and lost information       applications, irrespective of network-to-network architec-
 resulting from the currently used best-effort routing prac-        ture complications.
 tices.                                                                The present invention is directed to overcoming, or at
    The structural layers of the Internet, which include net- 45 least reducing the effects of, one or more of the problems set
 work providers, service providers, software providers, and         forth above.
 content providers, work independently and thereby create an
                                                                                 SUMMARY OF THE INVENTION
 infrastructure based on individual convenience and legacy
 systems without consideration of the interaction among the            In one aspect of the present invention, a method for
 constituent participants. Telecommunication carriers have so providing broadband communications over a multi-layered
 networks optimized for voice but not data. Internet Service        network having a plurality of Open System Interconnection
 Providers (ISPs) oversubscribe their networks in an effort to      (OSI) Reference Model layers functioning therein is pro-
 achieve or sustain profitability. The public Internet is,          vided. The method includes monitoring at least one OSI
 therefore, a fundamentally flawed model from a financial,          reference model layer functioning in the multi-layered net-
 business, and technological perspective for the delivery of 55 work. A quality of service event is determined whether to
 low latency, high throughput applications, such as media           have occurred in the multi-layered network. The quality of
 rich content and other deterministic applications.                 service event is determined to have occurred at a layer N in
    Moreover, the Internet has a different set of transmission      the OSI reference model. Network provisioning is changed
 issues from those faced by Local Area Networks (LANs),             at a layer less than N in response to the quality of service
 Metropolitan Area Networks (MANs), and Wide Area Net- 60 event, and a signal is provided when the network provision-
 works (WANs). LANs include directories that authorize              ing at the layer less than N has been changed.
 LAN end-users to use applications or obtain information.              In another aspect of the present invention, a system is
 The directory is a baseline component of the functionality         provided. The system includes a multi-layered network, a
 that comes with LAN connectivity. LANs have historically           network monitor, and a network controller. The multi-
 been more important to businesses than residences because 65 layered network has a plurality of Open System Intercon-
 LANs enable enterprise-wide applications. MANs facilitate          nection (OSI) reference model layers functioning therein.
 the interconnection of corporate LANs between buildings in         The network monitor is coupled to the multi-layered
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                                                      US 6,832,249 B2
                               3                                                                       4
 network, and the network monitor is adapted to monitor at               of their networks, and more control by content providers
 least one OSI reference model layer functioning in the                  over costs and the experiences they provide to their users.
 multi-layered network, determine that a quality of service                 Referring to FIG. 1, a prior art application data flow path
 event has occurred in the multi-layer network, and determine            100 through functional layers 104 of a communication
 that the quality of service event occurred at a layer N in the     5    system 108, such as the Internet, is shown. The basis of the
 OSI reference model. The network controller is coupled to               functional layers 104 is the Open System Interconnection
 the multi-layered network, and the network monitor is                   (OSI) model. In this model, information may be communi-
 adapted to respond to the quality of service event in the               cated between first and second users 112, 116 by traversing
 multi-layered network by changing the network provision-                through the functional layers 104 as shown.
 ing at a layer less than N.                                        10
                                                                            Referring to FIG. 2, an illustrative block diagram 200 of
       BRIEF DESCRIPTION OF THE DRAWINGS                                 the OSI reference model is shown. Those skilled in the art
                                                                         will appreciate that the OSI reference model is comprised of
    The invention may be best understood by reference to the             seven separate layers (four of which are illustrated in FIG.
 following description taken in conjunction with the accom-              1.) The seven layers of the OSI model include an application
 panying drawings, in which like reference numerals identify        15   layer 204, a presentation layer 208, a session layer 212, a
 like elements, and in which:                                            transport layer 216, a network layer 220, a data link layer
    FIG. 1 illustrates a simplified prior art communication              224, and a physical layer 228. This model provides a useful
 system;                                                                 reference when describing the various functions that may be
    FIG. 2 illustrates the functional layers of the Open System          involved in sending data across any communication system,
 Interconnection (OSI) reference model;                             20   such as the Internet. Moreover, those skilled in the art will
                                                                         appreciate that sending data across a communication system
    FIG. 3 is a simplified block diagram of an illustrative
                                                                         may require traversing any number of the functional layers
 network control system;
                                                                         of the OSI reference model. Furthermore, it may be appre-
    FIG. 4 is a simplified block diagram illustrating one                ciated that the communication resources (e.g., network
 exemplary process for the network control system, illus-           25   devices, programs, protocols, hardware, software, etc.) in a
 trated in FIG. 3, in accordance with one aspect of the present          multi-layered communication system may be described, at
 invention;                                                              least in part, by where they fit in the OSI reference model.
    FIGS. 5A-5C illustrate an exemplary communication                       The physical layer 228 is layer 1 in the OSI reference
 system when viewed from different levels of the OSI refer-              model. This layer encompasses the physical features of
                                                                    30
 ence model;                                                             sending data over communication lines. For example, layer
    FIGS. 6A-6D illustrate another exemplary communica-                  1 may be associated with coaxial cables, fiber lines, category
 tion system when viewed from different levels of the OSI                1-5 cables, and the like.
 reference model.                                                           The data link layer 224 is layer 2 in the OSI reference
    While the invention is susceptible to various modifica-         35   model. This layer encompasses procedures concentrated on
 tions and alternative forms, specific embodiments thereof               the operation of communication lines. Error identification
 have been shown by way of example in the drawings and are               and correction are also functions of this layer. Layer 2 may
 herein described in detail. It should be understood, however,           include SLIP, PPP, Ethernet, and the like.
 that the description herein of specific embodiments is not                 The network layer 220 is layer 3 in the OSI reference
 intended to limit the invention to the particular forms            40   model. This layer establishes how data is transmitted
 disclosed, but on the contrary, the intention is to cover all           between workstations, including the routing of data. Layer 3
 modifications, equivalents, and alternatives falling within             may include IPV6, IPV4, and the like.
 the spirit and scope of the invention as defined by the
                                                                            The transport layer 216 is layer 4 in the OSI reference
 appended claims.
                                                                         model. This layer directs the processes for end-to-end trans-
         DETAILED DESCRIPTION OF SPECIFIC                           45   fer of information inside and between networks, including
                  EMBODIMENTS                                            error recovery and flow control. Layer 4 may include TCP,
                                                                         UDP, and the like.
    Illustrative embodiments of the invention are described
                                                                            The session layer 212 is layer 5 in the OSI reference
 below. In the interest of clarity, not all features of an actual
                                                                         model. The layer controls communication resources and
 implementation are described in this specification. It will of     50
                                                                         manages dialogue and the directions of information flow.
 course be appreciated that in the development of any such
                                                                         Layer 5 may include POP/25, 532, RPC Portmapper, and the
 actual embodiment, numerous implementation-specific
                                                                         like.
 decisions must be made to achieve the developers' specific
 goals, such as compliance with system-related and business-                The presentation layer 208 is layer 6 in the OSI reference
 related constraints, which will vary from one implementa-          55
                                                                         model. This layer allows different systems to communicate
 tion to another. Moreover, it will be appreciated that such a           by converting the information format of an individual sys-
 development effort might be complex and time-consuming,                 tem into a standard configuration. Layer 6 may include
 but would nevertheless be a routine undertaking for those of            HTTP, FTP, SMTP, and the like.
 ordinary skill in the art having the benefit of this disclosure.           The application layer 204 is layer 7 in the OSI reference
    The broadband communication services delivery afforded          60   model. This layer includes protocols for specific application
 by the present invention enables quality of service control by          services and encloses virtual terminal software. File transfer
 content providers, Application Service Providers (ASPs),                may also occur with events at the application layer. Layer 7
 local loop carriers, ISPs, and, by extension, their customers.          may include e-mail, newsgroups, web applications, and the
 This is achieved through a quality of service-capable broad-            like.
 band system that augments the Internet. The result is more         65      Although illustrative examples have been given for each
 control by users over the priority of their information flow,           of the 7 layers in the OSI reference model, those skilled in
 more control by network administrators over the congestion              the art will appreciate that many other communication
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                                                       US 6,832,249 B2
                                5                                                                       6
 resources may be categorized by where their functionality                to a second local loop 136. The local loops 132, 136 may be
 fits within the OSI reference model. Moreover, some com-                 comprised of LANs that connect the first and second users
 munication resources may not fit completely within one                   112, 116 to the Internet. Although FIG. 1 is being described
 layer of the OSI reference model, that is, the functionality of          with reference to the Internet, it is contemplated that other
 some communication resources may be best categorized                5    communication systems (e.g., private Intranets, leased lines,
 with reference to more than one OSI reference model layer.               etc.) may be used to send data between the first and second
 Nevertheless, most communication resources (e.g., routers,               users 112, 116.
 multiplexers, switches, data lines, application programs,
                                                                             The backbone services, which are represented by line 140,
 software, hardware, etc.) may be substantially categorized
 within one of the layers of the OSI reference model.                     represent a WAN of multiple geographically distributed
                                                                     10   locations, the equipment of which implement segmented
    For the ease of illustrating the present invention, the
 layers of the OSI reference model may be expressed alge-                 connectivity through the Internet. For example, each loca-
 braically. For example, layer 3, the network layer 220, may              tion may operate equipment under an internal switching
 be described illustratively as layer N. If this is the case, then        scheme that moves locally the transmitted information up
 the layer N-1 would be layer 2, the data link layer 224, and             and down the OSI layers. The WAN, therefore, may repre-
 the layer N-2 would be layer 1, the physical layer 228.             15   sent a network implementing a geographical progression of
 Similarly, if layer 3 is again expressed as layer N, then the            information transmitted up and down local OSI layers, such
 layers less than N would be comprised of layer 2 and layer               as the OSI layers 104 illustrated in FIG. 1.
 1. In another example, if layer 7, the application layer 204,               Internet users define their services offered in terms of the
 is described illustratively as layer N, then the layer N-1               functional layers of the OSI model and accordingly dictate
 would be layer 6, the presentation layer 208. Likewise, if          20   business strategies. With reference again to FIG. 1, as
 layer 7 is described as layer N, then the layers less than N             applications/content are sent between the first and second
 would include layers 6 through 1.                                        users 112, 116, the applications/content traverse each of the
    Referring back to FIG. 1, the data flow path 100 is shown             illustrated OSI layers 104 to travel from end to end of the
 traversing 4 of the OSI functional layers 104. These layers              communication system 108. Service offerings such as pri-
 include the application layer 120 (layer 7), the network layer      25   vate communication lines (circuits) or dark fiber may be
 124 (layer 3), the data link layer 126 (layer 2), and the                available at Layer 1, so that an application developer must
 physical layer 128 (layer 1.) Those skilled in the art will              determine how to make the application function with TCP/
 appreciate that the data path 100 does not necessarily have              IP, and a network architect for each application and project
 to flow through all 7 of the OSI layers, illustrated in FIG. 2,          may determine whether to use ATM or Frame Relay trans-
 in order to facilitate a communication session between the          30   mission. The product managers of the individual services,
 first and second users 112, 116. Rather, the OSI layers                  circuits, fiber, ATM, Frame Relay, or IPS services may
 traversed by the data flow path 100 may vary depending                   define the particular service at the corresponding layer 104.
 upon a variety of factors, such as the type of connection                Of course, much of this interaction occurs transparently to
 between the first and second users 112, 116, the topology of             the first and second users 112, 116.
                                                                     35
 the communication link between the first and second users                   The carrier service at an OSI reference layer is, typically,
 112, 116, the geographic location of the first and second                concerned only with how the end user or enterprise connects
 users 112 116, the particular application sending the data,              into its network at the correct points of demarcation on the
 and the like.                                                            network of the carrier service at that layer. There is usually
    As described above, if the OSI layers 104 are expressed               no consideration of making the application work end-to-end
                                                                     40
 algebraically, in this example, layer 7 may be considered                up and down the OSI model stack 104 in any of these carrier
 layer N, while the layers less than N may be the network                 class services.
 layer 124 (layer 3), the data link layer 126 (layer 2), and the             As a practical matter, no single OSI reference layer can
 physical layer 128 (layer 1.) Similarly, layer 3 could be                resolve all of the quality of service and economic issues
 considered layer N, which would make the layers less than           45
                                                                          associated with delivering deterministic applications such as
 N the data link layer 126 (layer 2) and the physical layer 128           streaming media content across the local loops 132, 136 and
 (layer 1.)                                                               the backbone 140 between the users 112, 116 by way of
    In this illustrative embodiment, each of the OSI reference            networks of multiple service providers. The application
 model layers 104 may be implemented with an independent                  traverses up and down the OSI stack 104 and may need
 control system that operates under either central or distrib-       50
                                                                          quality of service functions at several layers to achieve
 uted control. For example, the physical layer 128 (layer 1)              end-to-end quality of service at a price that is economical for
 may represent the provision of circuits that effects an end-             connecting a target audience.
 to-end connection between the first and second users 112,                   Typically, the applications/content source needs to use
 116 with an associated bandwidth, irrespective of the type of            more than one service (e.g., communication circuits, ATM
 data or nature of the protocol. In the case of fiber optic cable,   55   and Frame Relay transmission technologies) from more than
 there may be multiple light transmissions wavelengths that               one OSI layer 104 to make the application reach all of the
 provide separate information transmission channels. Carrier              intended audiences that are dispersed geographically in
 signal modulation and wavelength division multiplexing                   different cities and countries across the world. No consistent
 may also be carried out in layer 1. Layer 1 typically operates           policy exists to ensure quality of service in this approach.
 under control of a single computer that sends control signals       60      The present invention implements a different approach to
 to all devices in the layer.                                             the typical Internet model. The strategy of the present
    The network layer 124 (layer 3) may operate internally as             invention is to bridge the gaps between the layers of the OSI
 a distributed IP layer under dynamic routing protocols in the            reference model, illustrated in FIG. 2.
 absence of a centralized computer. The application layer 120                Referring to FIG. 3, an exemplary network control system
 (layer 7) may be a web browser sending HTTP protocol.               65   300 (control system) is shown. In this illustrative
    Additionally, the first user 112 may be connected to a first          embodiment, the control system 300 may be comprised of a
 local loop 132, and the second user 116 may be connected                 network controller 304, a network monitor 308, and a
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 resource database 312. The network monitor 308 may be                The resource database 312 may comprise a dynamic
 used to monitor a network element 314, which may be               listing of communication resources that are available in any
 interconnected with other network elements (not shown)            network element 314. For example, the resource database
 using communication links 318. Moreover, although only            312 may be continually updated as new resources are added
 one network element 314 is shown, the network monitor 308 5 to the network element 314 and as old resources are
 may be coupled to a multitude of network elements 314,            removed. Moreover, the network monitor 308 and the net-
 which may be interconnected using any number of commu-            work controller 304 may communicate with both the
 nication links 318. Generally, the network elements 314           resource database 312 and the network element 314 to
 function as nodes in a network, and the communication links       maintain an updated organized listing of the resources
 318 may be used to interconnect the nodes. For example, in 10 available in the network element 314. Those skilled in the art
 one illustrative embodiment, an exemplary network element         will appreciate that the resource database 312 may be stored
 314 may be located in AT&T's wide area network, and the           on a separate storage device comprised of a variety of known
 communication links 318 may be used to interconnect the           storage devices, such as hard disk drives, and the like.
 network element 314 with other network elements (not              Alternatively, in another embodiment, the resource database
 shown) in AT&T's wide area network. In another 15 312 may be incorporated with the network monitor 308
 embodiment, the network element 314 may be located in a           and/or the network controller 304.
 private network between two locations of a corporation
                                                                      The network controller 304 may communicate with the
 (e.g., between Houston and Dallas), and the communication
                                                                   resource database 312, the network monitor 308, and the
 links 318 may represent the various circuits or communica-
                                                                   network element 314 using a signaling network 322. Those
 tion routes that interconnect the network element 314 with
                                                                20 skilled in the art will appreciate that the signaling network
 other network elements (not shown) in the private network.
                                                                   322 may be comprised of a variety of devices and operate
 In another example, the network element 314 may be a node
                                                                   using any number of known protocols. In one embodiment,
 in the Internet, and the communication links 318 may
                                                                   the signaling network 322 is comprised of fiber lines, and the
 comprise the various communication paths that interconnect
                                                                   communication protocol is IP.
 the network element 314 with other network elements (not 25
 shown) in the Internet.                                              The network controller 304 and the network monitor 308
    Although the complexities of the network monitor 308 are       may   communicate with the communication links 318, over
 not shown, those skilled in the art will appreciate that the      the signaling network 322, by using existing communication
 network monitor 308 may be comprised of a variety of              ports and protocols of the communication resources (e.g.,
 known devices. Moreover, the specific hardware and soft- 30 network devices, programs, protocols, etc.) functioning
 ware implementation of the network monitor 308 may vary           within the respective network elements 314. In one
 depending upon the particular implementation. However, in         embodiment, InterAgent® communication messaging soft-
 one illustrative embodiment, the network monitor 308 is a         ware   is a portion of the implementation of the network
 Sun Netra T1 server operating using the Solaris operating         controller  304 and the network monitor 308. The Inter-
 system.                                                           Agent® software is described in the U.S. Pat. No. 5,634,010,
                                                                35
                                                                   which is hereby incorporated by reference. Moreover, the
    The resource database 312 may be used to organize the
                                                                   network controller 304 and the network monitor 308 may
 functionality of the communication links 318 and the net-
                                                                   have multiple device drivers each of which provides a
 work elements 314 according to the OSI reference model. In
                                                                   different command language such as command line interface
 one illustrative embodiment, the communication resources
                                                                   (CLI), to which Cisco System routers respond; command
 of the network element 314 may be comprised of IP routers, 40
                                                                   language used by AT&T for telco switches (TL1); common
 ATM switches, fiber lines, application services, and the like.
                                                                   open policy service (COPS), which represent priority rank-
 Accordingly, the communication resources may be orga-
                                                                   ing commands; and system command languages.
 nized in the resource database 312 according to their func-
 tionality within the OSI reference model. For example, ATM           Although the complexities of the network controller 304
 switches may be categorize in the resource database 312 into 45   are  not shown, those skilled in the art will appreciate that the
 layer 2, fiber lines may be categorized into layer 1, and         network controller 304 may be comprised of a variety of
 application programs may be categorized in layer 7.               known devices. Moreover, the specific hardware and soft-
    The control system 300 is capable of recognizing that          ware implementation of the network controller 304 may
 communication resources (e.g., routers, fiber lines, ect.) may    vary depending upon the particular implementation.
 be shared or exclusive. Accordingly, the network monitor 50 However, in one illustrative embodiment, the network con-
 308 correlates the information of the various communication       troller 304 is a Sun Netra T1 server operating using a Solaris
 links 318 and presents it to the resource database 312 in a       operating system.
 logical manner. For example, the network monitor 308 may             Furthermore, although the network controller 304, the
 need to combine information from communication resources          network monitor 308, and the resource database 312 are
 at multiple OSI layers or combine information from com- 55 illustrated as separate devices, the functionality of each
 munication resources in the same OSI layer. Moreover, the         device may be implemented within a single device.
 network monitor 308 may also collect topological informa-         Moreover, the specific embodiment of the control system
 tion related to the network element 314, and this information     300 may vary depending upon the particular implementa-
 may also be included in the resource database 312. For            tion.
 example, the network monitor 308 may capture the site of 60          Referring to FIG. 4, a method for providing broadband
 location of a particular router, ATM switch, fiber line, etc.     communications over a multi-layered network having a
 and the manner in which other devices are connected to it.        plurality of OSI reference model layers functioning therein
 To this end, the network monitor 308 may use standard             is shown. This process is discussed with reference to FIG. 3
 industry techniques, such as simple network monitoring            to simplify illustrating the present invention. It should be
 protocol (SNMP) and remote network monitoring (RMON) 65 appreciated that the configuration of the control system 300,
 to perform its monitoring and reporting to the network            shown in FIG. 3, is just one of many possible solutions that
 controller 304 and the resource database 312.                     may be used to implement the present invention. As a result,
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 the particular details of the control system 300, such as              links 318, and monitor the communication resources accord-
 hardware, topography, connections, protocols, and the like,            ing to the classification schemes in the resource database
 should be considered for the purpose of illustration and not           312.
 for the purpose of limitation. As described above, the exact               The network monitor 308 may monitor the communica-
 details of the control system 300 may vary depending upon         5    tion resources of the various network elements 314 search-
 the particular implementation. Furthermore, even though                ing for quality of service events. Generally, a quality of
 much of FIG. 4 will be discussed with reference to the                 service event may be defined as any event that effects the
 Internet, it should be appreciated that the method depicted            quality of service of data being sent across a communication
 therein would be equally applicable to any communication               system. Some exemplary quality of service measurements
 system having a plurality of OSI reference model layers           10
                                                                        include error seconds, unavailable seconds, packet loss rate,
 functioning therein.                                                   transmission time (latency), jitter (deviations from an
    At block 400, the control system 300 monitors at least one          expected value), bandwidth throughput, and the like.
 OSI reference model layer operating in the network element                 Depending upon the implementation, the network monitor
 314. As discussed above, the communication links 318                   308 may define and monitor error seconds in a variety of
 connected to each network element 314 may be categorized,         15   ways. That is, the specific error second thresholds that the
 in the resource database 312, according to their functional            network monitor 308 searches for may vary depending upon
 layers of the OSI reference model. Accordingly, the network            the communication system. In one example, error seconds
 monitor 308 is capable of segmenting its monitoring of the             may take on its generally accepted meaning as applied to
 communication links 318 based on its own categorization                SONET circuits. However, in another illustrative
 scheme, in the resource database 312. For example, the            20   embodiment, an error second may be defined as any second
 network monitor 308 may focus its interest on the network              in which a minimum of one and a maximum of 44 bit errors
 layer (layer 3) of the OSI reference model by monitoring               have occurred. Similarly, severely errored seconds may be
 routers and/or any other device associated with the IP                 defined as any second in which there have been 45 or more
 protocol. Similarly, the network monitor 308 may focus its             bit errors. Finally, unavailable seconds may be a consecutive
 interest on the physical layer (layer 1) of the OSI model by      25   string of 10 or more severely errored seconds. For example,
 monitoring fiber lines, cable lines, and the like. Moreover,           9 consecutive severely errored seconds are not unavailable
 the network monitor 308 may focus its interest on the                  seconds, but 11 consecutive severely errored seconds are
 application layer (layer 7) of the OSI model by monitoring             also 11 unavailable seconds.
 application programs and the like.                                         Packet loss rate may be defined as the number of packets
    The monitoring process of the network monitor 308 may          30   that are sent to a particular destination but do not arrive.
 be proactive, reactive, or both. In one illustrative                   Again, the network monitor 308 may define any arbitrary
 embodiment, the network monitor 308 may monitor in a                   threshold value for packet loss rate, and the particular
 proactive manner by continually poling resources associated            threshold value may vary depending upon the communica-
 with the OSI layer being monitored. For example, at a                  tion system. For example, if the network monitor 308 was
 predetermined time interval, the network monitor 308 may          35   ensuring a very high quality of service link between two
 send an update request to the communication resources                  points, the packet loss rate and the error second threshold
 operating in the monitored layer of the network element 314.           values may be set low to ensure a high quality of service.
 In response, the communication resources may send the                      Transmission time (i.e., latency) may be defined as the
 requested information back to the network monitor 308.                 time required to send data from a sending point to a
    In another embodiment, the network monitor 308 may             40   destination point. As a practical matter, it is desirable to
 monitor in a more reactive mode, wherein communication                 minimize transmission time. Jitter may be defined as devia-
 resources send alert signals to the network monitor 308                tions from the usual transmission time between the two
 when predetermined alert thresholds are met. For example,              points. For example, if a normal transmission requires 100
 an application program (e.g., a web browser), functioning at           ms and, later, the same transmission takes 200 ms, then the
 layer 7 of the OSI reference model, may alert the network         45   jitter value for that particular communication link may be
 monitor 308 when it is about to send time sensitive data               approximately 100 ms. Moreover, excessive transmission
 through the network element 314. As will be described                  time and jitter may severely limit the ability to send rich
 below, once alerted, the network monitor 308 may signal the            media content across a communication link 318 (i.e., exces-
 network controller 304 to take appropriate action in response          sive transmission time and jitter may result in low quality of
 to the alert from the application program.                        so   service) even when the communication link 318 has suffi-
    As described above, some communication resources may                cient bandwidth for the transmission.
 be difficult to associate with a single OSI layer. Accordingly,            Bandwidth throughput is probably the most commonly
 the network monitor 308 may be required to monitor more                used quality of service measurement. It is often defined as
 than one OSI layer to capture an accurate state of the                 "the size of the pipe" between two points. For example, a
 network element 314. To accomplish this, the network              55   DS-3 line may have a bandwidth throughput of 44.736 Mb/s,
 controller 304 may access the resource database 312 to                 while an 0C-1 line may have a bandwidth throughput of
 determine how to monitor the resources associated with a               51.84 Mb/s. Generally, a measurement of bandwidth
 particular network element 314. For example, regardless of             throughput, alone, is insufficient to predict or gauge the
 how the network monitor 308 has categorized the commu-                 quality of service that will be experienced between two
 nication resources in the resource database 312, the network      60   points in a communication system. For example, even
 monitor 308 may re-access its classification scheme from the           though a communication link may have a large bandwidth
 resource database 312, and use it to facilitate monitoring the         throughput, if the communication link produces a large
 corresponding resources of a network element 314. For                  value for error seconds, packet loss, or jitter, the quality of
 example, in one illustrative embodiment, the network moni-             service experienced for the communication link may be very
 tor 308 may continually loop through the entries in the           65   poor. As such, it may be necessary for the network monitor
 resource database 312, use the entries to associate commu-             308 to monitor a variety of quality of service measurements
 nication resources with their corresponding communication              to ensure a that a particular quality of service is maintained.
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    Referring again to FIG. 4, at block 404, the network                In another illustrative example, an application program
 monitor 308 may determine that a quality of service event           may signal the network monitor 308 that it expects to send
 has occurred in the network element 314. As described               rich media content to a particular location in a network.
 above, the network monitor 308 may monitor various qual-            Accordingly, the network monitor 308 may characterize the
 ity of service measurements in the network element 314. 5 signal as a quality of service event. The network monitor 308
 Determining whether a quality of service event has occurred         may then locate where in the OSI reference model the
 may vary depending upon, for example, the quality of                application program resides using the resource database 312.
 service measurement, the OSI reference model layer being            For  example, the network monitor 308 may determine that
 monitored, the communication link 318, and the like.                the application program functions at layer 7 in the OSI
 However, in one illustrative embodiment, the network moni- 10 reference mode. Therefore layer 7 would become layer N.
 tor 308 may monitor a network element 314 for severely                 Referring back to FIG. 4, at block 408, the network
 errored seconds, and if a severely errored seconds measure-         controller 304 may respond to the quality of service event in
 ment is determined to occur in the network element 314, the         the network element 314 by changing the network provi-
 network monitor 308 may determine that a quality of service         sioning at a layer less than N. As described above, the
 event has occurred.                                              15 resource database 312 organizes communication resources
                                                                     of the network element 314 according to where the com-
    In another illustrative example, an application program
                                                                     munication resources fit in the OSI reference model.
 (e.g., a web browser application) functioning at layer 7 of
                                                                     Additionally, the resource database 312 maintains the rela-
 the OSI reference model may signal the network monitor
                                                                     tionship between the various layers in the OSI model for the
 308 that it intends to send rich media content to a particular
                                                                     communication     resources. For example, in one illustrative
 destination in the network element 314. This signal from the 20
                                                                     embodiment, a communication link 318, when viewed from
 application program may be considered by the network
                                                                     the perspective of layer 3, may appear to be an IP path.
 monitor 308 to be a quality of service event.
                                                                     Accordingly, the communication link 318 would be orga-
    It should be appreciated that a quality of service event         nized in the resource database 312 at layer 3. However, the
 may occur from any functional level of the OSI reference
                                                                  25 IP path may also include a collection of fiber circuits that
 model. For example, the quality of service event may occur          only appears to be an IP path when viewed from layer 3.
 from an application program (layer 7), a router (layer 3), an       Accordingly, in this illustrative example, the communication
 ATM circuit (layer 2), an add drop multiplexer (ADM) of a           link 318 would also be organized in the resource database
 fiber circuit (layer 1), etc. Moreover, the network monitor         312 under layer 1. The network monitor 308 and the
 308 may determine that a quality of service event has               resource database 312 maintain these relationships for all
 occurred in a network element 314 using proactive, reactive, 30 communication resources entered into the resource database
 or any other measuring technique.                                   312.
    In addition to the quality of service measurements, a               In another illustrative embodiment, a communication link
 quality of service event may be the addition or deletion of         318, may again appear to be solely an IP path when viewed
 communication resources in a network element 314. For 35 from the perspective of layer 3. However, the IP path may
 example, the network monitor 308 may be used to determine           also include a collection of fiber circuits, ATM circuits,
 when additional communication resources (i.e., fiber lines,         leased lines, and the like. Accordingly, the communication
 routers, ATM circuits, ATM switches, leased lines, new              link 318 would be organized in the resource database 312
 routing protocols, data delivery programs, hardware,                under layer 3, layer 2, and layer 1. Again, the network
 software, etc.) have been added to a particular network 40 monitor 308 and the resource database 312 maintain these
 element 314. When this occurs, the network monitor 308              relationships, which may be recalled upon request.
 may, among other things, determine that a quality of service           Referring back to FIG. 4, at block 412, when the network
 event has occurred in the network element 314, update the           monitor 308 detects that a quality of service event has
 resource database 312 with the new communication                    occurred in the network element 314, the network controller
 resources, and alert the network controller 304 respond.         45 304 may be called upon to respond to the quality of service
    Similarly, when communication resources are removed              event by changing the network provisioning at an OSI layer
 from a network element 314, either temporarily or                   less than N. An illustrative example of this is shown in FIGS.
 permanently, the network monitor 308 may initiate a similar         5A, 5B, and 5C.
 course of action. That is, the network monitor 308 may                 Referring to FIG. 5A, a simplified illustrative communi-
 determine that a quality of service event has occurred in the 50 cation system 500 is shown. It should be appreciated that
 network element 314, remove the resources from the                  much of the complexity of the communication system 500
 resource database 312, and alert the network controller 304         has been removed for the purpose of simplifying the illus-
 to respond.                                                         tration of the present invention. When viewed from layer 3,
    Once a quality of service event is detected, the network         the communication system 500 is comprised of a first user
 monitor 308 may determine that the quality of service event 55 504 coupled to a first router 508 over a first signaling line
 occurred at a layer N in the OSI reference model. For               512, and a second user 516 connected to a second router 520
 example, the network monitor 308 may use the resource               over a second signaling line 524. A data line 528 is coupled
 database 312 to determine where in the OSI reference model          between the first and second router 508, 520. In this
 the quality of service event occurred. In one illustrative          embodiment, if the network monitor 308 determines that a
 embodiment, the network monitor 308 may determine that a 60 quality of service event has occurred in the communication
 particular router is experiencing a high packet loss rate (i.e.,    system 500, the network monitor 308, using the resource
 the network monitor 308 may determine that a quality of             database 312, is likely to determine that the quality of
 service event has occured.) The network monitor 308 may             service event has occurred at the network layer of the OSI
 then locate the router in the resource database 312 and             reference model (layer 3). However, the network monitor
 determine that the quality of service event is occurring at the 65 308 may use its knowledge of the communication system
 network layer of the OSI reference model (layer 3).                 500 and the resource database 312 to determine that the
 Therefore, layer 3 would become layer N.                            communication system 500 is actually made up of commu-
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 nication resources occupying different levels of the OSI               sion load carried between the first and second STM-1 lines
 reference model.                                                       540, 544. For example, if the first user 504 is about to send
    Referring to FIG. 5B, when viewed from layer 2 and layer            a large amount of data to the second user 516, in response
 1 of the OSI reference model, the communication system                 to this quality of service event (i.e., a layer 7 event), the
 500 may actually include additional communication 5 network controller 304 may adjust the load on the first and
 resources, such as first and second add drop multiplexers              second STM-1 lines 540, 544, such that the connection
 532, 536 and first and second STM-1 lines 540, 544 each                between the first and second users 504, 516 is allotted
 having 155 Mb/s of bandwidth (310 Mb/s total.) Generally,              additional bandwidth.
 the infrastructure of the communication system 500 residing               Once the transmission is complete, the application °per-
 in layer 2 and layer 1 of the OSI reference model is il/ ating at the first user 504 may send an additional quality of
 transparent when the communication system 500 is viewed                service signal to the network monitor 308 that the transmis-
 from layer 3. That is, the first and second routers 508, 520           sion is compete. The network monitor 308 may then signal
 and the first and second users 504, 516, of FIG. 5A, may be            the network controller 304 to respond to the quality of
 unaware that the communication resources of FIG. 5B (e.g.,             service event, and the network controller 304 may readjust
 ADM multiplexers, fiber lines, etc.) are used to transport 15 the load on the first and second STM-1 lines 540, 544 back
 data in the communication system 500. Moreover, if a                   to its previous state.
 quality of service event is occurring in the communication                In yet another illustrative embodiment, referring back to
 system 500, it may appear that the quality of service event            FIG. 5A, the network monitor 308 may determine that a
 is occurring at layer 3 (i.e., FIG. 5A), when the resolution to        quality of service event has occurred in the communication
 the quality of service event is really at layer 2 or layer 1 (i.e., 20 system 500. As described above, the network monitor 308 is
 FIG. 5B.)                                                              likely to determine that the quality of service event has
    Referring to FIG. 5C, once the network monitor 308 has              occurred at the network layer of the OSI reference model
 determined that a quality of service event has occurred at             (layer 3), and the resolution to the quality of service event
 layer 3 (FIG. 5A), the network monitor 308 may signal the              is likely to be at an OSI layer less than 3. When this occurs,
 network controller 304 to respond to the quality of service 25 rather than or in addition to provisioning additional circuits
 event in the communication system 500 by changing the                  between the first and second routers 508, 520, the network
 network provisioning at an OSI layer less than N. In this              controller 304 may respond to the quality of service event
 illustrative example, the OSI layers less than N are layer 2           using multiprotocol label switching (MPLS).
 and layer 1. In FIG. 5C, the network monitor 308 has                      Generally, MPLS involves setting up a specific path for a
 changed the network provisioning in the communication 30 given sequence of packets, which may be identified by a
 system 500 by activating third and fourth STM-1 lines 548,             label inserted in each packet. In this example, rather than
 552, thus, increasing the bandwidth between the first and              looking up the address to the next network element 314, the
 second users 504, 516 to 620 Mb/s.                                     first or second routers 508, 520 may be able to forward the
    The decision to activate the third and fourth STM-1 lines 35 packet to its next destination based on its label. In other
 548, 552 may be based on a variety of factors, such as the             words, MPLS typically allows for packets to be forwarded
 type of quality of service event, past history with the third          at the layer 2 (switching) level rather than at layer 3. Thus,
 and fourth STM-1 lines 548, 552, the characteristics of the            a quality of service event in layer 3 may be resolved by
 data being sent between the first and second users 504, 516            changing the network provisioning at layer 2, using MPLS.
 (e.g., media rich content), and the like. For example, if the 40          The network controller 304 may use MPLS to respond to
 quality of service event was based on error seconds, the third         a layer 3 or any other OSI layer quality of service event by
 and fourth STM-1 lines 548, 552 may have been activated                controlling and determining the particular route data packets
 because they were known to produce relatively few error                traverse through a network. For example, if a quality of
 seconds. Alternatively, the network controller 304 may base            service event is occurring at a particular network element
 the decision on availability, that is, the network controller 45 314, the network controller 304 may use MPLS to route data
 304 may use the additional capacity as a hedge against future          traffic away from the problem causing network element 314.
 error seconds (i.e., error seconds and bandwidth may be                Additionally, the network controller 304 may use MPLS to
 inversely related.)                                                    balance or distribute the traffic load across the network.
    In another illustrative embodiment, the quality of service          Furthermore, the network controller 304 may resolve a
 event may be a signal from an application of the first user so quality of service event using MPLS by ensuring that the
 504 that the application is about to send a large amount of            offending data packet traverse the shortest path possible to
 data to the second user 516. In this example, the quality of           reach their destination. Generally, there are a variety of
 service event may appear to the network controller 304 to be           schemes the network controller 304 may apply using MPLS
 occurring at the application layer of the OSI reference                to resolve a quality of service event occurring at an OSI
 model. Accordingly, layer N, in the OSI reference model, 55 layer greater than 2 (i.e., layers 3-7).
 would become layer 7, and the layers less than N may be                   Referring back to FIG. 4, as described above for block
 OSI layers 6 through 1. Using the resource database 312, the           412, the network controller may respond to the quality of
 network monitor 308 may signal the network controller 304              service event in a multi-layered network by changing the
 to respond to the quality of service event by changing the             network provisioning at a layer less than N. Although this
 network provisioning in the communication system 500 at 60 may be accomplished by provisioning an additional circuit
 an OSI layer less than N. As a result, the network controller          or path, as shown in FIGS. 5B and 5C, a change in the
 304 may take similar action, as described above, and acti-             network provisioning may occur without the addition of any
 vate the third and fourth STM-1 lines 548, 552, illustrated in         new communication circuits or paths. For example, the
 FIG. 5C.                                                               network controller may respond to a quality of service event
    Alternatively, rather than activating the third and fourth 65 by changing the path of an MPLS tunnel or by changing the
 STM-1 lines 548, 552, the network controller 304 may                   priority on a queue in an IP router. Accordingly, for the
 change the network provisioning by balancing the transmis-             purpose of the present invention, any change in the
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 configuration, operation, characteristics, properties, etc. of         As indicated above, aspects of this invention pertain to
 communication resources in a network may be described as            specific "method functions" implementable through various
 a change in network provisioning.                                   computer systems. In an alternate embodiment, the inven-
    At block 416, if the network provisioning has been               tion may be implemented as a computer program product for
 changed at the OSI layer less than N, the network controller 5 use with a computer system. Those skilled in the art should
 304 may signal the network monitor 308 that the change in           readily appreciate that programs defining the functions of
 the network provisioning is complete. The network monitor           the present invention can be delivered to a computer in many
 308 may then update the resource database 312 with the              forms, which include, but are not limited to: (a) information
 change in network provisioning, and the network monitor             permanently stored on non-writeable storage media (e.g.,
 308 may continue to monitor the network element 314, 10 read only memory devices within a computer such as ROMs
 waiting for quality of service events to occur.                     or CD-ROM disks readable only by a computer I/O
    Referring to FIGS. 6A through 6D, another illustrative           attachment); (b) information alterably stored on writeable
 example is shown. In FIG. 6A, a communication system 600            storage media (e.g., floppy disks and hard drives); or (c)
 is shown connecting first and second users 604, 608. As
                                                                     information conveyed to a computer through communica-
 described above, from the perspective of layer 7 and layer 3
                                                                  15 tion media, such as a local area network, a telephone
 of the OSI reference model, the communication system 600,
 more specifically the connection between the first and sec-         network, or a public network like the Internet. It should be
 ond users 604, 608, appears to be a plurality of routers 612        understood, therefore, that such media, when carrying com-
 coupled together by a data line 616. However, referring to          puter readable instructions that direct the method functions
 FIG. 6B, if the communication system 600 is viewed from             of the present invention, represent alternate embodiments of
 layer 7, layer 3, and layer 2, of the OSI reference model, 20 the present invention.
 additional communication resources appear.                             The particular embodiments disclosed above are illustra-
    In FIG. 6B, the communication system 600 may appear,             tive only, as the invention may be modified and practiced in
 in this illustrative embodiment, as an IP cloud 620 having an       different but equivalent manners apparent to those skilled in
 ATM cloud 624 functioning therein. For example, the first           the art having the benefit of the teachings herein.
 user 604 may be coupled to the IP cloud 620 through a first 25 Furthermore, no limitations are intended to the details of
 access router 628, and the first access router 628 may be           construction or design herein shown, other than as described
 coupled to the ATM cloud 624 using a first concentrator             in the claims below. It is therefore evident that the particular
 router 632. Similarly, the second user 608 may be coupled           embodiments disclosed above may be altered or modified
 to the IP cloud 620 through a second access router 636, and         and all such variations are considered within the scope and
 the second access router 636 may be coupled to the ATM 30 spirit of the invention. Accordingly, the protection sought
 cloud 624 using a second concentrator router 640. Again,            herein is as set forth in the claims below.
 many of the complexities of the communication system 600
                                                                        What is claimed:
 have been removed to simplify illustrating the present
                                                                        1. A method for providing broadband communications
 invention.
                                                                     over a multi-layered network having a plurality of Open
    Referring to FIG. 6C, an illustrative example of the ATM 35 System Interconnection (OSI) reference model layers func-
 cloud 624 is shown. In this example, the ATM cloud 624 is           tioning therein, comprising:
 comprised of multiplexers 644 and first and second virtual
                                                                        monitoring at least one OSI reference model layer func-
 circuits 648, 652. Moreover, the virtual circuits 648, 652
                                                                           tioning in the multi-layered network;
 may be permanent virtual circuits or switched virtual cir-
 cuits. As described above, if the network monitor 308 40               determining    that a quality of service event has occurred in
 determines that a quality of service event has occurred at a              the multi-layered network;
 layer N, the network controller 304 may respond to the                 determining that the quality of service event occurred at
 quality of service event by changing the network provision-               layer 3 in the OSI reference model and that the layer 3
 ing at an OSI layer less than N.                                          quality of service event is related to an Internet Proto-
    Referring to FIG. 6D, if the network monitor 308 deter- 45             col (IP);
 mines that a quality of service event has occurred at OSI              responding to the quality of service event in the multi-
 layer 3 (FIG. 6A), the network controller 304 may respond                 layered network by changing network provisioning at
 to the quality of service event by changing the network                   layer 1 in the OSI reference model, wherein the change
 provisioning at layer 2 or layer 1 of the OSI model. For                  at layer 1 includes provisioning additional fiber optic
 example, in FIG. 6D, the network controller 304 has pro- 50               circuits in the multi-layered network; and
 visioned a third virtual circuit 656 in response to the quality        signaling that the network provisioning at layer 1 of the
 of service event.                                                         OSI reference model has been changed.
    In another embodiment, the quality of service event, at             2. The method of claim 1 further comprising:
 layer 3, may be the activation of the third virtual circuit 656.       segmenting the multi-layered network into communica-
 For example, as networks grow, additional communication 55                tion resources; and
 resources are continually being brought online. When this              organizing the communication resources into a classifi-
 occurs, the newly added resources (e.g., the third virtual                cation scheme based on the functionality of the com-
 circuit 656) may appear at layer 3 (FIG. 6A) as an increase               munication resources and the OSI reference model,
 in available throughput capacity, thus, triggering a quality of           wherein the classification scheme maintains the rela-
 service event at layer 3. In response to the quality of service 60        tionships between the communication resources and
 event, the network controller 304 may provision the newly                 the OSI reference model.
 added third virtual circuit 656 for communication between              3. The method of claim 2, wherein the classification
 the first and second user 632, 636. As described above, once        scheme is stored in a resource database and monitoring at
 the change in network provisioning is complete, the network         least one OSI reference model layer functioning in the
 controller 304 may send a signal to the network monitor 308, 65 multi-layered network comprises:
 and the network monitor 308 may update the resource                    looping through the resource database to re-access the
 database 312.                                                             classification scheme; and
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    monitoring the communication links according to the                    signaling that the network provisioning at the layer less
       classification scheme in the resource database.                        than N has been changed.
    4. The method of claim 3, wherein signaling that the                   12. The method of claim 11 further comprising:
 network provisioning in the layer less than N has been                    segmenting the multi-layered network into communica-
 changed comprises updating the resources database with the        5          tion resources; and
 change in the network provisioning.                                       organizing the communication resources into a classifi-
    5. The method of claim 1, wherein determining that a                      cation scheme based on the functionality of the com-
 quality of service event has occurred in the multi-layered                   munication resources and the OSI reference model,
 network comprises determining that a communication link                      wherein the classification scheme maintains the rela-
 in the multi-layered network has insufficient bandwidth.                     tionships between the communication resources and
                                                                   10
    6. A method for providing broadband communications                        the OSI reference model.
 over a multi-layered network having a plurality of Open                   13. The method of claim 12, wherein the classification
 System Interconnection (OSI) reference model layers func-              scheme is stored in a resource database and monitoring at
 tioning therein, comprising:                                           least one OSI reference model layer functioning in the
    monitoring at least one OSI reference model layer func-             multi-layered network comprises:
                                                                   15
       tioning in the multi-layered network;                               looping through the resource database to re-access the
    determining that a quality of service event has occurred in               classification scheme; and
       the multi-layered network;                                          monitoring the communication links according to the
    determining that the quality of service event occurred at                 classification scheme in the resource database.
       layer 3 in the OSI reference model and that the layer 3             14. The method of claim 13, wherein signaling that the
       quality of service event is related to an Internet Proto-   20   network provisioning in the layer less than N has been
       col (IP);                                                        changed comprises updating the resources database with the
    responding to the quality of service event in the multi-            change in the network provisioning.
       layered network by changing network provisioning at                 15. The method of claim 11, wherein the quality of service
       layer 2 in the OSI reference model, wherein the change           event in the multi-layered network occurs at layer 3 in the
       at layer 2 includes provisioning additional ATM virtual     25   OSI reference model and responding to the quality of service
       circuits; and                                                    event comprises provisioning additional OSI layer 2 circuits
    signaling that the network provisioning at layer 2 of the           in a communication link of the multi-layer network.
       OSI reference model has been changed.                               16. The method of claim 15, wherein the quality of service
    7. The method of claim 6 further comprising:                        event at layer 3 in the OSI reference model is related to an
    segmenting the multi-layered network into communica-           30   internet protocol (IP) and responding to the quality of
       tion resources; and                                              service event comprises provisioning additional ATM virtual
    organizing the communication resources into a classifi-             circuits.
       cation scheme based on the functionality of the com-                17. The method of claim 15, wherein the quality of service
       munication resources and the OSI reference model,                event at layer 3 in the OSI reference model is related to an
       wherein the classification scheme maintains the rela-       35   internet protocol (IP) and responding to the quality of
       tionships between the communication resources and                service event through OSI layer 2 comprises resolving the
       the OSI reference model.                                         quality of service event using multiprotocol label switching
    8. The method of claim 7, wherein the classification                (MPLS).
 scheme is stored in a resource database and monitoring at                 18. The method of claim 11, wherein determining that a
 least one OSI reference model layer functioning in the            40   quality of service event has occurred at a layer N in the
 multi-layered network comprises:                                       multi-layered network comprises determining that addi-
                                                                        tional communication resources have been brought online in
    looping through the resource database to re-access the
                                                                        the multi-layered network.
       classification scheme; and
                                                                           19. The method of claim 18, wherein responding to the
    monitoring the communication links according to the            45   quality of service event in the multi-layered network com-
       classification scheme in the resource database.                  prises provisioning the additional communication resources
    9. The method of claim 8, wherein signaling that the                to a network element in the multi-layer network, wherein the
 network provisioning in the layer less than N has been                 network element has an OSI layer less than N functioning
 changed comprises updating the resources database with the             therein.
 change in the network provisioning.                               50      20. The method of claim 11, wherein the quality of service
    10. The method of claim 6, wherein determining that a               event in the multi-layered network occurs at layer 3 in the
 quality of service event has occurred in the multi-layered             OSI reference model and responding to the quality of service
 network comprises determining that a communication link                event comprises provisioning additional OSI layer 1 circuits
 in the multi-layered network has insufficient bandwidth.               in a communication link of the multi-layer network.
    11. A method for providing broadband communications            55      21. The method of claim 20, wherein the quality of service
 over a multi-layered network having a plurality of Open                event at layer 3 in the OSI reference model is related to an
 System Interconnection (OSI) reference model layers func-              internet protocol (IP) and provisioning additional OSI layer
 tioning therein, comprising:                                           1 circuits comprises provisioning additional fiber optic cir-
    monitoring at least one OSI reference model layer func-             cuits.
       tioning in the multi-layered network;                       60      22. The method of claim 11, wherein determining that a
    determining that a quality of service event has occurred in         quality of service event has occurred in the multi-layered
       the multi-layered network;                                       network comprises determining that a communication link
    determining that the quality of service event occurred at           in the multi-layered network has insufficient bandwidth.
       a layer N in the OSI reference model;                               23. The method of claim 11, wherein determining that a
    responding to the quality of service event in the multi-       65   quality of service event has occurred in the multi-layered
       layered network by changing network provisioning at a            network comprises determining that a communication link
       layer less than N; and                                           in the multi-layered network is exhibiting excessive latency.
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    24. The method of claim 11, wherein determining that a                 tionships between the communication resources and
 quality of service event has occurred in the multi-layered                the OSI reference model.
 network comprises determining that a communication link                35. The method of claim 34, wherein the classification
 in the multi-layered network is exhibiting excessive packet         scheme is stored in a resource database and monitoring at
 loss.                                                            5 least one OSI reference model layer functioning in the
    25. The method of claim 11, wherein determining that a           multi-layered network comprises:
 quality of service event has occurred in the multi-layered             looping through the resource database to re-access the
 network comprises determining that a communication link                   classification scheme; and
 in the multi-layered network is exhibiting excessive jitter.           monitoring the communication links according to the
    26. The method of claim 11, wherein determining that a 10              classification scheme in the resource database.
 quality of service event has occurred at a layer N in the              36. The method of claim 31 wherein resolving the quality
 multi-layered network comprises determining that a group            of service event using multiprotocol label switching further
 of communication resources are no longer operating in the           comprises:
 multi-layered network.
                                                                        determining a location of the quality of service event in
    27. The method of claim 11, wherein the quality of service 15
                                                                           the multi-layered network; and
 event in the multi-layered network occurs at layer 3 in the
 OSI reference model and responding to the quality of service           using   MPLS to route data traffic away from the quality of
 event comprises balancing bandwidth demand in existing                    service  event.
 layer 1 circuits of the multi-layered network.                         37. The method of claim 31, wherein determining that a
    28. The method of claim 11, wherein the quality of service 20 quality of service event has occurred in the multi-layered
 event in the multi-layered network occurs at layer 7 in the         network comprises determining that a communication link
 OSI reference model and responding to the quality of service        in  the multi-layered network has insufficient bandwidth.
 event comprises provisioning additional OSI layer 1 circuits           38. A system for providing broadband communications,
 in a communication link of the multi-layer network.                 comprising:
    29. The method of claim 11 wherein monitoring at least 25           a multi-layered network having a plurality of Open Sys-
 one OSI reference model layer functioning in the multi-                   tem Interconnection (OSI) reference model layers func-
 layered network comprises monitoring communication                        tioning therein;
 resources of the multi-layered network using a proactive               a network monitor coupled to the multi-layered network,
 monitoring process.                                                       wherein the network monitor is adapted to:
    30. The method of claim 11 wherein monitoring at least 30              monitor at least one OSI reference model layer func-
 one OSI reference model layer functioning in the multi-                      tioning in the multi-layered network;
 layered network comprises monitoring communication                        determine that a quality of service event has occurred
 resources of the multi-layered network using a reactive                      in the multi-layered network; and
 monitoring process.                                                       determine that the quality of service event occurred at
    31. A method for providing broadband communications 35                    layer N in the OSI reference model; and
 over a multi-layered network having a plurality of Open                a network controller coupled to the multi-layered network
 System Interconnection (OSI) reference model layers func-                 and the network monitor, wherein the network control-
 tioning therein, comprising:                                              ler is adapted to:
    monitoring at least one OSI reference model layer func-                respond to the quality of service event in the multi-
       tioning in the multi-layered network;                      40          layered network by changing the network provision-
    determining that a quality of service event has occurred in               ing at a layer less than N.
       the multi-layered network;                                       39. The system of claim 38, further comprising:
                                                                        a resource database coupled to the network monitor,
    determining that the quality of service event occurred at
                                                                           wherein the network monitor organizes communication
       layer 3 in the OSI reference model and that the layer 3
                                                                  45       resources of the multi-layer network into a classifica-
       quality of service event is related to an Internet Proto-
                                                                           tion scheme based on the functionality of the commu-
       col (IP);
                                                                           nication resources and the OSI reference model, and the
    responding to the quality of service event in the multi-               classification scheme maintains the relationship
       layered network by changing network provisioning at                 between the communication resources and the OSI
       layer 2 in the OSI reference model, wherein the change 50           reference model, which is stored in the resource data-
       at layer 2 includes resolving the quality of service event          base.
       using multiprotocol label switching (MPLS); and                  40. The system of claim 39, further comprising additional
    signaling that the network provisioning at layer 2 of the        communication resources in the multi-layered network
       OSI reference model has been changed.                         wherein the network monitor signals the resource data base
    32. The method of claim 31 wherein resolving the quality 55 that additional communication resources have been brought
 of service event using multiprotocol label switching further        on line, and the additional communication resources are
 comprises balancing data traffic throughout the network.            stored in the resource database.
    33. The method of claim 32, wherein balanacing the data             41. The system of claim 38, wherein the multi-layered
 traffic throughout the network comprises routing time sen-          network comprises an OSI layer 2 circuit that was provi-
 sitive data through the shortest possible path in the network. 60 sioned by the network controller in response to a quality of
    34. The method of claim 31 further comprising:                   service event at OSI layer 3 in the multi-layered network.
    segmenting the multi-layered network into communica-                42. The system of claim 38, wherein the multi-layered
       tion resources; and                                           network comprises an OSI layer 1 circuit that was provi-
    organizing the communication resources into a classifi-          sioned by the network controller in response to a quality of
       cation scheme based on the functionality of the com- 65 service event at OSI layer 3 in the multi-layered network.
       munication resources and the OSI reference model,                43. The system of claim 38, wherein the multi-layered
       wherein the classification scheme maintains the rela-         network comprises an OSI layer 2 circuit that was provi-
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 sioned by the network controller in response to a quality of            determining that the quality of service event occurred at
 service event at OSI layer 7 in the multi-layered network.                a layer N in the OSI reference model;
    44. The system of claim 38, wherein the multi-layered
                                                                         responding to the quality of service event in the multi-
 network comprises an OSI layer 1 circuit that was provi-
 sioned by the network controller in response to a quality of     5
                                                                            layered network by changing network provisioning at a
 service event at OSI layer 7 in the multi-layered network.                 layer less than N; and
    45. The system of claim 38, wherein the multi-layered                signaling that the network provisioning at the layer less
 network comprises layer 3 network elements that were                       than N has been changed.
 configured by the network controller in response to a quality
                                                                         49. A system for providing broadband communications,
 of service event at OSI layer 7 in the multi-layered network.    10
    46. The system of claim 38, wherein the network monitor            comprising:
 monitors communication resources of the multi-layered net-              means for monitoring at least one OSI reference model
 work using a proactive monitoring process.                                layer functioning in the multi-layered network;
    47. The system of claim 38, wherein the network monitor
 monitors communication resources of the multi-layered net-       15
                                                                         means for determining that a quality of service event has
 work using a reactive monitoring process.                                occurred in the multi-layered network;
    48. A computer readable program storage device encoded               means for determining that the quality of service event
 with instructions that, when executed by a computer, per-                occurred at a layer N in the OSI Reference Model;
 forms a method for providing broadband communications
 over a multi-layered network having a plurality of Open          20     means for responding to the quality of service event in the
 System Interconnection (OSI) Reference Model layers func-                 multi-layered network by changing network provision-
 tioning therein, comprising:                                              ing at a layer less than N; and
    monitoring at least one OSI reference model layer func-              means for signaling that the network provisioning at the
      tioning in the multi-layered network;                                layer less than N has been changed.
                                                                  25
    determining that a quality of service event has occurred in
      the multi-layered network;                                                            *   *
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                       Exhibit F
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                                                                                    19111J!!11111111111111111
 (12)   United States Patent                                                 (to) Patent No.:     US 6,891,807 B2
        Roskind et al.                                                       (45) Date of Patent:     May 10, 2005


 (54)   TIME BASED WIRELESS ACCESS                                       EP                999 672                    5/2000   HO4L/12/28
        PROVISIONING                                                     EP              1 081 895                    3/2001   HO4L/12/28
                                                                         EP              1 126 681                    8/2001   HO4L/29/06
 (75)   Inventors: James A. Roskind, Redwood City, CA                    EP              1 191 763                    3/2002   HO4L/29/06
                   (US); John D. Robinson, South Riding,                 EP              1 225 778                    7/2002    HO4Q/7/38
                                                                         JP            2001-308866                   11/2001   HO4L/12/28
                   VA (US)
                                                                         WO            WO 01/22661                    3/2001   HO4L/12/28
 (73)   Assignee: America Online, Incorporated, Dulles,                                          OTHER PUBLICATIONS
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                                                                         Microsoft Announces Wireless Provisioning Services; Geek-
 (*)    Notice:     Subject to any disclaimer, the term of this          Zone; Wi—Fi, posted Dec. 10, 2003 20:56:21 NZ.
                    patent is extended or adjusted under 35              HP Spotlights Mobile Gear; Ina Fried; CNET News.com;
                    U.S.C. 154(b) by 94 days.                            Oct. 13, 2003.
                                                                         Wireless Provisioning Services Overview; The Cable Guy—
 (21)   Appl. No.: 10/341,847                                            Dec. 2003; TechNet Newsletter; 2004 Microsoft Corpora-
 (22)   Filed:      Jan. 13, 2003                                        tion.

 (65)               Prior Publication Data                                                                (Continued)

        US 2004/0165546 Al Aug. 26, 2004                                 Primary Examiner—Melvin Marcelo
                                                                         (74) Attorney, Agent, or Firm—Glenn Patent Group;
 (51)   Int. C1.7                 1104L 12/26; HO4Q 7/34
                                                                         Michael A. Glenn
 (52)   U.S. Cl.                         370/255; 370/338
 (58)   Field of Search                      370/254, 255,               (57)                            ABSTRACT
                  370/338; 455/422, 435, 410, 411; 380/247
                                                                         A method and apparatus is provided for the time-based
 (56)                  References Cited                                  provisioning of wireless devices. A network access point
                                                                         monitors operation of wireless devices within a service
                  U.S. PATENT DOCUMENTS                                  region. When provisioning logic is activated at the network
      5,461,627   A * 10/1995 Rypinski                   370/346         access point, the access point determines if the tracked
      6,058,106   A     5/2000 Cudak et al.              370/313         parameter (such as power on or the onset of signal
     6,167,428    A    12/2000 Ellis                     709/201         transmission) of the wireless device occurs within a desig-
     6,272,129    B1    8/2001 Dynarski et al.           370/356         nated time interval from the time of the provisioning acti-
     6,275,693    B1    8/2001 Lin et al.                455/414         vation. If the tracked device qualifies, the network access
     6,282,183    B1    8/2001 Harris et al.             370/338         point proceeds with provisioning the device. In one system
     6,317,594    B1 11/2001 Gossman et al.              455/414         embodiment, the network access point tracks the power on
      6,334,056   B1 12/2001 Holmes et al.               455/445         time of wireless devices. When a wireless device to be
      6,359,880   B1    3/2002 Curry et al.              370/352         authorized is powered on, the provisioning logic at the
      6,418,146   B1    7/2002 Miloslaysky               370/400
      6,418,324   B1    7/2002 Doviak et al.             455/556         network access point notes the power on time. The user then
  2001/0048744    Al * 12/2001 Kimura                    380/247         activates the provisioning access at the network access
  2003/0152235    Al * 8/2003 Cohen et al.               380/278         point, and the network access point provisions the wireless
                                                                         device if it is recently powered on.
            FOREIGN PATENT DOCUMENTS
 EP                814 623         12/1997          HO4Q/7/22                                71 Claims, 7 Drawing Sheets



                                                     16       28                                               20
                                           24                      3    34 f32                   12
                              48      22

                                     Transceiver    30             Transceiver     Network
                                                                                  Access Point
                              Communication                                                    43a
                                 Logic                                                   f42       43b s40
                                  Device                                          Access Control
                                 Identifier              44        Time Based
                                                                   Provisioning       List
                                                                                         I   0    I
                                        Power                                                         Network
                                                                    Activation                        Functions

                               50 26 27                                     46 36) 43n'
                                14
                               Wireless                                                            Network          39
                               Device                                                             Connection
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                                                     HM



                                                     14n
                                                                   18
                                          El


               14b 16 14h
                                                                   HM


                                                         a      14a
       14f                                                    1- 14c
      I4g                                           16
                                               12
                                                         20

                                     16                       17
                    14d
                                                                   /

                •




                                                                Fig. 1
                           16       28                                          (20
                                                                                               Waled *S11




               24                        of34     f32             f 12
48        22        \\7
           Transceiver    30             Transceiver      Network
                                                         Access Point
Communication                                                        3a
                                                                                             sooz `ill sulk




   Logic                                                          424 43b c40
       Device
                                         Time Based      Access Control
      Identifier               44
     —7"                                 Provisioning         List                 L_
             Power                                                         Network
                                          Activation                       Functions
                                                                                               L JO Z lamIS




501f 26 27                                        46         1 43n1
                                                        36
 14
Wireless
                                                                            work
                                                                         Net38          39
Device                                             Fig. 2               Connection
                                                                                               ZS LOWT68`9 Sa
                                                                                                                Case 1:21-cv-01323-CFC Document 1-1 Filed 09/17/21 Page 54 of 440 PageID #: 103
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       Track Power On of Devices                      52a
        at Network Access Point

                Power On
              Wireless Device
                                 f 56
                                                        Time Based
             Activate Access         i 58             57 Device
                                        (Press          Qualification
                    at
           Network Access Point       Button)


                      Is            60           62
                There Recent
                                      Yes
                Power On of                                    f 64
               Wireless Device
                       7                               Initiate
                                6
                                                     Provisioning


               Deny Access
                                     j 68
                                               Fig. 3
Case 1:21-cv-01323-CFC Document 1-1 Filed 09/17/21 Page 56 of 440 PageID #: 105


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       Track Power On of Devices           54i -5213
        at Network Access Point

             Activate Access    j 58
                    at           (Press
           Network Access Point Button)                Time Based
                                                     57 Device
                                    56                 Qualification
                Power On
              Wireless Device

                     Is             60         162
               There Recent              Yes
               Power On of                                    1 64
              Wireless Device
                                                        Initiate
                                                     Provisioning

                                    f68
               Deny Access

                                                Fig. 4
Case 1:21-cv-01323-CFC Document 1-1 Filed 09/17/21 Page 57 of 440 PageID #: 106


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                              Acceptance                        7Oa
                             Time Interval
                                          74
                             80                76
                                                          Provisioning
                                                        58 Activation



                              56                    \

                                                                 Time
             78      88             84              86
        Power On                                              72 C
            of
                                            82
        Unaccepted
         Device                                         Fig. 5
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                             Provisioning                                70b
                              Activation
                                    58                                   I
                                                 74 Acceptance
                       S80           i                  Time Interval



                             76
                       Device
                      Activation -
                              56 - ---4'
                                                 7/               J          .
                                                               Time
              78      g             84C ( 86                      c
          Power On                                           72
              of                        82
          Unaccepted
           Device                        Fig. 6
                         92     16                                                       j90
                                          28
                                                                                                     Pined *S'Il




                                               v --34 „.32
48     22A
                                                        2_
           Transceiver        30 X94           Transceiver         Network
                                                                  Access Point
Communication                                                                    43a
                                                                                                     soot `0I iCulAI




   Logic                                                                    42         43b X40
    Device
                                               Time Based         Access Control
   Identifier                      44          Provisioning            List
                                                                         1 =
                                                                   50 i-r---1       Network
           Power                               a   A ctivation
                                                                                                     L JO L 13311S




                   On                                                    I          Functions


                                                         AA           43n
50) 26' 27                                                       36
 14                           57,62
                          Time Based                  20                             38f
Wireless                                                                          Network
                          Qualification                                                         39
Device                                                     Fig. 7                Connection
                                                                                                      Z11 LOW-168`9 Sa
                                                                                                                         Case 1:21-cv-01323-CFC Document 1-1 Filed 09/17/21 Page 59 of 440 PageID #: 108
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                                                    US 6,891,807 B2
                              1                                                                  2
           TIME BASED WIRELESS ACCESS                                Software and Multimedia Laboratory, Helsinki University of
                  PROVISIONING                                       Technology, P.B. 400, FIN-02015 HUT, Finland, describes
                                                                     Bluetooth Technology as "a short-range wireless cable
                                                                     replacement technology enabling restricted types of ad hoc
                 FIELD OF THE INVENTION                            5 networks to be formed. All the while, a need for connecting

    The invention relates to the field of wireless connections       wearable devices, such as PDAs, mobile phones, and mp3-
 between a wireless device and a network. More particularly,         players, is rising. Such networks may be formed using
 the invention relates to access provisioning between one or         Bluetooth technology, but issues such as security must be
 more wireless devices and an intranet access point.                 taken into consideration. Although an attempt to tackle
                                                                  10 security is made, the result is too weak to be used for
           BACKGROUND OF THE INVENTION                               anything else than for personal purposes."
    In local area networks, such as wireless home networks,             Other systems provide various details of the operation of
 one or more wireless devices, e.g. such as IEEE 802.11b             wireless devices within a network, such as U.S. Pat. No.
 devices, are linked to the network by a provisioning process        6,418,324, Apparatus and Method for Transparent Wireless
 through a network access point. When a user acquires a new 15 Communication; U.S. Pat. No. 6,418,146, Integrated Com-
 wireless device, they need to securely tie it to their intranet,    munication Center Functionality for WAP Devices; U.S. Pat.
 which comprises telling the intranet to accept wireless             No. 6,359,880, Public Wireless/Cordless Internet Gateway;
 communications from the device, as well as provisioning the         U.S. Pat. No. 6,334,056, Secure Gateway Processing for
 device with key material, such as for creating an encrypted         Handheld Device Markup Language; U.S. Pat. No. 6,317,
 connection. In conventional networks having one or more 20 594, System and Method for Providing Data to a Wireless
 devices to be provisioned to a network access point, device         Device Upon Detection of Activity of the Device on a
 identification information, such as a MAC address, is               Wireless Network; U.S. Pat. No. 6,282,183, Method for
 required to be communicated from the wireless device to the         Authorizing Coupling between devices in a Capability
 access point.                                                       Addressable Network; U.S. Pat. No. 6,272,129, Dynamic
    Several methods have been described for wireless access 25 Allocation of Wireless Mobile Nodes Over An Internet
 provisioning to integrate wireless devices into a network.          Protocol (IP) Network; U.S. Pat. No. 6,167,428, Personal
                                                                     Computer Microprocessor Firewalls for Internet Distributed
    M. Cudak, B. Mueller, J. Kelton, and B. Classon, Network
                                                                     Processing; European Pat. No. 1225778, Wireless Repeater
 Protocol Method, Access Point Device and Peripheral
                                                                     Using Identification of Call Originator; European Pat. No.
 Devices for Providing for an Efficient Centrally Coordinated
                                                                  30 EP 1191763, Access Authentication System for a Wireless
 Peer-to-Peer Wireless Communications Network, U.S. Pat.
                                                                     Environment; European Pat. No. 1126681, A Network Portal
 No. 6,058,106, disclose a "peer-to-peer wireless communi-
                                                                     System and Methods; European Pat. No. EP1081895,
 cations network wherein the access point device: (1) broad-
                                                                     Secure Wireless Local Area Network; European Pat. No. EP
 casts a block assignment that specifies a wireless source
                                                                     999672, System and Method for Mapping Packet Data
 peripheral device and a wireless destination peripheral
                                                                  35 Functional Entities to Elements in a Communications Net-
 device; (2) receives, from the wireless destination peripheral
                                                                     work; European Pat. No. EP814623, Mobile Decision Meth-
 device, sequence information; (3) determines whether the
                                                                     odology for Accessing Multiple Wireless Data Networks;
 sequence information represents one of: a negative acknowl-
                                                                     Privacy and Authentication for Wireless Local Area
 edgment and a positive acknowledgment with a sequence
                                                                     Networks, Ashar Aziz and Whitfield Diffie; Sun
 number; (4) forwards an acknowledgment to the wireless
                                                                  40 Microsystems, Inc., Jul. 26, 1993; Painting Your Home Blue
 source peripheral based on the sequence information, and
                                                                     (BluetoothTM Wireless Technology),D. Cypher, Proceedings
 repeats steps (1)—(4) until N blocks of data, N a predeter-
                                                                     2002 IEEE 4th International Workshop on Networked
 mined integer, have been transferred from the wireless
                                                                     Appliances, Jan. 15-16, 2002; Wireless Home Networks on
 source peripheral to the wireless destination peripheral."
                                                                     a Hierarchical Bluetooth Scatternet Architecture, W.
    J. Lin, P. Alfano, and S. Upp, Method and Apparatus for 45 Lilakiatsakun, A. Seneviratne, Proceedings Ninth IEEE
 Performing Bearer Independent Wireless Application Ser-             International Conference on Networks; Oct. 10-12, 2001;
 vice Provisioning, U.S. Pat. No. 6,275,693 disclose a pro-          Bluetooth Wireless Technology in the Home, R. Shephard,
 visioning system, in which a "mobile communication device           Electronics & Communication Engineering Journal; Octo-
 contacts a provisioning proxy over the wireless bearer              ber 2001; Wireless Gateway for Wireless Home AV Network
 network, which in turns contacts a provisioning center over 50 and It's Implementation, T. Saito, I. Imoda, Y Takabatke, K.
 a public network. A provisioning tunnel is then established         Teramoto, and K. Fujimoto, IEEE Transactions on Con-
 between the provisioning center and the mobile communi-             sumer Electronics, August 2001; A Wireless Home Network
 cation device. Once the provisioning tunnel is set up, the          and its Applications Systems, H. Fujieda, Y Horiike, T.
 user of the mobile communication device can subscribe to,           Yamamoto, and T. Nomura, IEEE Transactions on Con-
 or unsubscribe from wireless application services."              55 sumer Electronics, May 2000; Wireless Home Link, M.
    Wireless Device Registering Method in Wireless Home              Nakagawa, IEICE Transactions on Communications,
 Network, PCT Patent Application Ser. No. WO 01/2266,                December 1999; An Access Protocol for a Wireless Home
 describes the sending of an authentication key to a device for      Network, A. C. V. Gummalla, and J. 0. Limb, WCNC 1999
 storage, when an identification code received from the              IEEE Wireless Communications and Networking Confer-
 device corresponds to a code stored in an access point.          60 ence; Sep. 21-24, 1999; Firewalls for Security in Wireless
    Secure Wireless LAN, European Pat. No. EP, 1081895,              Networks, U. Murthy, 0. Bukres, W. Winn, and E.
 discloses wireless device use by a wireless device operator         Vanderdez, Proceedings of the Thirty-First Hawaii Interna-
 with an access point connected to a wired LAN in commu-             tional Conference on System Sciences, Jan. 6-9, 1998;
 nication with the wireless device through air channel authen-       Self-Securing Ad Hoc Wireless Networks, Haiyun Luo,
 tication.                                                        65 Petros Aerfos, Jiejun Kng, Songwu Lu, and Lixia Zhang;
    C. Candolin, Security Issues for Wearable Computing and          Wireless Networking for Control and Automation of Off-
 Bluetooth Technology, 23 Oct. 2000, Telecommunications              Road Equipment, J. D. Will; ASAE Meeting Presentation;
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                                                     US 6,891,807 B2
                              3                                                                   4
 and Intrusion Detection in Wireless Ad-Hoc Networks,                      BRIEF DESCRIPTION OF THE DRAWINGS
 Yongguang Zhang and Wenke Lee, Proceeding of the Sixth
 Annual International Conference on Mobile Computing and                FIG. 1 is a schematic plan view of a time based wireless
 Networking, Aug. 6-11, 2000.                                        access provisioning system;
    The disclosed prior art systems and methodologies thus 5            FIG. 2 is a functional block diagram of a time based
 provide basic provisioning for wireless devices to a network        wireless access provisioning system;
 through an access point. However, for many networks, such              FIG. 3 is a flow chart of a time based wireless access
 provisioning schemes are often impractical, either for wire-        provisioning process;
 less devices which lack a user interface which is configured           FIG. 4 is a flow chart of an alternate time based wireless
 for communicating provisioning information, or for simple 10 access provisioning process;
 home-based intranets. For example, device identification
                                                                        FIG. 5 shows a simplified timeline for a time based
 information, such as a MAC address, is often required to be
                                                                     wireless access provisioning process;
 manually transcribed from the wireless device to the access
 point, since wireless devices often lack a user interface              FIG. 6 shows a simplified timeline for an alternate time
 control to reveal such identifying information. For example, 15 based wireless access provisioning process; and
 a wireless picture frame device typically lacks a control              FIG. 7 shows the time-based acceptance and provisioning
 interface to read or extract identification information, such       of a new wireless device within a time based wireless access
 as a MAC address.                                                   provisioning system.
    While some wireless devices include a user interface for
 dedicated device functionality, e.g. such as a user control for 20        DETAILED DESCRIPTION OF PREFERRED
 a game box or a digital video recorder, a dedicated user                                  EMBODIMENTS
 interface is often incapable or cumbersome to be used to               FIG. 1 is a schematic plan view 10 of a time based
 communicate device identification and to exchange provi-            wireless access provisioning system 20. FIG. 2 is a func-
 sioning information. In addition, while some wireless               tional block diagram of a time based wireless access provi-
 devices provide a user interface control which can reveal 25 sioning system 20, comprising a network access point 12
 such identifying information, provisioning procedures still         adapted to provide time-based provisioning with a wireless
 require a user to be technically proficient to properly initiate    device 14.
 and complete a provisioning process.
                                                                        The network access point 12 shown in FIG. 2 comprises
    It would therefore be advantageous to provide a network
                                                                     a transceiver 32 and antenna 34, which provides communi-
 provisioning system, which does not require a user interface     30
                                                                     cation 16 to one or more wireless devices 14. The commu-
 for the initiation of a provisioning process. The development
                                                                     nications channel 16 typically comprises an input, i.e.
 of such a wireless access provisioning system would con-
                                                                     reverse link, signal 28 from a wireless device 14 to the
 stitute a major technological advance.
                                                                     access point, as well as an output, i.e. forward link, signal
    Furthermore, it would be advantageous to provide a 35 30, from the access point 12 to the wireless device 14.
 wireless access provisioning structure and process with
                                                                        As seen in FIG. 2, the network access point 12 typically
 minimal device requirements and/or user proficiency,
                                                                     comprises network logic and componentry 36, such as
 whereby a wireless device is readily provisioned by the
                                                                     networking functions 40, thereby providing communica-
 provisioning system, and whereby other devices within an
                                                                     tions between one or more authorized wireless devices 14
 access region are prevented from being provisioned by the
                                                                     and a local network 17 (FIG. 1). The network access point
 provisioning system. The development of such a provision- 40
                                                                     12 shown in FIG. 2 also comprises a network connection 38
 ing system would constitute a further technological advance.
                                                                     to one or more networks 39, such as to wired devices within
    As well, it would be advantageous that such a wireless
                                                                     a LAN, and/or to other networks, such as the Internet. The
 access provisioning system be integrated with easily moni-
                                                                     network access point 12 shown in FIG. 2 comprises an
 tored parameters of a wireless device, such as the time
                                                                     access control list 42, which identifies wireless devices 14
 monitoring of power on and/or start of signal transmission. 45
                                                                     which have proper access to the local network 17 (FIG. 1),
 The development of such a provisioning system would
                                                                     such as by storing accepted device identifications 50 as list
 constitute a further major technological advance. The devel-
                                                                     elements 43a-43n.
 opment of such a time-based wireless access provisioning
 system for provisioning secure encrypted communication                 The wireless device 14 shown in FIG. 2 comprises a
                                                                  so device transceiver 22 and antenna 24, which provides com-
 would constitute a further technological advance.
                                                                     munication 16 to the network access point 12, and in some
              SUMMARY OF THE INVENTION                               embodiments to other wireless devices 14. The wireless
    A method and apparatus is provided for the time-based            device 14 comprises communication logic and componentry
 provisioning of wireless devices. A network access point            48, and comprises an associated device identifier 50, e.g.
 monitors operation of wireless devices within a service 55 such as a unique MAC address, which is communicatable to
 region. When provisioning logic is activated at the network         the network access point 12, whereby the wireless device 14
 access point, the access point determines if the tracked            can be controllably provisioned into the network 17 by the
 parameter, such as the power on, of the wireless device             network access point 12. The wireless device 14 also com-
 occurs within a designated time interval from the time of the       prises power 26, e.g. wired or battery, and power activation
 provisioning activation. If the tracked device qualifies, the 60 27. In some embodiments of the time based wireless access
 network access point proceeds with provisioning the device.         provisioning system 20, the wireless device 14 is an IEEE
 When a wireless device to be authorized is powered on, the          802.11 WLAN and/or BluetoothTM compliant device.
 provisioning logic at the network access point notes the               The network access point 12 shown in FIG. 1 is located
 power on time. The user then activates the provisioning             within a service area 18 for a network 17, such as a wireless
 access at the network access point, and the network access 65 local area network (WLAN) or a wireless personal area
 point provisions the wireless device if it is recently powered      network (WPAN), and typically communicates 16 with a
 on.                                                                 one or more wireless devices 14 which operate within the
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                              5                                                                  6
 service area 18, as well as to other wired devices connected      within the acceptance interval 74, such that the provisioning
 to the network, and to connected 38 networks 39, such as the      logic 44 accepts 62 the wireless device 14, and initiates
 Internet.                                                         provisioning 64.
    As seen in FIG. 1, the time based wireless access provi-          As further seen in FIG. 5, the network access point 14 also
 sioning system 20 can be used for a wide variety of wireless 5 notes the start time 88 of the power on 78 of a second
 devices 14a-14n which are adapted to communicate with             wireless device 14, which is not necessarily desired to be
 the network access point 12, such as but not limited to a         provisioned by the network access point 12. When the user
 desktop computer 14a, a portable laptop computer 14b, a           activates the provisioning logic 44 at the network access
 network printer 14c, a digital video recorder 14d, a game         point 12, at time 86, the time interval 80 for the second
 box 14e, a portable phone 14f, a personal digital assistant 10 device 14 falls outside the acceptance interval 74, i.e. failing
 (PDA) 14g, and/or a wireless picture frame 14h.                   66 time-based determination 60 (FIG. 3) such that the
    The network access point 12 provides time-based provi-         provisioning logic 44 denies 68 the second wireless device
 sioning to ensure that only authorized wireless devices 14        14, and prevents provisioning 64.
 can operate within the local network 17, such as within a         Alternate Time-Based Provisioning Process.
 home HM, and to prevent unauthorized wireless devices 14, 15         FIG. 4 is a flow chart of an alternate time based wireless
 such as device 14n in FIG. 1, from gaining access to the          access provisioning process 52b, in which a desired wireless
 network 17.                                                       device 14 to be provisioned is powered on after the provi-
    In the time based wireless access provisioning system 20,      sioning logic 44 is activated. As above, the network access
 the network access point 12 also comprises time based             point 12 tracks 54 the power on time of wireless devices 14,
 provisioning 44, which is activatible 46, such as manually 20 whereby the powered wireless device begins transmission of
 by a user U. The time based wireless access provisioning          a reverse link signal 28. The user U then activates 58 the
 system 20 securely integrates one or more wireless devices        provisioning access 44 at the network access point 12,
 14 into the local area network 17. A properly timed inter-        typically by pressing an activation button or switch 46.
 action 57 (FIG. 3, FIG. 4) between a wireless device 14 to        When a wireless device 14 to be authorized is powered on
 be provisioned and the network access point 12 acts to 25 56, the provisioning logic 44 at the network access point 12
 qualify the wireless device 14 to the network access point.       notes the power on time 82 (FIG. 6).
 Time-Based Provisioning Process.                                     In response to a properly timed interaction 57, the net-
    FIG. 3 is a flow chart of a time based wireless access         work access point 12 provisions the wireless device 14
 provisioning process 52a. The network access point 12             automatically. As seen in FIG. 4, the network access point 12
 tracks 54 the power on time of wireless devices 14, whereby 30 determines 60 if there is a recent power on of a wireless
 the powered wireless device begins transmission of a reverse      device 14, after the provisioning logic 44 is activated 58. If
 link signal 28. When a wireless device 14 to be authorized        the wireless device 14 was recently powered 56, such as
 is powered on 56, the provisioning logic 44 at the network        within an acceptance time interval 74 (FIG. 6), the positive
 access point 12 notes the power on time 82 (FIG. 5). The          determination logic 62 allows the network access point 12 to
 user U then activates 58 the provisioning access 44 at the 35 initiate provisioning 64.
 network access point 12, typically by pressing an activation         As seen in FIG. 4, the alternate time based wireless access
 button or switch 46.                                              provisioning process 52b also prevents network access from
    In response to a properly timed interaction 57, the net-       devices 14 which are powered on 78 (FIG. 6) at an earlier
 work access point 12 provisions the wireless device 14            time 88 (FIG. 6). If a wireless device 14 is powered on at a
 automatically. As seen in FIG. 3, the network access point 12 40 time 88 before (or after) the acceptance time interval 74
 determines 60 if there is a recent power on of a wireless         (FIG. 6), the negative determination logic 66 allows the
 device 14, e.g. such as within 5 minutes. If the wireless         network access point 12 to deny access 68 to the device 14,
 device 14 was recently powered 56, such as within an              preventing provisioning 64 into the network 17.
 acceptance time interval 74 (FIG. 5), the positive determi-          FIG. 6 shows a simplified timeline 70b for the alternate
 nation logic 62 allows the network access point 12 to initiate 45 time based wireless access provisioning process 52b. The
 provisioning 64.                                                  enhanced network access point 12 tracks power on 56 of
    As seen in FIG. 3, the time based wireless access provi-       wireless devices as a function of time 72. As seen in FIG. 6,
 sioning process 52a also prevents network access from             the user activates provisioning logic 44 at the network
 devices 14 which are powered on 78 (FIG. 5) at an earlier         access point 12, at time 84. The network access point 14
 time 88 (FIG. 5). If a wireless device 14 is powered on at a 50 notes the start time 82 of the power on 56 of a wireless
 time 88 before the acceptance time interval 74 (FIG. 5), the      device 14 which is desired to be provisioned within the
 negative determination logic 66 allows the network access         network 17. If the power on 56 falls within the acceptance
 point 12 to deny access 68 to the device, preventing provi-       time interval 74, the desired device 14 is accepted 62 (FIG.
 sioning 64 into the network 17.                                   4). As seen in FIG. 6, the time interval 76 for the desired
    FIG. 5 shows a simplified timeline 70a for a time based 55 device 14 properly falls within the acceptance interval 74,
 wireless access provisioning process 52a. The enhanced            such that the provisioning logic 44 accepts 62 the wireless
 network access point 12 tracks power on 56 of wireless            device 14, and initiates provisioning 64.
 devices as a function of time 72. As seen in FIG. 5, the             As further seen in FIG. 6, the network access point 14 also
 network access point 14 notes the start time 82 of the power      notes the start time 88 of the power on 78 of a second
 on 56 of a wireless device 14 which is desired to be 60 wireless device 14, which is not necessarily desired to be
 provisioned within the network 17. The user then activates        provisioned by the network access point 12, such as from an
 provisioning logic 44 at the network access point 12, at time     unauthorized device 14, or from a desired device which is
 86. The provisioning logic 44 typically comprises an accep-       not powered on within the time interval 74. When the user
 tance time interval 74, e.g. such as a 5 minute interval 74,      then activates the provisioning logic 44 at the network
 having a start time 84 and an end time 86, within which 65 access point 12, at time 86, the time interval 80 for the
 desired devices 14 are accepted 62 (FIG. 3). As seen in FIG.      second device 14 falls outside the acceptance interval 74,
 5, the time interval 76 for the desired device 14 properly falls  and before the activation 58 of the provisioning logic 44,
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                                7                                                                      8
 such that the provisioning logic 44 denies 68 the second                provisioned are not required to have complex user
 wireless device 14, and prevents provisioning 64.                       interfaces, and users are not required to perform complex
 Device Qualification.                                                   provisioning procedures. The time-based access provision-
    FIG. 7 provides a schematic view 90 of a time-based                  ing system 20 simplifies the integration of wireless devices
 acceptance of a new wireless device 14 within a time based         5    into a network, and provides more than reasonable levels of
 wireless access provisioning system 20.                                 security.
    When the provisioning logic 44 time-qualifies 62 (FIG. 3,            Alternate Applications for the Time-Based Access Provi-
 FIG. 4) a wireless device 14, the wireless access point 12              sioning System.
 accepts the time-based qualification 57, and initiates the                 While the time based access provisioning system 10 is
 provisioning process 64, which typically comprises commu-          10
                                                                         disclosed above as tracking a single power on 56,78 of
 nication 16 and secure provisioning of information between              wireless devices, alternate embodiments of the time based
 the wireless device 14 and the network access point 12, such            access provisioning system 10 provide further network
 as the exchange of key material, if an encryption protocol is           protections from undesired devices.
 to be used. Device parameters, such as the device identifier               For example, for a neighboring device which is switched
 50, are typically sent 92 to the access point 12, wherein the      15
                                                                         on and off repeatedly, such as for an undesired wireless
 device identifier 50 is added to the network access control             device or user in search of a network access point 12, the
 list 42. As seen in FIG. 7, the device identifier 50 for the            network access point 12 tracks the repeated powering
 accepted wireless device 14 is added to the access control              operation, and can deny provisioning access as desired.
 list 42, such as an element 43b in the list of qualified devices           Although the time based access provisioning system and
 14. Provisioning information may also be sent 94 from the          20   its methods of use are described herein in connection with
 network access point 12 to the device 14, such as to establish          wireless devices, personal computers and other
 setup, handshaking, or encryption provisioning.                         microprocessor-based devices, such as wireless appliances,
 System Implementation.                                                  the apparatus and techniques can be implemented for a wide
    The time-based wireless access provisioning system 20                variety of electronic devices and systems, or any combina-
 readily integrates one or more wireless devices 14 into a          25   tion thereof, as desired.
 local area network in a secure fashion. For example, when                  Furthermore, while the time based access provisioning
 a user U brings home a new wireless device 14 for use in                system and its methods of use are described herein in
 their existing home network 17, the time-based wireless                 connection with wireless devices and intranets or LAN's,
 access provisioning system 20 allows the user U to easily               the apparatus and techniques can be implemented for a wide
 add the new device to the network 17, without exposing the         30
                                                                         variety of electronic devices and networks or any combina-
 network unnecessarily to attack from third parties.                     tion thereof, as desired.
    Within the time based access provisioning system 20, the                As well, while the time based access provisioning system
 enhanced network access point 12 keeps track of all wireless            and its methods of use are described herein in connection
 devices 14a-14n in the vicinity 18 of the central access point          with a time based interaction between a wireless device and
 12. The time based wireless access provisioning system 20          35
                                                                         a network access point, the use of tracking power on/off as
 securely integrates one or more wireless devices 14 into the            a signal to associate devices automatically can be imple-
 local area network 17, based upon a properly timed device               mented for a wide variety of electronic devices and networks
 qualification interaction 57 (FIG. 3, FIG. 4) between a                 or any combination thereof, as desired.
 wireless device 14 to be provisioned and the network access                Accordingly, although the invention has been described in
 point 12.                                                          40
                                                                         detail with reference to a particular preferred embodiment,
    As seen in FIG. 3 and FIG. 4, when a user U brings a                 persons possessing ordinary skill in the art to which this
 device 14 home HM and powers on the wireless device 14,                 invention pertains will appreciate that various modifications
 the user then simply presses a button 46 on their network               and enhancements may be made without departing from the
 access point 12. In response thereto, the access point 12               spirit and scope of the claims that follow.
 provisions the wireless device automatically, based on the         45
                                                                            What is claimed is:
 time-based qualification 57. Since the access point 12 is only             1. A process for provisioning between a wireless device
 available for such provisioning for a short interval 74 after           and a network, comprising the steps of:
 the button 46 is pressed, it is unlikely that the access point             providing an access point connected to the network, the
 12 will provision unauthorized third party devices 14.                        access point comprising logic for determining the
    The qualification protocol 52a,52b allows the network           50         power on time of the wireless device;
 access point 12 to augment the access control list 42 with a               powering on the wireless device;
 properly qualified device 14. The network access point can                 activating a time interval; and
 discount, i.e. deny, devices in neighboring residences HM                  initiating provisioning with the wireless device if the
 that have been on for a long time, wherein power on 78 of                     power on of the wireless device occurs within the time
 the devices 14 extends beyond the acceptance interval 74,          55         interval.
 and can identify and provision one or more devices 14 that                 2. The process of claim 1, wherein the wireless device is
 are powered on 56 within the acceptance interval 74.                    any of a computer, a portable computer, a printer, a portable
    The time-based access provisioning system 20 does not                phone, a personal digital assistant, a wireless picture frame,
 require a user interface on a wireless device 14 to initiate            a video recording device, an electronic game device, a
 device setup and provisioning. As the power on or beginning        60   television, a digital camera, a digital video camera, and a
 of signal transmission 16 is easily tracked by the enhanced             digital music player.
 network access point 12, a simple activation 46, such as the               3. The process of claim 1, wherein the wireless device is
 pushing of a button 46, can be used to time-qualify 57 a                an IEEE 802.11 compliant device.
 desired device 14, and to deny qualification 66 for an                     4. The process of claim 1, wherein the wireless device is
 unqualified device. Therefore, the time-based access provi-        65   a BLUETOOTHTM compliant device.
 sioning system 20 drastically simplifies wireless setup and                5. The process of claim 1, wherein the network is a local
 provisioning for wireless devices. Wireless devices 14 to be            area network.
Case 1:21-cv-01323-CFC Document 1-1 Filed 09/17/21 Page 64 of 440 PageID #: 113


                                                      US 6,891,807 B2
                                9                                                                     10
    6. The process of claim 1, wherein the network is a                     28. The system of claim 17, wherein the provisioning
 wireless local area network.                                            logic comprises means for storing a MAC address associated
    7. The process of claim 1, wherein the network is con-               with the wireless device.
 nected to the Internet.                                                    29. The system of claim 17, wherein the provisioning
    8. The process of claim 1, further comprising the step of:      5    logic comprises a communication of an access control list to
    preventing provisioning with the wireless device if the              the wireless device.
       power on of the wireless device is greater than the time             30. The system of claim 17, wherein the provisioning
       interval.                                                         logic comprises an established encrypted connection
    9. The process of claim 1, wherein the access point                  between the wireless device and the network.
 comprises an access control list comprising storage for a                  31. The system of claim 17, wherein the provisioning
                                                                    10
 device identifier corresponding to a wireless device which is           comprises establishing an encrypted connection between the
 provisioned to access the network.                                      wireless device and the network.
    10. The process of claim 9, wherein the device identifier               32. The system of claim 17, wherein the provisioning
 is a MAC address.                                                       logic comprises an established connection between the wire-
    11. The process of claim 1, wherein the provisioning                 less device and at least one other provisioned wireless
 comprises associating a received device identifier with the        is   device.
 wireless device.                                                           33. A process for provisioning between a wireless device
    12. The process of claim 1, wherein the provisioning                 and a network, comprising the steps of:
 comprises storing a MAC address from the wireless device.                  providing an access point connected to the network, the
    13. The process of claim 1, wherein the provisioning                       access point comprising logic for determining the time
 comprises a communication of an access control list to the         20         of power on of the wireless device;
 wireless device.                                                           determining of the wireless device is powered within a
    14. The process of claim 1, wherein the wireless device                    specified interval; and
 further comprises a device identifier, and wherein the pro-                initiating provisioning of the wireless device if the pow-
 visioning comprises communicating the device identifier to                    ering occurs within the interval.
 the access point.                                                  25      34. The process of claim 33, wherein the wireless device
    15. The process of claim 1, wherein the provisioning                 is any of a computer, a portable computer, a printer, a
 comprises establishing an encrypted connection between the              portable phone, a personal digital assistant, a wireless pic-
 wireless device and the network.                                        ture frame, a video recording device, an electronic game
    16. The process of claim 1, wherein the provisioning                 device, a television, a digital camera, a digital video camera,
 comprises an established connection between the wireless           30   and a digital music player.
 device and at least one other provisioned wireless device.                 35. The process of claim 33, wherein the wireless device
    17. A time based network access provisioning system                  comprises any of an IEEE 802.11 compliant device and a
 between a wireless device and a network, comprising:                    BLUETOOTHTM compliant device.
    a network access point connected to the network, the                    36. The process of claim 33, wherein the network com-
       network access point comprising logic for tracking                prises any of a local area network and a wireless local area
                                                                    35
       operation of the wireless device; and                             network.
    logic for provisioning the wireless device if the operation             37. The process of claim 33, wherein the network is
       of the wireless device occurs within an activatible time          connected to the Internet.
       interval.                                                            38. The process of claim 33, further comprising the step
    18. The system of claim 17, wherein the wireless device              of:
 is any of a computer, a portable computer, a printer, a            40
                                                                            preventing provisioning with the wireless device if the
 portable phone, a personal digital assistant, a wireless pic-                 power on of the wireless device is greater than the time
 ture frame, a video recording device, an electronic game                      interval.
 device, a television, a digital camera, a digital video camera,            39. The process of claim 33, wherein the access point
 and a digital music player.                                             comprises an access control list comprising storage for a
    19. The system of claim 17, wherein the wireless device         45   device identifier corresponding to at least one wireless
 is an IEEE 802.11 compliant device.                                     device which is provisioned to access the network.
    20. The system of claim 17, wherein the wireless device                 40. The process of claim 39, wherein the device identifier
 is a BLUETOOTHTM compliant device.                                      is a MAC address.
    21. The system of claim 17, wherein the network is a local              41. The process of claim 33, wherein the provisioning
 area network.                                                      50   comprises associating a received device identifier with the
    22. The system of claim 17, wherein the network is a                 wireless device.
 wireless local area network.                                               42. The process of claim 33, wherein the provisioning
    23. The system of claim 17, wherein the network is                   comprises a communication of an access control list to the
 connected to the Internet.                                              wireless device.
    24. The system of claim 17, further comprising:                 55      43. The process of claim 33, wherein the wireless device
    logic for preventing provisioning with the wireless device           further comprises a device identifier, and wherein the pro-
       if the power on of the wireless device is greeter than the        visioning comprises communicating the device identifier to
       time interval.                                                    the access point.
    25. The system of claim 17, wherein the access point                    44. The process of claim 33, wherein the provisioning
 comprises an access control list comprising storage for a          60   comprises establishing an encrypted connection between the
 device identifier corresponding to a wireless device which is           wireless device and the network.
 provisioned to access the network.                                         45. The process of claim 33, wherein the provisioning
    26. The system of claim 25, wherein the device identifier            comprises an established connection between the wireless
 is a MAC address.                                                       device and at least one other provisioned wireless device.
    27. The system of claim 17, wherein the provisioning            65      46. A process for provisioning between a wireless device
 logic comprises an association of a received device identifier          and a network, the wireless device having a transmitted
 with the wireless device.                                               signal, comprising the steps of:
Case 1:21-cv-01323-CFC Document 1-1 Filed 09/17/21 Page 65 of 440 PageID #: 114


                                                      US 6,891,807 B2
                              11                                                                  12
    providing an access point connected to a network, the              means for provisioning access between the wireless
       access point comprising an activatible provisioning                device and the network; and
       time interval; and                                              a time-based interval which selectably allows the provi-
    initiating provisioning of the wireless device if the trans-          sioning if a received input signal occurs within the time
       mission of the wireless signal from the wireless device 5          interval.
       to the access point begins during the interval.                 60. The network access point of claim 59, wherein the
    47. The process of claim 46, wherein the wireless device        wireless device is any of a computer, a portable computer, a
 is any of a computer, a portable computer, a printer, a            printer, a portable phone, a personal digital assistant, a
 portable phone, a personal digital assistant, a wireless pic-
                                                                    wireless   picture frame, a video recording device, an elec-
 ture frame, a video recording device, an electronic game 10
                                                                    tronic game device, a television, a digital camera, a digital
 device, a television, a digital camera, a digital video camera,
                                                                    video camera, and a digital music player.
 and a digital music player.
    48. The process of claim 46, wherein the wireless device           61. The network access point of claim 59, wherein the
 comprises any of an IEEE 802.11 compliant device and a             wireless device comprises any of an IEEE 802.11 compliant
 BLUETOOTHTM compliant device.                                   is device and a BLUETOOTHTM compliant device.

    49. The process of claim 46, wherein the network com-              62. The network access point of claim 59, wherein the
 prises any of a local area network and a wireless local area       network     comprises any of a local area network and a
 network.                                                           wireless local area network.
    50. The process of claim 46, wherein the network is                63. The network access point of claim 59, wherein the
 connected to the Internet.                                      20 network is connected to the Internet.
    51. The process of claim 46, further comprising the step           64. The network access point of claim 59, further com-
 of:                                                                prising:
    preventing provisioning with the wireless device if the            logic for preventing provisioning with the wireless device
       transmission of the wireless device signal begins out-             if the power on of the wireless device is greater than the
                                                                 25
       side of the time interval.                                         time interval.
    52. The process of claim 46, wherein the access point              65. The network access point of claim 59, wherein the
 comprises an access control list comprising storage for a          access point comprises an access control list comprising
 device identifier corresponding to at least one wireless           storage for a device identifier corresponding to a wireless
 device which is provisioned to access the network.              30 device which is provisioned to access the network.
    53. The process of claim 52, wherein the device identifier
                                                                       66. The network access point of claim 64, wherein the
 is a MAC address.
                                                                    device identifier is a MAC address.
    54. The process of claim 46, wherein the provisioning
                                                                       67. The network access point of claim 59, wherein the
 comprises associating a received device identifier with the
 wireless device.                                                   provisioning means comprises an association of a received
    55. The process of claim 46, wherein the provisioning 35 device identifier with the wireless device.
 comprises a communication of an access control list to the            68. The network access point of claim 59, wherein the
 wireless device.                                                   provisioning means comprises a communication of an
    56. The process of claim 46, wherein the wireless device        access control list to the wireless device.
 further comprises a device identifier, and wherein the pro-           69. The network access point of claim 59, wherein the
 visioning comprises communicating the device identifier to 40 wireless device further comprises a device identifier, and
 the access point.                                                  wherein the provisioning means comprises a communication
    57. The process of claim 46, wherein the provisioning           of the device identifier to the access point.
 comprises establishing an encrypted connection between the            70. The network access point of claim 59, wherein the
 wireless device and the network.                                   provisioning means comprises an established encrypted con-
    58. The process of claim 46, wherein the provisioning 45 nection between the wireless device and the network.
 comprises an established connection between the wireless              71. The network access point of claim 59, wherein the
 device and at least one other provisioned wireless device.         provisioning means comprises an established connection
    59. A network access point, comprising:                         between the wireless device and at least one other provi-
    a connection to a network;                                   50 sioned wireless device.
    a receiver for receiving input signals from at least one
       wireless device;                                                                     *   *
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                       Exhibit G
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                                                                        1111111111111111111111111111R
                                                                                     JI1111151111111111111111111110111
 (12)   United States Patent                                                        (10) Patent No.:     US 7,177,285 B2
        Roskind et al.                                                              (45) Date of Patent:    *Feb. 13, 2007

 (54)    TIME BASED WIRELESS ACCESS                                                   6,167,428 A       12/2000 Ellis                 709/201
         PROVISIONING                                                                 6,272,129 B1       8/2001 Dynarski et al.       370/356
                                                                                      6,275,693 B1       8/2001 Lin et al.            455/414
 (75)    Inventors: James A. Roskind, Redwood City, CA
                    (US); John D. Robinson, South Riding,                                                   (Continued)
                    VA (US)                                                                     FOREIGN PATENT DOCUMENTS

 (73)    Assignee: America Online, Incorporated, Dulles,                       EP                   814 623          12/1997
                   VA (US)
                                                                                                            (Continued)
 (*)     Notice:      Subject to any disclaimer, the term of this                                   OTHER PUBLICATIONS
                      patent is extended or adjusted under 35
                      U.S.C. 154(b) by 188 days.                               Security Issuesfor Wearable Computing and Bluetooth Technology;
                                                                               Catharina Candolin, undated.
                      This patent is subject to a terminal dis-
                                                                                                            (Continued)
                      claimer.
                                                                               Primary Examiner Melvin Marcelo
 (21)    Appl. No.: 10/961,959                                                 (74) Attorney, Agent, or Firm Michael A. Glenn; Glenn
                                                                               Patent Group
 (22)    Filed:       Oct. 8, 2004
                                                                               (57)                         ABSTRACT
 (65)                   Prior Publication Data
         US 2005/0043021 Al            Feb. 24, 2005                           A method and apparatus is provided for the time-based
                                                                               provisioning of wireless devices. A network access point
                  Related U.S. Application Data                                monitors operation of wireless devices within a service
                                                                               region. When provisioning logic is activated at the network
 (63)    Continuation of application No. 10/341,847, filed on
                                                                               access point, the access point determines if the tracked
         Jan. 13, 2003, now Pat. No. 6,891,807.
                                                                               parameter (such as power on or the onset of signal trans-
                                                                               mission) of the wireless device occurs within a designated
 (51)    Int. Cl.
                                                                               time interval from the time of the provisioning activation. If
         HO4L 12/26            (2006.01)
                                                                               the tracked device qualifies, the network access point pro-
         HO4Q 7/34             (2006.01)
                                                                               ceeds with provisioning the device. In one system embodi-
 (52)    U.S. Cl.                           370/255; 370/338
                                                                               ment, the network access point tracks the power on time of
 (58)    Field of Classification Search              370/255,                  wireless devices. When a wireless device to be authorized is
                                                      370/338                  powered on, the provisioning logic at the network access
         See application file for complete search history.                     point notes the power on time. The user then activates the
 (56)                   References Cited                                       provisioning access at the network access point, and the
                                                                               network access point provisions the wireless device if it is
                   U.S. PATENT DOCUMENTS                                       recently powered on.
        5,461,627 A * 10/1995 Rypinski                      370/346
        6,058,106 A    5/2000 Cudak et al.                  370/313                               62 Claims, 7 Drawing Sheets


                                                  92     16                                                             j90
                                                                   28
                                       24                               ,s7X     34   f.                    12
                        48       22                                                        32



                                    Transceiver        30      94       Transceiver              Network
                                                                                                Access Point
                         Communication                                                                         43a
                            Logic                                                                       f 42         43b s40
                             Device
                                                                         Time Based             Access Control
                            Identifier                      44          Provisioning                 List
                                                                                                       1.         Network
                                 Power On                               c) Activation
                                                                                                                  Functions


                         50' 26 27                                                   46 36' 43n'
                          14'                          57,62
                         Wireless
                                                   Time Based                       20                             38
                         Device
                                                   Qualification                                                Network        39
                                                                                                               Connection
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                                                        US 7,177,285 B2
                                                                 Page 2


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      6,891,807   B2 * 5/2005 Roskind et al.              370/255     munications; Dec. 1999.
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 EP            1 191 763            3/2002                            Aerfos, Jiejun Kng, Songwu Lu, and Lixia Zhang, undated.
 EP            1 225 778            7/2002                            Wireless Networking for Control and Automation of Off-Road
 JP          2001-308866           11/2001                            Equipment; by J.D. Will; An ASAE Meeting Presentation, undated.
 WO          WO 01/22661            3/2001                            Intrusion Detection in Wireless Ad-Hoc Networks; Yongguang
                                                                      Zhang and Wenke Lee; Proceedings of the Sixth Annual Interna-
                   OTHER PUBLICATIONS
                                                                      tional Conference on Mobile Computing and Networking; Aug.
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 1993.                                                                Wi-Fi, posted Dec. 10, 2003 20:56:21 NZ.
 Painting Your Home Blue [Bluetooth/sup TM/wireless Technology];      HP Spotlights Mobile Gear; Ina Fried; CNET News.com; Oct. 13,
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 Wireless Home Networks Based on a Hierarchical Bluetooth Scat-       2003; TechNet Newsletter; 2004 Microsoft Corporation.
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 2001                                                                 Ericsson Mobile Communications, AB.
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 ics & Communication Engineering Journal; Oct. 2001.                  * cited by examiner
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                    14b 16 14h                  N
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      14f                                                                         14c
                                                            16
     14g              -0 -at                         12
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                       ... .                                                      .„
                             ... ....                                   ..
                                                                •••••


                                                                             ,    Fig. 1
                      16 c28                                         j 20
                                                                                    lualud 'S'll




           24 \ v,             of34     J/32
48
       22-)                                     Network
       Transceiver   30        Transceiver
                                               Access Point
Communication                                             43a
                                                                           40
                                                                                     LOOZ `£i 'VI




   Logic
                                                       (42 ,43b
    Device                                     Access Control
   Identifier                  Time Based
                          44   Provisioning         List
                                                         =       Network
           Power                Activation
                                                                                    L JO Z WIN




                                                                 Functions
                                                         C

50)I 26 27                              X46        43n'
 14
Wireless
                                                                  38r
                                                               Network       39
Device                                   Fig. 2               Connection
                                                                                  za sn'LLI'L sa
                                                                                                    Case 1:21-cv-01323-CFC Document 1-1 Filed 09/17/21 Page 70 of 440 PageID #: 119
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    Track Power On of Devices                          j    52a
     at Network Access Point

                                        6
              Power On
            Wireless Device
                                  .15
                                                             Time Based
                                                           D7 Device
           Activate Access
                  at
                                      I 58
                                        (Press               Qualification
         Network Access Point            Button)


                    Is                60           62
              There Recent
                                            Yes
              Power On of                                            j 64
             Wireless Device
                                 6                           Initiate
                                                           Provisioning


             Deny Access
                                      f68

                                                  Fig. 3
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   Track Power On of Devices               1 54i        52b
    at Network Access Point

          Activate Access    f58
                 at           (Press
        Network Access Point Button)                     Time Based
                                                       57 Device
                                      56                 Qualification
             Power On
           Wireless Device

                  Is                  60          62
            There Recent
                                           Yes
            Power On of                                     T     f 64
           Wireless Device
                                                         Initiate
                                                       Provisioning


            Deny Access
                                      f68

                                                  Fig. 4
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                               Acceptance                      70a
                              Time Interval


                            S80
                                             74
                                              ,\76
                                                              i
                                                         Provisioning
                                                       58 Activation
                                             4




                               56        '

                                                                Time
          7: e gg                     84C ?        486
      Power On
         of
                                          82                 72 c
     Unaccepted
       Device                                          Fig. 5
Case 1:21-cv-01323-CFC Document 1-1 Filed 09/17/21 Page 74 of 440 PageID #: 123


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                            Provisioning                                  70b
                             Activation
                                      58
                                                    74 Acceptance
                    (80                                   Time Interval



                           76
                   Device
                  Activation
                             56

                                                                Time
         78       88              84                  86          c
    Power On
        of                                   82                72
    Unaccepted
     Device                                Fig. 6
                         92     16                                                            90
                                          28
                                                                                                           lualud °S11




                                               7./7-34 (32                    f-12         j
           Transceiver        30      94       Transceiver         Network
                                                                  Access Point
Communication                                                                   43a
                                                                             i42 \,4313 (40
                                                                                                        LOOZ `£i Tiaa




   Logic
    Device
                                               Time Based         Access Control
   Identifier                      44          Provisioning            List
                                                                         1 o
                                                                             i--1      Network
       Power On                                (31) • ctivation    50
                                                                                                          L JO L WIN




                                                                                       Functions
                                                                         I
                                                                              I

501 26 27                                                46 36          43n
 14                           57,62
                          Time Based                   20                               38f
Wireless                                                                             Network
                          Qualification                                                            39
Device                                                      Fig. 7                  Connection
                                                                                                         za sn'LLI'L sa
                                                                                                                          Case 1:21-cv-01323-CFC Document 1-1 Filed 09/17/21 Page 75 of 440 PageID #: 124
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                                                      US 7,177,285 B2
                               1                                                                    2
           TIME BASED WIRELESS ACCESS                                  storage, when an identification code received from the
                  PROVISIONING                                         device corresponds to a code stored in an access point.
                                                                          Secure Wireless LAN, European Pat. No. EP, 1081895,
            CROSS-REFERENCE TO RELATED                                 discloses wireless device use by a wireless device operator
                    APPLICATION                                   5    with an access point connected to a wired LAN in commu-
                                                                       nication with the wireless device through air channel authen-
    This application is a continuation of U.S. Ser. No. 10/341,        tication.
 847, filed Jan. 13, 2003, now U.S. Pat. No. 6,891,807 B2,                C. Candolin, Security Issues for Wearable Computing and
 which is incorporated herein in its entirety by this reference        Bluetooth Technology, 23 Oct. 2000, Telecommunications
 thereto.                                                          o   Software and Multimedia Laboratory, Helsinki University of
                                                                       Technology, P.B. 400, FIN-02015 HUT, Finland, describes
                FIELD OF THE INVENTION                                 Bluetooth Technology as "a short-range wireless cable
                                                                       replacement technology enabling restricted types of ad hoc
    The invention relates to the field of wireless connections         networks to be formed. All the while, a need for connecting
 between a wireless device and a network. More particularly, 15        wearable devices, such as PDAs, mobile phones, and mp3-
 the invention relates to access provisioning between one or           players, is rising. Such networks may be formed using
 more wireless devices and an intranet access point.                   Bluetooth technology, but issues such as security must be
                                                                       taken into consideration. Although an attempt to tackle
          BACKGROUND OF THE INVENTION                                  security is made, the result is too weak to be used for
                                                                  20   anything else than for personal purposes."
    In local area networks, such as wireless home networks,               Other systems provide various details of the operation of
 one or more wireless devices, e.g. such as IEEE 802.11b               wireless devices within a network, such as U.S. Pat. No.
 devices, are linked to the network by a provisioning process          6,418,324, Apparatus and Method for Transparent Wireless
 through a network access point. When a user acquires a new            Communication; U.S. Pat. No. 6,418,146, Integrated Com-
 wireless device, they need to securely tie it to their intranet, 25   munication Center Functionality for WAP Devices; U.S. Pat.
 which comprises telling the intranet to accept wireless               No. 6,359,880, Public Wireless/Cordless Internet Gateway;
 communications from the device, as well as provisioning the           U.S. Pat. No. 6,334,056, Secure Gateway Processing for
 device with key material, such as for creating an encrypted           Handheld Device Markup Language; U.S. Pat. No. 6,317,
 connection. In conventional networks having one or more               594, System and Method for Providing Data to a Wireless
 devices to be provisioned to a network access point, device 30        Device Upon Detection of Activity of the Device on a
 identification information, such as a MAC address, is                 Wireless Network; U.S. Pat. No. 6,282,183, Method for
 required to be communicated from the wireless device to the           Authorizing Coupling between devices in a Capability
 access point.                                                         Addressable Network; U.S. Pat. No. 6,272,129, Dynamic
    Several methods have been described for wireless access            Allocation of Wireless Mobile Nodes Over An Internet
 provisioning to integrate wireless devices into a network. 35         Protocol (IP) Network; U.S. Pat. No. 6,167,428, Personal
    M. Cudak, B. Mueller, J. Kelton, and B. Classon, Network           Computer Microprocessor Firewalls for Internet Distributed
 Protocol Method, Access Point Device and Peripheral                   Processing; European Pat. No. 1225778, Wireless Repeater
 Devices for Providing for an Efficient Centrally Coordinated          Using Identification of Call Originator; European Pat. No.
 Peer-to-Peer Wireless Communications Network, U.S. Pat.               EP 1191763, Access Authentication System for a Wireless
 No. 6,058,106, discloses a "peer-to-peer wireless commu- 40           Environment; European Pat. No. 1126681, A Network Portal
 nications network wherein the access point device: (1)                System and Methods; European Pat. No. EP1081895,
 broadcasts a block assignment that specifies a wireless               Secure Wireless Local Area Network; European Pat. No. EP
 source peripheral device and a wireless destination periph-           999672, System and Method for Mapping Packet Data
 eral device; (2) receives, from the wireless destination              Functional Entities to Elements in a Communications Net-
 peripheral device, sequence information; (3) determines 45            work; European Pat. No. EP814623, Mobile Decision Meth-
 whether the sequence information represents one of: a                 odology for Accessing Multiple Wireless Data Networks;
 negative acknowledgment and a positive acknowledgment                 Privacy and Authentication for Wireless Local Area Net-
 with a sequence number; (4) forwards an acknowledgment                works, Ashar Aziz and Whitfield Diffie; Sun Microsystems,
 to the wireless source peripheral based on the sequence               Inc., Jul. 26, 1993; Painting Your Home Blue (BluetoothTM
 information, and repeats steps (1)—(4) until N blocks of data, 50     Wireless Technology), D. Cypher, Proceedings 2002 IEEE
 N a predetermined integer, have been transferred from the             4 International Workshop on Networked Appliances, Jan.
 wireless source peripheral to the wireless destination periph-        15-16, 2002; Wireless Home Networks on a Hierarchical
 eral."                                                                Bluetooth Scatternet Architecture, W. Lilakiatsakun, A.
    J. Lin, P. Alfano, and S. Upp, Method and Apparatus for            Seneviratne, Proceedings Ninth IEEE International Confer-
 Performing Bearer Independent Wireless Application Ser- 55            ence on Networks; Oct. 10-12, 2001; Bluetooth Wireless
 vice Provisioning, U.S. Pat. No. 6,275,693 disclose a pro-            Technology in the Home, R. Shephard, Electronics & Com-
 visioning system, in which a "mobile communication device             munication Engineering Journal; October 2001; Wireless
 contacts a provisioning proxy over the wireless bearer                Gateway for Wireless Home AV Network and It's Implemen-
 network, which in turns contacts a provisioning center over           tation, T. Saito, I. Imoda, Y Takabatke, K. Teramoto, and K.
 a public network. A provisioning tunnel is then established 60        Fujimoto, IEEE Transactions on Consumer Electronics,
 between the provisioning center and the mobile communi-               August 2001; A Wireless Home Network and its Applications
 cation device. Once the provisioning tunnel is set up, the            Systems, H. Fujieda, Y Horiike, T. Yamamoto, and T.
 user of the mobile communication device can subscribe to,             Nomura, IEEE Transactions on Consumer Electronics, May
 or unsubscribe from wireless application services."                   2000; Wireless Home Link, M. Nakagawa, IEICE Transac-
    Wireless Device Registering Method in Wireless Home 65             tions on Communications, December 1999; An Access Pro-
 Network, PCT Patent Application No. WO 01/2266,                       tocolfor a Wireless Home Network, A. C. V. Gummalla, and
 describes the sending of an authentication key to a device for        J. 0. Limb, WCNC 1999 IEEE Wireless Communications
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                                3                                                                       4
  and Networking Conference; Sep. 21-24, 1999; Firewalls                  occurs within a designated time interval from the time of the
 for Security in Wireless Networks, U. Murthy, 0. Bukres, W.              provisioning activation. If the tracked device qualifies, the
  Winn, and E. Vanderdez, Proceedings of the Thirty-First                 network access point proceeds with provisioning the device.
  Hawaii International Conference on System Sciences, Jan.                When a wireless device to be authorized is powered on, the
  6-9, 1998; Self-Securinq Ad Hoc Wireless Networks, Haiyun          5    provisioning logic at the network access point notes the
  Luo, Petros Aerfos, Jiejun Kng, Songwu Lu, and Lixia                    power on time. The user then activates the provisioning
  Zhang; Wireless Networking for Control and Automation of                access at the network access point, and the network access
  Off-Road Equipment, J. D. Will; ASAE Meeting Presenta-                  point provisions the wireless device if it is recently powered
 tion; and Intrusion Detection in Wireless Ad-Hoc Networks,               on.
 Yongguang Zhang and Wenke Lee, Proceeding of the Sixth              10
 Annual International Conference on Mobile Computing and                        BRIEF DESCRIPTION OF THE DRAWINGS
  Networking, Aug. 6-11, 2000.
     The disclosed prior art systems and methodologies thus                FIG. 1 is a schematic plan view of a time based wireless
  provide basic provisioning for wireless devices to a network          access provisioning system;
 through an access point. However, for many networks, such           15    FIG. 2 is a functional block diagram of a time based
  provisioning schemes are often impractical, either for wire-          wireless access provisioning system;
  less devices which lack a user interface which is configured             FIG. 3 is a flow chart of a time based wireless access
  for communicating provisioning information, or for simple             provisioning process;
  home-based intranets. For example, device identification                 FIG. 4 is a flow chart of an alternate time based wireless
  information, such as a MAC address, is often required to be        20 access provisioning process;
 manually transcribed from the wireless device to the access               FIG. 5 shows a simplified timeline for a time based
  point, since wireless devices often lack a user interface             wireless access provisioning process;
  control to reveal such identifying information. For example,             FIG. 6 shows a simplified timeline for an alternate time
  a wireless picture frame device typically lacks a control             based wireless access provisioning process; and
  interface read or extract identification information, such as      25    FIG. 7 shows the time-based acceptance and provisioning
  a MAC address.                                                        of a new wireless device within a time based wireless access
     While some wireless devices include a user interface for           provisioning system.
  dedicated device functionality, e.g. such as a user control for
  a game box or a digital video recorder, a dedicated user                      DETAILED DESCRIPTION OF PREFERRED
  interface is often incapable or cumbersome to be used to           30                   EMBODIMENTS
  communicate device identification and to exchange provi-
  sioning information. In addition, while some wireless            FIG. 1 is a schematic plan view 10 of a time based
  devices provide a user interface control which can reveal     wireless access provisioning system 20. FIG. 2 is a func-
  such identifying information, provisioning procedures still   tional block diagram of a time based wireless access provi-
                                                             35 sioning system 20, comprising a network access point 12
  require a user to be technically proficient to properly initiate
  and complete a provisioning process.                          adapted to provide time-based provisioning with a wireless
     It would therefore be advantageous to provide a network    device 14.
  provisioning system, which does not require a user interface     The network access point 12 shown in FIG. 2 comprises
  for the initiation of a provisioning process. The development a transceiver 32 and antenna 34, which provides communi-
  of such a wireless access provisioning system would con-   40 cation 16 to one or more wireless devices 14. The commu-
  stitute a major technological advance.                        nications channel 16 typically comprises an input, i.e.
     Furthermore, it would be advantageous to provide a         reverse link, signal 28 from a wireless device 14 to the
 wireless access provisioning structure and process with        access point, as well as an output, i.e. forward link, signal
 minimal device requirements and/or user proficiency,           30, from the access point 12 to the wireless device 14.
 whereby a wireless device is readily provisioned by the     45    As seen in FIG. 2, the network access point 12 typically
  provisioning system, and whereby other devices within an      comprises network logic & componentry 36, such as net-
  access region are prevented from being provisioned by the     working functions 40, thereby providing communications
  provisioning system. The development of such a provision-     between one or more authorized wireless devices 14 and a
  ing system would constitute a further technological advance.  local network 17 (FIG. 1). The network access point 12
     As well, it would be advantageous that such a wireless  50 shown in FIG. 1 also comprises a network connection 38 to
  access provisioning system be integrated with easily moni-    one or more networks 39, such as to wired devices within a
 tored parameters of a wireless device, such as the time        LAN, and/or to other networks, such as the Internet. The
 monitoring of power on and/or start of signal transmission.    network access point 12 shown in FIG. 2 comprises an
  The development of such a provisioning system would           access control list 42, which identifies wireless devices 14
                                                             55 which have proper access to the local network 17 (FIG. 1),
  constitute a further major technological advance. The devel-
  opment of such a time-based wireless access provisioning      such as by storing accepted device identifications 50 as list
  system for provisioning secure encrypted communication        elements 43a-43n.
 would constitute a further technological advance.                 The wireless device 14 shown in FIG. 2 comprises a
                                                                device transceiver 22 and antenna 24, which provides com-
            SUMMARY OF THE INVENTION                         60 munication 16 to the network access point 12, and in some
                                                                embodiments to other wireless devices 14. The wireless
   A method and apparatus is provided for the time-based        device 14 comprises communication logic and componentry
 provisioning of wireless devices. A network access point       48, and comprises an associated device identifier 50, e.g.
 monitors operation of wireless devices within a service        such as a unique MAC address, which is communicatable to
 region. When provisioning logic is activated at the network 65 the network access point 12, whereby the wireless device 14
 access point, the access point determines if the tracked       can be controllably provisioned into the network 17 by the
 parameter, such as the power on, of the wireless device        network access point 12. The wireless device 14 also com-
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 prises power 26, e.g. wired or battery, and power activation          on 56 of a wireless device 14 which is desired to be
 26. In some embodiments of the time based wireless access             provisioned within the network 17. The user then activates
 provisioning system 20, the wireless device is an IEEE                provisioning logic 44 at the network access point 12, at time
 802.11 WLAN and/or BluetoothTM compliant device.                      86. The provisioning logic 44 typically comprises an accep-
    The network access point 12 shown in FIG. 1 is located        5    tance time interval 74, e.g. such as a 5 minute interval 74,
 within a service area 18 for a network 17, such as a wireless         having a start time 84 and an end time 86, within which
 local area network (WLAN) or a wireless personal area                 desired devices 14 are accepted 62 (FIG. 3). As seen in FIG.
 network (WPAN), and typically communicates 16 with a                  5, the time interval 76 for the desired device 14 properly falls
 one or more wireless devices 14 which operate within the              within the acceptance interval 74, such that the provisioning
 service area 18, as well as to other wired devices connected     10   logic 44 accepts 62 the wireless device 14, and initiates
 to the network, and to connected networks, such as the                provisioning 64.
 Internet.                                                                As further seen in FIG. 5, the network access point 14 also
    As seen in FIG. 1, the time based wireless access provi-           notes the start time 88 of the power on 78 of a second
 sioning system 20 can be used for a wide variety of wireless          wireless device 14, which is not necessarily desired to be
 devices 14a-14n which are adapted to communicate with            15   provisioned by the network access point 12. When the user
 the network access point 12, such as but not limited to a             activates the provisioning logic 44 at the network access
 desktop computer 14a, a portable laptop computer 14b, a               point 12, at time 86, the time interval 80 for the second
 network printer 14c, a digital video recorder 14d, a game             device 14 falls outside the acceptance interval 74, i.e. failing
 box 14e, a portable phone 14f, a personal digital assistant           66 time-based determination 60 (FIG. 3) such that the
 (PDA) 14g, and/or a wireless picture frame 14h.                  20   provisioning logic 44 denies 68 the second wireless device
    The network access point 12 provides time-based provi-             14, and prevents provisioning 64.
 sioning to ensure that only authorized wireless devices 14               Alternate Time-Based Provisioning Process. FIG. 4 is a
 can operate within the local network 17, such as within a             flow chart of an alternate time based wireless access provi-
 home HM, and to prevent unauthorized wireless devices 14,             sioning process 52b, in which a desired wireless device 14
 such as device 14n in FIG. 1, from gaining access to the         25   to be provisioned is powered on after the provisioning logic
 network 17.                                                           44 is activated. As above, the network access point 12 tracks
    In the time based wireless access provisioning system 20,          54 the power on time of wireless devices 14, whereby the
 the network access point 12 also comprises time based                 powered wireless device begins transmission of a reverse
 provisioning 44, which is activatible 46, such as manually            link signal 28. The user U then activates 58 the provisioning
 by a user U. The time based wireless access provisioning         30   access 44 at the network access point 12, typically by
 system 20 securely integrates one or more wireless devices            pressing an activation button or switch 46. When a wireless
 14 into the local area network 17. A properly timed inter-            device 14 to be authorized is powered on 56, the provision-
 action 57 (FIG. 3, FIG. 4) between a wireless device 14 to            ing logic 44 at the network access point 12 notes the power
 be provisioned and the network access point 12 acts to                on time 82 (FIG. 6).
 qualify the wireless device 14 to the network access point.      35      In response to a properly timed interaction 57, the net-
    Time-Based Provisioning Process. FIG. 3 is a flow chart            work access point 12 provisions the wireless device 14
 of a time based wireless access provisioning process 52a.             automatically. As seen in FIG. 4, the network access point 12
 The network access point 12 tracks 54 the power on time of            determines 60 if there is a recent power on of a wireless
 wireless devices 14, whereby the powered wireless device              device 14, after the provisioning logic 44 is activated 58. If
 begins transmission of a reverse link signal 28. When a          40   the wireless device 14 was recently powered 56, such as
 wireless device 14 to be authorized is powered on 56, the             within an acceptance time interval 74 (FIG. 6), the positive
 provisioning logic 44 at the network access point 12 notes            determination logic 62 allows the network access point 12 to
 the power on time 82 (FIG. 5). The user U then activates 58           initiate provisioning 64.
 the provisioning access 44 at the network access point 12,               As seen in FIG. 4, the alternate time based wireless access
 typically by pressing an activation button or switch 46.         45   provisioning process 52b also prevents network access from
    In response to a properly timed interaction 57, the net-           devices 14 which are powered on 78 (FIG. 6) at an earlier
 work access point 12 provisions the wireless device 14                time 88 (FIG. 6). If a wireless device 14 is powered on at a
 automatically. As seen in FIG. 3, the network access point 12         time 88 before (or after) the acceptance time interval 74
 determines 60 if there is a recent power on of a wireless             (FIG. 6), the negative determination logic 66 allows the
 device 14, e.g. such as within 5 minutes. If the wireless        so   network access point 12 to deny access 68 to the device 14,
 device 14 was recently powered 56, such as within an                  preventing provisioning 64 into the network 17.
 acceptance time interval 74 (FIG. 5), the positive determi-              FIG. 6 shows a simplified timeline 70b for the alternate
 nation logic 62 allows the network access point 12 to initiate        time based wireless access provisioning process 52b. The
 provisioning 64.                                                      enhanced network access point 12 tracks power on 56 of
    As seen in FIG. 3, the time based wireless access provi-      55   wireless devices as a function of time 72. As seen in FIG. 6,
 sioning process 52a also prevents network access from                 the user activates provisioning logic 44 at the network
 devices 14 which are powered on 78 (FIG. 5) at an earlier             access point 12, at time 84. The network access point 14
 time 88 (FIG. 5). If a wireless device 14 is powered on at a          notes the start time 82 of the power on 56 of a wireless
 time 88 before the acceptance time interval 74 (FIG. 5), the          device 14 which is desired to be provisioned within the
 negative determination logic 66 allows the network access        60   network 17. If the power on 56 falls within the acceptance
 point 12 to deny access 68 to the device, preventing provi-           time interval 74, the desired device 14 is accepted 62 (FIG.
 sioning 64 into the network 17.                                       4). As seen in FIG. 6, the time interval 76 for the desired
    FIG. 5 shows a simplified timeline 70a for a time based            device 14 properly falls within the acceptance interval 74,
 wireless access provisioning process 52a. The enhanced                such that the provisioning logic 44 accepts 62 the wireless
 network access point 12 tracks power on 56 of wireless           65   device 14, and initiates provisioning 64.
 devices as a function of time 72. As seen in FIG. 5, the                 As further seen in FIG. 6, the network access point 14 also
 network access point 14 notes the start time 82 of the power          notes the start time 88 of the power on 78 of a second
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 wireless device 14, which is not necessarily desired to be              of signal transmission 16 is easily tracked by the enhanced
 provisioned by the network access point 12, such as from an             network access point 12, a simple activation 46, such as the
 unauthorized device 14, or from a desired device which is               pushing of a button 46, can be used to time-qualify 57 a
 not powered on within the time interval 74. When the user               desired device 14, and to deny qualification 66 for an
 then activates the provisioning logic 44 at the network            5    unqualified device. Therefore, the time-based access provi-
 access point 12, at time 86, the time interval 80 for the               sioning system 20 drastically simplifies wireless setup and
 second device 14 falls outside the acceptance interval 74,              provisioning for wireless devices. Wireless devices 14 to be
 and before the activation 58 of the provisioning logic 44,              provisioned are not required to have complex user inter-
 such that the provisioning logic 44 denies 66 the second                faces, and users are not required to perform complex pro-
 wireless device 14, and prevents provisioning 64.                  w    visioning procedures. The time-based access provisioning
    Device Qualification. FIG. 7 provides a schematic view               system 20 simplifies the integration of wireless devices into
 90 of a time-based acceptance of a new wireless device 14               a network, and provides more than reasonable levels of
 within a time based wireless access provisioning system 20.             security.
    When a \the provisioning logic 44 time-qualifies 62 (FIG.               Alternate Applications for the Time-Based Access Provi-
 3, FIG. 4) a wireless device 14, the wireless access point 12      15   sioning System.
 accepts the time-based qualification 57, and initiates the                 While the time based access provisioning system 10 is
 provisioning process 64, which typically comprises commu-               disclosed above as tracking a single power on 56,78 of
 nication 16 and secure provisioning of information between              wireless devices, alternate embodiments of the time based
 the wireless device 14 and the network access point 12, such            access provisioning system 10 provide further network
 as the exchange of key material, if an encryption protocol is      20   protections from undesired devices.
 to be used. Device parameters, such as the device identifier               For example, for a neighboring device which is switched
 50, are typically sent 92 to the access point 12, wherein the           on and off repeatedly, such as for an undesired wireless
 device identifier 50 is added to the network access control             device or user in search of a network access point 12, the
 list 42. As seen in FIG. 7, the device identifier 50 for the            network access point 12 tracks the repeated powering opera-
 accepted wireless device 14 is added to the access control         25   tion, and can deny provisioning access as desired.
 list 42, such as an element 43b in the list of qualified devices           Although the time based access provisioning system and
 14. Provisioning information may also be sent 94 from the               its methods of use are described herein in connection with
 network access point to the device, such as to establish                wireless devices, personal computers and other micropro-
 setup, handshaking, or encryption provisioning.                         cessor-based devices, such as wireless appliances, the appa-
    System Implementation. The time-based wireless access           30   ratus and techniques can be implemented for a wide variety
 provisioning system 20 readily integrates one or more                   of electronic devices and systems, or any combination
 wireless devices 14 into a local area network in a secure               thereof, as desired.
 fashion. For example, when a user U brings home a new                      Furthermore, while the time based access provisioning
 wireless device 14 for use in their existing home network 17,           system and its methods of use are described herein in
 the time-based wireless access provisioning system 20              35   connection with wireless devices and intranets or LAN's,
 allows the user U to easily add the new device to the network           the apparatus and techniques can be implemented for a wide
 17, without exposing the network unnecessarily to attack                variety of electronic devices and networks or any combina-
 from third parties.                                                     tion thereof, as desired.
    Within the time based access provisioning system 20, the                As well, while the time based access provisioning system
 enhanced network access point 12 keeps track of all wireless       40   and its methods of use are described herein in connection
 devices 14a-14n in the vicinity 18 of the central access point          with a time based interaction between a wireless device and
 12. The time based wireless access provisioning system 20               a network access point, the use of tracking power on/off as
 securely integrates one or more wireless devices 14 into the            a signal to associate devices automatically can be imple-
 local area network 17, based upon a properly timed device               mented for a wide variety of electronic devices and networks
 qualification interaction 57 (FIG. 3, FIG. 4) between a            45   or any combination thereof, as desired.
 wireless device 14 to be provisioned and the network access                Accordingly, although the invention has been described in
 point 12.                                                               detail with reference to a particular preferred embodiment,
    As seen in FIG. 3 and FIG. 4, when a user U brings a                 persons possessing ordinary skill in the art to which this
 device 14 home HM and powers on the wireless device 14,                 invention pertains will appreciate that various modifications
 the user then simply presses a button 46 on their network          5°   and enhancements may be made without departing from the
 access point 12. In response thereto, the access point 12               spirit and scope of the claims that follow.
 provisions the wireless device automatically, based on the
 time-based qualification 57. Since the access point 12 is only           What is claimed is:
 available for such provisioning for a short interval 74 after           1. A process for provisioning between a wireless device
 the button 46 is pressed, it is unlikely that the access point     55 and a network, comprising the steps of:
 12 will provision unauthorized third party devices 14.                  tracking an operating parameter of the wireless device
    The qualification protocol 52a,52b allows the network                   within a service area, wherein the operating parameter
 access point 12 to augment is the access control list 42 with              of the wireless device comprises an onset of a signal
 a properly qualified device 14. The network access point can               transmission of the wireless device; and
 discount, i.e. deny, devices in neighboring residences HM          6o   initiating provisioning of the wireless device if the tracked
 that have been on for a long time, wherein power on 78 of                  operating parameter occurs within a time interval.
 the devices 14 extends beyond the acceptance interval 74,               2. The process of claim 1, wherein the wireless device
 and can identify and provision one or more devices 14 that            comprises any of a computer, a portable computer, a printer,
 are powered on 56 within the acceptance interval 74.                  a portable phone, a personal digital assistant, a wireless
    The time-based access provisioning system 20 does not           65 picture frame, a video recording device, an electronic game
 require a user interface on a wireless device 14 to initiate          device, a television, a digital camera, a digital video camera,
 device setup and provisioning. As the power on or beginning           and a digital music player.
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    3. The process of claim 1, wherein the wireless device              picture frame, a video recording device, an electronic game
 comprises any of an IEEE 802.11 compliant device and a                 device, a television, a digital camera, a digital video camera,
 BLUETOOTHTM compliant device.                                          and a digital music player.
    4. The process of claim 1, wherein the provisioning is                 24. The system of claim 22, wherein the wireless device
 prevented if the tracked operating parameter occurs outside       5    comprises any of an IEEE 802.11 compliant device and a
 the time interval, comprising any of before the time interval          BLUETOOTHTM compliant device.
 and after the time interval.                                              25. The system of claim 22, wherein the provisioning is
    5. The process of claim 1, wherein the provisioning is              prevented if the tracked operating parameter occurs outside
 prevented if the tracked operating parameter occurs repeat-            the time interval, comprising any of before the time interval
 ably.                                                             10   and after the time interval.
    6. The process of claim 1, wherein the provisioning is                 26. The system of claim 22, wherein the provisioning is
 performed automatically.                                               prevented if the tracked operating parameter occurs repeat-
    7. The process of claim 1, wherein the network comprises            ably.
 any of an intranet, a local area network, a wireless local area           27. The system of claim 22, wherein the provisioning is
 network, and a wireless personal area network.                    15   performed automatically.
    8. The process of claim 1, wherein the provisioning                    28. The system of claim 22, wherein the network com-
 comprises transmitting information to the wireless device,             prises any of an intranet, a local area network, a wireless
 wherein the transmitted information comprises any of setup             local area network, and a wireless personal area network.
 information, handshaking information, and encryption infor-               29. The system of claim 22, wherein the provisioning
 mation.                                                           20   comprises transmitting information to the wireless device,
    9. The process of claim 1, wherein the provisioning                 wherein the transmitted information comprises any of setup
 comprises receiving information from the wireless device.              information, handshaking information, and encryption infor-
    10. The process of claim 9, wherein the received infor-             mation.
 mation comprises a device identifier.                                     30. The system of claim 22, wherein the provisioning
    11. The process of claim 10, wherein the device identifier     25   comprises a reception of information from the wireless
 comprises a MAC address.                                               device.
    12. The process of claim 1, further comprising the step of:            31. The system of claim 30, wherein the received infor-
    providing an access point that tracks the operating param-          mation comprises a device identifier.
       eter of the wireless device.                                        32. The system of claim 31, wherein the device identifier
    13. The process of claim 12, further comprising the step       30   comprises a MAC address.
 of:                                                                       33. The system of claim 22, wherein the tracking means
    activating the time interval through the access point.              comprises an access point.
    14. The process of claim 12, wherein the access point                  34. The system of claim 33, further comprising:
 comprises means for activating the time interval, wherein                 an activation of the time interval through the access point.
 the activation means comprises any of a button and a switch.      35      35. The system of claim 33, wherein the access point
    15. The process of claim 13, wherein the access point               comprises means for activating the time interval, wherein
 comprises an access control list.                                      the activation means comprises any of a button and a switch.
    16. The process of claim 15, wherein the access control                36. The system of claim 33, wherein the access point
 list comprises an identification of one or more wireless               comprises an access control list.
 devices that have access to the network.                          40      37. The system of claim 36, wherein the access control list
    17. The process of claim 12, wherein the access point               comprises an identification of one or more wireless devices
 communicates with one or more wired devices.                           that have access to the network.
    18. The process of claim 17, wherein the access point is               38. The system of claim 33, wherein the access point
 connected to the wired devices through a local area network            communicates with one or more wired devices.
 (LAN).                                                            45      39. The system of claim 38, wherein the access point is
    19. The process of claim 12, wherein the access point               connected to the wired devices through a local area network
 communicates with at least one other wireless device that              (LAN).
 operates within the service area.                                         40. The system of claim 33, wherein the access point
    20. The process of claim 12, wherein the access point               communicates with at least one other wireless device that
 further comprises a network connection to one or more             50   operates within the service area.
 networks.                                                                 41. The system of claim 33, wherein the access point
    21. The process of claim 20, wherein the connected                  further comprises a network connection to one or more
 network comprises any of a local area network (LAN) and                networks.
 the Internet.                                                             42. The system of claim 41, wherein the connected
    22. A system for provisioning between a wireless device        55   network comprises any of a local area network (LAN) and
 and a network, comprising:                                             the Internet.
    means for tracking an operating parameter of the wireless              43. An access point, comprising:
       device within a service area, wherein the tracked oper-             means for tracking an operating parameter of a wireless
       ating parameter of the wireless device comprises an                    device, wherein the tracked operating parameter of the
       onset of a signal transmission of the wireless device;      60         wireless device comprises any of a power on, and an
       and                                                                    onset of a signal transmission of the wireless device;
    logic for initiating provisioning of the wireless device if               and
       the tracked operating parameter occurs within a time                logic for initiating an association of the wireless device
       interval.                                                              with a network if the tracked operating parameter
    23. The system of claim 22, wherein the wireless device        65         occurs within a time interval.
 comprises any of a computer, a portable computer, a printer,              44. The access point of claim 43, wherein the wireless
 a portable phone, a personal digital assistant, a wireless             device comprises any of a computer, a portable computer, a
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 printer, a portable phone, a personal digital assistant, a               53. The system of claim 52, wherein the device identifier
 wireless picture frame, a video recording device, an elec-            comprises a MAC address.
 tronic game device, a television, a digital camera, a digital            54. The access point of claim 43, wherein the time interval
 video camera and a digital music player.                              is activatible through the access point.
    45. The access point of claim 43, wherein the wireless        5       55. The access point of claim 54, wherein the access point
 device comprises any of an IEEE 802.11 compliant device               comprises means for activating the time interval, comprising
 and a BLUETOOTHTM compliant device.                                   any of a button and a switch.
    46. The access point of claim 43, wherein the association
                                                                          56. The access point of claim 43, further comprising:
 is prevented if the tracked operating parameter occurs out-
 side the time interval, comprising any of before the time        10
                                                                          an access control list.
 interval and after the time interval.                                    57. The access point of claim 56, wherein the access
    47. The access point of claim 43, wherein the association          control list comprises an identification of one or more
 is prevented if the tracked operating parameter occurs                wireless devices that have access to the network.
 repeatably.                                                              58. The access point of claim 43, wherein the access point
    48. The access point of claim 43, wherein the initiation of   15   is in communication with one or more wired devices.
 the association is automatically performable.                            59. The access point of claim 58, wherein the access point
    49. The access point of claim 43, wherein the network              is connected to the wired devices through a local area
 comprises any of an intranet, a local area network, a wireless        network (LAN).
 local area network, and a wireless personal area network.                60. The access point of claim 43, wherein the access point
    50. The access point of claim 43, wherein the association     20   is in communication with at least one other wireless device
 comprises a transmission of information to the wireless               that operates within the region.
 device, wherein the information comprises any of setup                   61. The access point of claim 43, further comprising:
 information, handshaking information, and encryption infor-
 mation.                                                                  a connection to at least a second network.
    51. The access point of claim 43, wherein the association     25      62. The system of claim 61, wherein the second network
 comprises a reception of information from the wireless                comprises any of a local area network (LAN) and the
 device.                                                               Internet.
    52. The system of claim 51, wherein the received infor-
 mation comprises a device identifier.                                                       *   *   *    *   *
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                       Exhibit H
Case 1:21-cv-01323-CFC Document 1-1 Filed 09/17/21 Page 83 of 440 PageID #: 132
                                                                            I11111
                                                                               11111111
                                                                                  III
                                                                                   11111
                                                                                     11111!10,11,11111,1111111111
 (12)   United States Patent                                                          (10) Patent No.:     US 7,463,596 B2
        Roskind et al.                                                                (45) Date of Patent:     *Dec. 9, 2008

 (54)    TIME BASED WIRELESS ACCESS                                                      6,272,129 Bi        8/2001 Dynarski et al.
         PROVISIONING

 (75)    Inventors: James A. Roskind, Redwood City, CA                                                         (Continued)
                    (US); John D. Robinson, South Riding,
                    VA (US)                                                                    FOREIGN PATENT DOCUMENTS
                                                                                 EP                   0814623            12/1997
 (73)    Assignee: AOL LLC, Dulles, VA (US)

  *)     Notice:      Subject to any disclaimer, the term of this
                      patent is extended or adjusted under 35                                                  (Continued)
                      U.S.C. 154(b) by 0 days.
                                                                                                      OTHER PUBLICATIONS
                      This patent is subject to a terminal dis-
                                                                                Security Issuesfor Wearable Computing and Bluetooth Technology;
                      claimer.                                                  Catharina Candolin, undated.

 (21)    Appl. No.: 11/673,513                                                                                 (Continued)

 (22)    Filed:       Feb. 9, 2007                                              Primary Examiner Melvin Marcelo
                                                                                (74) Attorney, Agent, or Firm Michael A. Glenn; Glenn
 (65)                    Prior Publication Data                                 Patent Group
         US 2007/0135060 Al           Jun. 14, 2007                              (57)                          ABSTRACT
                   Related U.S. Application Data
 (63)    Continuation of application No. 10/961,959, filed on                   A method and apparatus is provided for the time-based pro-
         Oct. 8, 2004, now Pat. No. 7,177,285, which is a con-                  visioning of wireless devices. A network access point moni-
         tinuation of application No. 10/341,847, filed on Jan.                 tors operation of wireless devices within a service region.
         13, 2003, now Pat. No. 6,891,807.                                      When provisioning logic is activated at the network access
                                                                                point, the access point determines if the tracked parameter
 (51)    Int. Cl.                                                               (such as power on or the onset of signal transmission) of the
         HO4L 12/26            (2006.01)                                        wireless device occurs within a designated time interval from
         HO4Q 7/34             (2006.01)                                        the time of the provisioning activation. If the tracked device
 (52)    U.S. Cl.                            370/255; 370/338                   qualifies, the network access point proceeds with provision-
 (58)    Field of Classification Search                370/255,                 ing the device. In one system embodiment, the network
                                                       370/338                  access point tracks the power on time of wireless devices.
         See application file for complete search history.                      When a wireless device to be authorized is powered on, the
                                                                                provisioning logic at the network access point notes the
 (56)                    References Cited                                       power on time. The user then activates the provisioning
                                                                                access at the network access point, and the network access
                   U.S. PATENT DOCUMENTS
                                                                                point provisions the wireless device if it is recently powered
        5,461,627 A      10/1995 Rypinski                                       on.
        6,058,106 A       5/2000 Cudak et al.
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                                                     92     16
                                                                      28                                         j90
                                           24                              77 - 34 f32              fl2
                              48      22

                                      Transceiver         30     94        Transceiver      Network
                                                                                           Access Point
                               Communication                                                          43a
                                  Logic                                                             42 i ,43b r40
                                   Device
                                  Identifier                               Time Based      Access Contro
                                                               44                               List
                                                                           Provisioning
                                                                              Activation    5O —             Network
                                      Powe      on                                                           Functions


                               501 26 27                                           46 36       43n'
                                14                        57,62
                                                      Time Based                 20                           38'
                               Wireless
                               Device
                                                      Qualification                                        Network       39
                                                                                                          Connection
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                                                                       Firewalls for Security in Wireless Networks; U. Murthy, 0. Bukhres,
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                                                                       W. Winn, and E. Vanderdez; Proceedings of the Thirty-First Hawaii
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 EP              1126681            8/2001                             Jiejun Kng, Songwu Lu, and Lixia Zhang, undated.
 EP              1191763            3/2002                             Wireless Networkingfor Control and Automation of Off-Road Equip-
 EP              1225778            7/2002                             ment; by J.D. Will; An ASAE Meeting Presentation, undated.
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                                                                       ference on Mobile Computing and Networking; Aug. 6-11, 2000.
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                                                                   j 10


                                                      HM



                                                      14n
                                                                   18

                                                          6
              14b 16 14h



                                                               14a
                                                               14c
    14g                                              16
                                               1
                                                      20
    ‘,14e
                                          sr
                                     16                       17
                 14d1


                                                               Fig. 1
                         16 c28                                           s 20
               24
                                                                                      lualud 'SI'




                                       34 (32              fl2
48        22
          Transceiver   30        Transceiver      Network
                                                  Access Point
Communication                                                 43a
   Logic                                                    42 743b (40
    Device                                                ,
                                  Time Based      Access Control
   Identifier                44                        List
     -r                           Provisioning              =
                                                                    Network
            Power                 1Activation
                                                                                      L JO Z WIN




                                                                    Functions
               r                    1     1
50) r
          26) 27                           46         43n
                                                 36
 14
Wireless
                                                                     38
                                                                  Network        39
Device                                      Fig. 2               Connection
                                                                                      ZS 96S`£917`L Sf1
                                                                                                          Case 1:21-cv-01323-CFC Document 1-1 Filed 09/17/21 Page 86 of 440 PageID #: 135
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       Track Power On of Devices                        j    52a
        at Network Access Point

                Power On      f          56
              Wireless Device
                                                              Time Based
                                                            57 Device
             Activate Access                  58
                                           (Press             Qualification
                    at
           Network Access Point            Button)


                     Is                  60 s 62
               There Recent
                                           Yes
               Power On of                                            J 64
              Wireless Device
                                     6                         Initiate
                                                            Provisioning

                                         f68
               Deny Access

                                                    Fig. 3
Case 1:21-cv-01323-CFC Document 1-1 Filed 09/17/21 Page 88 of 440 PageID #: 137


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        Track Power On of Devices         1 54 j 52b
         at Network Access Point

              Activate Access    j 58
                     at           (Press
            Network Access Point Button)                Time Based
                                                      57 Device
                                     56                 Qualification
                 Power On
               Wireless Device

                      Is             60          62
                There Recent
                                          Yes
                Power On of                                     X64
               Wireless Device
                                                         Initiate
                                                      Provisioning

                                          68
                Deny Access

                                                 Fig. 4
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                              Acceptance                        70a
                             Time Interval
                                           74
                            S80                 76
                                                          Provisioning
                                                    o../58 Activation
                                           4



                               56

                                                                 Time
          78        88               84C              436
     Power On                                                 72
         of
                                               82
     Unaccepted
      Device                                           Fig. 5
Case 1:21-cv-01323-CFC Document 1-1 Filed 09/17/21 Page 90 of 440 PageID #: 139


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                             Provisioning                             70b
                              Activation
                                     58
                                                 74 Acceptance
                      c80                             Time Interval



                            76
                     Device
                    Activation
                              56

                                           )                 Time
           78       88               84C 82 86             72c
       Power On
          of
      Unaccepted
        Device                         Fig. 6
                     92     16                                                        j90
                                      28
                                                                                                  lualud 'Sn




       22140                               vx -34 (.32                  f l2
481
                                                                                                  eiT
       Transceiver        30     94        Transceiver          Network
                                                               Access Point
Communication                                                                 43a                 00

   Logic                                                               (-42         43b c40
    Device
                                           Time Based          Access Control
   Identifier                  44                                   List
  —7                                       Provisioning
                                                                50               Network
                                                                                                  L JO L WIN




       Power On                                    ctivation
                                           a   A
                                                                                 Functions


50" 26' 27                                             46 36         43n!
 141                      57,62
                      Time Based                     20                           3 f
Wireless              Qualification                                            Network       39
Device                                                    Fig. 7              Connection
                                                                                                  ZS 96S`£917`L Sf1
                                                                                                                      Case 1:21-cv-01323-CFC Document 1-1 Filed 09/17/21 Page 91 of 440 PageID #: 140
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                                                      US 7,463,596 B2
                               1                                                                     2
           TIME BASED WIRELESS ACCESS                                  describes the sending of an authentication key to a device for
                  PROVISIONING                                         storage, when an identification code received from the device
                                                                       corresponds to a code stored in an access point.
            CROSS REFERENCE TO RELATED                                    Secure Wireless LAN, European Pat. No. EP, 1081895,
                   APPLICATIONS                                   5    discloses wireless device use by a wireless device operator
                                                                       with an access point connected to a wired LAN in communi-
   This application is a Continuation of U.S. Ser. No. 10/961,         cation with the wireless device through air channel authenti-
 959, filed Oct. 8, 2004 now U.S. Pat. No. 7,177,285, which is         cation.
 a Continuation of U.S. Ser. No. 10/341,847, filed Jan. 13,               C. Candolin, Security Issuesfor Wearable Computing and
 2003, which was issued as U.S. Pat. No. 6,891,807 on May it)          Bluetooth Technology, 23 Oct. 2000, Telecommunications
 10, 2005, each of which are incorporated herein in their              Software and Multimedia Laboratory, Helsinki University of
 entirety by this reference thereto.                                   Technology, P.B. 400, FIN-02015 HUT, Finland, describes
                                                                       Bluetooth Technology as "a short-range wireless cable
                FIELD OF THE INVENTION                                 replacement technology enabling restricted types of ad hoc
                                                                 15    networks to be formed. All the while, a need for connecting
    The invention relates to the field of wireless connections         wearable devices, such as PDAs, mobile. phones, and mp3-
 between a wireless device and a network. More particularly,           players, is rising. Such networks may be formed using Blue-
 the invention relates to access provisioning between one or           tooth technology, but issues such as security must be taken
 more wireless devices and an intranet access point.                   into consideration. Although an attempt to tackle security is
                                                                 20    made, the result is too weak to be used for anything else than
           BACKGROUND OF THE INVENTION                                 for personal purposes."
                                                                          Other systems provide various details of the operation of
    In local area networks, such as wireless home networks,            wireless devices within a network, such as U.S. Pat. No.
 one or more wireless devices, e.g. such as IEEE 802.11b               6,418,324, Apparatus and Method for Transparent Wireless
 devices, are linked to the network by a provisioning process 25       Communication; U.S. Pat. No. 6,418,146, Integrated Com-
 through a network access point. When a user acquires a new            munication Center Functionality for WAP Devices; U.S. Pat.
 wireless device, they need to securely tie it to their intranet,      No. 6,359,880, Public Wireless/Cordless Internet Gateway;
 which comprises telling the intranet to accept wireless com-          U.S. Pat. No. 6,334,056, Secure Gateway Processing for
 munications from the device, as well as provisioning the              Handheld Device Markup Language; U.S. Pat. No. 6,317,
 device with key material, such as for creating an encrypted 30        594, System and Method for Providing Data to a Wireless
 connection. In conventional networks having one or more               Device Upon Detection of Activity of the Device on a Wire-
 devices to be provisioned to a network access point, device           less Network, U.S. Pat. No. 6,282,183, Method for Authoriz-
 identification information, such as a MAC address, is                 ing Coupling between devices in a Capability Addressable
 required to be communicated from the wireless device to the           Network; U.S. Pat. No. 6,272,129, Dynamic Allocation of
 access point.                                                    35   Wireless Mobile Nodes Over An Internet Protocol (IP) Net-
    Several methods have been described for wireless access            work; U.S. Pat. No. 6,167,428, Personal Computer Micropro-
 provisioning to integrate wireless devices into a network.            cessor Firewalls for Internet Distributed Processing; Euro-
    M. Cudak, B. Mueller, J. Kelton, and B. Classon, Network           pean Pat. No. 1225778, Wireless Repeater Using
 Protocol Method, Access Point Device and Peripheral                   Identification of Call Originator, European Pat. No. EP
 Devices for Providing for an Efficient Centrally Coordinated 40       1191763, Access Authentication System for a Wireless Envi-
 Peer-to-Peer Wireless Communications Network, U.S. Pat.               ronment; European Pat. No. 1126681, A Network Portal Sys-
 No. 6,058,106, discloses a "peer-to-peer wireless communi-            tem and Methods; European Pat. No. EP1081895, Secure
 cations network wherein the access point device: (1) broad-           Wireless Local Area Network; European Pat. No. EP 999672,
 casts a block assignment that specifies a wireless source             System and Method for Mapping Packet Data Functional
 peripheral device and a wireless destination peripheral 45            Entities to Elements in a Communications Network; Euro-
 device; (2) receives, from the wireless destination peripheral        pean Pat. No. EP814623, Mobile Decision Methodology for
 device, sequence information; (3) determines whether the              Accessing Multiple Wireless Data Networks; Privacy and
 sequence information represents one of: a negative acknowl-           Authenticationfor Wireless Local Area Networks, Ashar Aziz
 edgment and a positive acknowledgment with a sequence                 and Whitfield Diffie; Sun Microsystems, Inc., Jul. 26, 1993;
 number; (4) forwards an acknowledgment to the wireless 50             Painting Your Home Blue (Bluetooth TM Wireless Technology),
 source peripheral based on the sequence information, and              D. Cypher, Proceedings 2002 IEEE 4th International Work-
 repeats steps (1)-(4) until N blocks of data, N a predetermined       shop on Networked Appliances, Jan. 15-16, 2002; Wireless
 integer, have been transferred from the wireless source               Home Networks on a Hierarchical Bluetooth Scatternet
 peripheral to the wireless destination peripheral."                   Architecture, W. Lilakiatsakun, A. Seneviratne, Proceedings
    J. Lin, P. Alfano, and S. Upp, Method and Apparatus for 55         Ninth IEEE International Conference on Networks; Oct.
 Performing Bearer Independent Wireless Application Service            10-12, 2001; Bluetooth Wireless Technology in the Home, R.
 Provisioning, U.S. Pat. No 6,275,693 disclose a provisioning          Shephard, Electronics & Communication Engineering Jour-
 system, in which a "mobile communication device contacts a            nal; October 2001; Wireless Gateway for Wireless Home AV
 provisioning proxy over the wireless bearer network, which            Network and It's Implementation, T. Saito, I. Imoda, Y. Taka-
 in turns contacts a provisioning center over a public network. 60     batke, K. Teramoto, and K. Fujimoto, IEEE Transactions on
 A provisioning tunnel is then established between the provi-          Consumer Electronics, August 2001; A Wireless Home Net-
 sioning center and the mobile communication device. Once              work and its Applications Systems, H. Fujieda, Y. Horiike, T.
 the provisioning tunnel is set up, the user of the mobile             Yamamoto, and T. Nomura, IEEE Transactions on Consumer
 communication device can subscribe to, or unsubscribe from            Electronics, May 2000; Wireless Home Link, M. Nakagawa,
 wireless application services."                                  65   IEICE Transactions on Communications, December 1999;
    Wireless Device Registering Method in Wireless Home                An Access Protocol for a Wireless Home Network, A. C. V.
 Network, PCT Patent Application No. WO 01/2266,                       Gummalla, and J. 0. Limb, WCNC 1999 IEEE Wireless
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                               3                                                                   4
 Communications and Networking Conference; Sep. 21-24,              within a designated time interval from the time of the provi-
 1999; Firewallsfor Security in Wireless Networks, U. Murthy,       sioning activation. If the tracked device qualifies, the network
 0. Bukres, W. Winn, and E. Vanderdez, Proceedings of the           access point proceeds with provisioning the device. When a
 Thirty-First Hawaii International Conference on System Sci-        wireless device to be authorized is powered on, the provision-
 ences, Jan. 6-9, 1998; Self-Securing Ad Hoc Wireless Net- 5 ing logic at the network access point notes the power on time.
 works, Haiyun Luo, Petros Aerfos, Jiejun Kng, Songwu Lu,           The user then activates the provisioning access at the network
 and Lixia Zhang; Wireless Networkingfor Control and Auto-          access point, and the network access point provisions the
 mation of Off-Road Equipment, J. D. Will; ASAE Meeting             wireless device if it is recently powered on.
 Presentation; and Intrusion Detection in Wireless Ad-Hoc
 Networks, Yongguang Zhang and Wenke Lee, Proceeding of 10                 BRIEF DESCRIPTION OF THE DRA WINGS
 the Sixth Annual International Conference on Mobile Com-
 puting and Networking, Aug. 6-11, 2000.                               FIG. 1 is a schematic plan view of a time based wireless
    The disclosed prior art systems and methodologies thus          access provisioning system;
 provide basic provisioning for wireless devices to a network          FIG. 2 is a functional block diagram of a time based wire-
 through an access point. However, for many networks, such 15 less access provisioning system;
 provisioning schemes are often impractical, either for wire-          FIG. 3 is a flow chart of a time based wireless access
 less devices which lack a user interface which is configured       provisioning process;
 for communicating provisioning information, or for simple             FIG. 4 is a flow chart of an alternate time based wireless
 home-based intranets. For example, device identification           access provisioning process;
 information, such as a MAC address, is often required to be 20        FIG. 5 shows a simplified timeline for a time based wireless
 manually transcribed from the wireless device to the access        access provisioning process;
 point, since wireless devices often lack a user interface con-        FIG. 6 shows a simplified timeline for an alternate time
 trol to reveal such identifying information. For example, a        based wireless access provisioning process; and
 wireless picture frame device typically lacks a control inter-        FIG. 7 shows the time-based acceptance and provisioning
 face read or extract identification information, such as a MAC 25 of a new wireless device within a time based wireless access
 address.                                                           provisioning system.
    While some wireless devices include a user interface for
 dedicated device functionality, e.g. such as a user control for           DETAILED DESCRIPTION OF PREFERRED
 a game box or a digital video recorder, a dedicated user                                  EMBODIMENTS
 interface is often incapable or cumbersome to be used to 30
 communicate device identification and to exchange provi-              FIG. 1 is a schematic plan view 10 of a time based wireless
 sioning information. In addition, while some wireless devices      access provisioning system 20. FIG. 2 is a functional block
 provide a user interface control which can reveal such iden-       diagram of a time based wireless access provisioning system
 tifying information, provisioning procedures still require a       20, comprising a network access point 12 adapted to provide
 user to be technically proficient to properly initiate and com- 35 time-based provisioning with a wireless device 14.
 plete a provisioning process.                                         The network access point 12 shown in FIG. 2 comprises a
    It would therefore be advantageous to provide a network         transceiver 32 and antenna 34, which provides communica-
 provisioning system, which does not require a user interface       tion 16 to one or more wireless devices 14. The communica-
 for the initiation of a provisioning process. The development      tions channel 16 typically comprises an input, i.e. reverse
 of such a wireless access provisioning system would consti- 40 link, signal 28 from a wireless device 14 to the access point,
 tute a major technological advance.                                as well as an output, i.e. forward link, signal 30, from the
    Furthermore, it would be advantageous to provide a wire-        access point 12 to the wireless device 14.
 less access provisioning structure and process with minimal           As seen in FIG. 2, the network access point 12 typically
 device requirements and/or user proficiency, whereby a wire-       comprises network logic & componentry 36, such as net-
 less device is readily provisioned by the provisioning system, 45 working functions 40, thereby providing communications
 and whereby other devices within an access region are pre-         between one or more authorized wireless devices 14 and a
 vented from being provisioned by the provisioning system.          local network 17 (FIG. 1). The network access point 12 shown
 The development of such a provisioning system would con-           in FIG. 1 also comprises a network connection 38 to one or
 stitute a further technological advance.                           more networks 39, such as to wired devices within a LAN,
    As well, it would be advantageous that such a wireless so and/or to other networks, such as the Internet. The network
 access provisioning system be integrated with easily moni-         access point 12 shown in FIG. 2 comprises an access control
 tored parameters of a wireless device, such as the time moni-      list 42, which identifies wireless devices 14 which have
 toring of power on and/or start of signal transmission. The        proper access to the local network 17 (FIG. 1), such as by
 development of such a provisioning system would constitute         storing accepted device identifications 50 as list elements
 a further major technological advance. The development of 55 43a-43n.
 such a time-based wireless access provisioning system for             The wireless device 14 shown in FIG. 2 comprises a device
 provisioning secure encrypted communication would consti-          transceiver 22 and antenna 24, which provides communica-
 tute a further technological advance.                              tion 16 to the network access point 12, and in some embodi-
                                                                    ments to other wireless devices 14. The wireless device 14
               SUMMARY OF THE INVENTION                          60 comprises communication logic and componentry 48, and
                                                                    comprises an associated device identifier 50, e.g. such as a
    A method and apparatus is provided for the time-based           unique MAC address, which is communicatable to the net-
 provisioning of wireless devices. A network access point           work access point 12, whereby the wireless device 14 can be
 monitors operation of wireless devices within a service            controllably provisioned into the network 17 by the network
 region. When provisioning logic is activated at the network 65 access point 12. The wireless device 14 also comprises power
 access point, the access point determines if the tracked           26, e.g. wired or battery, and power activation 26. In some
 parameter, such as the power on, of the wireless device occurs     embodiments of the time based wireless access provisioning
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                               5                                                                       6
 system 20, the wireless device is an IEEE 802.11 WLAN                  an end time 86, within which desired devices 14 are accepted
 and/or BluetoothTM compliant device.                                   62 (FIG. 3). As seen in FIG. 5, the time interval 76 for the
    The network access point 12 shown in FIG. 1 is located              desired device 14 properly falls within the acceptance interval
 within a service area 18 for a network 17, such as a wireless          74, such that the provisioning logic 44 accepts 62 the wireless
 local area network (WLAN) or a wireless personal area net-        5    device 14, and initiates provisioning 64.
 work (WPAN), and typically communicates 16 with a one or                  As further seen in FIG. 5, the network access point 14 also
 more wireless devices 14 which operate within the service              notes the start time 88 of the power on 78 of a second wireless
 area 18, as well as to other wired devices connected to the            device 14, which is not necessarily desired to be provisioned
 network, and to connected networks, such as the Internet.              by the network access point 12. When the user activates the
    As seen in FIG. 1, the time based wireless access provi-       10   provisioning logic 44 at the network access point 12, at time
 sioning system 20 can be used for a wide variety of wireless           86, the time interval 80 for the second device 14 falls outside
 devices 14a-14n which are adapted to communicate with the              the acceptance interval 74, i.e. failing 66, time-based deter-
 network access point 12, such as but not limited to a desktop          mination 60 (FIG. 3) such that the provisioning logic 44
 computer 14a, a portable laptop computer 14b, a network                denies 68 the second wireless device 14, and prevents provi-
 printer 14c, a digital video recorder 14d, a game box 14e, a      15   sioning 64.
 portable phone 14f, a personal digital assistant (PDA) 14g,               Alternate Time-Based Provisioning Process. FIG. 4 is a
 and/or a wireless picture frame 14h.                                   flow chart of an alternate time based wireless access provi-
    The network access point 12 provides time-based provi-              sioning process 52b, in which a desired wireless device 14 to
 sioning to ensure that only authorized wireless devices 14 can         be provisioned is powered on after the provisioning logic 44
 operate within the local network 17, such as within a home        20   is activated. As above, the network access point 12 tracks 54
 HM, and to prevent unauthorized wireless devices 14, such as           the power on time of wireless devices 14, whereby the pow-
 device 14n in FIG. 1, from gaining access to the network 17.           ered wireless device begins transmission of a reverse link
    In the time based wireless access provisioning system 20,           signal 28. The user U then activates 58 the provisioning
 the network access point 12 also comprises time based pro-             access 44 at the network access point 12, typically by pressing
 visioning 44, which is activatible 46, such as manually by a      25   an activation button or switch 46. When a wireless device 14
 user U. The time based wireless access provisioning system             to be authorized is powered on 56, the provisioning logic 44
 20 securely integrates one or more wireless devices 14 into            at the network access point 12 notes the power on time 82
 the local area network 17. A properly timed interaction 57             (FIG. 6).
 (FIG. 3, FIG. 4) between a wireless device 14 to be provi-                In response to a properly timed interaction 57, the network
 sioned and the network access point 12 acts to qualify the        30   access point 12 provisions the wireless device 14 automati-
 wireless device 14 to the network access point.                        cally. As seen in FIG. 4, the network access point 12 deter-
    Time-Based Provisioning Process. FIG. 3 is a flow chart of          mines 60 if there is a recent power on of a wireless device 14,
 a time based wireless access provisioning process 52a. The             after the provisioning logic 44 is activated 58. If the wireless
 network access point 12 tracks 54 the power on time of                 device 14 was recently powered 56, such as within an accep-
 wireless devices 14, whereby the powered wireless device          35   tance time interval 74 (FIG. 6), the positive determination
 begins transmission of a reverse link signal 28. When a wire-          logic 62 allows the network access point 12 to initiate provi-
 less device 14 to be authorized is powered on 56, the provi-           sioning 64.
 sioning logic 44 at the network access point 12 notes the                 As seen in FIG. 4, the alternate time based wireless access
 power on time 82 (FIG. 5). The user U then activates 58 the            provisioning process 52b also prevents network access from
 provisioning access 44 at the network access point 12, typi-      40   devices 14 which are powered on 78 (FIG. 6) at an earlier time
 cally by pressing an activation button or switch 46.                   88 (FIG. 6). If a wireless device 14 is powered on at a time 88
    In response to a properly timed interaction 57, the network         before (or after) the acceptance time interval 74 (FIG. 6), the
 access point 12 provisions the wireless device 14 automati-            negative determination logic 66 allows the network access
 cally. As seen in FIG. 3, the network access point 12 deter-           point 12 to deny access 68 to the device 14, preventing pro-
 mines 60 if there is a recent power on of a wireless device 14,   45   visioning 64 into the network 17.
 e.g. such as within 5 minutes. If the wireless device 14 was              FIG. 6 shows a simplified timeline 70b for the alternate
 recently powered 56, such as within an acceptance time inter-          time based wireless access provisioning process 52b. The
 val 74 (FIG. 5), the positive determination logic 62 allows the        enhanced network access point 12 tracks power on 56 of
 network access point 12 to initiate provisioning 64.                   wireless devices as a function of time 72. As seen in FIG. 6,
    As seen in FIG. 3, the time based wireless access provi-       so   the user activates provisioning logic 44 at the network access
 sioning process 52a also prevents network access from                  point 12, at time 84. The network access point 14 notes the
 devices 14 which are powered on 78 (FIG. 5) at an earlier time         start time 82 of the power on 56 of a wireless device 14 which
 88 (FIG. 5). If a wireless device 14 is powered on at a time 88        is desired to be provisioned within the network 17. If the
 before the acceptance time interval 74 (FIG. 5), the negative          power on 56 falls within the acceptance time interval 74, the
 determination logic 66 allows the network access point 12 to      55   desired device 14 is accepted 62 (FIG. 4). As seen in FIG. 6,
 deny access 68 to the device, preventing provisioning 64 into          the time interval 76 for the desired device 14 properly falls
 the network 17.                                                        within the acceptance interval 74, such that the provisioning
    FIG. 5 shows a simplified timeline 70a for a time based             logic 44 accepts 62 the wireless device 14, and initiates pro-
 wireless access provisioning process 52a. The enhanced net-            visioning 64.
 work access point 12 tracks power on 56 of wireless devices       60      As further seen in FIG. 6, the network access point 14 also
 as a function of time 72. As seen in FIG. 5, the network access        notes the start time 88 of the power on 78 of a second wireless
 point 14 notes the start time 82 of the power on 56 of a               device 14, which is not necessarily desired to be provisioned
 wireless device 14 which is desired to be provisioned within           by the network access point 12, such as from an unauthorized
 the network 17. The user then activates provisioning logic 44          device 14, or from a desired device which is not powered on
 at the network access point 12, at time 86. The provisioning      65   within the time interval 74. When the user then activates the
 logic 44 typically comprises an acceptance time interval 74,           provisioning logic 44 at the network access point 12, at time
 e.g. such as a 5 minute interval 74, having a start time 84 and        86, the time interval 80 for the second device 14 falls outside
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                                                       US 7,463,596 B2
                                7                                                                    8
 the acceptance interval 74, and before the activation 58 of the      ing for wireless devices. Wireless devices 14 to be provi-
 provisioning logic 44, such that the provisioning logic 44           sioned are not required to have complex user interfaces, and
 denies 66 the second wireless device 14, and prevents provi-         users are not required to perform complex provisioning pro-
 sioning 64.                                                          cedures. The time-based access provisioning system 20 sim-
    Device Qualification. FIG. 7 provides a schematic view 90 5 plifies the integration of wireless devices into a network, and
 of a time-based acceptance of a new wireless device 14 within        provides more than reasonable levels of security.
 a time based wireless access provisioning system 20.
                                                                      Alternate Applications for the Time-Based Access Provision-
    When a \the provisioning logic 44 time-qualifies 62 (FIG.
                                                                      ing System.
 3, FIG. 4) a wireless device 14, the wireless access point 12
                                                                         While the time based access provisioning system 10 is
 accepts the time-based qualification 57, and initiates the pro- 10
                                                                      disclosed above as tracking a single power on 56, 78 of
 visioning process 64, which typically comprises communi-
                                                                      wireless devices, alternate embodiments of the time based
 cation 16 and secure provisioning of information between the
                                                                      access provisioning system 10 provide further network pro-
 wireless device 14 and the network access point 12, such as
                                                                      tections from undesired devices.
 the exchange of key material, if an encryption protocol is to be
                                                                         For example, for a neighboring device which is switched
 used. Device parameters, such as the device identifier 50, are 15
                                                                      on and off repeatedly, such as for an undesired wireless device
 typically sent 92 to the access point 12, wherein the device
                                                                      or user in search of a network access point 12, the network
 identifier 50 is added to the network access control list 42. As
                                                                      access point 12 tracks the repeated powering operation, and
 seen in FIG. 7, the device identifier 50 for the accepted wire-
                                                                      can deny provisioning access as desired.
 less device 14 is added to the access control list 42, such as an
                                                                         Although the time based access provisioning system and
 element 43b in the list of qualified devices 14. Provisioning 20
                                                                      its methods of use are described herein in connection with
 information may also be sent 94 from the network access
                                                                      wireless devices, personal computers and other microproces-
 point to the device, such as to establish setup, handshaking, or
                                                                      sor-based devices, such as wireless appliances, the apparatus
 encryption provisioning.
                                                                      and techniques can be implemented for a wide variety of
    System Implementation. The time-based wireless access
                                                                      electronic devices and systems, or any combination thereof,
 provisioning system 20 readily integrates one or more wire- 25
                                                                      as desired.
 less devices 14 into a local area network in a secure fashion.
                                                                         Furthermore, while the time based access provisioning
 For example, when a user U brings home a new wireless
                                                                      system and its methods of use are described herein in con-
 device 14 for use in their existing home network 17, the
                                                                      nection with wireless devices and intranets or LAN's, the
 time-based wireless access provisioning system 20 allows the
                                                                      apparatus and techniques can be implemented for a wide
 user U to easily add the new device to the network 17, without 30
                                                                      variety of electronic devices and networks or any combina-
 exposing the network unnecessarily to attack from third par-
                                                                      tion thereof, as desired.
 ties.
                                                                         As well, while the time based access provisioning system
    Within the time based access provisioning system 20, the
                                                                      and its methods of use are described herein in connection with
 enhanced network access point 12 keeps track of all wireless
                                                                      a time based interaction between a wireless device and a
 devices 14a-14n in the vicinity 18 of the central access point 35
                                                                      network access point, the use of tracking power on/off as a
 12. The time based wireless access provisioning system 20
                                                                      signal to associate devices automatically can be implemented
 securely integrates one or more wireless devices 14 into the
                                                                      for a wide variety of electronic devices and networks or any
 local area network 17, based upon a properly timed device
                                                                      combination thereof, as desired.
 qualification interaction 57 (FIG. 3, FIG. 4) between a wire-
                                                                         Accordingly, although the invention has been described in
 less device 14 to be provisioned and the network access point 40
                                                                      detail with reference to a particular preferred embodiment,
 12.
                                                                      persons possessing ordinary skill in the art to which this
    As seen in FIG. 3 and FIG. 4, when a user U brings a device
                                                                      invention pertains will appreciate that various modifications
 14 home HM and powers on the wireless device 14, the user
                                                                      and enhancements may be made without departing from the
 then simply presses a button 46 on their network access point
                                                                      spirit and scope of the claims that follow.
 12. In response thereto, the access point 12 provisions the 45
 wireless device automatically, based on the time-based quali-           The invention claimed is:
 fication 57. Since the access point 12 is only available for such       1. A process for associating devices, comprising the steps
 provisioning for a short interval 74 after the button 46 is          of:
 pressed, it is unlikely that the access point 12 will provision         tracking an operating parameter of a first device, wherein
 unauthorized third party devices 14.                              50       the operating parameter of the first device comprises any
    The qualification protocol 52a,52b allows the network                   of a power on of the first device, and an onset of a signal
 access point 12 to augment the access control list 42 with a               transmission of the first device; and
 properly qualified device 14. The network access point can              automatically associating the first device with at least one
 discount, i.e. deny, devices in neighboring residences HM                  other device if the tracked operating parameter occurs
 that have been on for a long time, wherein power on 78 of the 55           within a time interval.
 devices 14 extends beyond the acceptance interval 74, and               2. The process of claim 1, wherein any of the first device
 can identify and provision one or more devices 14 that are           and at least one of the other devices comprises a wireless
 powered on 56 within the acceptance interval 74.                     device.
    The time-based access provisioning system 20 does not                3. The process of claim 1, wherein the first device com-
 require a user interface on a wireless device 14 to initiate 60 prises any of a computer, a portable computer, a printer, a
 device setup and provisioning. As the power on or beginning          portable phone, a personal digital assistant, a wireless picture
 of signal transmission 16 is easily tracked by the enhanced          frame, a video recording device, an electronic game device, a
 network access point 12, a simple activation 46, such as the         television, a digital camera, a digital video camera, a digital
 pushing of a button 46, can be used to time-qualify 57 a             music player, an IEEE 802.11 compliant device and a BLUE-
 desired device 14, and to deny qualification 66 for an unquali- 65 TOOTHTM compliant device.
 fied device. Therefore, the time-based access provisioning              4. The process of claim 1, wherein the association is pre-
 system 20 drastically simplifies wireless setup and provision-       vented if any of the tracked operating parameter occurs
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                                                       US 7,463,596 B2
                                9                                                                       10
 repeatably, and the tracked operating parameter occurs out-                18. The system of claim 16, wherein the first device com-
 side the time interval, comprising any of before the time               prises any of a computer, a portable computer, a printer, a
 interval and after the time interval.                                   portable phone, a personal digital assistant, a wireless picture
    5. The process of claim 1, wherein any of the first device           frame, a video recording device, an electronic game device, a
 and at least one of the other devices are located on a network.    5    television, a digital camera, a digital video camera, a digital
    6. The process of claim 5, wherein the network comprises             music player, an IEEE 802.11 compliant device and a BLUE-
 any of an intranet, a local area network, a wireless local area         TOOTHTM compliant device.
 network, and a wireless personal area network.                             19. The system of claim 16, wherein the association is
    7. The process of claim 1, wherein the association com-              prevented if any of the tracked operating parameter occurs
 prises any of receiving information from the first device and      10   repeatably, and the tracked operating parameter occurs out-
 transmitting information to the first device, wherein the trans-        side the time interval, comprising any of before the time
 mitted information comprises any of setup information, hand-            interval and after the time interval.
 shaking information, and encryption information.                           20. The system of claim 16, wherein any of the first device
    8. The process of claim 7, wherein the received information          and at least one of the other devices are located on a network.
 comprises a device identifier.                                     15
                                                                            21. The system of claim 20, wherein the network comprises
    9. The process of claim 8, wherein the device identifier             any of an intranet, a local area network, a wireless local area
 comprises a MAC address.                                                network, and a wireless personal area network.
    10. The process of claim 1, further comprising the step of:
                                                                            22. The system of claim 16, wherein the association com-
    providing an access point that tracks the operating param-
                                                                         prises any of a reception of information from the first device
       eter of the first device.                                    20
                                                                         and transmission of information to the first device, wherein
    11. The process of claim 10, further comprising the step of:
                                                                         the transmitted information comprises any of setup informa-
    activating the time interval through the access point.
                                                                         tion, handshaking information, and encryption information.
    12. The process of claim 10, wherein the access point
 comprises means for activating the time interval, wherein the              23. The system of claim 22, wherein the received informa-
 activation means comprises any of a button and a switch.           25   tion comprises a device identifier.
    13. The process of claim 10, wherein the access point                   24. The system of claim 23, wherein the device identifier
 comprises an identification of one or more devices that have            comprises a MAC address.
 access to a network.                                                       25. The system of claim 16, wherein the tracking means
    14. The process of claim 10, wherein the access point                comprises an access point.
 communicates with one or more wired devices through a              30      26. The system of claim 25, further comprising:
 network.                                                                   means for activating.the time interval through the access
    15. The process of claim 10, wherein the access point                      point.
 further comprises any of a network connection to one or more               27. The system of claim 26, wherein the activation means
 networks, and means for communication with at least one                 comprises any of a button and a switch.
 other device that operates within a service area.                  35
                                                                            28. The system of claim 25, wherein the access point com-
    16. A system for associating devices, comprising:
                                                                         prises an identification of one or more devices that have
    means for tracking an operating parameter of a first device,
                                                                         access to a network.
       wherein the operating parameter of the first device com-
       prises any of a power on of the first device, and an onset           29. The system of claim 25, wherein the access point com-
       of a signal transmission of the first device; and            40   municates with one or more wired devices through a network.
    means for automatically associating the first device with at            30. The system of claim 25, wherein the access point fur-
       least one other device if the tracked operating parameter         ther comprises any of a network connection to one or more
       occurs within a time interval.                                    networks, and means for communication with at least one
    17. The system of claim 16, wherein any of the first device          other device that operates within a service area.
 and at least one of the other devices comprises a wireless         45
 device.                                                                                        *   *   *    *   *
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                         Exhibit I
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 (12)   United States Patent                                                      (10) Patent No.:     US 7,911,979 B2
        Roskind et al.                                                            (45) Date of Patent:    *Mar. 22, 2011

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 (75)    Inventors: James A. Roskind, Redwood City, CA                               6,317,594   B1     11/2001     Gossman et al.
                    (US); John D. Robinson, South Riding,                            6,334,056   B1     12/2001     Holmes et al.
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 (73)    Assignee: Tarquin Consulting Co., LLC, Dover,                                     FOREIGN PATENT DOCUMENTS
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 (*)     Notice:      Subject to any disclaimer, the term of this                                            (Continued)
                      patent is extended or adjusted under 35
                      U.S.C. 154(b) by 58 days.                                                   OTHER PUBLICATIONS
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                      claimer.                                               Bluetooth Technology:", undated.

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 (22)    Filed:       Nov. 25, 2008                                          Primary Examiner — Melvin Marcelo
                                                                             (74) Attorney, Agent, or Firm — Schwabe, Williamson &
 (65)                    Prior Publication Data                              Wyatt, P.C.
         US 2009/0168667 Al           Jul. 2, 2009
                                                                             (57)                            ABSTRACT
                   Related U.S. Application Data
                                                                             A method and apparatus is provided for the time-based pro-
 (63)    Continuation of application No. 11/673,513, filed on
                                                                             visioning of wireless devices. A network access point moni-
         Feb. 9, 2007, now Pat. No. 7,463,596, which is a
                                                                             tors operation of wireless devices within a service region.
         continuation of application No. 10/961,959, filed on
                                                                             When provisioning logic is activated at the network access
         Oct. 8, 2004, now Pat. No. 7,177,285, which is a
                                                                             point, the access point determines if the tracked parameter
         continuation of application No. 10/341,847, filed on
                                                                             (such as power on or the onset of signal transmission) of the
         Jan. 13, 2003, now Pat. No. 6,891,807.
                                                                             wireless device occurs within a designated time interval from
 (51)    Int. Cl.                                                            the time of the provisioning activation. If the tracked device
                                                                             qualifies, the network access point proceeds with provision-
         HO4L 12/26             (2006.01)
                                                                             ing the device. In one system embodiment, the network
 (52)    U.S. Cl.                            370/255; 370/338
                                                                             access point tracks the power on time of wireless devices.
 (58)    Field of Classification Search                370/255,              When a wireless device to be authorized is powered on, the
                                                       370/338               provisioning logic at the network access point notes the
         See application file for complete search history.                   power on time. The user then activates the provisioning
                                                                             access at the network access point, and the network access
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                                                                             point provisions the wireless device if it is recently powered
                                                                             on.
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                                                    92     16                                                      90
                                                                 ,-28
                                            24                          77 -34 1_32               T12
                                       22

                                       Transceive        30     94      Transceive       Network
                                                                                        Access Point
                                Communication                                                          43a
                                   Logic                                                         r42         43b    40
                                    Device
                                   Identifier                           Time Based Access Contro
                                                                        Provisioning    List
                                                                                                          Network
                                       Power                               Activation
                                                                                                          Functions


                                50) 26 27                                         46 36     43n'
                                 14'                     57,62
                                Wifeless
                                                     Time Based               20                           38
                                                     Qualification                                      Network         39
                                Device                                                                 Connection
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                                                            •••• ,
                                                                     -...
                                                                            •




                                                       16
                  /



             /   / 14b 16 14h
                                                                                HM s\ s


                                                                            14a
                                                  (16   ( -14c
                                                12
                                                     20
                                                                                                     /




                      14d
                                       16                     17                          e 1.
                                                                                                 /



                                                                                      /
                                                                                  •




                       ...                             ,...
                                                                       Fig. 1
                           16 (28                                           20
                                                                                     lualud *Sil




                 24\ v,             vz -34 ,32              f12
48-           22-)
      Transceiver         30        Transceiver     Network                          6
            1                                      Access Point                      IN
                                                                                     IN
Communication                                                  43a
   Logic                                                     42 ,43b           40    ',!,'
    Device                                         Access Control
   Identifier                       Time Based
                               44   Provisioning        List
  —7-                                                     1 =
                                                                     Network
                                                                                      L JO Z WIN




         Power                       Activation                      Functions
                     D              --1     )
                 (
                     J
      I       261 27                                   43n
50                                                 6
 14       f                                                           38f
Wireless                                                           Network       3
Device                                        Fig. 2              Connection
                                                                                       ZS 6L6`116`L Sf1
                                                                                                          Case 1:21-cv-01323-CFC Document 1-1 Filed 09/17/21 Page 101 of 440 PageID #: 150
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      Track Power On of Devices                           52a
       at Network Access Point

                Power On      f56
              Wireless Device
                                                            Time Based
                    V                                     57 Device
             Activate Access            58
                                        (Press              Qualification
                    at
           Network Access Point         Button)


                     Is        60
                                                     62
               There Recent
                                 Yes
               Power On of                                         f64
              Wireless Device
                      7                                 Initiate
                             6
                                                      Provisioning

                                      f 68
               Deny Access

                                                Fig. 3
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     Track Power On of Devices             1. 54 j     521)
      at Network Access Point

            Activate Access                58
                   at          (Press
          Network Access Point Button)                  Time Based
                                                      57 Device
                                      56                Qualification
               Power On
             Wireless Device

                    Is                60
              There Recent
                                           Yes
              Power On of                                         1 64
             Wireless Device
                     7                                   Initiate
                                                      Provisioning

                                      X68
              Deny Access

                                                  Fig. 4
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                             Acceptance                       70a
                            Time Interval
                                        74
                               0              76
                          c8                       Provisioning
                                               (
                                               ` 58 Activation



                             56

                                                               Time
        78 1\88                    84              ?86
    Power on                              $2                72
       of
   Unaccepted
     Device                                            Fig. 5
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                             Provisioning                               70b
                              Activation
                                      58
                                                 74 Acceptance
                      X80                              Time Interval



                            76          Pi t             •   •

                                                  ••
                     Device
                    Activation
                              56
                                  //////          /////7
                                                                 Time    °‘
            78) 1\88              84C              86             c
        Power On
           of                              82                72
       Unaccepted
         Device                         Fig. 6
                      92     16                                                    5 90
                                       28
                                                                                               lualud *Sil




         241 7,                             7/ ---34 f32               f12
48     221
       Transceiver         30 \94           Transceiver      Network
                                                            Access Point
Communication                                                             43a
    Logic                                                               42 ,43b
     Device                                                         I
                                            Time Based      Access Control
    Identifier                  44Th                             List
  -7                                    \._ Provisioning               CI
                                                                                               L JO L WIN




                                                             50        =       Network
       Power                                    ctivation
                 On                                                            Functions
                                                                   I


50) 261 27                                          A-6 36        43n)
 14                        57,62
                       Time Based                  20                           38f
Wireless               Qualification                                         Network       3
Device                                                  Fig. 7              Connection
                                                                                                ZS 6L6`116`L Sf1
                                                                                                                   Case 1:21-cv-01323-CFC Document 1-1 Filed 09/17/21 Page 106 of 440 PageID #: 155
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                                1                                                                    2
         TIME BASED ACCESS PROVISIONING                                A provisioning tunnel is then established between the provi-
               SYSTEM AND PROCESS                                      sioning center and the mobile communication device. Once
                                                                       the provisioning tunnel is set up, the user of the mobile
             CROSS REFERENCE TO RELATED                                communication device can subscribe to, or unsubscribe from
                    APPLICATIONS                                  5    wireless application services."
                                                                          Wireless Device Registering Method in Wireless Home
     This application is a Continuation of and claims priority to      Network, PCT Patent Application No. WO 01/2266,
  U.S. Ser. No. 11/673,513, filed 9 Feb. 2007, which is a Con-         describes the sending of an authentication key to a device for
  tinuation of and claims priority to U.S. Ser. No. 10/961,959,        storage, when an identification code received from the device
  filed 8 Oct. 2004, which was issued as U.S. Pat. No. 7,177,285 io    corresponds to a code stored in an access point.
  on 13 Feb. 2007, which is a Continuation of and claims                  Secure Wireless LAN, European Pat. No. EP, 1081895,
  priority to U.S. Ser. No. 10/341,847, filed 13 Jan. 2003, which      discloses wireless device use by a wireless device operator
  was issued as U.S. Pat. No. 6,891,807 on 10 May 2005, each           with an access point connected to a wired LAN in communi-
  of which are incorporated herein in their entirety by this           cation with the wireless device through air channel authenti-
  reference thereto.                                              15   cation.
     This Application is also related to PCT Application No.              C. Candolin, Security Issuesfor Wearable Computing and
  PCT/US04/00860, filed 13 Jan. 2004, which claims the ben-            Bluetooth Technology, 23 Oct. 2000, Telecommunications
  efit of U.S. Ser. No. 10/341,847, filed 13 Jan. 2003, which was      Software and Multimedia Laboratory, Helsinki University of
  issued as U.S. Pat. No. 6,891,807 on 10 May 2005.                    Technology, P.B. 400, FIN-02015 HUT, Finland, describes
                                                                  20   Bluetooth Technology as "a short-range wireless cable
                   FIELD OF THE INVENTION                              replacement technology enabling restricted types of ad hoc
                                                                       networks to be formed. All the while, a need for connecting
     The invention relates to the field of wireless connections        wearable devices, such as PDAs, mobile phones, and mp3-
  between a wireless device and a network. More particularly,          players, is rising. Such networks may be formed using Blue-
  the invention relates to access provisioning between one or 25       tooth technology, but issues such as security must be taken
  more wireless devices and an intranet access point.                  into consideration. Although an attempt to tackle security is
                                                                       made, the result is too weak to be used for anything else than
           BACKGROUND OF THE INVENTION                                 for personal purposes."
                                                                          Other systems provide various details of the operation of
     In local area networks, such as wireless home networks, 30        wireless devices within a network, such as U.S. Pat. No.
  one or more wireless devices, e.g. such as IEEE 802.11b              6,418,324, Apparatus and Method for Transparent Wireless
  devices, are linked to the network by a provisioning process         Communication; U.S. Pat. No. 6,418,146, Integrated Com-
  through a network access point. When a user acquires a new           munication Center Functionality for WAP Devices; U.S. Pat.
  wireless device, they need to securely tie it to their intranet,     No. 6,359,880, Public Wireless/Cordless Internet Gateway;
  which comprises telling the intranet to accept wireless com- 35      U.S. Pat. No. 6,334,056, Secure Gateway Processing for
  munications from the device, as well as provisioning the             Handheld Device Markup Language; U.S. Pat. No. 6,317,
  device with key material, such as for creating an encrypted          594, System and Method for Providing Data to a Wireless
  connection. In conventional networks having one or more              Device Upon Detection of Activity of the Device on a Wire-
  devices to be provisioned to a network access point, device          less Network; U.S. Pat. No. 6,282,183, Method for Authoriz-
  identification information, such as a MAC address, is 40             ing Coupling between devices in a Capability Addressable
  required to be communicated from the wireless device to the          Network; U.S. Pat. No. 6,272,129, Dynamic Allocation of
  access point. Several methods have been described for wire-          Wireless Mobile Nodes Over An Internet Protocol (IP) Net-
  less access provisioning to integrate wireless devices into a        work; U.S. Pat. No. 6,167,428, Personal Computer Micropro-
  network.                                                             cessor Firewalls for Internet Distributed Processing; Euro-
     M. Cudak, B. Mueller, J. Kelton, and B. Glasson, Network 45       pean Pat. No. 1225778, Wireless Repeater Using
  Protocol Method, Access Point Device and Peripheral                  Identification of Call Originator; European Pat. No. EP
  Devices for Providing for an Efficient Centrally Coordinated         1191763, Access Authentication System for a Wireless Envi-
  Peer-to-Peer Wireless Communications Network, U.S. Pat.              ronment; European Pat. No. 1126681, A Network Portal Sys-
  No. 6,058,106, disclose a "peer-to-peer wireless communi-            tem and Methods; European Pat. No. EP1081895, Secure
  cations network wherein the access point device: (1) broad- so       Wireless Local Area Network; European Pat. No. EP 999672,
  casts a block assignment that specifies a wireless source            System and Method for Mapping Packet Data Functional
  peripheral device and a wireless destination peripheral              Entities to Elements in a Communications Network; Euro-
  device; (2) receives, from the wireless destination peripheral       pean Pat. No. EP814623, Mobile Decision Methodology for
  device, sequence information; (3) determines whether the             Accessing Multiple Wireless Data Networks; Privacy and
  sequence information represents one of: a negative acknowl- 55       Authenticationfor Wireless Local Area Networks, Ashar Aziz
  edgment and a positive acknowledgment with a sequence                and Whitfield Diffie; Sun Microsystems, Inc., Jul. 26, 1993;
  number; (4) forwards an acknowledgment to the wireless               Painting Your Home Blue (Bluetooth TM Wireless Technology),
  source peripheral based on the sequence information, and             D. Cypher, Proceedings 2002 IEEE 4th International Work-
  repeats steps (1)-(4) until N blocks of data, N a predetermined      shop on Networked Appliances, Jan. 15-16, 2002; Wireless
  integer, have been transferred from the wireless source 60           Home Networks on a Hierarchical Bluetooth Scatternet
  peripheral to the wireless destination peripheral."                  Architecture, W. Lilakiatsakun, A. Seneviratne, Proceedings
     J. Lin, P. Alfano, and S. Upp, Method and Apparatus for           Ninth IEEE International Conference on Networks; Oct.
  Performing Bearer Independent Wireless Application Service           10-12, 2001; Bluetooth Wireless Technology in the Home, R.
  Provisioning, U.S. Pat. No. 6,275,693 disclose a provisioning        Shephard, Electronics & Communication Engineering Jour-
  system, in which a "mobile communication device contacts a 65        nal; October 2001; Wireless Gateway for Wireless Home AV
  provisioning proxy over the wireless bearer network, which           Network and It's Implementation, T. Saito, I. Imoda, Y. Taka-
  in turns contacts a provisioning center over a public network.       batke, K. Teramoto, and K. Fujimoto, IEEE Transactions on
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                                3                                                                     4
  Consumer Electronics, August 2001; A Wireless Home Net-              monitors operation of wireless devices within a service
  work and its Applications Systems, H. Fujieda, Y. Horiike, T.        region. When provisioning logic is activated at the network
  Yamamoto, and T. Nomura, IEEE Transactions on Consumer               access point, the access point determines if the tracked
  Electronics, May 2000; Wireless Home Link, M. Nakagawa,              parameter, such as the power on, of the wireless device occurs
  IEICE Transactions on Communications, December 1999;               5 within a designated time interval from the time of the provi-
  An Access Protocol for a Wireless Home Network, A. C. V.
                                                                       sioning activation. If the tracked device qualifies, the network
  Gummalla, and J. 0. Limb, WCNC 1999 IEEE Wireless
                                                                       access point proceeds with provisioning the device. When a
  Communications and Networking Conference; Sep. 21-24,
  1999; Firewallsfor Security in Wireless Networks, U. Murthy,         wireless device to be authorized is powered on, the provision-
  0. Bukres, W. Winn, and E. Vanderdez, Proceedings of the             ing logic at the network access point notes the power on time.
  Thirty-First Hawaii International Conference on System Sci-       10 The user then activates the provisioning access at the network
  ences, Jan. 6-9, 1998; Self-Securing Ad Hoc Wireless Net-            access point, and the network access point provisions the
  works, Haiyun Luo, Petros Aerfos, Jiejun Kng, Songwu Lu,             wireless device if it is recently powered on.
  and Lixia Zhang; Wireless Networkingfor Control and Auto-
  mation of Off-Road Equipment, J. D. Will; ASAE Meeting                      BRIEF DESCRIPTION OF THE DRAWINGS
  Presentation; and Intrusion Detection in Wireless Ad-Hoc          15
  Networks, Yongguang Zhang and Wenke Lee, Proceeding of                  FIG. 1 is a schematic plan view of a time based wireless
  the Sixth Annual International Conference on Mobile Com-             access provisioning system;
  puting and Networking, Aug. 6-11, 2000.                                 FIG. 2 is a functional block diagram of a time based wire-
     The disclosed prior art systems and methodologies thus            less access provisioning system;
  provide basic provisioning for wireless devices to a network      20    FIG. 3 is a flow chart of a time based wireless access
  through an access point. However, for many networks, such            provisioning process;
  provisioning schemes are often impractical, either for wire-            FIG. 4 is a flow chart of an alternate time based wireless
  less devices which lack a user interface which is configured         access provisioning process;
  for communicating provisioning information, or for simple               FIG. 5 shows a simplified timeline for a time based wireless
  home-based intranets. For example, device identification          25 access provisioning process;
  information, such as a MAC address, is often required to be             FIG. 6 shows a simplified timeline for an alternate time
  manually transcribed from the wireless device to the access
                                                                       based wireless access provisioning process; and
  point, since wireless devices often lack a user interface con-
                                                                          FIG. 7 shows the time-based acceptance and provisioning
  trol to reveal such identifying information. For example, a
  wireless picture frame device typically lacks a control inter-       of a new wireless device within a time based wireless access
                                                                    30 provisioning system.
  face to read or extract identification information, such as a
  MAC address.
     While some wireless devices include a user interface for                 DETAILED DESCRIPTION OF PREFERRED
  dedicated device functionality, e.g. such as a user control for                       EMBODIMENTS
  a game box or a digital video recorder, a dedicated user
  interface is often incapable or cumbersome to be used to       FIG. 1 is a schematic plan view 10 of a time based wireless
                                                                    35
  communicate device identification and to exchange provi-    access provisioning system 20. FIG. 2 is a functional block
                                                              diagram of a time based wireless access provisioning system
  sioning information. In addition, while some wireless devices
  provide a user interface control which can reveal such iden-20, comprising a network access point 12 adapted to provide
  tifying information, provisioning procedures still require atime-based provisioning with a wireless device 14.
  user to be technically proficient to properly initiate and com-
                                                           40    The network access point 12 shown in FIG. 2 comprises a
  plete a provisioning process.                               transceiver 32 and antenna 34, which provides communica-
     It would therefore be advantageous to provide a network  tion 16 to one or more wireless devices 14. The communica-
  provisioning system, which does not require a user interfacetions channel 16 typically comprises an input, i.e. reverse
  for the initiation of a provisioning process. The development
                                                              link, signal 28 from a wireless device 14 to the access point,
  of such a wireless access provisioning system would consti-
                                                           45 as well as an output, i.e. forward link, signal 30, from the
  tute a major technological advance.                         access point 12 to the wireless device 14.
     Furthermore, it would be advantageous to provide a wire-    As seen in FIG. 2, the network access point 12 typically
  less access provisioning structure and process with minimal
                                                              comprises network logic and componentry 36, such as net-
  device requirements and/or user proficiency, whereby a wire-
                                                              working functions 40, thereby providing communications
  less device is readily provisioned by the provisioning system,
                                                           so between one or more authorized wireless devices 14 and a
  and whereby other devices within an access region are pre-
  vented from being provisioned by the provisioning system.   local network 17 (FIG. 1). The network access point 12 shown
  The development of such a provisioning system would con-    in FIG. 2 also comprises a network connection 38 to one or
  stitute a further technological advance.                    more networks 39, such as to wired devices within a LAN,
     As well, it would be advantageous that such a wireless   and/or to other networks, such as the Internet. The network
                                                           55 access point 12 shown in FIG. 2 comprises an access control
  access provisioning system be integrated with easily moni-
                                                              list 42, which identifies wireless devices 14 which have
  tored parameters of a wireless device, such as the time moni-
  toring of power on and/or start of signal transmission. The proper access to the local network 17 (FIG. 1), such as by
  development of such a provisioning system would constitute  storing accepted device identifications 50 as list elements
  a further major technological advance. The development of   43a-43n.
  such a time-based wireless access provisioning system for60    The wireless device 14 shown in FIG. 2 comprises a device
  provisioning secure encrypted communication would consti-   transceiver 22 and antenna 24, which provides communica-
  tute a further technological advance.                       tion 16 to the network access point 12, and in some embodi-
                                                              ments to other wireless devices 14. The wireless device 14
             SUMMARY OF THE INVENTION                         comprises communication logic and componentry 48, and
                                                           65 comprises an associated device identifier 50, e.g. such as a
    A method and apparatus is provided for the time-based     unique MAC address, which is communicatable to the net-
  provisioning of wireless devices. A network access point    work access point 12, whereby the wireless device 14 can be
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                                5                                                                        6
  controllably provisioned into the network 17 by the network             wireless device 14 which is desired to be provisioned within
  access point 12. The wireless device 14 also comprises power            the network 17. The user then activates provisioning logic 44
  26, e.g. wired or battery, and power activation 27. In some             at the network access point 12, at time 86. The provisioning
  embodiments of the time based wireless access provisioning              logic 44 typically comprises an acceptance time interval 74,
  system 20, the wireless device 14 is an IEEE 802.11 WLAN          5     e.g. such as a 5 minute interval 74, having a start time 84 and
  and/or BluetoothTM compliant device.                                    an end time 86, within which desired devices 14 are accepted
     The network access point 12 shown in FIG. 1 is located               62 (FIG. 3). As seen in FIG. 5, the time interval 76 for the
  within a service area 18 for a network 17, such as a wireless           desired device 14 properly falls within the acceptance interval
  local area network (WLAN) or a wireless personal area net-              74, such that the provisioning logic 44 accepts 62 the wireless
  work (WPAN), and typically communicates 16 with a one or          10    device 14, and initiates provisioning 64.
  more wireless devices 14 which operate within the service                  As further seen in FIG. 5, the network access point 14 also
  area 18, as well as to other wired devices connected to the             notes the start time 88 of the power on 78 of a second wireless
  network, and to connected 38 networks 39, such as the Inter-            device 14, which is not necessarily desired to be provisioned
  net.                                                                    by the network access point 12. When the user activates the
     As seen in FIG. 1, the time based wireless access provi-       15    provisioning logic 44 at the network access point 12, at time
  sioning system 20 can be used for a wide variety of wireless            86, the time interval 80 for the second device 14 falls outside
  devices 14a-14n which are adapted to communicate with the               the acceptance interval 74, i.e. failing 66 time-based determi-
  network access point 12, such as but not limited to a desktop           nation 60 (FIG. 3) such that the provisioning logic 44 denies
  computer 14a, a portable laptop computer 14b, a network                 68 the second wireless device 14, and prevents provisioning
  printer 14c, a digital video recorder 14d, a game box 14e, a      20    64.
  portable phone 14f, a personal digital assistant (PDA) 14g,                Alternate Time-Based Provisioning Process. FIG. 4 is a
  and/or a wireless picture frame 14h.                                    flow chart of an alternate time based wireless access provi-
     The network access point 12 provides time-based provi-               sioning process 52b, in which a desired wireless device 14 to
  sioning to ensure that only authorized wireless devices 14 can          be provisioned is powered on after the provisioning logic 44
  operate within the local network 17, such as within a home        25    is activated. As above, the network access point 12 tracks 54
  HM, and to prevent unauthorized wireless devices 14, such as            the power on time of wireless devices 14, whereby the pow-
  device 14n in FIG. 1, from gaining access to the network 17.            ered wireless device begins transmission of a reverse link
     In the time based wireless access provisioning system 20,            signal 28. The user U then activates 58 the provisioning
  the network access point 12 also comprises time based pro-              access 44 at the network access point 12, typically by pressing
  visioning 44, which is activatible 46, such as manually by a      30    an activation button or switch 46. When a wireless device 14
  user U. The time based wireless access provisioning system              to be authorized is powered on 56, the provisioning logic 44
  20 securely integrates one or more wireless devices 14 into             at the network access point 12 notes the power on time 82
  the local area network 17. A properly timed interaction 57              (FIG. 6).
  (FIG. 3, FIG. 4) between a wireless device 14 to be provi-                 In response to a properly timed interaction 57, the network
  sioned and the network access point 12 acts to qualify the        35    access point 12 provisions the wireless device 14 automati-
  wireless device 14 to the network access point.                         cally. As seen in FIG. 4, the network access point 12 deter-
     Time-Based Provisioning Process. FIG. 3 is a flow chart of           mines 60 if there is a recent power on of a wireless device 14,
  a time based wireless access provisioning process 52a. The              after the provisioning logic 44 is activated 58. If the wireless
  network access point 12 tracks 54 the power on time of                  device 14 was recently powered 56, such as within an accep-
  wireless devices 14, whereby the powered wireless device          40    tance time interval 74 (FIG. 6), the positive determination
  begins transmission of a reverse link signal 28. When a wire-           logic 62 allows the network access point 12 to initiate provi-
  less device 14 to be authorized is powered on 56, the provi-            sioning 64.
  sioning logic 44 at the network access point 12 notes the                  As seen in FIG. 4, the alternate time based wireless access
  power on time 82 (FIG. 5). The user U then activates 58 the             provisioning process 52b also prevents network access from
  provisioning access 44 at the network access point 12, typi-      45    devices 14 which are powered on 78 (FIG. 6) at an earlier time
  cally by pressing an activation button or switch 46.                    88 (FIG. 6). If a wireless device 14 is powered on at a time 88
     In response to a properly timed interaction 57, the network          before (or after) the acceptance time interval 74 (FIG. 6), the
  access point 12 provisions the wireless device 14 automati-             negative determination logic 66 allows the network access
  cally. As seen in FIG. 3, the network access point 12 deter-            point 12 to deny access 68 to the device 14, preventing pro-
  mines 60 if there is a recent power on of a wireless device 14,   s()   visioning 64 into the network 17.
  e.g. such as within 5 minutes. If the wireless device 14 was               FIG. 6 shows a simplified timeline 70b for the alternate
  recently powered 56, such as within an acceptance time inter-           time based wireless access provisioning process 52b. The
  val 74 (FIG. 5), the positive determination logic 62 allows the         enhanced network access point 12 tracks power on 56 of
  network access point 12 to initiate provisioning 64.                    wireless devices as a function of time 72. As seen in FIG. 6,
     As seen in FIG. 3, the time based wireless access provi-       55    the user activates provisioning logic 44 at the network access
  sioning process 52a also prevents network access from                   point 12, at time 84. The network access point 14 notes the
  devices 14 which are powered on 78 (FIG. 5) at an earlier time          start time 82 of the power on 56 of a wireless device 14 which
  88 (FIG. 5). If a wireless device 14 is powered on at a time 88         is desired to be provisioned within the network 17. If the
  before the acceptance time interval 74 (FIG. 5), the negative           power on 56 falls within the acceptance time interval 74, the
  determination logic 66 allows the network access point 12 to      60    desired device 14 is accepted 62 (FIG. 4). As seen in FIG. 6,
  deny access 68 to the device, preventing provisioning 64 into           the time interval 76 for the desired device 14 properly falls
  the network 17.                                                         within the acceptance interval 74, such that the provisioning
     FIG. 5 shows a simplified timeline 70a for a time based              logic 44 accepts 62 the wireless device 14, and initiates pro-
  wireless access provisioning process 52a. The enhanced net-             visioning 64.
  work access point 12 tracks power on 56 of wireless devices       65       As further seen in FIG. 6, the network access point 14 also
  as a function of time 72. As seen in FIG. 5, the network access         notes the start time 88 of the power on 78 of a second wireless
  point 14 notes the start time 82 of the power on 56 of a                device 14, which is not necessarily desired to be provisioned
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  by the network access point 12, such as from an unauthorized             network access point 12, a simple activation 46, such as the
  device 14, or from a desired device which is not powered on              pushing of a button 46, can be used to time-qualify 57 a
  within the time interval 74. When the user then activates the            desired device 14, and to deny qualification 66 for an unquali-
  provisioning logic 44 at the network access point 12, at time            fied device. Therefore, the time-based access provisioning
  86, the time interval 80 for the second device 14 falls outside     5    system 20 drastically simplifies wireless setup and provision-
  the acceptance interval 74, and before the activation 58 of the          ing for wireless devices. Wireless devices 14 to be provi-
  provisioning logic 44, such that the provisioning logic 44               sioned are not required to have complex user interfaces, and
  denies 68 the second wireless device 14, and prevents provi-             users are not required to perform complex provisioning pro-
  sioning 64.                                                              cedures. The time-based access provisioning system 20 sim-
     Device Qualification. FIG. 7 provides a schematic view 90        io   plifies the integration of wireless devices into a network, and
  of a time-based acceptance of a new wireless device 14 within            provides more than reasonable levels of security.
  a time based wireless access provisioning system 20.                     Alternate Applications for the Time-Based Access Provision-
     When the provisioning logic 44 time-qualifies 62 (FIG. 3,             ing System.
  FIG. 4) a wireless device 14, the wireless access point 12                  While the time based access provisioning system 10 is
  accepts the time-based qualification 57, and initiates the pro-     15   disclosed above as tracking a single power on 56,78 of wire-
  visioning process 64, which typically comprises communi-                 less devices, alternate embodiments of the time based access
  cation 16 and secure provisioning of information between the             provisioning system 10 provide further network protections
  wireless device 14 and the network access point 12, such as              from undesired devices.
  the exchange of key material, if an encryption protocol is to be            For example, for a neighboring device which is switched
  used. Device parameters, such as the device identifier 50, are      20   on and off repeatedly, such as for an undesired wireless device
  typically sent 92 to the access point 12, wherein the device             or user in search of a network access point 12, the network
  identifier 50 is added to the network access control list 42. As         access point 12 tracks the repeated powering operation, and
  seen in FIG. 7, the device identifier 50 for the accepted wire-          can deny provisioning access as desired.
  less device 14 is added to the access control list 42, such as an           Although the time based access provisioning system and
  element 43b in the list of qualified devices 14. Provisioning       25   its methods of use are described herein in connection with
  information may also be sent 94 from the network access                  wireless devices, personal computers and other microproces-
  point 12 to the device 14, such as to establish setup, hand-             sor-based devices, such as wireless appliances, the apparatus
  shaking, or encryption provisioning.                                     and techniques can be implemented for a wide variety of
     System Implementation. The time-based wireless access                 electronic devices and systems, or any combination thereof,
  provisioning system 20 readily integrates one or more wire-         30   as desired.
  less devices 14 into a local area network in a secure fashion.              Furthermore, while the time based access provisioning
  For example, when a user U brings home a new wireless                    system and its methods of use are described herein in con-
  device 14 for use in their existing home network 17, the                 nection with wireless devices and intranets or LAN's, the
  time-based wireless access provisioning system 20 allows the             apparatus and techniques can be implemented for a wide
  user U to easily add the new device to the network 17, without      35   variety of electronic devices and networks or any combina-
  exposing the network unnecessarily to attack from third par-             tion thereof, as desired.
  ties.                                                                       As well, while the time based access provisioning system
     Within the time based access provisioning system 20, the              and its methods of use are described herein in connection with
  enhanced network access point 12 keeps track of all wireless             a time based interaction between a wireless device and a
  devices 14a-14n in the vicinity 18 of the central access point      40   network access point, the use of tracking power on/off as a
  12. The time based wireless access provisioning system 20                signal to associate devices automatically can be implemented
  securely integrates one or more wireless devices 14 into the             for a wide variety of electronic devices and networks or any
  local area network 17, based upon a properly timed device                combination thereof, as desired.
  qualification interaction 57 (FIG. 3, FIG. 4) between a wire-               Accordingly, although the invention has been described in
  less device 14 to be provisioned and the network access point       45   detail with reference to a particular preferred embodiment,
  12.                                                                      persons possessing ordinary skill in the art to which this
     As seen in FIG. 3 and FIG. 4, when a user U brings a device           invention pertains will appreciate that various modifications
  14 home HM and powers on the wireless device 14, the user                and enhancements may be made without departing from the
  then simply presses a button 46 on their network access point            spirit and scope of the claims that follow.
  12. In response thereto, the access point 12 provisions the         so      The invention claimed is:
  wireless device automatically, based on the time-based quali-               1. A provisioning process performed by a provisioning
  fication 57. Since the access point 12 is only available for such        system having provisioning logic, comprising:
  provisioning for a short interval 74 after the button 46 is                 tracking, by the provisioning logic, an operating parameter
  pressed, it is unlikely that the access point 12 will provision                of a first device, wherein the operating parameter of the
  unauthorized third party devices 14.                                55         first device comprises any of a power on of the first
     The qualification protocol 52a,52b allows the network                       device, and an onset of a signal transmission of the first
  access point 12 to augment the access control list 42 with a                   device; and
  properly qualified device 14. The network access point can                  sending a signal to initiate provisioning of the first device
  discount, i.e. deny, devices in neighboring residences HM                      with a network if the tracked operating parameter occurs
  that have been on for a long time, wherein power on 78 of the       60         within a designated time interval.
  devices 14 extends beyond the acceptance interval 74, and                   2. The process of claim 1, wherein the first device is an
  can identify and provision one or more devices 14 that are               IEEE 802.11 compliant wireless device.
  powered on 56 within the acceptance interval 74.                            3. The process of claim 1, wherein the first device is a
     The time-based access provisioning system 20 does not                 BLUETOOTHTM compliant device.
  require a user interface on a wireless device 14 to initiate        65      4. The process of claim 1, wherein the initiation of provi-
  device setup and provisioning. As the power on or beginning              sioning is prevented if any of the tracked operating parameter
  of signal transmission 16 is easily tracked by the enhanced              occurs repeatedly, and the tracked operating parameter occurs
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                                                        US 7,911,979 B2
                                 9                                                                   10
  outside the time interval, comprising any of before the time           20. The network access device of claim 19, further com-
  interval and after the time interval.                               prising:
     5. The process of claim 1, wherein at least one other device        an access control list configured to store identifiers of
  is associated with the network.                                           devices provisioned to wirelessly communicate with the
     6. The process of claim 5, wherein the network comprises 5             network access device.
  any of an intranet, a local area network, a wireless local area        21. The network access device of claim 19, further com-
  network, and a wireless personal area network.                      prising:
     7. The process of claim 1, wherein the provisioning com-            an input configured to receive an indication of a beginning
  prises any of receiving provisioning information and trans-               of the designated time interval, wherein the access con-
  mitting provisioning information to the first device, wherein 10          trol logic is further configured to selectively initiate the
  the provisioning information includes any of setup informa-               provisioning of the first device based on whether the
  tion, handshaking information, and encryption information.                tracked operating parameter occurs within a designated
     8. The process of claim 1, wherein the provisioning com-               time period following reception of the indication.
  prises receiving a device identifier from the first device and         22. The network access device of claim 19, wherein the first
  provisioning the first device based on the device identifier 15 device is an IEEE 802.11 compliant wireless device.
  address.                                                               23. The network access device of claim 19, wherein the first
     9. The process of claim 1, wherein the provisioning com-         device is a BLUETOOTHTM compliant device.
  prises receiving a MAC address from the first device and               24. The network access device of claim 19, wherein the
  storing the MAC address to an access control list.                  network is an IEEE 802.11 compliant wireless local area
     10. The process of claim 1, wherein the process is per- 20 network.
  formed on a network access point.                                      25. The network access device of claim 19, wherein the
     11. The process of claim 1, wherein the operating param-         network is a wireless personal area network.
  eter is an onset of a reverse link signal transmission.                26. The network access device of claim 19, wherein the
     12. The process of claim 1, wherein the designated time          operating parameter is an onset of a reverse link signal trans-
  interval is based on a user input received by the provisioning 25 mission.
  logic.                                                                 27. A processor-readable storage medium storing non-
     13. The process of claim 1, wherein the designated time          transitory processor-readable instructions which cause a net-
  interval is a predetermined time period following reception of      work access device to perform operations for initiating pro-
  a user input by the provisioning logic.                             visioning of a first device, the operations comprising:
     14. A system, comprising:                                     30    tracking an operating parameter of the first device, wherein
     means for tracking an operating parameter of a first device,           the operating parameter of the first device include any of
        wherein the operating parameter of the first device com-            an indication of a power-on of the first device, and an
        prises any of a power on of the first device, and an onset          onset of a signal transmission of the first device; and
        of a signal transmission of the first device; and                sending a signal to initiate provisioning of the first device
     means for sending a signal to initiate provisioning of the 35          with a network if the tracked operating parameter occurs
        first device with a network if the tracked operating                within a designated time interval.
        parameter occurs within a selected time interval.                28. The processor-readable storage medium of claim 27,
     15. The system of claim 14, wherein the first device is an       wherein the first device is an IEEE 802.11 compliant wireless
  IEEE 802.11 compliant wireless device.                              device.
     16. The system of claim 14, wherein the first device is a 40        29. The processor-readable storage medium of claim 27,
  BLUETOOTHTM compliant device.                                       wherein the first device is a BLUETOOTHTM compliant
     17. The system of claim 14, wherein the provisioning com-        device.
  prises reception of a MAC address from the first device and            30. The processor-readable storage medium of claim 27,
  provisioning the first device based on the MAC address.             wherein the provisioning comprises receiving a device iden-
     18. The system of claim 14, further comprising:               45 tifier from the first device and provisioning the first device
     means for activating the selected time interval.                 based on the device identifier address.
     19. A network access device, comprising:                            31. The processor-readable storage medium of claim 27,
     access control logic configured to:                              wherein the operating parameter is an onset of a reverse link
        track an operating parameter of a first device, wherein       signal transmission.
           the operating parameter of the first device includes 50       32. The processor-readable storage medium of claim 27,
           any of an indication of a power-on of the first device,    wherein the operations further comprise:
           and an onset of a signal transmission from the first          receiving an indication of a beginning of the designated
           device; and                                                      time interval from an input switch; and
        send a signal to initiate provisioning of the first device       enabling initiation of device provisioning during the des-
           with a network if the tracked operating parameter 55             ignated time interval.
           occurs within a designated time interval: and
     a transceiver configured to wirelessly communicate with
        the first device.                                                                      * * * * *
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                              UNITED STATES PATENT AND TRADEMARK OFFICE
                                   CERTIFICATE OF CORRECTION
PATENT NO.                  : 7,911,979 B2                                                                                     Page 1 of 1
APPLICATION NO.             : 12/323399
DATED                       : March 22, 2011
INVENTOR(S)                 : Roskind et al.

It is certified that error appears in the above-identified patent and that said Letters Patent is hereby corrected as shown below:

         Title Page 2, item (56), under "Other Publications", in Column 1, Line 12, delete "Transcations;" and
         insert -- Transactions; --.

         Title Page 2, item (56), under "Other Publications", in Column 2, Line 25, delete "Ericcson" and
         insert -- Ericsson --.

         Title Page 2, item (56), under "Other Publications", in Column 2, Line 27, delete "Ericcson" and
         insert -- Ericsson --.

         Column 9, line 51, in Claim 19, delete "power-on" and insert -- power on --.

         Column 9, line 56, in Claim 19, delete "interval:" and insert -- interval; --.

         Column 10, line 32, in Claim 27, delete "power-on" and insert -- power on --.




                                                                                     Signed and Sealed this
                                                                                  Nineteenth Day of July, 2011




                                                                                                    David J. Kappos
                                                                               Director of the United States Patent and Trademark Dice
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                         Exhibit J
Case 1:21-cv-01323-CFC Document 1-1 Filed 09/17/21 Page 114 of 440 PageID #: 163
                                                                       11111111111111101111111111!11)911111
  (12)   United States Patent                                                    (10) Patent No.:     US                  7,027,465 B2
         Hautala                                                                 (45) Date of Patent:                      Apr. 11, 2006

  (54)    METHOD FOR CONTENTION FREE                                               5,675,617   A *   10/1997   Quirk et al.       375/365
          TRAFFIC DETECTION                                                        5,678,188   A     10/1997   Hisamura
                                                                                   5,822,361   A     10/1998   Nakamura et al.
  (75)    Inventor:      Petri Hautala, Tampere (FI)                               5,857,092   A *    1/1999   Nakamura et al.      710/62
                                                                                   5,881,242   A *    3/1999   Ku et al.           709/238
  (73)    Assignee: Nokia Corporation, Espoo (FI)                                  6,658,363   Bl*   12/2003   Mejia et al.        702/125
                                                                                         FOREIGN PATENT DOCUMENTS
   *)     Notice:        Subject to any disclaimer, the term of this
                         patent is extended or adjusted under 35            EP                 0491494           6/1992
                         U.S.C. 154(b) by 433 days.                         EP                 0584667           3/1994
                                                                            EP                 0749254          12/1996
                                                                            EP                 0782297           7/1997
  (21)    Appl. No.: 10/167,986
                                                                            EP                 0804006          10/1997
                                                                            EP                 0917317           5/1999
  (22)    Filed:         Jun. 11, 2002                                      EP                 0959398          11/1999
  (65)                     Prior Publication Data                                              OTHER PUBLICATIONS
          US 2004/0013134 Al               Jan. 22, 2004                    "Wireless LANs and Mobile Networking: Standards and
                                                                            Future Directions" by R.O. LaMaire, et al, IEEE Commu-
                   Related U.S. Application Data                            nications Magazine, 'Online! Aug. 1996, pp. 1-15.
  (63)    Continuation of application No. PCT/EP99/10097,                   * cited by examiner
          filed on Dec. 17, 1999.
                                                                            Primary Examiner Dang Ton
  (51)    Int. Cl.                                                          Assistant Examiner Phuc Tran
          H04J 3/07             (2006.01)
  (52)    U.S. Cl.                           370/506; 370/350               (57)                       ABSTRACT
  (58)    Field of Classification Search              370/252,
                     370/286, 304, 324, 349, 350, 395.43, 444,              The invention discloses a method for detecting priority of
                      370/506, 509, 512, 229, 230, 230.1, 235,              data frames comprising the steps of extracting (S1) a bit
                                                       370/241              pattern from a predetermined position in a frame, comparing
          See application file for complete search history.                 (S2, S3) the extracted bit pattern with a search pattern, and
                                                                            identifying (S4) the received frame as a priority frame in
  (56)                     References Cited                                 case the extracted bit pattern (BP) matches with the first
                     U.S. PATENT DOCUMENTS                                  search pattern (SP). By this method, the priority of a data
                                                                            frame can easily be detected. The invention also proposes a
         4,627,051   A     12/1986   Shimizu                                corresponding device for detecting priority of data frames.
         4,716,407   A     12/1987   Borras et al.
         4,930,124   A      5/1990   de Boisseron et al.
         5,594,738   A      1/1997   Crisler et al.                                        18 Claims, 10 Drawing Sheets



                                                 (   START


                                            EXTRACT BIT PATTERN BP
                                      Si         FROM FRAME


                                             COMPARE BIT PATTERN
                                      S2       BP WITH SEARCH
                                                 PATTERN SP

                                                                       NO
                                      S3             MATCH?

                                                           YES

                                      S4        PRIORITY FRAME                NO PRIORITY FRAME          S5



                                                       •
                                                  ( RETURN )
                              .//
                                                                lualud 'S'll




                     ,/,/             STA

                   1 \\*               4
                   AP                       4
WIRED OR WIRLESS                                /   ...
    NETWORK        PC
                                                                  900Z `H *AdV




                    21
                   2     \\,                              STA

                                                           5
                                 i
                                                                 OT Jo 1 WIN




                                STA

                                 3


                         STA RUNNING THE
                          CONFIGURATION              FIG. 1
                            PROGRAM
                                                                Zll S9eLZIA Sfl
                                                                                  Case 1:21-cv-01323-CFC Document 1-1 Filed 09/17/21 Page 115 of 440 PageID #: 164
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                    (    START )



               EXTRACT BIT PATTERN BP
          Si
                    FROM FRAME



                COMPARE BIT PATTERN
          S2      BP WITH SEARCH
                    PATTERN SP


                                          NO
          S3             MATCH?

                             YES


          S4        PRIORITY FRAME               NO PRIORITY FRAME     S5




                     (   RETURN
                                                          FIG. 2


                                               COMPARE

                                         ,e---
                                         BP                SP



    MAC FRAME

   4
               OS
                                                          FIG. 3
Case 1:21-cv-01323-CFC Document 1-1 Filed 09/17/21 Page 117 of 440 PageID #: 166


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                         TO/FROM NETWORK




                                            INFORMATION
                 FRAME
         22                                   ELEMENT     28
                RECEIVER
                                              RECEIVER




               BIT PATTERN            OFFSET
         23                                       27
               EXTRACTOR              MEMORY




                                      SEARCH
         24   COMPARATOR              PATTERN     25
                                      MEMORY



                 PRIORITY
         26    IDENTIFYING
                  MEANS




                              FIG. 4
                                                                             lualud 'S'11



    SP1     1010101010011101        00010000       SP2




    BP1     1010101010011101
                                                         BP2'
                                    00010000
                                               14----    MASKING WITH MASK
                                                         M2 = 00010000

                                    10111011             BP2
                                                                                 WINJO 17




    0S1 = 125 BYTES             /,---------'
                                                                                    in




F


              OS2 = 140 BYTES



                                      FIG. 5
                                                                              Zll S9eLZIA Sfl
                                                                                                Case 1:21-cv-01323-CFC Document 1-1 Filed 09/17/21 Page 118 of 440 PageID #: 167
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                     CFP ACTIVE




        S61      FRAME RECEIVED?
                                       NO


                         1 YES

              EXTRACT BIT PATTERNS
        S62     BP1 AND BP2 FROM
                     FRAME F



              MASK BP2 W TH MASK M2
        S63
                 TO OBTAIN BP2'




                    MATCH OF
        S64      SP1 WITH BP1 AND
                  SP2 WITH BP2'?       NO


                           YES

                FRAME TO PRIORITY               FRAME TO NORMAL
        S65                                                           S66
                     QUEUE                          QUEUE




                 7
                      RETURN




                              FIG. 6
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                               PRIORITY FRAMES




             PRIORITY
     212      FRAMES
           COUNTER (PFC)                                 NORMAL
                                                                    215
                                                         QUEUE



               PFOCFP                     PC
     213
              COUNTER                 CONTROLLER



                                                        PRIORITY
                                                                 216
                                                         QUEUE
              CFP DTIM
     214
              COUNTER

                                         211




                             FIG. 7
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                         CFP ACTIVE
             (                             )




       S81          FRAME RECEIVED?
                                                NO


                              1 YES

                 EXTRACT BIT PATTERNS
       S82         BPI AND BP2 FROM
                        FRAME F



                 MASK BP2 WITH MASK M2
       S83
                    TO OBTAIN BP2'




                          MATCH OF
       S84             SP1 WITH BP1 AND
                        SP2 WITH BP2'?         NO


                               YES

                 FRAME TO HIGH PRIORITY                 FRAME TO NORMAL
       S85                                                                  S86
                        QUEUE                               QUEUE




       S87              PFC = PFC ÷ 1



                               4



                   (       RETURN


                                                          FIG. 8
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                            CFP INACTIVE
                                                  J
                S91      FRAME RECEIVED?
                                                      NO

                                          YES

                               S FRAM
                S92         HIGH PRIORITY
                               FRAME?                 NO

                                          YES

                S93    PFOCFP = PFOCFP + 1



                S94         PFC = PFC + 1




                              DOES THIS
                                                      NO
                S95         DTIM INTERVAL
                             ONTAIN CFP9

                                          YES

                        CFP DTIM COUNTER =
                S96
                       CFP DTIM COUNTER + 1


                                      4


                         FRAME TO NORMAL
               S97
                             QUEUE




                        (     RETURN )


                                                            FIG. 9
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                                     (   START )




                     S101       DTIM AFTER CFP END



                           S102
                      < LAL                               > HAL
                              PFOCFP/(PFC/100)


                                            ELSE                         S107
      S10      FOCFP -          ELSE               ELSE          FOCFP -
        CFP DTIM COUNTER)/                                CFP DTIM COUNTER)/
              PFC/100                                           PFC/100
                   < LAL                                             > HAL
                 V
        CFP INTERVAL = (CFP                                CFP INTERVAL = (CFP
       INTERVAL x 2) OR (MAX.                             INTERVAL / 2) OR (MIN.
           CFP INTERVAL                                       CFP INTERVAL
      S104                                                                    S108


              CFP DTIM                                          CFP DTIM
           COUNTER/((PFC -           ELSE     ELSE           COUNTER/((PFC -
         (PFOCFP - CFP DTIM                                (PFOCFP - CFP DTIM
    S105     OUNTER))/10                                       OUNTER))/10
                                                                                S109
                    LAL                                                HAL

       CFP DURATION = (CFP                                 CFP DURATION = (CFP
      DURATION/2) OR MIN. CFP                             DURATION x 2) OR MAX.
            DURATION                                          CFP DURATION
      S106                                                                   S1010



                                       PFC =0
                                     PFOCFP = 0              S1011
                                CFP DTIM COUNTER = 0



                                 (       RETURN
                                                               FIG. 10
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                                Sli ART



                     IDENTIFY BIT PATTERN
             Sill    CONTAINING PRIORITY
                         INFORMATION


                     STORE IDENTIFIED BIT
             S112    PATTERN AS SEARCH
                          PATTERN



                     DETERMINE OFFSET OF
             S113
                     BIT PATTERN LOCATION



                     PRODUCE INFORMATION
                      ELEMENT CONTAINING
             S114
                      OFFSET AND SEARCH
                           PATTERN


                                   V
                      SEND INFORMATION
             S115
                        ELEMENT TO AP



                            (   RETURN
                                                      FIG. 11


                       CFP                                            CFP

      BEACONS
              DTIM
                       I        I I I  DTIM
                                                         I
                                                               DTIM
                                                                       1
                           CFP REPETITION INTERVAL
                4                                              !


                                                                   FIG. 12
Case 1:21-cv-01323-CFC Document 1-1 Filed 09/17/21 Page 125 of 440 PageID #: 174


                                                       US 7,027,465 B2
                                1                                                                     2
           METHOD FOR CONTENTION FREE                                 have to be known. Hence, the amount of information needed
               TRAFFIC DETECTION                                      for identifying the data is huge. This huge amount of
                                                                      information is typically too heavy to handle in quite small
              CROSS-REFERENCE TO RELATED                              and low price equipment like WLAN access points (AP).
                          APPLICATION                              5     In addition, it has to be considered that every time new
                                                                      protocols are introduced, the access point has to be updated,
     This application is a continuation of International Appli-       at least by software updates. This is also required in case
  cation PCT/EP99/10097 having an international filing date           protocols already used are changed.
  of Dec. 17, 1999 and from which priority is claimed under              Thus, conventionally such a transmission differentiation
  all applicable sections of Title 35 of the United States Code io based on priority was not conducted at all. That is, the
  including, but not limited to, Sections 120, 363 and 365(c).        existing systems according to the IEEE 802.11 standard do
                                                                      not separate traffic based on priority. In these conventional
                   FIELD OF THE INVENTION                             systems, the Content Free Period (CFP) is only used to
                                                                      deliver traffic from the Access Point (AP) to stations, treat-
     The present invention relates to a method and a device for 15 ing all frames equally.
  detecting priority of data frames in a network.
                                                                                   SUMMARY OF THE INVENTION
             BACKGROUND OF THE INVENTION
                                                                         Therefore, the object underlying the invention resides in
     This invention relates in general to the field of telecom- 20 removing the above drawbacks of the prior art and to
  munications, more precisely to Wireless Local Area Net-             provide a method by which priority traffic can easily be
  works (WLAN) and Electrical and Electronics Engineers               distinguished from normal traffic without the need of a
  (IEEE) 802.11 WLAN standard.                                        complex processing.
     The IEEE 802.11 Wireless Local Area Network specifi-                This object is solved by a method for detecting priority of
  cation specifies a so-called Contention Free Period (CFP), 25 data frames in a network comprising the steps of extracting
  which is a period of transmission time that is free from the        a bit pattern from a predetermined position in a frame,
  normal contention based airtime reservation. The length and         comparing the extracted bit pattern with a search pattern,
  duration of CFP are configurable parameters in Access Point         and identifying the received frame as a priority frame in case
  (AP), so that the start of CFP is repeated after one or more        the extracted bit pattern matches with the first search pattern.
  Delivery Traffic Indication Message (DTIM) intervals (see 30           Alternatively, the above object is solved by a device for
  IEEE 802.11 standard). The CFP and its relationship to the          detecting priority of data frames in a network comprising a
  so-called Content Period (CP) is schematically illustrated in       receiving means for receiving data frames, an extracting
  FIG. 12. As can be seen, a CFP repetition interval contains         means for extracting a bit pattern from a predetermined
  a Content Free Period (CFP) and a Content Period (CP).              position of a data frame, a comparing means for comparing
  Each CFP begins with a beacon frame that contains a DTIM 35 the extracted bit pattern with a predetermined search pattern,
  element.                                                            and an identifying means for identifying the received frame
     The purpose of this CFP is that it can be used for               as a priority frame in case the extracted bit pattern matches
  delivering high priority traffic, which has higher real time        with the first search pattern.
  requirements than normal traffic. The CFP is controlled by             Thus, a priority which is defined in a higher-level layer
  the so-called Point Coordination Function (PCF) in an 40 can easily be detected by comparing a corresponding bit
  Access Point (AP). The standard specifies the PCF operation         pattern with a search pattern without further processing of
  in basic level, but does not specify how the PCF should be          the received frame. By the method and the device according
  controlled or how some traffic should be identified as high         to the invention, simply a bit pattern is extracted at a position
  priority traffic. These things are considered to be out of the      in the frame, where the priority information is known to be
  scope of the standard.                                          4.s located. This bit pattern is compared with a search pattern
     Information within data frames is marked as having a high        which corresponds to that bit pattern, which would be
  priority by using certain fields in some protocol frames or         located at the above position in case that a priority is set for
  headers. However, the Access Point (AP) usually processes           the actual frame. Thus, it is not necessary to process and
  only frames on the Medium Access Control (MAC) layer                analyze the received frame, i.e., to process higher-level
  such that the AP can not easily access information regarding 50 layers in order to obtain priority information.
  the priority of certain data blocks within the frames, since           Hence, when adopting the IEEE 802.11 WLAN standard,
  this information is processed in higher layers.                     the priority can be detected in the Medium Access Control
     Thus, for getting priority information, conventionally the       (MAC) layer which is a low-level layer. That is, the method
  frames which are to be transmitted through an Access Point          can easily find higher priority traffic from the stream of
  (AP) had to be searched for these fields which indicate the 55 MAC layer frames. Therefore, the method does not need any
  priority state of the actual data frame. This means that in all     knowledge of the upper layer protocols.
  frames all fields had to be checked, all the headers had to be         Consequently, according to the method of the invention,
  analyzed, starting from the outer most headers, until the           certain traffic can be defined to have higher priority than
  right field in the header had been found.                           other traffic when it is handled in an IEEE 802.11 WLAN
     Since all frame headers are parsed when detecting prior- 60 Access Point (AP). The method is designed so that it is as
  ity, this measure has a high reliability.                           lightweight as possible to execute in a low cost and possibly
     However, this measure is very complex, takes a long time         low performance AP.
  and requires a large amount of processing. Furthermore, the            Furthermore, the method is protocol-independent and so
  traffic transferred in WLAN can be practically anything,            flexible that all the configuration may be done in external
  including complex tunneling protocols.                          65 configuration program and the Access Point does not need to
     Therefore, all the frame headers and protocols which can         know anything about the processed traffic.
  be included in the data frames transmitted via the network             Further advantageous developments are set out below.
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                                                       US 7,027,465 B2
                                3                                                                    4
     In particular, the predetermined position in the frame is         transmitting priority frames in case of a symmetrical high
  defined by the offset of the bit pattern in the frame. Thus, the     priority traffic between the Access Point and stations in the
  position of the bit pattern to be extracted and examined can         network.
  accurately be defined.                                                  Furthermore, the invention proposes a method for gener-
     Furthermore, the offset and the search pattern are included 5 ating priority detecting information necessary for the above
  in an information element. This information element can be           method and device. This method comprises the steps of
  produced by an external program such that the device                 analyzing a data frame, identifying a bit pattern indicating a
  according to the invention and the device performing the             priority state, defining the identified bit pattern as a search
  method according to the invention does not have to generate          pattern, and locating the bit pattern within the data frame. By
  the search pattern and the offset. Thus, the structure of the 10 this method, the necessary priority detection information can
  device does not have to be complex.                                  easily be provided. For example, this method can be
     In addition, in case new protocols or modified protocols          employed by a configuration program that is externally run,
  are introduced in the network, it is not necessary to recon-         for example, in one of the wireless stations which are
  figure the network element (i.e., the device) performing the         connected by air with the Access Point.
  method. It is only necessary to provide new information 15              The above method for generating priority detecting infor-
  elements including the new offset and the new search                 mation may further comprise the steps of determining the
  pattern, which can be effected by an external configuration          offset of the location, and producing an information element
  program. For this, it is not necessary to install new software       including the offset and the search pattern. Optionally, also
  in the network element or to install new hardware. It is not         the mask for masking the bit pattern mentioned above can be
  even necessary to shut down the network element for a new 20 determined and included in the information element.
  configuration. Hence, the method is very flexible.
     Moreover, the bit pattern can be masked by using a mask.                 BRIEF DESCRIPTION OF THE DRAWINGS
  Then, the masked bit pattern is compared with the search
  pattern instead of comparing the bit pattern with the search            The present invention will be more readily understood
  pattern. By this measure, single bits can easily be extracted 25 with reference to the accompanying drawings in which:
  from the bit pattern. This is advantageous in case the bit              FIG. 1 shows a main system overview;
  pattern is extracted in form of bytes. For example, a bit               FIG. 2 shows a process for checking priority of frames
  pattern can include two bytes, whereas for the priority              according to a first embodiment;
  detection only two bits of each byte are required. These two            FIG. 3 shows an example for a frame to be examined by
  bits can easily be extracted by using the mask.                   30 the process according to the first embodiment;
     The mask can also be included in the information element             FIG. 4 shows a frame priority detecting device according
  described above.                                                     to the first embodiment;
     If necessary, also a plurality of different bit patterns,            FIG. 5 shows an example of pattern matching with two
  search patterns, offsets and—optionally masks can be used            different information elements according to a second
  to detect priority of the frames. By this measure, priority 35 embodiment;
  information can be detected which is located at different               FIG. 6 illustrates a flow chart of a frame sending proce-
  positions within a data frame.                                       dure during Content Free Period (CFP) according to the
     Alternatively, a plurality of different priority levels can be    second embodiment;
  provided for the frames. For detecting different priority               FIG. 7 shows relevant parts of a Point Coordinator (PC)
                                                                    40
  levels, a plurality of different bit patterns, search patterns,      according to a third embodiment;
  offsets and—optionally masks can be used to detect the                  FIG. 8 illustrates a flow chart of a frame sending proce-
  plurality of different priority levels. By this measure, also        dure during Content Free Period (CFP) according to the
  different priority levels can easily be detected.                    third embodiment;
     Hence, a plurality of different information elements can 45          FIG. 9 illustrates a flow chart of a frame sending proce-
  be used. For example, one certain priority can require a             dure during contention period according to the third embodi-
  plurality of information elements, while another certain             ment; and
  priority can require only one particular information element.           FIG. 10 illustrates a flow chart of a procedure for CFP
     A received frame can be forwarded to a priority queue in          parameter tuning according to the third embodiment;
  case the frame is detected to be a priority frame during a 50           FIG. 11 shows a flow chart of a method for obtaining
  special period for sending priority traffic. The priority queue      priority detection information; and
  serves to transmit the data priority frames in the network              FIG. 12 illustrates the relationship between Content Free
  faster than normal frames. This measure is especially advan-         Periods (CFP) and Content Periods (CP) according to IEEE
  tageous in an IEEE 802.11 WLAN since in this standard, a             802.11.
  Contention Free Period is defined, as described above.            55
     In addition, the duration of the special period for sending              DETAILED DESCRIPTION OF PREFERRED
  priority traffic can be adjusted according statistical informa-                             EMBODIMENTS
  tion regarding the priority frames sent. Thus, the special
  period, i.e., the Contention Free Period, can be adjusted               In the following, preferred embodiments of the invention
  corresponding to the load of priority traffic on the network. 60 are described in more detail with reference to the accom-
     Furthermore, for obtaining the statistical information, the       panying drawings.
  total number of priority frames and the number of priority              FIG. 1 shows an overview of the main system used in the
  frames outside the special period can be counted. Then, it           embodiments. The system is a normal IEEE 802.11 Basic
  can be decided on the basis of the count values obtained             Service Set (BSS) containing one Access point (AP) 2 and
  whether the special period has to be increased or decreased. 65 one or more wireless stations (STA) 3 to 5. The AP may or
     In addition, in the IEEE 802.11, a data+CF-poll frame is          may not be connected to another wired or wireless network
  defined. Preferably, this data+CF-poll frame can be used for         1. The purpose of the AP 2 is to transmit the traffic between
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  the wireless stations or between wireless stations and the               comparator 24 which compares the extracted bit pattern BP
  network 1 which is connected to the AP 2.                                with the search pattern SP. The search pattern SP is stored in
      All the network components function according to the                 a search pattern memory 25 which is accessed by the
  IEEE 802.11 standard. This presented set-up is a typical                 comparator 24. The comparison result is supplied to a
  representation of the coverage area of one AP. The whole            5    priority identifying means 26 which identifies the actual
  wireless network usually consists of several of these kinds of           frame F as a priority frame in case the comparison results
  subsystems. An external configuration program may run in                 indicates that the bit pattern BP matches the search pattern
  one of the stations in the wireless network or it may reside             SP. Thus, the Access Point (AP) 2 can detect priority frames
  in some other host and be connected to AP with a wire. In                and can treat them correspondingly.
  this example, the configuration program is executed in the          10      As mentioned above, the external configuration program
  wireless station 3.                                                      provides information elements which each comprise an
      In the following, a first embodiment which shows the                 offset OS and a search pattern SP. These information ele-
  basic idea of the invention is described with respect to the             ments are received by an information element receiver 28.
  flow chart shown in FIG. 2 and an example for a Medium                   The receiver 28 analyzes the information element and sup-
  Access Control (MAC) layer frame shown in FIG. 3.                   15   plies the detected offset OS to the offset memory 27 and the
      The procedure shown in FIG. 2 is executed by the Access              detected search pattern SP to the search pattern memory 25.
  Point AP 2 every time a Medium Access Control (MAC)                         The first embodiment described above illustrates the basic
  layer frame has been received.                                           operation according to the invention. The second embodi-
      In step Sl, the AP 2 extracts a bit pattern from a given             ment described in the following describes a further, more
  position in the received frame. The bit pattern can be a            20   detailed example for the high priority traffic detection
  pattern of two bytes, for example. However, the length of the            method in which the Content Free Period (CFP) defined in
  bit pattern can be selected arbitrarily. The extracted bit               IEEE 802.11 standard is used for transmitting detected high
  pattern is indicated by BP in FIG. 2. In step S2, the extracted          priority frames.
  bit pattern BP is compared with a predetermined search                      According to IEEE 802.11, the Content Free Period (CFP)
  pattern SP. If in step S3 it is decided that both patterns match,   25   is a period which is reserved for transmitting high priority
  it is determined in step S4 that the actual frame is a priority          traffic, as described above in the introductory part with
  frame. On the other hand, if it is decided in step S3 that both          respect to FIG. 12. The CFP is controlled by a Point
  patterns do not match, it is determined in step S5 that the              Coordinator (PC) 21 which is arranged in the Access Point
  actual frame is not a priority frame. After identifying the              (AP) 2 shown in FIG. 1. If the high priority traffic is
  priority of the frame, the frame can be treated according to        30   transferred only from the AP 1 to the wireless stations (i.e.,
  the identified priority.                                                 in a typical client-server application case), the CFP may be
      Thus, the frame can easily be examined whether it is a               used only for delivering data from the AP to wireless
  priority frame or not without the need for analyzing the data            stations. But, if the nature of the high priority traffic is
  format in the MAC layer frame itself, i.e., without knowing              interactive (like a videoconference, for example), the PC 21
  protocols of the higher layers.                                     35   must also poll wireless stations to permit them to transmit
      The position of the bit pattern to be extracted is defined by        also during the CFP. See IEEE 802.11 standard for more
  the offset OS from the start of the MAC frame, as shown in               detailed description about this basic functionality of IEEE
  FIG. 3. Thus, the AP 2 requires only information regarding               802.11 standard.
  the offset OS and the search pattern SP for checking priority               The AP 2 receives MAC layer frames either from the
  of certain MAC frames.                                              40   wireless station or from the connected wired network. If the
      This information can be provided by an external configu-             destination of the frame is in the wireless network, the AP
  ration program. The configuration program can be executed                will check whether the frame is high or normal priority
  in one of the wireless stations, for example. Alternatively, it          traffic. The priority detection requires that the AP 2 is
  can be executed in any suitable network element, including               configured with the external configuration program to detect
  the Access Point itself. For this configuration program it is       45   the priority and the required configuration information ele-
  necessary that the bit positions of the priority information             ments are configured to the AP by the external configuration
  which are usually set in higher layers are known. Thus, by               program. The AP also needs to reformat the MAC level
  providing the AP with the offset, the AP does not have to                header of the frame or encapsulate the frame inside a
  process the frame in order to identify priority information. It          separate IEEE 802.11 MAC header which is defined in IEEE
  is only necessary to obtain the corresponding bit pattern.          50   802.11. The point when the priority detection check is
      In the first embodiment, the configuration program is                performed (before or after IEEE 802.11 MAC header for-
  executed in the wireless station STA 3. The configuration                matting) can be left implementation specific.
  program produces information elements which contain the                     If the BSS is in a so-called Contention Free (CF) state
  above-described information regarding the offset OS and the              (i.e., currently there is a Contention Free Period (CFP)) and
  search pattern SP necessary to identify the priority state of       55   the frame is a priority frame, the frame is put in a priority
  certain MAC frames. These information elements are trans-                transmit queue, otherwise the frame is treated like the
  mitted to the AP 2.                                                      normal traffic. During the CFP, all the frames in the priority
      FIG. 4 shows the relevant parts of the Access Point 2 in             queue are transmitted before any frames from the normal
  more detail. Reference numeral 22 denotes a frame receiver               queue. When the CFP ends, remaining frames in the priority
  by which frames are received from the wired or wireless             60   queue are moved to the normal queue and priority queue is
  network 1 and also from the wireless stations 2 to 5.                    flushed.
  Reference numeral 23 denotes a bit pattern extractor by                     According to this embodiment, the priority of a MAC
  which the bit pattern BP described above is extracted from               layer frame is detected by using one or more information
  a predetermined position. The position is defined by the                 elements which are transmitted to the Access Point (AP) 1.
  offset OS, as mentioned above, and the offset is stored in an       65   That is, one or more bit patterns with corresponding different
  offset memory 27 which is accessed by the bit pattern                    offsets are checked whether they match with one or more
  extractor 23. The extracted bit pattern BP is forwarded to a             different search patterns. Furthermore, the bit patterns
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  extracted from the MAC layer frame are also masked by               priorities (i.e. priority 1, priority 2 and priority 3) can be
  using a mask. The mask is also contained in an information          distinguished. It is noted that these three priorities can each
  element. Thus, the information element according to the             represent different priority levels (e.g., priority 1 represents
  second embodiment comprises the offset and the search               the highest priority while priority 3 has the lowest) or can
  pattern as according to the first embodiment, and in addition 5 represent equal priority levels.
  a mask. The mask serves to obtain only particular bits in the       Priority 1 Information:
  extracted bit pattern and is optional.                                 Information element 1: offset 1 and search pattern 1
     The operation according to the second embodiment is                 Information element 2: offset 2 and search pattern 2
  described by referring to FIGS. 5 and 6. It is noted that for          Information element 3: offset 3 and search pattern 3
  simplifying the illustration, the second embodiment is 10              . . .
  described with reference to the case that the priority is              Information element n: offset n and search pattern n
  detected by using two information elements.                         Priority 2 Information:
     In FIG. 5 it is shown that two bit patterns BP1 and BP2             Information element 1: offset 1 and search pattern 1
  are extracted from the MAC layer frame F. The first bit
                                                                      Priority 3 Information:
  pattern BP1 is extracted with an offset 0S1. As illustrated, 15
                                                                         Information element 1: offset 1 and search pattern 1
  the first bit pattern matches with the first search pattern SP1.
                                                                         Information element 2: offset 2 and search pattern 2
  For the first bit pattern BP1, no mask has been specified (i.e.,
  no masking is performed).                                              The AP then checks whether a received frame matches
     However, for the second bit pattern BP1 a mask M2 is             with all the information elements of the first group contain-
  specified. In this example, the mask is M2=00010000 such 20 ing the information elements for priority 1. That is, for each
  that only the fourth bit is passed through. The resultant bit       information element it is checked whether a bit pattern at the
  pattern BP2' is then compared with the second search pattern        offset   included in the information element matches with the
  SP2. Here, the second search pattern SP2 and the masked bit         search pattern included in the information element. If this is
  pattern BP2' match. Since also the first search pattern SP1         the case for all information elements, then the frame has the
  matches with the first bit pattern BP1, it is decided that the 25 priority 1.
  actual frame F is a high priority frame.                               If the frame does not match with all information elements
     According to the second embodiment, the frame F which            listed in the first group, then the AP tests the same frame with
  has been detected as a priority frame, is transmitted in the        all the information elements (one, in this example) of the
  Contention Free Period (CFP). That is, it is put on a high          second group containing the information elements for pri-
  priority queue. This process is described in the following by 30 ority 2. If the bit pattern extracted at the offset 3 in the frame
  referring to the flow chart shown in FIG. 6.                        matches with the search pattern 3 included in information
     The process shown in this flow chart is performed during         element 3, it is decided that the frame has the priority 2.
  the Content Free Period, i.e., in case the CFP is active. In           However, if the patterns do not match, then the AP checks
  step S61, the Access Point (AP) 2 waits for receiving a frame       the  priority 3 information. That is, the frame is checked
  which is to be transmitted further to the wireless stations 3 35 whether it matches with information elements 1 and 2. If this
  to 5 (FIG. 1). In step S62, the bit patterns BP1 and BP2 are        is the case, the frame has the priority 3. If the frame still does
  extracted from the frame F, as shown in FIG. 5. In step S63,        not match, it has no priority.
  the bit pattern BP2 is masked with the mask M2 to obtain a             Next, a third embodiment is described, according to
  bit pattern BP2', as described above. Since no mask has been        which the Point Coordinator (PC) 21 collects statistics about
  specified for the first bit pattern BP1, no corresponding step 40 the high priority traffic sent and adjusts the parameters for
  for the first bit pattern BP1 is performed.                         the CFP.
     Then, in step S64, it is checked whether both bit patterns          In detail, the PC 21 counts the high priority packets during
  BP1 and BP2' match with the search patterns SP1 and SP2,            the every so-called Delivery Traffic Indication Message
  respectively. If SP1 and BP1, and SP2 and BP2' respectively         (DTIM) interval (see IEEE 802.11 WLAN standard). Fur-
  match, it is decided that the received frame F is a high 45                       it also counts how much of those packets are
  priority frame, and the frame F is put in the priority queue        transmitted outside the CFP and how much during the DTIM
  (step S65). This is effected by the Point Coordinator (PC) 21       interval containing CFP but outside CFP. The PC saves
  arranged in the Access Point (AP) 2. If the patterns do not         statistics of the previous N DTIM intervals, where N is at
  match (NO in step S64), the received frame F is put in the          least the CFP repeating interval. The PC then checks the
  normal queue, as shown in step S66.                              50 statistics after every DTIM interval that contains CFP and
     As described above, the Point Coordinator (PC) 21 puts a         adjusts the CFP length and interval accordingly. The frame
  priority frame in the priority queue in case the Contention         handling and statistics collection during the CFP is presented
  Free Period (CFP) is active. However, in case the CFP is            in FIG. 8 and during the contention period in FIG. 9.
  inactive, the frame goes to the normal queue so that it does           The PC 21 according to the third embodiment is shown in
  not have to wait for the CFP to start. When the CFP starts, 55 FIG. 7 in greater detail. As derivable therefrom, the PC
  the PC flushes the normal queue and places the unsent high          comprises a plurality of counters which are used by a PC
  priority frames in the priority queue. Thus, when the Point         controller 211 to control the CPF. A priority frames counter
  Coordinator (PC) 21 notices that the frame which should be          (PFC) 212 serves to count all priority frames received. A
  sent is a high priority frame, it puts this frame in the normal     counter for priority frames outside CFP (PFOCFP) counter
  or high priority queue depending on the current state of the 60 213 serves to count all priority frames which are received
  network.                                                            during the content period, i.e., when CFP is inactive. A CFP
     As mentioned above, the use of two information elements          DTIM counter 214 serves to count all priority frames which
  is only an example. The number of information elements can          are received in an DTIM interval containing a Contention
  be more than two. By using a plurality of information               Free Period (CFP). As mentioned above, the PC 21 forwards
  elements, it is also possible to distinguish between different 65 the received priority frames either to the normal queue 215
  priority levels. For example, the configuration program can         or to the priority queue 216 depending on the current state
  give the following data to the Access Point by which three          of the network.
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     The flowchart shown in FIG. 8 is almost the same as in           possible) in step S1010. The alarm level used in the different
  FIG. 6. The steps S81 to S86 correspond to the steps S61 to         steps may be the same or different according to the wanted
  S66 of FIG. 5. Thus, an unnecessary repetition is omitted           system behavior.
  here. However, in addition to the flow chart shown in FIG.             If it is decided in step S102 that the percentage of high
  6, a new step S87 is performed in case patterns SP1 and BP1, 5 priority traffic sent outside the CFP drops below a low alarm
  and SP2 and BP2' match. In this step S8, the priority frame         level LAL, the PC 21 will start decreasing the CFP in order
  counter (PFC) 212 is incremented each time it is decided that       to give the normal traffic also a reasonable chance to be
  an actual frame is a high priority frame.                           delivered in time. The low alarm level LAL is the percentage
     FIG. 9 shows a flowchart representing a process per-             of the high priority traffic that can be send outside the CFP
  formed during the content period, i.e., when the CFP is 10 if needed. In order that the system can work smoothly, the
  inactive. Here, all received frames are put in the normal           low alarm level should be less than 100% high alarm level
  queue. In case of a high priority frame, several values are         HAL.
  counted by the counters of the Point Coordinator (PC) 21 for           When the alarm level LAL is reached, the PC 21 will next
  providing statistical information.                                  check what is the percentage of high priority traffic sent
     In detail, in step S91 it is waited for a frame, similar to 15 during the DTIM intervals not containing the CFP in step
  step S81 of FIG. 8. In step S92, the priority is detected in the    S103 which corresponds to step S107 described above. If it
  way as described in the first or second embodiment. If the          is less than alarm level, the PC will make the CFP interval
  actual frame is a normal frame with no priority, the flow           to be double of the original in step S104. Next, the PC 21
  advances to step S97 in which the frame is put to the normal        will check if the percentage of high priority traffic sent
  queue 215. If, however, the actual frame is a priority frame, 20 outside of the CFP during the DTIM containing CFP is also
  the flow advances to step S93 in which PFOCFP counter 213           lower than the alarm level LAL. This is effected in step S105
  is incremented. Furthermore, in step S94 also the priority          which corresponds to step S109 described above. If this
  frames counter 212 is incremented.                                  percentage is lower as the alarm level LAL, the PC 21
     In step S95 it is checked whether the actual DTIM interval       decreases the duration of the CFP with the amount of the
  contains a Content Free Period (CFP). If this DTIM interval 25 previous addition in step S106. The alarm level LAL used in
  contains a CFP, the CFP DTIM counter 214 is incremented             the different steps may be the same or different according to
  in step S96 before the flow advances to step S97. Otherwise,        the wanted system behavior.
  the flow advances directly to step S97. Thereafter, the                If it is decided in step S102 that the percentage of priority
  routine is ended.                                                   frames outside the Content Free Period (i.e., the count value
                                                                   30
     The statistical information regarding the priority frames        of the PFOCFP counter 213 with respect to the count value
  are used as described in the following with reference to FIG.       of the priority frame counter 212) is between the low alarm
  10.                                                                 level LAL and the high alarm level HAL, the flow advances
     As shown in FIG. 10, the procedure is started in an DTIM         directly to step S1011 in which all counters 212, 213 and 214
  interval after the end of the Content Free Period (step S101).      are reset. Then, the procedure is ended.
                                                                   35
  In step S102, the percentage of priority frames sent outside           Next, a fourth embodiment is described. The structure and
  of the CFP is checked. Depending on the result, different           procedures according to this embodiment is similar to the
  processes are executed, as described next.                          embodiments described above. However, in this embodi-
     If the percentage of high priority traffic sent outside of       ment the nature of the high priority traffic is checked. In
  CFP is higher than a certain high alarm level HAL, the PC 40 particular, it is considered whether the high priority traffic is
  21 will start corrective actions. These processes are illus-        symmetrical, i.e., whether the high priority traffic from a
  trated on the right side of the flow chart shown in FIG. 10.        wireless station to the Access Point (AP) 2 is the same or
     The alarm level is 100% percentage of the high priority          almost the same as the high priority traffic from the AP 2 to
  traffic that must be send inside the CFP in any case. For           the wireless station.
  example, if it is known that the traffic which requires an 45          During the Content Free Period (CFP) the wireless sta-
  almost real-time treatment requires a priority traffic of 30%,      tions (terminals) are not allowed to transmit unless the PC 21
  the alarm level is set to 70%. The alarm level can be fixed         polls them. Therefore, they will register themselves to PC to
  or it can be dynamically adjustable.                                be placed in a polling list. In order to get the best benefit
     When the alarm level HAL is reached, the PC will next            from this traffic control, wireless stations in the WLAN must
  check the percentage of high priority traffic sent during the 50 be able to identify the high priority traffic and send that
  DTIM intervals not containing the CFP. This is effected in          traffic during the CFP.
  step S107 in which the difference between the count values             In case of the symmetrical high priority traffic between the
  of the PFOCFP counter 213 and the CFP DTIM counter 214              AP 2 and the wireless stations, the configuration information
  is calculated, wherein the difference is brought in relation to     (from the external configuration program) contains a field
  the value of the priority frames counter (PFC) 212. If it is 55 telling that this is symmetrical high priority traffic. When the
  more than the alarm level HAL, the PC will make the CFP             Point Coordinator (PC) 21 in the AP 2 detects that the high
  interval to be half of the original (if it is not already one       priority traffic is symmetrical and the receiving station is
  DTIM interval), as described in step S108.                          pollable during the Content Free Period (i.e., is CF-pol-
     Next, in step S109, the PC 21 will check if the percentage       lable), it will send it to the terminal inside a so-called
  of high priority traffic sent outside of the CFP during the 60 data+CF-poll frame instead of normal data frame during the
  DTIM intervals containing CFP is also higher than the alarm         CFP. The data+CF-poll frame is a special data frame, defined
  level. This percentage P is calculated as follows:                  in the IEEE 802.11 standard, that allows the receiving
                                                                      station send one data frame during the CFP after receiving
         CFP DTIM counterl(PFC-(PFOCFP-CFP DTIM
                                                                      the data+CF-poll frame. During the contention period, the
              counter))/100)
                                                                   65 symmetrical traffic does not cause any special processes.
     If this percentage is higher than the alarm level, the PC 21     The use of data+CF-poll frame enables equal high priority
  will double the duration of the CFP (if not already maximum         data delivering performance to both directions.
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     The PC 21 must ensure that other wireless stations in the           The above description and accompanying drawings only
  polling list gets polled according to the standard even when        illustrate the present invention by way of example. Thus, the
  delivering symmetrical high priority traffic.                       embodiments of the invention may vary within the scope of
     In the following, the configuration program used for             the attached claims. For example, the embodiments can be
  generating priority detection information used in the above 5 arbitrarily combined.
  embodiments is described in more detail.                               In particular it has to be noted that the above description
     The method adopted in the configuration program is               of the embodiment has been made basically with respect to
  described by referring to the flowchart shown in FIG. 11.           the IEEE 802.11 WLAN standard. However, it has to be
     In step S111, a bit pattern (consisting, for example, of one     noted that this is only an example and that it is to be
  or two bytes) which indicates the priority information is 10 understood that the invention can also be applied to other
  identified in the data frame. The identified bit pattern is         suitable network situations.
  defined as the search pattern (SP) in step S112. In step S113,         Furthermore, in the above embodiments it was basically
  the location, that is, the offset of the identified bit pattern     distinguished between priority frames and normal frames,
  (i.e., the search pattern) inside the data frame is determined.     i.e., between frames with priority and frames without pri-
  Thereafter, an information element containing the deter- 15 ority. However, it is also possible to distinguish between a
  mined offset and the identified search pattern is produced in       plurality of different priority levels. For example, the second
  step S114. Finally, in step S115 the information element is         embodiment can be modified such that the two bit patterns
  sent to the Access Point and the routine ends.                      are used to distinguish between three different priority levels
     In a similar way, also the optional mask (as used in the         (no priority medium priority high priority). Also, differ-
  second embodiment) can be obtained. Therefore, an addi-          20 ent masks for one bit pattern can be used to distinguish
  tional step is required which is performed after the bit            between different priority levels.
  pattern identifying step S112 such that the mask is defined.           The invention claimed is:
  It is also possible to produce a plurality of information              1. A method for detecting priority of data frames in a
  elements, as used in the second and third embodiment, also          network comprising the steps of
  by taking into account a plurality of different priority levels. 25    extracting a bit pattern from a predetermined position in
     Next, an example is described in which frames (contain-                a frame,
  ing IP packets) to be sent to a particular IP-adress should            comparing said extracted bit pattern with a search pattern,
  have high priority. In this case, the identification of the               and
  search patterns and the location of the search patterns can be         identifying a received frame as a priority frame in case
                                                                   30
  performed as follows: The configuration program knows                     said extracted bit pattern matches with said search
  that the offset to the destination IP-address from the begin-             pattern, wherein said predetermined position in said
  ning of the IP packet (as an example for a data frame) is 32              frame is defined by the offset of said bit pattern in said
  bytes and the offset from the beginning of the ethernet                   frame.
  (version 2) frame to beginning of the IP packet is 14 bytes.           2. The method according to claim 1, wherein said offset
                                                                   35
  Thus, the actual offset of the IP-address is 46 bytes. The          and said search pattern are included in an information
  search pattern is the IP-address in question. Thus, the             element.
  necessary information for an information element can easily            3. The method according to claim 1, further comprising
  be extracted.                                                       the step of
     In other cases, it might be necessary that the configuration 40     masking said bit pattern by using a mask and comparing
  program analyzes frames in order to obtain the relevant                   the masked bit pattern with said search pattern instead
  information.                                                              of comparing said bit pattern with said search pattern.
     The location for performing the above method within the             4. The method according to claim 3, wherein said prede-
  network can be arbitrarily chosen. It may be located in some        termined position in said frame is defined by the offset of
  station in the wireless network, it may be centralized in a 45 said bit pattern in said frame, and said offset, said search
  place in the wired network, or it may be connected to the AP        pattern and said mask are included in an information ele-
  with a separate cable. In some cases, the configuration             ment.
  program may also be run in the AP, but in this way the                 5. The method according to claim 1, wherein a plurality
  benefit of the configuration program being external will be         of different priority levels are provided and a plurality of
  lost.                                                            50
                                                                      different bit patterns, search patterns and offsets are used to
     Preferably, the location where the above method, i.e., the       detect said plurality of different priority levels.
  external configuration program can be performed is in one of           6. A method for detecting priority of data frames in a
  the wireless stations 2 to 5. In this way, the program can also     network comprising the steps of
  "snoop" the traffic and check whether the traffic is correctly         extracting a bit pattern from a predetermined position in
  recognized by the AP, that is, whether the high priority traffic 55       a frame,
  is correctly treated. This is because in the wireless stations,        comparing said extracted bit pattern with a search pattern,
  the data sent with the frames are processed and, thus, it is              and
  clear whether a received frame is a priority frame or not.             identifying a received frame as a priority frame in case
     When placed in the WLAN, the configuration program                     said extracted bit pattern matches with said search
  can also make corrections to the AP configurations (i.e., the 60          pattern, wherein a plurality of different bit patterns,
  information elements sent to the AP) based on a traffic                   search patterns and offsets are used to detect priority of
  monitoring in the WLAN. The configuration program can be                  said frames.
  run in some notebook PC in WLAN, for example.                          7. A method for detecting priority of data frames in a
     In rather large networks, however, the best place for the        network comprising the steps of
  configuration program is in the wired network, where all the 65        extracting a bit pattern from a predetermined position in
  access points of the network can be controlled with a single              a frame,
  configuration program.                                                 comparing said extracted bit pattern with a search pattern,
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                                                        US 7,027,465 B2
                                13                                                                   14
     identifying a received frame as a priority frame in case            a receiving means for receiving data frames;
        said extracted bit pattern matches with said search              an extracting means for extracting a bit pattern from a
        pattern, and                                                        predetermined position of a data frame;
     forwarding said received frame to a high priority queue in          a comparing means for comparing said extracted bit
        case said frame is detected to be a high priority frame 5           pattern with a predetermined search pattern; and
        during a special period for sending priority traffic.            an identifying means for identifying said received frame
     8. The method according to claim 7, further comprising                 as a priority frame in case said extracted bit pattern
  the step of                                                               matches with said first search pattern, wherein a plu-
     adjusting the duration of the special period for sending               rality of different bit patterns, search patterns and
        priority traffic according statistic information regarding 10       offsets are used to detect priority of said frames.
        sent priority frames.                                            15. A device for detecting priority of data frames com-
     9. The method according to claim 8, further comprising           prising
  the steps of                                                           a receiving means for receiving data frames;
     counting the total number of priority frames;                       an extracting means for extracting a bit pattern from a
     counting the number of priority frames outside said 15                 predetermined position of a data frame;
        special period; and                                              a comparing means for comparing said extracted bit
     deciding whether said special period has to be increased               pattern with a predetermined search pattern; and
        or decreased on the basis of the count values obtained           an identifying means for identifying said received frame
        in said counting steps.                                             as a priority frame in case said extracted bit pattern
     10. A device for detecting priority of data frames com- 20             matches with said first search pattern, wherein a con-
  prising                                                                   trolling means forwards said received frame to a high
     a receiving means for receiving data frames;                           priority queue in case said frame is detected to be a high
     an extracting means for extracting a bit pattern from a                priority frame during a special period for sending
        predetermined position of a data frame;                             priority traffic.
     a comparing means for comparing said extracted bit 25               16. The device according to claim 15, wherein said
        pattern with a predetermined search pattern; and              controlling means adjusts the duration of the special period
     an identifying means for identifying said received frame         for sending priority traffic according statistic information
        as a priority frame in case said extracted bit pattern        regarding sent priority frames.
        matches with said first search pattern, wherein said             17. The device according to claim 16, wherein said
        predetermined position is defined by an offset, and 30 controlling means, in order to obtain said statistic informa-
        wherein said offset and said search pattern are included      tion, accesses to a priority frames counter for counting the
        in an information element.                                    total number of priority frames and a counter for counting
     11. The device according to claim 10, further comprising         priority frames outside said special period, said controlling
  a masking means for masking said bit pattern by using a             means deciding whether said special period has to be
  mask, wherein said comparing means compares the masked 35 increased or decreased on the basis of the count values
  bit pattern with said search pattern instead of comparing said      obtained in said counting steps.
  bit pattern with said search pattern.                                  18. Method for generating priority detecting information,
     12. The device according to claim 11, wherein said               comprising the steps of:
  predetermined position in said frame is defined by the offset          identifying a bit pattern indicating a priority state in a data
  of said bit pattern in said frame, and said offset, said search 40        frame,
  pattern and said mask are included in an information ele-              defining said identified bit pattern as a search pattern,
  ment.                                                                  locating said bit pattern within said data frame,
     13. The device according to claim 10, wherein a plurality           determining the offset of the location of said bit pattern,
  of different priority levels are provided and a plurality of              and
  different bit patterns, search patterns and offsets are used to 45     producing an information element including said offset
  detect said plurality of different priority levels.                       and said search pattern.
     14. A device for detecting priority of data frames com-
  prising                                                                                     * * * * *
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                        Exhibit K
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                                                                       I11111
                                                                          11111111
                                                                             III
                                                                              11111
                                                                                1111111)11M1
                                                                                      4!Ilf111111111111111111
  (19) United States
  (12) Reissued Patent                                             (10) Patent Number:           US RE44,904 E
         Karhula                                                   (45) Date of Reissued Patent:    May 20, 2014

  (54)    METHOD FOR CONTENTION FREE                                           5,675,617   A      10/1997   Quirk et al.
          TRAFFIC DETECTION                                                    5,678,188   A      10/1997   Hisamura
                                                                               5,682,386   A *    10/1997   Arimilli et al.     370/468
                                                                               5,822,361   A      10/1998   Nakamura et al.
  (75)    Inventor:    Petri Karhula, Tampere (FI)                             5,857,092   A       1/1999   Nakamura et al.
                                                                               5,881,242   A       3/1999   Ku et al.
  (73)    Assignee: Calton Research L.L.C., Wilmington,                        6,347,087   B1 *    2/2002   Ganesh et al.       370/392
                    DE (US)                                                    6,633,564   B1 *   10/2003   Steer et al.        370/389
                                                                               6,658,363   B2     12/2003   Mejia et al.
  (21)    Appl. No.: 13/171,882                                                7,027,465   B2      4/2006   Hautala

  (22)    Filed:       Jun. 29, 2011                                                 FOREIGN PATENT DOCUMENTS

               Related U.S. Patent Documents                            EP                  0491494           6/1992
                                                                        EP                  0584667           3/1994
  Reissue of:                                                           EP                  0749254          12/1996
  (64) Patent No.:       7,555,014
        Issued:          Jun. 30, 2009                                                              (Continued)
        Appl. No.:       11/402,621                                                         OTHER PUBLICATIONS
        Filed:           Apr. 11, 2006
  U.S. Applications:                                                    R.O. Lamaire et al.; "Wireless LANs and Mobile Networking: Stan-
  (63) Continuation of application No. 10/167,986, filed on             dards and Future Directions"; IEEE communications Magazine
        Jun. 11, 2002, now Pat. No. 7,027,465, which is a               `Online!'; Aug. 1996; p. 1-15.
        continuation of application No. PCT/EP99/10097,
                                                                                                    (Continued)
        filed on Dec. 17, 1999.
                                                                        Primary Examiner — Phuc Tran
  (51)    Int. Cl.
          HO4J 3/07                (2006.01)                            (74) Attorney, Agent, or Firm — Stolowitz Ford Cowger
                                                                        LLP
  (52)    U.S. Cl.
          USPC                                370/506; 370/350
                                                                        (57)                        ABSTRACT
  (58)    Field of Classification Search
          USPC                                370/350, 503-506          The invention discloses a method for detecting priority of
          See application file for complete search history.             data frames comprising the steps of extracting (S1) a bit
                                                                        pattern from a predetermined position in a frame, comparing
  (56)                    References Cited                              (S2, S3) said extracted bit pattern with a search pattern, and
                                                                        identifying (S4) said received frame as a priority frame in case
                     U.S. PATENT DOCUMENTS                              said extracted bit pattern (BP) matches with said first search
                                                                        pattern (SP). By this method, the priority of a data frame can
         4,627,051   A   12/1986 Shimizu                                easily be detected. The invention also proposes a correspond-
         4,716,407   A   12/1987 Borras et al.
         4,930,124   A    5/1990 de Boisseron et al.                    ing device for detecting priority of data frames.
         5,541,919   A * 7/1996 Yong et al.                  370/416
         5,594,738   A    1/1997 Crisler et al.                                        18 Claims, 10 Drawing Sheets



                                                  (    START



                                              EXTRACT BIT PATTERN BP
                                                   FROM FRAME



                                               COMPARE BIT PATTERN
                                         S2      BP WITH SEARCH
                                                   PATTERN SP

                                                         I             NO
                                         S3            MATCH?

                                                             YES


                                         54      PRIORITY FRAME              NO PRIORITY FRAME        S5




                                                  (    RETURN
Case 1:21-cv-01323-CFC Document 1-1 Filed 09/17/21 Page 134 of 440 PageID #: 183


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                                        Page 2


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  EP        0804006     10/1997
                                             Page.
  EP        0917317      5/1999
  EP        0959398     11/1999
  WO       01045328      6/2001              * cited by examiner
                               //1
                                                     wawa °Sil




                     //               STA

                   1 \\,               4
                   AP
WIRED OR WIRLESS
    NETWORK        PC
                    21
                   2     NN,                 i
                                            STA

                                             5
                                 i
                                                     OT Jo 1 WIN




                                STA

                                 3


                         STA RUNNING THE
                          CONFIGURATION     FIG. 1
                            PROGRAM
                                                     H 17061717M' Sf1
                                                                        Case 1:21-cv-01323-CFC Document 1-1 Filed 09/17/21 Page 135 of 440 PageID #: 184
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                               START



                      EXTRACT BIT PATTERN BP
                           FROM FRAME


                                  •
                       COMPARE BIT PATTERN
                S2       BP WITH SEARCH
                           PATTERN SP



                                               NO
                S3             MATCH?

                                      YES


                S4        PRIORITY FRAME               NO PRIORITY FRAME   S5




                           (   RETURN )
                                                            FIG. 2


                                                    COMPARE


                                             BP               SP



          MAC FRAME


                     OS
                                                            FIG. 3
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                            TO/FROM NETWORK




            22
                    FRAME
                   RECEIVER
                              I I            INFORMATION
                                               ELEMENT
                                               RECEIVER
                                                            28




                  BIT PATTERN         OFFSET
            23                                        27
                  EXTRACTOR           MEMORY




                                      SEARCH
            24   COMPARATOR           PATTERN         25
                                      MEMORY



                    PRIORITY
            26    IDENTIFYING
                     MEANS




                                FIG. 4
    SP1
                                                                     wawa °Sil




            1010101010011101    00010000   SP2




    BP1      1010101010011101
                                                 BP2'
                                00010000
                                                 MASKING WITH MASK
                                                 M2 = 00010000

                                10111011         BP2


    0S1 = 125 BYTES
                                                                         in JO 17 PM'S




F


              0S2 = 140 BYTES



                                  FIG. 5
                                                                     H 17061717M' Sfl
                                                                                         Case 1:21-cv-01323-CFC Document 1-1 Filed 09/17/21 Page 138 of 440 PageID #: 187
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                       CFP ACTIVE




         S61      FRAME RECEIVED?
                                           NO


                                YES

               EXTRACT BIT PATTERNS
         S62     BP1 AND BP2 FROM
                      FRAME F



               MASK BP2 WITH MASK M2
         S63
                  TO OBTAIN BP2'




                        MATCH OF
         S64         SP1 WITH BP1 AND
                      SP2 WITH BP2'?       NO


                                YES
                            V
                 FRAME TO PRIORITY                 FRAME TO NORMAL
         S65                                                          S66
                      QUEUE                            QUEUE




                 (      RETURN        )




                                  FIG. 6
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                                PRIORITY FRAMES




               PRIORITY
       212     FRAMES
             COUNTER (PFC)                              NORMAL
                                                                  215
                                                         QUEUE



                PFOCFP                   PC
       213
               COUNTER               CONTROLLER



                                                       PRIORITY
                                                                216
                                                        QUEUE
               CFP DTIM
       214
               COUNTER


                                        211




                             FIG. 7
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                     CFP ACTIVE




          S81     FRAME RECEIVED?
                                         NO


                          1 YES

                EXTRACT BIT PATTERNS
          S82     BP1 AND BP2 FROM
                       FRAME F



                MASK BP2 W TH MASK M2
          S83
                   TO OBTAIN BP2'




                      MATCH OF
          S84      SP1 WITH BP1 AND
                    SP2 WITH BP2'?       NO


                            YES

                FRAME TO HIGH PRIORITY          FRAME TO NORMAL
          S85                                                     S86
                       QUEUE                        QUEUE




          S87        PFC = PFC + 1




                       RETURN


                                                   FIG. 8
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                               CFP INACTIVE




                 S91       FRAME RECEIVED?
                                                       NO

                                          YES

                                  S FRAM
                 S92           HIGH PRIORITY
                                  FRAME?               NO

                                          YES

                 S93     PFOCFP = PFOCFP + 1



                 S94           PFC = PFC + 1




                                 DOES THIS
                                                       NO
                 S95           DTIM INTERVAL
                                ONTAIN CFP9

                                          YES

                          CFP DTIM COUNTER =
                 S96
                         CFP DTIM COUNTER + 1



                                      T
                          FRAME TO NORMAL
                 S97
                              QUEUE




                           (     RETURN         )


                                                            FIG. 9
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                                          START




                        S101       DTIM AFTER CFP END



                               S102
                          < LAL                           > HAL
                                  PFOCFP/(PFC/100)


                                             ELSE
                                                                          S107
         S10     FOCFP -           ELSE            ELSE           FOCFP -
           CFP DTIM COUNTER)/                              CFP DTIM COUNTER)/
                PFC/100                                         PFC/100
                     < LAL                                            > HAL

           CFP INTERVAL = (CFP                             CFP INTERVAL = (CFP
          INTERVAL x 2) OR (MAX_                          INTERVAL 2) OR (MIN.
              CFP INTERVAL                                    CFP INTERVAL
         S104                                                                  5108

                 CFP DTIM                                        CFP DTIM
              COUNTER/((PFC -       ELSE          ELSE        COUNTER/((PFC -
            (PFOCFP - CFP DTIM                              (PFOCFP - CFP DTIM
       S105     OUNTER))/10                                     OUNTER))/10
                                                                                 S109
                     < LAL                                            > HAL

          CFP DURATION = (CFP                              CFP DURATION = (CFP
         DURATION/2) OR MIN. CFP                          DURATION x 2) OR MAX_
               DURATION                                       CFP DURATION
         S106                                                                 S1010



                                        PFC = 0
                                      PFOCFP = 0              S1011
                                 CFP DTIM COUNTER = 0



                                          RETURN    )
                                                               FIG. 10
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                            (    START



                        IDENTIFY B T PATTERN
               Sill     CONTAINING PRIORITY
                            INFORMATION

                                  Y
                         STORE IDENTIFIED BIT
                S112     PATTERN AS SEARCH
                              PATTERN



                        DETERMINE OFFSET OF
                S113
                        BIT PATTERN LOCATION



                        PRODUCE INFORMATION
                         ELEMENT CONTAINING
                S114
                         OFFSET AND SEARCH
                              PATTERN



                          SEND INFORMATION
                S115
                            ELEMENT TO AP



                             (   RETURN
                                                     FIG. 11



                          CFP                                     CFP

         BEACONS
                 DTIM                  DTIM                DTIM


                           CFP REPETITION INTERVAL


                                                             FIG. 12
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                                                         US RE44,904 E
                                1                                                                      2
           METHOD FOR CONTENTION FREE                                   analyzed, starting from the outer most headers, until the right
               TRAFFIC DETECTION                                        field in the header had been found.
                                                                           Since all frame headers are parsed when detecting priority,
                                                                        this measure has a high reliability.
  Matter enclosed in heavy brackets [ ] appears in the                5    However, this measure is very complex, takes a long time
  original patent but forms no part of this reissue specifica-          and requires a large amount of processing. Furthermore, the
  tion; matter printed in italics indicates the additions               traffic transferred in WLAN can be practically anything,
  made by reissue.                                                      including complex tunneling protocols. Therefore, all the
                                                                        frame headers and protocols which can be included in the data
             CROSS-REFERENCE TO RELATED                              10 frames transmitted via the network have to be known. Hence,
                    APPLICATIONS                                        the amount of information needed for identifying the data is
                                                                        huge. This huge amount of information is typically too heavy
     This application is a reissue of U.S. patent application Ser.      to handle in quite small and low price equipment like WLAN
  No. 11/402,621, filed on Apr. 11, 2006, issued as U.S. Pat. No.       access points (AP).
  7,555,014, which is a continuation of U.S. patent application      15    In addition, it has to be considered that every time new
  Ser. No. 10/167,986, filed Jun. 11, 2002, now U.S. Pat. No.           protocols are introduced, the access point has to be updated,
  7,027,465, which is a continuation of International Applica-          at least by software updates. This is also required in case
  tion PCT/EP99/10097 having an international filing date of            protocols already used are changed.
  Dec. 17, 1999 and from which priority is claimed under all               Thus, conventionally such a transmission differentiation
                                                                     20 based on priority was not conducted at all. That is, the existing
  applicable sections of Title 35 of the United States Code
                                                                        systems according to the IEEE 802.11 standard do not sepa-
  including, but not limited to, Sections 120, 363 and 365(c).
                                                                        rate traffic based on priority. In these conventional systems,
                 FIELD OF THE INVENTION                                 the Content Free Period (CFP) is only used to deliver traffic
                                                                        frommthe Access Point (AP) to stations, treating all frames
                                                                        f
                                                                     25equally.
    The present invention relates to a method and a device for
  detecting priority of data frames in a network.                                    SUMMARY OF THE INVENTION
            BACKGROUND OF THE INVENTION                                Therefore, the object underlying the invention resides in
                                                                    removing the above drawbacks of the prior art and to provide
                                                                     30
     This invention relates in general to the field of telecommu-   a method by which priority traffic can easily be distinguished
  nications, more precisely to Wireless Local Area Networks         from normal traffic without the need of a complex processing.
  (WLAN) and Electrical and Electronics Engineers (IEEE)               This object is solved by a method for detecting priority of
  802.11 WLAN standard.                                             data frames in a network comprising the steps of extracting a
     The IEEE 802.11 Wireless Local Area Network specifica- 35 bit pattern from a predetermined position in a frame, compar-
  tion specifies a so-called Contention Free Period (CFP),          ing the extracted bit pattern with a search pattern, and iden-
  which is a period of transmission time that is free from the      tifying the received frame as a priority frame in case the
  normal contention based airtime reservation. The length and       extracted bit pattern matches with the first search pattern.
  duration of CFP are configurable parameters in Access Point          Alternatively, the above object is solved by a device for
  (AP), so that the start of CFP is repeated after one or more 40 detecting priority of data frames in a network comprising a
  Delivery Traffic Indication Message (DTIM) intervals (see         receiving means for receiving data frames, an extracting
  IEEE 802.11 standard). The CFP and its relationship to the        means for extracting a bit pattern from a predetermined posi-
  so-called Content Period (CP) is schematically illustrated in     tion of a data frame, a comparing means for comparing the
  FIG. 12. As can be seen, a CFP repetition interval contains a     extracted bit pattern with a predetermined search pattern, and
  Content Free Period (CFP) and a Content Period (CP). Each 45 an identifying means for identifying the received frame as a
  CFP begins with a beacon frame that contains a DTIM ele-          priority frame in case the extracted bit pattern matches with
  ment.                                                             the first search pattern.
     The purpose of this CFP is that it can be used for delivering     Thus, a priority which is defined in a higher-level layer can
  high priority traffic, which has higher real time requirements    easily be detected by comparing a corresponding bit pattern
  than normal traffic. The CFP is controlled by the so-called so with a search pattern without further processing of the
  Point Coordination Function (PCF) in an Access Point (AP).        received frame. By the method and the device according to
  The standard specifies the PCF operation in basic level, but      the invention, simply a bit pattern is extracted at a position in
  does not specify how the PCF should be controlled or how          the frame, where the priority information is known to be
  some traffic should be identified as high priority traffic. These located. This bit pattern is compared with a search pattern
  things are considered to be out of the scope of the standard. 55 which corresponds to that bit pattern, which would be located
     Information within data frames is marked as having a high      at the above position in case that a priority is set for the actual
  priority by using certain fields in some protocol frames or       frame. Thus, it is not necessary to process and analyze the
  headers. However, the Access Point (AP) usually processes         received frame, i.e., to process higher-level layers in order to
  only frames on the Medium Access Control (MAC) layer              obtain priority information.
  such that the AP can not easily access information regarding 60      Hence, when adopting the IEEE 802.11 WLAN standard,
  the priority of certain data blocks within the frames, since this the priority can be detected in the Medium Access Control
  information is processed in higher layers.                        (MAC) layer which is a low-level layer. That is, the method
     Thus, for getting priority information, conventionally the     can easily find higher priority traffic from the stream of MAC
  frames which are to be transmitted through an Access Point        layer frames. Therefore, the method does not need any knowl-
  (AP) had to be searched for these fields which indicate the 65 edge of the upper layer protocols.
  priority state of the actual data frame. This means that in all      Consequently, according to the method of the invention,
  frames all fields had to be checked, all the headers had to be    certain traffic can be defined to have higher priority than other
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                                                         US RE44,904 E
                                 3                                                                     4
  traffic when it is handled in an IEEE 802.11 WLAN Access                period, i.e., the Contention Free Period, can be adjusted cor-
  Point (AP). The method is designed so that it is as lightweight         responding to the load of priority traffic on the network.
  as possible to execute in a low cost and possibly low perfor-              Furthermore, for obtaining the statistical information, the
  mance AP.                                                               total number of priority frames and the number of priority
     Furthermore, the method is protocol-independent and so 5 frames outside the special period can be counted. Then, it can
                                                                          be decided on the basis of the count values obtained whether
  flexible that all the configuration may be done in external
                                                                          the special period has to be increased or decreased.
  configuration program and the Access Point does not need to                In addition, in the IEEE 802.11, a data+CF-poll frame is
  know anything about the processed traffic.                              defined. Preferably, this data+CF-poll frame can be used for
     Further advantageous developments are set out below.                 transmitting priority frames in case of a symmetrical high
                                                                       10
     In particular, the predetermined position in the frame is            priority traffic between the Access Point and stations in the
  defined by the offset of the bit pattern in the frame. Thus, the        network.
  position of the bit pattern to be extracted and examined can               Furthermore, the invention proposes a method for gener-
  accurately be defined.                                                  ating priority detecting information necessary for the above
     Furthermore, the offset and the search pattern are included          method and device. This method comprises the steps of ana-
                                                                       15 lyzing a data frame, identifying a bit pattern indicating a
  in an information element. This information element can be
                                                                          priority state, defining the identified bit pattern as a search
  produced by an external program such that the device accord-            pattern, and locating the bit pattern within the data frame. By
  ing to the invention and the device performing the method               this method, the necessary priority detection information can
  according to the invention does not have to generate the                easily be provided. For example, this method can be
  search pattern and the offset. Thus, the structure of the device 20 employed by a configuration program that is externally run,
  does not have to be complex.                                            for example, in one of the wireless stations which are con-
     In addition, in case new protocols or modified protocols are         nected by air with the Access Point.
  introduced in the network, it is not necessary to reconfigure              The above method for generating priority detecting infor-
  the network element (i.e., the device) performing the method.           mation may further comprise the steps of determining the
  It is only necessary to provide new information elements 25 offset of the location, and producing an information element
  including the new offset and the new search pattern, which              including the offset and the search pattern. Optionally, also
  can be effected by an external configuration program. For               the mask for masking the bit pattern mentioned above can be
  this, it is not necessary to install new software in the network        determined and included in the information element.
  element or to install new hardware. It is not even necessary to
                                                                                  BRIEF DESCRIPTION OF THE DRAWINGS
  shut down the network element for a new configuration. 30
  Hence, the method is very flexible.                                        The present invention will be more readily understood with
     Moreover, the bit pattern can be masked by using a mask.             reference to the accompanying drawings in which:
  Then, the masked bit pattern is compared with the search                   FIG. 1 shows a main system overview;
  pattern instead of comparing the bit pattern with the search               FIG. 2 shows a process for checking priority of frames
  pattern. By this measure, single bits can easily be extracted 35 according to a first embodiment;
  from the bit pattern. This is advantageous in case the bit                 FIG. 3 shows an example for a frame to be examined by the
  pattern is extracted in form of bytes. For example, a bit pattern       process according to the first embodiment;
  can include two bytes, whereas for the priority detection only             FIG. 4 shows a frame priority detecting device according to
  two bits of each byte are required. These two bits can easily be        the first embodiment;
  extracted by using the mask.                                         40    FIG. 5 shows an example of pattern matching with two
     The mask can also be included in the information element             different information elements according to a second
  described above.                                                        embodiment;
     If necessary, also a plurality of different bit patterns, search        FIG. 6 illustrates a flow chart of a frame sending procedure
  patterns, offsets and optionally masks can be used to                   during Content Free Period (CFP) according to the second
  detect priority of the frames. By this measure, priority infor- 45 embodiment;
  mation can be detected which is located at different positions             FIG. 7 shows relevant parts of a Point Coordinator (PC)
  within a data frame.                                                    according to a third embodiment;
     Alternatively, a plurality of different priority levels can be          FIG. 8 illustrates a flow chart of a frame sending procedure
  provided for the frames. For detecting different priority lev-          during Content Free Period (CFP) according to the third
  els, a plurality of different bit patterns, search patterns, offsets so embodiment;
  and optionally masks can be used to detect the plurality of                FIG. 9 illustrates a flow chart of a frame sending procedure
  different priority levels. By this measure, also different pri-         during contention period according to the third embodiment;
  ority levels can easily be detected.                                    and
     Hence, a plurality of different information elements can be             FIG. 10 illustrates a flow chart of a procedure for CFP
  used. For example, one certain priority can require a plurality 55 parameter tuning according to the third embodiment;
  of information elements, while another certain priority can                FIG. 11 shows a flow chart of a method for obtaining
  require only one particular information element.                        priority detection information; and
     A received frame can be forwarded to a priority queue in                FIG. 12 illustrates the relationship between Content Free
  case the frame is detected to be a priority frame during a              Perods
                                                                              i     (CFP) and Content Periods (CP) according to IEEE
  special period for sending priority traffic. The priority queue 60 802.11.
  serves to transmit the data priority frames in the network
  faster than normal frames. This measure is especially advan-                   DETAILED DESCRIPTION OF PREFERRED
  tageous in an IEEE 802.11 WLAN since in this standard, a                                        EMBODIMENTS
  Contention Free Period is defined, as described above.
     In addition, the duration of the special period for sending 65          In the following, preferred embodiments of the invention
  priority traffic can be adjusted according statistical informa-         are described in more detail with reference to the accompa-
  tion regarding the priority frames sent. Thus, the special              nying drawings.
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                                                         US RE44,904 E
                                 5                                                                         6
     FIG. 1 shows an overview of the main system used in the               bit pattern BP described above is extracted from a predeter-
  embodiments. The system is a normal IEEE 802.11 Basic                    mined position. The position is defined by the offset OS, as
  Service Set (BSS) containing one Access point (AP) 2 and                 mentioned above, and the offset is stored in an offset memory
  one or more wireless stations (STA) 3 to 5. The AP may or                27 which is accessed by the bit pattern extractor 23. The
  may not be connected to another wired or wireless network 1.        5    extracted bit pattern BP is forwarded to a comparator 24
  The purpose of the AP 2 is to transmit the traffic between the           which compares the extracted bit pattern BP with the search
  wireless stations or between wireless stations and the network           pattern SP. The search pattern SP is stored in a search pattern
  1 which is connected to the AP 2.                                        memory 25 which is accessed by the comparator 24. The
     All the network components function according to the                  comparison result is supplied to a priority identifying means
  IEEE 802.11 standard. This presented set-up is a typical            10   26 which identifies the actual frame F as a priority frame in
  representation of the coverage area of one AP. The whole                 case the comparison results indicates that the bit pattern BP
  wireless network usually consists of several of these kinds of           matches the search pattern SP. Thus, the Access Point (AP) 2
  subsystems. An external configuration program may run in                 can detect priority frames and can treat them correspondingly.
  one of the stations in the wireless network or it may reside in             As mentioned above, the external configuration program
  some other host and be connected to AP with a wire. In this         15   provides information elements which each comprise an offset
  example, the configuration program is executed in the wire-              OS and a search pattern SP. These information elements are
  less station 3.                                                          received by an information element receiver 28. The receiver
     In the following, a first embodiment which shows the basic            28 analyzes the information element and supplies the
  idea of the invention is described with respect to the flow chart        detected offset OS to the offset memory 27 and the detected
  shown in FIG. 2 and an example for a Medium Access Control          20   search pattern SP to the search pattern memory 25.
  (MAC) layer frame shown in FIG. 3.                                          The first embodiment described above illustrates the basic
     The procedure shown in FIG. 2 is executed by the Access               operation according to the invention. The second embodi-
  Point AP 2 every time a Medium Access Control (MAC) layer                ment described in the following describes a further, more
  frame has been received.                                                 detailed example for the high priority traffic detection method
     In step Sl, the AP 2 extracts a bit pattern from a given         25   in which the Content Free Period (CFP) defined in IEEE
  position in the received frame. The bit pattern can be a pattern         802.11 standard is used for transmitting detected high priority
  of two bytes, for example. However, the length of the bit                frames.
  pattern can be selected arbitrarily. The extracted bit pattern is           According to IEEE 802.11, the Content Free Period (CFP)
  indicated by BP in FIG. 2. In step S2, the extracted bit pattern         is a period which is reserved for transmitting high priority
  BP is compared with a predetermined search pattern SP. If in        30   traffic, as described above in the introductory part with
  step S3 it is decided that both patterns match, it is determined         respect to FIG. 12. The CFP is controlled by a Point Coordi-
  in step S4 that the actual frame is a priority frame. On the             nator (PC) 21 which is arranged in the Access Point (AP) 2
  other hand, if it is decided in step S3 that both patterns do not        shown in FIG. 1. If the high priority traffic is transferred only
  match, it is determined in step S5 that the actual frame is not          from the AP 1 to the wireless stations (i.e., in a typical client-
  a priority frame. After identifying the priority of the frame,      35   server application case), the CFP may be used only for deliv-
  the frame can be treated according to the identified priority.           ering data from the AP to wireless stations. But, if the nature
     Thus, the frame can easily be examined whether it is a                of the high priority traffic is interactive (like a videoconfer-
  priority frame or not without the need for analyzing the data            ence, for example), the PC 21 must also poll wireless stations
  format in the MAC layer frame itself, i.e., without knowing              to permit them to transmit also during the CFP. See IEEE
  protocols of the higher layers.                                     40   802.11 standard for more detailed description about this basic
     The position of the bit pattern to be extracted is defined by         functionality of IEEE 802.11 standard.
  the offset OS from the start of the MAC frame, as shown in                  The AP 2 receives MAC layer frames either from the wire-
  FIG. 3. Thus, the AP 2 requires only information regarding               less station or from the connected wired network. If the des-
  the offset OS and the search pattern SP for checking priority            tination of the frame is in the wireless network, the AP will
  of certain MAC frames.                                              45   check whether the frame is high or normal priority traffic. The
     This information can be provided by an external configu-              priority detection requires that the AP 2 is configured with the
  ration program. The configuration program can be executed                external configuration program to detect the priority and the
  in one of the wireless stations, for example. Alternatively, it          required configuration information elements are configured
  can be executed in any suitable network element, including               to the AP by the external configuration program. The AP also
  the Access Point itself. For this configuration program it is       so   needs to reformat the MAC level header of the frame or
  necessary that the bit positions of the priority information             encapsulate the frame inside a separate IEEE 802.11 MAC
  which are usually set in higher layers are known. Thus, by               header which is defined in IEEE 802.11. The point when the
  providing the AP with the offset, the AP does not have to                priority detection check is performed (before or after IEEE
  process the frame in order to identify priority information. It          802.11 MAC header formatting) can be left implementation
  is only necessary to obtain the corresponding bit pattern.          55   specific.
     In the first embodiment, the configuration program is                    If the BSS is in a so-called Contention Free (CF) state (i.e.,
  executed in the wireless station STA 3. The configuration                currently there is a Contention Free Period (CFP)) and the
  program produces information elements which contain the                  frame is a priority frame, the frame is put in a priority transmit
  above-described information regarding the offset OS and the              queue, otherwise the frame is treated like the normal traffic.
  search pattern SP necessary to identify the priority state of       60   During the CFP, all the frames in the priority queue are
  certain MAC frames. These information elements are trans-                transmitted before any frames from the normal queue. When
  mitted to the AP 2.                                                      the CFP ends, remaining frames in the priority queue are
     FIG. 4 shows the relevant parts of the Access Point 2 in              moved to the normal queue and priority queue is flushed.
  more detail. Reference numeral 22 denotes a frame receiver                  According to this embodiment, the priority of a MAC layer
  by which frames are received from the wired or wireless             65   frame is detected by using one or more information elements
  network 1 and also from the wireless stations 2 to 5. Refer-             which are transmitted to the Access Point (AP) 1. That is, one
  ence numeral 23 denotes a bit pattern extractor by which the             or more bit patterns with corresponding different offsets are
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                                                          US RE44,904 E
                                  7                                                                        8
  checked whether they match with one or more different                     give the following data to the Access Point by which three
  search patterns. Furthermore, the bit patterns extracted from             priorities (i.e. priority 1, priority 2 and priority 3) can be
  the MAC layer frame are also masked by using a mask. The                  distinguished. It is noted that these three priorities can each
  mask is also contained in an information element. Thus, the               represent different priority levels (e.g., priority 1 represents
  information element according to the second embodiment               5    the highest priority while priority 3 has the lowest) or can
  comprises the offset and the search pattern as according to the           represent equal priority levels.
  first embodiment, and in addition a mask. The mask serves to                 Priority 1 information:
  obtain only particular bits in the extracted bit pattern and is              Information element 1: offset 1 and search pattern 1
  optional.                                                                    Information element 2: offset 2 and search pattern 2
     The operation according to the second embodiment is               10      Information element 3: offset 3 and search pattern 3 . . .
  described by referring to FIGS. 5 and 6. It is noted that for                Information element n: offset n and search pattern n
  simplifying the illustration, the second embodiment is                       Priority 2 information:
  described with reference to the case that the priority is                    Information element 1: offset 1 and search pattern 1
  detected by using two information elements.                                  Priority 3 information:
     In FIG. 5 it is shown that two bit patterns BP1 and BP2 are       15      Information element 1: offset 1 and search pattern 1
  extracted from the MAC layer frame F. The first bit pattern                  Information element 2: offset 2 and search pattern 2
  BP1 is extracted with an offset 0S1. As illustrated, the first bit           The AP then checks whether a received frame matches with
  pattern matches with the first search pattern SP1. For the first          all the information elements of the first group containing the
  bit pattern BP1, no mask has been specified (i.e., no masking             information elements for priority 1. That is, for each infor-
  is performed).                                                       2o   mation element it is checked whether a bit pattern at the offset
     However, for the second bit pattern BP1 a mask M2 is                   included in the information element matches with the search
  specified. In this example, the mask is M2=00010000 such                  pattern included in the information element. If this is the case
  that only the fourth bit is passed through. The resultant bit             for all information elements, then the frame has the priority 1.
  pattern BP2' is then compared with the second search pattern                 If the frame does not match with all information elements
  SP2. Here, the second search pattern SP2 and the masked bit          25   listed in the first group, then the AP tests the same frame with
  pattern BP2' match. Since also the first search pattern SP1               all the information elements (one, in this example) of the
  matches with the first bit pattern BP1, it is decided that the            second group containing the information elements for prior-
  actual frame F is a high priority frame.                                  ity 2. If the bit pattern extracted at the offset 3 in the frame
     According to the second embodiment, the frame F which                  matches with the search pattern 3 included in information
  has been detected as a priority frame, is transmitted in the         30   element 3, it is decided that the frame has the priority 2.
  Contention Free Period (CFP). That is, it is put on a high                   However, if the patterns do not match, then the AP checks
  priority queue. This process is described in the following by             the priority 3 information. That is, the frame is checked
  referring to the flow chart shown in FIG. 6.                              whether it matches with information elements 1 and 2. If this
     The process shown in this flow chart is performed during               is the case, the frame has the priority 3. If the frame still does
  the Content Free Period, i.e., in case the CFP is active. In step    35   not match, it has no priority.
  S61, the Access Point (AP) 2 waits for receiving a frame                     Next, a third embodiment is described, according to which
  which is to be transmitted further to the wireless stations 3 to          the Point Coordinator (PC) 21 collects statistics about the
  5 (FIG. 1). In step S62, the bit patterns BP1 and BP2 are                 high priority traffic sent and adjusts the parameters for the
  extracted from the frame F, as shown in FIG. 5. In step S63,              CFP.
  the bit pattern BP2 is masked with the mask M2 to obtain a bit       40      In detail, the PC 21 counts the high priority packets during
  pattern BP2', as described above. Since no mask has been                  the every so-called Delivery Traffic Indication Message
  specified for the first bit pattern BP1, no corresponding step            (DTIM) interval (see IEEE 802.11 WLAN standard). Fur-
  for the first bit pattern BP1 is performed.                               thermore, it also counts how much of those packets are trans-
     Then, in step S64, it is checked whether both bit patterns             mitted outside the CFP and how much during the DTIM
  BP1 and BP2' match with the search patterns SP1 and SP2,             45   interval containing CFP but outside CFP. The PC saves sta-
  respectively. If SP1 and BP1, and SP2 and BP2' respectively               tistics of the previous N DTIM intervals, where N is at least
  match, it is decided that the received frame F is a high priority         the CFP repeating interval. The PC then checks the statistics
  frame, and the frame F is put in the priority queue (step S65).           after every DTIM interval that contains CFP and adjusts the
  This is effected by the Point Coordinator (PC) 21 arranged in             CFP length and interval accordingly. The frame handling and
  the Access Point (AP) 2. If the patterns do not match (NO in         so   statistics collection during the CFP is presented in FIG. 8 and
  step S64), the received frame F is put in the normal queue, as            during the contention period in FIG. 9.
  shown in step S66.                                                           The PC 21 according to the third embodiment is shown in
     As described above, the Point Coordinator (PC) 21 puts a               FIG. 7 in greater detail. As derivable therefrom, the PC com-
  priority frame in the priority queue in case the Contention               prises a plurality of counters which are used by a PC control-
  Free Period (CFP) is active. However, in case the CFP is             55   ler 211 to control the CPF. A priority frames counter (PFC)
  inactive, the frame goes to the normal queue so that it does not          212 serves to count all priority frames received. A counter for
  have to wait for the CFP to start. When the CFP starts, the PC            priority frames outside CFP (PFOCFP) counter 213 serves to
  flushes the normal queue and places the unsent high priority              count all priority frames which are received during the con-
  frames in the priority queue. Thus, when the Point Coordina-              tent period, i.e., when CFP is inactive. A CFP DTIM counter
  tor (PC) 21 notices that the frame which should be sent is a         60   214 serves to count all priority frames which are received in
  high priority frame, it puts this frame in the normal or high             an DTIM interval containing a Contention Free Period (CFP).
  priority queue depending on the current state of the network.             As mentioned above, the PC 21 forwards the received priority
     As mentioned above, the use of two information elements                frames either to the normal queue 215 or to the priority queue
  is only an example. The number of information elements can                216 depending on the current state of the network.
  be more than two. By using a plurality of information ele-           65      The flowchart shown in FIG. 8 is almost the same as in FIG.
  ments, it is also possible to distinguish between different               6. The steps S81 to S86 correspond to the steps S61 to S66 of
  priority levels. For example, the configuration program can               FIG. 5. Thus, an unnecessary repetition is omitted here. How-
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                                                           US RE44,904 E
                                  9                                                                      10
  ever, in addition to the flow chart shown in FIG. 6, a new step            If it is decided in step S102 that the percentage of high
  S87 is performed in case patterns SP1 and BP1, and SP2 and             priority traffic sent outside the CFP drops below a low alarm
  BP2' match. In this step S8, the priority frame counter (PFC)          level LAL, the PC 21 will start decreasing the CFP in order to
  212 is incremented each time it is decided that an actual frame        give the normal traffic also a reasonable chance to be deliv-
  is a high priority frame.                                            5 ered in time. The low alarm level LAL is the percentage of the
      FIG. 9 shows a flowchart representing a process performed          high priority traffic that can be send outside the CFP if
  during the content period, i.e., when the CFP is inactive. Here,       needed. In order that the system can work smoothly, the low
  all received frames are put in the normal queue. In case of a          alarm level should be less than 100% high alarm level HAL.
  high priority frame, several values are counted by the                     When the alarm level LAL is reached, the PC 21 will next
                                                                      10
  counters of the Point Coordinator (PC) 21 for providing sta-           check what is the percentage of high priority traffic sent
  tistical information.                                                  during the DTIM intervals not containing the CFP in step
     In detail, in step S91 it is waited for a frame, similar to step    S103 which corresponds to step S107 described above. If it is
  S81 of FIG. 8. In step S92, the priority is detected in the way        less than alarm level, the PC will make the CFP interval to be
  as described in the first or second embodiment. If the actual 15 double of the original in step S104. Next, the PC 21 will check
  frame is a normal frame with no priority, the flow advances to         if the percentage of high priority traffic sent outside of the
  step S97 in which the frame is put to the normal queue 215. If,        CFP during the DTIM containing CFP is also lower than the
  however, the actual frame is a priority frame, the flow                alarm level LAL. This is effected in step S105 which corre-
  advances to step S93 in which PFOCFP counter 213 is incre-             sponds to step S109 described above. If this percentage is
  mented. Furthermore, in step S94 also the priority frames 20 lower as the alarm level LAL, the PC 21 decreases the dura-
  counter 212 is incremented.                                            tion of the CFP with the amount of the previous addition in
     In step S95 it is checked whether the actual DTIM interval          step S106. The alarm level LAL used in the different steps
  contains a Content Free Period (CFP). If this DTIM interval            may be the same or different according to the wanted system
  contains a CFP, the CFP DTIM counter 214 is incremented in             behavior.
  step S96 before the flow advances to step S97. Otherwise, the 25           If it is decided in step S102 that the percentage of priority
  flow advances directly to step S97. Thereafter, the routine is         frames outside the Content Free Period (i.e., the count value
  ended.
                                                                         of the PFOCFP counter 213 with respect to the count value of
     The statistical information regarding the priority frames
                                                                         the priority frame counter 212) is between the low alarm level
  are used as described in the following with reference to FIG.
                                                                         LAL and the high alarm level HAL, the flow advances
  10.                                                                 30
     As shown in FIG. 10, the procedure is started in an DTIM            directly    to step S1011 in which all counters 212, 213 and 214
  interval after the end of the Content Free Period (step S101).         are reset. Then, the procedure is ended.
  In step S102, the percentage of priority frames sent outside of            Next, a fourth embodiment is described. The structure and
  the CFP is checked. Depending on the result, different pro-            procedures according to this embodiment is similar to the
  cesses are executed, as described next.                             35
                                                                         embodiments described above. However, in this embodiment
     If the percentage of high priority traffic sent outside of CFP      the nature of the high priority traffic is checked. In particular,
  is higher than a certain high alarm level HAL, the PC 21 will          it is considered whether the high priority traffic is symmetri-
  start corrective actions. These processes are illustrated on the       cal, i.e., whether the high priority traffic from a wireless
  right side of the flow chart shown in FIG. 10.                         station to the Access Point (AP) 2 is the same or almost the
     The alarm level is 100% percentage of the high priority 40 same as the high priority traffic from the AP 2 to the wireless
  traffic that must be send inside the CFP in any case. For              station.
  example, if it is known that the traffic which requires an                 During the Content Free Period (CFP) the wireless stations
  almost real-time treatment requires a priority traffic of 30%,         (terminals) are not allowed to transmit unless the PC 21 polls
  the alarm level is set to 70%. The alarm level can be fixed or         them. Therefore, they will register themselves to PC to be
  it can be dynamically adjustable.                                   45 placed in a polling list. In order to get the best benefit from this
      When the alarm level HAL is reached, the PC will next              traffic control, wireless stations in the WLAN must be able to
  check the percentage of high priority traffic sent during the          identify the high priority traffic and send that traffic during the
  DTIM intervals not containing the CFP. This is effected in             CFP.
  step S107 in which the difference between the count values of              In case of the symmetrical high priority traffic between the
  the PFOCFP counter 213 and the CFP DTIM counter 214 is so AP 2 and the wireless stations, the configuration information
  calculated, wherein the difference is brought in relation to the       (from the external configuration program) contains a field
  value of the priority frames counter (PFC) 212. If it is more          telling that this is symmetrical high priority traffic. When the
  than the alarm level HAL, the PC will make the CFP interval            Point Coordinator (PC) 21 in the AP 2 detects that the high
  to be half of the original (if it is not already one DTIM              priority traffic is symmetrical and the receiving station is
  interval), as described in step S108.                               55 pollable during the Content Free Period (i.e., is CF-pollable),
     Next, in step S109, the PC 21 will check if the percentage          it will send it to the terminal inside a so-called data+CF-poll
  of high priority traffic sent outside of the CFP during the            frame instead of normal data frame during the CFP. The
  DTIM intervals containing CFP is also higher than the alarm            data+CF-poll frame is a special data frame, defined in the
  level. This percentage P is calculated as follows:                     IEEE 802.11 standard, that allows the receiving station send
                                                                      60 one data frame during the CFP after receiving the data +CF-
         CFP DTIM counter/(PFC-(PFOCFP-CFP DTIM                          poll frame. During the contention period, the symmetrical
              counter))/100)
                                                                         traffic does not cause any special processes. The use of data+
     If this percentage is higher than the alarm level, the PC 21        CF-poll frame enables equal high priority data delivering
  will double the duration of the CFP (if not already maximum            performance to both directions.
  possible) in step S1010. The alarm level used in the different 65          The PC 21 must ensure that other wireless stations in the
  steps may be the same or different according to the wanted             polling list gets polled according to the standard even when
  system behavior.                                                       delivering symmetrical high priority traffic.
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                                                          US RE44,904 E
                                11                                                                       12
      In the following, the configuration program used for gen-              In particular it has to be noted that the above description of
  erating priority detection information used in the above                the embodiment has been made basically with respect to the
  embodiments is described in more detail.                                IEEE 802.11 WLAN standard. However, it has to be noted
      The method adopted in the configuration program is                  that this is only an example and that it is to be understood that
  described by referring to the flowchart shown in FIG. 11.             5 the invention can also be applied to other suitable network
      In step S111, a bit pattern (consisting, for example, of one        situations.
  or two bytes) which indicates the priority information is iden-            Furthermore, in the above embodiments it was basically
  tified in the data frame. The identified bit pattern is defined as      distinguished between priority frames and normal frames,
  the search pattern (SP) in step S112. In step S113, the loca-           i.e., between frames with priority and frames without priority.
                                                                       10 However, it is also possible to distinguish between a plurality
  tion, that is, the offset of the identified bit pattern (i.e., the
                                                                          of different priority levels. For example, the second embodi-
  search pattern) inside the data frame is determined. Thereaf-
                                                                          ment can be modified such that the two bit patterns are used to
  ter, an information element containing the determined offset
                                                                          distinguish between three different priority levels (no prior-
  and the identified search pattern is produced in step S114.             ity medium priority high priority). Also, different masks
  Finally, in step S115 the information element is sent to the         15 for one bit pattern can be used to distinguish between differ-
  Access Point and the routine ends.                                      ent priority levels.
      In a similar way, also the optional mask (as used in the
  second embodiment) can be obtained. Therefore, an addi-                    The invention claimed is:
  tional step is required which is performed after the bit pattern           1. A method comprising
  identifying step S112 such that the mask is defined. It is also      20    extracting a bit pattern from a predetermined position in a
  possible to produce a plurality of information elements, as                   frame[,];
  used in the second and third embodiment, also by taking into               comparing said extracted bit pattern with a search
  account a plurality of different priority levels.                             pattern[,];
      Next, an example is described in which frames (containing              identifying a received frame as a priority frame in case said
  IP packets) to be sent to a particular IP-adress should have         25       extracted bit pattern matches with said search pattern[,];
  high priority. In this case, the identification of the search              forwarding said received frame to a high priority queue in
  patterns and the location of the search patterns can be per-                  case said frame is detected to be a high priority frame
  formed as follows: The configuration program knows that the                   during a special period for sending priority traffic[,]; and
  offset to the destination IP-address from the beginning of the             adjusting the duration of the special period for sending
  IP packet (as an example for a data frame) is 32 bytes and the       30       priority traffic according statistic information regarding
  offset from the beginning of the ethernet (version 2) frame to                sent priority frames.
  beginning of the IP packet is 14 bytes. Thus, the actual offset            2. The method according to claim 1, further comprising
  of the IP-address is 46 bytes. The search pattern is the IP-               counting the total number of priority frames;
  address in question. Thus, the necessary information for an                counting the number of priority frames outside said special
  information element can easily be extracted.                         35       period; and
      In other cases, it might be necessary that the configuration           deciding whether said special period has to be increased or
  program analyzes frames in order to obtain the relevant infor-                decreased on the basis of the count values obtained in
  mation.                                                                       said counting steps.
      The location for performing the above method within the                3. A device comprising
  network can be arbitrarily chosen. It may be located in some         40    a receiver configured to receive data frames;
  station in the wireless network, it may be centralized in a                an [exracter] extracter configured to extract a bit pattern
  place in the wired network, or it may be connected to the AP                  from a predetermined position of a data frame;
  with a separate cable. In some cases, the configuration pro-               a comparator configured to compare said extracted bit pat-
  gram may also be run in the AP, but in this way the benefit of                tern with a predetermined search pattern; and
  the configuration program being external will be lost.               45    an identifier configured to identify said received frame as a
      Preferably, the location where the above method, i.e., the                priority frame in case said extracted bit pattern matches
  external configuration program can be performed is in one of                  with said first search pattern,
  the wireless stations 2 to 5. In this way, the program can also            wherein a controller is configured to forward said received
  "snoop" the traffic and check whether the traffic is correctly                frame to a high priority queue in case said frame is
  recognized by the AP, that is, whether the high priority traffic     50       detected to be a high priority frame during a special
  is correctly treated. This is because in the wireless stations,               period for sending priority traffic, and
  the data sent with the frames are processed and, thus, it is clear         said controller is configured to adjust the duration of the
  whether a received frame is a priority frame or not.                          special period for sending priority traffic according to
      When placed in the WLAN, the configuration program can                    statistical information regarding sent priority frames.
  also make corrections to the AP configurations (i.e., the infor-     55    4. The device according to claim 3, wherein said controller,
  mation elements sent to the AP) based on a traffic monitoring           in order to obtain said statistic information, is configured to
  in the WLAN. The configuration program can be run in some               access a priority frames counter for counting the total number
  notebook PC in WLAN, for example.                                       of priority frames and a counter for counting priority frames
      In rather large networks, however, the best place for the           outside said special period, said controller configured to
  configuration program is in the wired network, where all the         60 decide whether said special period has to be increased or
  access points of the network can be controlled with a single            decreased on the basis of the count values obtained in said
  configuration program.                                                  counting.
      The above description and accompanying drawings only                   5. A device comprising
  illustrate the present invention by way of example. Thus, the              means for extracting a bit pattern from a predetermined
  embodiments of the invention may vary within the scope of            65       position in a frame[,];
  the attached claims. For example, the embodiments can be                   means for comparing said extracted bit pattern with a
  arbitrarily combined.                                                         search pattern[,];
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                                                         US RE44,904 E
                                13                                                                        14
      means for identifying a received frame as a priority frame               adjusting a duration of the transmit period reserved for
         in case said extracted bit pattern matches with said                     priorityframes based on statistic information regarding
         search pattern[, and];                                                   sent priority frames,
      means for forwarding said received frame to a high priority              wherein the statistic information regarding sent priority
         queue in case said frame is detected to be a high priority   5          frames is based on a percentage ofpriorityframes trans-
         frame during a special period for sending priority traf-                 mitted outside of the transmit period reservedfor prior-
         fic[,]; and                                                              ityframes to a total number ofpriorityframes transmit-
      means for adjusting the duration of the special period for                  ted.
         sending priority traffic according statistic information              13. A device comprising:
         regarding sent priority frames.                              10       a controller to detect a receivedframe is a priority frame
      6. A memory having a program stored thereon for execu-                      based, at least in part, on information in the received
  tion in a device by carrying out the method of claim 1.                        frame; and
      7. A method comprising:                                                  a priority queue configured to transmit the receivedframe
      detecting a received frame is a priority frame based, at                    in a transmit period reserved for priority frames,
         least in part, on information in the received frame,         15          wherein the controller is configured to adjust a duration
         including extracting a bit pattern from a predetermined                  ofthe transmit period reservedfor priorityframes based
         position in the received frame and comparing the                         on statistic information regarding sent priority frames,
         extracted bit pattern with a search pattern, and wherein              wherein the controller is configured to extract a bit pattern
         the detecting is based on a match between the extracted                 from a predetermined position in the receivedframe, to
         bit pattern and the search pattern;                          20          compare the extracted bit pattern with a search pattern,
      transmitting the received frame in a transmit period                        and to detect a receivedframe is a priorityframe based,
         reservedfor priorityframes in response to the detecting;                 at least in part, on a match between the extracted bit
         and                                                                      pattern and the search pattern.
      adjusting a duration of the transmit period reserved for                 14. The device of claim 13, wherein the controller is con-
         priorityframes based on statistic information regarding      25   figured toforward the receivedframe to the priority queuefor
         sent priority frames.                                              transmission in the transmit period reserved for priority
      8. The method of claim 7, further comprising forwarding              frames.
   the receivedframe to a priority queuefor transmission in the                15. The device of claim 13, further comprising a normal
   transmit period reservedfor priority frames.                             queue configured to transmit the receivedframe outside ofthe
      9. The method of claim 8, further comprising forwarding         30    transmit period reservedfor priority frames.
   the receivedframefrom the priority queue to a normal queue                  16. The device of claim 15, wherein the controller is con-
  for transmission outside of the transmit period reserved for             figured to transfer the receivedframefrom the priority queue
  priority frames in response to an expiration of the transmit              to the normal queue in response to an expiration of the trans-
  period reservedfor priority frames.                                       mit period reservedfor priority frames.
      10. A method comprising:                                        35       17. A device comprising:
      detecting a received frame is a priority frame based, at                 a controller to detect a receivedframe is a priority frame
         least in part, on information in the receivedframe;                      based, at least in part, on information in the received
      transmitting the received frame in a transmit period                       frame; and
         reservedfor priorityframes in response to the detecting;              a priority queue configured to transmit the receivedframe
      adjusting a duration of the transmit period reserved for        40          in a transmit period reserved for priority frames,
         priorityframes based on statistic information regarding                  wherein the controller is configured to adjust a duration
         sent priority frames; and                                                ofthe transmit period reservedfor priorityframes based
     forwarding the receivedframe to a normal queuefor trans-                     on statistic information regarding sent priority frames,
         mission outside of the transmit period reservedfor pri-               wherein the controller is configured to count a total num-
         ority frames when the transmit period reservedfor pri-       45          ber ofpriority frames, to count a number of the priority
         ority frames is unavailable.                                            frames transmitted outside of the transmit period
      11. A method comprising:                                                    reservedfor priority frames, and to adjust the transmit
      detecting a received frame is a priority frame based, at                    period reservedfor priority frames based on a ratio of
         least in part, on information in the receivedframe;                      number of the priorityframes transmitted outside of the
      transmitting the received frame in a transmit period            50          transmit period reserved for priority frames and the
         reservedfor priorityframes in response to the detecting;                 total number ofpriority frames.
      adjusting a duration of the transmit period reserved for                 18. A device comprising:
         priorityframes based on statistic information regarding               a controller to detect a receivedframe is a priority frame
         sent priority frames; and                                                based, at least in part, on information in the received
      counting a total number ofpriority frames; and                  55         frame; and
      counting a number of the priority frames transmitted out-                a priority queue configured to transmit the receivedframe
         side of the transmit period reservedfor priority frames,                 in a transmit period reserved for priority frames,
         wherein the adjusting of the transmit period is based on                 wherein the controller is configured to adjust a duration
         a ratio of number of the priority frames transmitted                     ofthe transmit period reservedfor priorityframes based
         outside of the transmit period reserved for priority         60          on statistic information regarding sent priority frames,
        frames and the total number ofpriority frames.                         wherein the statistic information regarding sent priority
      12. A method comprising:                                                   frames is based on a percentage ofpriorityframes trans-
      detecting a received frame is a priority frame based, at                    mitted outside of the transmit period reservedfor prior-
         least in part, on information in the receivedframe;                      ityframes to a total number ofpriorityframes transmit-
      transmitting the received frame in a transmit period            65          ted.
         reservedfor priorityframes in response to the detecting;                                 *   *   *    *   *
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                        Exhibit L
Case 1:21-cv-01323-CFC Document 1-1 Filed 09/17/21 Page 153 of 440 PageID #: 202
                                                                                                            111111111111111111111111111F
                                                                                                                         oRgp1110111111111111111111
  (12)   United States Patent                                                                                            (10) Patent No.:     US 7,760,664 B2
         Gupta                                                                                                           (45) Date of Patent:     *Jul. 20, 2010

  (54)    DETERMINING AND PROVISIONING PATHS                                                                              5,377,262                A    12/1994 Bales et al.       379/221.06
          IN A NETWORK                                                                                                    5,526,414                A     6/1996 Bedard et al.      379/221.01
                                                                                                                          5,764,740                A * 6/1998 Holender             379/112.05
  (76)    Inventor:      Sanyogita Gupta, 8 Colasurdo Ct.,                                                                6,091,720                A     7/2000 Bedard et al.
                                                                                                                          6,981,065                Bl* 12/2005 Lu                    709/251
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                                                                                                                      2002/0029298                 Al * 3/2002 Wilson                709/316
  (*)     Notice:        Subject to any disclaimer, the term of this                                                  2003/0071840                 Al    4/2003 Huang et al.
                         patent is extended or adjusted under 35                                                      2003/0189919                 Al   10/2003 Gupta et al.
                         U.S.C. 154(b) by 1005 days.                                                                  2004/0107277                 Al    6/2004 Levesque et al.
                                                                                                                      2005/0097108                 Al * 5/2005 Wang et al.           707/100
                         This patent is subject to a terminal dis-                                                    2005/0169179                 Al * 8/2005 Antal et al.          370/231
                         claimer.                                                                                     2006/0015617                 Al * 1/2006 Castro et al.         709/226

  (21)    Appl. No.: 11/101,136                                                                                                                        OTHER PUBLICATIONS
                                                                                                                   International Search Report for PCT/US2005/034418 mailed Dec.
  (22)    Filed:         Apr. 7, 2005                                                                              27, 2006.
                                                                                                                   European Search Report for European Application 05857725.5,
  (65)                      Prior Publication Data                                                                 dated Aug. 25, 2009.
                                                                                                                   Notice of Rejection for Japanese Patent Application No. 2007-
          US 2006/0067236 Al               Mar. 30, 2006                                                           534687, mailed Jul. 31, 2009 (with English Translation).

                    Related U.S. Application Data                                                                  * cited by examiner
  (60)    Provisional application No. 60/614,609, filed on Sep.                                                    Primary Examiner                             Tri H Phan
          30, 2004.
                                                                                                                   (57)                                             ABSTRACT
  (51)    Int. Cl.
          HO4L 12/28             (2006.01)                                                                         A network provisioning system for establishing a path
          GO6F 15/177            (2006.01)                                                                         between two networks is disclosed wherein a common net-
          GO6F 15/16             (2006.01)                                                                         work device between those networks is modeled as a link
  (52)    U.S. Cl.                   370/254; 370/389; 370/400;                                                    between a first network element in one network and a second
                                               709/220; 709/249                                                    network element in a second network. A network routing
  (58)    Field of Classification Search          370/235-240,                                                     graph is created by an inventory subsystem in a routing man-
                         370/254-258, 400-401; 709/220, 249                                                        ager by inventorying the physical network elements and links
          See application file for complete search history.                                                        in the network. The inventory subsystem then models those
                                                                                                                   elements/links as a plurality of nodes and links between the
  (56)                     References Cited                                                                        nodes. At least one common network device, such as a digital
                                                                                                                   cross connect connecting the two networks, is modeled as a
                     U.S. PATENT DOCUMENTS                                                                         link instead of a node. A routing engine then uses the network
         4,284,852   A      8/1981   Szybicki et al.                                    379/221.01                 routing graph, including the link modeled from the common
         4,669,113   A      5/1987   Ash et al.                                         379/221.01                 network device, to provision a path between the networks.
         4,788,421   A     11/1988   Ogawa et al.                                        250/201.5
         5,297,137   A      3/1994   Ofek et al.                                           370/403                                               14 Claims, 5 Drawing Sheets


                                                                                                                                          102


                                                                                                   Network Configuration Management System
                                           ....-
                                     322     Inventory
                                        ----. Database
                                                                                                     304



                                     314
                                                       Link


                                                     .._      -)
                                                        Routing
                                     316 ---...___      Node     tr.,
                                                     `able ,        ,,,                                                                        Service &Stadion
                                                                                       Inventory Subsystem ,,,,__• Routing Engine    4--•
                                                                                                                                               System
                                                     .....              ...........•
                                                     NMS/EMS                                   /
                                                                                             306           312          308     ............„------'   \            0
                                     318 -----12:able
                                                                                                             \
                                                  C._                                                       Element Adapter                                '---->            324
                                                       Routing
                                                                                                                                                            go
                                                                                                                                                             ronsnection Z
                                     320/                Aaottel:ass,                                                                                       Status
                                                                                                                                                            Database




                                                                                                           313
                                                                  Network Configuration Management System (102)
                                                                                                                                                                            lualud °Sil




Managed Network (110)                    Network                                                                             Element
                                                                                              I          I                 Management
                                       Management
                                       System (126)                                                                        System (128)



                                                                 Porto.i2)
                       •                                                                                                                                       Port (134)
           Portitt
                                                                                          Network
                             Network                   Network                            Element
                           Element (114)             Element (114)                                  i -------'        Network                    Network
                                                                                           (116)
                                                                                                                 Element (118)                 Element (118)
                                     4. Links (120) "41
             •                                                                        •                                     *    Links (124)
              •                                                                      •
                  •
                      s%               Network
                                                                             •
                                                                                 •
                                                                                          Network
                                                                                                        1
                                                                                                        Links (122)

                                     Element (114)                                        Element                               Network
                                                                                           (116)                            Element (118)
                                                                                                                                                                            S Jo 1 WIN




                                   - - -----------


                                                                        Broadband Network (112)




                                                                                                                                      FIG. 1
                                                                                                                                    (Prior Art)
                                                                                                                                                                            ZS 1799119L`L Sf1
                                                                                                                                                                                                Case 1:21-cv-01323-CFC Document 1-1 Filed 09/17/21 Page 154 of 440 PageID #: 203
                                                                   FIG. 2
                                                                                                                                                                   lualud 'SI'




                                                                                                                                                  y-102
                                                    NETWORK CONFIGURATION MANAGEMENT SYSTEM

                                               II                                                           I                        I   %
                                                                                                        I                        I        1
                                           I                                                       II                        I             %
                                       I                                                                                 I
                                   I                                                           I                     I                     •%
                               I                                                           I                        1                        %
                              1                                                        I                        I                             %




                                                            202
                   SI
                                                                                                                                                                   S Jo Z WIN




                 ,
                //                                                  ROUTING
                                                                     NODE
201                                                                                         I                                                                204
                                                                                           S
                        206
                                                                                   /

      ROUTING                                                                                                                                      ROUTING
       NODE                                                                    I                                                                    NODE
                                                             203              S
205                     207
                                                                    ROUTING
                                                                      NODE
                                                                                                                                                                   ZS 1799119L`L Sf1
                                                                                                                                                                                       Case 1:21-cv-01323-CFC Document 1-1 Filed 09/17/21 Page 155 of 440 PageID #: 204
                                                                                          102


                     ---..                         Network Configuration Management System

322      Inventory
                                                                                                                         lualud °Sil




  ----- Database
      ....      _.-
                                                     304

                  ---      -.„
                            ...
314 -,......,,,,,, Routing
                    Link
                 ...Liable
                             _.--
                             .....„
                 ..._.         ...,
                       Routing
316 —                  Node
                 , Table                                                                    Service Activation
                                      Inventory Subsystem 4          Routing Engine
                                                                                            System
                 C             ...
                                              /
                 NMS/EMS
318    .....„---- Table                     306            312             308                            310
                ...,
                                                                                                                         S Jo £ Pails




               e-           ---..
               ,....._       .-                               Element Adapter                                      324
                    Routing                                                           4
                                                                                                      Cross-
                    Model                                                                             Connection
                           _..-
320 .'"--------4....,Database                                                                         Status
                                                                                                      Database




                                                              313


                                                                                                     FIG. 3
                                                                                                                         ZS 1799119L`L Sf1
                                                                                                                                             Case 1:21-cv-01323-CFC Document 1-1 Filed 09/17/21 Page 156 of 440 PageID #: 205
                                        FIG. 4
                           407                     403
                                                                                        lualud °Sil




                                 401B
                407A
                           DCS                   ROUTING
402   ROUTING                                     NODE                       405
       NODE
                       ■                                         ROUTING
                           DCS                                    NODE
                408A             4088
                           408                                            409A
                                                                                        JamiS




                                                 ROUTING   409
                                                  NODE              DCS
                                                                                           S JO 17




      ROUTING
401    NODE                                                                      4098
                                                   404


                                                                 ROUTING
                                                                  NODE

                                                                             406
                                                                                        ZS 1799119L`L Sf1
                                                                                                            Case 1:21-cv-01323-CFC Document 1-1 Filed 09/17/21 Page 157 of 440 PageID #: 206
                                                  FIG. 5
                                                                                                lualud °Sil




                         501-                                         403
                                ______________________
                  ......... ---                        ---.           1'
                                                              . 1
                                                                    ROUTING
402     ROUTING                                                      NODE                405
          NODE

                         5027                                                 ROUTING
                                                                               NODE



                                                                    ROUTING            v- 503
                                                                                                S Jo S WIN




                                                                     NODE

       ROUTING
401-Z-' NODE                                                          404          a
                                                                                   •



                                                                              ROUTING
                                                                               NODE

                                                                                          406
                                                                                                ZS 1799119L`L Sf1
                                                                                                                    Case 1:21-cv-01323-CFC Document 1-1 Filed 09/17/21 Page 158 of 440 PageID #: 207
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                                                        US 7,760,664 B2
                                1                                                                     2
      DETERMINING AND PROVISIONING PATHS                                cross-connects to interconnect port 130 to an egress port, such
                IN A NETWORK                                            as port 132. The NMS 126 then provisions the network ele-
                                                                        ments to realize this interconnection. In another example,
     This application claims the benefit of U.S. Provisional            some management systems, such as EMS 128, may only
  Application No. 60/614,609, filed Sep. 30, 2004, which is 5 manage one or more network elements 118, but not the links
  hereby incorporated herein by reference.
                                                                        124 between them. Here, a higher layer entity, such as the
             BACKGROUND OF THE INVENTION                                Network Configuration Management System 102, deter-
                                                                        mines the links between network elements 118 required to
     Communications networks, such as next generation broad- 10 create a path and then instructs the EMS to perform the
  band networks, have become increasingly complex due to                necessary cross-connects within network elements 118 to
  increased size, numerous intermixed technologies/protocols            realize the complete path.
  (e.g., ATM, Frame Relay, etc.), and the intermixing of equip-            FIG. 1 also shows how some network elements, such as
  ment manufactured by numerous different vendors. As a                 network elements 116, are not managed by either an NMS or
  result, network configuration management systems that can
                                                                     15 EMS. Specifically, a higher layer entity, once again such as
  provision virtual trunks and circuits within these networks are
                                                                        Network Configuration Management System 102, directly
  becoming increasingly important. Such network configura-
                                                                        communicates with these elements to perform network con-
  tion management systems function to determine the paths/
  routes between network equipment, herein referred to as net-          figuration functions. In this case, Network Configuration
  work elements, and to communicate with those network 20 Management System 102 would configure any cross-con-
  elements to realize desired trunks or circuits that facilitate the    nects within network elements 116 as well as any links
  transmission of traffic across the network.                           between network elements. Thus, as shown in FIG. 1, to
     In general, network configuration management systems               facilitate traffic flow across broadband network 112, for
  have traditionally determined the paths available by modeling         example from port 130 on network element 114 to network
  portions of network elements as nodes on a graph and the 25 element 118, the combination of Network Configuration
  links/interconnections between these portions as links                Management System 102, NMS 126 and EMS 128 will col-
  between the nodes. More particularly, prior systems typically         lectively determine an appropriate network path across and
  modeled every port of every network element as a node on the          between network elements 114, 116 and then provision vir-
  graph and modeled every physical link that interconnected             tual trunks and circuits across network 112.
  these ports to one another as links that interconnected the 30           One difficulty with prior methods of using network con-
  nodes of the graph. The network model was then used to                figuration management systems, such as those described
  provision virtual trunks, which formed paths between net-
                                                                        above, is that the modeling of the network elements, physical
  work elements in the network. Once these virtual trunks were
                                                                        links, and virtual trunks and circuits results in very large,
  provisioned, virtual circuits could then be established across
                                                                        inefficient models that do not adapt well to diverse network
  these trunks to support traffic flow from one point to another 35
  in the network.                                                       elements and large networks. Specifically, such large models
     FIG. 1 shows an exemplary prior art network configuration          result in correspondingly large and complex network model
  management system 102 and a network 110 managed by                    graphs which, in turn, create performance and scalability
  system 102. The network configuration management system               issues due to the demanding processing requirements associ-
  102 functions to determine a preferred path between two 40 ated with such graphs. Therefore, in one prior attempt at
  points in a network (i.e., between two network elements) and          solving this problem and to reduce the aforementioned dis-
  for provisioning a communications connection across this              advantages, a network model was created based on how the
  path by communicating with the managed network 110. Man-              ingress and egress ports of each network element can be
  aged network 110 consists primarily of broadband network              interconnected within themselves and to other network ele-
  112 which, in turn, consists of a plurality of network elements 45 ments. Specifically, in this prior attempt, a simplified routing
  114-118 interconnected by physical links and virtual trunks           graph was created by the network configuration management
  and circuits represented in FIG. 1 by links 120-124. The              system whereby, instead of modeling each port of a network
  network elements comprise varying technologies and proto-             element as a node on a routing graph, an entire network
  cols and may be manufactured by different vendors. Managed            element itself could be represented as one or more routing
  network 110 further comprises network management sys- 50 nodes or, in some cases, multiple network elements could be
  tems, such as network management system (NMS) 126, and                represented as a single routing node. Referring to FIG. 2, for
  element management systems, such as element management                example, network elements 114 of FIG. 1 that are managed by
  system (EMS) 128. These systems are typically provided by             NMS 126 are modeled as a single node 201. Additionally,
  the network element manufacturers and typically function to
                                                                        network elements 118, which are managed by both EMS 128
  perform the actual configuration and management of the indi- 55
                                                                        and the Network Configuration Management System 102 are
  vidual network elements.
                                                                        also modeled as a single routing node 204. Network elements
     NMSs and EMSs may function to control both the network
                                                                        116 are each modeled as individual routing nodes, since the
  elements and the links between those elements. However
  some may not control the links between the elements and,              Network Configuration Management System 102 manages
  instead, only manage the network elements themselves. For 60 both the network element and the link between the elements.
  example, an NMS, such as NMS 126, may function to col-                In such a model, therefore, the individual physical hardware
  lectively manage a set of network elements 114 and the physi-         links are not each modeled but, rather, one or more network
  cal links 120 between them, thus forming a collectively man-          elements are modeled as a single routing node based on how
  aged sub-network having network elements 114.                         those network elements and the links between them are man-
  Accordingly, when network traffic arrives at an ingress port 65 aged. Such an attempt is generally described in pending U.S.
  into one of the network elements 114, such as port 130, the           patent application Ser. No. 10/118,187, filed Apr. 8, 2002 and
  NMS 126 determines a set of links and network element                 entitled "Determining and Provisioning Paths Within a Net-
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                                 3                                                                       4
  work of Communication Elements" (hereinafter referred to as             tions including the determination and provisioning of routing
  the "'187 application"), which is hereby incorporated by ref-           paths in broadband network 112 in FIG. 1. In order to accom-
  erence herein in its entirety.                                          plish these functions, routing manager 304 comprises an
                                                                          inventory subsystem 306, a routing engine 308 and a service
              SUMMARY OF THE INVENTION                               5    activation system 310. The routing manager 304 is connected
                                                                          to the various network elements via an element adapter 312
     While the prior methods of creating network models for               and connection 313. Broadly, the routing manager 304 main-
  routing traffic across networks and between multiple net-               tains a topological graph comprising nodes and links that
  works are advantageous in many regards, as discussed above              model the broadband network 112. This graph is used to
  they are limited in certain regards. In particular, while pro-     10   determine and provision routing paths between, for example,
  cessing associated with network routing can be greatly sim-             two ports within the network. These paths are then used to
  plified using the prior methods, such processing can still be           provision virtual trunks and circuits.
  resource and overhead intensive. This is especially the case as            The inventory subsystem 306 builds and maintains the
  networks using different speeds and/or protocols are being              topological graph in accordance with modeling methods such
  interconnected to provide new and more complex services to         15   as those described above in association with the '187 appli-
  customers.                                                              cation. This graph is maintained, illustratively, in three data-
     Accordingly, the present inventor has invented a network             base tables: routing link table 314, routing node table 316, and
  provisioning system for establishing a path between two net-            NMS/EMS table 318. The routing engine 308 determines a
  works wherein a common network device between those                     routing path for traffic through the network using the network
  networks is modeled as a link between a first network element      20   graph maintained by the inventory subsystem 306. The ser-
  in one network and a second network element in a second                 vice activation system 310 then uses the determined routing
  network. In one embodiment, a network routing graph is                  path to provision the actual virtual trunk or virtual circuit.
  created by an inventory subsystem in a routing manager by               Specifically, the service activation system 310 activates the
  inventorying the physical network elements and links in the             routing engine 308 to obtain a routing path given two end-
  network. The inventory subsystem then models those ele-            25   points and then invokes the element adapter 312 which inter-
  ments/links as a plurality of virtual nodes and links between           faces with network elements, NMSs and EMSs to physically
  the nodes. At least one common network device, such as a                provision the determined path. As such, the element adapter
  digital cross connect located at a junction between the two             312 functions as an interface between the routing manager
  networks, is modeled as a link instead of a node. A routing             304 and the NMSs 126, EMSs 128, and network elements 116
  engine then uses the network routing graph, including the link     30   in managed broadband network 112. As one skilled in the art
  modeled from the common network device, to provision a                  will recognize, there is typically a specific element adapter
  path between the two networks. Thus, since fewer nodes are              designed for use with NMSs, EMSs, and network elements
  represented in a network graph of the modeled network, route            manufactured by different manufacturers. As such, a network
  processing is reduced, resulting in a corresponding reduction           management system may have multiple element adapters, or
  in overhead and resources required to route network traffic        35   different modules in one element adapter. Accordingly, once
  from one node to another.                                               the service activation system determines a routing path, it
                                                                          invokes the appropriate adapter(s) or adapter module(s) to
             DESCRIPTION OF THE DRAWING                                   communicate the required configuration settings to the man-
                                                                          agement systems/elements 126, 128, and 116 to provision the
     FIG. 1 shows a prior art managed broadband network and 40            determined path.
  a network configuration management system for determining                  As one skilled in the art will recognize, and as is further
  and provisioning routing paths within the network;                      discussed herein below, network traffic may be required to
     FIG. 2 shows a network routing model whereby some                    traverse multiple separate networks. These different networks
  network elements are combined and treated as single routing             may be interconnected with cross connects, such as digital
  nodes;                                                      45          cross connects (DCSs). As such, it is necessary for the NCMS
     FIG. 3 shows an illustrative network configuration man-              102 to also have available configuration and status informa-
  agement system;                                                         tion related to these DCSs. This configuration and status
     FIG. 4 shows a network routing model whereby Digital                 information is, illustratively, maintained in cross-connection
  Cross Connect Systems (DCSs) are used to interconnect dif-              status database 324. Thus, in provisioning the aforemen-
  ferent network nodes; and                                   50          tioned path, service activation system 310 may also refer to
     FIG. 5 shows a network routing model in accordance with              cross-connection status database 324.
  the principles of the present invention whereby DCSs are                   The prior illustrative method described in the '187 appli-
  modeled as links.                                                       cation for using an NMS to simplify routing graphs is advan-
                                                                          tageous in many regards. By eliminating the need to inventory
     DETAILED DESCRIPTION OF THE INVENTION                           55   individual ports and by reducing the number of nodes neces-
                                                                          sary to consider in routing network traffic from one point to
     FIG. 3 shows an illustrative network configuration man-              another, the processing overhead and timeliness associated
  agement system, such as Network Configuration Manage-                   with making routing decisions is greatly reduced. Addition-
  ment System (NCMS) 102 in FIGS. 1 and 2. As discussed                   ally, such an approach adds considerable flexibility in design-
  above, NCMS 102 determines preferred routing paths                 60   ing and maintaining routing graphs. Specifically, as described
  between two ports within the network by modeling the net-               in that application, instead of inventorying and maintaining a
  work paths as a plurality of routing nodes and links between            database of each port in a network and the interconnections
  the nodes, and for using these paths to provision virtual trunks        between those ports, it is only necessary to inventory the
  and circuits within the networks. To accomplish this function,          routing nodes and the links between the routing nodes that,
  NCMS 102 includes, among other components, a routing               65   for example, may consist of several network elements.
  manager 304 and inventory database 322. The routing man-                   As one skilled in the art will recognize, the method
  ager 304 provides end-to-end connection management tune-                described in the '187 application is primarily focused on
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  network routing at layer 2 of the network. As is well under-              traffic between the networks represented by nodes 405 and
  stood, networks have been modeled as operating at different               406. Typically, paths through DCSs 407-409 are provisioned
  layers. One model for such network layers is known as the                 in a relatively static manner. For example, a path from port
  Open System Interconnection (OSI) model, which generally                  407A, associated with node 402, to port 407B, associated
  defines 7 different layers in the network. Layer 2 is also           5    with node 403, is provisioned on DCS 407 in order to provide
  known as the data link layer and is the layer at which the                connectivity between the networks represented by nodes 402
  physical medium is shared and where data link and media                   and 403. Connections between ports 408A/408B and 409A/
  access are controlled. For example, in Ethernet networks,                 409B are similarly provisioned to connect nodes 402/403 and
  layer 2 is the layer at which network routing between media               405/406, respectively. Thus, one skilled in the art will recog-
  access control (MAC) addresses of individual hardware com-           10   nize that DCSs 407-409 function as common nodes between
  ponents is performed.                                                     the respective networks.
     The above-described network model at layer 2 of a network                 As one skilled in the art will recognize, a DCS, such as any
  is primarily useful within a single network. However, with                one of DCSs 407-409, functions similarly in some respects to
  increasingly complex and large networks it has become nec-                a network switch, such as a router or ATM switch. However,
  essary to cross network boundaries in order to route network         15   such routers/switches typically operate as a function at least
  traffic from one destination to another. In many cases, the               in part of the signaling accompanying traffic transiting the
  different networks rely on different protocols, operate at dif-           network and, hence, such routers/switches are typically
  ferent speeds and may even operate using a different physical             closely tied to specific services provided by a network service
  medium (e.g., copper vs. optical fiber). In order to intercon-            provider. A DCS is typically not used for such purposes.
  nect such networks, DCSs or other similar devices, such as           20   Instead, a DCS is typically used for transmission manage-
  optical cross connect systems (OCSs), are used. As used                   ment at a higher level of the network. Specifically, unlike
  herein, a DCS is any device that interconnects networks to                most telecom services where switch control is an inherent
  facilitate traffic routing from one network to another or to link         element of the service provided to customers and is closely
  portions of networks using one protocol or traffic rate to                tied to the protocol used at layer 2 of the network, DCSs are
  another portion using a different protocol or rate. Such DCSs        25   typically used as an engineering and provisioning control
  are very well known in the art and serve to efficiently manage            mechanism at layer 1 in the network (i.e., the physical layer of
  disparate traffic protocols and line speeds in telecommunica-             the network). As such, DCSs are typically not used to dynami-
  tions system central offices as well as remote field locations            cally alter switching over a short time period, as are routers
  and other locations such as within hotels and even at user                and other types of switches. Additionally, DCSs are not typi-
  premises. Such DCSs may be used in a variety of different            30   cally controlled as a function of signaling from a customer but
  applications. For example, DCSs may be used at a customer                 are, instead, controlled directly by, for example, engineers at
  premises to interface with both voice protocol networks and a             the service provider. Also unlike simpler network switches, a
  number of different data protocol networks in order to aggre-             typical DCS facilitates the provisioning of network paths and
  gate and cross connect these networks to a high-speed copper              connections across the DCS that are typically constant over a
  wire or optical fiber loop. Additionally, DCSs may be used in        35   period of hours to months.
  a digital loop carrier (DLC) capacity to aggregate networks                  As service providers, such as telecommunication service
  using multiple protocols for transmission across a SONET                  providers, strive to provide more advanced features to con-
  ring network. In another common implementation, such                      sumers, interconnections and junctions between networks,
  DCSs may be used within, illustratively, a telecommunica-                 such as those created by DCSs 407-409 and other similar
  tions central office in order to manage and cross connect            40   devices, become greater in number and grow in importance.
  channels from multiple SONET rings that are employed in an                These interconnection devices must be taken into account
  access network and/or a metro or inter-office network. Other              when developing a network routing strategy. Traditionally, in
  uses of DCS are well known and will be obvious to one skilled             making routing decisions, the network configuration man-
  in the art.                                                               agement system modeled devices such as DCSs as one or
     FIG. 4 shows one illustrative routing map wherein DCSs            45   more separate routing nodes. The present inventor have dis-
  are used to connect networks to facilitate traffic flow from one          covered, however, that such a modeling of DCSs increases the
  network to another. In particular, FIG. 4 shows routing nodes             routing processing required due to a larger number of "hops"
  401-406, each of which represents, illustratively, a network,             necessary to traverse nodes in the routing model. This
  such as broadband network 112, or a portion of a network,                 increases both the time and overhead necessary to, for
  such as the group of network elements 116 also in FIG. 1. As         so   example, generate the aforementioned routing graphs. There-
  such, each of the routing nodes 401-406 illustratively has a              fore, the present inventor have further discovered that, in
  plurality of network elements that are modeled, for routing               addition to simplifying routing decisions at layer 2 of a net-
  purposes, as a single routing node with an ingress port and an            work, as described in the '187 application, it is desirable to
  egress port, such as ports 130 and 134, respectively, in FIG. 1.          also simplify the routing graph at layer 1 of the network.
  The networks represented by each of routing nodes 401-406            55   Specifically, instead of treating DCSs as a separate node (or
  may, for example, operate using a different protocol or speed             multiple nodes corresponding the ports on the DCS) in the
  and, therefore, DCSs, such as DCSs 407, 408 and 409, may be               network, it is also desirable to model DCSs differently in
  used to aggregate and/or di saggregate traffic in order to facili-        order to further simplify the routing graphs/decisions. More
  tate the transmission of that traffic between and over the                particularly, in part since DCSs and other similar devices are
  different networks interconnected by the DCSs. For example,          60   relatively static in configuration, the present inventor have
  routing nodes 402 and 405 may represent well-known OC-3                   discovered that such devices may be treated as links, such as
  networks operating at an illustrative speed of 155.52 Mb/s                would be formed by a physical cable, instead of nodes that
  while the networks represented by nodes 403 and 406 may be                require processing as an affirmative routing hop.
  well-known OC-12 networks operating at an illustrative                       As described above in association with the '187 applica-
  622.08 Mb/s rate. DCSs 407 and 408 aggregate and/or disag-           65   tion, prior to provisioning network paths in a network, such as
  gregate the data between the networks represented by nodes                network 112 in FIG. 1, a network configuration management
  402 and 403 and DCS 409 aggregates and disaggregates the                  system, such as NCMS 126 in FIG. 1 will inventory the
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  network elements and links in the network. Once these ele-              network element, said at least a first network element and said
  ments and links are defined, the NCMS generates a routing               at least a second network element being interconnected
  graph showing the network topology in terms of routing                  through a digital cross connect system, said system compris-
  nodes and links to be used in provisioning trunks/circuits              ing:
  across the network. FIG. 5 is a simplified representation of       5       a routing manager computer comprising an inventory sub-
  such a routing map. In particular, routing nodes 401-406 are                  system and a routing engine,
  as described above in association with FIG. 4. Each of those                  wherein the inventory subsystem is configured to model
  routing nodes consists, for example, of a plurality of network                   each of said at least a first network element and said at
  elements that are modeled at a high level as a single routing                    least a second network element as one or more routing
  node in order to decrease the processing overhead required to      10            nodes in a graph, said graph comprising a plurality of
  provision the aforementioned trunks/circuits. However,                           routing nodes and a plurality of links interconnecting
  instead of modeling the ports of DCSs 407-409 of FIG. 4 as                       said plurality of routing nodes; and
  individual nodes, or as multiple nodes, those illustrative                    wherein the routing engine is configured to use said
  DCSs are modeled as links 501, 502 and 503. Links 501, 502                       graph for determining a path between said at least a
  and 503 are used in the routing graph of FIG. 5 to represent       15            first network element and said at least a second net-
  DCSs 407, 408 and 409, respectively. Accordingly, in accor-                      work element,
  dance with the principles of the present invention, a cross-                  wherein the inventory subsystem models said digital
  connect, such as a DCS, is not modeled as one or more routing                    cross connect system as a link between said at least a
  nodes having various links connecting ports to each other and                    first network element and said at least a second net-
  to external ports on other network elements. Instead, such a       20            work element; and
  cross-connect is modeled as a separate link between network                a cross connection status database configured to store a
  elements in one or more networks. Accordingly, the routing                    status of each interconnection of said plurality of routing
  map is greatly simplified.                                                    nodes, wherein the status indicates whether a cross-
     One skilled in the art will recognize that, as DCSs or other               connection using said digital cross connect was success-
  network components are added or deleted, the NCMS will             25         fully provisioned.
  inventory the network elements and links between the ele-                  2. The network provisioning system of claim 1 wherein
  ments, treating DCSs as links as described above. Specifi-              said at least a first network element is in a first network and
  cally, this inventory is conducted by the inventory subsystem           said at least a second network element is in a second network.
  306 of FIG. 3. As a part of this inventory, routing link table             3. The network of claim 1, wherein the digital cross con-
  314, routing node table 316, NMS/EMS table 318 and cross           30
                                                                          nect system comprises a first port associated with the first
  connection status database 324 are updated with information             network element and a second port associated with the second
  about the links, nodes and cross connections in and between             network element.
  the networks managed by the NCMS 102. Therefore, in this                   4. A routing manager for provisioning paths for network
  inventory, information concerning each DCS will be updated              traffic between a plurality of network elements in one or more
  in the cross-connection status database and those same DCSs        35
                                                                          networks wherein at least a first digital cross connect system
  will be updated as links in the routing link table. As a result,        is disposed between a first network element in said plurality
  when service activation system 310 invokes the routing                  of network elements and a second network element in said
  engine 308 to provision a path, that engine will treat the DCSs         plurality of network elements, said routing manager compris-
  as links to be provisioned and not one or more network nodes            ing:
  corresponding to the ports on the DCS. When network traffic        40
                                                                             means for creating a graph of routing nodes and links, said
  traverses a particular DCS, configuration and status informa-
                                                                                routing nodes representing one or more network ele-
  tion related to that DCS is retrieved from cross connection
                                                                                ments in said plurality of network elements and said
  status database 324 to identify how the path across the DCS
                                                                                links representing interconnections between said rout-
  should be provisioned to route the traffic to the appropriate
                                                                                ing nodes;
  destination.                                                       45
                                                                             means for modeling said at least a first digital cross connect
     One skilled in the art will recognize that many variations
                                                                                system as a link between those routing nodes represent-
  are possible and that any or all of these embodiments
                                                                                ing said first network element and said second network
  described herein above may be combined in order to create a
                                                                                element; and
  border element function that is decentralized depending upon
  the needs of a particular network in order to add flexibility to   50
                                                                             means for storing a status of each of said interconnections,
  network design and to reduce routing management overhead                      wherein the status indicates whether a cross-connection
  costs. The foregoing Detailed Description is to be understood                 using said digital cross connect system was successfully
  as being in every respect illustrative and exemplary, but not                 provisioned.
  restrictive, and the scope of the invention disclosed herein is            5. The routing manager of claim 4 wherein said first net-
  not to be determined from the Detailed Description, but rather     55   work element is an element in a first network and said second
  from the claims as interpreted according to the full breadth            network element is an element in a second network.
  permitted by the patent laws. It is to be understood that the              6. The routing manager of claim 4, wherein the digital cross
  embodiments shown and described herein are only illustra-               connect system comprises a first port associated with the first
  tive of the principles of the present invention and that various        network element and a second port associated with the second
  modifications may be implemented by those skilled in the art       60   network element.
  without departing from the scope and spirit of the invention.              7. A method for routing network traffic between a first
  Those skilled in the art could implement various other feature          network and a second network, each of said first and second
  combinations without departing from the scope and spirit of             networks comprising a plurality of network elements, said
  the invention.                                                          plurality of network elements connected by a digital cross
     The invention claimed is:                                       65   connect, said method comprising the steps of:
     1. A network provisioning system for establishing a path                determining, with a network configuration management
  between at least a first network element and at least a second                system, the interconnections created by said digital
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        cross connect between at least two network elements in          11. The method of claim 9 further comprising the step of:
        said plurality of network elements; and                          determining a network path between said first routing node
     representing each of said interconnections as a link                  and said second routing node using said routing link.
        between said at least two network elements; and                 12. The method of claim 11 further comprising the step of:
     storing a status of each of said interconnections in a cross 5      provisioning said network path to interconnect a first net-
        connection status database, wherein the status indicates           work element in said first routing node with a second
        whether a cross-connection using said digital cross con-           network element in said second routing node.
        nect was successfully provisioned.                              13. The method of claim 9, wherein the digital cross con-
     8. The method of claim 7 further comprising provisioning         nect system comprises a first port associated with the first
  a path between said at least two network elements.               10 network element and a second port associated with the second
     9. A method for determining a path between a first network       network element.
  element in first network and a second network element in a            14. A method for determining a path between a first net-
  second network, said first network connected to said second         work element in a first network and a second network element
  network via a digital cross connect system, each of said            in a second network, said first network connected to said
  networks comprising a plurality of network elements and a 15 second network via a common network device, each of said
  plurality of network links, said method comprising the steps        networks comprising a plurality of network elements and a
  of:                                                                 plurality of network links, said method comprising the steps
     modeling, via a network configuration management sys-            of:
        tem, said plurality of network elements in said first and        modeling, via a network configuration management sys-
        second networks as one or more routing nodes;              20      tem, said plurality of network elements in said first and
     modeling said network links as routing links, said routing            second networks as one or more routing nodes;
        links interconnecting said routing nodes;                        modeling said network links as routing links, said routing
     modeling said digital cross connect system as a routing link          links interconnecting said routing nodes;
        connecting a first routing node in said first network to a       modeling said common network device as a routing link
        second routing node in said second network; and            25      connecting a first routing node in said first network to a
     storing a status of each interconnection of said routing              second routing node in said second network; and
        nodes, wherein the status indicates whether a cross-             maintaining a status of said routing links, said status indi-
        connection using said digital cross connect system was             cating whether a cross-connection using at least one of
        successfully provisioned.                                          said routing links was successfully provisioned.
     10. The method of claim 9 further comprising:                 30
     storing said routing links in a routing link table.                                      *  *   *   *   *
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                       Exhibit M
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  (12)   United States Patent                                               (10) Patent No.:     US 8,116,315 B2
         Posey, Jr.                                                         (45) Date of Patent:    *Feb. 14, 2012

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  (73)   Assignee: YT Networks Capital, LLC,                                                        (Continued)
                   Wilmington, DE (US)
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  (*)    Notice:      Subject to any disclaimer, the term of this     EP                     0849916 A2    6/1998
                      patent is extended or adjusted under 35                                       (Continued)
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                      This patent is subject to a terminal dis-                                  OTHER PUBLICATIONS
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  (65)                   Prior Publication Data
                                                                                                          (Continued)
         US 2006/0239288 Al           Oct. 26, 2006
                                                                      Primary Examiner — Ronald Abelson
                   Related U.S. Application Data
                                                                      (74) Attorney, Agent, or Firm Connolly Bove Lodge &
  (63)   Continuation of application No. 10/138,760, filed on         Hutz LLP
         May 3, 2002, now Pat. No. 7,184,444, which is a
         continuation-in-part of application No. 09/698,666,          (57)                                ABSTRACT
         filed on Oct. 27, 2000, now Pat. No. 6,665,495.
                                                                      The present invention provides method for data packet pro-
  (51)   Int. Cl.                                                     cessing in a telecommunications system. The method of the
         H04L 12/28               (2006.01)                           present invention can include the steps of (i) determining a set
         H04L 12/56               (2006.01)                           of classification parameters for a data packet at an ingress
         H04L 1/00                (2006.01)                           edge unit, wherein the classification parameters include a
         H04L 12/26               (2006.01)                           packet destination, (ii) communicating the data packet to an
         H04L 12/54               (2006.01)                           egress edge unit and (iii) routing the data packet to a destina-
         G06F 15/173              (2006.01)                           tion egress port at the egress edge unit according the classi-
         G06F 15/16               (2006.01)                           fication parameters determined at the ingress edge unit. In one
  (52)   U.S. Cl.            370/395.31; 370/395.43; 370/392;         embodiment of the present invention, the classification
              370/395.1; 370/252; 370/398; 370/422; 370/428;          parameters can include a destination egress edge unit, a des-
                                             709/224; 709/249         tination egress port at the destination egress edge unit, and
  (58)   Field of Classification Search            370/395.31,        quality of service parameter for proper processing of the data
                  370/395.43, 392, 395, 252, 389, 393, 395.1,         packet.
                      370/398, 395.6, 422, 428; 709/224, 249
         See application file for complete search history.                                  21 Claims, 8 Drawing Sheets


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118                                                        135
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                                    117                                                      127

                              4----)        ----J
                                                                                                                              Al.
                                                                                                                                125
                                                                                                       El
      -         21                                                                        129
                                    119
 118            11                                                                                               (.... 132
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                116

                                                                                                  FIGURE 1
                                                                                                                                        Zll SI£`9IV8 Sf1
                                                                                                                                                           Case 1:21-cv-01323-CFC Document 1-1 Filed 09/17/21 Page 167 of 440 PageID #: 216
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              263
                               305

215
      (                                              391   253
                              310    310   310
              260        e--...j
                                                                                   ztoz 171 'VI




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                                            392   c 75
                                                    .."
                     (--.270

          /
          FIGURE 3
                                                                                    Zll SI£`9IV8 Sf1
                                                                                                       Case 1:21-cv-01323-CFC Document 1-1 Filed 09/17/21 Page 169 of 440 PageID #: 218
                                                                                                    wawa °Sil




                                                                                       275
                                                                               420
      Destination: Egress Edge 0
        0050111MEMM                                                                  391
430                  111
                                                           OoS Controller
        055
430                                                          1111111111
        OoS J
430
                                  Super Packet    11           Super Pecker     j



      Destination: Egress Edge 1
                                                                                                   noz 171 Toa




                                                                                             253
       ooso MAW                                                                      391.
                                                           CloS Controller
        005

                 1101,1     1,1                               —a -V'
        005 K
                                                       VI11,111111!2''

                                                       1        Super P okal




      Destination: Egress Edge (M - 1)
                                                                                                   8 Jo 17 JamiS




         0.50111MMIIME                                                               393
                                                           Q0S Controller
         0051 Er
              311111 1,1
         oast.             (1
                                   Super Pecker                 Super Picket




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                                                                                                      Zll SI£`9IV8 Sfl
                                                                                                                         Case 1:21-cv-01323-CFC Document 1-1 Filed 09/17/21 Page 170 of 440 PageID #: 219
                           Figure 5A
                                                                        lualud °Sil




          Common Overhead       Source Edge:                0111
                                Destination Edge            1111 ,
530                             Sequence Number:                42
                                Status Bits:             000     0
                                Number of Port Bundles:          1
          Port Bundle Entries   Offset to Port Bundle:          10
                                                                      ztoz 171 Tiaa




                                Status Bits:             0 1 1 0
540                             Index Type:                    0001
                                Version:                       0000
                                Number of PPEs:                  8
      t   Per Packet Entries    00: 0,     32        1111      1000
                                01: 0, 65,536        1111      1000
                                02: 0,        64     0011      0000
                                03: 0,      535      0111      0011
550
                                                                       8 Jo S JamiS




                                04: 0,     1,492     0001      0000
                                05: 0,     1,492     0000      0000
                                06: 0,     1,492     0110      0000
                                07: 0,     5,273     1111      1000
                                            Packet 00
                     Packets                Packet 01
                                            Packet 02
                                            Packet 03
          520                               Packet 04
                                            Packet 05
                                               ...
                                            Packet N-1
                                                                       Zll SI£`9IV8 Sf1
                                                                                          Case 1:21-cv-01323-CFC Document 1-1 Filed 09/17/21 Page 171 of 440 PageID #: 220
                Figure 5B
                                                                  wawa °Sil




Packet Buffer
                                                                  noz 171 Too




                                   Port
                             Bundle Overhead
   Packet 00
   Packet 01                       Status Bits
   Packet 02                       Index Type
   Packet 03                         Version
                                                            540
                                                                  9 WIN




   Packet 04                     Number of PPEs                                  0
                                                                             j
   Packet 05    •                                                        8
   Packet 06
   Packet 07    '4--
   Packet 08
                             Per Packet Entry
   Packet 09                 00: M, Length, Port, Queue
   Packet 10                 01: M, Length, Port, Queue
   Packet 11           110   02: M, Length, Port, Queue
   Packet 12                 03: M, Length, Port, Queue
   Packet 13                 04: M, Length, Port, Queue
                                                          1 550
   Packet 14                 05: M, Length, Port, Queue
   Packet 15                 06: M, Length, Port, Queue
   Packet 16                 07: M, Length, Port, Queue
                                                                    Zll SI£`9IV8 Sfl
                                                                                       Case 1:21-cv-01323-CFC Document 1-1 Filed 09/17/21 Page 172 of 440 PageID #: 221
                            Figure 5C
                                                                         lualud °Sil




Common Overhead
      Source Edge
    Destination Edge
   Sequence Nurrber
       Status Bits
       Index Type                        Port Bundles
                                                                       ztoz 171 Tiaa




         Version
 Nurrber of Port Bundles                PPEs Port Bundle 00      550
                                        Packet Bundle Port 00    520
      Port                              PPEs Port Bundle 01      550
  Bundle Entries                        Packet Bundle Port 01    520
 Offset to Port Bundle 00
        Status Bits
                                        PPEs Port Bundle B-1
                                                                        8 JO L WIN




       Index Type
                                                                 550
                                        Pocket Bundle Port P-1   520
          Version
     Number of PPEs
 Offset to Port Bundle 01    4
        Status Bits
       Index Type
          Version
     Nu tuber of PPEs



 Offset to Port Bundle B•1
        Status Bits
        Index Type
          Version
     Number of PPEs
                                                                        Zll SI£`9IV8 Sf1
                                                                                           Case 1:21-cv-01323-CFC Document 1-1 Filed 09/17/21 Page 173 of 440 PageID #: 222
                                 Figure 5D
                                                                                                lualud 'SI'




                            Super Packet
                                                        Egress Frag Buffers
                                                         1 for each Edge
                                                                                               ztoz 171 'VI




                    Overhead
                    SRC: 00,
                                                              Previous Head Frag       (040
                    Tail Fra : T Head Fra : T                                     00
        Current       1 1 111 1 111111111 1 1 1 1
                                                                                  01
        Tail                                                                  I   02
        Frag                                                                      03
                                                                                  04
                                                                                  05
                                                                                              8 Jo 8 JamiS




                                                                                  06
                                                                              1   07
                                                                              I   08
                                                                                  09
    Ingress                                                                   I   10
  Frag Buffer                                                                     11
1 for each SPF                                                                    12
                                                                                  13
Next                                                2 „fr                         14
Tail 1. 1117.                                                                     15
Frag                        Current He d Frag
            (0qt)
                                                                                                 Zll SI£`9IV8 Sf1
                                                                                                                    Case 1:21-cv-01323-CFC Document 1-1 Filed 09/17/21 Page 174 of 440 PageID #: 223
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          SYSTEM AND METHOD FOR PACKET                                 classification system and a method that can perform the clas-
                  CLASSIFICATION                                       sification only at the ingress edge unit, thus reducing the
                                                                       complexity and computational requirements at the egress
                  RELATED APPLICATIONS                                 edge unit.
                                                                   5
     This application is a continuation of and claims priority                      SUMMARY OF THE INVENTION
  under 35 U.S.C. 120 from U.S. patent application Ser. No.
  10,138,760, filed May 3, 2002, entitled "SYSTEM AND                     The present invention provides a data packet classification
  METHOD FOR PACKET CLASSIFICATION," now U.S.                          system and method that substantially eliminates or reduces
  Pat. No. 7,184,444, which is a continuation-in-part of U.S. 1° disadvantages and problems associated with previously
  patent application Ser. No. 09/698,666, filed Oct. 27, 2000,         developed data packet classification systems and methods
  entitled "Non-Blocking, Scalable Optical Router Architec-            used in telecommunications networks.
  ture and Method for Routing Optical Traffic," now U.S. Pat.             More specifically the present invention provides method
  No. 6,665,495, both of which are hereby fully incorporated           for data packet classification in a telecommunications sys-
  by reference.                                                     15
                                                                       tem. The method of the present invention can include the
                                                                       steps of (i) determining a set of classification parameters for
           TECHNICAL FIELD OF THE INVENTION
                                                                       a data packet at an ingress edge unit, wherein the classifica-
     The present invention relates generally to telecommunica-         tion parameters include a packet destination, (ii) communi-
                                                                    20 cating the data packet to an egress edge unit and (iii) routing
  tion systems and methods, and more particularly, a system
  and method for classification of data packets to facilitate the      the data packet to a destination egress port at the egress edge
  routing of the data packets.                                         unit according the classification parameters determined at the
                                                                       ingress edge unit. In one embodiment of the present inven-
             BACKGROUND OF THE INVENTION                               tion, the classification parameters can include a destination
                                                                    25 egress edge unit, a destination egress port at the destination
     In telecommunications networks, routers and switches are          egress edge unit, and quality of service parameter for proper
  used to direct data packets from a data packet's origin to its       processing of the data packet.
  destination. Often a router or switch will have multiple                The present invention provides substantial technical
  incoming and outgoing transmission lines (or "ports").               advantage over previously developed systems and methods
  Therefore, to route a packet through a telecommunications 30 for routing data packets because the present invention can
  network, it is necessary to properly internally route the data       route data packets to an egress port without reclassifying the
  packet at each router or switch from the incoming transmis-          data packet at the egress edge unit associated with the port,
  sion port to the proper outgoing transmission port. This is          thus minimizing duplicative hardware and processing
  commonly achieved by classifying the packets at the ingress          requirements at the egress edge unit.
  edge of the switch/router. This classification of data packets 35       The present invention provides another substantial advan-
  can include determining the egress edge unit of the switch/          tage over previous systems and methods for routing data
  router to which a particular data package should be routed. In       packets by eliminating the delay caused by reclassifying a
  this manner, data packets can be switched from a particular          data packet at an egress edge unit, thereby increasing the
  incoming transmission port to a particular outgoing transmis-        throughput of optical routers/switches utilizing the present
  sion port through the switch/router.                              40 invention.
     In current data packet classification and routing systems, a         The present invention provides yet another technical
  data packet arrives at an ingress interface unit of a router         advantage by allowing the routing of multiple data packets to
  where packet classification occurs. During packet classifica-        a single destination edge unit.
  tion, current systems will classify the data packet based on its
  destination port, which is associated with a particular egress 45           BRIEF DESCRIPTION OF THE DRAWINGS
  edge unit. According to the classification, the router will route
  the data packet to the appropriate egress edge unit of the              A more complete understanding of the present invention
  optical network for further routing. In current optical net-         and the advantages thereof may be acquired by referring to
  works, however, the classification of a data packet is typically     the following description, taken in conjunction with the
  not retained once the data packet leaves the ingress edge unit so accompanying drawings in which like reference numbers
  in route to the egress edge unit.                                    indicate like features and wherein:
     In operation, data packets are classified in current systems         FIG. 1 is a diagrammatic representation of one embodi-
  and methods for classifying data packets based on the desti-         ment of a router 100 that can perform data packet classifica-
  nation egress edge unit. When a packet arrives at the destina-       tion at the ingress edge unit according to the present inven-
  tion egress edge unit, classification is repeated to determine 55 tion;
  the destination egress interface port of the egress edge unit.          FIG. 2 is a diagrammatic representation of a second
  Thus, the processing to determine the destination occurs in          embodiment of a router that can perform data packet classi-
  two stages. First it occurs at the ingress edge unit to determine    fication according to the present invention;
  to which egress edge unit a data package is bound and, again,           15 FIG. 3 is a diagrammatic representation of one embodi-
  at the egress edge unit to determine to which egress interface 60 ment of an ingress edge unit that can perform packet classi-
  port the data package should be routed. Because classification       fication according to the present invention;
  occurs both at the ingress edge unit and the egress edge unit,          FIG. 4 is a diagrammatic representation of a second
  current optical networks require that there be classification        embodiment of an ingress edge unit that can perform packet
  hardware at both units.                                              classification according to the present invention;
     As noted, prior art packet classification systems and meth- 65       FIG. SA illustrates one embodiment of super packet con-
  ods require repeating the classification process at the egress       taining a classification index according to the present inven-
  edge interface unit. Therefore, a need exists for a packet           tion;
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     FIG. 5B illustrates one embodiment of a port bundle con-             classification index can be included in the overhead of the
  struction containing a classification index according to the            data packet sent to the egress edge unit.
  present invention;                                                         Controller 140 can collect data from each ingress edge unit
     FIG. 5C illustrates one embodiment of a super packet con-            110, egress edge unit 120 and switch fabric 135 on a periodic
  struction containing a classification index according to the       5    basis (e.g., every millisecond), create a schedule that effects
  present invention; and                                                  each ingress edge unit 110 and egress edge unit 120 for the
     FIG. 5D illustrates one embodiment of combining frag-                next cycle, and provide the schedule to each ingress edge unit
  ments of packets from arriving super packets.                           110 and each egress edge unit 120. During scheduling, con-
                                                                          troller 140 can use quality of service parameters to determine
      DETAILED DESCRIPTION OF THE INVENTION                          10   which of the arriving data packets should be sent at any given
                                                                          time or whether a data packet should be dropped (e.g., in a
     Preferred embodiments of the present invention are illus-            congestion situation). Algorithms such as random early
  trated in the figures like numerals being used to refer to like         detection, weighted random early detection, early packet dis-
  and corresponding parts of the various drawings.                        card and other algorithms could be used to determine which
     The invention provides a data packet classification system      15   packets should be dropped. Based on this schedule, ingress
  and method wherein a data packet can be classified at the               port card 116 can place an incoming data packet in a QoS
  ingress edge unit of a router/switch. The data packet can be            queue (for subsequent forwarding to TWDM converter 118)
  routed to its destination egress interface port based on the            or forward the data directly to TWDM converter 118. Ingress
  classification parameters that were determined at the ingress           port card 116 can maintain multiple QoS queues for each
  edge unit of the router/switch. Because classification does not    20   egress interface port 125.
  have to be repeated at the egress edge unit, duplicative pro-              At TWDM converter 118 data packets from each ingress
  cessing and hardware requirements are substantially reduced.            interface port card 116 can be forwarded to wave slot (µX)
     FIG. 1 is a diagrammatic representation of one embodi-               buffers. There can be multiple µi. buffers for each ingress
  ment of a router 100 that can perform data packet classifica-           interface port 115, and the number of µi. buffers for each
  tion at the ingress edge unit according to the present inven-      25   ingress interface port 115 can correspond to the number of
  tion. Router 100 can include a number of ingress edge units             egress interface ports 125 (e.g., if there are K egress interface
  110 (shown in FIG. I as sixteen ingress edge units labeled              ports there can be K 0. buffers for each ingress interface
  I1,I2,I3 . . . I16), a number of egress edge units: (shown in           port). Data packets arriving at each ingress interface port 115
  FIG. 1 as sixteen egress edge units labeled El, E2, E3     E16)         can be directed to the 0. buffer associated with the destination
  and an optical switch core 130 that comprises a switch fabric      30   egress interface port 125 to which the data packet is bound.
  135 and a controller 140. While each of the edge units is               Thus, in one embodiment of the present invention, each µX
  illustrated separately for the sake of simplicity, it should be         can contain data packets from the same ingress interface port
  understood that edge units comprising both an ingress edge              115 that are bound to the same egress interface port 125.
  unit and an egress edge unit in the same physical structure can            When the loading of the[a. buffers is complete for a cycle,
  be constructed. Each of the edge units 110 can communicate         35   the TWDM converter 118 can subdivide the available µXs into
  data to switch fabric 135 via ingress packet links 117 and each         as many channels as there are wavelengths utilized by the
  egress edge unit can receive data from switch fabric 135 via            ingress packet links 117. It should be noted that each µi. can
  egress packet links 127. In one embodiment of the present               include zero data packets, a single data packet, or multiple
  invention the ingress packet links 117 and egress packet links          data packets bound for the same egress interface port 125.
  127 can be DWDM links. Additionally, each ingress edge unit        40   DWDM transmitter 121 can then forward a µX to optical
  and each egress edge unit can receive and communicate con-              switch fabric 135 for further routing to the destination egress
  trol information with controller 140 via ingress control links          edge unit. Each 0. can be forwarded across multiple data
  119 and egress control links 129, respectively.                         streams, one stream per lambda as supported by the DWDM
     Each ingress edge unit 110 and each egress edge unit 120 of          lambda count.
  router 100 can include a variety of ingress interface ports 115    45      As µXs pass through optical switch fabric 135, controller
  and egress interface ports 125, respectively, which can exter-          140 can control the configuration of switch fabric 135 so that
  nally connect to an assortment of other network elements                each µi. is routed to the appropriate egress edge unit 120.
  such as switches, routers, cross-connects and/or transmission           Because controller 140 can dynamically reconfigure switch
  equipment. The ingress interface ports 115 and egress inter-            fabric 135 based on the schedule that it established, conflicts
  face ports 125 can support, for example, high bandwidth IP         so   and contentions of µXs in switch fabric 135 can be avoided. At
  traffic and/or TDM traffic. In one embodiment of the present            each egress edge unit 120, a DWDM receiver 131 can receive
  invention, each of these ports can support 10 Gbps and above.           various µXs from switch fabric 135 that have been directed
     In operation, data packets can arrive at an ingress edge unit        from each ingress edge unit 110 to the receiving egress edge
  110 through the ingress interface ports 115. At each ingress            unit 120. The DWDM receiver 131 can demultiplex each µi.
  interface port 115, an ingress port card 116 associated with an    55   and generate a separate optical stream for each wavelength
  ingress interface port 115 can determine a set of classification        that was present in the DWDM lambda count. Egress TWDM
  parameters for an incoming data packet. In one embodiment,              converter 132 can buffer each 0. received and route the µXs to
  the classification parameters can include a destination egress          the destination egress port cards 126 according to the sched-
  edge unit and a destination egress interface port. Additionally,        ule received from controller 140. The egress output port cards
  the classification parameters might include a quality of ser-      60   126 could then forward the data to external components in the
  vice ("QoS") parameter, including the type of service bits,             optical network. Additionally, if a classification index was
  source IP address, layer four and five classification, service          included in the overhead of the data packet, egress edge unit
  level agreements, operator configuration and the QoS soft-              120 can read the classification index to determine routing
  ware in use. The classification parameters can be forwarded             information, quality of service processing, etc. However, it
  from each ingress port card 116 to controller 140 via ingress      65   should be noted that reading the classification index can be
  control links 119. Additionally, the classification parameters          done with simplistic table reading hardware/software, and
  can be placed in a classification index for the data packet. The        does not require that the data packet actually be reclassified at
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  egress edge unit 120. The classification parameters are used to          data packets can be routed through ingress edge unit 210 to
  implement QoS handling in the egress ports 126.                          optical switch core 230 via an ingress edge unit output port
     As can be understood from the foregoing discussion,                   253. Egress edge unit 220 can receive data packets from the
  ingress edge unit 110 can determine a set of classification              optical switch core 230 by egress edge unit input port 255, and
  parameters, which can include a destination egress edge unit,       5    transmit the data packets to the optical network through
  a destination egress port, and QoS parameters for each incom-            egress interface ports 225, which can be associated with an
  ing data packet. These classification parameters can be used             interface output card 257. In one embodiment, the ingress
  by controller 140 to schedule the transmission of data packets           edge unit output port 253 can be an output WDM port and the
  to the destination egress edge unit, and, additionally, the              egress edge unit input port 255 can be an input WDM port.
  transmission of data packets within the destination egress          10   Each ingress edge unit 210 can include a classification index
  edge unit to the destination egress interface port. Because the          module 260 for classifying data packets and each egress edge
  routing of a data packet to the egress edge port can be con-             unit 220 can include a classification index processing module
  trolled externally to the egress edge unit based on classifica-          265 for processing a packet classification index provided by
  tion parameter determined at the ingress edge unit, data pack-           classification index module 260. In one embodiment, the
  ets do not have to be reclassified at the egress edge unit.         15   classification index module 260 can be contained in an
  Therefore, duplicative classification hardware and software              ingress port card 263, however, it should be understood that
  can be eliminated.                                                       the classification index module 260 functionality can be con-
     The discussion accompanying FIG. 1 described an exem-                 tained in any number of other units of router 200, such as at a
  plary embodiment of router 100. However, it should be under-             super packet processor 270.
  stood that the present invention can be utilized to classify data   20      In operation, the data packets can be received at ingress
  packets at an ingress edge unit, without reclassification at the         edge unit 210 where classification index module 260 can
  egress edge unit, in many configurations of optical routers or           determine the classification parameters for the data packet by
  switches in an optical network.                                          reading the destination of the data packet from each packet's
     FIG. 2 is a diagrammatic representation of a second                   data packet header. If the packet's destination is given in the
  embodiment of a router 200 that can perform data packet             25   form of an IP address or other forwarding information, clas-
  classification at the ingress edge unit according to the present         sification index module 260 can access a destination look-up
  invention. Router 200 can include one or more ingress edge               table contained on a database that is accessible by classifica-
  units 210, one or more egress edge units 220 and a optical               tion index module 260 to correlate the data packet destination
  switch core 230 for routing data packets between an ingress              IP address to a destination egress edge interface unit 220 and
  edge unit 210 and an egress edge unit 220 that can comprise         30   a destination egress edge unit port 225 at that destination
  an optical switch fabric 235 and a controller 240. While, for            egress edge unit 220. Thus, classification index module 260
  the sake of simplicity, the ingress and egress edge units are            can determine for each data packet arriving at ingress edge
  shown separately in FIG. 2, it should be understood the com-             unit 210 both the destination egress edge unit out of many
  bined edge units can be constructed with an ingress edge unit            egress edge units and a destination port within the destination
  and an egress edge unit in a single physical edge unit. Each        35   egress edge unit out of many potential ports in the destination
  ingress edge unit 210 and each egress edge unit 220 can                  egress edge unit. In one embodiment of the present invention,
  contain many ingress and egress ports of different types,                the destination information, such as the egress edge unit and
  respectively, that can connect to a range of other optical               the egress interface port, can be placed in a classification
  network elements, such as switches, routers, cross-connects,             index, which can be included in the overhead of the data
  and/or transmission equipment. Additionally, optical switch         40   packet. Alternatively, if super packets are being constructed
  core 230 can comprise a single switch core or alternatively,             by router 200, data packets that have been classified by clas-
  can comprise a stack of switch cores or a multiple plane                 sification index module 260 can be forwarded to super packet
  switch core.                                                             processor 270 and super packet factory 275 for aggregation
     For the sake of explanation, Router 200 could have 16                 into super packets and the classification parameters for indi-
  ingress edge units (labeled I1,I2, I3 . . . I16) and 16 egress      45   vidual data packets can be included in the overhead for the
  edge units (labeled El, E2, E3 . E16). Each edge unit could              super packet. The construction of super packets will be dis-
  have 16 OC-192 ports that use packet over SONET to connect               cussed in conjunction with FIGS. 3 and 4.
  to other network elements. Each ingress edge unit 210 and                   The data packet (or super packet) with the classification
  each egress edge unit 220 can be connected to optical switch             index can then be sent to the appropriate egress edge unit 220
  core 230 using WDM links with 16X (16 ports) running at 10          so   via optical switch core 230. At egress edge unit 220, classi-
  Gbps for an aggregate of 265 Gbps. Each ingress edge unit                fication index processing module 265 can read the egress
  can connect to switch fabric 235 via Ingress packet links 217            edge unit destination port from the classification index and
  while Egress edge units can connect to switch fabric 235 via             forward the data packet to the appropriate egress edge unit
  egress packet links 227. Additionally, ingress and egress edge           destination port; e.g., one of egress interface ports 225. Addi-
  units can exchange control information with controller 240          55   tionally, if super packets were constructed, egress edge unit
  via ingress control links 219 and egress control links 229,              super packet factory 275 can disassemble the super packets so
  respectively. The router illustrated in FIG. 2 is exemplary              that constituent data packets can be routed to the appropriate
  only and other router configurations, combinations of ingress            destination egress interface port according to the classifica-
  and egress edge units, data rates and ports are possible. For a          tion index. Because the destination port of an isolated data
  more detailed explanation of one embodiment of router 200           60   packet or a data packet in a super packet can be represented in
  that can be used in conjunction with the present invention, see          a classification index, classification index processing module
  U.S. patent application Ser. No. 09/698,666, entitled "A Non-            265 can consist of simplistic table processing hardware or
  blocking Scalable Optical Router Architecture and Method                 software.
  for Routing Optical Traffic," incorporated by reference in its              In addition to reading the destination egress edge unit and
  entirety.                                                           65   the destination egress unit port for an incoming packet, clas-
     In one embodiment of the present invention, router 200 can            sification index module 260 can determine quality of service
  receive data packets from an ingress interface port 215. The             parameters for the incoming data packet, including the type of
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                                 7                                                                        8
  service bits, the source IP address, layer four and five classi-         260 can determine, from the packet headers of the optical data
  fication, service level agreements, operator configuration and           packets, the egress edge unit 220 to which an incoming data
  the QoS software in use. It should be understood that these              packet is bound, the egress port 225 at the destination egress
  quality of service parameters are exemplary only and any                 edge unit to which the data packet is bound, and other routing
  quality of service parameters could be part of a data packet        5    information (e.g., quality of service parameters and whether
  classification; e.g., TDM traffic, etc. Additionally, classifica-        the incoming data packet contains TDM data). Super packet
  tion index module 260 can read other parameters from the                 processor 270 can then route TDM data to TDM queues 310
  packet header, including HDLC/PDT, IPV4, IPV6, NTLS,                     within the packet classification queues 305 while routing
  unicast or multicast. Classification index module 260 can                PKT data to PKT queues 315 within the classification queues
  then create a quality of service parameter vector which can be      10   305. The packet classification queue 305 can be memory
  a compression of the quality of service parameters into code             device containing individual queues (or buffers) for storing
  points that require less space so that the transported data from         various portions of the incoming data packets. The number of
  the ingress edge unit 210 to the destination egress edge unit            TDM queues and PKT queues can be determined by the
  220 includes only the address information and the quality of             number of egress edge units available.
  service parameters vector, thus saving bandwidth. The qual-         15      With reference to FIG. 1, there are sixteen egress edge units
  ity of service parameters from a data packet can be used by              available so there should be sixteen TDM queues and sixteen
  controller 240 to determine which data packet should be sent             PKT queues in each set of queues, with each TDM queue and
  at any given time. Additionally, the quality of service param-           each PKT queue within a set of queues being assigned to a
  eters could be used to determine if a data packet should be              different egress edge unit. Thus, the TDM queue 310 assigned
  dropped based on the number of data packets. Algorithms             20   to the first egress edge unit 220 can collect the TDM data from
  such as random early detection, weighted random early detec-             incoming packets intended for the first egress edge unit 220,
  tion, early packet discard and other well known algorithms               while the PKT queue 315 assigned to the first egress edge unit
  could be used to determine which packets should be dropped.              220 can collect PKT data from incoming packets intended for
     Along with QoS parameters, the classification index can               the first egress edge unit.
  include information about queue management. For each qual-          25      Because all of the TDM data intended for any particular
  ity of service supported by a router 200, each ingress edge unit         egress edge unit 220 gets collected in one particular TDM
  and egress edge unit could have a queue to buffer data for               queue 310 and all of the PKT data intended for a particular
  transport with a particular quality of service. Thus, if router          egress edge unit gets collected in a single PKT queue 315,
  200 supported J qualities of service, ingress edge unit 210 and          each packet classification queue 305 begins the process of
  egress edge unit 220 could have J quality of service queues.        30   building super packets by building a "partial" super packet, or
  The ingress edge unit queue and/or the egress edge unit queue            "port bundle", containing all of the data arriving at one spe-
  can be included in the classification index. In this manner,             cific network port. 215 that is destined for a particular egress
  data packets can be direct to the appropriate queue for trans-           edge unit 265. Information that is common to all the data
  port with a particular quality of service.                               packets in a port bundle can be extracted by super packet
     When the classification index and data packet arrive at          35   processor 270 and be placed into the overhead of the port
  egress unit 220, classification index processing module 265              bundle along with classification information relevant to indi-
  can read the classification index for the data packet and for-           vidual data packets. Super packet processor 270 can then
  ward the data packet to the appropriate egress interface port            forward the port bundles to super packet factory 275 where a
  225. In one embodiment of the present invention, at the des-             super packet sub factory can assemble port bundles destined
  tination egress interface card 226, a second table reader can       40   for each egress edge unit into super packets. Because super
  also read the classification index to determine the quality of           packets can be assembled for each egress edge unit, each
  service for a data packet and to determine how the packet gets           super packet factory 275 can contain one super packet sub
  processed.                                                               factory for each egress edge unit. For example, super packet
     Because the present invention allows data packets to be               sub factory 391 could correspond to the first egress edge unit,
  routed from an ingress edge unit to port at an egress edge unit     45   while super packet sub factory 392 could correspond to the
  without reclassification of the data packet, the egress edge             second egress edge unit, and so on. In addition to assembling
  unit duplication of processing steps is reduced. Additionally,           super packets, a super packet sub factory can derive informa-
  as the classification index can be read at the egress edge unit          tion that is pertinent to a super packet as a whole and include
  by simple table reading hardware or software, the hardware               that information in a super packet's classification index along
  requirements for the egress edge unit are similarly reduced.        so   with classification information regarding port bundles and
     In addition to routing individual packets from an ingress             classification information regarding the individual data pack-
  edge unit 210 to an egress interface port 225 at an egress edge          ets in the super packet.
  unit 220 without reclassification of the packet at the egress               FIG. 4, is a diagrammatic representation of an alternative
  edge unit 220, the present invention can route super packets             embodiment of an ingress edge router that is capable of con-
  between an ingress edge unit 210 and ports 225 of the egress        55   structing super packets. As shown in FIG. 4, the QoS control-
  edge unit 220 without reclassification of the individual data            ler module 420 can build a classification index for each super
  packets at the egress edge unit 220. FIG. 3 is a diagrammatic            packet that includes the classification parameters for each
  representation of one embodiment of an ingress edge unit 210             data packet. The classification index can be built so that each
  capable of constructing super packets. In operation, an indi-            data packet has a classification entry in the classification
  vidual data packet arrives at the ingress edge unit 210 via an      60   index (e.g. a "per packet entry"). The classification index can
  ingress interface port 215 destined for an egress interface port         be placed in the overhead of each super packet. The super
  225 of an egress edge unit 220. Classification index module              packets, each with a classification index, can then be sent to
  260, in one embodiment of the present invention can be                   an optical switch core 230 (not shown) to be routed to the
  located at a super packet processor 270. Super packet proces-            appropriate destination egress edge unit 220. Thus, both the
  sor 270 can determine the length of a packet and phase align        65   egress destination port processing and packet classification
  the incoming packet to convert the incoming data from a                  processing can occur at the packet classification module 260,
  serial format to a parallel format. Classification index module          and can be performed simultaneously. This essentially pushes
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                                 9                                                                     10
  the destination port determination function upstream from the           headers for the data packets. Thus, for example, per packet
  egress edge to the ingress edge.                                        entry "00" corresponds to the classification information for
     As shown in the embodiment of FIG. 4, the classification             packet "00", per packet entry "01" corresponds to the classi-
  index module 260, which in this embodiment can be located               fication information for packet "01", and so on. At super
  at the input interface card 263, can forward the data to an        5    packet processor 270, data packets arriving at the same
  ingress super packet factory 275 that will aggregate data               ingress interface port 215 that are destined for the same egress
  intended for the same destination egress edge unit 220 into             edge unit 220 can be aggregated together into port bundles.
  super packets. Each ingress super packet factory 275 can                Super packet processor 270 can then extract information
  comprise a number of sub-factories(e.g., one sub-factory for            based on commonalties between all of the packets, including
  each egress edge unit 265), where each sub-factory builds          10
                                                                          the formatting of the per packet information (e.g., the index
  super packets destined for one of M destination egress edge             type), the version of software or hardware used to process the
  units 220 (which can be individually designated El, E2 . . .            data packets, the status bits, and the number of per packet
  EM-1). Each egress edge unit 220 also has L destination                 entries. Thus, a particular port bundle can include packets that
  output ports 225 (which can be individually designated Pl,
                                                                     15
                                                                          are destined for the same egress edge unit 220, per packet
  P2 . . . PL-1). Additionally, each egress edge unit 220 can have
                                                                          information 550 for each data packet, and port bundle infor-
  a different number of QoS parameters with a QoS parameter
                                                                          mation 540 which is common to all the data packets in the port
  queue 430 for each QoS parameter. Thus, as shown in FIG. 4,
  ingress super packet factory 275 has different sub-factories            bundle.
  391, 392 and 393, where sub-factory 391 correlates to egress               FIG. 5C illustrates one embodiment of a super packet con-
  edge unit number one (e.g., El) and has J number of QoS            20   struction according to the present invention. As illustrated in
  parameters and J QoS parameter queues, while sub-factory                FIG. 5C, various port bundles 575 can be aggregated together.
  392 corresponds to egress edge unit E2 and has K QoS param-             Thus, for example, port bundle "00" through port bundle N-1
  eters and sub-factory 393 corresponds to egress edge unit               can be bundled together into a super packet at a super packet
  EM-1 and has L QoS parameters.                                          sub factory. The port bundles can include the per packet
     Ingress super packet factory 275 uses QoS controller 402 to     25   entries 550 for each port bundle and the group of data packets
  build super packets for each of the M-1 egress edge units 220           520 associated with each port bundle. The classification index
  by collecting all of the various data (having different QoS             for the super packet can include port bundle entries 540 for
  parameters) intended for the same destination egress edge               each port bundle. Additionally, the super packet sub factory
  unit 220. The QoS controller 420 builds the super packets               can extract classification parameters common to all of the port
                                                                     30
  from each of the various QoS parameter queues 430 in a                  bundles in the super packet, including the source edge, des-
  particular sub-factory. After the super packets have been built,        tination edge, sequence number, status bits, index type, ver-
  a port scheduler can forward the super packets from each of             sions, and the number of port bundles. After the super packet
                                                                          is constructed, the super packet can be split across the various
  the ingress super packet factories 275, segment the super
                                                                     35
                                                                          lambdas link layer processing and transportation to optical
  packets to place the data from the super packets onto all of the
                                                                          switch core 230. While the construction of super packet 500
  wavelengths over which it will be transported (e.g., in an
                                                                          has been described with reference to the aggregation of port
  ordered array) and transport the super packet across the mul-
                                                                          bundles, it should be noted that, in one embodiment of the
  tiple lambdas to an optical switch core (not shown).                    present invention, data packets can be directly aggregated
     It should be understood that the embodiments described in       40   into a super packet without first being placed in port bundles
  conjunction with FIGS. 3 and 4 are by way of example only,              or can be aggregated into other types of bundles depending on
  and a super packet could be constructed in many ways. How-
                                                                          the configuration of router 200. Regardless of the type of
  ever, for the purposes of the present invention, regardless of
                                                                          bundling employed if any bundling is employed at all the
  how a super packet is constructed each super packet can
                                                                          classification index can include a bundle entry (e.g., port
  contain a classification index that classifies the data packets
                                                                     45   bundle entry 540) to aid in the disassembly of the super
  within the super packet so that the constituent data packets do
  not need to be reclassified at the destination egress edge unit.        packet.
     FIG. 5A illustrates one embodiment of a super packet 500                As discussed, the classification index 510 for super packet
  containing a classification index 510 according to the present          500 can include a classification index common overhead 530,
  invention. Super packet 500 can contain aggregated data                 a bundle entry 540 and per packet entries 550 for each of the
                                                                     50   data packets in a port bundle. Table 1 summarizes the infor-
  packets 520 and a packet classification index 510 that can
                                                                          mation that can be contained in the packet classification index
  include a common overhead 530, a port bundle entry 540 and
                                                                          common overhead 530 for one embodiment of the present
  per packet entries 550. The common overhead 530 can con-
                                                                          invention. Table 1 includes the field name, the number of bits
  tain classification parameters that are common to all the port
                                                                          and comments relating to the field. It should be noted that the
  bundles in super packet 500, port bundle entry 540 can             55
                                                                          parameters provided in Table 1 are exemplary only.
  include classification parameters that are common to each of               Although the present invention has been described in detail
  the data packets in a port bundle and the per packet entries 550        herein with reference to the illustrative embodiments, it
  can contain classification information for the individual data          should be understood that the description is by way of
  packets in super packet 530. While only one port bundle is         60   example only and is not to be construed in a limiting sense. It
  shown in FIG. 5A (e.g., there is only one port bundle entry             is to be further understood, therefore, that numerous changes
  540) it should be understood that super packet 500 could                in the details of the embodiments of this invention and addi-
  contain several port bundles or no port bundles.                        tional embodiments of this invention will be apparent to, and
     FIG. 5B illustrates one embodiment of a port bundle con-             may be made by, persons of ordinary skill in the art having
  struction according to the present invention. Classification       65   reference to this description. It is contemplated that all such
  index module 260 can derive per packet classification infor-            changes and additional embodiments are within the spirit and
  mation based on data extracted from the individual packet               true scope of this invention as claimed below.
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                                     11                                                                         12
                                TABLE 1                                              As can be understood from Table 2, port bundle entry 540
                                                                                  can include an indication of the offset to port bundle which
                    Example Classification Index Overhead                         provides the starting addresses of the port bundle overhead
  Field Name                    Number of Bits Comments                           data, if any, the per-packet entries; e.g., the classification
                                                                             5    index entries for each individual packet, and the packet data.
  Source Edge                          4          16 Edges, 0000 <=,' 1111
                                                                                  In port bundle entry 540, the index type can define the per-
  Destination Edge                     4          16 Edges, 0000 a 1111
  Sequence Number                     16          0 *©*65,535                     port bundle overhead information and the format of the per
  Status Bits                          4          Reserved/Empty                  packet entries. The index types are described in more detail in
  Number of Port Bundles               4          0 c> 15                         conjunction with Tables 5-13. The version field of port bundle
                                                                             10
                                                                                  entry 540 can allow for evolution of the table of contents to
     As can be seen from Table 1, one embodiment of the packet                    support different configurations and modifications to the
  classification index common overhead 530 can include a                          fields. Based on the combination of the index type and ver-
  source edge designation to identify the ingress edge unit 210                   sion, router 200 can select the appropriate algorithm to pro-
  that is sending the super packet 500 and a destination edge                15
                                                                                  cess port bundle entry 540 and per packet entries 550. As with
                                                                                  common overhead 530, the status bits field of port bundle
  designation to identify the destination egress edge unit 220. In
                                                                                  entry 540 can be used as an indicator of the presence or
  the case of a router with 16 ingress edge units and 16 egress
                                                                                  absence of an option or an indication to use an alternative
  edge units, this data can be represented with four bits from                    processing mechanism. If this field indicates that it is
  0000 through 1111. Common overhead 530 can also include                    20   reserved, the bits can be reserved for future use. The status
  a sequence field for diagnostics, which could include an                        field can also include a head or tail flag indicate the presence
  unsigned integer value that can be incremented every time a                     of a fragmented data packet in a port bundle.
  super packet is formed in a super packet sub factory destined                      While port bundles have, to this point, been described in
  for a particular egress edge unit. The destination egress edge                  terms of containing whole data packets, each port bundle may
                                                                             25
  unit should generally see the sequence number increasing in                     contain portions of a data packet that has been fragmented. A
  packets sent from each ingress edge unit. The sequence num-                     head fragment of a data packet can be created by super packet
  ber field can wrap around from a maximum value, in this                         processor 270 when a super packet can not contain any addi-
  example 65,535, and begin again at zero.                                        tional complete data packets, but space remains free within
     The classification index common overhead 530 could also                 30
                                                                                  the super packet. The packet can be split such that the remain-
  include a status bit to indicate the presence or absence of some                ing space in the super packet is occupied by the head fragment
  option determined by the router administrator or other party                    of a data packet. The super packet sub factory handling the
  or to indicate that there is an alternative processing mecha-                   super packet can duplicate the per packet information for the
  nism for processing the super packet. If there is a reserved flag               data packet being split and place the tail fragment and dupli-
  in this field, it could be an indication that the bits associated          35   cated classification information in a buffer. The values for
  with the field are reserved for future use. Or, an empty flag in                packet length can be adjusted for both the head and tail
  this field could indicate that there are no packets in the super                fragments of the data packet. The super packet subfactory can
  packet 500 that need to be serviced. Additionally, as indicated                 then check the head fragment bit in port bundle entry 540 for
  by Table 1, super packet common overhead 530 can include a                      a port bundle that can accommodate the head fragment and
  number of port bundles indicating the number of port bundles               40   place the head fragment at the end of the port bundle. In a later
  included in super packet 500. The number of port bundles can                    port bundle, the subfactory can check the tail fragment bit in
  be used by the destination egress edge unit 220 to properly                     the port bundle entry 540 for the later port bundle and place
  disassemble super packet 500. However, in some cases there                      the tail fragment at the beginning of the later port bundle.
  may be no port bundles in super packet 500, as might occur if                   Because packets can be fragmented to fill up super packets,
  the super packet did not contain any data packets, if the super            45
                                                                                  the present invention can ensure super packets are filled to
  packet contained only one data packet, or the data packets in                   capacity before transporting the super packets to their desti-
  the super packet were not further categorized into port                         nations.
  bundles.
     In addition common overhead 530, classification index 510                       In addition to the fields already discussed, port bundle
  can include a port bundle entry 540 for each port bundle in                50   entry 540, as indicated by Table 2 can include a number of
  super packet 500. Port bundle entries 540 can contain classi-                   per-packet entries field to indicate how many per-packet
  fication parameters that are common to each data packet                         entries are present for a particular port bundle. This value can
  within a port bundle. Table 2 provides exemplary field names,                   be used by egress edge unit 220 to determine how many per
  number of bits and comments for each field in one embodi-                       packet entries must be processed for a port bundle. Thus, in
  ment of port bundle entry 540.                                             55   one embodiment of the present invention port bundle entry
                                                                                  540 can include an offset to port bundle field, and index type,
                                TABLE 2                                           a version type, a status bit (e.g., reserved, head frag or tail
                                                                                  frag) and an indication of the number of per packet entries.
                Example Port Bundle Classification Parameters
                                                                             60
                                                                                     While each of the fields illustrated in Table 2 has been
  Field Name               Number of Bits Comments                                discussed in detail, Table 3 is provided to further explicate the
  Offset to Port Bundle         24         Depends on Super Packet size           index type field. As illustrated in Table 3, the various index
  Index Type                     4         Types are described in Table 2         types can be assigned a numeric code (e.g., 0000 for "Best
  Version                        4         Initial: 0000                          Effort") that can appear in port bundle entry 540 of the clas-
  Status Bits                    4         Reserved/Tail Frag/Head Frag
  Number of PPEs                12         Depends on Super Packet size      65   sification index 510. Table 3 includes an exemplary list of
                                                                                  index types and the numerical codes that can be used to
                                                                                  represent the index types.
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                                                                    US 8,116,315 B2
                                     13                                                                                   14
                                TABLE 3                                                                             TABLE 5

                    Yotta Packet Classification Index Type                                  Example Quality of Service Queue Index Per Packet Entry

  Index Type                                                 Codepoint             Field Name            Number of Bits    Comments
                                                                              5
  Best Effort                                                0000                  Mutt icast                   1          Part of Multicast collection if set
                                                                                   Length                      16          Packet size in bytes
  Quality of Service Queue                                   0001
                                                                                   Port                         4          16 ports, 0000 <4'1111
  Quality of Service Queue with per packet QoS Codepoint     0010
                                                                                   Queues                       4          16 queues, 0000 <=> 1111
  Quality of Service Queue with per packet QoS Weighting     0011
  Common QoS Queue Parameter                                 0100
                                                                              10
  Common QoS Queue and QoS Weighting Parameters              0101                    Again, the per-packet entry could include a multicast bit,
  Common Packet Size and QoS Queue Parameters                0110
  Common Packet Size, QoS Queue and QoS                      0111                  the length of the packet, a destination port, as indicated by
  Weighting Parameters                                                             0000 through 1111, and a queue, which in the case of 16
  Reserved                                                   1000 '' ''1111        queues could be indicated by 0001 through 1111.
                                                                              15     In addition to the information provided in a per-packet
                                                                                   entry for a quality of service queue index, the per-packet entry
     As previously noted, the format of the per packet entry is                    for a quality of service queue with code point index could
  dependant on the index type. Thus, for example, a per packet                     include a quality of service code point. The code point could
  entry for a best efforts index can have a different format than                  be defined by the administrator of router 200 and could be
  a per packet entry for a quality of service queue index.                    20   used by egress edge unit 220 to select various processing
     Turning now to each of the index types, best efforts index                    operations. For example, a code point could indicate a drop
  can be used when no quality of service processing is desired                     probability category or a QoS processing option. Table 6
  and can include the egress port for a particular packet. The                     summarizes the information that could be included in one
  per-packet entry for a best effort index can include the length                  embodiment of a quality of service queue with code point
                                                                              25
  of the packet and a multi-cast bit. Generally, if the multi-cast                 index per-packet entry.
  bit is set, there will be multiple per-packet entries for a par-
  ticular data packet. Thus, there will be fewer packets in super                                                   TABLE 6
  packet 500 than there are per-packet entries in the packet
                                                                                                Example Quality of Service Queue with Codepoint Index
  classification index 510. If the multi-cast bit is set when a               30                                   Per Packet Entry
  particular packet is processed at egress edge unit 220, egress
  edge unit 520 will direct the packet to the first port indicated                 Field Name            Number of Bits    Comments
  in the first per-packet entry for that packet and then to the port             Multicast                      1          Part of Multicast collection if set
  indicated in the second per-packet entry for that packet and so                Length                        16          Packet size in bytes
  on until all the per packet entries for the data packet are                    Port                           4          16 ports, 0000 44' 1111
                                                                              35
                                                                                 Queues                         4          16 queues, 0000 p 1111
  exhausted. This allows a particular data packet to be sent to                  Codepoint                      4          16 codepoints, 0000 '©'1111
  multiple ports as addressed by the per-packet entries. To
  terminate multicasting, the multicast bits can be left unset on
  the last per-packet entry for a particular packet so that egress                   A quality of service queue with waiting index per packet
  edge unit 220 can move on to the next packet. Note, however,                40   entry could include a quality of service weighting factor. A
  that if a multi-cast packet is only destined for a single port, it               weighting factor can be defined by the administrator of router
  will be processed as normal. Table 4 summarizes exemplary                        200 and can be consistent with the port configuration of
                                                                                   egress edge unit 220. For example, the super packet processor
  information that can be included in a per-packet entry for a
                                                                                   270 could implement token bucket weighting, or other
  best efforts index.
                                                                              45   weighting schemes as would be understood by those of ordi-
                                                                                   nary skill in the art, on packets received at ingress edge unit
                                TABLE 4                                            210. Table 7 indicates the entries that could be used in one
                 Example Best Effort Index Per Packet Entry                        embodiment of a per-packet entry for quality of service queue
                                                                                   with weighting index.
  Field Name        Number of Bits      Comments
                                                                              50
  Multicast                1            Part of Multicast collection if set                                         TABLE 7
  Length                  16            Packet size in bytes
  Port                     4            16 ports, 0000 q 1111                                   Example Quality of Service Queue with Weighting Index
                                                                                                                   Per Packet Entry

                                                                              55 Field Name                  Number of Bits Comments
     In addition to a best efforts index, there can also be a quality
  of service queue index. The per-packet entry for a quality of                    Mutt icast                        1         Part of Multicast collection if set
                                                                                   Length                           16         Packet size in bytes
  service queue index can include a multi-cast flag as previ-
                                                                                   Port                              4         16 ports, 0000 <4. 1111
  ously described, the packet's length, the destination port                       Queues                            4         16 queues, 0000 <=> 1111
  number and the quality of service queue for the data packet to              60
                                                                                   Weighting Factor                  8         QoS Parameter
  which the per packet entry pertains. Operators of router 200
  can configure router 200 to have a large number of quality of                      Additionally, the index can include a common quality of
  service queues to be used in conjunction with a scheduler                        service queue. This index type can include an addition to port
  algorithm to implement packet routing priorities. Table 5                        bundle overhead entry 540 in addition to a per-packet entry
  summarizes the information that could be included in one                    65   data. Port bundle overhead entry 540 can include a queue field
  embodiment of a per-packet entry for a quality of service                        for a common quality of service queue index, which can be
  queue index.                                                                     located at the port bundle offset address, and can indicate a
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                                      15                                                                              16
  egress edge unit queue number, while the per-packet entry                        identify a fixed packet size and quality of service queues used
  can contain a multi-cast flag, the packet length and the desti-                  for all per packet entries for a port bundle. Per packet entry
  nation port number. Because the quality of service is set in the                 can contain a multicast flat and a destination port number.
  port bundle information, all the packets for the port bundle                     Tables 12 and 13 summarize data that can be included in the
  will receive a common quality of service. Tables 8 and 9                    5    port bundle overhead and the per packet entries for a common
  summarize the information for the common quality of service                      packet size and quality of service queue index.
  queue index for the port bundle overhead queue field and the
  per-packet entry fields.                                                                                       TABLE 12

                                TABLE 8                                       10             Example Port Bundle Overhead Entry for the Common
                                                                                                   Packet Size and QoS Queue Index Type
               Example Port Bundle Entry for Common Quality of
                          Service Queue Index Type                                 Field Name          Number of Bits Comments

  Field Name         Number of Bits   Comments                                     Packet Size              16           Packet Size in bytes
                                                                                   Queue                     8           256 queues, 00000000 `%* 11111111
                                                                              15
  Queue                     8         256 queues, 00000000 <=> 11111111


                                                                                                                 TABLE 13
                                TABLE 9
                                                                              20                   Example Common Packet Size and Quality of
               Example Common Quality of Service Queue Index                                             Service Index Per Packet Entry
                            Per Packet Entry
                                                                                       Field Name         Number of Bits       Comments
  Field Name         Number of Bits     Comments
                                                                                       Multicast                 1             Part of Multicast collection if set
  Multicast                 1           Part of Multicast collection if set            Port                      4             16 ports, 0000 <*1111
                                                                              25
  Length                   16           Packet size in bytes
  Port                      4           16 ports, 0000 <=, 1111
                                                                                      Because the amount of information included with indexing
                                                                                   in per packet entries can offset byte alignment for packets, the
     Along with providing common quality of service queue                          super packet 500's packet classification index 220 can
  indexing, the present invention can provide common quality                  30   include an index padding field in order to maintain byte
  of service queue and weighting indexing. This index type,                        alignment and packet data. Table 14 provides a summary of
  again, includes an addition to the port bundle overhead entry                    the information that can be included in an index padding field.
  540, which can again be located in the port bundle offset
  address, in addition to the per-packet entry. Port bundle over-                                                TABLE 14
  head queue and weighting factor fields can be used to identify              35
  a queue and quality of service weighting parameter that are                                       Example of Per Packet Entry Index Padding
  shared by all per-packet entries for a port bundle. Tables 10
                                                                                          Field Name             Number of Bits             Comments
  and 11 summarize the information that can be included in the
  port bundle overhead and the per-packet entries.                                        Padding                    1     7                As required

                                                                              40
                                TABLE 10                                          To summarize, router 200 can receive individual data pack-
              Example Port Bundle Overhead Entry for the Common                ets at ingress edge unit 210 via port 215 and forward the
                    QoS Queue and Weighting Index Type                         packets to classification index module 260 where classifica-
                                                                               tion information (e.g., the destination egress edge unit, des-
  Field Name          Number of Bits Comments                               45 tination egress port and quality of service parameters) for an
  Queue                    8          256 queues, 00000000 p 11111111          individual data packet can be extracted from the packet's
  Weighting Factor         8          QoS Parameter                            header. The classification information for the individual data
                                                                               packet can be subsequently used in a per packet entry for the
                                                                               data packet in the classification index for the super packet in
                                                                            so which the individual data packet is bundled. In one embodi-
                             TABLE 11
                                                                               ment of router 200, data packets destined for the same egress
           Example Common Quality of Service Queue and Weighting               edge unit 220 that arrived at the same ingress interface port
                         Index Per Packet Entry                                215 can be aggregated into port bundles at super packet pro-
                                                                               cessor 270. Classification information common to each of the
       Field Name      Number of Bits   Comments
                                                                            55 data packets within a port bundle can be placed in the port
       Multicast             1          Part of Multicast collection if set    bundle entry 530 of the classification index 510. It should be
       Length               16          Packet size in bytes                   understood, however, that in other embodiments of router
       Port                  4          16 ports, 0000 p 1111
                                                                               200, data packets may not be organized into port bundles or
                                                                               may be bundled according to some other criteria such as
     In another embodiment of the present invention, the index 60 quality of service parameters or destination egress port, and
  types can include a common packet size and quality of service                the format of the classification index 510 can be configured to
  queue. This index type can include a port bundle overhead                    accommodate various bundling schemes. At a super packet
  area in addition to the per packet entry. Again, the port bundle             sub factory (e.g., super packet sub factory 392) port bundles
  overhead data can be located at the port bundle offset address,              can be aggregated together to form a super packet and clas-
  with the per packet entries immediately following the port 65 sification information common to each of the port bundles in
  bundle overhead data, as illustrated in FIG. 5A. The port                    a super packet can be included in super packet overhead 520
  bundle overhead packet size and queue fields can be used to                  of classification index 510. Once a super packet 500 has been
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                                                         US 8,116,315 B2
                                17                                                                        18
  constructed, the super packet 500 can forwarded to optical                head frag (or fragment) 610 is stored in frag buffer 620. As
  switch core 230 and then to the destination egress edge unit              super packet 500 arrives, it can contain a current head frag
  220.                                                                      630 and a current tail frag 640. If super packet 500 contains a
     With reference to FIG. 2, at egress edge unit 220, the                 current tail frag 640, then previous head frag 610 will always
  incoming super packet 500 can be forwarded to classification         5    exist in frag bugger 620 (because it came with the previous
  index processing module 265 to perform classification index               super packet). The current tail frag 640 is joined with previous
  processing (rather than packet classification). Because clas-             head frag 610 (as indicated by arrow 1) to create a packet.
  sification index 510 of super packet 500 contains classifica-             After this newly created packet is moved out of frag buffer
  tion information for the super packet 500, port bundles in                620, current head frag 630 is moved into frag buffer 620 (at
  super packet 500, and the constituent data packets in super          10   position 00) and the next arriving super packet 500 will pro-
  packet 500 that was previously defined at the source ingress              vide its tail fragment (shown as next tail frag 650).
  edge router 210, classification index processing module 265                  The present invention provides a system and method for
  need only perform simple table reading of classification index            classifying data packets at an ingress edge unit of a router/
  510 rather than performing reclassification. Classification               switch without requiring reclassification of the data packets at
  index processing module 265 can parse common overhead                15   the destination egress edge unit. In contrast to prior art sys-
  520 to determine classification parameters that are common                tems in which classification information is typically lost after
  to all of the port bundles in super packet 500. As discussed in           a data packet or super packet leaves an ingress edge unit, the
  conjunction with Table 1, this information can include the                present invention can place classification information for a
  source edge unit, destination edge unit, sequence number,                 data packet or super packet in a classification index for the
  status bits and number of port bundles, if any.                      20   data packet or super packet. The classification index can then
     Classification index processing module 265 can also parse              be communicated to the destination egress edge unit along
  the port bundle to determine the starting address of each port            with the data packet or super packet. Because the destination
  bundle, the overhead information for the port bundle (e.g., the           egress edge unit receives classification information (e.g., in
  index type, version and status bits) and the number of per                the classification index) from the ingress edge unit, the egress
  packet entries, if any, for the port bundle. Egress super packet     25   edge unit need simply read the classification information to
  factory 280 can extract the data packets from the port bundles            determine the destination port, quality of service queue, etc.,
  and classification index processing module 265 can read the               rather than reclassifying the data packet. Furthermore, the
  per packet entries to determine the destination port 225, qual-           classification index containing the classification information
  ity of service parameters or other routing information for each           can be formatted as an easily readable table so that the desti-
  data packet. The data packets then be forwarded to appropri-         30   nation edge router need only employ simple table reading
  ate port 225. Additionally, if there are several QoS queues for           hardware and/or software to determine the destination port,
  a particular port, the data packet can be routed to the proper            quality of service queue, etc. for a data packet. Thus, the
  QoS queue. It should also be recalled that if a data packet is to         present invention can reduce the software/hardware require-
  multicast to server egress ports 225 there can be multiple per            ments for the destination edge router and minimize duplica-
  packet entries for the data packet. Furthermore, the format of       35   tive processing of a data packet.
  the per packet entries for data packets in a particular port                 Although the present invention has been described in detail
  bundle can be determined by the index type in the port bundle             herein with reference to the illustrative embodiments, it
  entry 540 for that port bundle. Based on the classification               should be understood that the description is by way of
  information in the per packet entries, the individual data                example only and is not to be construed in a limiting sense. It
  packets of super packet 500 can be routed to the appropriate         40   is to be further understood, therefore, that the numerous
  port.                                                                     changes in the details of the embodiments of this invention
     In one embodiment of the present invention, index classi-              and additional embodiments of this invention will be apparent
  fication processing module 265 can be distributed over sev-               to and may be made by persons of ordinary skill in the art
  eral components of egress edge router 220. For example                    having reference to this description. It is contemplated that all
  classification index module 260 could determine the destina-         45   such changes in additional embodiments are within the spirit
  tion port for each data packet at egress super packet factory             and true scope of this invention as claimed below.
  280 and determine the appropriate QoS queue for each data                    What is claimed is:
  packet at the destination port. Thus, in this embodiment, the                1. A method of routing a plurality of data packets through
  processing of super packet classification index 510 could                 a network, comprising:
  occur in two stages (e.g., the destination port for a data packet    50      at an ingress edge unit: determining a set of classification
  would be determined at egress super packet factory 280,                         parameters for each of the plurality of data packets arriv-
  while the QoS queue for the data packet would be determined                     ing at the ingress edge unit, wherein the set of classifi-
  at the destination port).                                                       cation parameters includes destination information and
     As noted above, data packets can generally be routed to the                  one or more quality of service (QoS) parameters for the
  appropriate egress port 225 based on the classification infor-       55         respective data packet and wherein the destination infor-
  mation contained in the per packet entries. However, if a head                  mation includes a destination egress edge unit; and con-
  frag flag is set in the status bit of a port bundle entry 530, the              structing a classification index including the QoS
  last packet in a port bundle can be placed in a fragmentation                   parameters and information about a plurality of queues
  buffer for the destination port of the fragmented package.                      associated with the QoS parameters;
  When a port bundle arrives, typically in the same super packet       60      transporting the plurality of data packets and the classifi-
  500, with the tail frag flag set in the status bit of the corre-                cation index to the destination egress edge unit; and at
  sponding port bundle entry 530, the tail fragment can be                        the destination egress edge unit, routing each of the
  forwarded to the fragmentation buffer to be joined with the                     plurality of data packets to an associated destination
  head fragment. The combined data packet can then be for-                        egress port within the destination egress edge unit based
  warded to the port with which the fragmentation queue is             65         on the classification parameters determined at the
  associated. FIG. 5D shows diagrammatically how this head                        ingress edge unit and without reclassifying any data
  frag/tail frag process can be implemented. Initially, previous                  packet at the destination egress edge unit.
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                                                        US 8,116,315 B2
                                19                                                                       20
     2. The method of claim 1, wherein constructing the classi-               12. A system for the classification of data packets in a
  fication index, comprises incorporating the set of classifica-           telecommunications system, comprising:
  tion parameters for each of the plurality of data packets in the            at least one ingress edge unit coupled to an optical switch
  classification index.                                                          core, wherein the at least one ingress edge unit is con-
     3. The method of claim 1, wherein the determining a set of       5          figured to
  classification parameters for each of the plurality of data                    receive a data packet;
  packets further comprises:                                                     determine classification parameters for the data packet,
     for each of the plurality of data packets, determining the                     including one or more quality of service (QoS)
        destination egress edge unit out of a plurality of egress                   parameters;
                                                                      10
        edge units and determining the associated destination                    communicate the data packet and the classification
        egress port out of a plurality of egress ports within the                   parameters associated with the data packet to the opti-
        determined destination egress edge unit.                                    cal switch core, wherein the at least one ingress edge
     4. The method of claim 3, further comprising accessing a                       unit is configured to communicate the classification
  look-up table to correlate a destination IP address to the          15
                                                                                    parameters as part of a classification index including
  determined destination egress edge unit and the destination                       the classification parameters for a plurality of data
  egress port for each of the plurality of data packets.                            packets and information about each of a plurality of
     5. The method of claim 1, wherein the plurality of data                        queues associated with the QoS parameters; and
  packets is subdivided into at least one port bundle, and further            at least one egress edge unit coupled to the optical switch
  comprising:                                                         20         core, wherein the at least one egress edge unit is config-
     determining a first set of common classification param-                     ured to
        eters, wherein the first set of common classification                    receive the data packet;
        parameters are common to each data packet in a port                      process the classification parameters associated with the
        bundle.                                                                     data packet; and
     6. The method of claim 5, further comprising:                    25         route the data packet to a destination egress port within
     determining a second set of common classification param-                       the at least one egress edge unit according the classi-
        eters, wherein the second set of common classification                      fication parameters determined at the at least one
        parameters are common to each port bundle; and                              ingress edge unit and without requiring reclassifica-
     transporting the first set and the second set of common                        tion of the data packet.
        classification parameters to the destination egress edge      30
                                                                              13. The system of claim 12, further comprising:
        unit.
                                                                              at least one ingress packet link connecting the at least one
     7. A method for data packet processing in a telecommuni-
                                                                                 ingress edge unit and the optical switch core; and
  cations system, comprising:
                                                                              at least one egress packet link connecting the optical switch
     at an ingress edge unit of a router, determining a set of
                                                                                 core and the at least one egress edge unit,
        classification parameters for a data packet arriving at the   35
                                                                              wherein the classification parameters are communicated to
        ingress edge unit, wherein the classification parameters
                                                                                 the at least one egress edge unit via the at least one
        include destination information and one or more quality
                                                                                 ingress packet link and the at least one egress packet
        of service (QoS) parameters for the data packet, and
                                                                                 link.
        wherein the destination information includes a destina-
                                                                              14. The system of claim 12, further comprising:
        tion egress port of the router;                               40
                                                                              at least one ingress control link connecting the at least one
     constructing a classification index including the set of clas-
                                                                                 ingress edge unit and the optical switch core; and
        sification parameters for a plurality of data packets, and
                                                                              at least one egress control link connecting the optical
        also including information about a plurality of queues
                                                                                 switch core and the at least one egress edge unit,
        associated with the QoS parameters;
                                                                              wherein the classification parameters are communicated to
     forwarding the classification index to at least one destina-     45
                                                                                 the at least one egress edge unit via the at least one
        tion edge unit of the router, including a destination edge
                                                                                 ingress control link and the at least one egress control
        unit associated with the destination egress port associ-
                                                                                 link.
        ated with the data packet; and
                                                                              15. A method of routing a plurality of data packets through
     forwarding the data packet to the destination egress port
                                                                           a network, comprising:
        according to the classification parameters determined at      50
                                                                              at an ingress edge unit, determining a set of classification
        the ingress edge unit and without requiring reclassifica-
        tion of the data packet.                                                 parameters for each of the plurality of data packets arriv-
     8. The method of claim 7, further comprising configuring                    ing at the ingress edge unit, wherein the set of classifi-
  an optical core of the router to route the data packet from the                cation parameters includes destination information and
  ingress edge unit to the destination egress port.                   55         wherein the destination information includes a destina-
     9. The method of claim 8, further comprising:                               tion egress edge unit, wherein determining a set of clas-
     determining a destination egress edge unit associated with                  sification parameters for each of the plurality of data
        the destination egress port for the data packet; and                     packets further comprises, for each of the plurality of
     transporting the data packet to the determined destination                  data packets, determining a destination egress edge unit
        egress edge unit.                                             60
                                                                                 out of a plurality of egress edge units and determining a
     10. The method of claim 9, further comprising accessing a
                                                                                 destination egress port out of a plurality of egress ports
  look-up table to correlate a destination IP address to the
  determined destination egress edge unit and the destination                    within the determined destination egress edge unit, and
  egress port.                                                                   wherein determining a set of classification parameters
     11. The method of claim 7, further comprising:                   65         for each of the plurality of data packets further includes
     constructing the classification index to include the destina-               determining a set of quality of service (QoS) parameters
        tion egress edge unit and the destination egress port.                   associated with each of the plurality of data packets;
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                                                        US 8,116,315 B2
                                21                                                                      22
     constructing a classification index including the QoS                  17. A method of routing a plurality of data packets through
        parameters for each of the plurality of data packets,            a network, comprising:
        wherein the constructing comprises including, in the                at an ingress edge unit, determining a set of classification
        classification index, information about each of a plural-              parameters for each of the plurality of data rackets arriv-
        ity of queues associated with the QoS parameters;                      ing at the ingress edge unit wherein the set of classifica-
                                                                               tion parameters includes destination information and
     transporting the plurality of data packets to the destination
                                                                               wherein the destination information includes a destina-
        egress edge unit;                                                      tion egress edge unit; and further comprising at the
     at the destination egress edge unit, routing each of the                  ingress edge unit:
        plurality of data packets to the associated destination             creating a port bundle comprising data packets including a
                                                                    10
        egress port within the destination egress edge unit based              first set of common classification parameters;
        on the classification parameters determined at the                  extracting common information from the data packets in
        ingress edge unit and without reclassifying any data                   the port bundle;
        packet at the destination egress edge unit; and                     storing the common information and classification infor-
     forwarding the classification index to the destination egress 15          mation for each of the plurality of data packets in an
                                                                               overhead for the port bundle; and
        edge unit.
                                                                            assembling a plurality of port bundles including a second
     16. A method of routing a plurality of data packets through               set of common classification parameters into a super
  a network, comprising:                                                       packet;
     at an ingress edge unit, determining a set of classification           transporting the plurality of data packets to the destination
        parameters for each of the plurality of data packets arriv- 20         egress edge unit; and
        ing at the ingress edge unit, wherein the set of classifi-          at the destination egress edge unit, routing each of the
        cation parameters includes destination information and                 plurality of data packets to an associated destination
        wherein the destination information includes a destina-                egress port within the destination egress edge unit based
        tion egress edge unit, wherein determining a set of clas-              on the classification parameters determined at the
        sification parameters for each of the plurality of data 25             ingress edge unit and without reclassifying any data
                                                                               packet at the destination egress edge unit.
        packets further comprises, for each of the plurality of
                                                                            18. The method of claim 17, further comprising at the
        data packets, determining a destination egress edge unit         ingress edge unit:
        out of a plurality of egress edge units and determining a           extracting common information from the plurality of port
        destination egress port out of a plurality of egress ports             bundles; and
        within the determined destination egress edge unit, and 30          storing the common information and classification infor-
        wherein determining a set of classification parameters                 mation for each of the plurality of port bundles in an
        for each of the plurality of data packets further includes             overhead for the super packet.
        determining a set of quality of service (QoS) parameters            19. The method of claim 18, further comprising at the
        associated with each of the plurality of data packets;           ingress edge unit:
                                                                    35
     constructing a classification index including the QoS                  constructing a classification index for the super packet, the
        parameters for each of the plurality of data packets,                  classification index including classification parameters
        wherein the constructing comprises constructing a QoS                  for each of the plurality of data packets in the super
        vector, the QoS vector being code points of compressed                 packet; and
        QoS parameters, and placing the QoS vector in the clas- 40          storing the classification index in an overhead of the super
        sification index;                                                      packet.
                                                                            20. The method of claim 17, wherein a fragment of a
     transporting the plurality of data packets to the destination
                                                                         fragmented data packet is stored one of the plurality of port
        egress edge unit;
                                                                         bundles in the super packet to fill a remaining space of the
     at the destination egress edge unit, routing each of the
                                                                         super packet and an associated flag is set to indicate which
        plurality of data packets to the associated destination 45
                                                                         portion of the fragmented data packet is stored in the super
        egress port within the destination egress edge unit based
                                                                         packet.
        on the classification parameters determined at the
                                                                            21. The method of claim 19, wherein the classification
        ingress edge unit and without reclassifying any data
                                                                         index comprises an entry for each of the plurality of data
        packet at the destination egress edge unit; and
                                                                         packets in the super packet.
     forwarding the classification index to the destination egress so
        edge unit.                                                                              *   *   *    *   *
     Case 1:21-cv-01323-CFC Document 1-1 Filed 09/17/21 Page 186 of 440 PageID #: 235

                              UNITED STATES PATENT AND TRADEMARK OFFICE
                                   CERTIFICATE OF CORRECTION
PATENT NO.                 : 8,116,315 B2                                                                                      Page 1 of 1
APPLICATION NO.            : 11/471149
DATED                      : February 14, 2012
INVENTOR(S)                : Posey, Jr.

It is certified that error appears in the above-identified patent and that said Letters Patent is hereby corrected as shown below:

         Title page, item (57), under "Abstract", in Column 2, Line 8, delete "according the" and
         insert -- according to the --.

         Title Page 2, item (56), under "Other Publications", in Column 2, Line 1, delete "Integratio"," and
         insert -- integration", --.

         Title Page 2, item (56), under "Other Publications", in Column 2, Line 11, delete "1194-Jun." and
         insert -- 1994-Jun. --.

         Title Page 2, item (56), under "Other Publications", in Column 2, Line 22, delete "Tuneable" and
         insert -- Tunable --.

         Column 1, line 8, delete "10,138,760," and insert -- 10/138,760, --.

         Column 19, line 2, in Claim 2, delete "index, comprises" and insert -- index comprises --.

         Column 20, line 9, in Claim 12, delete "parameters;" and insert -- parameters; and --.

         Column 20, line 26, in Claim 12, delete "according the" and insert -- according to the --.

         Column 22, line 4, in Claim 17, delete "data rackets" and insert -- data packets --.

         Column 22, line 5, in Claim 17, delete "unit wherein" and insert -- unit, wherein --.




                                                                                  Signed and Sealed this
                                                                             Twenty-eighth Day of August, 2012




                                                                                                    David J. Kappos
                                                                               Director of the United States Patent and Trademark Dice
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                        Exhibit N
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                                                                                 11111111111111101111111111!),I11)
                                                                                               915111111111111111111101
                                                                                                 J1
  (12)   United States Patent                                                              (10) Patent No.:     US                            7,209,950 B2
         Bennett et al.                                                                    (45) Date of Patent:                                 Apr. 24, 2007

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                                                                                                                                     et al.              455/461
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                       patent is extended or adjusted under 35                              6,603,974               Bl* 8/2003       Rollender           455/466
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  (21)    Appl. No.: 09/921,167                                                         2002/0032800                Al * 3/2002      Puuskari et al.      709/246
                                                                                        2004/0171396                Al * 9/2004      Carey et al.        455/466
  (22)    Filed:       Aug. 2, 2001                                                                            FOREIGN PATENT DOCUMENTS
  (65)                   Prior Publication Data                                     EP                              0 777394 Al   6/1997
                                                                                    EP                                777394 Al * 6/1997
          US 2002/0112014 Al          Aug. 15, 2002
                                                                                                                             (Continued)
                   Related U.S. Application Data                                    Primary Examiner Nathan J. Flynn
  (60)    Provisional application No. 60/225,603, filed on Aug.                     Assistant Examiner Ashok Patel
          15, 2000.                                                                 (74) Attorney, Agent, or Firm Norman E. Henderson

  (51)    Int. Cl.                                                                  (57)                                    ABSTRACT
          GO6F 15/16          (2006.01)
          H04L 29/08          (2006.01)                                             Techniques are described for facilitating communication
                                                                                    among a plurality of different telecommunications systems.
  (52)    U.S. Cl.                709/206; 709/238; 709/230;
                                                                                    Communications from a sending network are forwarded to
                                                   455/414.4
                                                                                    a server that places the communications in a format accept-
  (58) Field of Classification Search             455/414.1,
                                                                                    able to a second receiving network. The server maps an
                    455/414.2, 414.3, 414.4, 456.3, 414, 428,
                                                                                    incoming message into any one or more of a variety of
       455/517, 518, 522, 560; 709/206, 246; 370/351-355,
                                                                                    formats in accordance with a format acceptable by a receiv-
                                           370/466-469, 401
                                                                                    ing network. These communications may include, for
        See application file for complete search history.
                                                                                    example, short messages service (SMS) messages in which
  (56)                   References Cited                                           the sending and receiving telecommunications systems each
                                                                                    have different routing information, such as different elec-
                    U.S. PATENT DOCUMENTS                                           tronic addressing formats.
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                                                                   CELLULAR
                                               ROUTING r
                                               DATABASE;
                                                                   OPERATOR

                                                   _
                                                      WEB
                                                     SERVER
                                                       24

                                                                                  CELLULAR
                                                                        3HTP     OPERATOR A         J
                                                                   ABB GATEWAY                    \\"..
                                                                          22     MASTER
                                                                                 SWITCH    BABE
                                                                                  44.     STATION
                                                                     SINSC
                                                                        SC                  466
                                                                                                           RADIO
                                                                      3B                                   O    R
                                                                                              U             aea

                                                                  WEB SMS
                                                                 APPLICATION
                                                                     420          CELLULAR
                                                                                 OPERATORS
                                                           40b

                                                                                 MASTER
                                                                                 SWITCH BASE
                                                                                   44b STATION
                                                                     SMSC                aeb
                                                                      43b
                                                                                                          RA




                                                                                  CELLULAR
                                                                                 OPERATOR C

                                                           40C     DIRECT SMSC                    •41,1„
                                                                   CONNECTION
                                                                        26       MASTER
                                                                                 SWITCH    BASE

                                                                     SMSC                 STATION
                                                                                            46c             48C
                                                                                                          RADIO
                                                                                                          TOWER
Case 1:21-cv-01323-CFC Document 1-1 Filed 09/17/21 Page 189 of 440 PageID #: 238


                                    US 7,209,950 B2
                                         Page 2


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  EP          959600 Al * 11/1999             WO        WO 00/41533       7/2000
  WO     WO 97/20442       6/1997
  WO     WO 97/36434      10/1997
  WO     WO 9810608 A3 * 3/1998               * cited by examiner
             WEB
            TO SMS
              12
      taxa
                                                                                                                                lualud *S11




        O                                                                                    SMSC
                                                          CELCO         22                 CELLULAR
                                                26a    I ROUTING
                     PC                                                                   OPERATOR A
                                                       ;DATABASE;                            r18
                                          WWW
             WAP PHONE                                                                                           toxa
                                                                                           ©cam     O
              TO SMS                                                                         1111                O
                 14                             26b                 25a
             baxa                                                               WWW
                                                                                                                             LOOZ `17Z *AdV




                      0                   WWW                                                           00 0
                                                                TIAXA                                           SMS
                                                                             WEB SERVER                        PHONE
                                                                              AND SMS                            20
                                                                               ROUTER
                                                                                  24
    MO SMS PHONE                 25b
    TO SMS PHONE
                                                                                                                        81 Jo I JaatiS




toxa     16               cicD
aso                              I' l l
                                             SMSC
                                           CELLULAR
             0o o                         OPERATOR B
                                              26C



                                                             FIG. 1
                                                                                                                        Zll 0S6`60VL Sfl
                                                                                                                                              Case 1:21-cv-01323-CFC Document 1-1 Filed 09/17/21 Page 190 of 440 PageID #: 239
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                                                                                            60


         CELCO          22          CELLULAR
        ROUTING                     OPERATOR
      ;DATABASE
      L
                  WEB
                SERVER
          /
              p\_.- 24

               TIAXA                                                CELLULAR
                                          SMTP                     OPERATOR A
                                        GATEWAY
                                    40a                                     \\*Nii/v/
                                                                                    50a
                                        c - 42a                MASTER
                         WWW                                   SWITCH  BASE
                                                                 44a  STATION
                                      SMSC      00                —     46a
                                                 1 111                  0                  RADIO
                                       43a                                                 TOWER
                                                                                            48a
                                    CELCO
                              I    WEB SMS
                                  APPLICATION
                                      42b fl                        CELLULAR
                                                                   OPERATOR B
                  40b                                                                50b
                                                                   MASTER
                         WWW                                       SWITCH BASE
                                                                     44b STATION
                                      SMSC      ==       ==          =   0
                                                                           46b
                                       43b
                                                              II
                                                                     === o             48b
                                                                                      RADIO
                                                                                      TOWER


                                                                    CELLULAR
                                                                   OPERATOR C

                   40C       DIRECT SMSC                                        \\   50c
                             CONNECTION
                                r -42c                             MASTER
                         WWW                                       SWITCH
                                                                           BASE
                                                                     44C
                                      SMSC                                STATION
                                                         00          == ❑
                                       43c               = litt             46C        48C
                                                                                      RADIO
                                                                                      TOWER



                                          FIG. 1A
Case 1:21-cv-01323-CFC Document 1-1 Filed 09/17/21 Page 192 of 440 PageID #: 241


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         70 —'
                                                          USER ENTERS
                                                        www.tiaxa.com FROM              72
                                         WWW
                                                              WEB OR
                                                        wap.tiaxa.com FROM
                  HOME PAGE         74                     WAP PHONE


                               76
                     IS                             USER ENTERS SEND MESSAGE PAGE 80
                    USER             YES
                 REGIS i t_FIED
                      '?
                                                                                                  ("v./ 81
                                                               USERS NAME
                    NO       c78
                                                           RECIPIENTS NAME
                    USER                                 RECIPIENTS COUNTRY
                 REGISTRATION
                   PROCESS
                                         (QUERY ALSO
                                                             CONSULT DATABASE
                                         USED DURING                                    ROUTING
                                                               FOR COUNTRY
                                         REGISTRATION                                   DATABASE
                                                              NUMBER FORMAT
                                           PROCESS)
                                                        82

                                                      NUMBER FORMAT EXAMPLE . -,..84a
                                                      RETURNED FROM DB ENTRY
                                                     RECIPIENTS PHONE NUMBER H. 84b                v   84

                                                     MESSAGE TEXT OR CONTENT I--\.84c

                              ` --106
                                                                  SEND         86
                 GENERATE ERROR PAGE
                                                                                     r 88

                    THE RECIPIENT'S                      CONSULT DATABASE FOR                ROUTING
                     PHONE NUMBER                       RECIPIENTS PHONE NUMBER              DATABASE
                 IS NOT IN OUR SYSTEM
                                                                    90
                                                           IS                          SEE DETAIL IN
                                         104   NO       NUMBER IN        YES
                                                                                    "DATABASE LOOKUP
                                                        DATABASE                      FLOW DIAGRAM"
                                                            9
                                                                                     (-92

                                                                 CONSULT DATABASE            F77_
          FROM 98                                                                              ROUTING
                                                                   FOR REQUIRED
           FIG. 2B                                                ROUTING METHOD               DATABASE


                                                                          TO 94
                                                 FIG. 2A                 FIG. 2B
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         TO 74
        FIG. 2A                                                        FROM 92
                                                                        FIG. 2A




                         GENERATE ERROR PAGE

                                       (— 100

                THE RECIPIENTS CELLULAR
               COMPANY HAS NOT ENABLED
                  MESSAGING SERVICES
                                                                                     94
                                                                 NO        IS
                                                                      ROUTING INFO
                                                                        KNOWN
                                                                            9

                                                                       YES
                             98
                         r
              YOUR MESSAGE HAS BEEN
                                                   FORMAT MESSAGE,
                                                 SPAM CHECK AND SEND         96
                SUCCESSFULLY SENT                VIA METHOD RETURNED
            1.........
                                                  IN DATABASE LOOKUP




                                 SMTP              WEB POSTING           DIRECT SMSC
                             MESSAGE TYPE          APPLICATION           CONNECTION

                                   (.- 108a                108 b                  108C
                                                   WEB SMS SENT




                                              FIG. 2B
              120                                                                                 SMS BODY TEXT (RECIPIENT
                                                                                                     NOT IN BUDDY LIST)
                                                                                           122a      *13055880162 HOLA
                                                                                                                                lualud °S'a




                                                                                                  SOAMES, HOW'S THE BABY?
                                        (-126
                                                                        (-124                          SMS BODY TEXT
                                        SMS POLLED                                                (RECIPIENT IN BUDDY LIST)
                                         FROM SMSC                SENDERS PHONE
                           VVVVW                                NUMBER TAGGED ON                       SOAMES HOLA
                                        OR RECEIVED                                               SOAMES, HOW'S THE BABY?
                                       IN EMAIL FORM            TO POLLED SMS SMSC                L       —I`
      RECEIVED SMS IS
      PARSED. SENDERS      128                                                                        SMS BODY TEXT
       MOBILE NUMBER                             RECEIVED SMS IS                                      (CONTENT PULL)
                                                PARSED BEGIN WITH          136
         EXTRACTED                                                                                      STOCK NOK
                                                A PHONE NUMBER ?

         CONSULT I.                                                 138                                                  122C
130                         WEB                    CONSULT                   WEB
         DATABASE
                        : DATABASE :               DATABASE                DATABASE :
                                                                                                                                81 JO S WIN




            IS     132                       140
         SENDER      YES                               PHONE
        REGISTERED                                                NO        CONSULT
                                                       NUMBER               DATABASE
                                                          7

              NO                                                    YES
       USER          134
  \REGISTRATION/N-r-                                   TO 144                           TO 182
      PROCESS                                                                           FIG. 3B
                                                       FIG. 3B

                                                              FIG. 3A
                                                                                                                                 Zll 0S6`60eL Sfl
                                                                                                                                                    Case 1:21-cv-01323-CFC Document 1-1 Filed 09/17/21 Page 194 of 440 PageID #: 243
                                                FROM 140                         FROM 142
                                                 FIG. 3A                          FIG. 3A
                                                              (_144                                                   c- 186
                                                RECEIVED SMS IS                                    GENERATE ERROR SMS         14
                                                                                                                                          lualud °S11




          SEE DETAIL IN "DATABASE              PARSED RECIPIENT
          LOOKUP FLOW DIAGRAM"                   COUNTRY CODE                                                           188
                                                  EXTRACTED            LOOKUP "1" I
                                                                                                  [.......COMMAND INVALID

                                                                        ------
                              146          CONSULT DATABASE 1-4--0.1 ROUTING
                                                                     DATABASE                                   WEB
                                                                                                                                    LOOZ `rz '.idy




                                                                                                              DATABASE
                         (- 150                      IS       148                                                           (-190
      r 154
SMS RETURNED           GENERATE           NO      COUNTRY                               BUDDIES   NO
                                                  LOCATED             182                NAME            CONSULT DATABASE I
 TO SENDER             ERROR SMS


                                                       YES                                                                    192
                     PLEASE CHECK                                                           YES
                     COUNTRY CODE                             (-168                                                            NO
                                                                                                              KEYWORD
                                                                                                                                       8I JO 9 JamiS




                                                RECEIVED SMS IS
                                    152        PARSED RECIPIENT           LOOKUP
                                                PHONE NUMBER            "3055880162"                                 YES
                                                  EXTRACTED


                              170     HCONSULT DATABASE                0.! ROUTING
              FROM 156                                                   i_DATABASE
                                                                               ---- ;
               FIG. 3C                     TO 172                                       TO 184                TO 194
                                           FIG. 3C                                      FIG. 3C               FIG. 3C
                                                         FIG. 3B
                                                                                                                                          Zll 0S6`60Z`L Sfl
                                                                                                                                                              Case 1:21-cv-01323-CFC Document 1-1 Filed 09/17/21 Page 195 of 440 PageID #: 244
TO 150                                         FROM 170
FIG. 3B                                         FIG. 3B
                                                                                   FROM 182               FROM 192
                                                                                                                                          lualud °S11




                                                                                    FIG 3B                 FIG. 3B
                   r    156
                                                   IS                                            184               (-194
  -0-1 GENERATE ERROR SMS              NO       NUMBER IN          172                       C
                                                DATABASE                       SEND TO BUDDY           RETURN CONTENT
                                                                                                        OR APPLICATION
        THE RECIPIENTS           158
                                                                  174
       PHONE NUMBER IS                                YES
       NOT IN OUR SYSTEM                     CONSULT DATABASE
                                                                                                                                    LOOZ `rz '.idy




                                               FOR REQUIRED             ROUTING
                                              ROUTING METHOD            DATABASE


                       c-160
                                                    IS
      GENERATE ERROR SMS                 NO    ROUTING INFO        176
                                                 KNOWN
                                                    7
                                       162
                                                                    178
                                                                                                                                          81 JO L WIN




     THE RECIPIENTS CELLULAR                         YES
    COMPANY HAS NOT ENABLED
       MESSAGING SERVICES                RECEIVED SMS IS PARSED
                                             MESSAGE BODY
              -.foe                         TEXT EXTRACTED
                           164
      GENERATE REPORT SMS
                                         FORMAT MESSAGE, SPAM                   SMTP               WEB POSTING     DIRECT SMSC
                                       CHECK AND SEND VIA METHOD               MESSAGE             APPLICATION     CONNECTION
          MESSAGE SENT                 RETURED IN DATABASE LOOKUP                TYPE
                                                                   L180            L. 196a           196b
                           166                                                                                             L 196C
                                                                                             MO SMS FORWARDED
                                                              FIG. 3C
                                                                                                                                          Zll 0S6`60Z`L Sfl
                                                                                                                                                              Case 1:21-cv-01323-CFC Document 1-1 Filed 09/17/21 Page 196 of 440 PageID #: 245
            FROM WEB OR WAP        204    EXAMPLE RECIPIENT                                                         200
           MESSENGER (USER CAN             PHONE NUMBER:                        FROM MO
                                                                                              206
              ALSO MANUALLY                  13055880162                       SMS PHONE
                                                                                                                             lualud °S11




             SELECT COUNTRY)

                                                PARSE NUMBER                      224
                                               SELECTING FIRST ti 208                      FROM THE " MESSENGER"
                                                   MS DIGIT
                                                                                             THE USER CAN ALSO
                                                                                               PRE-SELECT THE
                                   210        CONSULT DATABASE          ROUTING               COUNTRY, IN THIS
                                                                        DATABASE               CASE PROCESS
                                                                                                STARTS HERE)
                                                      IS
                                                   " 1" IN
           214      RETURN ERROR         NO     "CODE" FIELD           212
                                                OF NUMBERS
                                                      Db
                                                       '?
                                                       YES
                                                                                                                             81 JO 8 JamiS




                                                               216
                                                      IS
         PARSE NUMBER                    NO      THERE ONLY                      RETURN
                                                                 YES          CORRESPONDING
236     SELECTING FIRST                         ONE INSTANCE
      AND SECOND MS DIGIT                           OF "1"                       COUNTRY

                                                                                                         220
238   CONSULT DATABASE       ROUTING
                             DATABASE                                         REMOVE COUNTRY CODE
                                                                             FROM NUMBER AND LOOKUP        ROUTING
                                                FROM 246      /              IN THE RETURNED COUNTRY       DATABASE
            TO 240                               FIG 4B TO 222
            FIG. 4B                                      FIG. 4B
                                                                                                                   FIG. 4A
                                                                                                                                Zll 0S6`60Z`L Sfl
                                                                                                                                                    Case 1:21-cv-01323-CFC Document 1-1 Filed 09/17/21 Page 197 of 440 PageID #: 246
                   FROM 238             TO 218                                                               FROM 220
                    FIG. 4A             FIG. 4A                                                               FIG. 4A

        242 i      240
                                                                       226
                              IS
                                                                                                                                       lualud °S11




                                                                                                         IS
                           " 13" IN                      ERROR: THE RECIPIENTS                   "3055880162" IN THE      222
RETURN ERROR SMS   NO    "CODE" FIELD                                                 NO        "FN FROM" TO "FN TO"
                                                            PHONE NUMBER IS
                         OF NUMBERS                        NOT IN OUR SYSTEM                  RANGES FOR THE COUNTRY
                              Db                                                                     RETURNED
                               7                             _......./-                                ABOVE
                               YES
                                                                                                        7
                                        246
                                                                                                             YES
                                                                                                                                LOOZ `rz '.idy




                               IS
                   NO     THERE ONLY     YES
                         ONE INSTANCE                              c 230                                            228
                                                                                                        IS
                            OF "13"                                                                   THERE A
                                ?                   ERROR: THE RECIPIENTS                       MESSAGING FORMAT
                                                    CELLULAR COMPANY HAS                 NO
                                                                                                 DEFINED FOR THE
         ETC.                                 NOT ENABLED MESSAGING SERVICES
          1                                    ....           .0'1"       -.......„....,
                                                                                                RETURNED CELCO IN
                                                                                                   " MSG CODE"
                                                                                                                                    81 JO 6 JamiS




                                                                                                        7'

                                                                                                             YES

                                                                                    232.—/-1 RETURN MESSAGING TYPE



                                                                             234`       FORMAT ACCORDING TO "MSG CODE"
                                                                                           AND "STUFF CODE" AND SEND

                                                      FIG. 4B
                                                                                                                                       Zll 0S6`60Z`L Sfl
                                                                                                                                                           Case 1:21-cv-01323-CFC Document 1-1 Filed 09/17/21 Page 198 of 440 PageID #: 247
                                                                                                             300
                                                     SMTP
                                                  MESSAGE TYPE                                         I-
                                                                                                                            wawa °S11




                                              1
     FRONT END PROCESS:                                                       BACKGROUND PROCESS:
     FIELDS INPUT BY USER                                                   SMTP EMAIL GENERATED 304
   IN TIAXA MESSENGER 302

                               306                FROM:     RECIPIENTS NAME ,-....312
                                                                                                              (-314b
USERS NAME 1-, --306a                                                           I -314a
                                                  TO:    RECIPIENTS PHONE NUMBER I @      EMAIL FORMAT ROUTING DATABASE 1
RECIPIENTS NAME 1------306b
                                        310       CC:    NAMES FROM BUDDY LIST h-- 316
RECIPIENTS COUNTRY 1 .--- 306C
                                                  SUBJECT: CONTENT TITLE OR "FROM TIAXA" h-.318
                                 308
                                                        MESSAGE BODY COMPRISED OF:
                                                                                                                             81 JO 01 WIN




NUMBER FORMAT EXAMPLE    ,-•-•-•308a
RETURNED FROM DB ENQUIRY                                                                                    320
                                                         MESSAGE TEXT OR CONTENT...
RECIPIENTS PHONE NUMBER       H308b
                                                                                              (-320a
MESSAGE TEXT OR CONTENT... F-N-, 308C                    USERS NAME H -320b




                                                            FIG. 5
                                                                                                                             Zll 0S6`60Z`L Sfl
                                                                                                                                                 Case 1:21-cv-01323-CFC Document 1-1 Filed 09/17/21 Page 199 of 440 PageID #: 248
                                                                                                       r   .- 330
                                          WEB POSTING
                                          APPLICATION
                                                                                                                          lualud °S11




     FRONT END PROCESS:                                             BACKGROUND PROCESS:
     FIELDS INPUT BY USER                                       POST TO CELLULAR OPERATORS
   IN TIAXA MESSENGER 332                                     EXISTING WEB SMS APPLICATION 334

                                336      FROM:     RECIPIENTS NAME      ..• 340
                                                                             342
USERS NAME H --336a                                                     r
                                         TO:    RECIPIENTS PHONE NUMBER I
                                                                                                                    LOOZ `rz '.idy




RECIPIENTS NAME f------336b
                                         CC:     NAMES FROM BUDDY LIST h-- 344
RECIPIENTS COUNTRY I---- 336C
                                                                                . 1.-‘, 346
                                         SUBJECT: CONTENT TITLE OR "FROM TIAXA" 1
                                  338
                                               MESSAGE BODY COMPRISED OF:
NUMBER FORMAT EXAMPLE
                                                                                                                        81 JO H WIN




                         H338a
RETURNED FROM DB ENQUIRY                                                                         348
                                                MESSAGE TEXT OR CONTENT...
RECIPIENTS PHONE NUMBER       F.--338b

MESSAGE TEXT OR CONTENT... H 338C                                                  (— 348a
                                                USERS NAME I-- --348b




                                                   FIG. 6
                                                                                                                          Zll 0S6`60Z`L Sfl
                                                                                                                                              Case 1:21-cv-01323-CFC Document 1-1 Filed 09/17/21 Page 200 of 440 PageID #: 249
                                                                                                         360
                                              DIRECT SMSC
                                              CONNECTION
                                                                                                                          lualud °S'a




    FRONT END PROCESS:                                                      BACKGROUND PROCESS:
    FIELDS INPUT BY USER                                                     3RD PARTY SOFTWARE
   IN TIAXA MESSENGER 362                                                     COMMAND LINE 364
                                                                370b                               1-- - 370C
                                 3a,Q
                                                (CALL APPLICATION)     -p   L   (PROVIDERS SMSC PROTOCOL)       I
USERS NAME I---- 366a

RECIPIENTS NAME      366b
                                             1—.1 RECIPIENTS PHONE NUMBER I MESSAGE TEXT OR CONTENT... I
RECIPIENTS COUNTRY 1----- 366C                                              L372a                       L 372b
                                              A TYPICAL CELLULAR OPERATOR SMSC CONNECTION SPECIFICATION FILE
                                   368        (CELLULAR OPERATOR X)
                                                                                                                    374
                                              ADDRESS=127.1.1.1
NUMBER FORMAL EXAMPLE    v-- 368a             PORT=12345
RETURNED FROM DB ENQUIRY i .                  LINETYPE=TCP
                                              PROTOCOL=SMPP
                                                                                                                          81 JO Z1 WIN




                                              PREFIX=5670I+9
RECIPIENTS PHONE NUMBER           368b
                                              MSGTYPE=ALPHANUMERIC
MESSAGE TEXT OR CONTENT... I"-, 368C          MSGLEN=160
                                              USEUCP60=1
                                              UCP6OPASSWORD=
                                              USERID=>
                                         L



                                                     FIG. 7
                                                                                                                          Zll 0S6`60eL Sfl
                                                                                                                                             Case 1:21-cv-01323-CFC Document 1-1 Filed 09/17/21 Page 201 of 440 PageID #: 250
Case 1:21-cv-01323-CFC Document 1-1 Filed 09/17/21 Page 202 of 440 PageID #: 251


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                                                                      NUMBERS 406
           STUFFING 402
                                                                     CELCOID 406a
        FORMAT 402a
                                                                     CODE 406b
        STUFF CODE 402b      I--              CELCOS 404
                                         CELCOID 404a           I-   PREFIX 4060
        COMMENTS 402c
                                         CELCO 404b                  N FROM 406d

                                         CELCO_EMAIL 4040            N TO 406e

                                         •STUFF_CODE 404d            FN FROM 406f

                                         MSG CODE 404e          I-   FN_TO 406g

                                     --.COUNTRY 404f                 RECORDID 406h
        COUNTRY_SPECS 410
        COUNTRY 410a               .--   CONNECTION 404q

        CODE 410b                        NUMBER CHARS 404h           MSG TYPE 408

        DIGITS 410C                      URL 4041                    TYPEID 406a

        MIN EXAMPLE 410d                                             TYPEDESC 406b

        HELP_SPAN 410e                                               COMMENTS 4060

        HELP ENG 410f

        HELP_POR 410g

        COMMENT 410h



                                             FIG. 8
                                                                                                               lualud .s.9




  EXAMPLE OF CONTENTS OF "STUFFING" TABLE 402

 FORMAT                                         STUFF CODE   COMMENTS
  402a                                             402b        402C

NO COMMENTS                                         0
(number)@email                                      1
(prefix)(number)@email                              2
(stuffed"0")(prefix"15")(number)@email             3
(stuffed"1")(area)(number)@email                    4
(stuffed"15")(number)@email                         5
(stuffed"52")(prefix)(number) @email                6
(stuffed"0")(prefix)(number)@email                  7
"mensajes"@email                                    8        CELCO X...ALL EMAILS ARE SENT TO mensajes@email
"nexmail"@email                                     9        CELCO Y...ALL EMAILS ARE SENT TO nexmail@email
(stuffed "706")(number)@email                      10        CELCO W
                                                                                                                 81 JO pi WIN




(stuffed "076")(number)@email                      11        CELCO W
(NUMBER)                                           12        http://web.wepostapp.com/
(NUMBER)                                           13        application




                                                   FIG. 9
                                                                                                                   Zll 056`60VL Sfl
                                                                                                                                      Case 1:21-cv-01323-CFC Document 1-1 Filed 09/17/21 Page 203 of 440 PageID #: 252
EXAMPLE OF CONTENTS OF "CELCOS" TABLE 404

                                                                                              NUMBER
                                                                                                                         lualud *Sil




  CELCOID         CELCO                 CELCO _EMAIL STUFF CODE MSG CODE COUNTRY CONNECTION    CHARS     URL
   404a            404b                    404C          404d      404e    404f     404q        404h     404i
 CTIARGE       CTI argentina            cti,comar            2        0    AR      email        100    www.cti.com

 BAHACELL      Ba0 celular              bajacelular.commx     6       0    MX      email        100    www.baja.com

 IUSCELL       lusacell                iusacell.commx         2       0    MX      email        100    www.iusa.com

 NORCEL        Norcel                  norcel.commx           6       0    MX      email        100    www.norcel.com

 PORTACEL      Portatel                unknown                0       0    MX                   100    www.porta.com

 TELCELMX      Telcel Mexico           unknown               0        0    MX                   120    www.telcel.corn

 BELLPE        BellSouth Peru          unknown               0        0    PE                   115    www.bspe.com

 NEXTELPERU Nextel Peru                nextel.compe           9       3    PE      email        115    www.nxtl.com
                                                                                                                         81 JO ST WIN




 TELEFOPE      Telefonia Peru          telefon.compe          8       4    PE      email        130    www.telepe.com

 6462          360 COMMUNICATIONS-atel.com                    2       0    US      email        120    www.atel.com
               VIRGINIA

 6228          AB CELLULAR HOLDING mobile.attnet             2        0    US      SMPP         120    www.att.com



                                                            FIG. 10
                                                                                                                          Zll 0S6`60Z`L Sfl
                                                                                                                                              Case 1:21-cv-01323-CFC Document 1-1 Filed 09/17/21 Page 204 of 440 PageID #: 253
EXAMPLE OF CONTENTS OF "NUMBERS" TABLE 406
    CELCOID       CODE         PREFIX        N_FROM     N_TO        FN FROM       FN TO      RECORDID
     406a         406b          406C          406d      406e          406f        406Q         406h
                                                                                                                  Walud *S11




 TELEFOPE          51           1            8600000    8699999    18600000     18699999         1
 TELEFPPE          51           1            9600000    9999999    19900000     19999999         9
 BELLPE            51           1            9500000    9599999    19500000     19599999         15
 NEXTELPERU        51           1            8100000    8199999    18100000     18199999         16
 BAHACELL          52           1            1010000    1016999    11010000     11016999         17
 BAHACELL          52           6            6910000    6919999    66910000     66919999         99
 BAHACELL          52           113          95000      96999      11395000     11396999        103
 IUSACELL          52           4            7280000    7181999    47280000     47281999        462
 •IUSACELL         52           4            7282000    7282999    47282000     47282999        463
 NORCEL            52           17           450000     459999     17450000     17459999       1029
 NORCEL            52          , 17          460000     469999     17460000     17469999       1030
 NORCEL            52           17           580000     589999     17580000     17589999       1031
 NORCEL            52           169          10000      19999      16910000     16919999       1032
 PORTATEL          52           93           906000     909999     93906000     93909999       1190
                                                                                                                  81 JO 91 JamiS




 PORTATEL          52           93           930000     935999     93930000     93935999       1191
 TELCELMX          52                        59840000   59849999   59840000     59849999       3805
 TELCELMX          52                        59910000   59919999   59910000     59919999       3906
 TELCELMX          52                        59950000   59959999   59950000     59959999       3807
 TELCELMX          52                        59970000   59979999   59970000     59979999       3808
 CTIARGE           54           11           41500000   41509999   1141500000   1141509999     3809
 6462              1            804          9890000    9899999    8049890000   8049899999     8120
 6462              1            804          9960000    9969999    8049960000   8049969999     8121
  6228             1            310          2000000    2009999    310200000    3102009999     8122     FIG. 11
                                                                                                                     Zll 0S6`60Z`L Sfl
                                                                                                                                         Case 1:21-cv-01323-CFC Document 1-1 Filed 09/17/21 Page 205 of 440 PageID #: 254
EXAMPLE OF CONTENTS OF "MESSAGE TYPE" TABLE 408
                                                                                                                lualud 'S'll




       TYPEID            TYPEDESC                                     COMMENTS   APPLICATION DESTINATION
        408a               408b                                         408C               408d



        0       Put [Message] In The Email Body                        normal
                                                                                                             LOOZ `rz '.idy




       1        Put [Message] In The Email Subject

        2       Put [subject] [Message] In The Email Subject
        3       Put [Stuffed Number [Message]] in Email Subject        celco A
                Put [Stuffed number] in Email Subject, [Message] in
                The Email Body                                         celco Z
                                                                                                                  81 JO LI WIN




        4
        5       Call Web posting:                                      Celco B   http://web.wepostapp.com/

        6       Call direct SMSC connection application:               Celco C           application


                                                           FIG. 12
                                                                                                                  Zll 0S6`60Z`L Sfl
                                                                                                                                      Case 1:21-cv-01323-CFC Document 1-1 Filed 09/17/21 Page 206 of 440 PageID #: 255
                                                                                                               lualud °S11




EXAMPLE OF CONTENTS OF 'COUNTRY SPECS. " TABLE 410


COUNTRY     CODE     DIGITS       MIN_EXAMPLE            HELP SPAN    HELP_ENG      HELP PORT     COMMENTS
                                                                                                             LOOZ `rz •Adv




 410a       cob       410C              4104               coe           410f          410g         410h

 AR          54        10       11(SIN " 15 " ) 412356   HELP TEXT    HELP TEXT      HELP TEXT     NOTES
                                                         IN SPANISH   IN ENGLISH   IN PORTUGESE
 BR          55        10                    2712345

 EEUU         1        10                 305123456
                                                                                                             81 JO 81 WIN




                                                         FIG. 13
                                                                                                               Zll 0S6`60Z`L Sfl
                                                                                                                                   Case 1:21-cv-01323-CFC Document 1-1 Filed 09/17/21 Page 207 of 440 PageID #: 256
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           METHOD AND APPARATUS FOR A                              forwarded from a sender to a server. The server is connected
           NETWORK INDEPENDENT SHORT                               to the first and second digital mobile network. A routing
            MESSAGE DELIVERY SYSTEM                                database is used to relate an identification number associated
                                                                   with the receiver to corresponding routing path information
            CROSS REFERENCES TO RELATED                          5 associated with the second digital mobile network. The
                         APPLICATIONS                              message is forwarded to the receiver in accordance with the
                                                                   corresponding routing path information.
     This application claims priority from U.S. provisional           In accordance with another aspect of the invention is a
  patent application No. 60/225,603 filed on Aug. 15, 2000.        computer program product for routing a message from a
                                                                10 sender in a first digital mobile network to a receiver in a
                         BACKGROUND                                second different digital mobile network. The message may
                                                                   also be sent from a web page, in either case, a message is
     This application generally relates to telecommunications,     forwarded from a sender to a server. The server is connected
  and more particularly to unification of different messaging      to the first and second digital mobile networks. A routing
  systems as may be used in a telecommunication system.         15 database is used to relate an identification number associated
     Messaging systems, such as those used in cellular net-        with the receiver to corresponding routing path information
  works for mobile telecommunications, may each employ             associated with the second digital mobile network. The
  their own messaging and address formats. This may pose a         message is forwarded to the receiver in accordance with the
  problem when a message is routed between two different           corresponding routing path information.
  cellular networks. An example of this may occur, for 20
  example, when a user from one cellular network or carrier              BRIEF DESCRIPTION OF THE DRAWINGS
  sends a message to another user on a different cellular
  network.                                                            Features and advantages of the present invention will
     One particular type of messaging format and service is        become more apparent from the following detailed descrip-
  called the Short Message Service (SMS). In particular with 25 tion of exemplary embodiments thereof taken in conjunction
  SMS, each SMS message is routed through the mobile               with the accompanying drawings in which:
  network operator network of the receiver of a message.              FIG. 1 is an example of an embodiment of a multi mobile
  When a sender and receiver are not within the same cellular      network operator network short message delivery system in
  network, problems may occur in sending messages such as          a hub formation;
  those in accordance with differing SMS formats addressing 30        FIG. 1A is a more detailed example of a portion of the
  and protocols used in different networks in connection with      network of FIG. 1;
  the SMS message. The Short Message Service Centers                  FIG. 2 is an example of an embodiment of a flowchart of
  (SMSC) within each particular network such as those used         steps of one embodiment of processing when a user connects
  in connection with SMS messages may not comply to any            from the interne sending a message to a user on an SMS
  single standard. Compatibility may only be guaranteed 35 communication device;
  within a single digital mobile network. For example, a              FIG. 3 is an example of an embodiment of a flowchart of
  Global System for Mobile communications (GSM) type of            steps of one embodiment when an MO SMS (Mobile
  network is a primary system for the SMS implementation           originating SMS) user sends a message to a receiver using
  network used in Europe. Other regions, such as North and         an SMS device the receiver possibly residing on a different
  South America, may use different mixed technologies in 40 network;
  cellular networks, for example, such as Advanced Mobile             FIG. 4 is a flowchart of steps of one embodiment of how
  Phone Service AMPS Time Division Multiple Access                 to determine routing information;
  (TDMA), Code Division Multiple Access (CDMA) as well                FIG. 5 is a representation of a mapping that may be
  as GSM. SMSC manufacturers may also each implement               performed in sending an SMS message using SMPT e-mail;
  different protocols further compounding the mixed varying 45        FIG. 6 is a representation of an example of sending an
  technologies. Thus, communications between a sender and          SMS message using existing web SMS applications and the
  receiver in which the sender and receiver each use different     mapping performed;
  digital mobile networks, and thus possibly different tech-          FIG. 7 is a representation of an example of sending an
  nologies and standards, may have problems in sending             SMS message via direct data connection to an SMSC which
  messages between networks.                                    50 an SMSC is a mobile network operator for example;
     Thus, it may be desirous and advantageous to have an             FIG. 8 is an example of a representation of one embodi-
  efficient and improved technique which provides for the          ment of a data organization of a central routing database; and
  unification of different SMSCs, and associated message              FIGS. 9-13 are more detailed examples of tables included
  formats that may be used in different telecommunication          in the representation of data in FIG. 8.
  systems. It may be desirous and advantageous to provide for 55
  improved efficient and more streamlined message sending               DETAILED DESCRIPTION OF EMBODIMENT
  from a user to a receiver in which the user and the receiver
  may be in different networks that may not be in accordance          Referring now to FIG. 1, shown is an example of an
  with the same messaging standards.                               embodiment of a multi-mobile network operator network
                                                                60 short message delivery system. It should be noted that
              SUMMARY OF THE INVENTION                             although the description included herein relates to SMS as
                                                                   may be routed through mobile network operator networks,
     In accordance with one aspect of the invention is a method    the general principles and teachings described in the para-
  executed in a computer system for routing a message from         graphs that follow may be generally extended to other types
  a sender in a first digital mobile network to a receiver in a 65 of digital mobile networks employing one or more of a
  second different digital mobile network. The message may         variety of communication devices, and other types of mes-
  also be sent from a web page, in either case, a message is       saging services.
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     Included in the multi-mobile network operator network             plurality of different digital mobile networks. Thus, sending
  short message delivery system 10 or SMS system 10 is a               messages in SMS format between digital mobile networks,
  hub-like network structure that includes a plurality of dif-         for example, in Europe is more unified. A sender and a
  ferent types of connections to a server 24. Generally, the           receiver may communicate with less difficulty, for example,
  structure shown in the system 10 is a hub-like structure        5    in Europe than in another region such as North or South
  having spokes, such as 12, 14, 16 and 20, representing               America, where there may be a higher occurrence of mixed
  bi-directional communication paths with the hub in which             technology of digital mobile networks, for example, such as
  the server 24 is used to route communications between                AMPS, TDMA, CDMA and GSM. Additionally, SMSC
  different message senders and receivers within the system            manufacturers are diverse each with their own protocol
  10.                                                             10   which may also cause problems in communicating between
     The system 10 of FIG. 1 shows different users 12, 14, and         different networks.
  16 sending an SMS message to an end user 20 through a                   The WAP is one of a variety of cellular phone based
  server 24 using a routing database 22.                               microbrowser technologies permitting the user to be able to
     It should be noted that the routing database 22 may               access traditional and modified content and applications
  include information in addition to routing information as       15   from the Internet, as shown, for example, in the system 10
  may be described herein. For example, the routing database           of FIG. 1. It is understood that WAP is used herein as an
  may also include additional information on registered users          example of a mobile device with browser. The device may
  of the server 24, recipients of messages, and other data that        comply with various standards as may be used in connection
  may be described in connection with other flowcharts and             with a mobile browser device, such as a I-mode handset, or
  descriptions herein.                                            20   Wireless PDA with proprietary micro browser, and the like.
     The user 12 sends an SMS message using the "web" or                  As will be described in paragraphs that follow, and with
  internet, for example, such as a user connected on a personal        reference to the system 10 of FIG. 1, the techniques
  computer (PC) through the World Wide Web (WWW) 26a.                  described herein may be used to unite different platforms,
  This message is forwarded from sending user 12 through the           messaging formats, geographic locations, cellular technolo-
  server 24 to the SMS mobile network operator 18 to the end      25   gies and/or messaging types using a common point of entry
  user 20. Similarly, a sender 14 of a message may use a WAP           exchange and application with transparency and seamless
  (wireless application protocol) phone using the WWW 26b              message sending to the sender and one or more message
  to connect and send a message through the server 24, to              recipients.
  mobile network operator 18 to end user 20 on the SMS                    For example, as described in paragraphs that follow, FIG.
  phone or other type of cellular device. Similarly, user 16      30   1 shows a system 10 which may be used in connection with
  may send a message via a (Mobile Originating) MO SMS                 sending and receiving a message on two different digital
  phone to an end user 20 on the SMS phone through a similar           mobile network, such as Voicestream and AT&T Wireless.
  path through the mobile network operator 26c, server 24                 Short messaging as may be used in connection with SMS
  using the database 22 and then to the mobile network                 generally involves the transmission of short, text and/or
  operator 18 which then reaches the SMS phone of the end         35   numeric messages, between a message handling system and
  user 20.                                                             a mobile subscriber. For example, a message may be up to
     As illustrated in FIG. 1 with three messaging scenarios,          140 octets carrying up to 160 characters of text. In some
  the server 24 is the message broker. The incoming and                systems, short messages may be used, for example, in
  outgoing messaging types may be different or the same. The           connection with paging. Applications, such as those that
  messaging parts of the three messaging scenarios of FIG. 1      40   obtain stock quotations, weather and traffic and news infor-
  are independent of one another, and logically linked via the         mation as well as sports broadcasting information, may also
  database.                                                            use a short message to transmit information in connection
     It should be noted that as described in this application,         with these applications. For example, if a user wants to know
  "cellular" or "cell phone" may imply any type of a device,           what the weather is in a particular city, a subscriber of a
  such as a mobile device, with messaging capabilities. Gen-      45   particular digital mobile network may contact or send a
  erally, the mobile device such as a cellular phone, pager,           message to the cellular operator of the network. In return, the
  wireless hand-held organizer and the like may be used as a           particular user may receive a short message describing the
  point of origination or termination with regard to message           weather associated with the city of interest specified in the
  sending and receiving. In other words, such a device may be          previous request.
  used in sending a message, such as from users 12, 14 and 16,    50      As may be known, for example, in connection with the
  and also as a device for receiving a message, such as by user        use of digital mobile networks but omitted from the system
  20. Generally, the device may refer to a cellular phone using        10 of FIG. 1 for the sake of simplicity, each SMS message
  cellular telephony, paging, wireless hand-held organizers            may be routed through the mobile network, between base
  and any other such mobile, radio frequency connected                 stations, main switches and then short message service
  numeric or other type of alpha numeric display device.          55   centers or SMSCs. Referring to the system 10 of FIG. 1,
  Generally, as known to those skilled in the art, SMS uses            SMSCs, for example, may be cellular operators 18 and 26c.
  capacity in a data channel of digital mobile equipment to            The SMSCs may optionally offer connectivity to other
  transmit text and binary messages to subscriber cell phones          external sources in addition to messaging services within the
  or pagers. In other words, a subscriber may use a cell phone         individual mobile network operators closed network.
  or pager to receive a message, for example, as indicated by     60      Short messages may be sent from a first, sending user,
  user 20 in the system 10 of FIG. 1.                                  such as user 12, to end user 20 as may defined in accordance
     SMS connectivity and SMSCs may comply with any                    with the database 22. The sender of a message may identify
  singular standard. Compatibility may be achieved normally            a destination associate with an end user, a corresponding
  only within a single digital mobile network. For example,            device, and a user's mobile identification number (MIN) or
  Global System for Mobile Communications (GSM) is an             65   phone number.
  example of an SMS implementation in which GSM is                        It should be noted that although FIG. 1, 1A and other may
  principally found in Europe and generally employed by a              show a connection medium as being the internet or WWW
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  and associated HTTP protocol and standard, it should not be           the sender's account may also be consolidated with the SMS
  construed as a limitation. Other connectivity options are             usage by providing confirmations of successful message
  possible as described in more detail elsewhere herein.                reception back from the recipient.
     Referring now to FIG. 1A, shown is an example of                      The forwarding destination may be defined by the MIN or
  another embodiment of a portion of the network 10 of FIG.        5
                                                                        phone number of a particular cellular user. Since the SMSC
  1. Generally, FIG. 1A shows a more detailed description of
                                                                        is connected directly to the master switch and informed by
  the components previously included in FIG. 1. FIG. 1A
                                                                        the home location register (HLR) that functions as a part of
  additionally includes detail regarding particular hardware
                                                                        the master switch as seen in elements 46a, b and c on FIG.
  that may be included in the network 10. The particular
  hardware, may be, for example, owned or leased by a              10
                                                                        1A. of the cellular phone user's presence on the network,
  particular digital mobile network to provide services therein.        messages may forwarded to the cell phone, for example,
     In particular, FIG. 1A shows more detail of one repre-             when it is switched on. Otherwise, messages may not be
  sentation of how messages may be routed within a particular           immediately delivered and may be accordingly held in
  cellular network. It should be noted that the rearrangement           storage for a predefined period of time. If these messages,
  of the components does not functionality different from that     15   for example, in a particular digital mobile network, are not
  previously described in connection with FIG. 1. In other              delivered to a particular user after a predefined period of
  words, for example, the functionalities as described in               time, they may be deleted. These messages may be stored
  connection with FIG. 1 also apply to FIG. 1A in which                 upon a computer storage medium, for example, that may be
  two-way communications or bidirectional communications                included in the SMSC of a particular user's digital mobile
  may occur between two different users such as 50a and 50b        20   network.
  in different networks such as cellular network A and B,                  An SMSC, for example, referring to 18 and 26c as shown
  respectively. Messages between these two users in two                 in FIG. 1 and elements 43a through 43c of FIG. 1A, may
  different networks may be made possible through the server            receive alpha numeric messages from other cellular sub-
  24 and the database 22.                                               scribers or from external sources. This may be, for example,
     In the arrangement shown in FIG. 1A, a message may be         25   in connection with mobile originating devices or two-way
  sent from a first user with a cell phone 50a to a second user,        SMS communication devices.
  for example, having a cell phone 50b. User on cell phone
  50a is included in cellular network A, and user on cell phone            The mobile network operator may use one of several
  50b is included cellular network B. The SMS message, for              different types of techniques to enable communications
  example, from the device 50a may be routed through the           30
                                                                        between users on the same or different networks. These
  cellular operator A's network. An SMS message originating             different techniques or methods may be chosen, for example,
  from the device of user 50a, for example, may be transmitted          in accordance with the source and destination characteristics
  to the radio tower 48a, to base station 46a, through the              for the message. Note that the following that will be
  master switch 44a and the SMSC 43a to the SMPT gateway                described are techniques that may be used in connection
  42a using the worldwide web (WWW) 40a.                           35
                                                                        with forwarding an SMS message from one digital mobile
     From this connection, the message may be routed to the             network to a destination digital mobile network.
  server 24 to obtain information for appropriately routing the            Messages may be received by a user, for example, in
  message using the database 22. The server 24 then forwards            connection with voice phone calls that are forwarded by an
  the message using the web 40b, for example, to the web                operator that may be at the SMSC. The operator may
  SMS application 42b as operated within the cellular network      40   manually type in the message via a remote terminal con-
  B. The message is further forwarded through components,               nected to the SMSC which may then be forwarded to the
  such as the SMSC 43 being the master switch 44b of the                destination user. As an example, someone may leave a
  cellular network B. Finally, the message may be sent to a             voicemail message for the user 20. Rather than have a first
  base station 46b, and radio tower 48b to reach the device 50b         user send an e-mail or other type of text message directly, the
  which is capable of receiving the message as sent from the       45   first user may speak with an operator who transcribes the
  device of the user 50a.                                               message from a remote terminal connected to the SMSC.
     Within the arrangements, for example, shown in FIGS. 1             Other techniques may be used in connection with transform-
  and 1A, short messages may be received by the server 24               ing a voice communication to a written electronic commu-
  and forwarded to one or more end user in accordance with              nication, for example, using software and/or hardware that
  the SMSC database that includes addressing and messaging         50   automatically converts a voice communication to an elec-
  format information customized for each particular digital             tronic communication, such as an e-mail message. This
  mobile network to which the server 24 is connected. The               message may then be relayed to the end user's cellular
  central routing server 24 includes detailed information about         device from the SMSC, for example, such as between 18 and
  a each mobile network operator, such as:                              20 referring to the system 10 of FIG. 1.
     Routing method and path                                       55      Messages may also be entered via a remote terminal of the
     Maximum message length                                             SMSC using a web page associated with a particular cellular
     Device type                                                        operator/network. In one example, the SMS message for-
     And also User information, such as:                                warded to the user is within a particular digital mobile
     Device type                                                        network and data may be entered using the web such as 26a
     Account status                                                60   as a connection. A user such as 12 referring to the system 10
     Billing information and privileges                                 of FIG. 1 may enter information into a web page serving as
     With the information, the central server 24 may forward            a data form. A message is produced in accordance with data
  the message in the correct way for the recipient. For                 entered into the web page, and then forwarded to a desti-
  example, if a sender's SMS message is 160 characters long             nation which may be within the same digital mobile net-
  but the receiver's SMS messaging system only supports 120        65   work. This data form as a web page may be used by a user
  characters, the message is split in to two portions before            sending a message from any one of a variety of communi-
  forwarding, i.e. 1/2 and 2/2. By means of another example:            cation devices, such as, for example, a hand-held device,
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  cellular telephone, or terminal connected to a system capable     between different networks which may otherwise be inca-
  of communications in accordance with the HTTP message             pable in accordance with different formats and protocols and
  protocol.                                                         the like.
     SMTP gateways, such as used for sending standardized              Referring back to FIG. 1, the user 12 may use a personal
  e-mail messages, may be enabled at the SMSC allowing 5 computer that is capable of reading HTML. The terminal
  e-mails to be converted into SMS messages. This may be            may further be connected to the WWW using HTTP protocol
  shown, for example, with reference to FIG. 1A, network 60,        format for connecting to the server 24. The user 14 may have
  cellular operator A in which the SMTP gateway 42a may be          a wireless access protocol (WAP) phone or other WAP
  used, for example, to convert a received or incoming e-mail       device capable of understanding the wireless mark-up lan-
  message in the Digital mobile network A sent from a user on 10 guage (WML) and may communicate with the server 24 in
  another system into an SMS format that may be displayed,          accordance with the HTTP protocol.
  for example, on the user's device 50a. In this example, the          Generally, there are different scenarios for messaging
  e-mail may be addressed to the user's MIN or phone number         which involve one-way as well as bi-directional or two way
  at the cellular operator's URL. For example, to send an SMS       communications between users. As described elsewhere
  message to Bob whose cell phone number is 23674 on 15 herein, communications may occur between a cell phone
  network X, the e-mail may be sent to 23674@networkx-              and the server 24, such as the TIAXA server. As an example
  .com. The e-mail subject text and message body may be sent        of a one-way communication, a user may enter information
  as the SMS message content. This will be described in more        that is sent to the TIAXA server, for example, in connection
  detail in paragraphs that follow.                                 with entering database information. The database informa-
     Messages may also be sent to an SMSC using a software 20 tion may be information identifying the sending user, or one
  program, such as 42b, that format incoming messages               or more end users. The entry, for example, may be from a
  according to the type of format of a receiving SMSC.              personal computer, may use the web or from a cell phone.
  Connection mediums that may be used are diverse data
                                                                       A second type of one-way messaging involves informa-
  transport systems including, for example, modems, ISDN,
                                                                    tion "pull" between a cell phone or user of a digital mobile
  frame relay, X.25 packet switch networks, or TCP/IP. This 25
                                                                    network and the server, for example, for inquiries such as
  may be illustrated, for example, with reference to the
                                                                    about the weather in Miami.
  network 60 of FIG. 1A, cellular operator C using the direct
  SMSC connection 42c, the SMSC 43C to perform any                     A third type of service provided within or between digital
  translation or reformatting of data necessary to further relay    mobile networks involves a relay servicing of messages. For
  an incoming message in the form of an SMS message format 30 example, a user may contact one or more other users through
  to the user 50c.                                                  the server 24 used as a "hub". Referring to FIG. 1 as
     Messages and commands may originate from devices               described elsewhere herein, user 12, for example, may
  with mobile origination (MO) device capacity. This may be         communicate through the server 24 to an end point such as
  routed to a particular SMSC from a device's "home" or             20. Additionally, a user may forward an SMS message, for
  originating SMSC.                                              35
                                                                    example,   having multiple end points rather than a single
     The mobile network operator of one or more digital             destination.
  mobile networks as previously explained may use any of the           The server 24 may account for, and facilitate communi-
  foregoing techniques as well as others to enable communi-         cations between, all combinations of connection types and
  cations between users in the same or different networks. End      format cases using the different type of sources for message
  point users may be identified, for example, by a MIN or 40 creation as well as destination in order to map an incoming
  phone number included, for example, in the message entered        message to a target. The server 24 may also be used, for
  via the web page, or e-mail, or other type of communication       example, as a broker, translator or reformatter that has
  which is converted to an SMS format.                              "embedded" knowledge of the source and targets that are
     Generally, a sending user may associate a name and a           possible for the different types of networks. The different
  phone number or MIN, for example, as identifying indicia of 45 formats and the mappings may be performed, for example,
  an end point or end user who is the target recipient of a         using software executing in the server 24 using information
  message. Users may not be concerned with details relating         stored in the database 22. This type of transaction or
  to the formatting of each particular network and may rather       mapping may be provided for a streamline appearance to a
  have the details appear "invisible" by a seamless transfer of     user in sending a message, for example, on one digital
  a message between users within the same and/or different 50 mobile network to another user on another digital mobile
  networks. Using techniques that are described herein, the         network, each having different formats and protocols.
  process of forwarding messages from any one of a variety of          Shown in a table below are the different types of SMSC
  these different sources to a particular user of a network         connectivity options, for example, as may be represented as
  regardless of whether the networks are the same or that they      the connection between the server 24 and each of the SMSC
  are different networks having different protocols and other 55 cellular operators such as 26c and 18 referring to the system
  types of incompatibilities may be streamlined.                    10 of FIG. 1.
     As described herein, users of different or the same net-
  works may be provided with services for streamlining SMS                                     TABLE 1
  based messaging services. Mobile originating SMS mes-
  sages may pass from one device to another regardless of the 60                         SMSC Connectivity Options

  operator, location or network technology. To simplify the         SMSC
  messaging process, mapping or translation of the different        Manfacturer Protocol                    Transport
  formats in accordance with the different sources and desti-
                                                                    Logica        SMPP, SMPT (email), HTTP modem, ISDN, X.25, X.31,
  nations, hardware and protocol differences are accounted for                                              TCP/IP
  and handled by the server using a routing database. Thus, 65 Lucent             SMPP, SMPT (email), HTTP modem, ISDN, X.25, X.31,
  users are not encumbered by the details of the different types                                            TCP/IP
  of connections facilitating a smooth transition of messages
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                                      9                                                                      10
                                                                                be used, for example, to display device specific information.
                            TABLE 1-continued                                   Selection of a particular format and data sent to a particular
                                                                                device may be made by the server 24 in accordance with
                           SMSC Connectivity Options                            received device-specific information.
  SMSC                                                                     5       Referring now to FIG. 2, shown is a flowchart of steps of
  Manfacturer   Protocol                       Transport                        one embodiment from a user-interaction perspective for
                                                                                sending an SMS message. In this example, these steps
  Motorola      SMPP, SMPT (email), HTTP      modem,   ISDN, X.25, X.31,
                                              TCP/IP
                                                                                described are those that may be associated with using the
  Sema          OIS, SMPP, SMPT (email),      modem,   ISDN, X.25, X.31,        WWW or the internet for sending a message. The steps that
                HTTP                          TCP/IP                       io   will be described in conjunction with FIG. 2, flowchart 70,
  ADC           SMPP, SMPT (email), HTTP      modem,   ISDN, X.25, X.31,        are those that may be performed when an SMS message is
  Newnet                                      TCP/IP
  Comverse      SMPP, SMPT (email), HTTP      modem,   ISDN, X.25, X.31,
                                                                                originated from the web, as illustrated by elements 12 and
                                              TCP/IP                            the 14 of FIG. 1.
  Ericsson      SMPP, SMPT (email), HTTP      modem,   ISDN, X.25, X.31,           As described in more detail below, a user may use and
  MXE                                         TCP/IP                       15   access the server 24 and database 22 through the Internet
  CMG           UCP, SMPT (email), HTTP       modem,   ISDN, X.25, X.31,
                                              TCP/IP
                                                                                using, for example, a personal computer, microbrowser or
  Nokia         CIMD2, SMPT (email),          modem,   ISDN, X.25, X.31,        any other device providing for interaction with the server 24
                HTTP                          TCP/IP                            of the message delivery system. The user may then register
  Generic/      TAP, SMPT (email), HTTP       modem,   ISDN, X.25, X.31,        and/or send messages using the server 24. A web page may
  Open                                        TCP/IP
                                                                           20   be displayed to a user in connection with entering message
                                                                                information. Generally, the embodiment described herein
     The foregoing table summarizes for each of the different                   may use the routing database to perform queries, for
  types of SMSC hardware manufacturers the different pro-                       example, to obtain a country specific format of an associated
  tocol as well as transport medium that may be used in one                     mobile identification number (MIN) when sending a mes-
  particular embodiment at a particular point in time. As 25                    sage and/or during registration of a user of the server 24. The
  additional digital mobile networks, or spokes, are added in                   routing database may also be queried in connection with
  connection with the hub (server 24 and database 22), addi-                    determining the existence of a particular user's MIN for an
  tional protocols, and the like may be added to the above                      associated country, for example, as may be performed in
  table. It should be noted that the protocol described in                      connection with "sending" a message. Additionally, the
  column 2 above may represent the communication protocol, 30                   routing database may also be queried.
  for example, used at links 25a and 25b between different                         At step 72, the user enters the URL of the website or
  SMSC operators and the server 24.                                             webpage from the user's device. This URL may be the
     It should also be noted as described in more detail                        address of a website and result in a webpage being trans-
  elsewhere herein, the information regarding the protocol and                  mitted and displayed to the user. The user may enter this
  transport medium may be encoded in the database 22 in one 35                  information, for example, from a personal computer, a
  or more fields.                                                               wireless access protocol, or "WAP" phone, or other device
     As also described herein in one embodiment, the point of                   having internet capabilities. In both of these instances, there
  entry of a user may be defined as a the web server which is                   may be software and/or hardware associated with the origi-
  accessible using the internet via a PC, a microbrowser                        nating device for processing HTML files in accordance with
  enabled phone with internet capabilities, or through a mobile 40              http protocol, for example, such as those included in a
  originating (MO) mobile device such as a cell phone.                          browser, and may reside, for example, in a personal com-
     It should also be noted that the server 24 in one embodi-                  puter.
  ment hosts the software web pages in the link needed to                          At step 72, the user enters the address of the home page
  perform and implement the foregoing techniques. The front                     74 as indicated in the flowchart of FIG. 2. Control proceeds
  end interface, for example, as may be used to display 45                      to step 76 where a determination is made as to whether the
  information and the users PC 12 be written using standard                     user is registered. If a determination is made that the user is
  internet protocols allowing the user to send SMS messages.                    not registered, control proceeds to step 78 where a user
  The database is described in more detail elsewhere herein                     registration process may be performed. For example, a
  and may use any one or more of a variety of commercially                      registration process may be performed to register a user,
  available packages, for example, such as may be available so                  such as 12 or 14 with reference to FIG. 1 using the server 24.
  from vendors Oracle and/or Sequel.                                            This registration process enables the user to send a message,
     The hardware of the server 24 may be any one of a variety                  for example, to another user at a different network using the
  commercially available hardware processors that may vary                      server.
  in accordance with the traffic the server is handling. In one                    If a determination is made at step 76 that the user is
  embodiment, the software that executes on a server 24, for 55                 already registered, control proceeds to step 80 where the
  example, may be Windows NT using Sequel, the LINUX                            user sends a message page. As part of the message-sending
  operating system, or other UNIX-based operating system                        process, Field 81 outlines those portions of information
  using an Oracle database. It should be noted that embodi-                     which may be entered, for example, interactively through a
  ment may include any combination of hardware and/or                           user interface or form display with a web page. As shown at
  software in accordance with the traffic and other types of 60                 81, the type of information entered for sending a message
  parameters within a particular system.                                        may include the user's name, a recipient's name and a
     Since a variety of different devices may be used to                        recipient's country. Note that if the international number
  interface to the server 24, different types of user interfaces                form is used, the recipient's country is not needed. The
  may have to be tailored or targeted for a particular device.                  user's name, the recipient's name, and recipient's country
  In accordance with standard protocols, different devices may 65               may be, for example, alphanumeric characters. Values asso-
  be identified, for example, in incoming messages to the                       ciated with these items may be input using forms or web
  server as part of the message format. This information may                    pages written, for example, using HTML processing as
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  interpreted by a browser and may interpreted on an origi-                  The various message types and formatting are described
  nating message-sender's device, such as a personal com-                 in more detail herein elsewhere in connection with other
  puter in connection with sending a message from user's                  figures. Additionally, it should be noted that other processing
  computer 12 or from a particular type of WAP phone 14                   may be performed in connection with step 96, such as
  capable of interpreting a form of HTML, such as WML.               5    performing a mail "spamming" check or other types security
     At step 82, the routing database 22 may be consulted to              and filtering of messages sent, such as the elimination of
  obtain the country number format. In response to the user               offensive text with filters and the like. Software used in
  selecting the SMS recipient's country as entered at step 81,            connection with such functionality, for example, may be
  the database may be consulted to return the correct MIN                 stored and executed on the server 24. The message is
  numbering format as an input example. This may be dis-             10
                                                                          formatted in accordance with, in this example, different
  played at step 84 as one of the fields to the sending user.
                                                                          types such as the SMTP message type 108a, the web posting
  Referring to FIG. 2, flowchart 70, step 84 indicates a field
                                                                          application format 108b, or a direct SMS connection mes-
  84a which may be output or displayed, for example, on the
  user's screen to guide completion of a subsequent field 84b.            sage format 108c. Upon reaching this point in processing,
  These help guides may vary with each country and may be            15
                                                                          control proceeds to step 98 where a message may be
  returned by the database shown in FIG. 8, for example in                displayed upon the sender's device indicating that the mes-
  field 410. The help guides may include an example of the                sage has been successfully sent.
  required MIN format and a short help text in the appropriate               If at step 94 a determination is made that the routing
  language. Additional fields, for example, may be included in            information is not known, control proceeds to step 102
  a form in which users enter the data of 84b for the recipient's    20   where an error message may be generated and displayed on
  phone number following the same format specified in 84a as              the user's device, for example, in the form of an HTML page
  well as the message text in field 84c.                                  that is processed by the browser, for example, residing on a
     Subsequent to completing processing at this point, the               user's personal computer. The message may indicate, for
  message 84c as well as the recipient's phone number 84b has             example, that the recipient's mobile network operator has
  been entered. At step 86, the message is sent to the server 24     25   not enabled messaging services. At this point, processing
  along with the additional information input as the recipient's          may return to displaying the home page 74 and beginning
  phone number. At step 88, the routing database 22 is                    the processing of entering a new recipient or recipients.
  consulted for the recipient's phone number. In other words,                It should be noted that what has been described in
  the routing is queried as to the existence or entry of the              connection with the flowchart 70 of FIG. 2 is a process that
  recipient's phone number within the routing database 22.           30
                                                                          may be generalized for sending more than one message to
     At step 90, a determination is made as to whether this               more than one recipient on different networks. Additionally,
  number has been found within the database. If a determi-                it should be noted that the initial query performed at step 82
  nation is made at step 90 that the recipient's phone number             may also be used during the registration process or as part
  is not within the routing database 22, an error message may             of editing or adding a new mobile device. For example, the
  be generated, for example, in the form of an HTML page to          35
                                                                          user may be required to enter a country as well as a phone
  display the message to the user at step 106. Control returns            number or MIN. The database may be consulted, and the
  to display the home page 74 on the user's internet device.              correct country-wide MIN may be returned to the user to
  The steps in connection with obtaining a message to be sent             serve as a template for user entry in connection with user
  are started again, for example, by displaying a home page               registration.
  74.                                                                40
     At step 90, if it is determined that the number is within the           Users of a server based system as shown in FIG. 1 may
  database 22, (this information is held in sector 406 of the             be required to register before hand. There are some services
  database shown in FIG. 8, particularly in ranges 406f and g),           that are offered for technical or commercial reasons that may
  control proceeds to step 92 where the routing database 22 is            not require registration. A registered user may be added to a
  queried regarding the required routing message method. The         45
                                                                          database that works in the central server and routing data-
  required routing message held in sector 404 of the database             base 22 and 24 respectively. By registering, the user allows
  shown in FIG. 8. At step 90, if no match is found for the               the server knowledge of his mobile device and other such
  entered number, an error is generated 106 advising the                  information that permits an optimization of messaging to
  sender that the recipient's number does not exist as in 104.            and from the user. Another application known as an
  At step 92, if no routing method is found 94, the sender is        50
                                                                          "Address Book" or "Buddy List" allows the user to add
  advised at 102 of the lack of routing path to his recipient as          information about people who are frequently used messag-
  in 104.                                                                 ing partners. Such address book would typically contain the
     At step 94, with the routing determination obtained in the           friends phone number, associated routing path, and name.
  previous step 92, it is known which type of message delivery            The registration process may use a collection of data, and
  formats will be utilized for the particular type of network, its   55
                                                                          assignation of passwords and privileges etc.
  protocol and the like in accordance with the recipient's                   It should also be noted that the processing of FIG. 2
  information. If the routing information is known at step 94,            includes steps that may be used, for example, where an
  control proceeds to step 96 where the message is placed in              originating device has internet or browser capabilities, such
  the appropriate format and sent in accordance with the                  as a browser phone or personal computer or other device that
  information returned at step 92 for the particular routing         60   may transmit data in accordance with HTTP protocol in this
  technique. In other words, the data input by the user, for              example. Part of the processing steps of FIG. 2 may transmit
  example, as part of the input processing at step 84, such as            data interactively, or in real-time session.
  the message content 84c and the recipient's phone number                    Referring now to FIG. 3, shown is a flowchart 120 of
  84b such that the message and other information may be                  method steps of one embodiment that may be used in
  appropriately forwarded to the indicated recipient in accor-       65   performing communications, for example, originating from
  dance with the routing information obtained from the data-              an MO SMS phone 16 with reference to the network 10 of
  base 22 in processing step 92.                                          FIG. 1. It should be noted that the processing steps of FIG.
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  3 may not be performed in real time, but, rather, using an                Using the steps described in connection with flowchart
  SMS data channel for message sending from the MO SMS                   120, a user, for example, may enter a request to "pull" data
  device 16.                                                             from another web site or server. The server 24 forwards the
     Processing begins with the user utilizing an MO SMS                 desired information, content, or application requested to the
  device to generate messages or to "pull" content, for             5    device of the requester, and/or sends a message to another
  example, from a web page of another server or other                    enabled device.
  information/data source. The messages may be generated,                   At step 128, the SMS message is received and parsed. In
  for example, using input from 122a and 122b (as examples               particular, the sender's mobile number is extracted from the
  of simple messaging using SMS, as well as the example                  SMS message. It should be noted that prior to being received
  shown in 122c, to pull "content" from server 24, or any other     10   at the server 24, the SMSC may tag incoming SMS mes-
  appropriate external server connected through server 24.               sages with the originator's or sender's phone number (MIN).
  The input at 122a is directed to a recipient that is not in a          Similarly, incoming e-mail messages may be tagged with the
  buddy list. Generally, a buddy list refers to the concept of a         sender's return e-mail address. These fields may be used in
  list of commonly used names or recipients, for example, that           cross-checking an existing user database, for example, that
  may be buddies to which a sender may commonly send                15   may be stored, for example, in the database 22.
  messages. The "buddy" recipients may be included in a short               The user database is linked to the routing database 22 as
  list, or buddy list rather than go through a process of                described elsewhere herein. Step 130 compares information
  consulting the database for complete information.                      included in the incoming message to that from a database.
     At step 122a, one type of SMS message may be sent to a              For example, user identification (usually recovered MIN
  recipient who is not in a sender's buddy list. At step 122b,      20   number) and keywords may;; be compared to the parsed
  an SMS message may be directed to a recipient who is in a              message from step 128. The keywords have a standard form,
  sender's buddy list. At step 122c, a message may be sent               and alternate or "acceptable forms". The keywords have two
  using an SMS message, for example, to pull "content". In               forms:
  other words, the message includes data such as 122c that                  1. Static Keywords: For example, in connection with
  includes stock information which is to be returned in the         25         122c, the standard form of the keyword is "STOCK"
  form of a SMS message to the sender. In this example, the                    but the acceptable forms may be many, for example,
  server may poll the host SMSC such as 26c at certain                         such as, "stock" (lower case), "share", "shareprice",
  predetermined time intervals to retrieve SMS messages as                     "stockprice", etc. These keywords may be common to
  may be forwarded, for example, from the MO SMS device                        all users.
  16. This processing may occur, for example, as part of step       30      2. Dynamic Keywords: For example in connection with
  124 where the sender may form the message such as 122a                       122b, "Soames" is a name from a user's buddy list. The
  and forward this to the cellular operator 26c.                               dynamic keywords are loaded each time the user is
     There are two basic methods for receiving messages from                   recognized as originator of the message.
  non-browser mobile devices such as MO SMS cell phones:                    At step 130, this database may be queried or consulted to
     1. As email Most MO SMS phones have the ability to             35   determine if a particular user is registered in accordance
        send Email, these emails are sent as SMS to the host             with the MIN extracted from the SMS message at step 128.
        networks SMSC and there the full SMTP format is                  Registered and unregistered users may have varying privi-
        completed. This SMTP format may add the sender's                 leges in accordance with actions that may be performed in
        return email as MIN@operator domain format, for                  sending messages to other recipients of this network as well
        example 2322332@operator.ext. In this case, the             40   as other networks. At step 132, a determination is made as
        receiver of these emails may use a POP3 email server,            to whether a sender is registered in accordance with this
        hence is "received in email form" as indicated in step           MIN.
        124 of FIG. 3. The POP3 email server may be associ-                 As some operators choose not to disclose their user's
        ated with the central server 24 of FIG. 1. The POP3              MINs when forwarding messages, the authentication may
        server may also be remote.                                  45   also be performed on user "alias" names. For example,
     2. As MO SMS If the message is written as a MO SMS,                 instead of forwarding the users MIN and operator extension
        it is to a given number. This number may be a short              such as 123232@operator.ext, the user may assign the user
        number (assigned by the network operator for example             an "alias" such as tomato@operator.ext. In either case, this
        "8200") or a normal MIN number such as                           information is obtained during the registration process, and
        "5693183098". The first case may be more common.            so   may be authenticated.
        Once sent, this message is received on the host net-                If a determination is made that the sender is not registered,
        works SMSC. Upon reception at the SMSC, the mes-                 control proceeds to step 134 where a user registration
        sage is placed in an outgoing spool file. In the example         process may begin. It should be noted that subsequent to
        shown in FIG. 1, the central server 24, may poll the             user registration at step 134, control may resume with
        SMSC 26c via the dedicated connection 25b, collecting       55   processing, for example, at step 136 in connection with
        messages destined for the server 24.                             sending a message.
     The SMSC 26c may associate the server 24 by the short                  Upon determining that a sender is registered at step 132,
  number as described above.                                             control proceeds to step 136 where the previous parsing of
     In either of the two cases described above, the message is          the SMS message is again compared to a database for
  received as a formatted text file. This is the file that is       60   keywords to determine if the SMS message includes a phone
  received on the server 24, and represented by step 128 of              number. At step 138, the web database is consulted. The user
  FIG. 3. In step 128 parsing logic isolates required fields from        database is linked to the routing database 22 as described
  the received text files and searches for commands, such as             previously. Step 138 compares information contained in the
  "STOCK", seen in 122c, and "Soames", seen in step 122a.                incoming message to a database.
  The former is a request for a stock quote, and the latter         65      At step 140, if it is determined that the received SMS
  relates to a "buddy" in the user's address book called                 message does not begin with a phone number, control
  "Soames".                                                              proceeds to step 142. At this point, the message may be an
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                                15                                                                       16
  alpha numeric indicator that may be, for example, either a               generated and control proceeds to step 154, where the SMS
  buddy or another keyword command. In the case of a buddy,                message is returned to the sender.
  this buddy has previously been configured in the sender's                   At step 172, if the number is located in the routing
  database. If the recipient is not found in the user's buddy list,        database, control proceeds to step 174 where the database is
  control is passed to step 190. Control then proceeds to step        5    queried for the required routing method in accordance with
  192 where the keyword is compared to existing commands.                  the recipient's phone number, country code and, accord-
  A keyword determination may indicate, for example, if a                  ingly, the appropriate routing techniques used in accordance
  particular piece of data is to be polled from the server and             with the protocol, hardware and the like for the recipient's
  sent to the sender or originator, for example, with regard to            particular network. At step 176, a determination is made as
  the stock quote, weather information, and the like.                 io   to whether the routing information is known. If the routing
     Note that where referred to herein, "content" refers to               information is known, control proceeds to step 178, where
  "pre-packaged" information such as stock quotes or weather.              the SMS message is parsed, the message text is extracted
  "Application" refers to a process, for example, generation of            from the message and control proceeds to step 178, where
  a ring tone that is sent back to the user, or participation in a         the message is formatted and sent via the appropriate
  game, in both of which "processing" is required by the              15   method as indicated in accordance with the information
  application upon the user's input.                                       from the routing database. Control proceeds to step 164,
     If a determination is made at step 192 that the SMS                   where an SMS report may be generated, the message may be
  message indicates or includes a keyword, control proceeds                sent at step 166, and control proceeds to step 154 where a
  to step 194 where the content or the application is returned             message is returned to the sender indicating the actions
  to the user and control proceeds to step 180 where the              20   taken.
  message is formatted and sent via the appropriate method. At                At step 176, if a determination is made that the routing
  step 192, if a determination is made that a first identifier in          information is not known, an error message may be gener-
  the SMS message is not a keyword, control proceeds to step               ated such as indicated at output 162 that the recipient's
  186 where a SMS error message may be generated, indicat-                 network operator has not enabled messaging services. Sub-
  ing that the command received is invalid and the message,           25   sequently, from the processing at step 160 that may result,
  as illustrated on output element 188, may be displayed.                  for example, in a display of a message as indicated at 162,
     If at step 182 a buddy's name is found in the user's                  control proceeds to step 154 where the SMS message is
  database (see previous note on "Dynamic Keywords"), the                  returned to the sender. As previously described in connec-
  routing path for that buddy is returned and the message is               tion with FIG. 2, steps 196a, 196b and 196c may result in
  sent 184 to the recipient. As previously described in con-          30   reformatting the message in accordance with the appropriate
  nection with FIG. 2, steps 196a, 196b and 196c may result                format and type for the recipient's network and connection.
  in reformatting of a message in accordance with the appro-               Please note that these are similar to what is described in
  priate format and type for the recipient's network and                   connection with the processing of steps 108a, 108b and 108c
  connection. These are similar to what is described in con-               of FIG. 2 and will be described in more detail in paragraphs
  nection with the processing of steps 108a, 108b and 108c of         35   that follow in connection with other figures.
  FIG. 2 and as described elsewhere in connection with FIG.                   The processing steps described in connection with flow-
  2.                                                                       chart 120 of FIG. 3 are those that may be performed in
     At step 140, if a determination is made that the SMS                  connection with data polling to obtain information, such as
  message begins with a phone number, control proceeds to                  a stock quite, or sending a message to another enabled
  step 144, where the SMS message that is received by the             40   device where the originating device, for example, may be an
  server is parsed to extract the recipient's country code. At             MO SMS phone, such as element 16 of FIG. 1. Previously
  step 146, this recipient country code is used to look up in the          described in connection with FIG. 2, are processing steps
  routing database 22 a corresponding country for the country              that may be associated, for example, with sending an SMS
  code extracted at step 144. The country codes (prefixes) and             message originating from a personal computer or from a
  numbers may exist in sector 406 of the database shown in            45   WAP phone as shown with reference to the network 10 of
  FIG. 8. At step 148, a determination is made as to whether               FIG. 1 from elements 12 and/or 14. Using any one or more
  the country has been located from the routing database. If a             of elements 12, 14, and 16 of FIG. 1 as points of origination,
  determination is made that the country has not been located,             an SMS message may be sent, for example, to user 20 using
  control proceeds to step 150 where an error message is                   the SMS phone through the routing database 22. The data-
  generated and the message is returned to the sender at step         50   base 22 may be queried in accordance with software execut-
  154. As an alternative process, (not shown) logic may be                 ing on the server 24 as indicated in connection with various
  such that in the case of not finding a country code, the                 processing steps just described herein.
  recipient is deemed to be in the same country as the sender,                It should be noted that, with reference to processing steps
  in which case the senders country code may be added to the               of flowchart 120, if the SMS message does not start with a
  recipients number. More detail of the number lookup pro-            55   number, for example, such as a phone number possibly
  cess is shown in a detailed flowchart FIG. 4.                            preceded by a "+" sign with at least eight digits, then the first
     If the country is located and determined at step 148 to be            "word" in a message body may be examined in accordance
  included within the routing database 22, control proceeds to             with a user's buddy list. If the first word is determined as
  step 168, where the SMS message is parsed to extract the                 identifying a buddy, the processing of flowchart 120 directly
  recipient's phone number. The routing database 22 may be            60   sends this message to the buddy or buddies and the mes-
  queried to look up the recipient's phone number. A deter-                saging format is already known as they are within the same
  mination is made at step 172 as to whether the MIN or phone              network. If a determination is made in connection with the
  number is located within the routing database. The country               processing of step 192 that an incoming SMS message
  codes (prefixes) and MIN numbers may be included in                      includes a keyword, keywords may be used in an embodi-
  sector 406 of the database shown in FIG. 8. At step 172, if         65   ment to abbreviate common commands. For example, as
  the number is not located within the routing database,                   previously described in requesting a stock quote, the user
  control proceeds to step 156, where an error message is                  may start an SMS message with the word "STOCK" fol-
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  lowed by a ticker name or other type of stock indicator. In            performed in connection with step 170 and the determina-
  this instance, the required information may be retrieved from          tion made at step 172 in which the database may be queried
  the server or other servers and returned directly to the sender        for a particular phone number in accordance with a particu-
  of the message. Additionally, features within different                lar country code. Accordingly, an error message at step 156
  embodiments may allow the sender to further forward the           5    may be generated if the particular phone number is not in
  content or applications to others. For example, a command              existence in the database where the predetermined country
  known in one embodiment as the "RING" command, fol-                    as entered by the country code.
  lowed by a phone number, followed by a group indicator                     Referring now to FIG. 4, shown is a flowchart 200 of steps
  may forward one or more RINGING audible tones from a                   of one embodiment for performing a look-up in the routing
  specific group of tones to a particular phone number indi-        10   database 22. The steps in flowchart 200 may be performed,
  cating a recipient.                                                    for example, in connection with consulting or querying a
     In general, from the above description, and the logic of            routing database to return particular information. Generally,
  FIG. 3, it may be seen that certain services, that are those           the processing described in the flowchart 200 of FIG. 4
  that are thought to have higher volume of use, may be given            details database querying steps, for example, as previously
  higher priority in the logical process sequence. The pre-         15   described in connection with flowcharts 120 and 70.
  sented priority is one example, and may change as user                    A recipient's phone number and message for example
  needs change. The presented priority is:                               may be entered using any one or more of a variety of
     1. Messaging to a phone number                                      different types of devices. Input may be received 202 using
     2. Messaging to a pre-configured "buddy                             the internet or WAP device as well as from an MO SMS
     3. Messages requesting and application or content              20   phone 206. In both instances, data input may indicate a
     It should be noted that in processing an SMS message, if            message, and a recipient's phone number as indicated in
  the SMS message is preceded with a number, for example,                input 204. Control proceeds to step 208 where the first most
  that may indicate a MIN or phone number, that MIN or                   significant digit is parsed or selected from the string iden-
  phone number is parsed and checked in the number routing               tified as the recipient's phone number in the message.
  database 22. This MIN or phone number may include, for            25   Beginning with step 208 processing, a determination is
  example, a country code. Some countries, such as the United            made as to the particular country code indicated in the
  States, may have only a single digit, such as a "1," to                recipient's phone number. In step 210, the routing database
  indicate the country code. The parsing and checking pro-               22 is queried to return a list of countries having the first most
  cessing of the phone number may be performed for each                  significant digit as parsed at step 208. In this example, "1"
  single digit until a unique match for a country code is found.    30   may be the most significant digit in accordance with the
     For example, if a message recipient's phone number is               sample input at step 204. If no country codes are determined
  indicated by the string "+5693183098", the 5 at beginning of           at step 212 to include a "1" as the leading and most
  the string may first be checked in determining the country             significant digit, an error message may be returned as part of
  code. As a result of querying the database, there may be an            the processing at step 214.
  indication that there are multiple country codes beginning        35      Otherwise, if there is a "1" that is the most significant digit
  with a leading digit of "5". Thus, a single country is not             in one or more country codes as indicated in the routing
  unique for the digit five. A subsequent second look-up may             database, countrol proceeds to step 216 where a determina-
  be done upon the same string returning a "6" as a second               tion is further made as to whether there is only a single
  digit. Thus, a database query may be performed using five              instance of a country code having a most significant digit of
  six "56" as the country code. Upon a single country being         40   "1". If there is a determination made that there is more than
  returned as result of a database query, the "56" indicates a           a single instance of a country code having a most significant
  unique combination of two digits corresponding to a coun-              digit of one at step 216, control proceeds to step 236 where
  try. For example, in one embodiment, performing a query of             a combination of the current first most significant digit
  routing database for the one or more countries having a                followed by the second most significant digit is extracted or
  country code with first two digits of "56" returns the single     45   parsed from the phone number and the database is then
  country of Chile. The return of only a single country being            consulted at step 238. The foregoing general processing of
  associated with the two digits causes the country-code                 determining if there is a unique country code having the
  look-up process to terminate. If no country is found, an error         current set of significant parsed or extracted digits is
  may be generated for example in connection with the                    repeated at step 240 where a determination is made as to
  termination processing at step 148 and the error message          so   whether there are any country codes having the combination
  152 displayed in connection with the processing of step 150            of the first and second most significant digits.
  with reference to flowchart 120 in FIG. 3.                                An error message is returned at step 242 if a determination
     It should be noted that the foregoing search for a unique           is made at step 240 that there are no such country codes valid
  combination of one or more leading digits of a country code            in accordance with the routing database. Otherwise, control
  may iteratively be performed examining each next digit until      55   proceeds to step 246 where a determination is made as to
  a unique country is associated with the number of digits, or           whether there is only one instance of a particular country
  no such country has been determined to include those as                code indicated by the processing of the combination of the
  leading country code digits.                                           first and second most significant digits. This process may be
     Once a valid country code has been identified the remain-           generalized and repeated for a combination of significant
  der of the recipient's phone number may be examined. An           60   digits until only a single country code is found and matched
  additional query may be performed in the routing database              to a particular combination of most significant digits from
  to look up the remaining portion of the phone number only              the phone number.
  in the predetermined country, for example, such as Chile in               Upon finding a unique country code for a combination of
  accordance with the country code just examined. If this                one or more significant digits in the recipient's phone
  phone number of a recipient is not located within the country     65   number, control proceeds to step 218 where the correspond-
  corresponding to the country code, an error message may be             ing country code is returned. Subsequently, the remaining
  generated. This is an example of processing that may be                portion of the recipient's phone number is looked up in the
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                               19                                                                      20
  routing database 220. In other words, a query of the routing              Referring now to FIG. 5, shown is an example of a
  database may be performed to determine if, for the particular          representation of a reformatting or a translation process that
  unique country code, is the individual recipients' phone               may be used in sending an SMS message via SMTP email.
  number included in the routing database.                               In other words, as shown in the representation of the
     Upon reaching processing at step 222, a unique country         5    mapping 300, a message format 302 is mapped as indicated
  code is determined and a the routing database has been                 by arrow 310 to a new format for message 304. The text
  queried as to the existence of the recipient's phone number            fields input to the messenger's front-end view via a browser
  in the country indicated by the unique country code.                   are translated or mapped into an SMT TP email format in the
     Associated with step 224 is yet another technique that              background processes described below. The term "back-
  may be used in determining a country code. Other process-         10   ground process" refers to a common application, not form-
  ing steps described herein in connection with flowchart 200            ing part of this patent claim, typically following an already
  extract a country code and determine a unique country code             well-known and used standard. In this case SMTP is the
  from input in accordance with a parsing technique using a              standard formatting method used for outgoing email mes-
  unique combination of leading digits as recorded in the                sages.
  routine database. At step 224, a country code may also be         15      It should be noted that the data input in accordance with
  selected, for example, from a pull-down menu causing the               the format described 302 may be input, for example, from an
  associated country code to be an input to the system in                interface via a web page. It should also be noted that the
  accordance with a menu selection.                                      SMTP format is one example of an email message format in
     In either of the two cases, at step 220, the now known              accordance with an email protocol. Different protocol may
  country code is ignored and the MIN number ranges for that        20   vary in accordance with SMSC manufacturers as described
  defined country are queried in accordance with the recipi-             elsewhere herein.
  ent's number's ("MIN look up"). For example, if the country               The recipient's country code is data input in field 306c
  code was found to be "one" either by the iterative process,            may be pre-selected from a pull-down list, for example,
  or by direct user selection, the MIN lookup is performed               from a graphical user interface display. Additionally, the
  only within the USA portion of the database. The lookup is        25   recipient's name may be entered in a field through a form
  performed in step 222.                                                 interface 306b as well as the particular user's name. The
                                                                         user's name 306a may indicate the sender of the message
     If a determination is made at step 222 that the recipient's
                                                                         entered. As described elsewhere herein, in accordance with
  phone number is not within the range valid for the particular
                                                                         the recipient's country code 306c, a sample, or template of
  country code, control proceeds to step 226 where an error
                                                                    30   a formatted phone number may be returned from the data-
  message is generated indicating that the recipient's phone
                                                                         base and displayed in a field 308a. Accordingly, a user
  number is not in the system.
                                                                         sending a message may input in a field 308b the recipient's
     If a determination is made at step 222 that the recipient's         MIN or phone number in addition to the message text
  phone number is within the range of valid phone numbers                respectively in fields 308b 308c.
  returned at step 220, control proceeds to step 228 where a        35      The routing database 22 may be queried using as an input
  query or a determination is made as to a particular messag-            the recipient's phone number or MIN 308b to return the
  ing format being defined for the returned mobile network               corresponding mobile network operator and associated rout-
  operator and the message code. In other words, a determi-              ing information for the particular MIN. Routing information
  nation is made in step 228 whether the format is defined or            may include, for example, a particular protocol, hardware
  known for the particular network supporting the user or           40   and/or software information regarding how a message is
  recipient having the phone number entered at step 202 or               routed, reformatted, and the like for use in a receiving digital
  206.                                                                   mobile network. In this example shown in the representation
     If a determination is made at step 228 that the recipient's         300, the database query when the input is the recipient's
  MIN or cellular phone number is known, but no messaging                phone number 308b indicates that the forwarding method for
  format is defined for the particular phone number and             45   that particular carrier network is via SMTP email. For
  associated digital mobile network for messaging, an error              example, the MIN or phone number "305-588-2909" may
  message is returned at step 230 indicating that the recipient's        select AT&T as the carrier for a country code of "1"
  mobile network operator has not enabled messaging ser-                 indicating the United States. Additionally, the returned
  vices. Otherwise, if the messaging format is defined for the           SMTP address may indicate a format of "mobile.att.net".
  particular mobile network operator at step 228, control           50      The recipient's MIN or number 308b is then transformed
  proceeds to step 232 where the messaging type is returned              from a countrywide MIN format into that particular format
  from the database. Control proceeds to step 234 where the              of the mobile network operator. For example, digits may be
  message text address and the like are formatted in accor-              added or padded or removed from a phone number in order
  dance with "message code" and "stuff code" fields returned             to comply with the mobile network operator messaging MIN
  from the database.                                                55   or phone number format. For example, a user may input a
     It should be noted that particular error messages and the           countrywide format indicated of "3055882909" as returned
  particular fields included in a database indicating the appro-         as the user help file for the USA, for example, as included
  priate messaging formats may vary in accordance with each              in FIG. 8 sectors 410d (with text in 410e, f or g depending
  embodiment. A representation of how data may be organized              on the users chosen language). The routing database of FIG.
  and stored in one embodiment of the routing database is           60   8 returns the exact mobile network operator corresponding
  described elsewhere herein. A variety of different data                to that MIN, and therefore returns the required formatting
  organizations and hierarchical representations of data may             information. Specifically, the MIN is sought between the
  be included in an embodiment. Generally, the routing data-             ranges 406f and 406g, and the formatting information is
  base includes information indicating the different protocol            returned for the located operator 406a in 402b and 408a. For
  and hardware information for appropriately formatting an          65   example, what is returned may indicate that the uniform
  incoming message for the one or more recipients in one or              countrywide MIN format input may require further tailoring
  more corresponding digital mobile networks.                            or modifications to transform this into the proper format to
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                                21                                                                     22
  be used in accordance with the AT&T carrier network using               location. For example, a URL may be returned indicating the
  the SMTP email protocol. The routing database may indicate              address of a particular HTML page that indicates or hosts the
  that carrier AT&T requires a fixed 11 digit number format               particular application.
  and since this is the United States, the country code or                   This application may be connected to the mobile network
  leading digit of "1" may be inserted, i.e., "13055882909", as      5    operators SMSC and forwards messages to users on that
  may be returned by 402b. The component of the recipient's               particular operators network. For example, the IP address or
  phone number 314a which is the reformatted version of                   URL returns the messaging application web site of operator
  308b is "13055882909" with the @ and the email format for               "x". The application on that site may require that the
  the particular carrier 314b from the routing database, from             recipient's MIN number is entered, along with the message.
  404c. In this instance, for example the complete email             10   A "send" button may then be used to submit the message.
  address formed by combining fields 314a, 314b and the @t                The operator's background application takes this message,
  sign      may      indicate     an     email      address    of:        and transforms it to an SMS message that may be processed
  13055882909@mobile.att.net.                                             by the operator's SMSC. From thereon, the message is
      What will now be described are other types of formatting            forwarded to the recipient's handset as a conventional SMS.
  represented in the FIG. 300. The user's name 306a may be           15   The Tiaxa process emulates this process from the central
  placed in a corresponding field in the SMTP email 304 in                server 24, in this way, forwarding the message on from the
  field 320b. The recipient's name 306b may be in the                     sender.
  destination field 312. Similarly, the subject field 318 maybe              As a further example, the phone number "30572111234"
  some fixed format such as "from Tiaxa" or some specified                may correspond to a mobile network operator or carrier
  title or application name as indicated in field 318. The           20   having a corresponding URL, or an IP address. Part of the
  message text 308c occupies field 320a of the reformatted                processing as previously described is transforming the
  message 304.                                                            recipient's MIN or phone number 338 into the particular
      Optional processing may also be performed, for example,             mobile network operator's format, for example, using pad-
  to scan the email or body of the text filtering out predeter-           ding or stripping leading zeros or the portions of the num-
  mined offensive text and the like. Accordingly, the message        25   bers as needed. Many network operators having web based
  may be sent and received by the network operator's SMTP                 messaging systems use local short form numbering as the
  gateway such as 42a, referring back to the network system               users are generally local. In this case, international form
  60 of FIG. 1A. In this instance, the recipient may be user              numbers have the country code removed. For example, a
  50a. The SMS messages received as just described by the                 user may input a MIN format that may be 10 or 11 digits
  SMTP gateway, may be translated, and passed to the SMSC            30   long. The routing database may indicate for a particular
  to the recipient. The recipient receives the message on the             mobile network operator or carrier, only the last seven digits
  mobile device and accordingly may be processed by reading               of the MIN may be used when sending a message to a user
  the message, saving it, deleting it or replying to it in                associated with that particular mobile network operator.
  accordance with the device and network type.                            Therefore the number representative of the recipient's phone
      Referring now to FIG. 6, shown is an example of a              35   number 338b when remapped or placed in a format 342 may
  representation of a mapping process that may be performed               include only the last seven digits of the MIN. The MIN in the
  for a sent SMS message, for example, input from a user                  fields described herein may be posted via HTTP to the fields
  interface via the internet to a recipient on a network that uses        or commands on the mobile network operator's existing web
  existing Web SMS applications.                                          based SMS application.
                                                                     40      Similarly as described in connection with the processing
      In connection with the method illustrated in FIG. 6, the
                                                                          of the translation or mapping of FIG. 5, corresponding
  server 24 writes to the target mobile operators web based
                                                                          portions of the field are mapped or translated from 332 to
  SMS interface. The connection from the server 24 to the
                                                                          that of 334. Additional optional processing may be per-
  Web based interface may be a standard Internet, using http
                                                                          formed for example to eliminate offensive text as also
  over an IP network. The sender of the message, in connect-
                                                                     45   previously described. Once the message is placed in the
  ing two the server 24 can use any of the methods and devices
                                                                          format 334, the message may be sent and is received by the
  shown on FIG. 1, users 12, 14 and 16.
                                                                          mobile network operator's web SMS application, translated,
      It should be noted that in connection with all three                and passed via the SMSC to the recipients of the message.
  messaging scenarios of FIGS. 5, 6 and 7, the server 24 is the           In other words, the web posting application mapping tech-
  message broker. The incoming and outgoing messaging                50   pique represented in illustration 330 described in connection
  types may differ or the same, as the message sending of each            with FIG. 6 may be used when a recipient's message is in a
  mobile system is linked using the database by the server.               digital mobile network that uses a Web SMS application to
      It should be noted that field 332 data is similar to that as        translate messages received.
  described in connection with element 302 of FIG. 5. In this                FIG. 1 takes the user perspective of "all connected"
  instance however, the data included in the field 332 is            55   messaging. Note that as described elsewhere herein with all
  mapped or translated to a format 334 to provide for the                 three messaging scenarios, the server 24 is the message
  forwarding of SMS messages via existing Web SMS appli-                  broker. The incoming and outgoing messaging types could
  cations as per 42b of FIG. 1A.                                          be different or the same, they are independent of one another,
      What will now be described are generally how fields                 and logically linked only via the database. FIG. 1A shows
  indicated in 332 are mapped or translated into those indi-         60   the possible "output" forms, that is, from server 24 out to the
  cated in 334. The recipient's country 336c as previously                recipient.
  described may be a country code selected from a pull-down                  Referring now to FIG. 7, shown is a representation 360 of
  list that may be displayed from a pull-down menu on a                   mapping input field 362 to a format 364 used in connection
  graphical user interface from a web page. The recipient's               with a direct connection to an SMSC. It should generally be
  MIN or phone number 338b may be used in performing a               65   noted that the fields of 362 of FIG. 7 are similar to those
  query or search of the database to return the appropriate               described in connection with field 302 of FIG. 5 and 332 of
  mobile network operator and return a URL for the Web SMS                FIG. 6. In other words, these fields may be input, for
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                               23                                                                   24
  example, using a form-like interface such in connection with          may be used in connection with the processing for the
  a Web page, or alternatively received as a MO SMS as in               routing database 22 described herein. The schema 400
  connecting with user 16 of FIG. 1. The incoming and                   includes tables representing data that may be included in one
  outgoing messaging types may be different or the same, as             embodiment of the routing database as well as relationships
  they are independent of one another, and logically linked via    5    between those tables. However, it should not be construed as
  the database and server at the "hub" of FIG. 1.                       a limitation as other embodiments may include additional
     Subsequently, these data fields input may be mapped to             information as well as additional types of mapping and
  the format 364 in accordance with a particular format as              relationships.
  indicated by the country code, MIN, and particular cellular              The representation 400 includes a stuffing table 402, a
  carrier or operator with information as recorded in the          10   Celcos table 404, a numbers table 406, a Message Type
  routing database to produce the format 364.                           (Msgjype) table 408, and a Country_Specs table 410. In
     The recipient's country code may be preselected such as            one embodiment, each of these tables may represent of
  included in field 366c, for example, such as in connection            format of information of a record.
  with a pull-down user interface menu. A country-wide                     For example, a record may exist in the routing database
  format form may accordingly be displayed in field 368a           15   for each mobile network operator and include the informa-
  (output field) as a template to serve as an example for               tion specified within the table 404 as fields of the record
  entering the recipient's phone number or MIN number 368b              associated. Information may be stored in accordance with
  (input field in accordance with 368a format). Additionally,           each particular "Celco" or mobile network operator such as
  the message text or content may be entered in field 368c.             AT&T, Verizon, Voice Stream, and the like. A unique ID or
  This is similar to other descriptions included elsewhere         20   CelcoslD 404a may be stored for each mobile network
  herein in connection with other figures.                              operator as well as the name of Celco in field 404b. An
     Also as previously described, the routing database may be          e-mail address may be included in field 404c that follows the
  queried in accordance with the recipient's MIN or phone               "g" sign when forming an e-mail address, or is indicated as
  number as indicated in field 368b. Accordingly, routing               "unknown" for incompatible celcos. Some network opera-
  information may be returned from the database in accor-          25   tors do not have messaging services available on their
  dance with this particular MIN for particular countries               networks, for example, those operators using analogue
  selected. In this example, the forwarding method returned             mobile phones of the AMPS standard. These operators do
  from the database may indicate integrated third-party appli-          however have MIN listings, and the system, server 24 and
  cation software. For example, the MIN or phone num-                   database 22, understand that although a MIN exists, it does
  ber"6912371234" may select cellular operation or carrier         30   not automatically imply the MIN, and therefore the associ-
  "Z" as a carrier and return an instruction to call the SMSC           ated mobile device, may necessarily receive an SMS mes-
  direct forwarding application.                                        sage.
     The direct forwarding application may use as an input a               The celco e-mail field 404c may include, for example, the
  unique configuration file for each different mobile network           information included in field 314b as previously described in
  operator in which the specifications may vary in accordance      35   connection with FIG. 5. This may generally be thought of as
  with each cellular carrier or mobile network operator. In             the operators email extension. The Stuff code_404d and the
  other words, a configuration or specification file 374 may be         message code 404e are fields in one embodiment that
  created with certain information as indicated in this particu-        include information about the exact formatting of the mes-
  lar example that may vary with each cellular carrier, operator        sage required for the returned mobile network operator. The
  and/or network. In this example, specifications included in      40   Country field 406f relates the mobile network operator to a
  the configuration file 374 may include the IP address of the          geographical location or country. This may be later used to
  SMSC of the recipient (127.1.1.1), the user name assigned             provide operator and language specific help to the users. The
  by a mobile network operator for the connection on SMSC,              help feature is described elsewhere herein in more detail.
  a password, a protocol type of SMSC for example such as                  The Connection field 404g describes the connectivity
  SMPP, a message type, and a message link. Similarly as           45   method used to connect from the central server 24, to the
  described in connection with other figures the recipient's            cellular operator. The different method of connections, as
  phone number or MIN may be transformed from the coun-                 described elsewhere herein, may include:
  try-wide MIN format into a mobile network operator-de-                   1. Direct connection via SMPP, UCP, OIS or similar
  pendent format that may include, for example, truncating or              2. Email connection to the operators email gateway
  padding digits as needed.                                        50      3. Posting application to the operators Web SMS gateway
     In this example, cellular operation "Z" may use the                   For example, the Motorola SMSC manufacturer as
  standard 10-digit MIN resulting in no change to the MIN in            described elsewhere herein may support any one of three
  the output formatted message. Thus, the number as indicated           different types of protocols such as SMPP, SMTP for e-mail,
  in field 368b may be copied directly to field 372a without            and HTTP. The medium for transport may be one of, for
  alterations. Other fields may also be copied and mapped as       55   example, modem, ISDM, X.25, X.31 or TCPIP. Information
  indicated in 360 FIG. 7. The message in turn may be                   as to which protocol and transport medium as well as the
  received by the mobile network operator and forwarded                 particular SMSC manufacturer used by a particular celco is
  accordingly to the recipient. As the connection is direct to          indicated elsewhere herein.
  the SMSC, the message is not converted on reception by the               The Number_chars field 404h is used to return the maxi-
  SMSC. Rather, it may be forwarded directly to the recipi-        60   mum SMS message length supported by the destination
  ent's handset. Advantages exist in this type of connection,           mobile network operator. This is typically in the range of 90
  for example, in that it is known if the message is received           to 160 characters, with some as long as 500 characters.
  successfully on the handset. The whole process is logged              Information given here is used by the process logic to
  step by step, and these logs in turn may be filtered and              determine if it is necessary to split and send as a series of
  modified to form billing information.                            65   concatenated SMS messages, or indeed to join split mes-
     Referring now to FIG. 8, shown is an example of a                  sages into one SMS message. For example, in the scenario
  representation of one embodiment of a routing database that           shown in FIG. 1, if user 16 has a messaging length 404h of
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                               25                                                                     26
  160 characters, but the recipient 20 has 120 character                 assign a unique code or access number to indicate that the
  messages, the message may be broken down and divided in                recipient is a mobile device, others use normal area codes as
  the server 24 into multiple messages such as two messages,             for traditional telephony. Fields 406d and 406e identify
  of the format 1 of 2 and 2 of 2. These multiple messages may           ranges of phone numbers allocated by each particular opera-
  be sent to ensure arrival in the correct sequential order.        5    tor. These numbers are the local form only, as they are
      The URL field in 404i holds the URL or web link of the             without country code and prefix. This form may be used in
  mobile network operator 404b. This link can be used to point           some messaging systems using only local form MIN. Simi-
  the user to the correct source for local help, for example, to         larly, the fields 406f and 406g identify MIN or phone
  request that the operator enables SMS or other messaging               number allocation ranges that include the prefix identified in
  privileges. T his information may be displayed in a variety       10   field 406c and country code as in field 406b. These number
  of circumstances, for example, on detecting an error in the            ranges are those generally consulted in the mobile network
  forwarding of a message. An example of the table 404                   operator lookup process. As the numbers are in complete
  formats may be seen in FIG. 9.                                         international form, they can may only one unique device
      The country specs table 410 may describe information               associated worldwide, guaranteeing that the mobile network
  regarding the country-wide MIN format, for example, used          15   operator returned is the correct one. Record ID field 406h is
  as a template in entering the recipient's phone number 308b.           a unique identifier for each line of the database, this is
  From a user point of view, a single numbering convention               needed for correct database operation and processing.
  may be preferred and shown for all mobile network opera-                  As an example of usage, if the sender 16 of FIG. 1 wishes
  tors in that country. This may avoid user confusion. The               to send a message or application to the recipient 20, the
  country specs table 410 in this example includes: a country       20   following lookup occurs:
  410a which may be indicated as an alphanumeric or other                   The sender 20 sends a message to the recipient 16, the
  type of abbreviation for each country, a code 410b which               sender specifies the recipients MIN as 5693183098, types
  may correspond to a country code from a pull-down list,                his message and sends it to the server 24. At the server 24
  digits 410c indicating the number of digits that may occur in          the sender 20 is first authorized by comparing his MIN to the
  a phone number in the country-wide MIN format (this may           25   user database, if he is registered the recipients 20 number is
  be used as a checksum to compare quickly to the user input             looked up or scanned for in the ranges 406f to 406g. If the
  number, (e.g. Is the number the correct length?), an example           number is found, the corresponding mobile network opera-
  phone number 410d which may be displayed, for example,                 tor is returned using the CelcoID 406a. The sender's mes-
  in field 308a, and any additional comments 410e, fand g that           sage is then processed in the server 24 according to the rules
  may be displayed in accordance with this particular field.        30   in the database for the returned celco ID 406a, in particular
  The comments are in the appropriate language for the user,             regarding to formatting and sending method. Once refor-
  if the user is unknown the default is the countries language.          matted, the message is sent out to recipient 20.
  A comment field 410h allows any other pertinent informa-                  Further examples of table 406 can be seen in FIG. 12.
  tion to be entered. An example of table 410 format can be                 The stuffing table 402 is used to format the outgoing (from
  seen in FIG. 10.                                                  35   server 24) message. As most messaging scenarios are basi-
      The message type table 408 is used to format the outgoing          cally the same, with small variations some message types
  (from server 24) message. As most messaging scenarios are              can therefore be re-used on many different mobile network
  basically the same, with small variations some message                 operators. The Format 402a assigns a number to each of the
  types can therefore be re-used on many different mobile                used formats and is basically a list pointer. The field Stuff_
  network operators. The TypelD 408a assigns a number to            40   code 402b describes in detail the of required MIN formatting
  each of the used formats. The field TypeDesc 408b describes            operations performed by the application. Here are some
  in detail the type of message formatting operations per-               examples or 402b:
  formed by the application. Here are some examples of 408b:                (stuffed "0")(prefix)(stuffed "15")(number)gemail
      Put [Message] In The Email Subject in this case the text           here the user input recipient MIN has a number 0 added, has
  enclosed as the message body is formatted to enter the            45   the prefix 406c added, has the number 15 added and then
  subject field of the target mobile network operators SMS               ends with the local form number. For example, if the sender
  application.                                                           12 were to send a message to an recipient 20, who corre-
      Put [StuffedNumber [Message]] in Email Subject in this             sponded to mobile network operator with this Stuff code, the
  case the Stuffed number (see 402 later) is placed alongside            input number may be: 234422 and the output number, after
  the message body within the email subject field.                  so   being modified in the server 24 application would be
     A comment field 408c allows any other pertinent infor-              05515234422. This would therefore be forwarded in this
  mation to be entered.                                                  form to the recipient 20 mobile operators network.
      Further examples of table 408 can be seen in FIG. 11.                 A comment field 402c allows any other pertinent infor-
      The Numbers Table 406 indicates that MIN or phone                  mation to be entered.
  number ranges for each particular celco Id. This table is         55      An example of the contents of table 402 can be seen in
  critical as it performs the initial lookup of the target mobile        FIG. 13.
  network operator, taking as its input an unknown MIN. The                 Here is an example of use of all the previously described
  celco ID 406a is that particular field for example identified          fields in the routing database 24:
  in field 404a used as a reference to index into the numbers               A user may send a message to the number 5733321588.
  Table 406, this field is a short alphanumeric label that          60   He prepares the message with the recipient's number located
  uniquely identifies all operators. The international country           in either the message body, or in the "to" field of the MO
  code 406b is included, and is used in cases where the                  SMS device and "sends" the message that is received on the
  incoming MIN number has had the country code isolated                  mobile network operator's SMSC and then forwarded to the
  from the rest of the number, this permits faster lookup as             server 24. The incoming message is parsed and authenti-
  only the number in that country are scanned. See step 220 in      65   cated and the routing database is consulted for the recipi-
  FIG. 4 for an example of its use. An area code or cellular             ent's number, specifically in the ranges 406f and 406g. In
  number prefix is included in the field 406c, some countries            this case, the number range is found to be associated to a
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                               27                                                                    28
  Colombian operator called "operator B". In FIG. 8, sector             may be included in a digital mobile network. The mobile
  406a, "operator B's unique ID is then returned. The ID 406a           device, for example, may include messaging capability. The
  associates the information in tables 404, and it's dependants         foregoing techniques may be used to provide for the inter-
  402 and 408. The ID returns the rules for formatting and              connection of devices which are new as well as legacy older
  processing the message. For example 404d points to lookup        5    technologically based communication devices. Additionally,
  table 402.                                                            these devices for source and point of destination may be
     In table 408 the message format type 408a is found, the            included in independent mobile operator networks, for
  message formatted accordingly in the correct fields. For              example, each in accordance with their own standards and
  example: the name of the sender is placed in the subject field        protocols. The user who is sending and receiving the mes-
  of the outgoing message. In one example, "operator B" is         a)   sages has the advantage of having the processor forwarding
  accepted and, therefore the message is left in the message            a message in a streamline fashion using the foregoing
  body.                                                                 techniques. The foregoing techniques may apply to a sender
     The stuff code, 402b, adds or removes digits from the              sending a message to one or more recipients.
  MIN to suit the operators numbering convention; some use                 The foregoing techniques consult a database to obtain
  international formats (like GSM operators, a typical number      15   information in accordance with a specified message recipi-
  being +5693183098), and some use local format numbers                 ent. The information may include, for example, country
  (typical in TDMA operators, a typical number being                    wide MIN format, an inquiry as to whether the database
  3183098). For example, when sending a message to a                    includes information corresponding to the particular recipi-
  TDMA operator's SMSC, if the incoming number is in                    ent, and routing information associated with the digital
  international format, the international country code may be      20   mobile network of the particular recipient. Routing infor-
  removed before sending to the SMSC. If it is not removed,             mation may include, for example, message body format
  the SMSC may not recognize the recipient and not deliver              information and electronic mailing addressing format infor-
  the message, or think that there is an error. In this example,        mation. Checks may also be made to verify the length of the
  the "operator B" is TDMA, but the ID reveals the operator             message sent and to be forwarded. Logging of all steps
  to be TDMA. The stuff code, 402b, indicates that the first       25   provides the framework to a billing and operator consoli-
  two digits are removed. The number 5733321588 then                    dation platform.
  becomes 33321588.                                                        The foregoing techniques may also be used in sending
     At this point, the message is formatted. It is determined          electronic messages using a server between users in different
  How to send the message to "operator B". The ID relates to            digital mobile networks or pulling content using host or
  table 404, and field 404g is checked. In this case "SMPP app     30   remote servers. A user may obtain information, such as, for
  2" is found forcing a DIRECT connection with the opera-               example, weather and stock information, by "pulling" the
  tor's SMSC. That loads the correct configuration file to the          information using the server. The user may communicate
  server 24. Fields and parameters are combined to form the             directly with the server to obtain the information requested.
  message output. Finally, a check to determine if the incom-           Alternatively, a user may communicate to the user's host
  ing message is of the correct length to fit in to one outgoing   35   SMSC. The server may then poll the host SMSC to receive
  message is performed with the information returned from               the user's request for information. Also, applications, such
  404h, number of character field. As the message is short in           as those requiring server processing of the received requests,
  this example, it fits easily into one outgoing message.               may be sent back to the requesting party, or sent on to third
     To complete the above example, if the message to be sent           parties. An example of such application is a Ringtone, a
  is "how are you", the following may be spooled to the SMTP       40   short musical theme used as the ringer on mobile devices.
  application for forwarding to the target mobile network               Such a ringtone may be requested by sending a message with
  operator:                                                             the tones name or catalogue number to the central server.
     Sending application name operator B 33321588                       The central server then processes the request and returns the
  how are you                                                           specially coded ringtone to the mobile device.
     The application starts, calling those details required for    45      It should be noted that in the foregoing, a front end
  operator B, such as IP address, user name and password, and           interface may be included in an embodiment, for example,
  once connected to the remote SMSC, will submit the mes-               using standard Internet protocols, allowing a user to enter
  sage as shown.                                                        and send messages using web-pages in accordance with
     Additionally, techniques described herein may be used in           configurations associated with, for example, FIGS. 1 and
  facilitating communication via SMS between source and            so   1A. These web pages may be "served" to a user by the server
  destination devices each using different underlying technol-          24.
  ogy. For example, one cellular telephone may be a micro                  Referring now to FIG. 9, shown is a more detailed
  browser telephone using software providing for WWW                    example of stuffing table 402 of FIG. 8.
  connections and functionality associated therewith. This                 Referring now to FIG. 10, shown is a more detailed
  type of device may communicate, for example, with older          55   example of a Celcos table 404 of FIG. 8.
  devices.                                                                 Referring now to FIG. 11, shown is a more detailed
     The foregoing also provides a simplified mobile operator           example of the Numbers table 406 of FIG. 8.
  network number input format with examples, each of which                 Referring now to FIG. 12, shown is a more detailed
  is unique for country, in an effort to reduce user input error        example of the Msg_type table 408 of FIG. 8. It should be
  via the simplified format. The foregoing also includes a         60   noted that FIG. 12 includes an additional field in this
  database having flexible construction to permit incorpora-            example, the application destination field 408d which, in this
  tion, for example, of new mobile network operators, and               example, may be used as an extension to the comments field
  updating information and message delivery methods as                  for informational purposes.
  needed. The foregoing techniques are included in a flexible              Referring now to FIG. 13, shown is a more detailed
  system that may be used for any one of variety of different      65   description of the Country_specs table 410 of FIG. 8.
  types of devices, for example, including micro browser                   While the invention has been disclosed in connection with
  cellular phones, or other types of devices, for example, that         preferred embodiments shown and described in detail, their
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                                29                                                                   30
  modifications and improvements thereon will become                      7. The method of claim 6, wherein routing information
  readily apparent to those skilled in the art. Accordingly, the       including a message delivery method uses one of:
  spirit and scope of the present invention should be limited             a direct connection to an operator, an application, and
  only by the following claims.                                              e-mail connection.
     What is claimed is:                                             5    8.  The method of claim 1, further comprising:
                                                                          polling said server by the sender for data.
     1. A method executed in a computer system for routing a
                                                                          9. The method of claim 8, further comprising:
  message from a sender in a first digital mobile network
                                                                          communicating a request for data to said server.
  employing a first digital mobile network protocol to an
                                                                          10. The method of claim 9, wherein said communicating
  intended receiver in a second different digital mobile net-
                                                                       a request for data to said server further comprises:
  work, the second digital mobile network employing a sec- 10
                                                                          directly sending a message to the server requesting infor-
  ond digital mobile network protocol that is different from the
                                                                             mation.
  first network protocol, the message comprising a message
                                                                          11. The method of claim 9, wherein said communicating
  body and associated message routing information, the
                                                                       a request for data to said server, further comprises:
  method comprising:
                                                                          communicating the request for data to a messaging ser-
     forwarding said message to a server from said sender, said 15
                                                                             vice center in said first digital mobile network;
        server being connectable to said first and said second
                                                                          polling, by said server, the messaging service center for
        digital mobile network;
                                                                             the request; and
     relating, using a routing database, a receiver identifier, the
                                                                          transmitting the request to said server.
        receiver identifier being contained in the associated
                                                                          12. The method of claim 11, wherein the request includes
        message routing information and associated with the
                                                                    20 a keyword, said keyword being one of: a command and a
        intended receiver, to corresponding routing format
                                                                       phone number.
        information associated with the second digital mobile
                                                                          13. The method of claim 12, wherein the request is for at
        network protocol, the routing format information asso-
                                                                       least one of:
        ciated with the second digital mobile network protocol
                                                                          stock information, weather information for a particular
        comprising at least a second protocol mobile carrier
                                                                    25       location identified in the message, and an application.
        interface format type and a second protocol mobile
                                                                          14. The method of claim 13, wherein a requested appli-
        carrier addressing format type;
                                                                       cation is at least one of:
     reformatting said associated message routing information
                                                                          a game, ringtones in connection with audio tones, and a
        into a format specified by said corresponding routing
                                                                             chat service.
        format information, wherein the reformatting is trans-
                                                                          15. The method of claim 1, wherein said sender is sending
        parent to a sender and receiver of the message and the 30
                                                                       the message to a plurality of users, each of said plurality of
        message body remains unchanged, by the steps of:
                                                                       users receiving the message being on different digital mobile
        translating the receiver identifier to a destination
                                                                       networks.
           address that conforms to the second protocol mobile
                                                                          16. The method of claim 15, further comprising:
           carrier addressing format type;
                                                                          determining which of said plurality of users receiving the
        placing the destination address into a reformatted mes- 35           message are included in a buddy list, said buddy list
           sage that has a structure that conforms to the second             including user specific information for message recipi-
           protocol mobile carrier interface format type; and                ents; and
        placing the message body unchanged into the refor-                reformatting said message in accordance with a format
           matted message in a manner that conforms to the                   associated with a particular digital mobile networks
           second protocol mobile carrier interface format type; 40          network for each of said plurality of users on different
           and                                                               digital mobile networks.
     forwarding said reformatted message to said receiver in              17. The method of claim 16, further comprising:
        accordance with the reformatted associated message                determining if a message recipient is within the first
        routing information.                                                 digital mobile network of said sender.
     2. The method of claim 1, wherein said message is a short 45         18. The method of claim 17, further comprising:
  message service message.                                                reformatting an electronic mailing address from a first
     3. The method of claim 1, wherein the sender sends the                  format associated with said first digital mobile network
  message and the receiver receives the message using at least               to a second format associated with the second digital
  one of:                                                                    mobile network.
     digital mobile device connected to the internet, digital             19. The method of claim 1, wherein said computer system
                                                                    50
        mobile device connected to the server through a service        includes said server and a plurality of different digital mobile
        center of an associated mobile network operator, and           networks, said plurality of different digital mobile networks
        computer system connected to the internet.                     including said first and said second digital mobile networks,
     4. The method of claim 1, further comprising:                     communications within said computer system being repre-
     performing a first query using the routing database to            sented as a hub-like structure with said server as the center
        determine a countrywide mobile identification number ss and each of said plurality of digital mobile networks being
        format of a country associated with the receiver.              a spoke extending from said server, all communications
     5. The method of claim 4, further comprising:                     between any two of said plurality of digital mobile networks
     performing a second query using the routing database to           being facilitated by said server.
        determine if information identifying the receiver is              20. The method of claim 19, wherein the message is sent
        included in the routing database.                           60 between a sender and receiver independent of operator,
     6. The method of claim 5, further comprising:                     location, and network protocols using said server.
     performing a third query using the routing database to               21. A computer program product for routing a message
        determine said routing information associated with the         from a sender in a first digital mobile network employing a
        second digital mobile network of the receiver, said            first digital mobile network protocol to an intended receiver
        routing information including at least one of:              65 in a second different digital mobile network, the second
        format of a message, electronic mail address format,           digital mobile network employing a second digital mobile
           and message delivery method.                                network protocol that is different from the first network
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                                                     US 7,209,950 B2
                              31                                                                     32
  protocol, the message comprising a message body and                     27. The computer program product of claim 21, further
  associated message routing information, the method com-              comprising:
  prising:                                                                machine executable code for polling, by the sender, said
     machine executable code for forwarding said message to                  server for data.
       a server from said sender, said server being connectable   5       28. The computer program product of claim 27, further
       to said first and said second digital mobile networks;          comprising:
     machine executable code for relating, using a routing                machine executable code for communicating a request for
       database, a receiver identifier, the receiver identifier              data to said server.
       being contained in the associated message routing                  29. The computer program product of claim 28, wherein
       information and associated with the intended receiver           said machine executable code for communicating a request
                                                                  10
       to corresponding routing format information associated          for data to said server further comprises:
       with the second digital mobile network protocol, the               machine executable code for directly sending a message
       routing format information associated with the second                 to the server requesting information.
       digital mobile network protocol comprising at least a              30. The computer program product of claim 28, wherein
       second protocol mobile carrier interface format type            said machine executable code for communicating a request
       and a second protocol mobile carrier addressing format     15   for data to said server, further comprises machine executable
       type;                                                           code for:
                                                                          communicating the request for data to a messaging ser-
     machine executable code for reformatting said associated                vice center in said first digital mobile network;
       message routing information into a format specified by             polling, by said server, the messaging service center for
       said corresponding routing format information,             20         the request; and
       wherein the reformatting is transparent to a sender and            transmitting the request to said server.
       receiver of the message and the message body remains               31. The computer program product of claim 30, wherein
       unchanged, by the steps of:                                     the request includes a keyword, said keyword being one of:
       translating the receiver identifier to a destination               a command and a phone number.
          address that conforms to the second protocol mobile     25      32. The computer program product of claim 30, wherein
          carrier addressing format type;                              the request is for one of:
       placing the destination address into a reformatted mes-            stock information and weather information for a particular
          sage that has a structure that conforms to the second              location identified in the message.
          protocol mobile carrier interface format type; and              33. The computer program product of claim 21, wherein
                                                                       said sender is sending the message to a plurality of users,
       placing the message body unchanged into the refor-         30
                                                                       each of said plurality of users receiving the message being
          matted message in a manner that conforms to the              on different digital mobile networks.
          second protocol mobile carrier interface format type;           34. The computer program product of claim 33, further
          and                                                          comprising:
     machine executable code for forwarding said reformatted              machine executable code for determining which of said
       message to said receiver in accordance with the refor-     35         plurality of users receiving the message are included in
       matted associated message routing information.                        a buddy list, said buddy list including user specific
     22. The computer program product of claim 21, wherein                   information for message recipients; and
  said message is a short message service message.                        machine executable code for reformatting said message in
     23. The computer program product of claim 21, wherein                   accordance with a format associated with a particular
  the sender sends the message and the receiver receives the      40         digital mobile network for each of said plurality of
  message using at least one of:                                             users on different digital mobile networks.
                                                                          35. The computer program product of claim 34, further
     digital mobile device connected to the internet, digital          comprising:
       mobile device connected to the server through a service            machine executable code for determining if a message
       center of an associated mobile network operator, and                  recipient is within the first digital mobile network of
       computer system connected to the internet.                 45
                                                                             said sender.
     24. The computer program product of claim 21, further                36. The computer program product of claim 35, further
  comprising:                                                          comprising:
     machine executable code for performing a first query                 machine executable code for reformatting an electronic
       using the routing database to determine a countrywide                 mailing address from a first format associated with said
                                                                  50
       mobile identification number format of a country asso-                first digital mobile network to a second format associ-
       ciated with the receiver.                                             ated with the second digital mobile network.
     25. The computer program product of claim 24, further                37. The computer program product of claim 21, wherein
  comprising:                                                          said computer system includes said server and a plurality of
     machine executable code for performing a second query             different digital mobile networks, said plurality of different
       using the routing database to determine if information     55   digital mobile networks including said first and said second
       identifying the receiver is included in the routing             digital mobile networks, communications within said com-
       database.                                                       puter system being represented as a hub-like structure with
                                                                       said server as the center and each of said plurality of digital
     26. The computer program product of claim 25, further             mobile networks being a spoke extending from said server,
  comprising:                                                     60   all communications between any two of said plurality of
     machine executable code for performing a third query              digital mobile networks being facilitated by said server.
       using the routing database to determine said routing               38. The computer program product of claim 37, wherein
       information associated with the second digital mobile           the message is sent between a sender and receiver indepen-
       network of the receiver, said routing information               dent of operator, location, and network protocols using said
       including at least one of:                                      server.
                                                                  65
     format of a message, electronic mail address format, and
       message delivery method.                                                              *   *   *    *   *
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                              UNITED STATES PATENT AND TRADEMARK OFFICE
                                   CERTIFICATE OF CORRECTION
PATENT NO.                  : 7,209,950 B2                                                                                     Page 1 of 4
APPLICATION NO.             : 09/921167
DATED                       : April 24, 2007
INVENTOR(S)                 : Simon Bennett et al.

It is certified that error appears in the above-identified patent and that said Letters Patent is hereby corrected as shown below:

         Column 1, line 27, after "network operator network" insert -- of that --;
               line 34, delete "to" and insert -- with --.

         Column 2, line 32, delete "FIG. 2 is" and insert -- FIGS. 2A and B depict --.
               line 36, delete "FIG. 3 is" and insert -- FIGS. 3A-C depict --.
               line 41, delete "FIG. 4 is" and insert -- FIGS. 4A and B depict --.

         Column 10, line 5, delete "FIG. 2" and insert -- FIGS. 2A and 2B --;
               line 10, delete "FIG. 2" and insert -- FIGS. 2A and 2B --.
               line 44, delete "Fig. 2" and insert -- FIG. 2A --.

         Column 11, line 12, delete "Fig. 2" and insert -- FIG. 2A --.

         Column 12, line 29, delete "FIG. 2" and insert -- FIGS. 2A and 2B --.
               line 56, delete "FIG. 2" and insert -- FIGS. 2A and 2B --;
               line 61, delete "FIG. 2" and insert -- FIGS. 2A and 2B --;
               line 63, delete "FIG. 3" and insert -- FIGS. 3A-C --;
               line 67 and at column 13, line 1, delete "FIG. 3" and insert -- FIGS. 3A-C

         Column 13, line 43, delete "FIG. 3" and insert -- FIG. 3A --;
               line 59, delete "FIG. 3" and insert -- FIG. 3A --.

         Column 15, line 31, delete "FIG. 2" and insert -- FIGS. 2A and 2B --;
               line 36, delete "FIG. 2", first occurrence and insert -- FIG. 2B --;
               lines 36 and 37, delete "FIG. 2" and insert -- FIGS. 2A and 2B --.
               line 56, delete "FIG. 4" and insert -- FIGS. 4A and 4B --.

         Column 16, line 29, delete "FIG. 2" and insert -- FIGS. 2A and 2B --;
               line 34, delete "FIG. 2" and insert -- FIG. 2B --.



                                                                                    Signed and Sealed this
                                                                                 Seventeenth Day of May, 2011




                                                                                                    David J. Kappos
                                                                               Director of the United States Patent and Trademark Dice
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CERTIFICATE OF CORRECTION (continued)                                                                      Page 2 of 4
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              line 37, delete "FIG. 3" and insert -- FIGS. 3A-C --;
              line 42, delete "FIG. 2" and insert -- FIGS. 2A and 2B --.

      Column 17, line 13, delete "FIG. 3" and insert -- FIGS. 3A-C --.
            line 52, delete "FIG. 3" and insert -- FIGS. 3A-C --.

      Column 18, line 8, delete "FIG. 4" and insert -- FIGS. 4A and 4B --;
            line 13, "FIG. 4" and insert -- FIGS. 4A and 4B --.

      Column 21, line 15, delete "the FIG. 300" and insert -- FIG. 5 --.

      Column 23, line 56, delete "360" and after "FIG. 7" insert -- 360 --.

      Column 25, line 66 delete "FIG. 4" and insert -- FIG. 4A --.

      Column 29, line 6, cancel the text beginning with "1. A method executed" to and ending "routing
      information." in column 29, line 44, and insert the following claim:

               -- 1. A method executed in a computer system for routing a message from a sender in a first
      digital mobile network employing a first digital mobile network protocol to an intended receiver in a
      second different digital mobile network, the second digital mobile network employing a second digital
      mobile network protocol that is different from the first network protocol, the message comprising a
      message body and associated message routing information, the method comprising:
               forwarding said message to a server from said sender, said server being connectable to said
      first and said second digital mobile network;
               relating, at the application layer using a routing database, a receiver identifier, the receiver
      identifier being contained in the associated message routing information and associated with the
      intended receiver, to a method associated with a network connection type associated with the second
      digital mobile network and corresponding routing format information associated with the second
      digital mobile network protocol, the routing format information associated with the second digital
      mobile network protocol comprising at least a second protocol mobile carrier interface format type and
      a second protocol mobile carrier addressing format type;
               reformatting said associated message routing information into a format specified by said
      corresponding routing format information, wherein the reformatting is transparent to a sender and
      receiver of the message and the message body remains unchanged, by the steps of:
               translating the receiver identifier to a destination address that conforms to the second protocol
      mobile carrier addressing format type;
               placing the destination address into a reformatted message that has a structure that conforms to
      the second protocol mobile carrier interface format type; and
               placing the message body unchanged into the reformatted message in a manner that conforms
      to the second protocol mobile carrier interface format type; and
               forwarding said reformatted message to said receiver in accordance with the method
      associated with the network connection type and the reformatted associated message routing
      information. --
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CERTIFICATE OF CORRECTION (continued)                                                                         Page 3 of 4
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      Column 29, line 57, cancel the text beginning with "5. The method of claim 4" to and ending
      "included in the routing database." at line 60 and insert the following claim:

               -- 5. The method of claim 1, the step of relating further comprising:
               performing a query using the routing database to determine a countrywide mobile
      identification number format of a country associated with the receiver. --

      Column 29, line 61, cancel the text beginning with "6. The method of claim 5" to and ending "and
      message delivery method." at line 67 and insert the following claim:

              -- 6. The method of claim 1 the step of relating further comprising:
              performing a query using the routing database to determine if information related to the
      receiver is included in the routing database and returning an error message if the information is not
      found. --

      Column 30, line 1, cancel the text beginning with "7. The method of claim 6" to and ending "e-
      mail connection." at line 4 and insert the following claim:

                -- 7. The method of claim 1, the step of relating further comprising:
                performing a query using the routing database to determine said routing information
      associated with the second digital mobile network of the receiver, said routing information including
      at least;
                an electronic mail address format. --

      Column 30, line 5, cancel the text: "8. The method of claim 1, further comprising: polling said server
      by the sender for data." and insert the following claim:

               -- 8. The method of claim 1, wherein the method associated with the network connection type
      uses at least one of:
               a direct connection to an operator, an application, and an e-mail connection. --

      Column 30, line 62, cancel the text beginning with: "21. A computer program product" to and ending
      "associated message routing information." and insert the following claim:

              -- 21. A computer program product stored on a computer storage media for routing a
      message from a sender in a first digital mobile network employing a first digital mobile network
      protocol to an intended receiver in a second different digital mobile network, the second digital mobile
      network employing a second digital mobile network protocol that is different from the first network
      protocol, the message comprising a message body and associated message routing information,
      comprising:
              machine executable code for forwarding said message to a server from said sender, said server
      being connectable to said first and said second digital mobile networks;
              machine executable code for relating, at the application layer using a routing database,
      a receiver identifier, the receiver identifier being contained in the associated message routing
      information and associated with the intended receiver to a method associated with a network
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CERTIFICATE OF CORRECTION (continued)                                                                      Page 4 of 4
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      connection type associated with the second digital mobile network and corresponding routing
      format information associated with the second digital mobile network protocol, the routing
      format information associated with the second digital mobile network protocol comprising at
      least a second protocol mobile carrier interface format type and a second protocol mobile
      carrier addressing format type;
               machine executable code for reformatting said associated message routing information into a
      format specified by said corresponding routing format information, wherein the reformatting is
      transparent to a sender and receiver of the message and the message body remains unchanged,
      translating the receiver identifier to a destination address that conforms to the second protocol mobile
      carrier addressing format type , placing the destination address into a reformatted message that has a
      structure that conforms to the second protocol mobile carrier interface format type, and placing the
      message body into the reformatted message in a manner that conforms to the second protocol mobile
      carrier interface format type; and
               machine executable code for forwarding said reformatted message to said receiver in
      accordance with the method associated with the network connection type and the reformatted
      associated message routing information. --

      Column 31, line 46, cancel the text beginning with "24. The computer program product of claim 21"
      to and ending "associated with the receiver.", and insert the following claim:

             -- 24. The computer program product of claim 21, further comprising:
             machine executable code for performing a query using the routing database to determine a
      countrywide mobile identification number format of a country associated with the receiver. --

      Column 31, line 52, cancel the text beginning with "25. The computer program product" to and ending
      "included in the routing database.", and insert the following claim:

               -- 25. The computer program product of claim 21, further comprising:
               machine executable code for performing a query using the routing database to determine if
      information related to the receiver is included in the routing database and returning an error message if
      the information is not found. --

      Column 31, line 58, cancel the text beginning with "26. The computer program product" to and ending
      "and message delivery method.", and insert the following claim:

              -- 26. The computer program product of claim 25, further comprising:
              machine executable code for performing a query using the routing database to determine said
      routing information associated with the second digital mobile network of the receiver, said routing
      information including at least
              an electronic mail address format. --
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                       Exhibit O
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                                                                              I11111
                                                                                 11111111
                                                                                     III11111
                                                                                          11111
                                                                                            RIJI1911,1111111)11
                                                                                                       21,111111111111111111111
  (12) United States Patent                                                             (10) Patent No.:     US 7,937,081 B2
         Phan-Anh et al.                                                                (45) Date of Patent:      May 3, 2011

  (54)    RECOVERY TECHNIQUES IN MOBILE                                                   6,097,942     A       8/2000    Laiho
          NETWORKS                                                                        6,163,532     A      12/2000    Taguchi et al.
                                                                                          6,408,182     B1      6/2002    Davidson et al.
                                                                                          6,411,632     B2      6/2002    Lindgren et al.
  (75)    Inventors: Son Phan-Anh, Budapest (HU); Balint                                  6,445,911     B1      9/2002    Chow et al.
                     Benko, Budapest (HU); Auvo                                           6,587,882     B1      7/2003    Inoue et al.
                     Hartikainen, Budapest (HU); Markku                                   6,594,490     B1      7/2003    Toyoda et al.
                     Verkama, Espoo (FI); Heikki Juhani                                   6,600,920     B1      7/2003    Stephens et al.
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                     Einola, Helsinki (FI); Stefano Faccin,
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                     Dallas, TX (US)                                                      6,707,813     B1      3/2004    Hasan et al.
                                                                                          6,721,291     B1      4/2004    Bergenwall et al.
  (73)    Assignee: Spyder Navigations L.L.C.,                                            6,732,177     B1      5/2004    Roy
                    Wilmington, DE (US)                                                                            (Continued)

   *)     Notice:      Subject to any disclaimer, the term of this                                        OTHER PUBLICATIONS
                       patent is extended or adjusted under 35
                       U.S.C. 154(b) by 0 days.                                    International Preliminary Examination Report for PCT/IB02/00721
                                                                                   completed Apr. 3, 2003.
  (21)    Appl. No.: 12/720,862                                                    International Search Report for PCT/IB02/00721, mailed Feb. 26,
                                                                                   2003.
  (22)    Filed:       Mar. 10, 2010
                                                                                                                   (Continued)
  (65)                    Prior Publication Data
                                                                                   Primary Examiner — Nghi H Ly
          US 2010/0167735 Al            Jul. 1, 2010
                                                                                   (57)                            ABSTRACT
                    Related U.S. Application Data                                  A technique for protecting location information of a sub-
  (62)    Division of application No. 09/802,861, filed on Mar.                    scriber in a mobile network is disclosed which forwards a
          12, 2001.                                                                registration request from the subscriber to an S-CSCF includ-
                                                                                   ing the subscriber's TA and then forwarding a location update
  (51)    Int. Cl.                                                                 from the S-CSCF to an HSS including the subscriber's TA.
          HO4W 24/00               (2009.01)                                       Upon the S-CSCF losing data, lost data may be restored to the
  (52)    U.S. Cl.                 455/424; 455/435.1; 455/415;                    S-CSCF from the data stored in the HSS. The HSS may store
                                      455/433; 370/328; 370/338                    data in a non-volatile memory such as a hard disk drive. The
  (58)    Field of Classification Search                455/424,                   technique may also include forwarding a registration request
                             455/435.1, 415, 433; 370/328, 338                     from the subscriber to an S-CSCF including the subscriber's
          See application file for complete search history.                        TA and then forwarding a location update from the S-CSCF to
                                                                                   an HSS and storing data in a non-volatile memory such as a
  (56)                    References Cited                                         hard disk drive in the S-CSCF so as to be protected against
                                                                                   loss. Upon the S-CSCF losing data, lost data including the
                    U.S. PATENT DOCUMENTS                                          subscriber's TA may be restored to the S-CSCF from the data
         5,077,830 A      12/1991 Mallia                                           stored in the S-CSCF.
         5,463,672 A      10/1995 Kage
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                       1. S-CSCF CRASHES AND
                       RESTARTS -> S-CSCF HAS
                       NO MEMORY OF WHAT MSs WERE
                       REGISTERED WITH IT AND DOES               7. SERVICE PROFILE                    3. ROUTE REQUEST
                       NOT HAVE ANY OF THE MSs                   (MS HOME ADDRESS)                     (DIALED ALIAS)
                       ADDRESSES
                                                                   6. ROUTE REQUEST            4. S-CSCF ADDRESS
                                                                                               (SUBSCRIBER IDENTITY)
                                                         .7         SUBSCRIBER IDENTITY,
                                                                   (RESTART")
                                                                   "
                                                                                                                       2. INCOMING CALL
                                                       S-CSCF          5. CALL SETUP                      I-CSCF
                                                                       (SUBSCRIBER IDENTITY,                           (DIALED ALIAS)
                            11. ADDRESS UPDATt                         DIALED ALIAS)

                                                                            CALL SETUP
                                            12. CALL CONTROL SIGNALING   (TO HOME ADDRESS)
                                            (TO CARE OF ADDRESS) PACKETS PACKETS SENT BEFORE ADDRESS UPDATE
                                            SENT AFTER ADDRESS UPDATE

                                                                                                                     9. FORWARDS PACKETS
                                                                GGSN              10. CALL SETUP               HOME TO CARE OF ADDRESS
                                MS                                                                             AGENT
                                                                                  (TO CARE OF ADDRESS)
                                                                                  PACKETS SENT BEFORE
                                                                                  ADDRESS UPDATE
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 FIG.                                                          EGACY MOBIL
               ALTERNATIVE       APPLICATIONS                    SIGNALING
                 ACCESS          & SERVICES*)                       ETWOR
                                                                       1
                                                                                                                lualud *S'il




                NETWORK               SCP                                                       MULTIMEDIA
                                                        •••        R-SG.W11       CSCF  I      IP NETWORKS
                                                       Mh        • Ms        xMw ><" .
                              CAP/.                             \         ./.        Mm
                                                            ,cx
                                             HSS*                  CSCF
                                                       •.       Gf ± -t-Mr             Gi
                                              E.IR                   i
                                                         ••.\.         MRF
                                                                          Gi      MGCF1------IT-SGW*) I
                 BSS/    lu
    TE MT        GERAN         Gb            SGSNI           I      GGSN            4- Mc
       R                                                                      Gi     !
             Urn        .>e,A                               Gn
                      lu                                                                           PSTN/
    TE MT        UTRAN        . I             VGITI/                              MGW   I  LEGACY/EXTERNAL
                                                                                                             9 .19 1 WIN




       R     Uu          \/ \ lu                                 Nb
                       lu `..,,, `.\             —rMc                            Mct
                                 N .,                                                              /
                                   .....;                        Nc
-- SIGNALLING INTERFACE                .' MSC SERVER 1----1.— GMSC SERVERF — T-SGW*)I
   SIGNALLING AND DATA                   ,1           \ ,.
   TRANSFER INTERFACE CAP                      \_.— • .\-;              /
                                           .
                                                CAP D \.                C
                       APPLICATIONS                            HSS*           R-SGW*
                        & SERVICES*)                                    Mh
                                                                                                             Zll I8O`L£6`L Sfl
                                                                                                                                 Case 1:21-cv-01323-CFC Document 1-1 Filed 09/17/21 Page 231 of 440 PageID #: 280
                                                                                                          lualud °Sil




FIG. 2
  I-MSC              HLR              V-MSCNLR       BSS UNDER V-MSCNLR      CALLED PARTY                ,.,6
                                                                                                         .f.44
                                                                                                          .„..,
 1. LOCATING CURRENT V-MSCNLR FOR CALLED PARTY

     2. SETUP TOWARD V-MSCNLR

                                  3. NO LA INFO => PAGING THE CALLED PARTY IN ALL CELLS UNDER V-MSCNLR
                                                                                                         9 .19 Z WIN




                                             I
                                                                                                          Zll I8O`L£6`L Sfl
                                                                                                                              Case 1:21-cv-01323-CFC Document 1-1 Filed 09/17/21 Page 232 of 440 PageID #: 281
FIG. 3
                                                                                              lualud °Sil




         I-CSCF                        HSS              S-CSCF               CALLED-PARTY


                  1. LOCATING S-CSCF

            2. SETUP TOWARD S-CSCF

                                                 3. NO TA OF CALLED-PARTY
                                             => CALLED-PARTY NOT REACHABLE
                                                                                            9 JO £ PaMS
                                                                                              Zll I8O`L£6`L Sfl
                                                                                                                  Case 1:21-cv-01323-CFC Document 1-1 Filed 09/17/21 Page 233 of 440 PageID #: 282
FIG. 4A
                                                                                                      lualud °Sil




  REP                       S-CSCF                       HSS                   CALLED SUBSCRIBER


   1. INCOMING CALL
                                                                                                     6
                                                                                                   ,.,.1,4
                                                                                                    ....,
   2. LOOK UP FOR TA & DATA OF CALLED SUBSCRIBER FAILS


                      3. RESTORE TA & DATA FROM HSS TO S-CS F
                                                                                                   9 JO 17 JamiS




                                4. CALL TO SUBSCRIBER ROUTED BY RECOVERED TA
                                                                                                      Zll I8O`L£6`L Sfl
                                                                                                                          Case 1:21-cv-01323-CFC Document 1-1 Filed 09/17/21 Page 234 of 440 PageID #: 283
FIG. 4B
                                                                                          lualud °Sil




  REGISTERING SUBSCRIBER            S-CSCF                      HSS



            1. AL REGISTRATION REQUEST (TA, ETC)

                                       2. AL LOCATION UPDATE (TA, S-CSCF ADDRESS, ETC)

                                                   3. STORES TA, S-CSCF ADDRESS
                                                                                         9 JO S JamiS




                                       •4. AL LOCATION UPDATE ACK

                   5. STORES TA, SUBSCRIPTION PROFILE, ETC


              6. AL REGISTRATION ACK
                                                                                          Zll I8O`L£6`L Sfl
                                                                                                              Case 1:21-cv-01323-CFC Document 1-1 Filed 09/17/21 Page 235 of 440 PageID #: 284
    FIG. 5
                                                                                                                           lualud °Sil




1. S-CSCF CRASHES AND                                                       UMS
RESTARTS -> S-CSCF HAS
NO MEMORY OF WHAT MSs WERE
REGISTERED WITH IT AND DOES                  7. SERVICE PROFILE                    3. ROUTE REQUEST
NOT HAVE ANY OF THE MSs                      (MS HOME ADDRESS)                     (DIALED ALIAS)
ADDRESSES                                                                                                               ,.,6
                                  \                 V                                                                    f44
                                                6. ROUTE REQUEST           4. S-CSCF ADDRESS                             ...,
                                            /(SUBSCRIBER IDENTITY,         (SUBSCRIBER ENTITY)                          .
                                      ,sk       "RESTART")

                          „.----.1 S-CSCF          5. CALL SETUP                                  2. INCOMING CALL
                      ..--                         (SUBSCRIBER IDENTITY,             I-CSCF       (DIALED ALIAS)
    11. ADDRESS UPDATE                             DIALED ALIAS)
                  ,-•
               .-'
                                                   8. CALL SETUP
                                                                                                                        9 JO 9 JamiS




                      12. CALL CONTROL SIGNALING   (TO HOME ADDRESS)
                      (TO CARE OF ADDRESS) PACKETS PACKETS SENT BEFORE ADDRESS UPDATE
                      SENT AFTER ADDRESS UPDATE

                                                                                                  9. FORWARDS PACKETS
                                                                                          HOME    TO CARE OF ADDRESS
         MS                                 GGSN              10. CALL SETUP
                                                              (TO CARE OF ADDRESS)        AGENT

                                                              ADDRESS UPDATE
                                                                                                                          Zll I8O`L£6`L Sfl
                                                                                                                                              Case 1:21-cv-01323-CFC Document 1-1 Filed 09/17/21 Page 236 of 440 PageID #: 285
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                                                        US 7,937,081 B2
                                 1                                                                     2
         RECOVERY TECHNIQUES IN MOBILE                                   request to a User Mobility Server (UMS) and receiving a
                  NETWORKS                                               home address of the subscriber and then forwarding the call
                                                                         setup request from the S-CSCF to a home agent at the home
        CROSS-REFERENCE TO RELATED PATENT                                address of the subscriber and then forwarding the call setup
                  APPLICATIONS                                      5    request from the home agent to the subscriber and subse-
                                                                         quently forwarding an address update from the subscriber to
     This application is a Division of U.S. patent application           the S-CSCF.
  Ser. No. 09/802,861, filed Mar. 12, 2001, which is incorpo-
  rated herein by reference in its entirety.                                   BRIEF DESCRIPTION OF THE DRAWINGS
                                                                    10
                              FIELD                                       The foregoing and a better understanding of the present
                                                                       disclosure will become apparent from the following detailed
     The present disclosure relates to recovery techniques for         description of example embodiments and the claims when
  use in mobile networks. More particularly, the present disclo-       read in connection with the accompanying drawings, all
  sure relates to protecting the Transport Address (TA) which is 15 forming a part of the disclosure of this disclosure. While the
  a current Care of Address of a mobile subscriber is reachable        foregoing and following written and illustrated disclosure
  from loss and after Call State Control Function (CSCF)
                                                                       focuses on disclosing example embodiments of the invention,
  crashes and after reset situations of a network element real-
                                                                       issued a clearly understood that the same is by way of illus-
  izing CSCF functionality.
                                                                    20 tration and example only and the invention is not limited

               DESCRIPTION OF RELATED ART                              thereto. The spirit and scope of the present invention are
                                                                       limited only by the terms of the appended claims.
     Technical Report TR 23.821 V1.0.1, published July 2000               The following represents brief descriptions of the draw-
  by the 3rd Generation Partnership Project (3GPP) and avail-          ings, wherein:
  able on the Internet at http://www.3gpp.org, discloses the 25           FIG. 1 illustrates the architecture of a 3G All-IP mobile
  specifications of a 3G All-IP mobile network and this report is      network.
  incorporated by reference herein in its entirety.                       FIG. 2 illustrates reaching a called party after losing LA
     FIG. 1 illustrates the architecture of the network disclosed      (Location Area) information in a legacy mobile network.
  in the above-noted Technical Report. The elements shown                 FIG. 3 illustrates failure to reach a called party after losing
  with asterisks are elements which have been duplicated for 30 TA information in a 3GPP All-IP mobile network.
  figure layout purposes only. These duplicated elements                  FIG. 4A illustrates sending subscriber TA to S-CSCF and
  belong to the same logical element in the reference model.           then forwarding it to HSS at registration.
     Unfortunately, the network disclosed in the Technical                FIG. 4B illustrates an example of reaching a called party
  Report fails to include any protection of the TA of a 3G All-IP      after losing TA information in a mobile network in accor-
  subscriber from loss. Furthermore, the network disclosed in 35 dance with the present disclosure.
  the Technical Report fails to protect the IP address of a sub-
                                                                          FIG. 5 illustrates the signal flow in the case of a recovery
  scriber in the case of a reset situation of a network element
                                                                       after a CSCF crash in accordance with another embodiment
  realizing CSCF functionality, that is, a CSCF, thereby pre-
                                                                       of the present disclosure.
  venting recovery after a reset of the network element. Still
  furthermore, the network disclosed in the Technical Report        40
                                                                           DETAILED DESCRIPTION OF THE PREFERRED
  fails to protect the location information of a subscriber after a
                                                                                              EMBODIMENTS
  CSCF crash, thereby preventing recovery after a CSCF crash.

                           SUMMARY                                    Before beginning a detailed description of the subject dis-
                                                                   closure, mention of the following is in order. When appropri-
                                                                    45
     An object of the present disclosure is to provide a technique ate, like reference numerals and characters may be used to
  for recovering location information of a subscriber in a         designate identical, corresponding, or similar components in
  mobile network including forwarding a registration request       differing drawing figures. Furthermore, in the detailed
  from the subscriber to an S-CSCF including the subscriber's      description to follow, example sizes/models/values/ranges
  TA and then forwarding an AL (Application Level) location so may be given, although the present invention is not limited
  update from the S-CSCF to a Home Subscriber Server (HSS)         thereto. Lastly, other components may not be shown within
  including the subscriber's TA and the (S-CSCF) address and       the drawing figures for simplicity of illustration and discus-
  storing data including the subscriber's TA and the S-CSCF        sion and so as not to obscure the invention.
  address in the HSS so as to be protected against loss.              In the application level of a 3G All-IP network, the reach-
     Another object of the present disclosure is to provide a 55 ability of a subscriber is maintained in two levels, namely, the
  technique for recovering location information of a subscriber    network element level and the subscriber level. The S-CSCF
  in a mobile network including forwarding a registration          that the subscriber is currently registered to and the TA of the
  request from the subscriber to an S-CSCF including the sub-      roaming subscriber, which the subscriber provides to the
  scriber's TA and then forwarding an AL location update from      network during Application Level (AL) registration, must be
  the S-CSCF to an HSS including the S-CSCF address and 60 known to and maintained by the network.
  storing data including the subscriber's TA in a non-volatile        Without specific support for mobility in IPv6, packets des-
  memory of the S-CSCF so as to be protected against loss.         tined to a mobile subscriber would not be able to reach it
     Yet another object of the present disclosure is to provide a  while the subscriber is away from its home link (the link on
  technique for recovering location information of a subscriber    which its home IPv6 subnet prefix is in use), since routing is
  in a mobile network including upon an S-CSCF receiving a 65 based on the subnet prefix in a packet's destination IP
  call setup request for the subscriber from an Interrogating      address. In order to continue communication in spite of its
  Call State Control Function (I-CSCF), forwarding a route         movement, a subscriber could change its IP address each time
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                                  3                                                                           4
  it moves to a new link, but it would then not be able to                    mation by a searching/paging mechanism. In step 1, the cur-
  maintain transport and higher-layer connections when it                     rent V-MSC/VLR for a called party is first located and in step
  changes location.                                                           2 a setup toward the V-MSC/VLR is. performed. In step 3,
      Mobile IPv6 allows a subscriber to move from one link to                upon a loss of the LA information, the called party is paged in
  another without changing its IP address. A subscriber is               5    all cells under the V-MSC/VLR.
  always addressable by its "home address", an IP address                        On the other hand, as illustrated in FIG. 3, in the 3G All-IP
  assigned to it within its home subnet prefix on its home link.              network, no such searching mechanism is available, so that
  Packets may be routed to the subscriber using this address                  the information of the current S-CSCF (stored in the HSS) is
  regardless of its current point of attachment to the Internet,              insufficient to reach the subscriber upon the loss of the sub-
  and it may continue to communicate with others after moving            10   scriber TA. In step 1, S-CSCF is located and in step 2 a setup
  to a new link. The movement of a subscriber away from its                   toward the S-CSCF is performed. However, in step 3, in the
  home link is thus transparent to transport and higher-layer                 absence of the TA of the called party, the called parry is not
  protocols and applications.                                                 reachable.
      A mobile subscriber is always addressable by its home                      The applicants have determined that the TA of a 3G All-IP
  address, whether it is currently attached to its home link or is       is   subscriber should be protected against loss with the same
  away from home. While it is at home, packets addressed to its               level of security as that for the Serving CSCF (S-CSCF). The
  home address are routed to it using conventional Internet                   applicants have proposed options to protect the TA of a sub-
  routing mechanisms in the same way as if it were never                      scriber, namely, one option in which the TA is forwarded to
  mobile. Since the subnet prefix of its home address is the                  the HSS and another option in which there is a security
  subnet prefix (or one of the subnet prefixes) on the subscrib-         20   backup of the TA within the CSCF. The TA of the subscriber
  ers' home link (it is the mobile subscribers' home subnet                   should be forwarded to the HSS at registration and down-
  prefix), packets addressed to it will be routed to its home link.           loaded from the HSS to the S-CSCF during recovery. Still
      While a subscriber is attached to some foreign link away                another option is to have a permanent IPv6 (Internet Protocol
  from home, it is also addressable by one or more care-of                    Version 6) address allocated to the subscriber and to have the
  addresses, in addition to its home address. A care-of address          25   subscriber update its current Care-of Address (part of the TA)
  is an IP address associated with a mobile node while the                    to the Home Agent upon obtaining the current TA.
  subscriber is visiting a particular foreign link. The subnet                   As noted above, in accordance with the present disclosure,
  prefix of a subscriber's care-of address is the subnet prefix (or           various options are available for implementing protection and
  one of the subnet prefixes) on the foreign link being visited by            recovery of the subscriber TA.
  it; if it is connected to this foreign link while using that care-of   30      In the first option, as illustrated in FIG. 4A, "a safe copy" of
  address, packets addressed to this care-of address will be                  the subscriber's TA is forwarded to the HSS for storage and
  routed to the subscriber in its location away from home.                    protection. The TA must enjoy the same level of protection
      The association between a subscriber's home address and                 against loss as the S-CSCF address. The TA and other data can
  care-of address is known as a "binding" for the subscriber. It              then be restored to the S-CSCF upon the earlier loss of the
  typically acquires its care-of address through stateless or            35   data by the S-CSCF. It is noted that the subscriber's TA is
  stateful Address Autoconfiguration, according to the methods                stored in the S-CSCF for normal operation. An incoming call
  of IPv6 Neighbor Discovery. Other methods of acquiring a                    from an REP (Remote End-Point) is received by the S-CSCF
  care-of address are also possible, such as static preassignment             in step 1. In step 2, the S-CSCF looks for the subscriber's TA
  by the owner or manager of a particular foreign link, but                   so as to route the call but fails to find the subscriber's TA. In
  details of such other methods are beyond the scope of this             40   step 3, the S-CSCF initiates the restoration of the subscriber's
  discussion.                                                                 TA (and possibly other data) from the HSS. This option is
      While away from home, a mobile subscriber registers one                 only available when the S-CSCF loses only the TA of the
  of its care-of addresses with a router on its home link, request-           subscriber. Finally, in step 4, the call is then routed to the
  ing this router to function as the "home agent" for it. This                subscriber using the recovered TA.
  binding registration is done by the subscriber sending to the          45      As illustrated in FIG. 4B in step 1, the registering sub-
  home agent a packet containing a "Binding Update" destina-                  scriber forwards an AL registration request to the S-CSCF
  tion option; the home agent then replies to the subscriber by               including the TA. In step 2, an AL Location Update is for-
  returning a packet containing a "Binding Acknowledgment"                    warded to the HSS including the TA and S-CSCF address. In
  destination option. The care-of address in this binding regis-              step 3, the HSS stores the updated TA and S-CSCF address (in
  tered with its home agent is known as the subscriber's "pri-           so   a hard disk, for example, or other non-volatile memory). In
  mary care-of address". The subscribers' home agent thereaf-                 step 4, the HSS forwards an AL Location Update acknowl-
  ter uses proxy Neighbor Discovery to intercept any IPv6                     edgement to the S-CSCF which stores the TA and subscrip-
  packets addressed to the subscribers' home address (or home                 tion profile and other data in step 5. In step 6, the S-CSCF
  addresses) on the home link and tunnels each intercepted                    forwards an AL registration acknowledge to the registering
  packet to the subscribers' primary care-of address. To tunnel          55   subscriber.
  each intercepted packet, the home agent encapsulates the                       In the second option, the same level of protection against
  packet using IPv6 encapsulation, with the outer IPv6 header                 loss applies for the subscriber's TA stored in the S-CSCF as
  addressed to the subscribers' primary care-of address.                      that of the S-CSCF address stored in the HSS. For example,
      Keeping the address of the S-CSCF ensures that a call to a              the subscriber's TA can be backed up in a hard disk, or other
  subscriber can be routed to the destination node, that is, the         60   non-volatile memory in the S-CSCF.
  S-CSCF. Keeping the current TA of the subscriber ensures                       In the case of an S-CSCF crash, when the S-CSCF restarts,
  that a call made to the subscriber which arrives at the S-CSCF              all of the information regarding the mobile subscribers reg-
  can finally reach the subscriber.                                           istered with it, including the information on how to reach the
      As illustrated in FIG. 2, in legacy mobile networks, such as            mobile subscribers, is lost. In such a situation, it is not pos-
  GSM, the information on the serving MSC/VLR (stored in                 65   Bible to deliver mobile terminated calls to the mobile sub-
  the HLR) is adequate. That is, the called party can be reached              scribers that were registered with the S-CSCF that was
  even after the loss of the subscriber location area (LA) infor-             restarted.
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                                   5                                                                          6
     In providing a solution to the above-noted problem in                       When the mobile subscriber receives the first packet, it
  accordance with the third option, the following assumptions                       sends a message to the I-CSCF which sent the packet to
  are made:                                                                         update the address indicating the Care of Address as the
     1) IPv6 is adopted for IP addressing and a subscriber is                       correct address to be used to reach the subscriber (the
  given a home address at subscription time. This home address           5          usual procedure in Mobile IP).
  is stored in a UMS.                                                            When the call is terminated the subscriber can optionally
     2) The subscriber is in an area assigned to an S-CSCF and                      re-register with a S-CSCF.
  has registered with it and has provided its' TA, that is, the                  This concludes the description of the example embodi-
  current address where the subscriber is reachable. Such an                  ments. Although the present invention has been described
                                                                         10   with reference to a number of illustrative embodiments, it
  address is not the static home address but rather is the Care-of
                                                                              should be understood that numerous other modifications and
  Address. Whenever the S-CSCF has to forward signaling to
                                                                              embodiments can be devised by those skilled in the art that
  the mobile subscriber, it uses the Care-of Address. The sub-
                                                                              will fall within the spirit and scope of the principles of this
  scriber has also registered its current Care of Address with its            invention. More particularly, reasonable variations and modi-
  Home Agent.                                                            15   fications are possible in the component parts and/or arrange-
     3) The S-CSCF restarts due to a fault and loses the infor-               ments of the subject combination arrangement within the
  mation about the mobile station.                                            scope of the foregoing disclosure, drawings, and appended
     The following procedure in accordance with the present                   claims without departing from the spirit of the invention. For
  disclosure, as illustrated in FIG. 5, may, for example, be used             example, the example embodiments of the present invention
  for mobile terminating call delivery when, as illustrated in 1,        20   have been described with respect to currently used networks,
  the S-CSCF crashes and restarts, the S-CSCF has no memory                   such as 313 All-IP mobile networks, and standards for sim-
  of what mobile stations (MSs) were registered with the                      plicity. It is, of course, understood that the present invention is
  S-CSCF and does not have any of the MSs Care of Address                     not limited thereto. In addition to variations and modifica-
  addresses:                                                                  tions in the component parts and/or arrangements, alternative
     When an incoming call at 2 reaches a CSCF in the home               25   uses will also be apparent to those skilled in the art.
  network, either from another IP based terminal or from an
  MGCF (Media Gateway Control Function), the I-CSCF que-                       What is claimed is:
  ries at 3 the UMS based on the alias dialed by the calling party.            1. A method comprising:
     During registration, the UMS has stored information about                 receiving a call for a subscriber at an Interrogating-Call
  the S-CSCF and information as to how the mobile subscriber             30       State Control Function (I-CSCF);
  can be reached. More particularly, the UMS has stored the                    sending a route request from the I-CSCF to a User Mobility
  address of the S-CSCF, that is, the address where CC (Call                      Server (UMS);
  Control) signaling must be forwarded. At this point, two                     receiving an address of a Server-Call State Control Func-
  scenarios are possible:                                                         tion (S-CSCF) at the I-CSCF from the UMS; and
     The information in the UMS regarding the S-CSCF is still            35    sending a call setup request from the I-CSCF to the
  valid; the UMS returns at 4 the address of the S-CSCF and the                   S-CSCF.
  Subscriber Identity and then forwards the call setup 5 to the                2. The method of claim 1, wherein said sending a route
  S-CSCF.                                                                   request comprises querying the UMS based on an alias of the
     The S-CSCF, not having information available for the alias             subscriber which was dialed by a party that sent the call.
        to which the call corresponds due to a crash, queries 6 the      40    3. The method of claim 1, further comprising receiving an
        UMS based on the Subscriber Identity optionally indi-               identity of the subscriber at the I-CSCF from the UMS.
        cating that a restart took place in order to trigger a profile         4. The method of claim 3, wherein the call setup request
        download.                                                           includes the identity of the subscriber.
     The UMS returns at 7 the Home Address of the MS to the                    5. The method of claim 1, wherein said receiving an
        S-CSCF.                                                          45 address of a S-CSCF and said sending a call setup request are
     The S-CSCF forwards at 8 the signaling to the Home                     performed only if information about the S-CSCF stored in the
        Address which is the home agent.                                    UMS is valid.
     The home agent receives the packets at 9 and forwards                     6. The method of claim 5, further comprising, in response
        them at 10 to the MS using the Care of Address obtained             to the information about the S-CSCF stored in the UMS being
        during the Mobile IP signaling exchanged when the                so invalid, receiving a home address of the subscriber at the
        Care-of Address was created (the usual procedure in                 I-CSCF from the UMS and sending the home address to a
        Mobile IP).                                                         home agent corresponding to the home address of the sub-
     When the MS receives the first packet, it sends at 11 a                scriber.
        message to the S-CSCF which sent the packet to update                  7. A method comprising:
        the address indicating the Care of Address as the correct        55    receiving a call setup request for a subscriber at a Serving-
        address to be used to reach the subscriber (the usual                     Call State Control Function (S-CSCF);
        procedure in Mobile IP) and call control signalling is                 sending a route request from the S-CSCF to a User Mobil-
        sent at 12 from the S-CSCF to the MS.                                     ity Server (UMS);
     When the call is terminated the subscriber can optionally                 receiving a home address of the subscriber at the S-CSCF
        re-register with the S-CSCF.                                     60       from the UMS; and
     2) The information in the UMS is not valid; the UMS                       sending the call setup request from the S-CSCF to a home
  returns the Home Address of the mobile subscriber.                              agent at the home address of the subscriber.
     The I-CSCF forwards the signaling to the Home Address.                    8. The method of claim 7, wherein the call setup request
     The Home Agent receives the packets and forwards them to               includes a subscriber identity associated with the subscriber.
        the Care-of Address obtained during the Mobile IP sig-           65    9. The method of claim 8, wherein said sending a route
        naling exchanged when the Care-ofAddress was created                request comprises querying the UMS based on the subscriber
        (the usual procedure in Mobile IP).                                 identity.
Case 1:21-cv-01323-CFC Document 1-1 Filed 09/17/21 Page 240 of 440 PageID #: 289


                                                        US 7,937,081 B2
                                 7                                                                    8
     10. The method of claim 7, wherein the route request is               24. The tangible computer-readable medium of claim 20,
  configured to trigger a download to the S-CSCF of informa-            wherein the route request includes an indication to the UMS
  tion associated with the subscriber.                                  that the S-CSCF does not have a care of address of the sub-
     11. The method of claim 10, wherein said sending a route           scriber.
  request includes an indication to the UMS that the S-CSCF 5              25. The tangible computer-readable medium of claim 20,
  does not have a care of address of the subscriber.                    further comprising instructions for receiving a registration
     12. The method of claim 7, further comprising receiving a          request at the S-CSCF from the subscriber.
  registration request at the S-CSCF from the subscriber after             26. The tangible computer-readable medium of claim 20,
  said sending the call setup request.                                  wherein said instructions for sending the call setup request
                                                                     10 comprises instructions for sending the call setup request to a
     13. The method of claim 7, wherein said sending the call
                                                                        care of address of the subscriber.
  setup request comprises sending the call setup request to a
                                                                           27. A system comprising:
  care of address of the subscriber.
                                                                           an Interrogating-Call State Control Function (I-CSCF)
     14. A tangible computer-readable medium having instruc-
                                                                              configured to:
  tions stored thereon, the instructions comprising:
                                                                     15       receive a call for a subscriber;
     instructions for receiving a call for a subscriber at an Inter-
                                                                              send a first route request to a User Mobility Server
        rogating-Call State Control Function (I-CSCF);
                                                                                 (UMS);
     instructions for sending a route request from the I-CSCF to
                                                                              receive an address of a Server-Call State Control Func-
        a User Mobility Server (UMS);
                                                                                 tion (S-CSCF) from the UMS; and
     instructions for receiving an address of a Server-Call State
                                                                     20       send a call setup request to the S-CSCF; and
        Control Function (S-CSCF) at the I-CSCF from the
                                                                           the S-CSCF configured to:
       UMS; and
                                                                              receive the call setup request from the I-CSCF;
     instructions for sending a call setup request from the
                                                                              send a second route request to the UMS;
        I-CSCF to the S-CSCF.
                                                                              receive a home address of the subscriber from the UMS;
     15. The tangible computer-readable medium of claim 14,
                                                                     25          and
  wherein said instructions for sending a route request com-
                                                                              send the call setup request to a home agent at the home
  prises instructions for querying the UMS based on an alias of
                                                                                 address of the subscriber.
  the subscriber which was dialed by a party that sent the call.
                                                                           28. The system of claim 27, wherein the I-CSCF is further
     16. The tangible computer-readable medium of claim 14,
                                                                        configured to query the UMS based on an alias of the sub-
  further comprising instructions for receiving an identity of the
                                                                     30 scriber which was dialed by a party that sent the call.
  subscriber at the I-CSCF from the UMS.
                                                                           29. The system of claim 27, wherein the I-CSCF is further
     17. The tangible computer-readable medium of claim 16,
                                                                        configured to receive an identity of the subscriber from the
  wherein the call setup request includes the identity of the
                                                                        UMS.
  subscriber.
                                                                           30. The system of claim 29, wherein the call setup request
     18. The tangible computer-readable medium of claim 14,
                                                                     35 includes the identity of the subscriber.
  wherein said instructions for receiving an address of a
                                                                           31. The system of claim 30, wherein the S-CSCF is further
  S-CSCF and said instructions for sending a call setup request
                                                                        configured to query the UMS based on the identity of the
  are executed only if information about the S-CSCF stored in
                                                                        subscriber.
  the UMS is valid.
                                                                           32. The system of claim 27, wherein the I-CSCF is config-
     19. The tangible computer-readable medium of claim 18,
                                                                     40 ured to receive the address of the S-CSCF and to send the call
  further comprising instructions for receiving a home address
                                                                        setup request to the S-CSCF only if information about the
  of the subscriber at the I-CSCF from the UMS and instruc-
                                                                        S-CSCF stored in the UMS is valid.
  tions for sending the home address to a home agent corre-
                                                                           33. The system of claim 32, wherein the I-CSCF is further
  sponding to the home address of the subscriber.
                                                                        configured to, in response to the information about the
     20. A tangible computer-readable medium having instruc-
                                                                     45 S-CSCF stored in the UMS being invalid, receive a home
  tions stored thereon, the instructions comprising:
                                                                        address of the subscriber from the UMS and send the home
     instructions for receiving a call setup request for a sub-
                                                                        address to the home agent corresponding to the home address
        scriber at a Serving-Call State Control Function
                                                                        of the subscriber.
        (S-CSCF);
                                                                           34. The system of claim 27, wherein the second route
     instructions for sending a route request from the S-CSCF to
                                                                     so request is configured to trigger a download to the S-CSCF of
        a User Mobility Server (UMS);
                                                                        information associated with the subscriber.
     instructions for receiving a home address of the subscriber
                                                                           35. The system of claim 34, wherein the second route
        at the S-CSCF from the UMS; and
                                                                        request includes an indication to the UMS that the S-CSCF
     instructions for sending the call setup request from the
                                                                        does not have a care of address of the subscriber.
        S-CSCF to a home agent at the home address of the
                                                                     55    36. The system of claim 27, wherein the S-CSCF is further
        subscriber.
                                                                        configured to receive a registration request at the S-CSCF
     21. The tangible computer-readable medium of claim 20,
                                                                        from the subscriber.
  wherein the call setup request includes a subscriber identity
                                                                           37. The system of claim 27, wherein the S-CSCF is further
  associated with the subscriber.
                                                                        configured to send the call setup request to a care of address
     22. The tangible computer-readable medium of claim 21,
                                                                     60 of the subscriber.
  wherein said instructions for sending a route request com-
                                                                           38. The system of claim 27, further comprising the home
  prises instructions for querying the UMS based on the sub-
                                                                        agent, wherein the home agent is configured to receive the call
  scriber identity.
                                                                        setup request from the S-CSCF and forward the call setup
     23. The tangible computer-readable medium of claim 20,
                                                                        request to a care of address of the subscriber.
  wherein the route request is configured to trigger a download
  to the S-CSCF of information associated with the subscriber.                                  *    *  *   *   *
     Case 1:21-cv-01323-CFC Document 1-1 Filed 09/17/21 Page 241 of 440 PageID #: 290

                              UNITED STATES PATENT AND TRADEMARK OFFICE
                                   CERTIFICATE OF CORRECTION
PATENT NO.                 : 7,937,081 B2                                                                                      Page 1 of 1
APPLICATION NO.            : 12/720862
DATED                      : May 3, 2011
INVENTOR(S)                : Phan-Anh et al.

It is certified that error appears in the above-identified patent and that said Letters Patent is hereby corrected as shown below:


         Column 1, line 7, delete "Division" and insert -- Divisional --.




                                                                                    Signed and Sealed this
                                                                                 Thirtieth Day of August, 2011
                                                                                 c



                                                                                                    David J. Kappos
                                                                               Director of the United States Patent and Trademark 00ce
Case 1:21-cv-01323-CFC Document 1-1 Filed 09/17/21 Page 242 of 440 PageID #: 291
                                                                  111111111111111111111111111R11111t1111111111
  (12) INTER PARTES REEXAMINATION CERTIFICATE (1332nd)
  United States Patent        (10) Number: US 7,937,081 Cl
  Phan-Anh et al.                                                       (45)   Certificate Issued:            Aug. 19, 2016

  (54)    RECOVERY TECHNIQUES IN MOBILE                              (52)   U.S. Cl.
          NETWORKS                                                          CPC             H04W 8/26 (2013.01); H04W 24/02
                                                                                               (2013.01); H04W 24/04 (2013.01)
  (75)    Inventors: Son Phan-Anh, Budapest (HU); Balint             (58)   Field of Classification Search
                     Benko, Budapest (HU); Auvo                             None
                     Hartikainen, Budapest (HU); Markku
                                                                            See application file for complete search history.
                     Verkama, Espoo (FI); Heikki Juhani
                     Einola, Helsinki (FI); Stefano Faccin,          (56)                  References Cited
                     Dallas, TX (US)
                                                                     To view the complete listing of prior art documents cited
  (73)    Assignee: INTELLECTUAL VENTURES I
                                                                     during the proceeding for Reexamination Control Number
                    LLC, Wilmington, DE (US)
                                                                     95/001,899, please refer to the USPTO's public Patent
  Reexamination Request:                                             Application Information Retrieval (PAIR) system under the
       No. 95/001,899, Feb. 17, 2012                                 Display References tab.

  Reexamination Certificate for:                                     Primary Examiner — Minh Dieu Nguyen
       Patent No.:    7,937,081
       Issued:        May 3, 2011                                    (57)                   ABSTRACT
       Appl. No.:     12/720,862                                     A technique for protecting location information of a sub-
       Filed:         Mar. 10, 2010                                  scriber in a mobile network is disclosed which forwards a
                                                                     registration request from the subscriber to an S-CSCF
  Certificate of Correction issued Aug. 30, 2011                     including the subscriber's TA and then forwarding a location
                                                                     update from the S-CSCF to an HSS including the subscrib-
                 Related U.S. Application Data                       er's TA. Upon the S-CSCF losing data, lost data may be
  (62)    Division of application No. 09/802,861, filed on Mar.      restored to the S-CSCF from the data stored in the HSS. The
          12, 2001, now Pat. No. 7,769,374.                          HSS may store data in a non-volatile memory such as a hard
                                                                     disk drive. The technique may also include forwarding a
  (51)    Int. Cl.                                                   registration request from the subscriber to an S-CSCF
          H04W 24/00             (2009.01)                           including the subscriber's TA and then forwarding a location
          H04W 8/12              (2009.01)                           update from the S-CSCF to an HSS and storing data in a
          H04W 60/00             (2009.01)                           non-volatile memory such as a hard disk drive in the
          H04W 8/26              (2009.01)                           S-CSCF so as to be protected against loss. Upon the S-CSCF
          H04W 24/02             (2009.01)                           losing data, lost data including the subscriber's TA may be
          H04W 24/04             (2009.01)                           restored to the S-CSCF from the data stored in the S-CSCF.



         1. S-CSCF CRASHES AND
         RESTARTS -> S-CSCF HAS
         NO MEMORY OF WHAT MSs WERE
         REGISTERED WITH IT AND DOES               7. SERVICE PROFILE                    3. ROUTE REQUEST
         NOT HAVE ANY OF THE MSs                   (MS HOME ADDRESS)                     (DIALED ALIAS)
         ADDRESSES
                                                      6. ROUTE REQUEST           4. S-CSCF ADDRESS
                                              7    7(SUBSCRIBER IDENTITY,        (SUBSCRIBEFI ENTITY)
                                                      "RESTART')
                                     ..   S-CSCF         5, CALL SETUP                                  2. INCOMING CALL
                                                         (SUBSCRIBER IDENTITY,              I-CSCF      (DIALED ALIAS)
             11. ADDRESS UPDATE                          DIALED ALIAS)

                                                            8. CALL SETUP
                               12. CALL CONTROL SIGNALING   (TO HOME ADDRESS)
                                TO CARE OF ADDRESS) PACKETS PACKETS SENT BEFORE ADDRESS UPDATE
                               SENT AFTER ADDRESS UPDATE

                                                                                                      9. FORWARDS PACKETS
                  MS                              GGSN              10. CALL SETUP              HOME TO CARE OF ADDRESS
                                                                    (TO CARE OF ADDRESS)        AGENT
                                                                    PACKETS SENT BEFORE
                                                                    ADDRESS UPDATE
Case 1:21-cv-01323-CFC Document 1-1 Filed 09/17/21 Page 243 of 440 PageID #: 292


                           US 7,937,081 Cl
                 1
           INTER PARTES
     REEXAMINATION CERTIFICATE
         THE PATENT IS HEREBY AMENDED AS                       5
                 INDICATED BELOW.

  AS A RESULT OF REEXAMINATION, IT HAS BEEN
    DETERMINED THAT:
                                                               10
     The patentability of claims 30 and 31 is confirmed.
     Claims 1, 5, 7-9, 13-14, 18, 20-22, 26-27, 32 and 37-38
  are cancelled.
     Claims 2-4, 6, 10-12, 15-17, 19, 23-25, 28-29 and 33-36
  were not reexamined.                                         15
                       *   *   *   *   *
Case 1:21-cv-01323-CFC Document 1-1 Filed 09/17/21 Page 244 of 440 PageID #: 293




                        Exhibit P
Case 1:21-cv-01323-CFC Document 1-1 Filed 09/17/21 Page 245 of 440 PageID #: 294
                                                                          111111111111111111111111111!!),
                                                                                       11111111111111111111111
  (12)   United States Patent                                                      (10) Patent No.:     US 8,200,211 B2
         Phan-Anh et al.                                                           (45) Date of Patent:    *Jun. 12, 2012

  (54)   RECOVERY TECHNIQUES IN MOBILE                                         (56)                            References Cited
         NETWORKS
                                                                                                     U.S. PATENT DOCUMENTS
         Inventors: Son Phan-Anh, Budapest (HU); Balint                                  5,077,830   A         12/1991   Mallia
                    Benko, Budapest (HU); Auvo                                           5,463,672   A         10/1995   Kage
                    Hartikainen, Budapest (HU); Markku                                   5,561,854   A         10/1996   Antic et al.
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                    Verkama, Espoo (FI); Heikki Juhani                                   6,163,532   A         12/2000   Taguchi et al.
                    Einola, Helsinki (FI); Stefano Faccin,                               6,408,182   B1         6/2002   Davidson et al.
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                                                                                         6,445,911   B1         9/2002   Chow et al.
                                                                                         6,587,882   B1         7/2003   Inoue et al.
         Assignee: Intellectual Ventures I LLC,
                                                                                         6,594,490   B1         7/2003   Toyoda et al.
                   Wilmington, DE (US)                                                   6,600,920   B1         7/2003   Stephens et al.
                                                                                         6,636,491   B1        10/2003   Kari et al.
         Notice:      Subject to any disclaimer, the term of this                        6,654,606   B1        11/2003   Foti et al.
                      patent is extended or adjusted under 35                            6,707,813   B1         3/2004   Hasan et al.
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                      U.S.C. 154(b) by 0 days.                                           6,732,177   B1         5/2004   Roy
                                                                                         6,763,233   B2         7/2004   Bharatia
                      This patent is subject to a terminal dis-
                                                                                         6,775,255   B1         8/2004   Roy
                      claimer.                                                           6,839,323   B1         1/2005 Foti
                                                                                                                 (Continued)
  (21)   Appl. No.: 13/097,709
                                                                                                       OTHER PUBLICATIONS
  (22)   Filed:       Apr. 29, 2011
                                                                               International Preliminary Examination Report for PCT/IB02/00721
                                                                               completed Apr. 3, 2003.
  (65)                   Prior Publication Data
                                                                                                                 (Continued)
         US 2011/0199978 Al            Aug. 18, 2011
                                                                               Primary Examiner — Nghi Ly
                   Related U.S. Application Data
                                                                               (57)                     ABSTRACT
  (60)   Continuation of application No. 12/720,862, filed on                  A technique for protecting location information of a sub-
         Mar. 10, 2010, now Pat. No. 7,937,081, which is a                     scriber in a mobile network is disclosed. A User Mobility
         division of application No. 09/802,861, filed on Mar.                 Server (UMS) receives a first query from a first call state
         12, 2001, now Pat. No. 7,769,374.                                     control function (CSCF). The UMS transmits a call setup and
                                                                               a subscriber identity to a servicing-call state control function
  (51)   Int. Cl.                                                              (S-CSCF). The S-CSCF may have no record of the subscriber
         HO4W 24/00               (2009.01)                                    identity due to a restart are some other event. The UMS
  (52)   U.S. Cl.        455/424; 455/415; 455/433; 370/328;                   receives a second query from the S-CSCF based in part of the
                                                       370/338                 subscriber identity. The UMS transmits a home address of a
  (58)   Field of Classification Search                455/424,                mobile station to the S-CSCF. The UMS may also transmit a
                                    455/415, 433; 370/328, 338                 profile download to the S-CSCF.
         See application file for complete search history.                                           21 Claims, 6 Drawing Sheets




                     1. S-CSCF CRASHES AND
                     RESTARTS -> S-CSCF HAS
                     NO MEMORY OF WHAT MSs WERE
                     REGISTERED WITH IT AND DOES            7. SERVICE PROFILE                       3. ROUTE REQUEST
                     NOT HAVE ANY OF THE MSs                (MS HOME ADDRESS)                        (DIALED ALIAS)
                     ADDRESSES
                                                                 6. ROUTE REQUEST          4. S-CSCF ADDRESS
                                                                 (SUBSCRIBER IDENTITY,     (SUBSCRIBER ENTITY)
                                                                 "RESTART")

                                                    S-CSCF ..,    5. CALL SETUP                                     2. INCOMING CALL
                                                                                                      1-CSCF        (DIALED ALIAS)
                                                                  (SUBSCRIBER IDENTITY,
                          11. ADDRESS UPDATE                      DIALED ALIAS)

                                                                          CALL SETUP
                                          12. CALL CONTROL SIGNALING   (TO HOME ADDRESS)
                                          (TO CARE OF ADDRESS) PACKETS PACKETS SENT BEFORE ADDRESS UPDATE
                                          SENT AFTER ADDRESS UPDATE

                                                                                                                 9. FORWARDS PACKETS
                              MS                          GGSN               10. CALL SETUP                HOME TO CARE OF ADDRESS
                                                                             (TO CARE OF ADDRESS)          AGENT
                                                                             PACKETS SENT BEFORE
                                                                             ADDRESS UPDATE
Case 1:21-cv-01323-CFC Document 1-1 Filed 09/17/21 Page 246 of 440 PageID #: 295


                                                       US 8,200,211 B2
                                                                Page 2


                 U.S. PATENT DOCUMENTS                               Notice of Allowance on U.S. Appl. No. 12/720,862, mailed Dec. 27,
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       7,937,081 B2 * 5/2011 Phan-Anh et al.             455/424     2010.
                   OTHER PUBLICATIONS                                Technical Report TR 23.821 V1.0.1, published Jul. 2000 by the 3rd
                                                                     Generation partnership Project 3GPP.
  International Search Report for PCT/IB02/00721, mailed Feb. 26,
  2003.                                                              * cited by examiner
  FIG.                                                    EGACY MOBIL
               ALTERNATIVE      APPLICATIONS               SIGNALING
                 ACCESS         & SERVICES*)                  ETWOR
                                                                                                              lualud 'S'il




                NETWORK              SCP                           1                       MULTIMEDIA
                                                   \         R-SGW11          , CSCF      IP NETWORKS
                                                 Mh \        Ms         / xMw
                               CAN
                                                       Cx '         •      -• • Mm
                                         HSS*       •-[*-• CSCF
                                                 \        Gf          Mr •xlvi
                                                                            ,g      Gi
                                       \       I
                                                               .1 ( RF
                                                                                                         ZIOZ ti •unf




                                                     *\ •
                           lu             -LGt                                  MGCF   - T-SGW*)
                   BSS/                              Gc         i      Gi
      TE MT        GERAN       Gb        SGSN                'lGGSN                Mc
         R     Urn                                                         Gi
                          >e,A                        Gn
                        lu                                                                    PSTN/
           MT      UTRAN                   MGW                                I MGW    LEGACY/EXTERNAL
                                                                                                             9 JO 1 PolIS




         R     Uu                 lu         i             Nb
                         lug`.‘.            ±Mc                               Mc +
                                 N.:\\
                                                           Nc
•--- SIGNALLING INTERFACE            • MSC SERVER I-                          SERVERI-- T-SGW*)1
     SIGNALLING AND DATA
     TRANSFER INTERFACE CAP./
                                           CAP D \                   C
                         APPLICATIONS                     HS§1F.-.1-• R-SGW*
                          & SERVICES*)                                Mh
                                                                                                           za ittoots sa
                                                                                                                             Case 1:21-cv-01323-CFC Document 1-1 Filed 09/17/21 Page 247 of 440 PageID #: 296
                                                                                                             lualud °Sil




FIG. 2
  I-MSC              HLR              V-MSCNLR       BSS UNDER V-MSCNLR      CALLED PARTY
 -T-
                                                                                                         ZIOZ ti •unf




 1. LOCATING CURRENT V-MSCNLR FOR CALLED PARTY

     2. SETUP TOWARD V-MSCNLR

                                  3. NO LA INFO => PAGING THE CALLED PARTY IN ALL CELLS UNDER V-MSCNLR
                                                                                                           9 JO Z JamiS




                           1           I     I                    1
                                                                                                            za ittoots sa
                                                                                                                            Case 1:21-cv-01323-CFC Document 1-1 Filed 09/17/21 Page 248 of 440 PageID #: 297
                                                                                                    lualud °Sil




FIG. 3
         I-CSCF                        HSS                  S-CSCF               CALLED-PARTY


                  1. LOCATING S-CSCF
                                                                                                ZIOZ ti •unf




            2. SETUP TOWARD S-CSCF

                                                     3. NO TA OF CALLED-PARTY
                                                 => CALLED-PARTY NOT REACHABLE
                                                                                                  9 JO £ JamiS




                                   I         I
                                                                                                   za ittoots sa
                                                                                                                   Case 1:21-cv-01323-CFC Document 1-1 Filed 09/17/21 Page 249 of 440 PageID #: 298
FIG. 4A
                                                                                                        lualud °Sil




  REP                       S-CSCF                       HSS                   CALLED SUBSCRIBER


   1. INCOMING CALL
                                                                                                   ZIOZ ti •unf




   2. LOOK UP FOR TA & DATA OF CALLED SUBSCRIBER FAILS


                      3. RESTORE TA & DATA FROM HSS TO S-CS F
                                                                                                     9 JO 17 JamiS




                                4. CALL TO SUBSCRIBER ROUTED BY RECOVERED TA
                                                                                                      za ittoots sa
                                                                                                                      Case 1:21-cv-01323-CFC Document 1-1 Filed 09/17/21 Page 250 of 440 PageID #: 299
FIG. 4B
                                                                                             lualud °Sil




  REGISTERING SUBSCRIBER            S-CSCF                     HSS



            1. AL REGISTRATION REQUEST (TA, ETC)

                                       2. AL LOCATION UPDATE (TA,S-CSCF ADDRESS, ETC)
                                                                                        ZIOZ ti •unf




                                                   3. STORES TA, S-CSCF ADDRESS

                                        4. AL LOCATION UPDATE ACK
                                                                                            9 .19 S WI'S




                   5. STORES TA, SUBSCRIPTION PROFILE, ETC

              6. AL REGISTRATION ACK
                                                                                           za ittoots sa
                                                                                                           Case 1:21-cv-01323-CFC Document 1-1 Filed 09/17/21 Page 251 of 440 PageID #: 300
    FIG. 5
                                                                                                                                lualud °Sil




1. S-CSCF CRASHES AND                                                           UMS
RESTARTS -> S-CSCF HAS
NO MEMORY OF WHAT MSs WERE
REGISTERED WITH IT AND DOES                      7. SERVICE PROFILE                   3. ROUTE REQUEST
NOT HAVE ANY OF THE MSs                          (MS HOME ADDRESS)                    (DIALED ALIAS)
ADDRESSES                            ,,
                                      1,                V
                                                    6. ROUTE REQUEST           4. S-CSCF ADDRESS
                                                /(SUBSCRIBER IDENTITY,         (SUBSCRIBE DENTIM
                                                                                                                            ZIOZ ti •unf




                                           ,,       "RESTART")

                             -..----.1 S-CSCF          5. CALL SETUP                                  2. INCOMING CALL
                      ..--                             (SUBSCRIBER IDENTITY,             I-CSCF       (DIALED ALIAS)
    11. ADDRESS UPDATE                                 DIALED ALIAS)

                                    \              8. CALL SETUP
                                                                                                                              9 JO 9 JamiS




                      12. CALL CONTROL SIGNALING   (TO HOME ADDRESS)
                      (TO CARE OF ADDRESS) PACKETS PACKETS SENT BEFORE ADDRESS UPDATE
                      SENT AFTER ADDRESS UPDATE

                                                                                                      9. FORWARDS PACKETS
                                                                                              HOME    TO CARE OF ADDRESS
         MS                                     GGSN              10. CALL SETUP
                                                                  (TO CARE OF ADDRESS)        AGENT

                                                                  ADDRESS UPDATE
                                                                                                                               za ittoots sa
                                                                                                                                               Case 1:21-cv-01323-CFC Document 1-1 Filed 09/17/21 Page 252 of 440 PageID #: 301
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                                                        US 8,200,211 B2
                                 1                                                                     2
         RECOVERY TECHNIQUES IN MOBILE                                   call setup request for the subscriber from an Interrogating
                  NETWORKS                                               Call State Control Function (I-CSCF), forwarding a route
                                                                         request to a User Mobility Server (UMS) and receiving a
        CROSS-REFERENCE TO RELATED PATENT                                home address of the subscriber and then forwarding the call
                  APPLICATIONS                                      5    setup request from the S-CSCF to a home agent at the home
                                                                         address of the subscriber and then forwarding the call setup
     This application is a Continuation of U.S. patent applica-          request from the home agent to the subscriber and subse-
  tion Ser. No. 12/720,862, filed Mar. 10, 2010, which is a              quently forwarding an address update from the subscriber to
  Divisional of U.S. patent application Ser. No. 09/802,861,             the S-CSCF.
  filed Mar. 12, 2001, (now U.S. Pat. No. 7,769,374), both of       10

  which are incorporated herein by reference in their entirety.                BRIEF DESCRIPTION OF THE DRAWINGS

                              FIELD                                       The foregoing and a better understanding of the present
                                                                       disclosure will become apparent from the following detailed
     The present disclosure relates to recovery techniques for 15 description of example embodiments and the claims when
  use in mobile networks. More particularly, the present disclo-       read in connection with the accompanying drawings, all
  sure relates to protecting the Transport Address (TA) which is       forming a part of the disclosure of this disclosure. While the
  a current Care of Address of a mobile subscriber is reachable        foregoing and following written and illustrated disclosure
  from loss and after Call State Control Function (CSCF)               focuses on disclosing example embodiments of the invention,
  crashes and after reset situations of a network element real- 20 issued a clearly understood that the same is by way of illus-
  izing CSCF functionality.                                            tration and example only and the invention is not limited
                                                                       thereto. The spirit and scope of the present invention are
               DESCRIPTION OF RELATED ART                              limited only by the terms of the appended claims.
                                                                          The following represents brief descriptions of the draw-
     Technical Report TR 23.821 V1.0.1, published July 2000 25 ings, wherein:
  by the 3rd Generation Partnership Project (3GPP) and avail-             FIG. 1 illustrates the architecture of a 3G All-IP mobile
  able on the Internet at http://www.3gpp.org, discloses the           network.
  specifications of a 3G All-IP mobile network and this report is         FIG. 2 illustrates reaching a called party after losing LA
  incorporated by reference herein in its entirety.                    (Location Area) information in a legacy mobile network.
     FIG. 1 illustrates the architecture of the network disclosed 30      FIG. 3 illustrates failure to reach a called party after losing
  in the above-noted Technical Report. The elements shown              TA information in a 3GPP All-IP mobile network.
  with asterisks are elements which have been duplicated for              FIG. 4A illustrates sending subscriber TA to S-CSCF and
  figure layout purposes only. These duplicated elements               then forwarding it to HSS at registration.
  belong to the same logical element in the reference model.              FIG. 4B illustrates an example of reaching a called party
     Unfortunately, the network disclosed in the Technical 35 after losing TA information in a mobile network in accor-
  Report fails to include any protection of the TA of a 3G All-IP      dance with the present disclosure.
  subscriber from loss. Furthermore, the network disclosed in             FIG. 5 illustrates the signal flow in the case of a recovery
  the Technical Report fails to protect the IP address of a sub-       after a CSCF crash in accordance with another embodiment
  scriber in the case of a reset situation of a network element        of the present disclosure.
  realizing CSCF functionality, that is, a CSCF, thereby pre- 40
  venting recovery after a reset of the network element. Still             DETAILED DESCRIPTION OF THE PREFERRED
  furthermore, the network disclosed in the Technical Report                                  EMBODIMENTS
  fails to protect the location information of a subscriber after a
  CSCF crash, thereby preventing recovery after a CSCF crash.             Before beginning a detailed description of the subject dis-
                                                                    45 closure, mention of the following is in order. When appropri-
                             SUMMARY                                   ate, like reference numerals and characters may be used to
                                                                       designate identical, corresponding, or similar components in
     An object of the present disclosure is to provide a technique     differing drawing figures. Furthermore, in the detailed
  for recovering location information of a subscriber in a             description to follow, example sizes/models/values/ranges
  mobile network including forwarding a registration request so may be given, although the present invention is not limited
  from the subscriber to an S-CSCF including the subscriber's          thereto. Lastly, other components may not be shown within
  TA and then forwarding an AL (Application Level) location            the drawing figures for simplicity of illustration and discus-
  update from the S-CSCF to a Home Subscriber Server (HSS)             sion and so as not to obscure the invention.
  including the subscriber's TA and the (S-CSCF) address and              In the application level of a 3G All-IP network, the reach-
  storing data including the subscriber's TA and the S-CSCF 55 ability of a subscriber is maintained in two levels, namely, the
  address in the HSS so as to be protected against loss.               network element level and the subscriber level. The S-CSCF
     Another object of the present disclosure is to provide a          that the subscriber is currently registered to and the TA of the
  technique for recovering location information of a subscriber        roaming subscriber, which the subscriber provides to the
  in a mobile network including forwarding a registration              network during Application Level (AL) registration, must be
  request from the subscriber to an S-CSCF including the sub- 60 known to and maintained by the network.
  scriber's TA and then forwarding an AL location update from             Without specific support for mobility in IPv6, packets des-
  the S-CSCF to an HSS including the S-CSCF address and                tined to a mobile subscriber would not be able to reach it
  storing data including the subscriber's TA in a non-volatile         while the subscriber is away from its home link (the link on
  memory of the S-CSCF so as to be protected against loss.             which its home IPv6 subnet prefix is in use), since routing is
     Yet another object of the present disclosure is to provide a 65 based on the subnet prefix in a packet's destination IP
  technique for recovering location information of a subscriber        address. In order to continue communication in spite of its
  in a mobile network including upon an S-CSCF receiving a             movement, a subscriber could change its IP address each time
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                                                           US 8,200,211 B2
                                  3                                                                           4
  it moves to a new link, but it would then not be able to                    mation by a searching/paging mechanism. In step 1, the cur-
  maintain transport and higher-layer connections when it                     rent V-MSC/VLR for a called party is first located and in step
  changes location.                                                           2 a setup toward the V-MSC/VLR is. performed. In step 3,
      Mobile IPv6 allows a subscriber to move from one link to                upon a loss of the LA information, the called party is paged in
  another without changing its IP address. A subscriber is               5    all cells under the V-MSC/VLR.
  always addressable by its "home address", an IP address                        On the other hand, as illustrated in FIG. 3, in the 3G All-IP
  assigned to it within its home subnet prefix on its home link.              network, no such searching mechanism is available, so that
  Packets may be routed to the subscriber using this address                  the information of the current S-CSCF (stored in the HSS) is
  regardless of its current point of attachment to the Internet,              insufficient to reach the subscriber upon the loss of the sub-
  and it may continue to communicate with others after moving            10   scriber TA. In step 1, S-CSCF is located and in step 2 a setup
  to a new link. The movement of a subscriber away from its                   toward the S-CSCF is performed. However, in step 3, in the
  home link is thus transparent to transport and higher-layer                 absence of the TA of the called party, the called parry is not
  protocols and applications.                                                 reachable.
      A mobile subscriber is always addressable by its home                      The applicants have determined that the TA of a 3G All-IP
  address, whether it is currently attached to its home link or is       is   subscriber should be protected against loss with the same
  away from home. While it is at home, packets addressed to its               level of security as that for the Serving CSCF (S-CSCF). The
  home address are routed to it using conventional Internet                   applicants have proposed options to protect the TA of a sub-
  routing mechanisms in the same way as if it were never                      scriber, namely, one option in which the TA is forwarded to
  mobile. Since the subnet prefix of its home address is the                  the HSS and another option in which there is a security
  subnet prefix (or one of the subnet prefixes) on the subscrib-         20   backup of the TA within the CSCF. The TA of the subscriber
  ers' home link (it is the mobile subscribers' home subnet                   should be forwarded to the HSS at registration and down-
  prefix), packets addressed to it will be routed to its home link.           loaded from the HSS to the S-CSCF during recovery. Still
      While a subscriber is attached to some foreign link away                another option is to have a permanent IPv6 (Internet Protocol
  from home, it is also addressable by one or more care-of                    Version 6) address allocated to the subscriber and to have the
  addresses, in addition to its home address. A care-of address          25   subscriber update its current Care-of Address (part of the TA)
  is an IP address associated with a mobile node while the                    to the Home Agent upon obtaining the current TA.
  subscriber is visiting a particular foreign link. The subnet                   As noted above, in accordance with the present disclosure,
  prefix of a subscriber's care-of address is the subnet prefix (or           various options are available for implementing protection and
  one of the subnet prefixes) on the foreign link being visited by            recovery of the subscriber TA.
  it; if it is connected to this foreign link while using that care-of   30      In the first option, as illustrated in FIG. 4A, "a safe copy" of
  address, packets addressed to this care-of address will be                  the subscriber's TA is forwarded to the HSS for storage and
  routed to the subscriber in its location away from home.                    protection. The TA must enjoy the same level of protection
      The association between a subscriber's home address and                 against loss as the S-CSCF address. The TA and other data can
  care-of address is known as a "binding" for the subscriber. It              then be restored to the S-CSCF upon the earlier loss of the
  typically acquires its care-of address through stateless or            35   data by the S-CSCF. It is noted that the subscriber's TA is
  stateful Address Autoconfiguration, according to the methods                stored in the S-CSCF for normal operation. An incoming call
  of IPv6 Neighbor Discovery. Other methods of acquiring a                    from an REP (Remote End-Point) is received by the S-CSCF
  care-of address are also possible, such as static preassignment             in step 1. In step 2, the S-CSCF looks for the subscriber's TA
  by the owner or manager of a particular foreign link, but                   so as to route the call but fails to find the subscriber's TA. In
  details of such other methods are beyond the scope of this             40   step 3, the S-CSCF initiates the restoration of the subscriber's
  discussion.                                                                 TA (and possibly other data) from the HSS. This option is
      While away from home, a mobile subscriber registers one                 only available when the S-CSCF loses only the TA of the
  of its care-of addresses with a router on its home link, request-           subscriber. Finally, in step 4, the call is then routed to the
  ing this router to function as the "home agent" for it. This                subscriber using the recovered TA.
  binding registration is done by the subscriber sending to the          45      As illustrated in FIG. 4B in step 1, the registering sub-
  home agent a packet containing a "Binding Update" destina-                  scriber forwards an AL registration request to the S-CSCF
  tion option; the home agent then replies to the subscriber by               including the TA. In step 2, an AL Location Update is for-
  returning a packet containing a "Binding Acknowledgment"                    warded to the HSS including the TA and S-CSCF address. In
  destination option. The care-of address in this binding regis-              step 3, the HSS stores the updated TA and S-CSCF address (in
  tered with its home agent is known as the subscriber's "pri-           so   a hard disk, for example, or other non-volatile memory). In
  mary care-of address". The subscribers' home agent thereaf-                 step 4, the HSS forwards an AL Location Update acknowl-
  ter uses proxy Neighbor Discovery to intercept any IPv6                     edgement to the S-CSCF which stores the TA and subscrip-
  packets addressed to the subscribers' home address (or home                 tion profile and other data in step 5. In step 6, the S-CSCF
  addresses) on the home link and tunnels each intercepted                    forwards an AL registration acknowledge to the registering
  packet to the subscribers' primary care-of address. To tunnel          55   subscriber.
  each intercepted packet, the home agent encapsulates the                       In the second option, the same level of protection against
  packet using IPv6 encapsulation, with the outer IPv6 header                 loss applies for the subscriber's TA stored in the S-CSCF as
  addressed to the subscribers' primary care-of address.                      that of the S-CSCF address stored in the HSS. For example,
      Keeping the address of the S-CSCF ensures that a call to a              the subscriber's TA can be backed up in a hard disk, or other
  subscriber can be routed to the destination node, that is, the         60   non-volatile memory in the S-CSCF.
  S-CSCF. Keeping the current TA of the subscriber ensures                       In the case of an S-CSCF crash, when the S-CSCF restarts,
  that a call made to the subscriber which arrives at the S-CSCF              all of the information regarding the mobile subscribers reg-
  can finally reach the subscriber.                                           istered with it, including the information on how to reach the
      As illustrated in FIG. 2, in legacy mobile networks, such as            mobile subscribers, is lost. In such a situation, it is not pos-
  GSM, the information on the serving MSC/VLR (stored in                 65   Bible to deliver mobile terminated calls to the mobile sub-
  the HLR) is adequate. That is, the called party can be reached              scribers that were registered with the S-CSCF that was
  even after the loss of the subscriber location area (LA) infor-             restarted.
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                                                          US 8,200,211 B2
                                  5                                                                       6
     In providing a solution to the above-noted problem in                   When the mobile subscriber receives the first packet, it
  accordance with the third option, the following assumptions                   sends a message to the I-CSCF which sent the packet to
  are made:                                                                     update the address indicating the Care of Address as the
     1) IPv6 is adopted for IP addressing and a subscriber is                   correct address to be used to reach the subscriber (the
  given a home address at subscription time. This home address 5                usual procedure in Mobile IP).
  is stored in a UMS.                                                        When the call is terminated the subscriber can optionally
     2) The subscriber is in an area assigned to an S-CSCF and                  re-register with a S-CSCF.
  has registered with it and has provided its' TA, that is, the              This concludes the description of the example embodi-
  current address where the subscriber is reachable. Such an              ments. Although the present invention has been described
                                                                       10
  address is not the static home address but rather is the Care-of        with reference to a number of illustrative embodiments, it
  Address. Whenever the S-CSCF has to forward signaling to                should be understood that numerous other modifications and
  the mobile subscriber, it uses the Care-of Address. The sub-            embodiments can be devised by those skilled in the art that
  scriber has also registered its current Care of Address with its        will fall within the spirit and scope of the principles of this
  Home Agent.                                                             invention. More particularly, reasonable variations and modi-
     3) The S-CSCF restarts due to a fault and loses the infor-           fications are possible in the component parts and/or arrange-
  mation about the mobile station.                                        ments of the subject combination arrangement within the
     The following procedure in accordance with the present               scope of the foregoing disclosure, drawings, and appended
  disclosure, as illustrated in FIG. 5, may, for example, be used         claims without departing from the spirit of the invention. For
  for mobile terminating call delivery when, as illustrated in 1, 20 example, the example embodiments of the present invention
  the S-CSCF crashes and restarts, the S-CSCF has no memory               have been described with respect to currently used networks,
  of what mobile stations (MSs) were registered with the                  such as 313 All-IP mobile networks, and standards for sim-
  S-CSCF and does not have any of the MSs Care of Address                 plicity. It is, of course, understood that the present invention is
  addresses:                                                              not limited thereto. In addition to variations and modifica-
     When an incoming call at 2 reaches a CSCF in the home 25 tions in the component parts and/or arrangements, alternative
  network, either from another IP based terminal or from an               uses will also be apparent to those skilled in the art.
  MGCF (Media Gateway Control Function), the I-CSCF que-
  ries at 3 the UMS based on the alias dialed by the calling party.          What is claimed is:
     During registration, the UMS has stored information about               1. A method comprising:
  the S-CSCF and information as to how the mobile subscriber 30              receiving a first query at a user mobility server (UMS) from
  can be reached. More particularly, the UMS has stored the                     a first call state control function (CSCF);
  address of the S-CSCF, that is, the address where CC (Call                 transmitting a call setup and a subscriber identity (SI) to a
  Control) signaling must be forwarded. At this point, two                      servicing-call state control function (S-CSCF) from the
  scenarios are possible:                                                       UMS;
     The information in the UMS regarding the S-CSCF is still 35             receiving a second query at the UMS from the S-CSCF
  valid; the UMS returns at 4 the address of the S-CSCF and the                 based at least in part on the SI; and
  Subscriber Identity and then forwards the call setup 5 to the              transmitting a home address of a mobile station to the
  S-CSCF.                                                                       S-CSCF from the UMS.
     The S-CSCF, not having information available for the alias              2. The method of claim 1, where the second query indicates
        to which the call corresponds due to a crash, queries 6 the 40 that a restart took place at the S-CSCF.
        UMS based on the Subscriber Identity optionally indi-                3. The method of claim 2, further comprising transmitting
        cating that a restart took place in order to trigger a profile    a profile download to the S-CSCF from the UMS.
        download.                                                            4. The method of claim 1, wherein the first query is a route
     The UMS returns at 7 the Home Address of the MS to the               request.
        S-CSCF.                                                        45    5. The method of claim 1, wherein the first query is based
     The S-CSCF forwards at 8 the signaling to the Home                   at least in part on an alias dialed by the mobile station.
        Address which is the home agent.                                     6. The method of claim 5, wherein the mobile station is an
     The home agent receives the packets at 9 and forwards                internet protocol based terminal for which an internet proto-
        them at 10 to the MS using the Care of Address obtained           col version 6 (IPV6) address is stored on the UMS.
        during the Mobile IP signaling exchanged when the 50                 7. The method of claim 1, further comprising transmitting
        Care-of Address was created (the usual procedure in               an address of the S-CSCF and the SI from the UMS to the first
        Mobile IP).                                                       CSCF.
     When the MS receives the first packet, it sends at 11 a                 8. A non-transitory computer readable medium having
        message to the S-CSCF which sent the packet to update             instructions stored thereon, the instructions comprising:
        the address indicating the Care of Address as the correct 55         instructions for receiving a first query at a user mobility
        address to be used to reach the subscriber(the usual                    server (UMS) from a first call state control function
        procedure in Mobile IP) and call control signalling is                  (CSCF);
        sent at 12 from the S-CSCF to the MS.                                instructions for transmitting a call setup and a subscriber
     When the call is terminated the subscriber can optionally                  identity (SI) to a servicing-call state control function
        re-register with the S-CSCF.                                   60       (S-CSCF) from the UMS;
     2) The information in the UMS is not valid; the UMS                     instructions for receiving a second query at the UMS from
  returns the Home Address of the mobile subscriber.                            the S-CSCF based at least in part on the SI; and
     The I-CSCF forwards the signaling to the Home Address.                  instructions for transmitting a home address of a mobile
     The Home Agent receives the packets and forwards them to                   station to the S-CSCF from the UMS.
        the Care-of Address obtained during the Mobile IP sig- 65            9. The non-transitory computer readable medium of claim
        naling exchanged when the Care-of Address was created             8, where the second query indicates that a restart took place at
        (the usual procedure in Mobile IP).                               the S-CS CF.
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                                7                                                                  8
     10. The non-transitory computer readable medium of claim               receive a second query from the S-CSCF based at least in
  9, further comprising instructions for transmitting a profile                part on the SI, and
  download to the S-CSCF from the UMS.                                      transmit a home address of a mobile station to the
     11. The non-transitory computer readable medium of claim                  S-CSCF; and
  8, wherein the first query is a route request.                   5    the S-CSCF configured to:
     12. The non-transitory computer readable medium of claim               receive the call setup from the UMS;
  8, wherein the first query is based at least in part on an alias          transmit the second query to the UMS.
  dialed by the mobile station.                                         16. The system of claim 15, where the second query indi-
     13. The non-transitory computer readable medium of claim         cates that a restart took place at the S-CSCF.
  12, wherein the mobile station is an internet protocol based 10       17. The system of claim 16, wherein the UMS is further
  terminal for which an internet protocol version 6 (IPV6)            configured to transmit a profile download to the S-CSCF.
  address is stored on the UMS.                                         18. The system of claim 15, wherein the first query is a
     14. The non-transitory computer readable medium of claim         route request.
  8, further comprising instructions for transmitting an address        19. The system of claim 15, wherein the first query is based
  of the S-CSCF and the SI from the UMS to the first CSCF. 15 at least in part on an alias dialed by the mobile station.
     15. A system comprising:                                           20. The system of claim 19, wherein the mobile station is
     an Interrogating-Call State Control Function (I-CSCF)            an internet protocol based terminal for which an internet
        configured to send a first query to a User Mobility Server    protocol version 6 (IPV6) address is stored on the UMS.
        (UMS);                                                          21. The system of claim 15, wherein the UMS is further
     the UMS configured to:                                        20 configured to transmit an address of the S-CSCF and the SI to
        receive the first query from the I-CSCF,                      the first CSCF.
        transmit a call setup and a subscriber identity (SI) to a
           servicing-call state control function (S-CSCF),                                    *   *   *   *   *
     Case 1:21-cv-01323-CFC Document 1-1 Filed 09/17/21 Page 257 of 440 PageID #: 306

                              UNITED STATES PATENT AND TRADEMARK OFFICE
                                   CERTIFICATE OF CORRECTION
PATENT NO.                 : 8,200,211 B2                                                                                      Page 1 of 1
APPLICATION NO.            : 13/097709
DATED                      : June 12, 2012
INVENTOR(S)                : Phan-Anh et al.

It is certified that error appears in the above-identified patent and that said Letters Patent is hereby corrected as shown below:


         In Column 4, Line 3, delete "is." and insert -- is --, therefor.

         In Column 4, Line 12, delete "parry" and insert -- party --, therefor.

         In Column 5, Line 24, delete "addresses:" and insert -- addresses. --, therefor.

         In Column 6, Line 67, in Claim 9, delete "S-CS CF." and insert -- S-CSCF. --, therefor.




                                                                                  Signed and Sealed this
                                                                             Twenty-third Day of October, 2012




                                                                                                    David J. Kappos
                                                                               Director of the United States Patent and Trademark Dice
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                       Exhibit Q
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                                                                                     00.
                                                                                       0 1111111111111111111
  (12)   United States Patent                                                      (10) Patent No.:     US 8,600,372 B2
         Phan-Anh et al.                                                           (45) Date of Patent:     *Dec. 3, 2013

         RECOVERY TECHNIQUES IN MOBILE                                          (52)    U.S. Cl.
         NETWORKS                                                                       USPC           455/424; 455/435.1; 455/415; 455/433
                                                                                (58)    Field of Classification Search
         Applicant: Intellectual Ventures I LLC, Bellevue,                              USPC                         455/424, 435.1, 415, 433
                    WA (US)                                                             See application file for complete search history.
         Inventors: Son Phan-Anh, Budapest (HU); Balint
                    Benko, Budapest (HU); Auvo                                  (56)                     References Cited
                    Hartikainen, Budapest (HU); Markku                                             U.S. PATENT DOCUMENTS
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                    Einola, Espoo (FI); Stefano Faccin,                                5,077,830   A     12/1991   Mallia
                    Hayward, CA (US)                                                   5,274,694   A     12/1993   Lechner et al.
                                                                                       5,463,672   A     10/1995   Kage
         Assignee: Intellectual Ventures I LLC,                                        5,561,854   A     10/1996   Antic et al.
                                                                                       6,097,942   A      8/2000   Laiho
                   Wilmington, DE (US)                                                 6,163,532   A     12/2000   Taguchi et al.
                                                                                       6,408,182   B1     6/2002   Davidson et al.
         Notice:       Subject to any disclaimer, the term of this
                                                                                                           (Continued)
                       patent is extended or adjusted under 35
                       U.S.C. 154(b) by 0 days.                                                     OTHER PUBLICATIONS
                       This patent is subject to a terminal dis-
                                                                                International Preliminary Examination Report for PCT/IB02/00721
                       claimer.
                                                                                completed Apr. 3, 2003.
  (21)   Appl. No.: 13/682,230                                                                             (Continued)

  (22)   Filed:        Nov. 20, 2012
                                                                                Primary Examiner — Nghi H Ly
  (65)                    Prior Publication Data
                                                                                (57)                       ABSTRACT
         US 2013/0165109 Al             Jun. 27, 2013
                                                                                A technique for protecting location information of a sub-
                   Related U.S. Application Data                                scriber in a mobile network is disclosed. A User Mobility
                                                                                Server (UMS) receives a first query from a first call state
  (60)   Continuation of application No. 13/484,583, filed on
                                                                                control function (CSCF). The UMS transmits a call setup and
         May 31, 2012, now Pat. No. 8,351,924, which is a
                                                                                a subscriber identity to a servicing-call state control function
         continuation of application No. 13/097,709, filed on
                                                                                (S-CSCF). The S-CSCF may have no record of the subscriber
         Apr. 29, 2011, now Pat. No. 8,200,211, which is a
                                                                                identity due to a restart are some other event. The UMS
         continuation of application No. 12/720,862, filed on
                                                                                receives a second query from the S-CSCF based in part of the
         Mar. 10, 2010, now Pat. No. 7,937,081, which is a
                                                                                subscriber identity. The UMS transmits a home address of a
         division of application No. 09/802,861, filed on Mar.
                                                                                mobile station to the S-CSCF. The UMS may also transmit a
         12, 2001, now Pat. No. 7,769,374.
                                                                                profile download to the S-CSCF.
  (51)   Int. Cl.
         HO4W 24/00                 (2009.01)                                                      15 Claims, 6 Drawing Sheets


                  1. S-CSCF CRASHES AND
                  RESTARTS -> S-CSCF HAS
                  NO MEMORY OF WHAT MSs WERE
                  REGISTERED WITH IT AND DOES              7. SERVICE PROFILE                  3. ROUTE REQUEST
                  NOT HAVE ANY OF THE MSs                  (MS HOME ADDRESS)                   (DIALED ALIAS)
                  ADDRESSES
                                                             6. ROUTE REQUEST       4. S-CSCF ADDRESS
                                                             (SUBSCRIBER IDENTITY, (SUBSCRIBER, DENTITY)
                                                             "RESTART')
                                                 S-CSCF       5. CALL SETUP                    I-CSCF    2. INCOMING CALL
                                                              (SUBSCRIBER IDENTITY,                      (DIALED ALIAS)
                       11. ADDRESS UPDATE                     DIALED ALIAS)

                                                                     . CALL SETUP
                                       12. CALL CONTRO
                                                     \ SIGNALING    (TO HOME ADDRESS)
                                       (TO CARE OF ADDRESS) PACKETS PACKETS SENT BEFORE ADDRESS UPDATE
                                       SENT AFTER ADDRESS UPDATE

                                                                                                              9. FORWARDS PACKETS
                           MS                             GGSN           10. CALL SETUP                 HOME TO CARE OF ADDRESS
                                                                         (TO CARE OF ADDRESS)           AGENT
                                                                         PACKETS SENT BEFORE
                                                                         ADDRESS UPDATE
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                                                         US 8,600,372 B2
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  2010.                                                                * cited by examiner
 FIG.                                                 EGACY MOBIL
             ALTERNATIV      APPLICATIONS              SIGNALING
               ACCESS                                    ETVVOR
                                                                                                    1ualud *Sil




                             & SERVICES*)
              NETWORK             SCP                                             MULTIMEDIA'
                                                •\.     R-             CSCF I    IP NETWORKS
                                                Mh\
                            CAP/                     \              .--*   Mm
                                                  Cx '
                                    H                  CSCF
                                                    Gf          .)e.Mg      Gi
                                        EIR I           ! iVIRF
                                        \ \—irGf Gc` s —Gi                   T-SGW*)
                   BSS/ lu                                             Mc
      TE MT        GERAN       Gb        SGSN}     I 1.GGSN
               Um                                                 Gi
                           Y.A                    Gn
                        lu                                                       PSTN/
      TE MT        UTRAN                   MGW I        I          MGW I   LEGACY/EXTERNAL
                          :e \ lu             I        Nb           1
                                                                                                9 JO I JamiS




                         lu `.N..\          +Mc                   Mc+
                                   \
                                              !        Nc           i
•—.— SIGNALLING INTERFACE            •' MSC SERVER I----I—AGMSC SERVER}---- T-SGW*)I
— SIGNALLING AND DATA                            \
     TRANSFER INTERFACE                                      //
                                        • CAP D \         ).:C
                         APPLICATIONS                           R-SGW'
                          & SERVICES*)                       Mh
                                                                                                 Zll ZL£1109`8 Sf1
                                                                                                                     Case 1:21-cv-01323-CFC Document 1-1 Filed 09/17/21 Page 261 of 440 PageID #: 310
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FIG. 2
  I-MSCJ             HLR              V-MSCNLR       BSS UNDER V-MSCNLR      CALLED PARTY

 1. LOCATING CURRENT V-MSCNLR FOR CALLED PARTY

     2. SETUP TOWARD V-MSCNLR

                                  3. NO LA INFO => PAGING THE CALLED PARTY IN ALL CELLS UNDER V-MSCNLR
                                                                                                         9 .19 Z WIN
                                                                                                         Zll ZL£1109`8 Sf1
                                                                                                                             Case 1:21-cv-01323-CFC Document 1-1 Filed 09/17/21 Page 262 of 440 PageID #: 311
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FIG. 3
         I-CSCF                        HSS              S-CSCF               CALLED-PARTY


                  1. LOCATING S-CSCF

            2. SETUP TOWARD S-CSCF

                                                 3. NO TA OF CALLED-PARTY
                                             => CALLED-PARTY NOT REACHABLE
                                                                                            9 JO £ PaMS
                                                                                              Zll ZL£1109`8 Sf1
                                                                                                                  Case 1:21-cv-01323-CFC Document 1-1 Filed 09/17/21 Page 263 of 440 PageID #: 312
FIG. 4A
                                                                                                      lualud °Sil




  REP I                     S-CSCF                       HSS                   CALLED SUBSCRIBER


   1. INCOMING CALL

   2. LOOK UP FOR TA & DATA OF CALLED SUBSCRIBER FAILS


                      3. RESTORE TA & DATA FROM HSS TO S-CSCF


                                4. CALL TO SUBSCRIBER ROUTED BY RECOVERED TA
                                                                                                   9 JO 17 JamiS




                                  i
                                                                                                      Zll ZL£1109`8 Sf1
                                                                                                                          Case 1:21-cv-01323-CFC Document 1-1 Filed 09/17/21 Page 264 of 440 PageID #: 313
FIG. 46
                                                              lualud °Sil




 IREGISTERING
 I      SUBSCRIBER S-CSCF                  HSS
        1.ALREGISTRATION
                     REQUEST
                          (TA,ETC)
                                    UPDATE
                          2.ALLOCATION           ADDRESS,
                                         (TA,..S-CSCF ETC)
                                   3.STORES      ADDRESS
                                          TA,S-CSCF
                                     UPDATE
                          4.ALLOCATION    ACK
                                                             9 JO S WIN




                    TA,SUBSCRIPTION
              5.STORES         PROFILE,
                                     ETC
                      ACK
          6.ALREGISTRATION
                                                             Zll ZL£1109`8 Sf1
                                                                                 Case 1:21-cv-01323-CFC Document 1-1 Filed 09/17/21 Page 265 of 440 PageID #: 314
    FIG. 5
                                                                                                                      lualud °Sil




1. S-CSCF CRASHES AND                                                  UMS
RESTARTS -> S-CSCF HAS
NO MEMORY OF WHAT MSs WERE
REGISTERED WITH IT AND DOES             7. SERVICE PROFILE                    3. ROUTE REQUEST
NOT HAVE ANY OF THE MSs                 (MS HOME ADDRESS)                     (DIALED ALIAS)
ADDRESSES
                                          6. ROUTE REQUEST            4. S-CSCF ADDRESS
                                          (SUBSCRIBER IDENTITY,       (SUBSCRIBEI ENTITY)
                                 7        "RESTART')

                              S-CSCF          5. CALL SETUP                                  2. INCOMING CALL
                                              (SUBSCRIBER IDENTITY,             I-CSCF       (DIALED ALIAS)
    11. ADDRESS UPDATE                        DIALED ALIAS)

                                                 8. CALL SETUP
                    12. CALL CONTROL SIGNALING   (TO HOME ADDRESS)
                    (TO CARE OF ADDRESS) PACKETS PACKETS SENT BEFORE ADDRESS UPDATE
                                                                                                                   9 JO 9 JamiS




                    SENT AFTER ADDRESS UPDATE

                                                                                             9. FORWARDS PACKETS
                                                                                     HOME    TO CARE OF ADDRESS
         MS -8-                        GGSN              10. CALL SETUP
                                                         (TO CARE OF ADDRESS)        AGENT
                                                         PACKETS SENT BEFORE
                                                         ADDRESS UPDATE
                                                                                                                     Zll ZL£1109`8 Sf1
                                                                                                                                         Case 1:21-cv-01323-CFC Document 1-1 Filed 09/17/21 Page 266 of 440 PageID #: 315
Case 1:21-cv-01323-CFC Document 1-1 Filed 09/17/21 Page 267 of 440 PageID #: 316


                                                        US 8,600,372 B2
                                 1                                                                     2
         RECOVERY TECHNIQUES IN MOBILE                                   storing data including the subscriber's TA in a non-volatile
                  NETWORKS                                               memory of the S-CSCF so as to be protected against loss.
                                                                            Yet another object of the present disclosure is to provide a
        CROSS-REFERENCE TO RELATED PATENT                                technique for recovering location information of a subscriber
                  APPLICATIONS                                      5    in a mobile network including upon an S-CSCF receiving a
                                                                         call setup request for the subscriber from an Interrogating
     This application is a Continuation of U.S. patent applica-          Call State Control Function (I-CSCF), forwarding a route
  tion Ser. No. 13/484,583, filed May 31, 2012, which is a               request to a User Mobility Server (UMS) and receiving a
  Continuation of U.S. patent application Ser. No. 13/097,709,           home address of the subscriber and then forwarding the call
                                                                    10
  filed Apr. 29, 2011 (now U.S. Pat. No. 8,200,211), which is a          setup request from the S-CSCF to a home agent at the home
  Continuation of U.S. patent application Ser. No. 12/720,862,           address of the subscriber and then forwarding the call setup
  filed Mar. 10, 2010 (now U.S. Pat. No. 7,937,081), which is a          request from the home agent to the subscriber and subse-
  Divisional of U.S. patent application Ser. No. 09/802,861,             quently forwarding an address update from the subscriber to
  filed Mar. 12, 2001, (now U.S. Pat. No. 7,769,374), each of       15
                                                                         the S-CSCF.
  which are incorporated herein by reference in their entirety.
                                                                               BRIEF DESCRIPTION OF THE DRAWINGS
                              FIELD
                                                                          The foregoing and a better understanding of the present
     The present disclosure relates to recovery techniques for 20 disclosure will become apparent from the following detailed
  use in mobile networks. More particularly, the present disclo-       description of example embodiments and the claims when
  sure relates to protecting the Transport Address (TA) which is       read in connection with the accompanying drawings, all
  a current Care of Address of a mobile subscriber is reachable        forming a part of the disclosure of this disclosure. While the
  from loss and after Call State Control Function (CSCF)               foregoing and following written and illustrated disclosure
  crashes and after reset situations of a network element real- 25 focuses on disclosing example embodiments of the invention,
  izing CSCF functionality.                                            issued a clearly understood that the same is by way of illus-
                                                                       tration and example only and the invention is not limited
               DESCRIPTION OF RELATED ART                              thereto. The spirit and scope of the present invention are
                                                                       limited only by the terms of the appended claims.
     Technical Report TR 23.821 V1.0.1, published July 2000 30            The following represents brief descriptions of the draw-
  by the 3rd Generation Partnership Project (3GPP) and avail-          ings, wherein:
  able on the Internet at http://www.3gpp.org, discloses the              FIG. 1 illustrates the architecture of a 3G All-IP mobile
  specifications of a 3G All-IP mobile network and this report is      network.
  incorporated by reference herein in its entirety.                       FIG. 2 illustrates reaching a called party after losing LA
     FIG. 1 illustrates the architecture of the network disclosed 35 (Location Area) information in a legacy mobile network.
  in the above-noted Technical Report. The elements shown                 FIG. 3 illustrates failure to reach a called party after losing
  with asterisks are elements which have been duplicated for           TA information in a 3GPP All-IP mobile network.
  figure layout purposes only. These duplicated elements                  FIG. 4A illustrates sending subscriber TA to S-CSCF and
  belong to the same logical element in the reference model.           then forwarding it to HSS at registration.
     Unfortunately, the network disclosed in the Technical 40             FIG. 4B illustrates an example of reaching a called party
  Report fails to include any protection of the TA of a 3G All-IP      after losing TA information in a mobile network in accor-
  subscriber from loss. Furthermore, the network disclosed in          dance with the present disclosure.
  the Technical Report fails to protect the IP address of a sub-          FIG. 5 illustrates the signal flow in the case of a recovery
  scriber in the case of a reset situation of a network element        after a CSCF crash in accordance with another embodiment
  realizing CSCF functionality, that is, a CSCF, thereby pre- 45 of the present disclosure.
  venting recovery after a reset of the network element. Still
  furthermore, the network disclosed in the Technical Report               DETAILED DESCRIPTION OF THE PREFERRED
  fails to protect the location information of a subscriber after a                            EMBODIMENTS
  CSCF crash, thereby preventing recovery after a CSCF crash.
                                                                    50    Before beginning a detailed description of the subject dis-
                             SUMMARY                                   closure, mention of the following is in order. When appropri-
                                                                       ate, like reference numerals and characters may be used to
     An object of the present disclosure is to provide a technique     designate identical, corresponding, or similar components in
  for recovering location information of a subscriber in a             differing drawing figures.
  mobile network including forwarding a registration request 55           Furthermore, in the detailed description to follow, example
  from the subscriber to an S-CSCF including the subscriber's          sizes/models/values/ranges may be given, although the
  TA and then forwarding an AL (Application Level) location            present invention is not limited thereto. Lastly, other compo-
  update from the S-CSCF to a Home Subscriber Server (HSS)             nents may not be shown within the drawing figures for sim-
  including the subscriber's TA and the (S-CSCF) address and           plicity of illustration and discussion and so as not to obscure
  storing data including the subscriber's TA and the S-CSCF 60 the invention.
  address in the HSS so as to be protected against loss.                  In the application level of a 3G All-IP network, the reach-
     Another object of the present disclosure is to provide a          ability of a subscriber is maintained in two levels, namely, the
  technique for recovering location information of a subscriber        network element level and the subscriber level. The S-CSCF
  in a mobile network including forwarding a registration              that the subscriber is currently registered to and the TA of the
  request from the subscriber to an S-CSCF including the sub- 65 roaming subscriber, which the subscriber provides to the
  scriber's TA and then forwarding an AL location update from          network during Application Level (AL) registration, must be
  the S-CSCF to an HSS including the S-CSCF address and                known to and maintained by the network.
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                                                           US 8,600,372 B2
                                  3                                                                           4
      Without specific support for mobility in IPv6, packets des-             S-CSCF. Keeping the current TA of the subscriber ensures
  tined to a mobile subscriber would not be able to reach it                  that a call made to the subscriber which arrives at the S-CSCF
  while the subscriber is away from its home link (the link on                can finally reach the subscriber.
  which its home IPv6 subnet prefix is in use), since routing is                 As illustrated in FIG. 2, in legacy mobile networks, such as
  based on the subnet prefix in a packet's destination IP                5    GSM, the information on the serving MSC/VLR (stored in
  address. In order to continue communication in spite of its                 the HLR) is adequate. That is, the called party can be reached
  movement, a subscriber could change its IP address each time                even after the loss of the subscriber location area (LA) infor-
  it moves to a new link, but it would then not be able to                    mation by a searching/paging mechanism. In step 1, the cur-
  maintain transport and higher-layer connections when it                     rent V-MSC/VLR for a called party is first located and in step
  changes location.                                                      10   2 a setup toward the V-MSC/VLR is. performed. In step 3,
      Mobile IPv6 allows a subscriber to move from one link to                upon a loss of the LA information, the called party is paged in
  another without changing its IP address. A subscriber is                    all cells under the V-MSC/VLR.
  always addressable by its "home address", an IP address                        On the other hand, as illustrated in FIG. 3, in the 3G All-IP
  assigned to it within its home subnet prefix on its home link.              network, no such searching mechanism is available, so that
  Packets may be routed to the subscriber using this address             is   the information of the current S-CSCF (stored in the HSS) is
  regardless of its current point of attachment to the Internet,              insufficient to reach the subscriber upon the loss of the sub-
  and it may continue to communicate with others after moving                 scriber TA. In step 1, S-CSCF is located and in step 2 a setup
  to a new link. The movement of a subscriber away from its                   toward the S-CSCF is performed. However, in step 3, in the
  home link is thus transparent to transport and higher-layer                 absence of the TA of the called party, the called parry is not
  protocols and applications.                                            20   reachable.
      A mobile subscriber is always addressable by its home                      The applicants have determined that the TA of a 3G All-IP
  address, whether it is currently attached to its home link or is            subscriber should be protected against loss with the same
  away from home. While it is at home, packets addressed to its               level of security as that for the Serving CSCF (S-CSCF). The
  home address are routed to it using conventional Internet                   applicants have proposed options to protect the TA of a sub-
  routing mechanisms in the same way as if it were never                 25   scriber, namely, one option in which the TA is forwarded to
  mobile. Since the subnet prefix of its home address is the                  the HSS and another option in which there is a security
  subnet prefix (or one of the subnet prefixes) on the subscrib-              backup of the TA within the CSCF. The TA of the subscriber
  ers' home link (it is the mobile subscribers' home subnet                   should be forwarded to the HSS at registration and down-
  prefix), packets addressed to it will be routed to its home link.           loaded from the HSS to the S-CSCF during recovery. Still
      While a subscriber is attached to some foreign link away           30   another option is to have a permanent IPv6 (Internet Protocol
  from home, it is also addressable by one or more care-of                    Version 6) address allocated to the subscriber and to have the
  addresses, in addition to its home address. A care-of address               subscriber update its current Care-ofAddress (part of the TA)
  is an IP address associated with a mobile node while the                    to the Home Agent upon obtaining the current TA.
  subscriber is visiting a particular foreign link. The subnet                   As noted above, in accordance with the present disclosure,
  prefix of a subscriber's care-of address is the subnet prefix (or      35   various options are available for implementing protection and
  one of the subnet prefixes) on the foreign link being visited by            recovery of the subscriber TA.
  it; if it is connected to this foreign link while using that care-of           In the first option, as illustrated in FIG. 4A, "a safe copy" of
  address, packets addressed to this care-of address will be                  the subscriber's TA is forwarded to the HSS for storage and
  routed to the subscriber in its location away from home.                    protection. The TA must enjoy the same level of protection
      The association between a subscriber's home address and            40   against loss as the S-CSCF address. The TA and other data can
  care-of address is known as a "binding" for the subscriber. It              then be restored to the S-CSCF upon the earlier loss of the
  typically acquires its care-of address through stateless or                 data by the S-CSCF. It is noted that the subscriber's TA is
  stateful Address Autoconfiguration, according to the methods                stored in the S-CSCF for normal operation. An incoming call
  of IPv6 Neighbor Discovery. Other methods of acquiring a                    from an REP (Remote End-Point) is received by the S-CSCF
  care-of address are also possible, such as static preassignment        45   in step 1. In step 2, the S-CSCF looks for the subscriber's TA
  by the owner or manager of a particular foreign link, but                   so as to route the call but fails to find the subscriber's TA. In
  details of such other methods are beyond the scope of this                  step 3, the S-CSCF initiates the restoration of the subscriber's
  discussion.                                                                 TA (and possibly other data) from the HSS. This option is
      While away from home, a mobile subscriber registers one                 only available when the S-CSCF loses only the TA of the
  of its care-of addresses with a router on its home link, request-      so   subscriber. Finally, in step 4, the call is then routed to the
  ing this router to function as the "home agent" for it. This                subscriber using the recovered TA.
  binding registration is done by the subscriber sending to the                  As illustrated in FIG. 4B in step 1, the registering sub-
  home agent a packet containing a "Binding Update" destina-                  scriber forwards an AL registration request to the S-CSCF
  tion option; the home agent then replies to the subscriber by               including the TA. In step 2, an AL Location Update is for-
  returning a packet containing a "Binding Acknowledgment"               55   warded to the HSS including the TA and S-CSCF address. In
  destination option. The care-of address in this binding regis-              step 3, the HSS stores the updated TA and S-CSCF address (in
  tered with its home agent is known as the subscriber's "pri-                a hard disk, for example, or other non-volatile memory). In
  mary care-of address". The subscribers' home agent thereaf-                 step 4, the HSS forwards an AL Location Update acknowl-
  ter uses proxy Neighbor Discovery to intercept any IPv6                     edgement to the S-CSCF which stores the TA and subscrip-
  packets addressed to the subscribers' home address (or home            60   tion profile and other data in step 5. In step 6, the S-CSCF
  addresses) on the home link and tunnels each intercepted                    forwards an AL registration acknowledge to the registering
  packet to the subscribers' primary care-of address. To tunnel               subscriber.
  each intercepted packet, the home agent encapsulates the                       In the second option, the same level of protection against
  packet using IPv6 encapsulation, with the outer IPv6 header                 loss applies for the subscriber's TA stored in the S-CSCF as
  addressed to the subscribers' primary care-of address.                 65   that of the S-CSCF address stored in the HSS. For example,
      Keeping the address of the S-CSCF ensures that a call to a              the subscriber's TA can be backed up in a hard disk, or other
  subscriber can be routed to the destination node, that is, the              non-volatile memory in the S-CSCF.
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                                 5                                                                         6
     In the case of an S-CSCF crash, when the S-CSCF restarts,                The Home Agent receives the packets and forwards them to
  all of the information regarding the mobile subscribers reg-             the Care-of Address obtained during the Mobile IP signaling
  istered with it, including the information on how to reach the           exchanged when the Care-of Address was created (the usual
  mobile subscribers, is lost. In such a situation, it is not pos-         procedure in Mobile IP).
  sible to deliver mobile terminated calls to the mobile sub-         5       When the mobile subscriber receives the first packet, it
  scribers that were registered with the S-CSCF that was                   sends a message to the I-CSCF which sent the packet to
  restarted.                                                               update the address indicating the Care of Address as the
     In providing a solution to the above-noted problem in                 correct address to be used to reach the subscriber (the usual
  accordance with the third option, the following assumptions              procedure in Mobile IP).
  are made:                                                           10      When the call is terminated the subscriber can optionally
     1) IPv6 is adopted for IP addressing and a subscriber is              re-register with a S-CSCF.
  given a home address at subscription time. This home address                This concludes the description of the example embodi-
  is stored in a UMS.                                                      ments. Although the present invention has been described
     2) The subscriber is in an area assigned to an S-CSCF and             with reference to a number of illustrative embodiments, it
  has registered with it and has provided its' TA, that is, the       15   should be understood that numerous other modifications and
  current address where the subscriber is reachable. Such an               embodiments can be devised by those skilled in the art that
  address is not the static home address but rather is the Care-of         will fall within the spirit and scope of the principles of this
  Address. Whenever the S-CSCF has to forward signaling to                 invention. More particularly, reasonable variations and modi-
  the mobile subscriber, it uses the Care-of Address. The sub-             fications are possible in the component parts and/or arrange-
  scriber has also registered its current Care of Address with its    20   ments of the subject combination arrangement within the
  Home Agent.                                                              scope of the foregoing disclosure, drawings, and appended
     3) The S-CSCF restarts due to a fault and loses the infor-            claims without departing from the spirit of the invention. For
  mation about the mobile station.                                         example, the example embodiments of the present invention
     The following procedure in accordance with the present                have been described with respect to currently used networks,
  disclosure, as illustrated in FIG. 5, may, for example, be used     25   such as 313 All-IP mobile networks, and standards for sim-
  for mobile terminating call delivery when, as illustrated in 1,          plicity. It is, of course, understood that the present invention is
  the S-CSCF crashes and restarts, the S-CSCF has no memory                not limited thereto. In addition to variations and modifica-
  of what mobile stations (MSs) were registered with the                   tions in the component parts and/or arrangements, alternative
  S-CSCF and does not have any of the MSs Care of Address                  uses will also be apparent to those skilled in the art.
  addresses:                                                          30
     When an incoming call at 2 reaches a CSCF in the home                  What is claimed is:
  network, either from another IP based terminal or from an                1. A method comprising:
  MGCF (Media Gateway Control Function), the I-CSCF que-                    receiving at a first server a registration request from a
  ries at 3 the UMS based on the alias dialed by the calling party.            subscriber in a mobile network, wherein the registration
     During registration, the UMS has stored information about        35       request includes a transport address for the subscriber;
  the S-CSCF and information as to how the mobile subscriber                communicating the transport address and an address of the
  can be reached. More particularly, the UMS has stored the                    first server from the first server to a second server for
  address of the S-CSCF, that is, the address where CC (Call                   storage;
  Control) signaling must be forwarded. At this point, two                  identifying a loss of the transport address by the first server;
  scenarios are possible:                                             40       and
     The information in the UMS regarding the S-CSCF is still               receiving the stored transport address at the first server
  valid; the UMS returns at 4 the address of the S-CSCF and the                from the second server in response to the loss of the
  Subscriber Identity and then forwards the call setup 5 to the                transport address by the first server.
  S-CSCF.                                                                   2. The method of claim 1, wherein the transport address is
     The S-CSCF, not having information available for the alias       45 stored in a non-volatile memory of the second server.
  to which the call corresponds due to a crash, queries 6 the               3. The method of claim 2, wherein the non-volatile
  UMS based on the Subscriber Identity optionally indicating             memory comprises a hard disk drive.
  that a restart took place in order to trigger a profile download.         4. The method of claim 1, wherein the transport address of
     The UMS returns at 7 the Home Address of the MS to the              the subscriber comprises a current care of address of the
  S-CSCF.                                                             50 subscriber.
     The S-CSCF forwards at 8 the signaling to the Home                     5. A method of claim 1, wherein the first server is an
  Address which is the home agent.                                       S-CSCF.
     The home agent receives the packets at 9 and forwards                  6. The method of claim 1, wherein the second server is an
  them at 10 to the MS using the Care of Address obtained                HSS.
  during the Mobile IP signaling exchanged when the Care-of           55    7. A non-transitory program storage device readable by a
  Address was created (the usual procedure in Mobile IP).                machine, non-transmissible, tangibly embodying a program
     When the MS receives the first packet, it sends at 11 a             of instructions executable by the machine to cause the
  message to the S-CSCF which sent the packet to update the              machine to:
  address indicating the Care of Address as the correct address             receive, at a first server, a registration request from a sub-
  to be used to reach the subscriber(the usual procedure in           60       scriber in a mobile network, wherein the registration
  Mobile IP) and call control signalling is sent at 12 from the                request includes a transport address for the subscriber;
  S-CSCF to the MS.                                                         communicate the transport address of the subscriber and an
     When the call is terminated the subscriber can optionally                 address of the first server from the first server to a second
  re-register with the S-CSCF.                                                 server for storage such that the transport address and the
     2) The information in the UMS is not valid; the UMS              65       address of the first server are stored at the second server;
  returns the Home Address of the mobile subscriber.                        identify a loss of the transport address by the first server;
     The I-CSCF forwards the signaling to the Home Address.                    and
Case 1:21-cv-01323-CFC Document 1-1 Filed 09/17/21 Page 270 of 440 PageID #: 319


                                                         US 8,600,372 B2
                                 7                                                                         8
     receive, from the second server, the stored transport                   13. The program storage device of claim 12, wherein the
        address at the first server in response to the loss of the         non-volatile memory comprises a hard disk drive.
        transport address by the first server.                               14. A system comprising:
     8. The program storage device of claim 7, wherein the                   a receiver at a first server, wherein the receiver is config-
  transport address and the address of the first server are stored    5         ured to receive a registration request from a subscriber of
  in a non-volatile memory of the second server.                                a mobile network, wherein the registration request
     9. The program storage device of claim 8, wherein the                      includes a transport address of the subscriber;
  non-volatile memory comprises a hard disk drive.                           a transmitter at the first server configured to send the trans-
     10. The program storage device of claim 7, wherein the first               port address and an address of the first server from the
  server is an S-CSCF.                                                10        first server to a second server for storage; and
     11. The program storage device of claim 7, wherein the                  a processor at the first server configured to identify a loss of
  second server is an HSS.                                                      the transport address by the first server,
     12. A non-transitory program storage device readable by a               wherein the receiver is configured to receive the transport
  machine, non-transmissible, tangibly embodying a program                      address from the second server in response to the loss of
  of instructions executable by the machine to cause the              15        the transport address by the first server.
  machine to:                                                                15. The system of claim 14, further comprising:
     receive, at a first server, a registration request from a sub-          a second receiver at the second server, wherein the second
        scriber, wherein the registration request includes a trans-             receiver is configured to receive from the first server the
        port address of the subscriber;                                         transport address and the address of the first server, and
     store the transport address in a non-volatile memory at the      20        to receive a request from the first server to restore a
        first server;                                                           stored transport address; and
     identify a loss of the transport address by the first server;           a second transmitter at the second server, wherein the sec-
     restore the transport address to the first server from the                 ond transmitter is configured to communicate the trans-
        non-volatile memory in response to the loss of the trans-               port address to the first server.
        port address by the first server.                                                          *   *   *   *   *
     Case 1:21-cv-01323-CFC Document 1-1 Filed 09/17/21 Page 271 of 440 PageID #: 320

                              UNITED STATES PATENT AND TRADEMARK OFFICE
                                   CERTIFICATE OF CORRECTION
PATENT NO.                 : 8,600,372 B2                                                                                       Page 1 of 1
APPLICATION NO.            : 13/682230
DATED                      : December 3, 2013
INVENTOR(S)                : Phan-Anh et al.

It is certified that error appears in the above-identified patent and that said Letters Patent is hereby corrected as shown below:


         On the Title Page, in Column 1, delete item "(60)" and insert item -- (63) --, therefor.



         In the Specifications

         In Column 4, Line 10, delete "is." and insert -- is --, therefor.

         In Column 4, Line 19, delete "parry" and insert -- party --, therefor.

         In Column 5, Line 30, delete "addresses:" and insert -- addresses. --, therefor.

         In Column 5, Line 65, delete "2)".



         In the Claims

         In Column 6, Line 51, in Claim 5, delete "A method" and insert -- The method --, therefor.




                                                                                   Signed and Sealed this
                                                                               Twenty-ninth Day of April, 2014



                                                                                                   Michelle K. Lee
                                                                           Deputy Director of the United States Patent and Trademark Office
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                        Exhibit R
Case 1:21-cv-01323-CFC Document 1-1 Filed 09/17/21 Page 273 of 440 PageID #: 322
                                                                              111111111111111111111111111!!),111JR1111111),
  (12)   United States Patent                                                           (10) Patent No.:     US 8,923,846 B2
         Phan-Anh et al.                                                                (45) Date of Patent:    *Dec. 30, 2014

  (54)   RECOVERY TECHNIQUES IN MOBILE                                             (51)        Int. Cl.
         NETWORKS                                                                              HO4W 24/00               (2009.01)
                                                                                               H04W24/04                (2009.01)
  (71)   Applicant: Intellectual Ventures I LLC,                                   (52)        U.S. Cl.
                    Wilmington, DE (US)                                                        CPC                            H04W24/04 (2013.01)
                                                                                               USPC           455/424; 455/435.1; 455/415; 455/433
  (72)   Inventors: Son Phan-Anh, Budapest (HU); Balint
                    Benko, Budapest (HU); Auvo                                     (58)        Field of Classification Search
                    Hartikainen, Budapest (HU); Markku                                         CPC                        HO4W 24/00; HO4W 24/08
                    Verkama, Espoo (FI); Heikki Juhani                                         USPC                         455/424, 435.1, 415, 433
                    Einola, Espoo (FI); Stefano Faccin,                                        See application file for complete search history.
                    Hayward, CA (US)
                                                                                   (56)                           References Cited
  (73)   Assignee: Intellectual Ventures I LLC,
                   Wilmington, DE (US)                                                                 U.S. PATENT DOCUMENTS

                                                                                          5,077,830 A             12/1991 Mallia
  (*)    Notice:      Subject to any disclaimer, the term of this                         5,274,694 A             12/1993 Lechner et al.
                      patent is extended or adjusted under 35
                      U.S.C. 154(b) by 0 days.                                                                       (Continued)

                      This patent is subject to a terminal dis-                                           OTHER PUBLICATIONS
                      claimer.                                                     U.S. Appl. No. 13/682,230, filed Nov. 2012, Phan-Anh et al.*

  (21)   Appl. No.: 14/058,473                                                                                       (Continued)

  (22)   Filed:       Oct. 21, 2013                                                Primary Examiner — Nghi H. Ly

  (65)                   Prior Publication Data                                    (57)                             ABSTRACT
         US 2014/0045490 Al            Feb. 13, 2014                               A technique for protecting location information of a sub-
                                                                                   scriber in a mobile network is disclosed. A User Mobility
                   Related U.S. Application Data
                                                                                   Server (UMS) receives a first query from a first call state
  (60)   Continuation of application No. 13/682,230, filed on                      control function (CSCF). The UMS transmits a call setup and
         Nov. 20, 2012, now Pat. No. 8,600,372, which is a                         a subscriber identity to a servicing-call state control function
         continuation of application No. 13/484,583, filed on                      (S-CSCF). The S-CSCF may have no record of the subscriber
         May 31, 2012, now Pat. No. 8,351,924, which is a                          identity due to a restart are some other event. The UMS
         continuation of application No. 13/097,709, filed on                      receives a second query from the S-CSCF based in part of the
         Apr. 29, 2011, now Pat. No. 8,200,211, which is a                         subscriber identity. The UMS transmits a home address of a
         continuation of application No. 12/720,862, filed on                      mobile station to the S-CSCF. The UMS may also transmit a
         Mar. 10, 2010, now Pat. No. 7,937,081, which is a                         profile download to the S-CSCF.
         division of application No. 09/802,861, filed on Mar.
         12, 2001, now Pat. No. 7,769,374.                                                             20 Claims, 6 Drawing Sheets




                        1. S-CSCF CRASHES AND                                                    UMS
                        RESTARTS -> S-CSCF HAS
                        NO MEMORY OF WHAT MSs WERE
                        REGISTERED WITH IT AND DOES              7. SERVICE PROFILE                    3. ROUTE REQUEST
                        NOT HAVE ANY OF THE MSs                  (MS HOME ADDRESS)                     (DIALED ALIAS)
                        ADDRESSES
                                                                    6. ROUTE REQUEST            4. S-CSCF ADDRESS
                                                             ,..7(SUBSCRIBER IDENTITY,          (SUBSCRIBERZNTITY)
                                                        .,          "RESTART)

                                                       S-CSCF          5. CALL SETUP                                  2. INCOMING CALL
                                              .--                                                        I-CSCF       (DIALED ALIAS)
                                                                       (SUBSCRIBER IDENTITY,
                            11. ADDRESS UPDATE                         DIALED ALIAS)

                                                          \-----"--.'-'-\ 8. CALL SETUP
                                             12 CALL CONTRO SIGNALING     (TO HOME ADDRESS)
                                             (TO CARE OF          PACKETS PACKETS SENT BEFORE ADDRESS UPDATE
                                             SENT AFTER ADDRESS )UPDATE

                                                                                                                    9. FORWARDS PACKETS
                                 MS                             GGSN              10. CALL SETUP              HOME TO CARE OF ADDRESS
                                                                                  (TO CARE OF ADDRESS)        AGENT
                                                                                  PACKETS SENT BEFORE
                                                                                  ADDRESS UPDATE
Case 1:21-cv-01323-CFC Document 1-1 Filed 09/17/21 Page 274 of 440 PageID #: 323


                                                             US 8,923,846 B2
                                                                    Page 2


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                                                                         2012.
                                                                         Non-final Office Action on U.S. Appl. No. 13/097,709 mailed Sep. 1,
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                                                                         Notice of Allowance on U.S. Appl. 13/484,583, mailed Sep. 12, 2012.
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  completed Apr. 3, 2003.                                                * cited by examiner
 FIG.                                                 EGACY MOBIL
               ALTERNATIV       APPLICATIONS           SIGNALING
                                                                                                        lualud 'ST1




                 ACCESS          & SERVICES*)            ETWOR
                NETWORK              SCP                                                  MULTIMEDIA'
                                                       \ R-SGW'I             CSCF        IP NETWORKS
                                                    Mh...,\;\ Ms -1-• hMw
                                CAP/.                                   / •     Mm
                                                           Cx
                                   K                    •-i • CSCF
                                                 —\.                      Mn
                                                     \       Gf -!-1- Mr X       Gi
                                            EIR I   \\ II          11,1RF
                                          \-f-Gf         Gc`  s  i    Gi    IMGCFI-•-• [T-SGW*)I
                    BSS/ lu
       TE   MT      GERAN Gb SGSNI- I GGSN G 1Mc
                Um          Y,A                           Gn
                         lu                                                                  PSTN/
       TE   MT      UTRAN                    MGW                             MGW      LEGACY/EXTERNAL
                                                                                                         9 JO 1 WIN




                                 \kJ           I              Nb              1
                           u                    - Mc                       Mc+
                                    \
                                `•\•\\        H.
                                               !              Nc              1
.--   SIGNALLING INTERFACE            ' MSC SERVER 1---1.-HGMSC SERVER- -- - T-SGW*)I
      SIGNALLING AND DATA              ,1
      TRANSFERINTERFACE        CAP                          /*/
                                           CAP D \         •C
                            APPLICATIONS                        .1-. R-SGW*
                            & SERVICES*)                      Mh
                                                                                                        Zll 9178`£Z6`8 Sf1
                                                                                                                             Case 1:21-cv-01323-CFC Document 1-1 Filed 09/17/21 Page 275 of 440 PageID #: 324
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FIG. 2
  I-MSCi             HIE              V-MSC/VLR      BSS UNDER V-MSCNLR      CALLED PARTY

 1. LOCATING CURRENT V-MSCNLR FOR CALLED PARTY

     2. SETUP TOWARD V-MSCNLR

                                  3. NO LA INFO => PAGING THE CALLED PARTY IN ALL CELLS UNDER V-MSCNLR
                                                                                                         9 .19 Z WIN
                                                                                                         Zll 9178`£Z6`8 Sf1
                                                                                                                              Case 1:21-cv-01323-CFC Document 1-1 Filed 09/17/21 Page 276 of 440 PageID #: 325
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FIG. 3
         I-CSCF                        HSS              S-CSCF               CALLED-PARTY


                  1. LOCATING S-CSCF

            2. SETUP TOWARD S-CSCF

                                                 3. NO TA OF CALLED-PARTY
                                             => CALLED-PARTY NOT REACHABLE
                                                                                            9 JO £ PaMS
                                                                                              Zll 9178`£Z6`8 Sf1
                                                                                                                   Case 1:21-cv-01323-CFC Document 1-1 Filed 09/17/21 Page 277 of 440 PageID #: 326
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FIG. 4A
  REP                       S-CSCF                       HSS                   CALLED SUBSCRIBER


   1. INCOMING CALL

   2. LOOK UP FOR TA & DATA OF CALLED SUBSCRIBER FAILS


                      3. RESTORE TA & DATA FROM HSS TO S-CSCF
                                                                                                   9 JO 17 JamiS




                                4. CALL TO SUBSCRIBER ROUTED BY RECOVERED TA




                                  i
                                                                                                      Zll 9178`£Z6`8 Sf1
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FIG. 4B
  REGISTERING SUBSCRIBER            S-CSCF                       HSS


            1. AL REGISTRATION REQUEST (TA, ETC)

                                       2. AL LOCATION UPDATE (TA,..S-CSCF ADDRESS, ETC)

                                                   3. STORES TA, S-CSCF ADDRESS

                                        4. AL LOCATION UPDATE ACK
                                                                                          9 JO S WIN




                   5. STORES TA, SUBSCRIPTION PROFILE, ETC

              6. AL REGISTRATION ACK
                                                                                          Zll 9178`£Z6`8 Sf1
                                                                                                               Case 1:21-cv-01323-CFC Document 1-1 Filed 09/17/21 Page 279 of 440 PageID #: 328
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    FIG. 5
1. S-CSCF CRASHES AND                                                     UMS
RESTARTS -> S-CSCF HAS
NO MEMORY OF WHAT MSs WERE
REGISTERED WITH IT AND DOES                7. SERVICE PROFILE                    3. ROUTE REQUEST
NOT HAVE ANY OF THE MSs                    (MS HOME ADDRESS)                     (DIALED ALIAS)
ADDRESSES                         ,                V
                                   ,           6. ROUTE REQUEST          4. S-CSCF ADDRESS
                                    ,,         (SUBSCRIBER IDENTITY,     (SUBSCRIBER ENTITY)
                                     .
                                      .        "RESTART")

                         .„---    S-CSCF ..,     5. CALL SETUP                                  2. INCOMING CALL
                                                 (SUBSCRIBER IDENTITY,             I-CSCF       (DIALED ALIAS)
    11. ADDRESS UPDATE        H                  DIALED ALIAS)
                 ,.'
                                                 8. CALL SETUP
                                                                                                                      9 JO 9 JamiS




                    12. CALL CONTR\ SIGNALING    (TO HOME ADDRESS)
                    (TO CARE OF ADDRESS) PACKETS PACKETS SENT BEFORE ADDRESS UPDATE
                    SENT AFTER ADDRESS UPDATE

                                                                                                9. FORWARDS PACKETS
                                          \                                                     TO CARE OF ADDRESS
         MS                               GGSN              10. CALL SETUP              HOME
                                                            (TO CARE OF ADDRESS)        AGENT
                                                            PACKETS SENT BEFORE
                                                            ADDRESS UPDATE
                                                                                                                        Zll 9178`£Z6`8 Sf1
                                                                                                                                             Case 1:21-cv-01323-CFC Document 1-1 Filed 09/17/21 Page 280 of 440 PageID #: 329
Case 1:21-cv-01323-CFC Document 1-1 Filed 09/17/21 Page 281 of 440 PageID #: 330


                                                        US 8,923,846 B2
                                 1                                                                     2
         RECOVERY TECHNIQUES IN MOBILE                                   the S-CSCF to an HSS including the S-CSCF address and
                  NETWORKS                                               storing data including the subscriber's TA in a non-volatile
                                                                         memory of the S-CSCF so as to be protected against loss.
        CROSS-REFERENCE TO RELATED PATENT                                   Yet another object of the present disclosure is to provide a
                  APPLICATIONS                                      5    technique for recovering location information of a subscriber
                                                                         in a mobile network including upon an S-CSCF receiving a
     This application is a Continuation of U.S. application Ser.         call setup request for the subscriber from an Interrogating
  No. 13/682,230, filed Nov. 20, 2012, which is a Continuation           Call State Control Function (I-CSCF), forwarding a route
  of U.S. application Ser. No. 13/484,583, filed May 31, 2012            request to a User Mobility Server (UMS) and receiving a
  (now U.S. Pat. No. 8,351,924), which is a Continuation of         10
                                                                         home address of the subscriber and then forwarding the call
  U.S. application Ser. No. 13/097,709, filed Apr. 29, 2011              setup request from the S-CSCF to a home agent at the home
  (now U.S. Pat. No. 8,200,211, which is a Continuation of U.S.          address of the subscriber and then forwarding the call setup
  application Ser. No. 12/720,862, filed Mar. 10, 2010 (now              request from the home agent to the subscriber and subse-
  U.S. Pat. No. 7,937,081, which is a Divisional of U.S. appli-     15   quently forwarding an address update from the subscriber to
  cation Ser. No. 09/802,861, filed Mar. 12, 2001, (now U.S.             the S-CSCF.
  Pat. No. 7,769,374) all of which are incorporated herein by
  reference in their entirety.                                                 BRIEF DESCRIPTION OF THE DRAWINGS
                              FIELD
                                                                    20    The foregoing and a better understanding of the present
     The present disclosure relates to recovery techniques for         disclosure  will become apparent from the following detailed
  use in mobile networks. More particularly, the present disclo-       description of example embodiments and the claims when
  sure relates to protecting the Transport Address (TA) which is       read in connection with the accompanying drawings, all
  a current Care of Address of a mobile subscriber is reachable        forming a part of the disclosure of this disclosure. While the
  from loss and after Call State Control Function (CSCF)            25 foregoing and following written and illustrated disclosure
  crashes and after reset situations of a network element real-        focuses on disclosing example embodiments of the invention,
  izing CSCF functionality.                                            issued a clearly understood that the same is by way of illus-
                                                                       tration and example only and the invention is not limited
               DESCRIPTION OF RELATED ART                              thereto. The spirit and scope of the present invention are
                                                                    30 limited only by the terms of the appended claims.
     Technical Report TR 23.821 V1.0.1, published July 2000               The following represents brief descriptions of the draw-
  by the 3rd Generation Partnership Project (3GPP) and avail-          ings, wherein:
  able on the Internet at http://www.3gpp.org, discloses the              FIG. 1 illustrates the architecture of a 3G All-IP mobile
  specifications of a 3G All-IP mobile network and this report is      network.
  incorporated by reference herein in its entirety.                 35    FIG. 2 illustrates reaching a called party after losing LA
     FIG. 1 illustrates the architecture of the network disclosed      (Location Area) information in a legacy mobile network.
  in the above-noted Technical Report. The elements shown                 FIG. 3 illustrates failure to reach a called party after losing
  with asterisks are elements which have been duplicated for           TA information in a 3GPP All-IP mobile network.
  figure layout purposes only. These duplicated elements                  FIG. 4A illustrates sending subscriber TA to S-CSCF and
  belong to the same logical element in the reference model. 40 then forwarding it to HSS at registration.
     Unfortunately, the network disclosed in the Technical                FIG. 4B illustrates an example of reaching a called party
  Report fails to include any protection of the TA of a 3G All-IP      after losing TA information in a mobile network in accor-
  subscriber from loss. Furthermore, the network disclosed in          dance with the present disclosure.
  the Technical Report fails to protect the IP address of a sub-          FIG. 5 illustrates the signal flow in the case of a recovery
  scriber in the case of a reset situation of a network element 45 after a CSCF crash in accordance with another embodiment
  realizing CSCF functionality, that is, a CSCF, thereby pre-          of the present disclosure.
  venting recovery after a reset of the network element. Still
  furthermore, the network disclosed in the Technical Report               DETAILED DESCRIPTION OF THE PREFERRED
  fails to protect the location information of a subscriber after a                           EMBODIMENTS
  CSCF crash, thereby preventing recovery after a CSCF crash. 50
                                                                          Before beginning a detailed description of the subject dis-
                             SUMMARY                                   closure, mention of the following is in order. When appropri-
                                                                       ate, like reference numerals and characters may be used to
     An object of the present disclosure is to provide a technique     designate identical, corresponding, or similar components in
  for recovering location information of a subscriber in a 55 differing drawing figures. Furthermore, in the detailed
  mobile network including forwarding a registration request           description to follow, example sizes/models/values/ranges
  from the subscriber to an S-CSCF including the subscriber's          may be given, although the present invention is not limited
  TA and then forwarding an AL (Application Level) location            thereto. Lastly, other components may not be shown within
  update from the S-CSCF to a Home Subscriber Server (HSS)             the drawing figures for simplicity of illustration and discus-
  including the subscriber's TA and the (S-CSCF) address and 60 sion and so as not to obscure the invention.
  storing data including the subscriber's TA and the S-CSCF               In the application level of a 3G All-IP network, the reach-
  address in the HSS so as to be protected against loss.               ability of a subscriber is maintained in two levels, namely, the
     Another object of the present disclosure is to provide a          network element level and the subscriber level. The S-CSCF
  technique for recovering location information of a subscriber        that the subscriber is currently registered to and the TA of the
  in a mobile network including forwarding a registration 65 roaming subscriber, which the subscriber provides to the
  request from the subscriber to an S-CSCF including the sub-          network during Application Level (AL) registration, must be
  scriber's TA and then forwarding an AL location update from          known to and maintained by the network.
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                                                           US 8,923,846 B2
                                  3                                                                           4
      Without specific support for mobility in IPv6, packets des-             S-CSCF. Keeping the current TA of the subscriber ensures
  tined to a mobile subscriber would not be able to reach it                  that a call made to the subscriber which arrives at the S-CSCF
  while the subscriber is away from its home link (the link on                can finally reach the subscriber.
  which its home IPv6 subnet prefix is in use), since routing is                 As illustrated in FIG. 2, in legacy mobile networks, such as
  based on the subnet prefix in a packet's destination IP                5    GSM, the information on the serving MSC/VLR (stored in
  address. In order to continue communication in spite of its                 the HLR) is adequate. That is, the called party can be reached
  movement, a subscriber could change its IP address each time                even after the loss of the subscriber location area (LA) infor-
  it moves to a new link, but it would then not be able to                    mation by a searching/paging mechanism. In step 1, the cur-
  maintain transport and higher-layer connections when it                     rent V-MSC/VLR for a called party is first located and in step
  changes location.                                                      10   2 a setup toward the V-MSC/VLR is. performed. In step 3,
      Mobile IPv6 allows a subscriber to move from one link to                upon a loss of the LA information, the called party is paged in
  another without changing its IP address. A subscriber is                    all cells under the V-MSC/VLR.
  always addressable by its "home address", an IP address                        On the other hand, as illustrated in FIG. 3, in the 3G All-IP
  assigned to it within its home subnet prefix on its home link.              network, no such searching mechanism is available, so that
  Packets may be routed to the subscriber using this address             is   the information of the current S-CSCF (stored in the HSS) is
  regardless of its current point of attachment to the Internet,              insufficient to reach the subscriber upon the loss of the sub-
  and it may continue to communicate with others after moving                 scriber TA. In step 1, S-CSCF is located and in step 2 a setup
  to a new link. The movement of a subscriber away from its                   toward the S-CSCF is performed. However, in step 3, in the
  home link is thus transparent to transport and higher-layer                 absence of the TA of the called party, the called parry is not
  protocols and applications.                                            20   reachable.
      A mobile subscriber is always addressable by its home                      The applicants have determined that the TA of a 3G All-IP
  address, whether it is currently attached to its home link or is            subscriber should be protected against loss with the same
  away from home. While it is at home, packets addressed to its               level of security as that for the Serving CSCF (S-CSCF). The
  home address are routed to it using conventional Internet                   applicants have proposed options to protect the TA of a sub-
  routing mechanisms in the same way as if it were never                 25   scriber, namely, one option in which the TA is forwarded to
  mobile. Since the subnet prefix of its home address is the                  the HSS and another option in which there is a security
  subnet prefix (or one of the subnet prefixes) on the subscrib-              backup of the TA within the CSCF. The TA of the subscriber
  ers' home link (it is the mobile subscribers' home subnet                   should be forwarded to the HSS at registration and down-
  prefix), packets addressed to it will be routed to its home link.           loaded from the HSS to the S-CSCF during recovery. Still
      While a subscriber is attached to some foreign link away           30   another option is to have a permanent IPv6 (Internet Protocol
  from home, it is also addressable by one or more care-of                    Version 6) address allocated to the subscriber and to have the
  addresses, in addition to its home address. A care-of address               subscriber update its current Care-ofAddress (part of the TA)
  is an IP address associated with a mobile node while the                    to the Home Agent upon obtaining the current TA.
  subscriber is visiting a particular foreign link. The subnet                   As noted above, in accordance with the present disclosure,
  prefix of a subscriber's care-of address is the subnet prefix (or      35   various options are available for implementing protection and
  one of the subnet prefixes) on the foreign link being visited by            recovery of the subscriber TA.
  it; if it is connected to this foreign link while using that care-of           In the first option, as illustrated in FIG. 4A, "a safe copy" of
  address, packets addressed to this care-of address will be                  the subscriber's TA is forwarded to the HSS for storage and
  routed to the subscriber in its location away from home.                    protection. The TA must enjoy the same level of protection
      The association between a subscriber's home address and            40   against loss as the S-CSCF address. The TA and other data can
  care-of address is known as a "binding" for the subscriber. It              then be restored to the S-CSCF upon the earlier loss of the
  typically acquires its care-of address through stateless or                 data by the S-CSCF. It is noted that the subscriber's TA is
  stateful Address Autoconfiguration, according to the methods                stored in the S-CSCF for normal operation. An incoming call
  of IPv6 Neighbor Discovery. Other methods of acquiring a                    from an REP (Remote End-Point) is received by the S-CSCF
  care-of address are also possible, such as static preassignment        45   in step 1. In step 2, the S-CSCF looks for the subscriber's TA
  by the owner or manager of a particular foreign link, but                   so as to route the call but fails to find the subscriber's TA. In
  details of such other methods are beyond the scope of this                  step 3, the S-CSCF initiates the restoration of the subscriber's
  discussion.                                                                 TA (and possibly other data) from the HSS. This option is
      While away from home, a mobile subscriber registers one                 only available when the S-CSCF loses only the TA of the
  of its care-of addresses with a router on its home link, request-      so   subscriber. Finally, in step 4, the call is then routed to the
  ing this router to function as the "home agent" for it. This                subscriber using the recovered TA.
  binding registration is done by the subscriber sending to the                  As illustrated in FIG. 4B in step 1, the registering sub-
  home agent a packet containing a "Binding Update" destina-                  scriber forwards an AL registration request to the S-CSCF
  tion option; the home agent then replies to the subscriber by               including the TA. In step 2, an AL Location Update is for-
  returning a packet containing a "Binding Acknowledgment"               55   warded to the HSS including the TA and S-CSCF address. In
  destination option. The care-of address in this binding regis-              step 3, the HSS stores the updated TA and S-CSCF address (in
  tered with its home agent is known as the subscriber's "pri-                a hard disk, for example, or other non-volatile memory). In
  mary care-of address". The subscribers' home agent thereaf-                 step 4, the HSS forwards an AL Location Update acknowl-
  ter uses proxy Neighbor Discovery to intercept any IPv6                     edgement to the S-CSCF which stores the TA and subscrip-
  packets addressed to the subscribers' home address (or home            60   tion profile and other data in step 5. In step 6, the S-CSCF
  addresses) on the home link and tunnels each intercepted                    forwards an AL registration acknowledge to the registering
  packet to the subscribers' primary care-of address. To tunnel               subscriber.
  each intercepted packet, the home agent encapsulates the                       In the second option, the same level of protection against
  packet using IPv6 encapsulation, with the outer IPv6 header                 loss applies for the subscriber's TA stored in the S-CSCF as
  addressed to the subscribers' primary care-of address.                 65   that of the S-CSCF address stored in the HSS. For example,
      Keeping the address of the S-CSCF ensures that a call to a              the subscriber's TA can be backed up in a hard disk, or other
  subscriber can be routed to the destination node, that is, the              non-volatile memory in the S-CSCF.
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                                                        US 8,923,846 B2
                                 5                                                                         6
     In the case of an S-CSCF crash, when the S-CSCF restarts,                The Home Agent receives the packets and forwards them to
  all of the information regarding the mobile subscribers reg-             the Care-of Address obtained during the Mobile IP signaling
  istered with it, including the information on how to reach the           exchanged when the Care-of Address was created (the usual
  mobile subscribers, is lost. In such a situation, it is not pos-         procedure in Mobile IP).
  sible to deliver mobile terminated calls to the mobile sub-         5       When the mobile subscriber receives the first packet, it
  scribers that were registered with the S-CSCF that was                   sends a message to the I-CSCF which sent the packet to
  restarted.                                                               update the address indicating the Care of Address as the
     In providing a solution to the above-noted problem in                 correct address to be used to reach the subscriber (the usual
  accordance with the third option, the following assumptions              procedure in Mobile IP).
  are made:                                                           10      When the call is terminated the subscriber can optionally
     1) IPv6 is adopted for IP addressing and a subscriber is              re-register with a S-CSCF.
  given a home address at subscription time. This home address                This concludes the description of the example embodi-
  is stored in a UMS.                                                      ments. Although the present invention has been described
     2) The subscriber is in an area assigned to an S-CSCF and             with reference to a number of illustrative embodiments, it
  has registered with it and has provided its' TA, that is, the       15   should be understood that numerous other modifications and
  current address where the subscriber is reachable. Such an               embodiments can be devised by those skilled in the art that
  address is not the static home address but rather is the Care-of         will fall within the spirit and scope of the principles of this
  Address. Whenever the S-CSCF has to forward signaling to                 invention. More particularly, reasonable variations and modi-
  the mobile subscriber, it uses the Care-of Address. The sub-             fications are possible in the component parts and/or arrange-
  scriber has also registered its current Care of Address with its    2o   ments of the subject combination arrangement within the
  Home Agent.                                                              scope of the foregoing disclosure, drawings, and appended
     3) The S-CSCF restarts due to a fault and loses the infor-            claims without departing from the spirit of the invention. For
  mation about the mobile station.                                         example, the example embodiments of the present invention
     The following procedure in accordance with the present                have been described with respect to currently used networks,
  disclosure, as illustrated in FIG. 5, may, for example, be used     25   such as 313 All-IP mobile networks, and standards for sim-
  for mobile terminating call delivery when, as illustrated in 1,          plicity. It is, of course, understood that the present invention is
  the S-CSCF crashes and restarts, the S-CSCF has no memory                not limited thereto. In addition to variations and modifica-
  of what mobile stations (MSs) were registered with the                   tions in the component parts and/or arrangements, alternative
  S-CSCF and does not have any of the MSs Care of Address                  uses will also be apparent to those skilled in the art.
  addresses:                                                          30      What is claimed is:
     When an incoming call at 2 reaches a CSCF in the home                    1. A method comprising:
  network, either from another IP based terminal or from an                   receiving, from a first server at a second server, a transport
  MGCF (Media Gateway Control Function), the I-CSCF que-                         address and an address of the first server;
  ries at 3 the UMS based on the alias dialed by the calling party.           receiving, at the second server, a request from the first
     During registration, the UMS has stored information about        35         server to restore the transport address; and
  the S-CSCF and information as to how the mobile subscriber                  in response to the request from the first server to restore the
  can be reached. More particularly, the UMS has stored the                      transport address, communicating the transport address
  address of the S-CSCF, that is, the address where CC (Call                     to the first server from the second server.
  Control) signaling must be forwarded. At this point, two                    2. The method of claim 1, wherein the second server is a
  scenarios are possible:                                             40   home subscription server (HSS).
     The information in the UMS regarding the S-CSCF is still                 3. The method of claim 1, wherein the first server is a
  valid; the UMS returns at 4 the address of the S-CSCF and the            serving-call state control function (S-CSCF).
  Subscriber Identity and then forwards the call setup 5 to the               4. The method of claim 1, further comprising storing the
  S-CSCF.                                                                  transport address at the second server.
     The S-CSCF, not having information available for the alias       45      5. The method of claim 4, wherein the storing the transport
  to which the call corresponds due to a crash, queries 6 the              address comprises storing the transport address in a non-
  UMS based on the Subscriber Identity optionally indicating               volatile memory of the second server.
  that a restart took place in order to trigger a profile download.           6. The method of claim 1, wherein the transport address
     The UMS returns at 7 the Home Address of the MS to the                comprises a care-of-address of a mobile subscriber.
  S-CSCF.                                                             so      7. The method of claim 1, wherein the receiving, at the
     The S-CSCF forwards at 8 the signaling to the Home                    second server, the request from the first server to restore the
  Address which is the home agent.                                         transport address is in response to a loss of the transport
     The home agent receives the packets at 9 and forwards                 address by the first server.
  them at 10 to the MS using the Care of Address obtained                     8. The method of claim 1, wherein the receiving the trans-
  during the Mobile IP signaling exchanged when the Care-of           55   port address and an address of the first server comprises
  Address was created (the usual procedure in Mobile IP).                  receiving an application level update message at the second
     When the MS receives the first packet, it sends at 11 a               server from the first server.
  message to the S-CSCF which sent the packet to update the                   9. An apparatus comprising:
  address indicating the Care of Address as the correct address               a receiver configured to receive a transport address and an
  to be used to reach the subscriber (the usual procedure in          60         address of a first server from the first server, wherein the
  Mobile IP) and call control signalling is sent at 12 from the                  receiver is further configured to receive a request to
  S-CSCF to the MS.                                                              restore the transport address from the first server; and
     When the call is terminated the subscriber can optionally                a transmitter configured to communicate the transport
  re-register with the S-CSCF.                                                   address to the first server in response to the request to
     2) The information in the UMS is not valid; the UMS              65         restore the transport address from the first server.
  returns the Home Address of the mobile subscriber.                          10. The apparatus of claim 9, wherein the apparatus is an
     The I-CSCF forwards the signaling to the Home Address.                HSS.
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                                 7                                                                        8
     11. The apparatus of claim 9, wherein the first server is an            receiving, from a first server, a transport address and an
  S-CSCF.                                                                       address of the first server;
     12. The apparatus of claim 9, further comprising a non-                 receiving a request from the first server to restore the trans-
  volatile memory configured to store the transport address at                  port address; and
  the second server.                                                 5       in response to the request from the first server to restore the
     13. The apparatus of claim 9, wherein the transport address                transport address, communicating the transport address
  comprises a care-of-address of a mobile subscriber.                           to the first server.
     14. The apparatus of claim 9, wherein the receiver is further
                                                                             17. The non-transitory computer-readable medium of
  configured to receive the request from the first server to
                                                                          claim 16, wherein the computing device is an HSS.
  restore the transport address in response to a loss of the         10
                                                                             18. The non-transitory computer-readable medium of
  transport address by the first server.
     15. The apparatus of claim 9, wherein the receiver is further        claim 16, wherein the first server is an S-CSCF.
  configured to receive the transport address and an address of              19. The non-transitory computer-readable medium of
  the first server in an application level update message from the        claim 16, wherein the operations further comprise storing the
  first server.                                                           transport address in a non-volatile memory.
                                                                     15
     16. A non-transitory computer-readable medium having                    20. The non-transitory computer-readable medium of
  instructions stored thereon that, upon execution by a comput-           claim 16, wherein the transport address comprises a care-of-
  ing device, cause the computing device to perform operations            address of a mobile subscriber.
  comprising:                                                                                     *   *   *
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                        Exhibit S
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                                                                            111111111111111111111111111!!JITIIII
  (12)   United States Patent                                                           (10) Patent No.:     US 9,918,222 B2
         Phan-Anh et al.                                                                (45) Date of Patent:     Mar. 13, 2018

  (54)   RECOVERY TECHNIQUES IN MOBILE                                                        HO4W 24/04              (2009.01)
         NETWORKS                                                                             HO4W 24/02              (2009.01)
                                                                                              HO4W 8/30               (2009.01)
  (71)   Applicant: Intellectual Ventures I LLC,
                                                                                   (52)       U.S. Cl.
                    Wilmington (DE)
                                                                                              CPC              HO4W 8/26 (2013.01); HO4W 8/30
  (72)   Inventors: Son Phan-Anh, Budapest (HU); Balint                                                 (2013.01); HO4W 24/02 (2013.01); HO4W
                    Benko, Budapest (HU); Auvo                                                                                     24/04 (2013.01)
                    Hartikainen, Budapest (HU); Markku                             (58)       Field of Classification Search
                    Verkama, Espoo (FI); Heikki Juhani                                        CPC          HO4W 8/26; HO4W 8/30; HO4W 24/02
                    Einola, Espoo (FI); Stefano Faccin,                                       USPC                        455/445, 414.1, 415, 417
                    Hayward, CA (US)                                                          See application file for complete search history.
  (73)   Assignee: Intellectual Ventures I LLC,                                    (56)                          References Cited
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                                                                                                                    (Continued)
  (21)   Appl. No.: 15/226,422
                                                                                                          OTHER PUBLICATIONS
  (22)   Filed:       Aug. 2, 2016
                                                                                   Final Office Action on U.S. Appl. No. 14/058,473, dated Jun. 6,
  (65)                  Prior Publication Data                                     2014.
         US 2017/0078871 Al            Mar. 16, 2017                                                        (Continued)
                  Related U.S. Application Data                                    Primary Examiner — Nghi H Ly
  (60)   Continuation of application No. 14/549,714, filed on
         Nov. 21, 2014, now Pat. No. 9,432,842, which is a                         (57)                            ABSTRACT
         continuation of application No. 14/058,473, filed on                      A technique for protecting location information of a sub-
         Oct. 21, 2013, now Pat. No. 8,923,846, which is a                         scriber in a mobile network is disclosed. A User Mobility
         continuation of application No. 13/682,230, filed on                      Server (UMS) receives a first query from a first call state
         Nov. 20, 2012, now Pat. No. 8,600,372, which is a                         control function (CSCF). The UMS transmits a call setup
         continuation of application No. 13/484,583, filed on                      and a subscriber identity to a servicing-call state control
         May 31, 2012, now Pat. No. 8,351,924, which is a                          function (S-CSCF). The S-CSCF may have no record of the
         continuation of application No. 13/097,709, filed on                      subscriber identity due to a restart are some other event. The
         Apr. 29, 2011, now Pat. No. 8,200,211, which is a                         UMS receives a second query from the S-CSCF based in
                          (Continued)                                              part of the subscriber identity. The UMS transmits a home
                                                                                   address of a mobile station to the S-CSCF. The UMS may
  (51)   Int. Cl.                                                                  also transmit a profile download to the S-CSCF.
         H04W 40/00                (2009.01)
         H04W 8/26                 (2009.01)                                                           18 Claims, 6 Drawing Sheets




                            1. S-CSCF CRASHES AND                                             UMS
                            RESTARTS S-CSCF HAS
                            NO MEMORY OF WHAT MSs WERE
                            REGISTERED WITH IT AND DOES          7. SERVICE PROFILE                 S. ROUTE REQUEST
                            NOT HAVE ANY OF THE MSs              (MS HOME ADDRESS)                  (DIALED ALIAS)
                            ADDRESSES
                                                                    6. ROUTE REQUEST         4. 8.03CF ADDRESS
                                                                    (SUBSCRIBER IDENTITY,    (SUEISCRBETNITrY)
                                                                    'RESTART')
                                                          WOOF         —LALLERIP                                     MOUND CALL
                                                                     (SUBSCRIBER IDENTITY,                        (DIALED ALIAS)
                                11 ADDRESS UPDATt                    DIALED ALIAS)

                                                                               CALL SETUP
                                                (2. CLL CONTRO SIGNALING     (TO ROME ADORE
                                                (TO CARE OF ADDRESS) PACKETS PACKETS SENT BEFORE ADDRESS UPDATE
                                                SENT AFTER ADDRESS UPDATE

                                                                                                                  S.FORWAROSPACKE1
                                                                                                          HOME    TO CARE OF ADDRESS
                                                                                10, CALL SETUP
                                                                                fro CARE OF ADORES%
                                                                                PACKETS SENT BEFORE
                                                                                ADDRESS UPDATE
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                 Related U.S. Application Data                                   8,600,372 B2  12/2013 Phan-Anh et al.
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          continuation-in-part of application No. 12/720,862,                2004/0121775 Al * 6/2004 Ropolyi                 HO4L 63/00
          filed on Mar. 10, 2010, now Pat. No. 7,937,081,                                                                        455/445
          which is a division of application No. 09/082,861,                 2009/0029701 Al    1/2009 Mishima
          filed on Mar. 12, 2001, now Pat. No. 7,769,374.                    2011/0076991 Al    3/2011 Mueck et al.
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                                                                         2014.
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                                                                         Office Action on U.S. Appl. No. 12/720,862, dated Jul. 8, 2010.
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         8,554,231   B2     10/2013   Jones                              * cited by examiner
 FIG,                                                         EGACY MOBIL
                                                                                                               IllalUd °S°11




             ALTERNATIV       APPLICATIONS                     SIGNALING
               ACCESS         & SERVICES*)                       ETWOR
              NETWOR               SCP                                                     MULTIMEDIA
                                                                                 CSCF     IP NETWORKS
                                         /       I    Mh\ • -             (
                              CAP/                    ..--\"\c Ms t        .                                 rt
                                             11:0Ki -----192-LCSCF                 Min
                                     \                      GI -4t Mr ')'.,erg      Gi
                                         \I     EIR             • MRF
                                                                               IMGCF1-        W*
                  BSS/ lu                     \i         Gc          I.
      TE   MT     GERAN                       SGSN               GGSN             Imo
              Urn                                                         Gi
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                      Iu                                                                      PSTN/
      TE   MT     UTRAN                         MGW                                      LEGACY/EXTERNAL
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                                     •
                                              No
 - SIGNALLING INTERFACE         MSC SERVER j---).:,-,; •:--4GMSC SERVE                   T-
— SIGNALLING AND DATA
   TRANSFER INTERFACE CAPRI                                 ./
                                                         /
                                    CAP D
                      APPLICATIONS                             R-SGW*)
                       & SERVICES*)                       Mh
                                                                                                            Zil ZZZ`816% Sfl
                                                                                                                               Case 1:21-cv-01323-CFC Document 1-1 Filed 09/17/21 Page 288 of 440 PageID #: 337
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FIG. 2
  UM                    HIR             YEWS           BSS UNDER V-MSCNLR       CALLED PARTY
    1                                        j
 I. LOCATING CURRENT V-MSCNLR FOR CALLED PARTY

        2. SETUP TOWARD V-MSCIVLR

                                    3. NO LA INFO --t> PAGING THE CALLED PARTY IN ALL CELLS UNDER V-MSCNLR
                                                                                                             9 JO Z lootis




i                                        $                    t      f             t      $
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                                                                                                                                Case 1:21-cv-01323-CFC Document 1-1 Filed 09/17/21 Page 289 of 440 PageID #: 338
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FIG. 3
         -CSCF                        fiSs                                   CALLED-PARTY


                 1. LOCATING S-CSCF                                                         O



           2. SETUP TOWARD S-CSCF

                                                 3. NO TA OF CALLED-PARTY
                                             => CALLED-PARTY NOT REACHABLE
                                                                                            9 JO £ Oat's
                                                                                             Zil ZZZ`816% Sfl
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FIG. 4A
  BEE                       B-CSCF                                             CALLED SUfZpRiBER


   1. INCOMING CALL
                                                                                                      810Z `El *JRIAI




   2. LOOK UP FOR TA & DATA OF CALLED SUBSCRIBER FAILS


                      3. RESTORE TA & DATA FROM HSS TO S-CSCF


                                4. CALL TO SUBSCRIBER ROUTED BY RECOVERED TA
                                                                                                   9 JO I Oat's
                                                                                                     Zil ZZZ`816% Sfl
                                                                                                                        Case 1:21-cv-01323-CFC Document 1-1 Filed 09/17/21 Page 291 of 440 PageID #: 340
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FIG. 4B
  REGISTERING SUBSC IBER           IME


            1. AL REGISTRATION REQUEST (TA, ETC)
                                                                                          810Z `El *JRIAI




                                       2. AL LOCATION UPDATE (TA,..S-CSCF ADDRESS, ETC)

                                                   3. STORES TA, S-CSCF ADDRESS

                                        4. AL LOCATION UPDATE ACK
                                                                                          9 JO S Oat's




                   5. STORES TA, SUBSCRIPTION PROFILE, ETC

              6. AL REGISTRATION ACK
                                                                  oWNIVAMMINIVI
               4                                              r
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    FIG. 5
1. S-CSCF CRASHES AND
RESTARTS -> S-CSCF HAS                                               UMS
NO MEMORY OF WHAT MSs WERE
REGISTERED WITH IT AND DOES             7. SERVICE PROFILE                 3. ROUTE REQUEST
NOT HAVE ANY OF THE MSs                 (MS HOME ADDRESS)                  (DIALED ALIAS)
ADDRESSES                      \
                                           6. ROUTE REQUEST         4. S-CSCF ADDRESS
                                                                    (SUBSCRIBEITNTITY)                          O
                                   de„.7(SUBSCRIBER IDENTITY,
                                           'RESTART')

                               S-CSCF       5. CALLSETUP                                 .2, INCOMING CALL
                                            (SUBSCRIBER IDENTITY,                         (DIALED ALIAS)
     11. ADDRESS UPDATE                     DIALED ALIAS)

                                                    CALL SETUP
                     12. CALL CONTROL SIGNALING   (TO HOME ADDRESS)
                     (TO CARE OF ADDRESS) PACKETS PACKETS SENT BEFORE ADDRESS UPDATE
                                                                                                                9 JO 9 laatiS




                     SENT AFTER ADDRESS UPDATE

                                                                                          9. FORWARDS PACKET!
                                                                                 HOME     TO CARE OF ADDRESS
         MS                          GGSN              10. CALL SETUP
                                                       (TO CARE OF ADDRESS)      AGENT
                                                       PACKETS SENT BEFORE
                                                       ADDRESS UPDATE
                                                                                                                 Zil ZZZ`816% Sfl
                                                                                                                                    Case 1:21-cv-01323-CFC Document 1-1 Filed 09/17/21 Page 293 of 440 PageID #: 342
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                                                       US 9,918,222 B2
                                1                                                                       2
         RECOVERY TECHNIQUES IN MOBILE                                      Another object of the present disclosure is to provide a
                   NETWORKS                                              technique for recovering location information of a sub-
                                                                         scriber in a mobile network including forwarding a regis-
       CROSS-REFERENCE TO RELATED PATENT                                 tration request from the subscriber to an S-CSCF including
                  APPLICATIONS                                      5    the subscriber's TA and then forwarding an AL location
                                                                         update from the S-CSCF to an HSS including the S-CSCF
     This application is a Continuation of U.S. application Ser.         address and storing data including the subscriber's TA in a
  No. 14/549,714, which is a Continuation of U.S. application            non-volatile memory of the S-CSCF so as to be protected
  Ser. No. 14/058,473, filed Oct. 21, 2013, which is a Con-              against loss.
  tinuation of U.S. application Ser. No. 13/682,230, filed Nov.     10      Yet another object of the present disclosure is to provide
  20, 2012 (now U.S. Pat. No. 8,600,372), which is a Con-                a technique for recovering location information of a sub-
  tinuation of U.S. application Ser. No. 13/484,583, filed May           scriber in a mobile network including upon an S-CSCF
  31, 2012 (now U.S. Pat. No. 8,351,924), which is a Con-                receiving a call setup request for the subscriber from an
  tinuation of U.S. application Ser. No. 13/097,709, filed Apr.          Interrogating Call State Control Function (I-CSCF), for-
  29, 2011 (now U.S. Pat. No. 8,200,211, which is a Continu-        15   warding a route request to a User Mobility Server (UMS)
  ation-in-Part of U.S. application Ser. No. 12/720,862, filed           and receiving a home address of the subscriber and then
  Mar. 10, 2010 (now U.S. Pat. No. 7,937,081, which is a                 forwarding the call setup request from the S-CSCF to a
  Divisional of U.S. application Ser. No. 09/802,861, filed              home agent at the home address of the subscriber and then
  Mar. 12, 2001, (now U.S. Pat. No. 7,769,374) all of which              forwarding the call setup request from the home agent to the
  are incorporated herein by reference in their entirety.           20   subscriber and subsequently forwarding an address update
                                                                         from the subscriber to the S-CSCF.
                             FIELD
                                                                               BRIEF DESCRIPTION OF THE DRAWINGS
     The present disclosure relates to recovery techniques for
  use in mobile networks. More particularly, the present            25      The foregoing and a better understanding of the present
  disclosure relates to protecting the Transport Address (TA)            disclosure will become apparent from the following detailed
  which is a current Care of Address of a mobile subscriber is           description of example embodiments and the claims when
  reachable from loss and after Call State Control Function              read in connection with the accompanying drawings, all
  (CSCF) crashes and after reset situations of a network                 forming a part of the disclosure of this disclosure. While the
  element realizing CSCF functionality.                             30   foregoing and following written and illustrated disclosure
                                                                         focuses on disclosing example embodiments of the inven-
             DESCRIPTION OF RELATED ART                                  tion, issued a clearly understood that the same is by way of
                                                                         illustration and example only and the invention is not limited
     Technical Report TR 23.821 V1.0.1, published July 2000              thereto. The spirit and scope of the present invention are
  by the 3rd Generation Partnership Project (3GPP) and              35   limited only by the terms of the appended claims.
  available on the Internet at http://www.3gpp.org, discloses               The following represents brief descriptions of the draw-
  the specifications of a 3G All-IP mobile network and this              ings, wherein:
  report is incorporated by reference herein in its entirety.               FIG. 1 illustrates the architecture of a 3G All-IP mobile
     FIG. 1 illustrates the architecture of the network disclosed        network.
  in the above-noted Technical Report. The elements shown           40      FIG. 2 illustrates reaching a called party after losing LA
  with asterisks are elements which have been duplicated for             (Location Area) information in a legacy mobile network.
  figure layout purposes only. These duplicated elements                    FIG. 3 illustrates failure to reach a called party after losing
  belong to the same logical element in the reference model.             TA information in a 3GPP All-IP mobile network.
     Unfortunately, the network disclosed in the Technical                  FIG. 4A illustrates sending subscriber TA to S-CSCF and
  Report fails to include any protection of the TA of a 3G          45   then forwarding it to HSS at registration.
  All-IP subscriber from loss. Furthermore, the network dis-                FIG. 4B illustrates an example of reaching a called party
  closed in the Technical Report fails to protect the IP address         after losing TA information in a mobile network in accor-
  of a subscriber in the case of a reset situation of a network          dance with the present disclosure.
  element realizing CSCF functionality, that is, a CSCF,                    FIG. 5 illustrates the signal flow in the case of a recovery
  thereby preventing recovery after a reset of the network          50   after a CSCF crash in accordance with another embodiment
  element. Still furthermore, the network disclosed in the               of the present disclosure.
  Technical Report fails to protect the location information of
  a subscriber after a CSCF crash, thereby preventing recovery                      DETAILED DESCRIPTION OF THE
  after a CSCF crash.                                                                 PREFERRED EMBODIMENTS
                                                                    55
                          SUMMARY                                           Before beginning a detailed description of the subject
                                                                         disclosure, mention of the following is in order. When
     An object of the present disclosure is to provide a tech-           appropriate, like reference numerals and characters may be
  nique for recovering location information of a subscriber in           used to designate identical, corresponding, or similar com-
  a mobile network including forwarding a registration request      60   ponents in differing drawing figures. Furthermore, in the
  from the subscriber to an S-CSCF including the subscriber's            detailed description to follow, example sizes/models/values/
  TA and then forwarding an AL (Application Level) location              ranges may be given, although the present invention is not
  update from the S-CSCF to a Home Subscriber Server                     limited thereto. Lastly, other components may not be shown
  (HSS) including the subscriber's TA and the (S-CSCF)                   within the drawing figures for simplicity of illustration and
  address and storing data including the subscriber's TA and        65   discussion and so as not to obscure the invention.
  the S-CSCF address in the HSS so as to be protected against               In the application level of a 3G All-IP network, the
  loss.                                                                  reachability of a subscriber is maintained in two levels,
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                                                         US 9,918,222 B2
                                 3                                                                         4
  namely, the network element level and the subscriber level.               intercept any IPv6 packets addressed to the subscribers'
  The S-CSCF that the subscriber is currently registered to and             home address (or home addresses) on the home link and
  the TA of the roaming subscriber, which the subscriber                    tunnels each intercepted packet to the subscribers' primary
  provides to the network during Application Level (AL)                     care-of address. To tunnel each intercepted packet, the home
  registration, must be known to and maintained by the                 5    agent encapsulates the packet using IPv6 encapsulation,
  network.                                                                  with the outer IPv6 header addressed to the subscribers'
     Without specific support for mobility in IPv6, packets                 primary care-of address.
  destined to a mobile subscriber would not be able to reach                   Keeping the address of the S-CSCF ensures that a call to
  it while the subscriber is away from its home link (the link              a subscriber can be routed to the destination node, that is, the
  on which its home IPv6 subnet prefix is in use), since routing       io   S-CSCF. Keeping the current TA of the subscriber ensures
  is based on the subnet prefix in a packet's destination IP                that a call made to the subscriber which arrives at the
  address. In order to continue communication in spite of its               S-CSCF can finally reach the subscriber.
  movement, a subscriber could change its IP address each                      As illustrated in FIG. 2, in legacy mobile networks, such
  time it moves to a new link, but it would then not be able to             as GSM, the information on the serving MSC/VLR (stored
  maintain transport and higher-layer connections when it              15   in the HLR) is adequate. That is, the called party can be
  changes location.                                                         reached even after the loss of the subscriber location area
     Mobile IPv6 allows a subscriber to move from one link to               (LA) information by a searching/paging mechanism. In step
  another without changing its IP address. A subscriber is                  1, the current V-MSC/VLR for a called party is first located
  always addressable by its "home address", an IP address                   and in step 2 a setup toward the V-MSC/VLR is. performed.
  assigned to it within its home subnet prefix on its home link.       20   In step 3, upon a loss of the LA information, the called party
  Packets may be routed to the subscriber using this address                is paged in all cells under the V-MSC/VLR.
  regardless of its current point of attachment to the Internet,               On the other hand, as illustrated in FIG. 3, in the 3G All-IP
  and it may continue to communicate with others after                      network, no such searching mechanism is available, so that
  moving to a new link. The movement of a subscriber away                   the information of the current S-CSCF (stored in the HSS)
  from its home link is thus transparent to transport and              25   is insufficient to reach the subscriber upon the loss of the
  higher-layer protocols and applications.                                  subscriber TA. In step 1, S-CSCF is located and in step 2 a
     A mobile subscriber is always addressable by its home                  setup toward the S-CSCF is performed. However, in step 3,
  address, whether it is currently attached to its home link or             in the absence of the TA of the called party, the called parry
  is away from home. While it is at home, packets addressed                 is not reachable.
  to its home address are routed to it using conventional              30      The applicants have determined that the TA of a 3G All-IP
  Internet routing mechanisms in the same way as if it were                 subscriber should be protected against loss with the same
  never mobile. Since the subnet prefix of its home address is              level of security as that for the Serving CSCF (S-CSCF). The
  the subnet prefix (or one of the subnet prefixes) on the                  applicants have proposed options to protect the TA of a
  subscribers' home link (it is the mobile subscribers' home                subscriber, namely, one option in which the TA is forwarded
  subnet prefix), packets addressed to it will be routed to its        35   to the HSS and another option in which there is a security
  home link.                                                                backup of the TA within the CSCF. The TA of the subscriber
     While a subscriber is attached to some foreign link away               should be forwarded to the HSS at registration and down-
  from home, it is also addressable by one or more care-of                  loaded from the HSS to the S-CSCF during recovery. Still
  addresses, in addition to its home address. A care-of address             another option is to have a permanent IPv6 (Internet Proto-
  is an IP address associated with a mobile node while the             40   col Version 6) address allocated to the subscriber and to have
  subscriber is visiting a particular foreign link. The subnet              the subscriber update its current Care-of Address (part of the
  prefix of a subscriber's care-of address is the subnet prefix             TA) to the Home Agent upon obtaining the current TA.
  (or one of the subnet prefixes) on the foreign link being                    As noted above, in accordance with the present disclo-
  visited by it; if it is connected to this foreign link while using        sure, various options are available for implementing protec-
  that care-of address, packets addressed to this care-of              45   tion and recovery of the subscriber TA.
  address will be routed to the subscriber in its location away                In the first option, as illustrated in FIG. 4A, "a safe copy"
  from home.                                                                of the subscriber's TA is forwarded to the HSS for storage
     The association between a subscriber's home address and                and protection. The TA must enjoy the same level of
  care-of address is known as a "binding" for the subscriber.               protection against loss as the S-CSCF address. The TA and
  It typically acquires its care-of address through stateless or       50   other data can then be restored to the S-CSCF upon the
  stateful Address Autoconfiguration, according to the meth-                earlier loss of the data by the S-CSCF. It is noted that the
  ods of IPv6 Neighbor Discovery. Other methods of acquir-                  subscriber's TA is stored in the S-CSCF for normal opera-
  ing a care-of address are also possible, such as static                   tion. An incoming call from an REP (Remote End-Point) is
  preassignment by the owner or manager of a particular                     received by the S-CSCF in step 1. In step 2, the S-CSCF
  foreign link, but details of such other methods are beyond           55   looks for the subscriber's TA so as to route the call but fails
  the scope of this discussion.                                             to find the subscriber's TA. In step 3, the S-CSCF initiates
     While away from home, a mobile subscriber registers one                the restoration of the subscriber's TA (and possibly other
  of its care-of addresses with a router on its home link,                  data) from the HSS. This option is only available when the
  requesting this router to function as the "home agent" for it.            S-CSCF loses only the TA of the subscriber. Finally, in step
  This binding registration is done by the subscriber sending          60   4, the call is then routed to the subscriber using the recovered
  to the home agent a packet containing a "Binding Update"                  TA.
  destination option; the home agent then replies to the                       As illustrated in FIG. 4B in step 1, the registering sub-
  subscriber by returning a packet containing a "Binding                    scriber forwards an AL registration request to the S-CSCF
  Acknowledgment" destination option. The care-of address                   including the TA. In step 2, an AL Location Update is
  in this binding registered with its home agent is known as the       65   forwarded to the HSS including the TA and S-CSCF address.
  subscriber's "primary care-of address". The subscribers'                  In step 3, the HSS stores the updated TA and S-CSCF
  home agent thereafter uses proxy Neighbor Discovery to                    address (in a hard disk, for example, or other non-volatile
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                                5                                                                  6
  memory). In step 4, the HSS forwards an AL Location               during the Mobile IP signaling exchanged when the Care-of
  Update acknowledgement to the S-CSCF which stores the             Address was created (the usual procedure in Mobile IP).
  TA and subscription profile and other data in step 5. In step        When the MS receives the first packet, it sends at 11 a
  6, the S-CSCF forwards an AL registration acknowledge to          message to the S-CSCF which sent the packet to update the
  the registering subscriber.                                     5 address indicating the Care of Address as the correct address
     In the second option, the same level of protection against     to be used to reach the subscriber (the usual procedure in
  loss applies for the subscriber's TA stored in the S-CSCF as      Mobile IP) and call control signalling is sent at 12 from the
  that of the S-CSCF address stored in the HSS. For example,        S-CSCF to the MS.
  the subscriber's TA can be backed up in a hard disk, or other        When the call is terminated the subscriber can optionally
                                                                 10 re-register with the S-CSCF.
  non-volatile memory in the S-CSCF.
                                                                       2) The information in the UMS is not valid; the UMS
     In the case of an S-CSCF crash, when the S-CSCF
                                                                    returns the Home Address of the mobile subscriber.
  restarts, all of the information regarding the mobile sub-
                                                                       The I-CSCF forwards the signaling to the Home Address.
  scribers registered with it, including the information on how        The Home Agent receives the packets and forwards them
  to reach the mobile subscribers, is lost. In such a situation, 15 to the Care-of Address obtained during the Mobile IP
  it is not possible to deliver mobile terminated calls to the      signaling exchanged when the Care-of Address was created
  mobile subscribers that were registered with the S-CSCF           (the usual procedure in Mobile IP).
  that was restarted.                                                  When the mobile subscriber receives the first packet, it
     In providing a solution to the above-noted problem in          sends a message to the I-CSCF which sent the packet to
  accordance with the third option, the following assumptions 20 update the address indicating the Care of Address as the
  are made:                                                         correct address to be used to reach the subscriber (the usual
     1) IPv6 is adopted for IP addressing and a subscriber is       procedure in Mobile IP).
  given a home address at subscription time. This home                 When the call is terminated the subscriber can optionally
  address is stored in a UMS.                                       re-register with a S-CSCF.
     2) The subscriber is in an area assigned to an S-CSCF and 25      This concludes the description of the example embodi-
  has registered with it and has provided its' TA, that is, the     ments. Although the present invention has been described
  current address where the subscriber is reachable. Such an        with reference to a number of illustrative embodiments, it
  address is not the static home address but rather is the          should be understood that numerous other modifications and
  Care-of Address. Whenever the S-CSCF has to forward               embodiments can be devised by those skilled in the art that
  signaling to the mobile subscriber, it uses the Care-of 30 will fall within the spirit and scope of the principles of this
  Address. The subscriber has also registered its current Care      invention. More particularly, reasonable variations and
  of Address with its Home Agent.                                   modifications are possible in the component parts and/or
     3) The S-CSCF restarts due to a fault and loses the            arrangements of the subject combination arrangement
  information about the mobile station.                             within the scope of the foregoing disclosure, drawings, and
     The following procedure in accordance with the present 35 appended claims without departing from the spirit of the
  disclosure, as illustrated in FIG. 5, may, for example, be        invention. For example, the example embodiments of the
  used for mobile terminating call delivery when, as illustrated    present invention have been described with respect to cur-
  in 1, the S-CSCF crashes and restarts, the S-CSCF has no          rently used networks, such as 313 All-IP mobile networks,
  memory of what mobile stations (MSs) were registered with         and standards for simplicity. It is, of course, understood that
  the S-CSCF and does not have any of the MSs Care of 40 the present invention is not limited thereto. In addition to
  Address addresses:                                                variations and modifications in the component parts and/or
     When an incoming call at 2 reaches a CSCF in the home          arrangements, alternative uses will also be apparent to those
  network, either from another IP based terminal or from an         skilled in the art.
  MGCF (Media Gateway Control Function), the I-CSCF
  queries at 3 the UMS based on the alias dialed by the calling 45     What is claimed is:
  party.                                                               1. A method comprising:
     During registration, the UMS has stored information               receiving a call setup request including a subscriber
  about the S-CSCF and information as to how the mobile                   identity and a dialed alias for a subscriber at a serving-
  subscriber can be reached. More particularly, the UMS has               call state control function (S-CSCF) for call registration
  stored the address of the S-CSCF, that is, the address where 50         after the S-CSCF crashes and restarts;
  CC (Call Control) signaling must be forwarded. At this               sending a route request from the S-CSCF to a user
  point, two scenarios are possible:                                      mobility server (UMS) to trigger a profile download
     The information in the UMS regarding the S-CSCF is still             including the home address of the subscriber;
  valid; the UMS returns at 4 the address of the S-CSCF and            receiving the home address of the subscriber at the
  the Subscriber Identity and then forwards the call setup 5 to 55        S-CSCF from the UMS to facilitate communication
  the S-CSCF.                                                             from the S-CSCF to the home address; and
     The S-CSCF, not having information available for the              sending the call setup request from the S-CSCF to a home
  alias to which the call corresponds due to a crash, queries 6           agent at the home address of the subscriber to establish
  the UMS based on the Subscriber Identity optionally indi-               a call with a mobile station.
  cating that a restart took place in order to trigger a profile 60    2. The method of claim 1, wherein the call setup request
  download.                                                         includes a subscriber identity associated with the subscriber.
     The UMS returns at 7 the Home Address of the MS to the            3. The method of claim 2, wherein the sending a route
  S-CSCF.                                                           request comprises querying the UMS based on the sub-
     The S-CSCF forwards at 8 the signaling to the Home             scriber identity.
  Address which is the home agent.                               65    4. The method of claim 1, wherein the sending the call
     The home agent receives the packets at 9 and forwards          setup request comprises sending the call setup request to a
  them at 10 to the MS using the Care of Address obtained           care of address of the subscriber.
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                                 7                                                                       8
     5. The method of claim 1, wherein receiving the home                   13. A system comprising:
  address of the subscriber and the sending the call setup                   an interrogating-call state control function (I-CSCF) con-
  request are performed only if information about the S-CSCF                    figured to:
  stored in the UMS is valid.                                                   receive a call for a subscriber;
     6. The method of claim 1, further comprising forwarding         5          send a first route request to a user mobility server
  the call setup request to a care of address of the subscriber.
                                                                                   (UMS);
     7. A non-transitory computer-readable medium having
  instructions stored thereon, the instructions comprising:                     receive an address of a server-call state control function
     instructions for receiving a call setup request including a                   (S-CSCF) from the UMS; and
        subscriber identity and a dialed alias for a subscriber at              send a call setup request including a subscriber identity
                                                                     10
        a serving-call state control function (S-CSCF) for call                    and a dialed alias to the S-CSCF for call registration
        registration after the S-CSCF crashes and restarts;                        after the S-CSCF crashes and restarts; and
     instructions for sending a route request from the S-CSCF                the S-CSCF configured to:
        to a user mobility server (UMS) to trigger a profile                    receive the call setup request from the I-CSCF;
        download including the home address of the subscriber;                  send a second route request to the UMS to trigger a
     instructions for receiving the home address of the sub-         15
                                                                                   profile download including the home address of the
        scriber at the S-CSCF from the UMS to facilitate
                                                                                   subscriber;
        communication from the S-CSCF to the home address;
        and                                                                     receive the home address of the subscriber from the
     instructions for sending the call setup request from the                      UMS to facilitate communication from the S-CSCF
        S-CSCF to a home agent at the home address of the            20            to the home address; and
        subscriber to establish a call with a mobile station.                   send the call setup request to a home agent at the home
     8. The non-transitory computer-readable medium of claim                       address of the subscriber to establish a call with a
  7, wherein the call setup request includes a subscriber                          mobile station.
  identity associated with the subscriber.                                  14. The system of claim 13, wherein the I-CSCF is
     9. The non-transitory computer-readable medium of claim         25   configured to receive the address of the S-CSCF and to send
  8, wherein the instructions for sending a route request                 the call setup request to the S-CSCF only if information
  comprises instructions for querying the UMS based on the                about the S-CSCF stored in the UMS is valid.
  subscriber identity.                                                      15. The system of claim 13, wherein the S-CSCF is
     10. The non-transitory computer-readable medium of                   further configured to send the call setup request to a care of
  claim 7, wherein the instructions for sending the call setup       30   address of the subscriber.
  request comprises instructions for sending the call setup                 16. The system of claim 13, further comprising the home
  request to a care of address of the subscriber.                         agent, wherein the home agent is configured to receive the
     11. The non-transitory computer-readable medium of                   call setup request from the S-CSCF and forward the call
  claim 7, wherein instructions for receiving the home address            setup request to a care of address of the subscriber.
  of the subscriber and instructions for sending the call setup      35     17. The system of claim 13, wherein the call setup request
  request are performed only if information about the S-CSCF              includes the identity of the subscriber.
  stored in the UMS is valid.                                               18. The system of claim 17, wherein the S-CSCF is
     12. The non-transitory computer-readable medium of                   further configured to query the UMS based on the identity of
  claim 7, further comprising instructions for forwarding the             the subscriber.
  call setup request to a care of address of the subscriber.                                     *   *   *   *   *
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                        Exhibit T
Case 1:21-cv-01323-CFC Document 1-1 Filed 09/17/21 Page 299 of 440 PageID #: 348
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  (19) United States
  (12) Reissued Patent                                            (10) Patent Number:           US RE42,883 E
         Korycki et al.                                           (45) Date of Reissued Patent:     Nov. 1, 2011

  (54)   ENHANCED PHONE-BASED                                                (56)                    References Cited
         COLLABORATION
                                                                                              U.S. PATENT DOCUMENTS
  (75)   Inventors: Jacek Korycki, Monmouth Junction, NJ                          6,493,444   B2     12/2002   Williams
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                    (US); Darek Smyk, Basking Ridge, NJ                       2001/0056466    Al     12/2001   Thompson et al.
                    (US)                                                      2002/0078150    Al *    6/2002   Thompson et al.     709/204
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  (22)   Filed:       Dec. 13, 2007                                           2004/0249884    Al     12/2004   Caspi et al.

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  (64) Patent No.:        6,975,622                                          21407, mailed Dec. 7, 2004.
        Issued:           Dec. 13, 2005                                      * cited by examiner
        Appl. No.:        10/756,526
        Filed:            Jan. 13, 2004                                      Primary Examiner — Phirin Sam
                                                                             (74) Attorney, Agent, or Firm —McDonnell Boehnen
  U.S. Applications:                                                         Hulbert & Berghoff LLP
  (60) Provisional application No. 60/485,880, filed on Jul. 8,
        2003.                                                                (57)                      ABSTRACT
                                                                             The present invention relates to a system and method for
  (51)   Int. Cl.                                                            enhanced phone-based collaboration (EPC), which enables
         HO4L 12/66               (2006.01)                                  users to quickly and easily enhance an ongoing phone call
  (52)   U.S. Cl.                    370/352; 370/260; 709/204               with a variety of interpersonal real-time two-way communi-
                                                                             cations (IRTC).
  (58)   Field of Classification Search                    None
         See application file for complete search history.                                    9 Claims, 9 Drawing Sheets




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                                                                                       EPC Subscriber


                                                                                          FIG
Case 1:21-cv-01323-CFC Document 1-1 Filed 09/17/21 Page 301 of 440 PageID #: 350


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                                                                                                   EPC ;sops,




                                                           FIG. 2
Case 1:21-cv-01323-CFC Document 1-1 Filed 09/17/21 Page 302 of 440 PageID #: 351


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                 EPC Subst~r€tier`s Phorm




                                                          FIG. 3
Case 1:21-cv-01323-CFC Document 1-1 Filed 09/17/21 Page 303 of 440 PageID #: 352


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     User A   User A                      DC App                       EPC App                Call Tracking         Switch          User B      User B
     Phone    Browser                                                                            App                               Browser      Phone
                        I. Call setup
                                                                                                                             2. Gut soap

                                                   Both parties talk                               4. Report call
       4-
                        4. HTTP GET EPC      ith credential)                       S. Usfalls( tprA)
                                                                       110
                                                                                  6. Subscribe( coi. ended event)
                        7. HTTP Reply EPC personal area with "enhance •air button
                        8. HTTP POST enhance call
                                               9. CrcaLeConference
                                                                       110.
                                            11
                        10. HTTP Reply with 'enter conference" button -aid conference ID

                        II. HTTP POST conft rence ID
                 4      12. HTTP Reply conf rence content

                                                                                    13. HTTP GE— EPC (w/o credent al)
                                                                                    14. HTTP Rep y EPC guest area v ith TN field

                                                                                     IS. HTTP       T TH_B
                                                                              4
                                                                                     16. HTTP Reply with "enter conf rence" bunon      conference ID
                                                                                     17. HTTP POET conference ID
                                                                                     18. HTTP Reply conference contcm
                                                     Both parties perfom data collaboration
                 4-




                                                                   FIG. 4
Case 1:21-cv-01323-CFC Document 1-1 Filed 09/17/21 Page 304 of 440 PageID #: 353


  U.S. Patent                           Nov. 1, 2011                     Sheet 5 of 9                                    US RE42,883 E




     User A   User A                         DC App                     EPC App          Call Tracking        Switch         User B    User B
     Phone    Browser                                                                      App                               Browser   Phone

                        I. Call setup
                                                                                                                        2. Call se

                                                     Both panics talk
                                                                                                               •

                        3. HTTP GET EPC (v ith credential)
                                                                             4. ListCalls( vrA)

                                                                                               5. Query for calls at line TN_A

                                                                            6. Subscribe( tall ended event)
                        7.   irrn, Reply EPC personal area with "enhance.tall" button.




                                                                   FIG. 5
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  U.S. Patent                           Nov. 1, 2011                    Sheet 6 of 9                                    US RE42,883 E




     User A   User A                      DC App                      EPC App         Call Tracking          Switch        User B     User B
     Phane    Browser                                                                   App                                Browser     Phone
                        1. Call setup
                                                                                                                      2. Call scup
                                                                                             . Report call                                p.
                                                  Both parties talk
                                             ......
                                                                                             4
       4-
                        4. }MP GET EPC (wMt credential)                  5. LiuCall
                                                                         6. Subscribe( calf ended event)
                        7. HTTP Reply EPC personal area with "enhance all" button
                        8. HTTP POST enhance call
                                               9. CreateConference
                        10. HTTP Reply with 'enter conference" button a.ad conference ID

                           HTTP POST conft rence ID
                 4      12. FITTP Reply conf rence content
                                                                            13. HTTP GE— EPC (with credenxial)
                                                                            14. ListCalli tserB)
                                                                            15. HTTP Reply EPC personal an a with "enhance all" button

                                                                            16. HTTP PO. T enhance call

                                                                            17. HTTP Belly with "enter conff rence" button an I conference ID
                                                                            18. HTTP PO•T conference ID
                                                                            19. FiTTP Reply conference content

                                                    Both parties perfom data collaboration
                 4-




                                                                 FIG. 6
Case 1:21-cv-01323-CFC Document 1-1 Filed 09/17/21 Page 306 of 440 PageID #: 355


  U.S. Patent                       Nov. 1, 2011                     Sheet 7 of 9                                   US RE42,883 E




     User A    User A                    DC App                  EPC App          Call Tracking         Switch        User B        User B
     Phone     Browser                                                              App                              Browser        Phone

                      I. Call tcardown
                                                                                                                   2.Can icv-dowo
                                                                                        .
                                                                                       34           can tearcbwn
                                              Phone call stopped                            Reim"
       4— — — — — .                                                                                       '
                                                                       4. CaLlEnded ev at

                                             5. Delese.C.onferenoe

                   6. DC application — specific termination of conference
                  4
                                          7. DC application — specific termination of conference
                                                                                                                         0
                                                  Dino collabornion eappod
                  +                                                  •




                                                                        FIG. 7
Case 1:21-cv-01323-CFC Document 1-1 Filed 09/17/21 Page 307 of 440 PageID #: 356


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     User A   User A                     DC App                       EPC App       Call Tracking        Switch           User B    User B
     Phone    Browser                                                                 App                                 Browser    Phone
                     1. CO setup
                                                                                                                  2. Call seup
                                                  Both parties talk
       4-
                        3. HITT GET EPC     ith credential)

                4       4. HTTP Reply EPC personal area with TN field
                     5. HTTP POST enhan Le call TN_B

                                               6. CreateConfcrence
                     7. HTTP Reply with " atter conference" button an 1conference ID

                     B. HTTP POST confetznee ID
                        9. HITP Reply confesence content
                 4
                                                                            10. HTTP GE" EPC (w/o credal' al)
                                                                        4
                                                                            II. IfITP Rep y EPC guest area ith TN field
                                                                                                                          0
                                                                            12. HTTP PCT TN_B

                                                                            13. HT7P Reply with 'enter conf rence" button p4 conference 10
                                                                            14. HTTP PO: T conference ID
                                                                            15. IMP Reply conference con=
                                                                                                                          •
                                                   Both parties perfoni data collaboration
                                                                                                                          -0




                                                                  FIG. 8
Case 1:21-cv-01323-CFC Document 1-1 Filed 09/17/21 Page 308 of 440 PageID #: 357


  U.S. Patent                              Nov. 1, 2011                   Sheet 9 of 9                                     US RE42,883 E




      User A   User A                         DC App                     EPC App          Call Tracking        Switch         User B     User B
      Phone    Browser                                                                     APT)                               Browser    Phone
                           I. Call setup
                                                                                                                         2. Call seup
                                                                                                                                             p
                                                      Both panics talk
        4—     —
                           3. HTTP GET EPC (with credential)

                   4       4. HTTP Reply EPC MyCnlls personal urea with 'EN field
                           5. HTTP POST enhan a call TN_B

                                                    6. CreateCankrence
                           7. HTTP Reply with :ter conference" button an\ conference ID

                           8. HTTP POST conference ID
                           9. HTTP Reply confecnce content

                                                                            4 10. HTTP            EPC (with creden hl)
                                                                                II. HTTP Rep y EPC personal area with "catranewalI" button

                                                                            4 12. HTTP PO; T enhance call

                                                                                 13. HTTP Reity with "enterconR rence" button vi conference ID
                                                                                 14. HTTP PO. T conference ID
                                                4
                                                                                15. HTTP Rep y conference content


                   4   -                                Both parties perforn data collaboration




                                                                    FIG. 9
Case 1:21-cv-01323-CFC Document 1-1 Filed 09/17/21 Page 309 of 440 PageID #: 358


                                                        US RE42,883 E
                                1                                                                    2
                ENHANCED PHONE-BASED                                 two decide to jointly review/update presentation slides, both
                   COLLABORATION                                     of the parties must have access to networked PCs in order to
                                                                     collaborate on the presentation. However, in a typical envi-
                                                                     ronment it is not easy to establish joint editing of slides.
  Matter enclosed in heavy brackets [ ] appears in the 5 Rather, this type of collaboration is generally done com-
  original patent but forms no part of this reissue specifica-       pletely independently from the phone call in progress. The
  tion; matter printed in italics indicates the additions            two collaboration participants must agree on using the same
  made by reissue.                                                   collaboration application, and then establish the collabora-
                                                                     tion session, typically using a completely separate addressing
                                                                     schema and collaboration session establishment signaling.
               CROSS-REFERENCE TO RELATED                         10
                                                                     The complexity associated with this operation is enough to
                         APPLICATIONS                                discourage all but the most technically inclined end users.
                                                                        In another example, similar difficulties arise when two
     This application claims the benefit of U.S. Provisional         friends while talking on the phone about their recent vaca-
  Application No. 60/485,880, filed Jul. 8, 2003, the contents of    tions would like to jointly view sets of vacation pictures. In a
  which are hereby incorporated by reference.                     15 still further example, a house seller and real estate attorney
                                                                     lawyer having a phone conversation about the results of a
                   FIELD OF THE INVENTION                            home inspection decide to jointly prepare a response to the
                                                                     buyer's long list of repair requests. As with the above
     The present invention relates generally to a system and         examples, there is no easy way to add collaborative document
  method for enhanced phone-based collaboration, which 20 viewing and editing.
  allows users to more easily and securely collaborate using a          In particular, upon user A and user B agreeing to enhance
  variety of inter-personal real-time two-way communications         the phone call, they must also agree on which software prod-
  media.                                                             uct will be used to enhance the phone call. This decision may
                                                                     require a technical savvy of network, firewall/NAT infrastruc-
                         BACKGROUND                               25 ture that affects many of the existing software products. Some
                                                                     of the known choices include T.120 clients such as NetMeet-
     Remote inter-personal real-time two-way communication           ing, IM products such as Yahoo! Windows Messenger, etc.,
  (IRTC) became possible with the invention of the telephone         and   existing web conferencing solutions such as DCL Meet-
                                                                     ing Server, WebEx, etc.
  over 100 years ago. Since then, due to technological progress,
                                                                        To utilize these software products, users must have access
  other forms of IRTC became possible. Currently, the most 30
                                                                     to the software, which may require purchasing the software,
  popular forms of IRTC include wireline and wireless tele-          software installation and establishing a billing agreement
  phony, audio/video conferencing, instant messaging, appli-         between the users and the service provider. Then the collabo-
  cation sharing, desktop display sharing, whiteboard sharing,       ration session must be established. This is accomplished by
  networked gaming and co-browsing. While different forms of         setting up the enhanced session manually using tools pro-
  the IRTC penetrated different markets, it is fair to say that 35 vided by the corresponding product, exchanging the informa-
  generally telephony is pervasive in most business and per-         tion required to connect to the session and manually entering
  sonal activities while all the other forms of IRTC have a          the information in the corresponding application. Such infor-
  significantly smaller market penetration than telephony.           mation may include IP addresses (NetMeeting or other T.120
     While telephony is currently the most ubiquitous and easy       clients), subscription IDs (IM products), and Conference
  to use form of IRTC, end users would benefit by being able to 40 Server URL with tokens such as conference key, and pass-
  augment a telephone conversation with other forms of IRTC.         word (web conferencing solutions).
  For example, during a phone conversation with a manager, a            Exchanging the information necessary for entering the col-
  sales rep may want to jointly review and modify slides which       laboration may further entail the web conference providers
  will be presented at an upcoming client meeting. In another        sending the information by e-mail distribution. While this
  example, while a residential PC user talks to a software 45 procedure is viable for conferences scheduled in advance, this
  troubleshooting service representative, the user may want to       approach lacks real time characteristics required for ad-hoc
  add desktop sharing to the phone call in progress. In yet          spontaneous call enhancement.
  another example, two friends may want to jointly step                 Many of the current methods of enhancing the phone call
  through their vacation pictures while talking on the phone         are cumbersome and are not practical unless both users
  about recent vacations.                                         50 already subscribe to the same service and have already
     In all of these scenarios, communicating parties start with     installed the corresponding software. Even if software instal-
  a simple phone call and then, as appropriate, add other forms      lation and service subscription are not issues, the collabora-
  of IRTC. As noted, currently the most common form of inter-        tion setup process involves many manual steps that diminish
  personal real-time two-way communication is a wireline/            both usefulness and accessibility.
  wireless phone conversation where telephone parties use one 55        The manual process requires, at minimum, the users to
  of the following devices: a POTS phone, a PBX/CENTREX              perform session signaling twice: first using phones and phone
  phone or a mobile phone. Other forms of IRTC, such as video        numbers, then using PC based collaboration application and
  conferencing, instant messaging, PC-based application shar-        it's proprietary session signaling and addressing. However
  ing, desktop display sharing, whiteboard sharing, networked        simple the application signaling is, it requires effort and needs
  gaming and co-browsing, are becoming increasingly popular, 60 to be learned by the users.
  but require the use of appropriate end-user devices, e.g. net-        Therefore, there remains a need in the art for improvements
  worked PCs, PDA's, notepads or advanced mobile phones.             in the technology of enhanced phone-based collaboration.
     One problem is that most IRTC interactions start with a
  regular phone call and there is no easy way to add other forms                               SUMMARY
  of IRTC to the phone call in progress. For example, in the 65
  scenario where a sales rep calls a manager to chat about an           The present invention describes the solution to enable the
  upcoming customer meeting and during the conversation the          above types of scenarios, as well as others. The present inven-
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                                                         US RE42,883 E
                                 3                                                                    4
  tion provides end users with an easy and convenient way to         non-subscriber simply needs to enter his own phone number.
  augment phone conversions with other forms of communica-           There is no need for the non-subscriber to learn application
  tion and collaboration. Further, the present invention provides    specific signaling.
  telephone service providers with an opportunity to expand             In addition, the EPC service of the present invention pro-
  their offering of value added services.                          5 vides a benefit to service providers, application developers,
     The present invention provides a system and method for          and end customers. For example, the EPC service of the
  Enhanced Phone-based Collaboration (EPC) service that will         present invention defines an open architecture allowing third
  enable telephone parties to easily and conveniently add other      party integration of an arbitrary form of IRTC (such as a third
  IRTC applications for collaboration by leveraging the phone        party network game) with a phone call. This gives motivation
                                                                  10 for application development of new forms of IRTC and may
  call already in progress. In particular, in accordance with the
                                                                     open new revenue streams for the service provider. The EPC
  present invention, to start the collaboration, the telephone
                                                                     services of the present invention allow service providers to
  parties would only need to identify the phone call in progress,
                                                                     offer a variety of user-friendly phone call enhancements
  which they want to enhance. The present invention will be          accessible to a broad customer base by utilization of both a
  more fully described below with reference to the Drawing 15 large customer base and common billing structure. Applica-
  Figures.                                                           tion developers are attracted by a large customer base willing
                                                                     to use their services and common billing infrastructure, which
          BRIEF DESCRIPTION OF THE DRAWINGS                          simplifies the complexity of applications and reduces devel-
                                                                     opment cost. Customers can enjoy a user-friendly interface, a
     FIG. 1 depicts high-level implementation architecture for 20 variety of new forms of IRTC, and convenience of maintain-
  EPC in accordance with one embodiment of the present               ing only one account with one password to remember and a
  invention.                                                         single bill from a single Service Provider.
     FIG. 2 depicts sample implementation architecture for              The present invention will be described in detail with ref-
  EPC in accordance with an embodiment of the present inven-         erence to the drawing figures. Initially, it is noted that while
  tion utilizing wireline PSTN.                                   25 the description and drawings show implementation scenarios
     FIG. 3 depicts sample implementation architecture for           for PC-based collaboration, that the present invention applies
  EPC in accordance with an embodiment of the present inven-         equally to other interactive networked devices, such as PDAs,
  tion utilizing wireless PSTN, PBX or IP phones.                    notepads, advanced mobile phones, etc. Further, for simplic-
     FIG. 4 shows a call flow for a scenario according to the        ity, the description and drawings show implementation in the
  present invention wherein a subscriber and non-subscriber 30 context of a two party call, but the present invention applies
  are collaborating and have access to full telephony integra-       equally to enhancement of multi-party or conference calls.
  tion.                                                                 The present invention provides a system and method for
     FIG. 5 shows a call flow for a scenario according to the        EPC service that will enable telephone parties to easily and
  present invention wherein a subscriber and non-subscriber          conveniently add other IRTC applications for collaboration
  are collaborating and have access to full telephony integra- 35 by leveraging the phone call which is already in progress. In
  tion, but without intelligent network (IN) triggers.               particular, in accordance with the present invention, to start
     FIG. 6 shows a call flow for a scenario according to the        the collaboration, the telephone parties would only need to
  present invention wherein two subscribers are collaborating        identify the phone call in progress, which they want to
  and have access to full telephony integration.                     enhance. However, the user experience will vary depending
     FIG. 7 shows a call flow for a scenario according to the 40 on whether the user subscribes to an EPC service. Therefore,
  present invention that provides for automated stopping of the      the present invention is described below for both scenarios in
  data collaboration conference.                                     which there is only one subscriber and in which both parties
     FIG. 8 shows a call flow for a scenario according to the        are subscribers. Further, several different implementation
  present invention wherein a subscriber and non-subscriber          schemes will be described for both scenarios.
  are collaborating but do not have access to full telephony 45         In a first scenario, both parties subscribe to the EPC service
  integration.                                                       and implementation of the EPC service can be carried out via
     FIG. 9 shows a call flow for a scenario according to the        a browser with full telephony integration; via a browser with
  present invention wherein two subscribers are collaborating        limited telephony integration; via an application with full
  but do not have access to full telephony integration. FIG. 1       telephony integration; or via an application with limited tele-
                                                                  50 phony integration.
       DETAILED DESCRIPTION OF THE DRAWINGS                             For example, in a browser-based implementation with full
                                                                     telephony integration, either subscriber may use their favorite
     The EPC service according to the present invention enables      browser to access an EPC service site. After successfully
  users, which participate in a phone call; to enrich their com-     authenticating the initiating subscriber, the browser displays
  munication with a variety of PC based applications. The EPC 55 the list of that subscriber's phone calls in progress. The ini-
  service of the present invention bridges existing technologies     tiating subscriber clicks on a particular call on the list in order
  to provide a simple and straightforward experience to the          to add enhanced collaboration to that call. Optionally, the
  users, which overcomes the disadvantages, noted above with         collaboration automatically terminates when the associated
  respect to known methods and services.                             phone call is terminated.
     The method and system of the present invention provides a 60       In a further example, using a browser-based implementa-
  much simpler and more spontaneous means for establishing           tion with limited telephony integration, either subscriber may
  collaboration. In particular, a subscriber needs only to estab-    use their favorite browser to access an EPC service site. After
  lish a phone call and the enhancement can be achieved by           being successfully authenticated by the service provider, the
  using a choice driven web page. The users do not need to learn     initiating subscriber enters the other parties' telephone num-
  the application specific signaling, nor do they need to enter 65 ber and clicks on a "start to collaborate" button. It is important
  any application specific remote address. Even if there is only     to note that for this scenario and implementation, either sub-
  one subscriber on the call, the process is simplified. The         scriber can initiate the collaboration.
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      Moreover, in an application-based implementation with                 FIG. 1 depicts high-level implementation architecture for
  full telephony integration, either subscriber may start the EPC        EPC in accordance with one embodiment of the present
  application. After successfully authenticating the initiating          invention. In particular, the architecture in FIG. 1 comprises
  subscriber, the application displays the list of that subscrib-        the following components.
  er's phone calls in progress. The initiating subscriber clicks 5          Telephone Network This network may be circuit switch
  on a particular call on the list in order to add enhanced col-         based (e.g. AIN PSTN network) or packet based (e.g. IP
  laboration to that call. Optionally, the collaboration automati-       network with SIP or H.248 based phones). The network may
  cally terminates when the associated phone call is terminated.         be the Public Telephone Network or a private enterprise net-
  It is important to note that for this scenario and implementa-         work.
                                                                      10
  tion, either subscriber can initiate the collaboration.                   Call Tracking Application This application keeps track
      In another example, for an application-based implementa-           of the EPC subscriber's telephone calls in progress and may
  tion with limited telephony integration, either subscriber may         be network server based or CPE-based. For example, the
  start the EPC application. After being successfully authenti-          server based Call Tracking Application could track calls in the
  cated by the service provider, the initiating subscriber enters 15 PSTN via a Parlay-based PSTN Gateway or for wireless
  the other parties' phone number and clicks on a "start to              phone based application could track calls originating/termi-
  collaborate" button. It is important to note that for this sce-        nating from/on the given wireless phone device. The Call
  nario and implementation, either subscriber can initiate the           Tracking Application supports an interface for external appli-
  collaboration.                                                         cation, such as the EPC application, to retrieve calls in
      In a second scenario, only one party subscribe to the EPC 20 progress and optionally receive notifications about call ter-
  service, however, implementation of the EPC service can be             mination.
  carried out in any one of the implementations noted above;                Telephone Network Gateway The gateway provides the
  i.e. via a browser with full telephony integration; via a              Call Tracking Application with information necessary to per-
  browser with limited telephony integration; via an application         form call tracking. For example, a Parlay-based Telephone
  with full telephony integration; or via an application with 25 Network Gateway would provide the Call Tracking Applica-
  limited telephony integration.                                         tion with notifications about establishment/termination of
      For example, in a browser-based implementation with full           telephone calls.
  telephony integration, the subscriber may use a favorite                  Data Network This is a packet-based network, e.g. IP
  browser to access an EPC service site. After successfully              network. Therefore, in the case of packet-based telephony the
  authenticating the subscriber, the browser displays the list of 30 Telephone Network and Data Network can be the same IP
                                                                         based network.
  the subscriber's phone calls in progress. The subscriber clicks
                                                                            Data Collaboration Application This application sup-
  on a particular call on the list in order to add enhanced col-
                                                                         ports real-time data collaboration, (e.g. video conferencing,
  laboration to that call. Optionally, the collaboration automati-
                                                                         instant messaging, PC-based application sharing, desktop
  cally terminates when the associated phone call is terminated. 35 display sharing, whiteboard sharing, networked gaming and
      In a further example, for a browser-based implementation           co-browsing). This application could be server and/or CPE
  with limited telephony integration, the subscriber may use a           (e.g. PC, notepad, PDA) based. For example, the Data Col-
  favorite browser to access an EPC service site. After being            laborationApplication could be server based and utilize T.120
  successfully authenticated by the service provider, the sub-           protocols to support application sharing, in which case, the
  scriber enters the other parties' telephone number and clicks 40 user device based portion of the Data Collaboration Applica-
  on a "start to collaborate" button.                                    tion may include only an Internet browser executing a data
      In an additional example, for an application-based imple-          collaboration applet, downloadable on demand.
  mentation with full telephony integration, the subscriber may             Enhanced Phone-based Collaboration Application This
  start the EPC application. After successfully authenticating           application supports a seamless transition from a simple
  the subscriber, the application displays the list of the sub scrib- 45 phone call to a phone call extended with data collaboration.
  er' s phone calls in progress. The subscriber clicks on a par-         When the EPC subscriber invokes the EPC Application, the
  ticular call on the list in order to add enhanced collaboration        application first obtains the list of calls in progress from Call
  to that call. Optionally, the collaboration automatically ter-         Tracking Application and presents the subscriber with a list of
  minates when the associated phone call is terminated.                  calls suitable for enhancement with data collaboration. After
      Moreover, for an application-based implementation with so the EPC subscriber chooses the call for enhancement, the
  limited telephony integration, the subscriber may start the            EPC signals to the Data Collaboration Application to estab-
  EPC application. After being successfully authenticated by             lish the data collaboration session. In the case, where the Call
  the service provider, the subscriber enters the other parties'         Tracking Application is not capable of providing the full
  phone number and clicks on a "start to collaborate" button.            information about the calls in progress (e.g. due to the
      As noted above, if both parties are subscribers, either party 55 blocked caller ID), the EPC Application provides the EPC
  may initiate the collaboration. However, a non-subscriber              subscriber with the means to manually enter the information
  will be able to collaborate only upon an explicit invitation by        about the call to be enhanced. After the Data Collaboration
  the EPC subscriber. In particular, during the phone conversa-          Application establishes the data collaboration session for the
  tion the EPC subscriber will invite the non-subscriber to              EPC subscriber, it provides the other telephone party(s) with
  collaborate and provide instructions on how to the non-sub- 60 the means to join the data collaboration session.
  scriber can join collaboration session using an off-the-shelf             FIG. 2 depicts sample implementation architecture for
  Internet browser. For example, the EPC subscriber will pro-            EPC in accordance with an embodiment of the present inven-
  vide the non-subscriber with a guest page URL over the                 tion utilizing wireline PSTN. The architecture shown in FIG.
  phone, or by an e-mail message, etc. (such as www.service-             2 contains the same components as those shown in FIG. 1,
  provider.com/epcguest). To start collaboration the subscriber 65 however, in FIG. 2, the Network Gateway comprises an OSA/
  simply enters both parties' phone numbers and clicks on a              Parlay call control interface, such as the ISCP/OSG product
  "start to collaborate" button.                                         of Telcordia Technologies, Inc. This call control interface
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  provides a server based Call Tracking Application with noti-                Further, the EPC service is most valuable if both users
  fications necessary to track PSTN calls.                                 subscribe to the service. However, the EPC service is still
     FIG. 3 depicts sample implementation architecture for                 valuable if only one user subscribes. Since in the initial phase
  EPC in accordance with an embodiment of the present inven-               of the service deployment a single subscriber scenario is more
  tion utilizing wireless PSTN, PBX or IP phones. In this archi-     5     likely to occur, descriptions for both single subscriber and
  tecture, the Call tracking Application is also server based and          two subscribers follow.
  tracks calls via a standardized OSA/Parlay call control inter-              FIG. 4 shows a call flow for a scenario according to the
  face, such as that implemented by the ISCP/OSG product of                present invention wherein a subscriber and non-subscriber
  Telcordia Technologies, Inc. The call control interface sup-             are collaborating and have access to full telephony integra-
  ports interfaces specific to particular telephone network          l()   tion.
  implementations, such as MSC, soft switches or PBX phones.                  Step 1. User A (the subscriber) initiates a telephone call to
     General call processing flows representing service execu-             user B (not a subscriber). This is a simplified and abstracted
  tion scenarios for the implementation architecture depicted in           signaling that may take different forms in different telephony
  FIG. 2 are described below. In particular, scenarios where               environments (PSTN, VoIP, PBX etc), however, full details
  only one or both communicating users subscribe to the EPC          15    are not essential to the EPC service.
  service are described as well as scenarios based on whether                 Step 2. User B answers the call. It is irrelevant which user
  real-time call information is available from the telephone               initiates the call, e.g., the call might have been initiated by
  network.                                                                 user B and answered by user A.
     The EPC service may be made available using either a                     Step 3. The switch reports the call to the Call Tracking
  standard web browser or a service-specific client application      20    Application (for example utilizing Parlay interface of the
  that subscribers would need to install before using the EPC              ISCP node). This is one possible variant based on registering
  service. The scenarios below focus on the web browser case.              a trigger for the subscriber telephone line. A trigger-less vari-
  However, the application case is similar, with the browser               ant is also possible and described in more detail below.
  interface replaced by the client application-specific interface             Step 4. During the telephone call, both parties agree to
  (such as web services, sockets etc.) over which similar data       25    enhance the call with data collaboration features using stan-
  content flows.                                                           dard web browsers on their PCs. User A, the subscriber loads
     Further, for the scenarios discussed, the Data Collaboration          the EPC web page into the browser. The browser could
  Application is browser based, i.e., it can be easily accessed by         optionally authenticate user A as a subscriber or automate the
  anyone with a web browser connected to the IP network.                   step by passing pre-stored subscriber credentials in a way
  Standard HTTP Requests can be used to access the EPC               30    standard for web based personalized services.
  service. The choice of HTTP Requests is an implementation                   Step 5. Recognizing userA as a subscriber, the EPC Appli-
  decision for both the EPC application and Data Collaboration             cation invokes a ListCalls web service on the Call Tracking
  Application. While HTTP POST and HTTP GET represent                      Application querying for calls currently in progress that
  typical uses, the present invention is not so limited and other          involve user A. The web service call returns information
  alternative requests can be utilized. In this example, HTTP        35    about the call between user A and user B. This information
  GET is used for loading of an EPC web page and HTTP POST                 includes user B telephone number TN_B. The EPC Applica-
  is used for form-based actions following a user input.                   tion stores this information in preparation for establishing a
     Further, all HTTP messages could be secured if HTTPS is               data conference.
  used instead of plain HTTP, at the cost of some performance                 Step 6. This step is an optional step in which the EPC
  degradation. Therefore, in the following description, all ref-     40    Application invokes a web service in order to register for call
  erences to HTTP mean that HTTPS could be alternatively                   tear down notification from the Call Tracking Application
  used in its place.                                                       (which in turn performs appropriate registration depending
     The EPC service may be implemented with a variety of                  on the particular telephony environment, e.g., utilizing Parlay
  interfaces between server side components and the discussion             interface of the ISCP node). This step is optional and per-
  below assumes the following server side interfaces.                45    formed only if automated conference stopping is required by
     The Call Tracking Application exposes a web service con-              the service or users and implemented by the Data Collabora-
  sumed by the EPC application and allows for listing current              tion Application.
  subscriber's calls, and registering for and receiving call tear-            Step 7. In response to the original web page request of user
  down notification.                                                       A, the EPC Application returns a personal EPC web page to
     The Data Collaboration Application exposes a web service        so    userA that includes information about the current call and the
  consumed by the EPC application and allows creation and                  "enhance call" button.
  deletion of a data collaboration conference.                                Step 8. User A clicks on the "enhance call" button, which
     The present invention is not limited to web services for the          generates an HTTP POST message to the EPC Application.
  server side component interfaces, but rather includes other                 Step 9. In another optional step, the EPC Application cre-
  distributed computing technologies, such as CORBA,                 ss    ates a new instance of data collaboration conference. This is
  DCOM, Java RMI etc.                                                      accomplished by invoking a web service exposed by the Data
     Based on the assumptions noted above, the flows that fol-             Collaboration Application. As a result of this step a confer-
  low describe only one possible implementation choice, i.e.               ence ID is established either by the EPC Application or by the
  that shown in FIG. 2. The technical detail provided is not               Data Collaboration Application. This conference ID could
  essential to the EPC service but makes the description con-        60    take many different forms depending on the particular Data
  sistent.                                                                 Collaboration Application, e.g. it could be a pair of confer-
     The EPC service offers most of its advantages with full               ence reference number and PIN number. This step is optional
  telephony integration, wherein creation and access to data               and may not be required if the Data CollaborationApplication
  conference is automated based on information already                     creates a new instance automatically when the first confer-
  present in the telephone network. This information includes        65    ence participant joins.
  the telephone call; the associated parties that already agreed              Step 10. The EPC Application returns a confirmation page
  to participate in the call and the timing of the call.                   to user A with the "enter conference" button together with
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  associated information (using HTML form mechanism) con-                  FIG. 5 shows a call flow for a scenario according to the
  sisting of the Data Collaboration Application network                 present invention wherein a subscriber and non-subscriber
  address, conference ID established in step 9 and user A's full        are collaborating and have access to full telephony integra-
  name to be used as conference participant identifier. Only the        tion, but without IN triggers. Only a few of the steps of the
  "enter conference" button is rendered visibly to the user, the 5 flow are shown, so as to focus on the differences from that
  rest of the information is hidden.                                    shown in FIG. 4.
      Step 11. User A clicks the "enter conference" button which           Steps 1-2. Phone call setup between users A and B. The
  generates an HTTP POST message directly to the Data Col-              switch does not report the call as no trigger is maintained.
  laboration Application with enough information to allow user             Step 3. User A, the subscriber loads the main EPC web
                                                                     10
  A's participation in the instance of data collaboration confer-       page.
  ence.                                                                    Step 4. The EPC Application obtains call information for
      Step 12. The Data Collaboration Application returns Data          userA by invoking ListCalls web service of the Call Tracking
  Collaboration specific content including active content that          Application.
  loads into user A's browser realizing start of his/her partici- 15       Step 5. The Call Tracking Application obtains information
  pation in a data conference.                                          asked by the EPC Application by itself querying the telephone
      Step 13. When user A's participation in data conference is        network supplying the user A's line number TN_A. This
  completed, user A informs user B over the telephone call that         could take many different forms depending on the particular
  user B may enter a conference via the main EPC web page.              telephone network and involve different telephone network
  Preferably the main EPC URL is easy to memorize and enter 20 elements, e.g. the ISCP node.
  into a browser, e.g. epc.com. User B loads the main EPC page             The rest of the steps remain the same as those described for
  using a standard browser.                                             FIG. 4.
      Step 14. Since user B is not a subscriber, no credentials are        In the event that both users are subscribers to the EPC
  passed and a public guest area is loaded into user B's browser.       service, the experience of both users is symmetrical and may
  This web page offers a guest user a way to enhance a phone 25 be fully automated. Neither user needs to enter a telephone
  call with the service subscriber by obtaining guest user's            number as such information is already tracked by the EPC
  telephone number (telephone number edit field and the                 service. A number of implementations are possible where
  "enhance call" button). Knowledge of one's own telephone              both users are subscribers. For example, the sequence in
  number and the time window of the telephone call are the only         which the users join the data conference may be synchronized
  prerequisites for a guest user to enter a data collaboration 30 so that the calling user needs to establish a conference first
  conference with a subscriber.                                         before the called user can j oin. This could be appropriate if the
      Step 15. User B enters his/her own telephone number               calling user is billed for the data enhancement and no confer-
  TN_B and clicks "enhance" call button generating an HTTP              ence can be created without that user's initiative. However, it
  POST message to the EPC Application with TN_B informa-                is also possible for both users to initiate call enhancement at
  tion.                                                              35 the same time and the data conference could be created by
      Step 16. The EPC Application correlates TN_B with the             whoever gets to that point faster. For simplicity, in the flow
  call and conference it keeps track o£ It returns the same             description of FIG. 6, user B joins the data conference after
  confirmation web page with the "enter conference" button as           user A.
  it did to user A in step 10. In particular it includes conference        FIG. 6 shows a call flow for a scenario according to the
  ID identifying the data conference user A is already partici- 40 present invention wherein two subscribers are collaborating
  pating in waiting for user B to arrive.                               and have access to full telephony integration.
      Step 17. User B clicks the "enter conference" button gen-            Steps 1-12. The telephone call is established and user A
  erating HTTP POST message directly to the Data Collabora-             enhances the call. These steps are identical to the one sub-
  tionApplication that transmits the conference ID and user B' s        scriber case described in FIG. 4. The telephony integration
  telephone number to be used as data conference participant 45 variant without a trigger described in FIG. 5 applies here as
  identifier.                                                           well.
      Step 18. The Data Collaboration Application returns Data             Step 13. User B loads the main EPC web page providing
  Collaboration specific content including active content that          authentication credentials either entered explicitly or auto-
  loads into user B's browser realizing the start of participation      matically supplied by the web browser.
  in a data conference. Users A and B immediately "see" each 50            Step 14. Recognizing User B as subscriber, the EPC Appli-
  other in that conference (user A's name and user B's tele-            cation invokes a ListCalls web service on the Call Tracking
  phone number are passed to the Data Collaboration Applica-            Application querying for calls currently in progress that
  tion as participant identifiers). With the conference estab-          involve user B. If the optional step of having the EPC Appli-
  lished, while still talking on the phone, user A and user B can       cation register for call teardown event when processing userA
  now engage in data collaboration as implemented by the Data 55 has been carried out, this registration step is no longer neces-
  Collaboration Application (e.g. white boarding, app sharing,          sary for user B.
  gaming etc.)                                                             Step 15. The EPC Application returns user B's personal
     In another embodiment of the present invention, steps 8-12         web page including the description of the phone call with user
  above could also be optimized and performed in a way requir-          A and the "enhance call" button. It may look identical to the
  ing only a single button click from a user.                        60 web page user A received or it may additionally contain
     As indicated in the description of step 3 of the above flow,       information that user A is already waiting for user B in a data
  a variant flow is possible depending on details of telephony          collaboration conference.
  integration. In particular, instead of the Call Tracking Appli-          Steps 16. User B clicks the "enhance call" button generat-
  cation requiring triggers for telephone line of each EPC sub-         ing an HTTP POST message to the EPC Application.
  scriber, it is possible to implement a trigger less variant if the 65    Step 17. The EPC Application returns confirmation web
  telephone network allows to query in real-time for call infor-        page with the "enter conference" button and invisible infor-
  mation.                                                               mation including the Data Collaboration Application network
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  address, the conference ID corresponding to the already cre-         ber in order to join. The subscriber may be billed for the
  ated data conference and user B's full name to serve as con-         enhanced service and therefore is in control of creating as
  ference participant identifier.                                      well as stopping the data conference. Otherwise the service
     Step 18. User B clicks the "enter conference" button gen-         executes in the same way as in the full telephony integration
  erating HTTP POST to the Data Collaboration Application 5 case. It is noted that the non-subscriber's experience and
  with conference ID and user B name in it.                            corresponding part of the flow is exactly the same as in the
     Step 19. The Data Collaboration Application returns Data          case of full telephony integration with only one subscriber.
  Collaboration-specific content including active content that            Steps 1-2. A phone call is established between user A, the
  loads into user B's browser realizing participation in a data        subscriber, and user B, not a subscriber.
  conference.                                                       10
                                                                          Step 3. During the telephone call, both parties agree to
     After the data conference is created, the EPC service may
                                                                       enhance the call with data collaboration. User A, the EPC
  optionally provide automated stopping of the data conference
                                                                       subscriber, loads the EPC web page into a browser following
  when the telephone call is hung up. This is an optional feature
  depending on the following considerations. The Data Col-             either explicit or automated (remembered by the browser)
  laboration Application may not expose the external interface 15 authentication.
  for stopping a conference (i.e. it can only be stopped on               Step 4. Recognizing user A as a subscriber, the EPC Appli-
  explicit request from one of the conference participants or          cation returns a personalized web page containing a call
  automatically when all participants leave). The users may            enhancement area. In this area user A may enter a telephone
  actually prefer to continue data collaboration after the phone       number of other parties that user A is on a call with.
  call is hung up (e.g. the phone call is used to "ignite" a 20           Step 5. User A enters user B's telephone number, TN_B,
  network gaming session during which no further phone con-            and clicks the "enhance call" button. This generates an HTTP
  nection is desired by the users).                                    POST message to the EPC Application transmitting the
     FIG. 7 shows a call flow for a scenario according to the          TN_B.
  present invention that provides for automated stopping of the           Step 6. As an optional step, the EPC Application creates a
  data collaboration conference.                                    25 new instance of data collaboration conference by invoking an
     Step 1. User A hangs up the telephone call.                       appropriate web service exposed by the Data Collaboration
     Step 2. The switch hangs up call.                                 Application. As a result, a conference ID is established. This
     Step 3. The switch reports call teardown event to the Call        step may not be required if the Data Collaboration Applica-
  Tracking Application. In the case of IN PSTN network, this           tion creates a new instance automatically when the first con-
  may involve a Parlay interface implemented by the ISCP 30 ference participant joins.
  node.
                                                                          Step 7. The EPC Application returns a confirmation page to
     Step 4. The Call Tracking Application reports the event to
                                                                       user A with the "enter conference" button together with asso-
  the EPC Application by invoking its appropriate web service
                                                                       ciated information consisting of the Data Collaboration
  specified when subscribing for such notification during data
  conference setup.                                                 35
                                                                       Application   network address, the conference ID established
     Step 5. The EPC Application invokes a web service imple-          in step 6 and user A's full name to be used as a conference
  mented by the Data Collaboration Application requesting              participant identifier. Only the "enter conference" button is
  stopping of the data conference associated with the telephone        rendered visibly to the user, the rest of the information is
  call.                                                                hidden.
     Steps 6-7. The Data CollaborationApplication performs its 40         Step 8. User A clicks the "enter conference" button which
  own specific actions for stopping the data conference on user        generates an HTTP POST message directly to the Data Col-
  A's and user B's PCs.                                                laboration Application with enough information to allow user
     The above flows describe scenarios where there is full            A's participation in the data collaboration conference.
  telephone integration. In the following flows, full telephony           Step 9. The Data Collaboration Application returns Data
  integration is not possible (e.g. the PBX does not have 45 Collaboration-specific content including active content that
  required CTI module installed necessary for interfacing with         loads into user A's browser realizing participation in a data
  CTI apps such as the EPC service). This reduces the amount           conference.
  of automation that can be included in the EPC service, and              Steps 10-15. When user A's participation in data confer-
  requires that users enter the information identifying the call.      ence is completed, user A informs user B over the telephone
  However, the service is still beneficial to the users by offering so call that user B may enter the conference via the main EPC
  simple and widespread addressing based on telephone num-             web page. The steps are identical to the corresponding steps
  bers the users already know in order to create a common              13-18 in the case of full telephony integration with only one
  meeting space in the form of a data collaboration conference.        subscriber, as described in FIG. 4.
     Other than the need to have the user enter a telephone               In a further embodiment according to the present invention,
  number, the service operates in the same way as in the full 55 steps 8-12 of the above flow can be optimized and performed
  telephony integration case. Therefore, it is possible to imple-      in a single HTTP Reply cycle.
  ment the service efficiently to target both types of environ-           FIG. 9 shows a call flow for a scenario according to the
  ments, i.e. one and two subscribers. In addition, the "look and      present invention wherein two subscribers are collaborating
  feel" and ergonomics of the service for the users is very            but do not have access to full telephony integration. The
  similar making it easy to use the service when "switching" 60 experience of the subscriber who first initiates call enhance-
  between full and limited telephony integration.                      ment (and may be billed for it) stays the same as in the
     FIG. 8 shows a call flow for a scenario according to the          previous case described in FIG. 8. The experience of the other
  present invention wherein a subscriber and non-subscriber            subscriber who follows second in enhancing the call side
  are collaborating but do not have access to full telephony           could be further automated by the fact that the EPC service
  integration. The subscriber creates a data conference and 65 knows that user and may remember the subscribers telephone
  identifies it by the non-subscribing user's telephone number.        number. In this case the user will be offered the "enhance call"
  The non-subscribing user needs to enter that telephone num-          button immediately after entering a personal EPC web page.
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     Steps 1-9. After the phone call is established, user A                and then exchanged with the other user in the telephone
  enhances the call. These steps are identical to the correspond-          conversation. The other user would be required to enter the
  ing steps in the flow described in FIG. 8.                               pass code in addition to the telephone number prior to joining
     Step 10. User B loads the main EPC web page providing                 the data conference.
  authentication credentials either entered explicitly or auto-       5       When only limited telephony integration is available, the
  matically supplied by the browser.                                       same security features as described above based on the
     Step 11. The EPC Application remembers user B's tele-                 knowledge of the telephone number, time window, and
  phone number TN_B, so it does not need to ask for it again.              optional pass code are applicable.
  Therefore the reply contains user B's personal web page with                In addition, the automated conference stopping following
  the call information and the "enhance call" button. The page        10   teardown of the telephone call feature provides an extra secu-
  could also offer a way to enter and optionally remember an               rity feature by assuring that the data conference is definitely
  alternative telephone number that may currently be used by               over once the call ends without requirying any other action.
  user B.                                                                     The security features can be provided as an option in the
     Steps 12-15. User B clicks the "enhance call" button and is           EPC service. In the event that the users do not want to take the
  taken into a data collaboration conference. These steps are         15   extra steps of providing security, (e.g. setting up and exchang-
  identical to the corresponding steps 16-19 in the full tele-             ing of a pass code in a non-subsriber case), then the EPC
  phony integration flow described in FIG. 6.                              service can offer a simpler, quicker, "single click" usage.
     Security is an important consideration for any phone or                  Since the majority of telephone calls are two-party calls,
  data sharing system. One security concern is the prevention of           we focused our description so far on that case as noted above.
  unauthorized person from snooping the data traffic including        20   However, the EPC service can easily support multiparty tele-
  media and signaling associated with the data collaboration               phone calls.
  conference between the valid users. As noted above, the EPC                 In the case of full telephony integration, the telephone
  service may rely on HTTPS for securing its own signalling                network can provide information about multiparty calls, i.e,
  and on similar features implemented by the data collaboration            call established, party added/removed, call ended (similarly
  service.                                                            25   to two-party call information described above). Further, the
     Another security concern is providing assurance to a valid            Data Collaboration Application must be able to accommodate
  service subscriber that the other data conference participant            multiparty conferences.
  does not impersonate a valid user participating in the phone                The EPC service provides an easy means to create data
  call. The EPC service according to the present invention                 collaboration with a high degree of spontaneity. For example,
  provides such assurance. In particular, the case of full tele-      30   a two party collaboration that evolves into a 3-way collabo-
  phony integration and both users subscribing to the service,             ration can be easily handled by the EPC service according to
  user A is assured by the EPC service that the person who                 the present invention, by addition of the third party in the
  could participate in the data conference enhancement must be             middle of the call.
  authenticated as the subscriber to the EPC service corre-                   In the event that the third or N-th call leg of the multiparty
  sponding to the telephone number user A is on the call with.        35   call is the only subscriber, the EPC service of the present
  This provides tight coupling between the person having                   invention is still useful. In particular, upon the N-th call leg
  access to the telephone line and the EPC service account. The            (subscriber) being established, the subscriber may use the
  EPC service provides information to both users on the sub-               EPC service in a way similar to that described above. The
  scription status of the other party (subscriber or not).                 EPC Application will show the subscriber the multiparty call
     Additionally, if user A knows user B already and can rec-        40   information (including information about all parties) and an
  ognize user B's voice, the userA knows that the person on the            "enhance call" button next to it. Further, if the N-th caller is
  other line is user B and also knows that the person joining the          not a subscriber, then such caller, may enter a collaboration
  data conference can prove to the EPC service that he is indeed           session, in the same fashion as described above for a non-
  user B.                                                                  subscriber.
     In case of full telephony integration with only one susb-        45      In the case of limited telephony integration, the two-party
  ciber, user B (non-subscriber) could similarly be assured that           call scenarios are easily extended to multi-party by requiring
  the data conference participant is indeed user A. This is                the subscriber to enter the telephone number(s) of non-sub-
  because the EPC service tells user B that the other party is a           scriber(s). The EPC Application supplies the same data con-
  subscriber and has been authenticated as userA. The subcrib-             ference ID to the browsers/apps of all users participating in a
  ing user, user A, knows that the person joining the data con-       so   multi-party telephone call and thus ensures that they all land
  ference satisfies the following two conditions: knows the                in the same instance of the data conference. Participant infor-
  telephone number TN_B of user B and additionally knows                   mation is provided by the EPC service as well in the form of
  exactly the time window when the call is in progress. Further-           names and telephone numbers and represented accordingly in
  more, if an impersonator tries to join the conference after the          the multi-party data conference.
  valid user B joins, both users quickly see that this happens by     55      It is anticipated that other embodiments and variations of
  being informed by the EPC service of a third participant. User           the present invention will be readily apparent to the skilled
  A and user B can then quickly terminate the conference. This             artisan in the light of the foregoing description and examples,
  could still be a disadvantage in that the impersonator may               and it is intended that such embodiments and variations like-
  have a short access to sensitive data material. In a separate            wise be included within the scope of the invention as set out
  embodiment according to the present invention, the Data             60   in the appended claims.
  Collaboration Application can be configured to admit a set                  What is claimed is:
  number of participants in the conference (e.g. for the example              1. A method for transitioning from an existing telephone
  above, 2 participants). The conference size limitation leaves            call to a real-time collaboration session in a system including
  an impersonator with a very small time window to join a data             a telephone network for establishing connections between
  conference; i.e. after user A but before user B. If this restric-   65   users and a data network for establishing data sharing ses-
  tion is still not satisfactory, an optional and additional pass          sions between said users, each of said users having an asso-
  code could be assigned to the conference by one of the users             ciated user access and presentation device, said data network
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                                                        US RE42,883 E
                               15                                                                  16
  including an enhanced phone based collaboration (EPC)              collaboration (EPC) application, and at least one of said users
  application, and at least one of said users subscribing to said    subscribing to said enhanced phone based collaboration
  enhanced phone based collaboration application, said               application, and said at least one user having a plurality of
  method [including the step of] comprising:                         telephone calls in progress, said method comprising [the steps
     responsive to said one user on an existing telephone call 5 of]:
        [user]clicking on a control button on said user's associ-       tracking the in progress telephone calls of said at least one
        ated device, a server in a telephone network invoking the          user; [and]
        operation of said EPC application [solely by clicking on        choosing a particular one of said telephone calls in
        a control button on said user's associated device] to              progress to be transitioned to the real-time collaboration
                                                                  10       session[,]; and
        cause said enhanced phone based collaboration to add
                                                                        said at least one user clicking on a control button on said
        the collaboration session to the existing telephone call
                                                                           [user's associated] device associated with said at least
        between said users without the users exchanging col-
                                                                           one user to cause said enhanced based phone collabora-
        laboration session [idnetifiers] identifiers.
                                                                           tion application to add the collaboration session to the
     2. The method of claim 1 [for transitioning from an existing
                                                                  15       chosen [existing] telephone call.
  telephone call to a real time collaboration session], wherein
                                                                        7. The method of claim 6 [for transitioning from an existing
  said user access and presentation device is a PC, a notepad, or
                                                                     telephone call to a real-time collaboration session], wherein
  a PDA.
                                                                     said tracking [step] comprises displaying to said one user a
     3. The method of claim 1 [for transitioning from an existing
                                                                     list of the in progress telephone calls over a web interface and
  telephone call to a real time collaboration session], wherein
                                                                  20 said [step of] choosing comprises said one user clicking on an
  said one of said users subscribes to said enhanced phone
                                                                     established telephone call on said list.
  based collaboration application [but], and wherein at least
                                                                        8. The method of claim 1 [for transitioning from an existing
  another of said users is a guest non-subscribing user, said
                                                                     telephone call to a real-time collaboration session], wherein
  method further comprising [the steps of]:
                                                                     at least two of the users to be transitioned to the real-time
     responsive to said one subscribing user providing a guest
                                                                  25 collaboration session subscribe to the enhanced [based
        page Uniform Resource Location (URL) for the guest
                                                                     phone]phone based collaboration application, said method
        non-subscribing user[;] said server in a telephone net-
                                                                     further [comprises] comprising [the step of]
        workpermitting said guest user using the URL to open a
                                                                        [each of said two subscribing users selecting the telephone
        web page to gain access to the enhanced phone based
                                                                           call to be enhanced; and]
        collaboration application; and
                                                                  30    [each of said two subscribing users] adding the collabora-
     enabling said guest user [entering] to enter the real-time
                                                                           tion session to the existing telephone call [simply by]
        collaboration session by entering [its own] a telephone
                                                                           responsive to each oftwo subscriber users clicking on an
        number and clicking on an "enter conference" button on
                                                                           ["enhanced call"] "enhance call" button on [its] the
        said guest user's associated device.
                                                                           respective associated device.
     4. The method of claim 3 [for transitioning from an existing
                                                                  35    9. The method of claim 1 [for transitioning from an existing
  telephone call to a real time collaboration session], wherein
                                                                     telephone call to a real-time collaboration session], wherein
  said web page is in a browser.
                                                                     one of said users subscribes to said enhanced phone based
     5. The method of claim 3 [for transitioning from an existing
                                                                     collaboration application [but], and wherein a second of said
  telephone call to a real time collaboration session], wherein
                                                                     [subscribers] users is a guest non-subscribing user, said
  said session includes a plurality of guest non-subscribing
                                                                  40 enhanced based phone collaboration application including a
  users, each of said plurality of guest non-subscribing users
                                                                     choice driven web page, said method further comprising [the
  gaining access to the enhanced phone based collaboration
                                                                     steps of]
  application and entering the session by [its own] a telephone
                                                                        enabling said one user [loading] to load an EPC web page
  number and clicking on [an "enter conference button"] a
                                                                           into a browser[;
  control button on [its associated] said device associated with
                                                                  45    after said one user has clicked on said one user's "enter
  said guest user.
                                                                           conference" button, said one user advising said guest
     6. A method for [transition] transitioning an existing tele-
                                                                           user that the guest user may enter the collaboration ses-
  phone call to a real-time collaboration session in a system
                                                                           sion via the EPC web page; and
  including a telephone network for establishing telephone
                                                                        said guest users entering the collaboration session using its
  connections between users and a data network for establish-
                                                                  50       own telephone number and an "enter conference button"
  ing data sharing sessions between each of said users, each of
                                                                           on its associated device].
  said users having an associated user access and presentation
  device, said data network including an enhanced phone based                                 *   *  *   *    *
     Case 1:21-cv-01323-CFC Document 1-1 Filed 09/17/21 Page 317 of 440 PageID #: 366

                              UNITED STATES PATENT AND TRADEMARK OFFICE
                                   CERTIFICATE OF CORRECTION
PATENT NO.                  : RE42,883 E                                                                                       Page 1 of 1
APPLICATION NO.             : 12/001975
DATED                       : November 1, 2011
INVENTOR(S)                 : Korycki et al.

It is certified that error appears in the above-identified patent and that said Letters Patent is hereby corrected as shown below:

         On the Title page, item (56), under "Other Publications", Lines 1-2, delete "International Search
         Report for PCT Pat. App. No. PCT/US04/21407, mailed Dec. 7, 2004." and insert -- International
         Search Report for PCT Pat. App. No. PCT/US04/21407, mailed Dec. 7, 2004.
         International Preliminary Examination Report for PCT Pat. App. No. PCT/US04/21407, completed
         May 18, 2005. --.

         Column 16, line 13, in Claim 6, delete "based phone" and insert -- phone based --.

         Column 16, line 40, in Claim 9, delete "based phone" and insert -- phone based --.




                                                                                     Signed and Sealed this
                                                                                  Nineteenth Day of June, 2012




                                                                                                    David J. Kappos
                                                                               Director of the United States Patent and Trademark Dice
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                        Exhibit U
                                      505845444       01/03/2020
         Case 1:21-cv-01323-CFC Document 1-1 Filed 09/17/21 Page 319 of 440 PageID #: 368
                             PATENT ASSIGNMENT COVER SHEET

Electronic Version v1.1                                                      EPAS ID: PAT5892380
Stylesheet Version v1.2

SUBMISSION TYPE:                      NEW ASSIGNMENT
NATURE OF CONVEYANCE:                 ASSIGNMENT

 CONVEYING PARTY DATA
                                      Name                              Execution Date
 INTELLECTUAL VENTURES ASSETS 130 LLC                                  11/15/2019


 RECEIVING PARTY DATA
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 Street Address:          44 MILTON AVENUE
 Internal Address:        SUITE 254
 City:                    ALPHARETTA
 State/Country:           GEORGIA
 Postal Code:             30009


 PROPERTY NUMBERS Total: 66
          Property Type                      Number
 Patent Number:                   6721787
 Patent Number:                   6917605
 Patent Number:                   8160863
 Patent Number:                   7835897
 Patent Number:                   RE42227
 Patent Number:                   8195442
 Patent Number:                   8380481
 Patent Number:                   7069483
 Patent Number:                   7852796
 Patent Number:                   7835372
 Patent Number:                   7451365
 Patent Number:                   7957356
 Patent Number:                   7941149
 Patent Number:                   8175613
 Patent Number:                   8780770
 Patent Number:                   8611320
 Patent Number:                   9554304
 Patent Number:                   9930575
 Patent Number:                   7092986

                                                                      PATENT
     505845444                                                REEL: 051463 FRAME: 0026
     Case 1:21-cv-01323-CFC Document 1-1 Filed 09/17/21 Page 320 of 440 PageID #: 369
      Property Type                   Number
Patent Number:            RE43704
Patent Number:            7760664
Patent Number:            6836466
Patent Number:            6775253
Patent Number:            6628943
Patent Number:            6788660
Patent Number:            6487406
Patent Number:            6490259
Patent Number:            RE42883
Patent Number:            6985724
Patent Number:            6857007
Patent Number:            8224909
Patent Number:            8533278
Patent Number:            6891807
Patent Number:            7177285
Patent Number:            7463596
Patent Number:            7911979
Patent Number:            7051116
Patent Number:            7484005
Patent Number:            7814230
Patent Number:            6775258
Patent Number:            6865237
Patent Number:            7006579
Patent Number:            8031800
Patent Number:            7460609
Patent Number:            7355961
Patent Number:            RE43746
Patent Number:            7061379
Patent Number:            6724883
Patent Number:            6594356
Patent Number:            7027465
Patent Number:            RE44904
Patent Number:            7209950
Patent Number:            7224642
Patent Number:            6980089
Patent Number:            7245201
Patent Number:            7248148
Patent Number:            6956941

                                                                 PATENT
                                                         REEL: 051463 FRAME: 0027
       Case 1:21-cv-01323-CFC Document 1-1 Filed 09/17/21 Page 321 of 440 PageID #: 370
         Property Type                          Number
 Patent Number:                  6859529
 Patent Number:                  6456764
 Patent Number:                  6804713
 Patent Number:                  6335821
 Patent Number:                  6483634
 Patent Number:                  6427037
 Patent Number:                  6901437
 Patent Number:                  9648122
 Patent Number:                  10051077


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ATTORNEY DOCKET NUMBER:                11201-001GEN
NAME OF SUBMITTER:                     LAWRENCE A. AARONSON
SIGNATURE:                             /Lawrence A. Aaronson/
DATE SIGNED:                           01/03/2020
Total Attachments: 11
source=IV 130 to CommWorks Solutions (Active)#page1.tif
source=IV 130 to CommWorks Solutions (Active)#page2.tif
source=IV 130 to CommWorks Solutions (Active)#page3.tif
source=IV 130 to CommWorks Solutions (Active)#page4.tif
source=IV 130 to CommWorks Solutions (Active)#page5.tif
source=IV 130 to CommWorks Solutions (Active)#page6.tif
source=IV 130 to CommWorks Solutions (Active)#page7.tif
source=IV 130 to CommWorks Solutions (Active)#page8.tif
source=IV 130 to CommWorks Solutions (Active)#page9.tif
source=IV 130 to CommWorks Solutions (Active)#page10.tif
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                                                                              PATENT
                                                                      REEL: 051463 FRAME: 0028
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                                                                                       Exhibit A-2
                             ASSIGNMENT OF PATENT RIGHTS

         For good and valuable consideration, the receipt of which is hereby acknowledged,
Intellectual Ventures Assets 130 LLC, a Delaware limited liability company, with an address at
251 Little Falls Drive, Wilmington, DE 19808 ("Assignor"), does hereby sell, assign, transfer,
and convey unto CommWorks Solutions, LLC, a Georgia limited liability company with an
address at 44 Milton Avenue, Suite 254, Alpharetta, GA 30009 ("Assignee"), all of Assignor's
right, title, and interest in and to the following (collectively, the "Assigned Patent Rights"):

       (a)      the patents and patent applications listed in the table below (the "Patents");

Active Patent(s) — (Filed; Granted)
                                                  Issue Date/           Title of Patent
  Patent/Application Number          Country      Filing Date           and First Named Inventor
  6721787                            US           4/13/2004             SYSTEM AND METHOD
                                                                        FOR WIRELESS HOT-
  (09/501204)                                     (2/10/2000)           SYNCHRONIZATION OF A
                                                                        PERSONAL DIGITAL
                                                                        ASSISTANT

                                                                        James Scott Hiscock
  JP4294829                         JP            4/17/2009             MOBILE NETWORK
                                                                        SYSTEM AND SERVICE
  (JP2000-125968)                                 (4/26/2000)           CONTROL INFORMATION
                                                                        REVISION METHOD

                                                                        KAKEMIZU MITSUAKI
  DE60121094.8                      DE            6/28/2006             Mobile network system and
                                                                        service control information
  (DE60121094.8)                                  (1/31/2001)           changing method

                                                                        KAKEMIZU MITSUAKI (JP)
  FR1150530                         FR            6/28/2006             Mobile network system and
                                                                        service control information
  (FR01102111.0) '           . f                  (1/31/2001)           changing method

                                                                       _ KAKEMIZU MITSUAKI (JP)
  GB1150530                         GB            6/28/2006              Mobile network system and
                                                                         service control information
  (GB01102111.0)                                  (1/31/2001)            changing method

                                                                        KAKEMIZU MITSUAKI (JP)
  6917605                           US            7/12/2005             MOBILE NETWORK
                                                                        SYSTEM AND SERVICE
  (09/770019)                                     (1/25/2001)           CONTROL INFORMATION
                                                                        CHANGING METHOD

                                                                        Kakemizu, Mitsuaki



                                                                            PATENT
                                                                    REEL: 051463 FRAME: 0029
Case 1:21-cv-01323-CFC Document 1-1 Filed 09/17/21 Page 323 of 440 PageID #: 372


                                          Issue Date/      Title of Patent
    Patent/Application Number   Country   Filing Date      and First Named Inventor
    8160863                     US        4/17/2012        System and method for
                                                           connecting a logic circuit
    (10/044217)                           (11/19/2001)     simulation to a network

                                                           Robert M. Zeidman
    7835897                     US        11/16/2010       APPARATUS AND
                                                           METHOD FOR
    (11/557064)                           (11/6/2006)      CONNECTING
                                                           HARDWARE TO A
                                                           CIRCUIT SIMULATION

                                                           Robert Marc Zeidman
    RE42227                     US        3/15/2011        Apparatus and method for
                                                           connecting hardware to a
    (12/481943)                           (6/10/2009)      circuit simulation

                                                           Robert Marc Zeidman
    8195442                     US        6/5/2012         APPARATUS AND
                                                           METHOD FOR
    (12/946721)                           (11/15/2010)     CONNECTING
                                                           HARDWARE TO A
                                                           CIRCUIT SIMULATION

                                                           Robert Marc Zeidman
    8380481                     US        2/19/2013        CONVEYING DATA FROM
                                                           A HARDWARE DEVICE TO
    (13/487750)                           (6/4/2012)       A CIRCUIT SIMULATION

                                                           Robert Marc Zeidman
    7069483                     US        6/27/2006        System and method for
                                                           identifying nodes in a wireless
    (10/437128)                           (5/13/2003)      mesh network

                                                           Michael P. Nova
    JP4874550                   JP        12/2/2011        System and method for routing
                                                           packets in a wired or wireless
    (JP2004-572210)                       (10/31/2003)     network

                                                           GILLIES DONALD W
    JP4369374                   JP        11/18/2009       SYSTEM AND METHOD
                                                           FOR BOUNDRY SCAN
    (JP2004-572211)                       (10/31/2003)     TEST OF WIRED OR
                                                           WIRELESS NETWORK

                                                           WANG WEIL1N




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                                                                 PATENT
                                                         REEL: 051463 FRAME: 0030
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                                          Issue Date/      Title of Patent
    Patent/Application Number   Country   Filing Date      and First Named Inventor
    7852796                     US        12/14/2010       DISTRIBUTED
                                                           MULTICHANNEL
    (11/420668)                           (5/26/2006)      WIRELESS
                                                           COMMUNICATION

                                                           Xudong Wang
    7835372                     US        11/16/2010       System and Method for
                                                           Transparent Wireless Bridging
    (11/421998)                           (6/2/2006)       of Communication Channel
                                                           Segments

                                                           Weilin Wang
    7451365                     US        11/11/2008       System and Method for
                                                           Identifying Nodes in a
    (11/425114)                           (6/19/2006)      Wireless Network

                                                           Donald W. Gillies
    7957356                     US        6/7/2011         SCALABE MEDIA ACCESS
                                                           CONTROL FOR MULTI-
    (11/462663)                           (8/4/2006)       HOP HIGH BANDWIDTH
                                                           COMMUNICATIONS

                                                           Xudong Wang
    7941149                     US        5/10/2011        Multi-Hop Ultra Wide Band
                                                           Wireless Network
    (11/615582)                           (12/22/2006)     Communication

                                                           Weilin Wang
    8175613                     US        5/8/2012         SYSTEMS AND METHODS
                                                           FOR DETERMINING
    (11/741630)                           (4/27/2007)      LOCATION OF DEVICES
                                                           WITHIN A WIRELESS
                                                           NETWORK

                                                           Chao Gui
    8780770                     US        7/15/2014        SYSTEMS AND METHODS
                                                           FOR VOICE
    (11/741637)                           (4/27/2007)      COMMUNICATION OVER
                                                           A WIRELESS NETWORK

                                                           Weiguang Shi
    8611320                     US        12/17/2013       SCALABLE MEDIA
                                                           ACCESS CONTROL FOR
    (12/950558)                           (11/19/2010)     MULTI-HOP HIGH
                                                           BANDWIDTH
                                                           COMMUNICATIONS



3
                                                                 PATENT
                                                         REEL: 051463 FRAME: 0031
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                                          Issue Date/      Title of Patent
    Patent/Aaplication Number   Country   Filing Date      and First Named Inventor

                                                           Weilin Wang
    9554304                     US        1/24/2017        SCALABLE MEDIA
                                                           ACCESS CONTROL FOR
    (14/090760)                           (11/26/2013)     MULTI-HOP HIGH
                                                           BANDWIDTH
                                                           COMMUNICATIONS

                                                           Xudong Wang
    9930575                     US        3/27/2018        SCALABLE MEDIA
                                                           ACCESS CONTROL FOR
    (15/409896)                           (1/19/2017)      MULTI-HOP HIGH
                                                           BANDWIDTH
                                                           COMMUNICATIONS

                                                           Weilin Wang
    7092986                     US        8/15/2006        Transparent mobile IPv6 agent

    (10/067278)                           (2/7/2002)       Wang, Mei Na
    RE43704                     US        10/2/2012        Determining and provisioning
                                                           paths within a network of
    (12/608732)                           (10/29/2009)     communication elements

                                                           Gupta, Sanyogita
    7760664                     US        7/20/2010        Determining and provisioning
                                                           paths in a network
    (11/101136)                           (4/7/2005)
                                                           Sanyogita GuTta
    CA2581734                   CA        8/28/2012        Determining and provisioning
                                                           paths in a network
    (CA2581734)                           (9/28/2005)
                                                           Sanyogita Gupta
    DE602005053126.2            DE        11/22/2017       Determining and provisioning
                                                           paths in a network
    (DE602005053126.2)                    (9/28/2005)
                                                           Sanyogita Gupta
    GB1797670                   GB        11/22/2017       Determining and provisioning
                                                           paths in a network
    (GB05857725.5)                        (9/28/2005)
                                                           Sanyogita Gupta
    JP4777990                   JP        7/8/2011         Determining and provisioning
                                                           paths in a network
    (JP2007-534687)                       (9/28/2005)
                                                           Sanyogita Gupta




4
                                                                 PATENT
                                                         REEL: 051463 FRAME: 0032
Case 1:21-cv-01323-CFC Document 1-1 Filed 09/17/21 Page 326 of 440 PageID #: 375


                                           Issue Date/      Title of Patent
    Patent/Application Number    Country   Filing Date      and First Named Inventor
    6836466                      US        12/28/2004       Method and system for
                                                            measuring IP performance
    (09/579371)                            (5/26/2000)      metrics

                                                            Krishna Kant
    6775253                      US        8/10/2004        Adaptive signaling for
                                                            wireless packet telephony
    (09/512644)                            (2/24/2000)
                                                            Prathima Agrawal
    6628943                      US        9/30/2003        Mobility management utilizing
                                                            active address propagation
    (09/512645)                            (2/24/2000)
                                                            Prathima Agrawal
    6788660                      US        9/7/2004         Adaptive mobile signaling for
                                                            wireless internet telephony
    (09/512646)                            (2/24/2000)
                                                            Prathima Agrawal
    6487406                      US        11/26/2002       PCS-to-mobile IP
                                                            internetworking
    (09/545619)                            (4/10/2000)
                                                            Li-Fung Chang
    TWI183532                    TW        8/11/2003        PCS-to-mobile IP
                                                            internetworking
    (TWO89110383)                          (5/29/2000)
                                __._                                  _ g
                                                              m, Li-Fun
    CA2310783                     CA       2/3/2004         PCS-to-mobile IP
                                                            internetworking
    (CA2310783)                            (6/6/2000)
                                                            Chang, Li-Fung
    6490259                      US        12/3/2002        Active link layer and intra-
                                                            domain mobility for IP
    (09/512514)                            (2/24/2000)      networks

                                                            AGRAWAL PRATHIMA
    RE42883                      US        11/1/2011        Enhanced Phone-Based
                                                            Collaboration
    (12/001975)                            (12/13/2007)
                                                            Korycki, Jacek
    6985724                      US        1/10/2006        Device for transmitting data
                                                            and control commands via
    (10/239763)                            (2/27/2001)      radio connections in a
                                                            distributed control system for
                                                            one or more machines and/or
                                                            processes

                                                            Fredriksson, Lars-Berno


5
                                                                  PATENT
                                                          REEL: 051463 FRAME: 0033
Case 1:21-cv-01323-CFC Document 1-1 Filed 09/17/21 Page 327 of 440 PageID #: 376


                                          Issue Date/      Title of Patent
    Patent/Application Number   Country   Filing Date      and First Named Inventor
    6857007                     US        2/15/2005        Personal digital assistant
                                                           facilitated communication
    (09/723349)                           (11/27/2000)     system

                                                           Bloomfield, Mark C.
    8224909                     US        7/17/2012        Personal digital assistant
                                                           facilitated communication
    (12/369785)                           (2/12/2009)      system

                                                           Bloomfield, Mark C.
    8533278                     US        9/10/2013        Mobile computing device
                                                           based communication systems
    (13/490403)                           (6/6/2012)       and methods

                                                           Mark C. Bloomfield
    6891807                     US        5/10/2005        Time based wireless access
                                                           provisioning
    (10/341847)                           (1/13/2003)
                                                           Roskind, James A.
    7177285                     US        2/13/2007        Time based wireless access
                                                           provisioning
    (10/961959)                           (10/8/2004)
                                                           Roskind, James A.
    7463596                     US        12/9/2008        TIME BASED WIRELESS
                                                           ACCESS PROVISIONING
    (11/673513)                           (2/9/2007)
                                                           Roskind, James A.
    7911979                     US        3/22/2011        Time Based Access
                                                           Provisioning System and
    (12/323399)                           (11/25/2008)     Process

                                                           James A. Roskind
    7051116                     'US       5/23/2.006       Client device identification
                                                           when communicating through
    (09/983042)                           (10/22/2001)     a network address translator
                                                           device

                                                           Rodriguez-Val, Richard
    7484005                     US        1/27/2009        Client device identification
                                                           when communicating through
    (11/351116)                           (2/10/2006)      a network address translator
                                                           device

                                                           Richard Rodriguez-Val




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                                                                 PATENT
                                                         REEL: 051463 FRAME: 0034
Case 1:21-cv-01323-CFC Document 1-1 Filed 09/17/21 Page 328 of 440 PageID #: 377


                                          Issue Date/      Title of Patent
    Patent/Application Number   Country   Filing Dat       and First Named Inventor
    7814230                     US        10/12/2010       Client device identification
                                                           when communicating through
    (12/337854)                           (12/18/2008)     a network address translator
                                                           device

                                                           Rodriguez-Val, Richard
    6775258                     US        8/10/2004        Apparatus, and associated
                                                           method, for routing packet
    (09/527786)                           (3/17/2000)      data in an ad hoc, wireless
                                                           communication system

                                                           Van Valkenburg, Sander
    6865237                     US        3/8/2005         Method and system for digital
                                                           signal transmission
    (09/676373)                           (9/29/2000)
                                                           Boariu, Adrian
    7006579                     US        2/28/2006        ISI-robust slot formats for
                                                           non-orthogonal-based space-
    (10/023924)                           (12/18/2001)     time block codes

                                                           Kuchi, Kiran
    DE60123282.8                DE        9/20/2006        Transmitting digital signal

    (DE01273305.1)                        (12/19/2001)     Tirkkonen, Olav
    GB1350354                   GB        9/20/2006        Transmitting digital signal

    (GB01273305.1)                        (12/19/2001)     Tirkkonen, Olav
    8031800                     US        10/4/2011        Transmitting digital signal

    (10/450997)                           (12/19/2001)     Tirkkonen, Olav
    DE60244331.8                DE        1/2/2013         Transmission method

    (DE60244331.8)                        (6/24/2002)      Tirkkonen, Olav
    FR1405453                   FR        1/2/2013         Transmission method

    (FR02743313.5)                        (6/24/2002)      Tirkkonen, Olav
    GB1405453                   GB        1/2/2013         Transmission method

    (GB02743313.5)                        (6/24/2002)      Tirkkonen, Olav
    7460609                     US        12/2/2008        Transmission method using
                                                           complex channel symbols
    (10/739017)                           (12/19/2003)
                                                           Tirkkonen, Olav




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                                                                 PATENT
                                                         REEL: 051463 FRAME: 0035
Case 1:21-cv-01323-CFC Document 1-1 Filed 09/17/21 Page 329 of 440 PageID #: 378


                                          Issue Date/      Title of Patent
    Patent/Aanlication Number   Country   Filing Date      and First Named Inventor
    7355961                     US        4/8/2008         Method and arrangement for
                                                           digital signal transmission
    (11/070624)                           (3/2/2005)       using layered space-time codes

                                                           Tirkkonen, Olav
    RE43746                     US        10/16/2012       Method and radio system for
                                                           digital signal transmission
    (13/166702)                           (6/22/2011)      using complex space-time
                                                           codes

                                                           Tirkkonen, Olav
    7061379                     US        6/13/2006        RFID system and method for
                                                           ensuring safety of hazardous
    (10/301846)                           (11/21/2002)     or dangerous substances

                                                           Chen, Fung-Jou
    6724883                     US        4/20/2004        Processing of data message in
                                                           a network element of a
    (09/660133)                           (9/12/2000)      communications network

                                                           Lehtinen, Pekka
    CNZL00808958.2              CN        11/10/2004       INITIATING A
                                                           CONTROLLING SERVICE
    (CN00808958.2)                        (6/13/2000)
                                                           Tuunanen, Heikki
    DE60042650.5                DE        7/29/2009        CALL SET-UP CONTROL
                                                           IN AN INTELLIGENT
    (DE60042650,5)                        (6/13/2000)      NETWORK BY
                                                           CONDITIONAL
                                                           INITIATION OF MORE
                                                           THAN ONE CONTROLLING
                                                           SERVICE          .

                                                           Tuunanen, Heikki
    ES1192811                   ES        7/29/2009        CALL SET-UP CONTROL
                                                           IN AN INTELLIGENT
    (E500942154.6)                        (6/13/2000)      NETWORK BY
                                                           CONDITIONAL
                                                           INITIATION OF MORE
                                                           THAN ONE CONTROLLING
                                                           SERVICE

                                                           Tuunanen, Heikki
    GB1192811                   GB        7/29/2009        Call set-up control in an
                                                           intelligent network by
    (GB00942154.6)                        (6/13/2000)      conditional initiation of more



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                                                                 PATENT
                                                         REEL: 051463 FRAME: 0036
Case 1:21-cv-01323-CFC Document 1-1 Filed 09/17/21 Page 330 of 440 PageID #: 379


                                          Issue Date/      Title of Patent
    Patent/Application Number   Country   Filing Date      and First Named Inventor
                                                           than one controlling service

                                                           Tuunanen, Heikki
    IT1192811                   IT        7/29/2009        INITIATING A
                                                           CONTROLLING SERVICE
    (IT00942154.6)                        (6/13/2000)
                                                           Tuunanen, Heikki
    6594356                     US        7/15/2003        Initiating a controlling service

    (10/014918)                           (12/14/2001)     Tuunanen, Heikki
    7027465                     US        4/11/2006        Method for contention free
                                                           traffic detection
    (10/167986)                           (6/11/2002)
                                                           Hautala Petri
    RE44904                     US        5/20/2014        A METHOD FOR
                                                           CONTENTION FREE
    (13/171882)                           (6/29/2011)      TRAFFIC DETECTION

                                                           Hautala Petri
    7209950                     US        4/24/2007        Method and apparatus for a
                                                           network independent short
    (09/921167)                           (8/2/2001)       message delivery system

                                                           Simon Bennett
    7224642                     US        5/29/2007        Wireless sensor data
                                                           processing systems
    (11/340733)                           (1/26/2006)
                                                           Bao Q. Tran
    6980089                     US        12/27/2005       Non-intrusive coupling to
                                                           shielded power cable
    (09/924730)                           (8/8/2001)
                                                           Paul A. Kline
    7245201                     US. .     7/17/2007        Power line coupling device
                                                           and method of using the same
    (10/947929)                           (9/23/2004)
                                                           Paul A. Kline
    7248148                     US        7/24/2007        Power line coupling device
                                                           and method of using the same
    (11/265230)                           (11/3/2005)
                                                           Paul A. Kline
    6956941                     US        10/18/2005       METHOD AND SYSTEM
                                                           FOR SCHEDULING
    (09/547627)                           (4/12/2000)      INBOUND INQUIRIES

                                                           Daniel N. Duncan




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                                                                 PATENT
                                                         REEL: 051463 FRAME: 0037
Case 1:21-cv-01323-CFC Document 1-1 Filed 09/17/21 Page 331 of 440 PageID #: 380


                                                 Issue Date/           Title of Patent
     Patent/Application Number      Country      Filini Date           and First Named In en
     6859529                        US           2/22/2005             Method and system for self-
                                                                       service scheduling of inbound
     (10/082386)                                 (2/25/2002)           inquiries

                                                                       Daniel N. Duncan
     6456764                        US           9/24/2002             Optical directional coupler

     (09/668372)                                 (9/25/2000)           Hideaki Okayama
     6804713                        US           10/12/2004            Operational supervisory
                                                                       system for a server
     (09/549687)                                 (4/14/2000)
                                                                       Miwa Nishio
     6335821                        US           1/1/2002              Optical fiber amplifier and a
                                                                       method for controlling the
     (09/501606)                                 (2/10/2000)           same

                                                                       Mikiya Suzuki
     6483634                        US           11/19/2002            Optical amplifier

     (09/662904)                                 (9/15/2000)           Andrew R Pratt
     6427037                        US           7/30/2002             Two-stage optical switch
                                                                       circuit network
     (09/497235)                                 (2/3/2000)
                                                                       Hideaki Okayama
     6901437                        US           5/31/2005             Mobile cache for dynamically
                                                                       composing user-specific
     (09/684047)                                 (10/6/2000)           information

                                                                       Benjamin Bin Li
     9648122                        US           5/9/2017              Mobile cache for dynamically
                                                                       composing user-specific
     (11/133755)                                 (5/19/2005)           information

                                                                       Benjamin Bin Li
     10051077                      US            8/14/2018             Mobile cache for dynamically
                                                                       composing user-specific
     (15/486546)                                 (4/13/2017)           information

                                                                       Benjamin Bin Li

        (b)     any future reissues, reexaminations, extensions, continuations, continuing
prosecution application, requests for continuing examinations, divisions, and registrations of any
of the Patents;




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                                                                           PATENT
                                                                   REEL: 051463 FRAME: 0038
 Case 1:21-cv-01323-CFC Document 1-1 Filed 09/17/21 Page 332 of 440 PageID #: 381


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   invention, utility models, indttstrial design protections; design patent protections, :or other Mute
   governmental grants or issuances of any type related to the Patents; and

          (d)     causes of action and enforcement rights of any kind under, or on account of, any of
   the Patents and/or any of the items described in either of the foregoing categories (b) or (c),
   including, without limitation, all c.auses of action, enforcement rights and all other rights to seek
   and obtain any other remedies of any kind for past, current and future infringement.

          Assignor.: hereby authorizes. therespective patent office or governmental agency in each
  jurisdiction to issue any and all future patents, certificatesof invention, utility models or other
  governmental grants:or issuances: that may be voted upon any of the Assigned Patent Rights in
  the name-of Assignee, as the assignee to the entire interest -therein. ".fhis. Assignment of Patent
  Rights will. inure for the benefit of any .permiltedsuccessorsor assigns of Assignee :

         .Assignor will, at.the reasonable request of Assignee, take all reasonable:steps necessary
  and proper, to confimi the assignment to Assignee:of the Assigned Patent Rights pursuant to this
  Assignment of Patent Rights, including without limitation, the execution, acknowledgment, arid
  recordation of specific assignments, oaths, declarations, and other documents on a .country-by-
  country basis, to:assist Assignee in obtaining and perfecting the Assigned Patent. Rights.

  IN WITNESS WHEREOF th's Assignment of Fltent Rights is executed on: 1414-mitlet i6
  2019 to. be -effective as of \,*)              , 2019,
  ASSIGNOR;
  INTELLEcTvALV*NTURE A$S41;6)

  Name! Lai enee Froeber
  Title: CFO




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                                                                                PATENT
RECORDED: 01/03/2020                                                    REEL: 051463 FRAME: 0039
Case 1:21-cv-01323-CFC Document 1-1 Filed 09/17/21 Page 333 of 440 PageID #: 382




                        Exhibit V
                                      505845483       01/03/2020
         Case 1:21-cv-01323-CFC Document 1-1 Filed 09/17/21 Page 334 of 440 PageID #: 383
                             PATENT ASSIGNMENT COVER SHEET

Electronic Version v1.1                                                      EPAS ID: PAT5892419
Stylesheet Version v1.2

SUBMISSION TYPE:                      NEW ASSIGNMENT
NATURE OF CONVEYANCE:                 ASSIGNMENT

 CONVEYING PARTY DATA
                                      Name                              Execution Date
 INTELLECTUAL VENTURES ASSETS 135 LLC                                  11/15/2019


 RECEIVING PARTY DATA
 Name:                    COMMWORKS SOLUTIONS, LLC
 Street Address:          44 MILTON AVENUE
 Internal Address:        SUITE 254
 City:                    ALPHARETTA
 State/Country:           GEORGIA
 Postal Code:             30009


 PROPERTY NUMBERS Total: 72
          Property Type                      Number
 Patent Number:                   6832249
 Patent Number:                   8423630
 Patent Number:                   8812665
 Patent Number:                   6621854
 Patent Number:                   6711122
 Patent Number:                   7180850
 Patent Number:                   7564863
 Patent Number:                   7626918
 Patent Number:                   7609712
 Patent Number:                   7062475
 Patent Number:                   7596533
 Patent Number:                   RE42232
 Patent Number:                   6931003
 Patent Number:                   7835350
 Patent Number:                   RE43163
 Patent Number:                   7079823
 Patent Number:                   6490067
 Patent Number:                   6748064
 Patent Number:                   6636742

                                                                      PATENT
     505845483                                                REEL: 051463 FRAME: 0138
     Case 1:21-cv-01323-CFC Document 1-1 Filed 09/17/21 Page 335 of 440 PageID #: 384
      Property Type                   Number
Patent Number:            6868268
Patent Number:            RE42539
Patent Number:            8117068
Patent Number:            7412514
Patent Number:            7734807
Patent Number:            8671216
Patent Number:            6771971
Patent Number:            7206806
Patent Number:            6866587
Patent Number:            6427001
Patent Number:            6505163
Patent Number:            6721415
Patent Number:            7023978
Patent Number:            6795530
Patent Number:            RE42122
Patent Number:            6792094
Patent Number:            6754323
Patent Number:            7363030
Patent Number:            6967951
Patent Number:            7856011
Patent Number:            8107377
Patent Number:            8913618
Patent Number:            6785534
Patent Number:            6754716
Patent Number:            6678080
Patent Number:            7937081
Patent Number:            8200211
Patent Number:            8351924
Patent Number:            8600372
Patent Number:            8923846
Patent Number:            9432842
Patent Number:            9918222
Patent Number:            6665495
Patent Number:            7145867
Patent Number:            7184444
Patent Number:            7526203
Patent Number:            7443790
Patent Number:            8116315

                                                                 PATENT
                                                         REEL: 051463 FRAME: 0139
       Case 1:21-cv-01323-CFC Document 1-1 Filed 09/17/21 Page 336 of 440 PageID #: 385
         Property Type                          Number
 Patent Number:                  7106697
 Patent Number:                  7218637
 Patent Number:                  7190900
 Patent Number:                  7474853
 Patent Number:                  7496033
 Patent Number:                  7869427
 Patent Number:                  7715712
 Patent Number:                  7124435
 Patent Number:                  7254709
 Patent Number:                  8719326
 Patent Number:                  9230039
 Patent Number:                  6456242
 Patent Number:                  6433742
 Patent Number:                  6456245
 Patent Number:                  6438367


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 using a fax number, if provided; if that is unsuccessful, it will be sent via US Mail.
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 Email:                         docketing@mcciplaw.com
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 Address Line 2:                SUITE 1300
 Address Line 4:                ATLANTA, GEORGIA 30309

ATTORNEY DOCKET NUMBER:                11201-001GEN
NAME OF SUBMITTER:                     LAWRENCE A. AARONSON
SIGNATURE:                             /Lawrence A. Aaronson/
DATE SIGNED:                           01/03/2020
Total Attachments: 10
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source=IV 135 to CommWorks Solutions (Active)#page5.tif
source=IV 135 to CommWorks Solutions (Active)#page6.tif
source=IV 135 to CommWorks Solutions (Active)#page7.tif
source=IV 135 to CommWorks Solutions (Active)#page8.tif
source=IV 135 to CommWorks Solutions (Active)#page9.tif
source=IV 135 to CommWorks Solutions (Active)#page10.tif

                                                                              PATENT
                                                                      REEL: 051463 FRAME: 0140
Case 1:21-cv-01323-CFC Document 1-1 Filed 09/17/21 Page 337 of 440 PageID #: 386

                                                                                       Exhibit A-1
                             ASSIGNMENT OF PATENT RIGHTS

         For good and valuable consideration, the receipt of which is hereby acknowledged,
Intellectual Ventures Assets 135 LLC, a Delaware limited liability company, with an address at
251 Little Falls Drive, Wilmington, DE 19808 ("Assignor"), does hereby sell, assign, transfer,
and convey unto CommWorks Solutions, LLC, a Georgia limited liability company with an
address at 44 Milton Avenue, Suite 254, Alpharetta, GA 30009 (Assignee"), all of Assignor's
right, title, and interest in and to the following (collectively, the "Assigned Patent Rights"):

       (a)      the patents and patent applications listed in the table below (the "Patents");

                            Granted)
                                                  Issue Date/        Title of Patent
  Patent/Application Number          Country      Filing Date        and First Named Inventor
  6832249                            US           12/14/2004         Globally accessible computer
                                                                     network-based broadband
  (09/860801)                                     (5/18/2001)        communication system with user-
                                                                     controllable quality of
                                                                     information delivery and flow
                                                                     priority

                                                                     Ciscon, Larry
  8423630                           US            4/16/2013          Responding to Quality of Service
                                                                     Events in a Multi-Layered
  (10/978953)                                     (11/1/2004)        Communication System

                                                                     Steven Reynolds
  8812665                           US            8/19/2014          MONITORING FOR AND
                                                                     RESPONDING TO QUALITY
  (13/781130)                                     (2/28/2013)        OF SERVICE EVENTS IN A
                                                                     MULTI-LAYERED
                                                                     COMMUNICATION SYSTEM

                                                                     Ciscon, Larry
  6621854                           US            9/16/2003          Spread-spectrum electromagnetic
                                                                     signals
  (08/003996)                                     (1/15/1993)
                                                                     Bart F. Rice
  6711122                           US            3/23/2004          FREQUENCY OFFSET
                                                                     DIFFERENTIAL PULSE
  (09/500750)                                     (2/8/2000)         POSITION MODULATION

                                                                     John B. Langley
  7180850                           US            2/20/2007          FREQUENCY OFFSET
                                                                     DIFFERENTIAL PULSE
  (10/762197)                                     (1/20/2004)        POSITION MODULATION

                                                                     John B. Langley



                                                                            PATENT
                                                                    REEL: 051463 FRAME: 0141
Case 1:21-cv-01323-CFC Document 1-1 Filed 09/17/21 Page 338 of 440 PageID #: 387


                                               Issue Date/    Title of Patent
    Patent/Aunlication Number        Country   Filing Date    and First Named Inventor
    7564863                          US        7/21/2009      Frequency offset differential
                                                              pulse position modulation
    (11/504144)                                (8/14/2006)
                                                              Langley, John B.
    7626918                          US        12/1/2009      Frequency offset differential
                                                              pulse position modulation
    (11/504252)                                (8/14/2006)
                                                              Michael Mancusi
    7609712                          US        10/27/2009     Frequency offset differential
                                                              pulse position modulation
    (11/504967)                                (8/15/2006)
                                                              Michael Mancusi
    7062475                          US        6/13/2006      PERSONALIZED MULTI-
                                                              SERVICE COMPUTER
    (10/715218)                                (11/17/2003)   ENVIRONMENT

                                                              Andrew Szabo
    7596533                          US        9/29/2009      PERSONALIZED MULTI-
                                                              SERVICE COMPUTER
    (11/467888)                                (8/28/2006)    ENVIRONMENT

                                                              Seth Elliott
    RE42232                          US        3/22/2011      RF chipset architecture

    (11/376700)                                (3/15/2006)    Dominik J. Schmidt
    6931003                          US        8/16/2005      PACKET PRIORITIZATION
                                                              PROTOCOL FOR A LARGE-
    (09/753743)                                (12/27/2000)   SCALE, HIGH SPEED
                                                              COMPUTER NETWORK

                                                              Keith R. Anderson
    7835350                          US        11/16/2010     PRIORITIZING DATA
                                                              TRANSMISSIONS USING THE
    (11/180764)                                (7/13/2005)    NUMBER OF ASSOCIATED
                                ._                            ORIGIN ADDRESSES

                                                              Keith R. Anderson
    RE43163                          US        2/7/2012       HIGH-SPEED NETWORK OF
                                                              INDEPENDENTLY LINKED
    (11/318396)                                (12/22/2005)   NODES

                                                              Keith R. Anderson
    7079823                          US        7/18/2006      BAND-PASS FILTER WITH
                                                              CARRIER FREQUENCY
    (09/980027)                                (2/27/2002)    REDUCTION




2
                                                                      PATENT
                                                              REEL: 051463 FRAME: 0142
Case 1:21-cv-01323-CFC Document 1-1 Filed 09/17/21 Page 339 of 440 PageID #: 388


                                          Issue Date/    Title of Patent
    Patent/Application Number   Country   Filing Date    and First Named Inventor

                                                         MORCHE, Dominique
    6490067                     US        12/3/2002      MULTI-CHANNEL OPTICAL
                                                         TRANSCEIVER
    (09/860078)                           (5/16/2001)
                                                         Scott H. Bloom
    6748064                     US        6/8/2004       SYSTEMS AND METHODS
                                                         FOR LEAST COST ROUTING
    (09/749994)                           (12/28/2000)   OF LONG DISTANCE OR
                                                         INTERNATIONAL
                                                         TELEPHONE CALLS

                                                         Oussama Zbib
    6636742                     US        10/21/2003     TRACKING OF MOBILE
                                                         TERMINAL EQUIPMENT IN A
    (09/599201)                           (6/22/2000)    MOBILE COMMUNICATIONS
                                                         SYSTEM

                                                         TORKKI, Markus
    6868268                     US        3/15/2005      AUDIO CALLING NAME AND
                                                         NUMBER DELIVERY
    (09/896835)                           (6/29/2001)
                                                         James A. Worsham
    RE42539                     US        7/12/2011.     NETWORK AND METHOD
                                                         FOR PROVIDING A CALLING
    (11/727638)                           (3/27/2007)    NAME
                                                         TELECOMMUNICATIONS
                                                         SERVICE WITH AUTOMATIC
                                                         SPEECH RECOGNITION
                                                         CAPABILITY

                                                         Zeeman Zhang
    8117068                     US        2/14/2012      METHOD AND APPARATUS
                                                         FOR PROVIDING AUDIO
    (12/464782)                           (5/12/2009)    ADVERTISEMENTS IN A
                                                         COMPUTER NETWORK

                                                         Brian Mark Shuster
    7412514                     US        8/12/2008      METHOD AND APPARATUS
                                                         FOR IMPROVING
    (09/932431)                           (8/17/2001)    BANDWIDTH EFFICIENCY IN
                                                         A COMPUTER NETWORK

                                                         Gary Stephen Shuster




3
                                                                 PATENT
                                                         REEL: 051463 FRAME: 0143
Case 1:21-cv-01323-CFC Document 1-1 Filed 09/17/21 Page 340 of 440 PageID #: 389


                                          Issue Date/   Title of Patent
    Patent/Application Number   Country   Filing Date   and First Named Inventor
    7734807                     US        6/8/2010      METHOD AND APPARATUS
                                                        FOR IMPROVING
    (12/189417)                           (8/11/2008)   BANDWIDTH EFFICIENCY IN
                                                        A COMPUTER NETWORK

                                                        Gary Stephen Shuster
    8671216                     US        3/11/2014     METHOD AND APPARATUS
                                                        FOR IMPROVING
    (12/795597)                           (6/7/2010)    BANDWIDTH EFFICIENCY IN
                                                        A COMPUTER NETWORK

                                                        Gary Stephen Shuster
    6771971                     US        8/3/2004      SUBSCRIBER INFORMATION
                                                        SERVICE CENTER (SISC)
    (09/764696)                           (1/18/2001)
                                                        Steven W. Smith
    7206806                     US        4/17/2007     Method and system for remote
                                                        utilizing a mobile device to share
    (09/870536)                           (5/30/2001)   data objects

                                                        Richard A. Pineau
    6866587                     US        3/15/2005     WIDE AREA REAL-TIME
                                                        SOFTWARE ENVIRONMENT
    (09/669479)                           (9/25/2000)
                                                        Greg Lane
    6427001                     US        7/30/2002     SYSTEM AND METHOD FOR
                                                        NOTIFICATION OF 911
    (09/874998)                           (6/7/2001)    TELEPHONE CALLS USING
                                                        LINK MONITORING SYSTEM

                                                        Sunil H. Contractor
    6505163                     US        1/7/2003      NETWORK AND METHOD
                                                        FOR PROVIDING AN
    (09/634794)                           (8/9/2000)    AUTOMATIC RECALL
                                                        TELECOMMUNICATIONS
                                                        SERVICE WITH AUTOMATIC
                                                        SPEECH RECOGNITION
                                                        CAPABILITY

                                                        Zeeman Zhang
    6721415                     US        4/13/2004     TELEPHONE VOICE
                                                        MESSAGING SYSTEM AND
    (09/506021)                           (2/17/2000)   METHOD USING OFF-HOOK
                                                        IMMEDIATE TRIGGER

                                                        Quenton Lanny Gilbert



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                                                                PATENT
                                                        REEL: 051463 FRAME: 0144
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                                          Issue Date/    Title of Patent
    Patent/Anplication Number   Country   Filinw Date    and First Named Inventor
    7023978                     US        4/4/2006       TELEPHONE VOICE
                                                         MESSAGING SYSTEM AND
    (10/818817)                           (4/6/2004)     METHOD USING OFF-HOOK
                                                         IMMEDIATE TRIGGER

                                                         Quenton Lanny Gilbert
    6795530                     US        9/21/2004      SYSTEM AND METHOD FOR
                                                         CUSTOMIZED TELEPHONE
    (09/606062)                           (6/29/2000)    GREETING
                                                         ANNOUNCEMENTS

                                                         Lanny Gilbert
    RE42122                     US        2/8/2011       SYSTEM AND METHOD FOR
                                                         CUSTOMIZED TELEPHONE
    (11/971456)                           (1/9/2008)     GREETING
                                                         ANNOUNCEMENTS

                                                         Raymond J. Smets
    6792094                     US        9/14/2004      INTELLIGENT CALL
                                                         CONNECTION SERVICE
    (09/863477)                           (5/23/2001)
                                                         Mark Kirkpatrick
    6754323                     US        6/22/2004      ESTABLISHING A
                                                         CONFERENCE CALL FROM A
    (10/025722)                           (12/19/2001)   CALL-LOG

                                                         E-Lee Chang
    7363030                     US        4/2/2008       ESTABLISHING A
                                                         CONFERENCE CALL FROM A
    (10/852528)                           (5/24/2004)    CALL-LOG

                                                         Linda Ann Roberts
    6967951                     US        11/22/2005     SYSTEM FOR REORDERING
                                                         SEQUENCED BASED
    (10/044244)                           (1/11/2002)    PACKETS IN A SWITCHING
                                                         NETWORK

                                                         Vic Alfano
    7856011                     US        12/21/2010     Reordering packets

    (11/237482)                           (9/27/2005)    Vic Alfano
    8107377                     US        1/31/2012      Reordering packets

    (12/759221)                           (4/13/2010)    Vic Alfano




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                                                                 PATENT
                                                         REEL: 051463 FRAME: 0145
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                                          Issue Date/    Title of Patent
    Patent/Application Number   Country   Filing Date    and First Named Inventor
    8913618                     US        12/16/2014     Reordering packets

    (13/337717)                           (12/27/2011)   Vic Alfano
    6785534                     US        8/31/2004      PREPAID/POSTPAID
                                                         AUTOMATIC CHANGE OF
    (09/832011)                           (4/11/2001)    PAYMENT OPTION

                                                         Dara Ung
    6754716                     US        6/22/2004      RESTRICTING
                                                         COMMUNICATION BETWEEN
    (09/502155)                           (2/11/2000)    NETWORK DEVICES ON A
                                                         COMMON NETWORK

                                                         Rosen Sharma
    DE60037651.6                DE        1/2/2008       OPTICAL ADD/DROP
                                                         MULTIPLEXER
    (DE60037651.6)                        (2/4/2000)
                                                         Ari Tervonen
    FR1151567                   FR        1/2/2008       OPTICAL ADD/DROP
                                                         MULTIPLEXER
    (FR00903718.5)                        (2/4/2000)
                                                         Ari Tervonen
    GB1151567                   GB        1/2/2008       OPTICAL ADD/DROP
                                                         MULTIPLEXER
    (GB00903718.5)                        (2/4/2000)
                                                         Ari Tervonen
    6678080                     US        1/13/2004      OPTICAL ADD/DROP
                                                         MULTIPLEXER
    (09/923845)                           (8/7/2001)
                                                         Ari Tervonen
    7937081                     US        5/3/2011       RECOVERY TECHNIQUES IN
                                                         MOBILE NETWORKS
    (12/720862)                           (3/10/2010)
                                                         Heikki Juhani Einola
    8200211                     US        6/12/2012      RECOVERY TECHNIQUES IN
                                                         MOBILE NETWORKS
    (13/097709)                           (4/29/2011)
                                                         Heikki Juhani Einola
    8351924                     US        1/8/2013       RECOVERY TECHNIQUES IN
                                                         MOBILE NETWORKS
    (13/484583)                           (5/31/2012)
                                                         Heikki Juhani Einola
    8600372                     US        12/3/2013      RECOVERY TECHNIQUES IN
                                                         MOBILE NETWORKS
    (13/682230)                           (11/20/2012)




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                                                                 PATENT
                                                         REEL: 051463 FRAME: 0146
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                                          Issue Date/    Title of Patent
    Patent/Application Number   Country   Filing Date    and First Named Inventor

                                                         Heikki Juhani Einola
    8923846                     US        12/30/2014     RECOVERY TECHNIQUES IN
                                                         MOBILE NETWORKS
    (14/058473)                           (10/21/2013)
                                                         Heikki Juhani Einola
    9432842                     US        8/30/2016      RECOVERY TECHNIQUES IN
                                                         MOBILE NETWORKS
    (14/549714)                           (11/21/2014)
                                                         Heikki Juhani Einola
    9918222                     US        3/13/2018      RECOVERY TECHNIQUES IN
                                                         MOBILE NETWORKS
    (15/226422)                           (8/2/2016)
                                                         Heikki Juhani Einola
    6665495                     US        12/16/2003     NON-BLOCKING, SCALABLE
                                                         OPTICAL ROUTER
    (09/698666)                           (10/27/2000)   ARCHITECTURE AND
                                                         METHOD FOR ROUTING
                                                         OPTICAL TRAFFIC

                                                         Miles, Larry L.
    7145867                     US        12/5/2006      SYSTEM AND METHOD FOR
                                                         SLOT DELFECTION ROUTING
    (10/114564)                           (4/2/2002)
                                                         Aicklen, Gregory H.
    7184444                     US        2/27/2007      SYSTEM AND METHOD FOR
                                                         PACKET CLASSIFICATION
    (10/138760)                           (5/3/2002)
                                                         Posey, Nolan J. JR.
    7526203                     US        4/28/2009      Apparatus and method for optical
                                                         switching at an optical switch
    (10/659485)                           (9/10/2003)    fabric

                                                         Tamil, Lakshman S.
    7443790                     US        10/28/2008     System and method for slot
                                                         deflection routing at optical
    (11/368867)                           (3/6/2006)     router/switch

                                                         Aicklen, Gregory H.
    8116315                     US        2/14/2012      SYSTEM AND METHOD FOR
                                                         PACKET CLASSIFICATION
    (11/471149)                           (6/20/2006)
                                                         Posey, Nolan J. JR.




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                                                                 PATENT
                                                         REEL: 051463 FRAME: 0147
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                                        Issue Date/    Title of Patent
  Patent/Application Number   Country   Filing Date    and First Named Inventor
  7106697                     US        9/12/2006      METHOD FOR
                                                       DYNAMICALLY COMPUTING
  (10/114925)                           (4/3/2002)     A SWITCHING SCHEDULE

                                                       Robert E. Best
  7218637                     US        5/15/2007      System For Switching Data Using
                                                       Dynamic Scheduling
  (10/114928)                           (4/3/2002)
                                                       Robert E. Best
  7190900                     US        3/13/2007      System and method for
                                                       implementing dynamic
  (10/063301)                           (4/9/2002)     scheduling of data in a non-
                                                       blocking all-optical switching
                                                       network

                                                       Best, Robert E.
  7474853                     US        1/6/2009       NON-BLOCKING ALL-
                                                       OPTICAL SWITCHING
  (11/299889)                           (12/12/2005)   NETWORK DYNAMIC DATA
                                                       SCHEDULING SYSTEM AND
                                                       IMPLEMENTATION METHOD

                                                       Robert Best , Ramaswamy
                                                       Chandrasekaran
  7496033                     US        02/24/2009     Method for dynamically
                                                       computing a switching schedule
  (11/453755)                           (6/15/2006)
                                                       Robert Best
  7869427                     US        01/11/2011     SYSTEM FOR SWITCHING
                                                       DATA USING DYNAMIC
  (11/796682)                           (04/27/2007)   SCHEDULING

                                                       Robert E, Best
  7715712                     US        5/11/2010      SYSTEM AND METHOD FOR
                                                       IMPLEMENTING DYNAMIC
  (12/185198)                           (08/04/2008)   SCHEDULING OF DATA IN A
                                                       NON-BLOCKING ALL-
                                                       OPTICAL SWITCHING
                                                       NETWORK

                                                       Robert E. Best
  7124435                     US        10/17/2006     Information management system
                                                       and method
  (10/040933)                           (10/23/2001)
                                                       Philippe Richard




                                                               PATENT
                                                       REEL: 051463 FRAME: 0148
Case 1:21-cv-01323-CFC Document 1-1 Filed 09/17/21 Page 345 of 440 PageID #: 394


                                                    Issue Date/        Title of Patent
    Patent/Application Number         Country       Filing Date        and First Named Inventor
    7254709                           US            8/7/2007           Managed information
                                                                       transmission of electronic items in
    (10/699632)                                    (11/1/2003)         a network environment

                                                                       Philippe Richard
    8719326                           US            5/6/2014           Adaptive data transformation
                                                                       engine
    (11/188095)                                    (7/22/2005)
                                                                       Philippe Richard
    9230039                           US           1/5/2016            Adaptive data transformation
                                                                       engine
    (14/223936)                                    (3/24/2014)
                                                                       Philippe Richard
    6456242                           US           9/24/2002           CONFORMAL BOX ANTENNA

    (09/799411)                                    (3/5/2001)          James A. Crawford
    6433742                           US           8/13/2002           DIVERSITY ANTENNA
                                                                       STRUCTURE FOR WIRELESS
    (09/693465)                                    (10/19/2000)        COMMUNICATIONS

                                                                       CRAWFORD JAMES A
    6456245                          US            9/24/2002           CARD-BASED DIVERSITY
                                                                       ANTENNA STRUCTURE FOR
    (09/735977)                                    (12/13/2000)        WIRELESS
                                                                       COMMUNICATIONS

                                                                       James A. Crawford
    6438367                           US           8/20/2002           TRANSMISSION SECURITY
                                                                       FOR WIRELESS
    (09/710614)                                    (11/9/2000)         COMMUNICATIONS

                                                                       CRAWFORD JAMES A

        (b)     any future reissues, reexaminations, extensions, continuations, continuing
prosecution application, requests for continuing examinations, divisions, and registrations of any
of the Patents;

       (c)      rights to apply in any or all countries of the world for future patents, certificates of
invention, utility models, industrial design protections, design patent protections, or other future
governmental grants or issuances of any type related to the Patents; and

       (d)     causes of action and enforcement rights of any kind under, or on account of, any of
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including, without limitation, all causes of action, enforcement rights and all other rights to seek
and obtain any other remedies of any kind for past, current and future infringement.




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                                                                              PATENT
                                                                      REEL: 051463 FRAME: 0149
 Case 1:21-cv-01323-CFC Document 1-1 Filed 09/17/21 Page 346 of 440 PageID #: 395


          Assignor hereby authorizes the respective patent office..or governmental agency in each
  jurisdiction to issue:any and all future patents, certificatesof invention, utility models or other
  governmental grants or issuances that may be granted upon any. of the Assigned Patent Rights in
  the name of Assignee, as the assignee to the entire interest therein. This Assignrnent•:of Patent
  Rights will -inure for the benefit:of any-permitted successors or assigns of Assignee.

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  and proper,: to confirm the: assignment to Assignee of the Assigned Patent Rights pursuant to. this
  Assignment of Patent Rights, including withouthmitation, the execution, acknowledgment, and
  recordation of specific assignments, oaths, declarations, and other documents on a country-by--
  country basis, to assist Assignee in obtaining and perfecting the Assigned Patent Rights.

  INIkftNESS W.IfFAEOF this Assignment of Patent Rights is executed on            etkon..134c.,/c )0„.
  2019, to be effective onikielPtines tat E.

  ASSIGNOR:

  INTELLECTUAL VENTURES A!41',7S:135 LLC

  NotheCiwrenee     Froeber
  Title CFO




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                                                                           PATENT
RECORDED: 01/03/2020                                               REEL: 051463 FRAME: 0150
Case 1:21-cv-01323-CFC Document 1-1 Filed 09/17/21 Page 347 of 440 PageID #: 396




                       Exhibit W
                                      505845504       01/03/2020
         Case 1:21-cv-01323-CFC Document 1-1 Filed 09/17/21 Page 348 of 440 PageID #: 397
                             PATENT ASSIGNMENT COVER SHEET

Electronic Version v1.1                                                      EPAS ID: PAT5892440
Stylesheet Version v1.2

SUBMISSION TYPE:                      NEW ASSIGNMENT
NATURE OF CONVEYANCE:                 ASSIGNMENT

 CONVEYING PARTY DATA
                                      Name                              Execution Date
 INTELLECTUAL VENTURES ASSETS 135 LLC                                  11/15/2019


 RECEIVING PARTY DATA
 Name:                    COMMWORKS SOLUTIONS, LLC
 Street Address:          44 MILTON AVENUE
 Internal Address:        SUITE 254
 City:                    ALPHARETTA
 State/Country:           GEORGIA
 Postal Code:             30009


 PROPERTY NUMBERS Total: 46
          Property Type                      Number
 Patent Number:                   5210770
 Patent Number:                   5267271
 Patent Number:                   5452328
 Patent Number:                   5815526
 Patent Number:                   5991333
 Patent Number:                   7760792
 Patent Number:                   7457345
 Patent Number:                   7457348
 Patent Number:                   7924906
 Patent Number:                   7706247
 Patent Number:                   6710424
 Patent Number:                   6667967
 Patent Number:                   7555273
 Patent Number:                   6873686
 Patent Number:                   6985561
 Patent Number:                   7769374
 Patent Number:                   6650616
 Application Number:              12755012
 Application Number:              09584057

                                                                      PATENT
     505845504                                                REEL: 051534 FRAME: 0619
      Case 1:21-cv-01323-CFC Document 1-1 Filed 09/17/21 Page 349 of 440 PageID #: 398
        Property Type                          Number
Application Number:             11423847
Application Number:             11147853
Application Number:             11514294
Application Number:             10287109
Application Number:             11447279
Application Number:             11256618
Application Number:             11724311
Application Number:             60213827
Application Number:             60213396
Application Number:             60226108
Application Number:             60225943
Application Number:             09893362
Application Number:             13353787
Application Number:             60225888
Application Number:             60190646
Application Number:             09686598
Application Number:             11725192
Application Number:             12046610
Application Number:             60196095
Application Number:             15887481
Application Number:             10063268
Application Number:             60246821
Application Number:             10012240
Application Number:             60403873
Application Number:             60484885
Application Number:             10643734
Application Number:             60590489


CORRESPONDENCE DATA
Fax Number:                    (404)645-7707
Correspondence will be sent to the e-mail address first; if that is unsuccessful, it will be sent
using a fax number, if provided; if that is unsuccessful, it will be sent via US Mail.
Phone:                         4046457700
Email:                         docketing@mcciplaw.com
Correspondent Name:            LAWRENCE AARONSON
Address Line 1:                999 PEACHTREE STREET NE
Address Line 2:                SUITE 1300
Address Line 4:                ATLANTA, GEORGIA 30309

ATTORNEY DOCKET NUMBER:               11201-001GEN

                                                                             PATENT
                                                                     REEL: 051534 FRAME: 0620
       Case 1:21-cv-01323-CFC Document 1-1 Filed 09/17/21 Page 350 of 440 PageID #: 399
NAME OF SUBMITTER:                   LAWRENCE A. AARONSON
SIGNATURE:                           /Lawrence A. Aaronson/
DATE SIGNED:                         01/03/2020
Total Attachments: 9
source=IV 135 to CommWorks Solutions (Lapsed-Expired)#page1.tif
source=IV 135 to CommWorks Solutions (Lapsed-Expired)#page2.tif
source=IV 135 to CommWorks Solutions (Lapsed-Expired)#page3.tif
source=IV 135 to CommWorks Solutions (Lapsed-Expired)#page4.tif
source=IV 135 to CommWorks Solutions (Lapsed-Expired)#page5.tif
source=IV 135 to CommWorks Solutions (Lapsed-Expired)#page6.tif
source=IV 135 to CommWorks Solutions (Lapsed-Expired)#page7.tif
source=IV 135 to CommWorks Solutions (Lapsed-Expired)#page8.tif
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                                                                          PATENT
                                                                  REEL: 051534 FRAME: 0621
Case 1:21-cv-01323-CFC Document 1-1 Filed 09/17/21 Page 351 of 440 PageID #: 400

                                                                                       Exhibit B-1

                     ASSIGNMENT OF RIGHTS IN CERTAIN ASSETS

        For good and valuable consideration, the receipt of which is hereby acknowledged,
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interest in and to any and all of the following provisional patent applications, patent applications,
patents, and other governmental grants or issuances of any kind (the "Certain Assets"):

Inactive Patent(s) — (Abandoned; Lapsed; Expired)

  Patent/Application                       Issue Date/         Title of Patent
  Number                     Country.      Filing Date         and First Named Inventor

  (PCT/US2001/016291)        WO                                Globally accessible computer network-
                                           (5/18/2001)         based broadband communication
                                                               system with user-controllable quality
                                                               of information delivery and flow
                                                               priority

                                                               Ciscon, Larry

  5210770                    US            5/11/1993           MULTIPLE-SIGNAL SPREAD-
                                                               SPECTRUM TRANSCEIVER
  (07/766372)                              (9/27/1991)
                                                               Bart F. Rice

  5267271                    US            11/30/1993          Signal analysis technique for
                                                               determining a subject of binary
  (07/907358)                              (7/1/1992)          sequences most likely to have been
                                                               transmitted in a multi-node
                                                               communication network

                                                               Bart E, Rice

  5452328                    US           9/19/1995            Technique for generating sets of binary
                                                               spreading-code sequences for a high
  (08/100334)                             (7/30/1993)          data-rate spread-spectrum network

                                                               Bart F. Rice

  5815526                    US           9/29/1998            Signal comprising binary spreading-
                                                               code sequences
  (08/456077)                             (5/31/1995)
                                                               Bart F. Rice




                                                                            PATENT
                                                                    REEL: 051534 FRAME: 0622
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    Patent/Application             Issue Date/   Title of Patent
    Number               Country   Filing Date   and First Named Inventor

    5991333              US        11/23/1999    Spread-spectrum transceiver

    (09/113410)                    (7/10/1998)   Bart F. Rice

    7760792              US        7/20/2010     Spread spectrum electromagnetic
                                                 signals
    (09/759425)                    (1/12/2001)
                                                 Bart F. Rice

    7457345              US        11/25/2008    Spread-spectrum transceiver

    (10/873784)                    (6/21/2004)   Bart E. Rice

    7457348              US        11/25/2008    Spread-spectrum transceiver

    (11/468923)                    (8/31/2006)   Bart F. Rice

    7924906              US        4/12/2011     SPREAD-SPECTRUM RECEIVER

    (11/470967)                    (9/7/2006)    Bart F. Rice

    (12/755012)          US                      SPREAD SPECTRUM
                                                 TRANSCEIVER
                                   (4/6/2010)
                                                 Bart F. Rice

    7706247              US        4/27/2010     Frequency offset differential pulse
                                                 position modulation
    (11/504249)                    (8/14/2006)
                                                 Michael Mancusi

    (09/584057)          US                      PERSONALIZED MULTI-SERVICE
                                                 COMPUTER ENVIRONMENT
                                   (5/30/2000)
              •                                  Seth Elliott

    (11/423847)          US                      PERSONALIZED MULTI-SERVICE
                                                 COMPUTER ENVIRONMENT
                                   (6/13/2006)
                                                 Seth Elliott

    6710424              US        3/23/2004     RF CHIPSET ARCHITECTURE

    (09/962717)                    (9/21/2001)   Dominik J. Schmidt




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                                                              PATENT
                                                      REEL: 051534 FRAME: 0623
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    Patent/Application              Issue Date/   Title of Patent
    Number                Country   Filing Date   and First Named Inventor

    6667967               US        12/23/2003    HIGH-SPEED NETWORK OF
                                                  INDEPENDENTLY LINKED NODES
    (09/500887)                     (2/9/2000)
                                                  Richard H. Christensen

    (11/147853)           US                      SYSTEM AND METHOD FOR
                                                  DISTRIBUTING ADDRESSES
                                    (6/8/2005)
                                                  Keith R. Anderson

    (11/514294)           US                      NEIGHBORHOOD AREA
                                                  NETWORK WITH RING
                                    (8/31/2006)   BACKBONE TOPOLOGY

                                                  Keith R. Anderson

    FR2794311             FR        12/14/2007    BAND-PASS FILTER WITH
                                                  CARRIER FREQUENCY
    (FR9906710)                     (5/27/1999)   REDUCTION

                                                  MORCHE, Dominique

    GB1183777             GB        7/30/2003     BAND-PASS FILTER WITH
                                                  CARRIER FREQUENCY
    (GB00936952.1)                  (5/26/2000)   REDUCTION

                                                  MORCHE, Dominique

    111183777             IT        7/30/2003     BAND-PASS FILTER WITH
                                                  CARRIER FREQUENCY
    (1100936952.1)                  (5/26/2000)   REDUCTION

                                                  MORCHE, Dominique

    7555273               US --     6/30/2009     BAND-PASS FILTER WITH
                                                  CARRIER FREQUENCY
    (11/330275)                     (1/11/2006)   REDUCTION

                                                  MORCHE, Dominique

    (PCT/US2001/015840)   WO                      DOUBLE POWER-EYE SAFE
                                                  LASER OUTPUT
                                    (5/16/2001)
                                                  ALWAN JAMES J




3
                                                              PATENT
                                                      REEL: 051534 FRAME: 0624
Case 1:21-cv-01323-CFC Document 1-1 Filed 09/17/21 Page 354 of 440 PageID #: 403


    Patent/Application              Issue Date/    Title of Patent
    Number                Country   Filing Date    and First Named Inventor

    (10/287109)           US                       MULTI-CHANNEL OPTICAL
                                                   TRANSCEIVER
                                    (11/1/2002)
                                                   Scott H. Bloom

    (PCT/US2001/030144)   WO                       SYSTEMS & METHODS FOR
                                                   LEAST COST ROUTING OF LONG
                                    (9/27/2001)    DISTANCE OR INTERNATIONAL
                                                   TELEPHONE CALLS

                                                   Oussama Zbib

    (11/447279)           US                       SYSTEMS AND METHODS FOR
                                                   LEAST COST ROUTING OF LONG
                                    (6/6/2006)     DISTANCE OR INTERNATIONAL
                                                   TELEPHONE CALLS

                                                   Oussama Zbib

    (11/256618)           US                       TRACKING OF MOBILE
                                                   TERMINAL EQUIPMENT IN A
                                    (10/21/2005)   MOBILE COMMUNICATIONS
                                                   SYSTEM

                                                   TORKKI, Markus

    (PCT/US2002/012963)   WO                       AUDIO CALLING NAME SERVICE

                                    (4/26/2002)    WORSHAM JAMES A

    (11/724311)           US                       AUDIO CALLING NAME AND
                                                   NUMBER DELIVERY
                                    (3/15/2007)
                                                   WORSHAM JAMES A

    6873686               US        3/29/2005      NETWORK AND METHOD FOR
                                                   PROVIDING A CALLING NAME
    (09/634793)                     (8/9/2000)     TELECOMMUNICATIONS
                                                   SERVICE WITH AUTOMATIC
                                                   SPEECH RECOGNITION
                                                   CAPABILITY

                                                   Zeeman Zhang




4
                                                               PATENT
                                                       REEL: 051534 FRAME: 0625
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    Patent/Application              Issue Date/   Title of Patent
    Number                Country   Filing Date   and First Named Inventor

    (60/213827)           US                      Method of cross-promoting and
                                                  monetizing web sites by means of
                                    (6/23/2000)   audio advertisement

                                                  Brian Mark Shuster

    (60/213396)           US                      Method of delivering audio
                                                  commerical advertisements
                                    (6/23/2000)
                                                  Brian Mark Schuster

    (60/226108)           US                      Method and system of increasing user
                                                  response to audio advertisements on
                                    (8/17/2000)   the internet

                                                  Brian Mark Shuster

    (60/225943)           US                      Method and system of enhancing the
                                                  effectiveness of audio advertisements
                                    (8/17/2000)   on the internet

                                                  Brian Mark Shuster

    (09/893362)           US                      METHOD AND APPARATUS FOR
                                                  PROVIDING AUDIO
                                    (6/25/2001)   ADVERTISEMENTS IN A
                                                  COMPUTER NETWORK

                                                  Brian Mark Shuster

    (13/353787)           US                      METHOD AND APPARATUS FOR
                                                  PROVIDING AUDIO
        _   _ _   _ .._
                                    (1/19/2012)   ADVERTISEMENTS IN A
                                                  COMPUTER NETWORK

                                                  Brian Mark Shuster

    (60/225888)           US                      Application and method for
                                                  maximizing the value of bandwidth
                                    (8/17/2000)   usage on wide area networks

                                                  Gary Stephen Shuster

    (60/190646)           US                      SUBSCRIBER INFORMATION
                                                  SERVICE CENTER (SISC)
                                    (3/20/2000)



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                                                              PATENT
                                                      REEL: 051534 FRAME: 0626
Case 1:21-cv-01323-CFC Document 1-1 Filed 09/17/21 Page 356 of 440 PageID #: 405


    Patent/Application              Issue Date/    Title of Patent
    Number                Country   Filing Date    and First Named Inventor

                                                   Steven W. Smith

    (09/686598)           US                       SUBSCRIBER INFORMATION
                                                   SERVICE CENTER (SISC)
                                    (10/10/2000)
                                                   Steven W. Smith

    (PCT/US2002/015636)   WO                       Method and system for remote utilizing
                                                   a mobile device to share data objects
                                    (5/17/2002)
                                                   Richard A Pineau

    (EP02774105.7)        EP                       Method and system for remote utilizing
                                                   a mobile device to share data objects
                                    (5/17/2002)
                                                   Richard A Pineau

    (JP2003-500782)       JP                       METHOD AND SYSTEM FOR
                                                   REMOTE UTILIZING A MOBILE
                                    (5/17/2002)    DEVICE TO SHARE DATA
                                                   OBJECTS

                                                   Richard A Pineau

    (11/725192)           US                       WIDE AREA REAL-TIME
                                                   SOFTWARE ENVIRONMENT
                                    (3/15/2007)
                                                   Greg Lane

    (PCT/US2001/004776)   WO                       TELEPHONE VOICE MESSAGING
                                                   SYSTEM AND METHOD USING
                                    (2/15/2001)    OFF-HOOK IMMEDIATE TRIGGER

                                                   GILBERT QUENTON LANNY

    (CA2400388)           CA                       TELEPHONE VOICE MESSAGING
                                                   SYSTEM AND METHOD USING
                                    (2/15/2001)    OFF-HOOK IMMEDIATE TRIGGER

                                                   GILBERT QUENTON LANNY

    (EP01909237.8)        EP                       TELEPHONE VOICE MESSAGING
                                                   SYSTEM AND METHOD USING
                                    (2/15/2001)    OFF-HOOK IMMEDIATE TRIGGER

                                                   GILBERT QUENTON LANNY



6
                                                               PATENT
                                                       REEL: 051534 FRAME: 0627
Case 1:21-cv-01323-CFC Document 1-1 Filed 09/17/21 Page 357 of 440 PageID #: 406


    Patent/Application              Issue Date/    Title of Patent
    Number                Country   Filing Date    and First Named Inventor

    6985561               US        1/10/2006      SYSTEM AND METHOD FOR
                                                   CUSTOMIZED TELEPHONE
    (10/853642)                     (5/26/2004)    GREETING ANNOUNCEMENTS

                                                   Raymond J. Smets

    (PCT/US2002/040139)   WO                       ESTABLISHING A CONFERENCE
                                                   CALL FROM A CALL-LOG
                                    (12/13/2002)
                                                   CHANG E-LEE

    (12/046610)           US                       ESTABLISHING A CONFERENCE
                                                   CALL FROM A CALL-LOG
                                    (3/12/2008)
                                                   Linda Ann Roberts

    (60/196095)           US                       Prepaid/postpaid automatic change of
                                                   payment option
                                    (4/11/2000)
                                                   Dara Ung

    FI4119                FI        8/31/1999      Optical add/drop multiplexer

    (FI990238)                      (2/8/1999)     Ari Teryonen

    (PCT/FI2000/000082)   WO                       OPTICAL ADD/DROP
                                                   MULTIPLEXER
                                    (2/4/2000)
                                                   Ari Tervonen

    EP1151567             EP        1/2/2008       OPTICAL ADD/DROP
                                                   MULTIPLEXER
    (EP00903718.5)                  (2/4/2000)
                                                   Ari Teryonen

    7769374               US        8/3/2010       RECOVERY TECHNIQUES IN
                                                   MOBILE NETWORKS
    (09/802861)                     (3/12/2001)
                                                   Heikki Juhani Einola

    (15/887481)           US                       RECOVERY TECHNIQUES IN
                                                   MOBILE NETWORKS
                                    (2/2/2018)
                                                   Heikki Juhani Einola




7
                                                               PATENT
                                                       REEL: 051534 FRAME: 0628
Case 1:21-cv-01323-CFC Document 1-1 Filed 09/17/21 Page 358 of 440 PageID #: 407


    Patent/Application              Issue Date/    Title of Patent
    Number                Country   Filing Date    and First Named Inventor

    (10/063268)           US                       System and method for implementing
                                                   dynamic scheduling of data in a non-
                                    (4/4/2002)     blocking all-optical switching network

                                                   Robert E. Best

    (60/246821)           US                       Method and system for passing
                                                   business objects
                                    (11/7/2000)
                                                   Marc Asheghian

    (10/012240)           US                       Method and system for passing
                                                   business objects
                                    (11/5/2001)
                                                   Philippe Richard

    (60/403873)           US                       MANAGED INFORMATION
                                                   TRANSMISSION IN A NETWORK
                                    (8/16/2002)    ENVIRONMENT

                                                   Phillippe Richard

    (60/484885)           US                       MANAGED INFORMATION
                                                   TRANSMISSION OF ELECTRONIC
                                    (7/3/2003)     MAIL IN A NETWORK
                                                   ENVIRONMENT

                                                   Phillippe Richard

    (10/643734)           US                       Managed information transmission of
                                                   electronic items in a network
                                    (8/18/2003)    environment

                                                   Phillippe Richard

    (60/590489)           US                       Adaptive data transformation engine

                                    (7/22/2004)    Phillippe Richard

    (PCT/US2001/032613)   WO                       DIVERSITY ANTENNA
                                                   STRUCTURE FOR WIRELESS
                                    (10/18/2001)   COMMUNICATIONS

                                                   CRAWFORD JAMES A




8
                                                               PATENT
                                                       REEL: 051534 FRAME: 0629
 Case 1:21-cv-01323-CFC Document 1-1 Filed 09/17/21 Page 359 of 440 PageID #: 408


      Patent/Application                     Issue Date/         Title of Patent
      Number                   Country       Filing Date         and First Named inventor

      (PCTIUS2001/0446 9) W()                                    CARD-BASED DIVERSITY
                                                                 ANTENNA STRUCTURE FOR
                                             0 1/27/2001)        wirREL.FSS COMMUNICATIONS
                                                                 James. A. Crawford.
      (PCT/US2001/0471SY) WO                                     TRANSMISSION SECURITY FOR
                                                                 WIRELESS COMMUNICATIONS.
                                             00/3012001)
                                                                 CRAWFORD JAMES A
      TWI171699                TW            1/11/200            Transmission security for wireless
                                                                 communications
      (1W090127391)                          (01/5/2001)
                                                                 CRAWFORD JAMES A

      6650616                                11/1V2003           TRANSMISSION SECURITY FOR.
                                                                 WIRELESS COMMUNICATIONS
      (10/178207)                            (6124/2002)
                                                                 James:A, Crawford

          Assignor assigns to Assignee all of its rights to the inventions, invention disclosures, and
  discoveries in the assets listed above, together, with its rights, Warty, to revive prosecution of
  claims under such assets and to sue or otherwise enforce any claims under such assets for past,
  present or future infringement.

          Assignor hereby authorizes the respective patent office or governmental agency in each
  jurisdiction to make available to Assignee all records regarding the Certain Assets.

          The terms and conditions of this Assignment of Rights. in Certain Assets will inure to the
  berrefitbf Assignee, its successors, assigns, and other legal. representatives and will be binding.
  upon Assignor, its successors, assigns, and other legal representatives.

          EXECUTED this eay of A,itatediew6ei.                 2019, to be effective as of
            t•eAr             „ 2014'.

  AS$1GNOR:

   NTELLECTijAk VENTURES ASSE114135•LLC
             /
  By:      /
  Name: Lawrence Froeber
  •Fitle: CFO




  9
                                                                            PATENT
RECORDED: 01/03/2020                                                REEL: 051534 FRAME: 0630
Case 1:21-cv-01323-CFC Document 1-1 Filed 09/17/21 Page 360 of 440 PageID #: 409




                        Exhibit X
                                      505845403       01/03/2020
         Case 1:21-cv-01323-CFC Document 1-1 Filed 09/17/21 Page 361 of 440 PageID #: 410
                             PATENT ASSIGNMENT COVER SHEET

Electronic Version v1.1                                                      EPAS ID: PAT5892339
Stylesheet Version v1.2

SUBMISSION TYPE:                      NEW ASSIGNMENT
NATURE OF CONVEYANCE:                 ASSIGNMENT

 CONVEYING PARTY DATA
                                      Name                              Execution Date
 INTELLECTUAL VENTURES ASSETS 130 LLC                                  11/15/2019


 RECEIVING PARTY DATA
 Name:                    COMMWORKS SOLUTIONS, LLC
 Street Address:          44 MILTON AVENUE
 Internal Address:        SUITE 254
 City:                    ALPHARETTA
 State/Country:           GEORGIA
 Postal Code:             30009


 PROPERTY NUMBERS Total: 35
          Property Type                      Number
 Patent Number:                   7050962
 Patent Number:                   7266490
 Patent Number:                   7289456
 Patent Number:                   6975622
 Patent Number:                   7477703
 Patent Number:                   6975855
 Patent Number:                   6341221
 Patent Number:                   7555014
 Application Number:              60193169
 Application Number:              10158772
 Application Number:              11557057
 Application Number:              11557053
 Application Number:              13766960
 Application Number:              60380425
 Application Number:              10437129
 Application Number:              60557954
 Application Number:              10816481
 Application Number:              11076738
 Application Number:              11095349

                                                                      PATENT
     505845403                                                REEL: 051407 FRAME: 0106
       Case 1:21-cv-01323-CFC Document 1-1 Filed 09/17/21 Page 362 of 440 PageID #: 411
         Property Type                          Number
 Application Number:             60747409
 Application Number:             15935928
 Application Number:             60614609
 Application Number:             60121552
 Application Number:             60139471
 Application Number:             60485880
 Application Number:             60229317
 Application Number:             10681562
 Application Number:             10542183
 Application Number:             60299454
 Application Number:             60193402
 Application Number:             10225457
 Application Number:             10378068
 Application Number:             60225603
 Application Number:             11741894
 Application Number:             60224031


 CORRESPONDENCE DATA
 Fax Number:                    (404)645-7707
 Correspondence will be sent to the e-mail address first; if that is unsuccessful, it will be sent
 using a fax number, if provided; if that is unsuccessful, it will be sent via US Mail.
 Phone:                         4046457700
 Email:                         docketing@mcciplaw.com
 Correspondent Name:            LAWRENCE AARONSON
 Address Line 1:                999 PEACHTREE STREET NE
 Address Line 2:                SUITE 1300
 Address Line 4:                ATLANTA, GEORGIA 30309

ATTORNEY DOCKET NUMBER:                11201-001GEN
NAME OF SUBMITTER:                     LAWRENCE A. AARONSON
SIGNATURE:                             /Lawrence A. Aaronson/
DATE SIGNED:                           01/03/2020
Total Attachments: 14
source=IV 130 to CommWorks Solutions (Lapsed-Expired)#page1.tif
source=IV 130 to CommWorks Solutions (Lapsed-Expired)#page2.tif
source=IV 130 to CommWorks Solutions (Lapsed-Expired)#page3.tif
source=IV 130 to CommWorks Solutions (Lapsed-Expired)#page4.tif
source=IV 130 to CommWorks Solutions (Lapsed-Expired)#page5.tif
source=IV 130 to CommWorks Solutions (Lapsed-Expired)#page6.tif
source=IV 130 to CommWorks Solutions (Lapsed-Expired)#page7.tif
source=IV 130 to CommWorks Solutions (Lapsed-Expired)#page8.tif
source=IV 130 to CommWorks Solutions (Lapsed-Expired)#page9.tif

                                                                              PATENT
                                                                      REEL: 051407 FRAME: 0107
       Case 1:21-cv-01323-CFC Document 1-1 Filed 09/17/21 Page 363 of 440 PageID #: 412
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source=IV 130 to CommWorks Solutions (Lapsed-Expired)#page11.tif
source=IV 130 to CommWorks Solutions (Lapsed-Expired)#page12.tif
source=IV 130 to CommWorks Solutions (Lapsed-Expired)#page13.tif
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                                                                           PATENT
                                                                   REEL: 051407 FRAME: 0108
Case 1:21-cv-01323-CFC Document 1-1 Filed 09/17/21 Page 364 of 440 PageID #: 413

                                                                                     Exhibit B-2
                     ASSIGNMENT OF RIGHTS IN CERTAIN ASSETS

        For good and valuable consideration, the receipt of which is hereby acknowledged,
Intellectual Ventures Assets 130 LLC, a Delaware limited liability company, with an address at
251 Little Falls Drive, Wilmington, DE 19808 ("Assignor"), does hereby sell, assign, transfer, and
convey unto CommWorks Solutions, LLC, a Georgia limited liability company with an address at
44 Milton Avenue, Suite 254, Alpharetta, GA 30009 ("Assignee"), its right, title, and interest in
and to any and all of the following provisional patent applications, patent applications, patents,
and other governmental grants or issuances of any kind (the "Certain Assets"):

Inactive Patent(s) — (Abandoned; Lapsed; Expired)

  Patent/Application                     Issue Date/        Title of Patent
  Number                    Country      Filing Date        and First Named Inventor

  EP1150530                 EP           6/28/2006          Mobile network system and service
                                                            control information changing method
  (EP01102111.0)                         (1/31/2001)
                                                            KAKEMIZU MITSUAKI (JP)

  SE1150530                 SE           6/28/2006          Mobile network system and service
                                                            control information changing method
  (SE01102111.0)                         (1/31/2001)
                                                            KAKEMIZU MITSUAKI (JP)

  (60/193169)               US                              Method for connecting a hardware
                                         (3/28/2000)        emulator to a network

                                                            Robert M. Zeidman

  7050962                   US           5/23/2006          Method for connecting a hardware
                                                            emulator to a network
  (09/751573)                       '    (12/28/2000)
                                                            Robert M. Zeidman

  7266490                   US           9/4/2007           Apparatus and method for connecting
                                                            hardware to a circuit simulation
  (10/158648)                            (5/31/2002)
                                                            Robert Marc Zeidman

  (10/158772)              US                               Apparatus and method for connecting a
                                                            hardware emulator to a computer
                                        (5/31/2002)         peripheral

                                                            Robert Marc Zeidman

 (11/557057)               US                               APPARATUS AND METHOD FOR
                                                            CONNECTING A HARDWARE
                                        (11/6/2006)         EMULATOR TO A COMPUTER
                                                            PERIPHERAL

                                             1
                                                                          PATENT
                                                                  REEL: 051407 FRAME: 0109
    Case 1:21-cv-01323-CFC Document 1-1 Filed 09/17/21 Page 365 of 440 PageID #: 414


     Patent/Application              Issue Date/    Title of Patent
     Number                Country   Filing Date    and First Named Inventor

                                                    Robert Marc Zeidman

     (11/557053)           US                       SYSTEM AND METHOD FOR
                                                    CONNECTING A LOGIC CIRCUIT
                                     (11/6/2006)    SIMULATION TO A NETWORK

                                                    Robert M. Ziedman

     (13/766960)           US                       CONVEYING DATA FROM A
                                                    HARDWARE DEVICE TO A
                                     (2/14/2013)    CIRCUIT SIMULATION

                                                    Robert Marc Zeidman

     (60/380425)           US                       Low cost, minimal software footprint,
                                                    self configuring, ad hoc, autonomic
                                     (5/13/2002)    networking apparatus and method of
                                                    use

                                                    Michael P. Nova

     (10/437129)           US                       SYSTEMS AND METHODS FOR
                                                    ROUTING PACKETS IN A WIRED
                                     (5/13/2003)    OR WIRELESS NETWORK

                                                    Michael P. Nova

     (PCT/US2003/034799)   WO                       SYSTEM AND METHOD FOR
                                                    ROUTING PACKETS IN A WIRED
                                     (10/31/2003)   OR WIRELESS NETWORK

                                                    GILLIES DONALD W

     (CN200380110363.0)    •CN                      System and method for routing packets
                                                    in a wired or wireless network
                                     (10/31/2003)
                                                    GILLIES DONALD W WANG
                                                    WEILIN N

     (EP03778062.4)        EP                       SYSTEM AND METHOD FOR
                                                    ROUTING PACKETS IN A WIRED
                                     (10/31/2003)   OR WIRELESS NETWORK

                                                    GILLIES DONALD W




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                                                                  PATENT
                                                          REEL: 051407 FRAME: 0110
    Case 1:21-cv-01323-CFC Document 1-1 Filed 09/17/21 Page 366 of 440 PageID #: 415


     Patent/Application              Issue Date/    Title of Patent
     Number                Country   Filing Date    and First Named Inventor

     (PCT/US2003/034884)   WO                       SYSTEM AND METHOD FOR
                                                    BOUNDRY SCAN TEST OF A
                                     (10/31/2003)   WIRED OR WIRELESS NETWORK

                                                    NOVA MICHAEL P

     (CN200380110362.6)    CN                       SYSTEM AND METHOD FOR
                                                    BOUNDRY SCAN TEST OF WIRED
                                     (10/31/2003)   OR WIRELESS NETWORK

                                                    GILLIES DONALD W WANG
                                                    WEILIN N

     (EP03778075.6)        EP                       SYSTEM AND METHOD FOR
                                                    BOUNDRY SCAN TEST OF WIRED
                                     (10/31/2003)   OR WIRELESS NETWORK

                                                    WANG WEILIN

     (60/557954)           US                       Broadband applications for wireless
                                                    mesh networks
                                     (3/31/2004)
                                                    Weilin Wang

     (10/816481)           US                       Systems and methods for congestion
                                                    control in a wireless mesh network
                                     (4/1/2004)
                                                    Michael P. Nova

     (11/076738)           US                       Distributed TDMA for wireless mesh
                                                    network
                                     (3/9/2005)
                                                    Weilin Wang

     (11/095349)           US                       SYSTEMS AND METHODS FOR
                                                    BROADBAND DATA
                                     (3/31/2005)    COMMUNICATION IN A
                                                    WIRELESS MESH NETWORK

                                                    Weilin Wang

     (60/747409)           US                       Distributed Multi-Channel TDMA
                                                    MAC for Wireless Mesh Networks
                                     (5/16/2006)
                                                    Xudong Wang




3
                                                                  PATENT
                                                          REEL: 051407 FRAME: 0111
    Case 1:21-cv-01323-CFC Document 1-1 Filed 09/17/21 Page 367 of 440 PageID #: 416


     Patent/Application              Issue Date/   Title of Patent
     Number                Country   Filing Date   and First Named Inventor

     (PCT/US2007/069031)   WO                      DISTRIBUTED MULTICHANNEL
                                                   WIRELESS COMMUNICATION
                                     (5/16/2007)
                                                   GUI CHAO

     (PCT/US2007/070225)   WO                      SYSTEM AND METHOD FOR
                                                   TRANSPARENT WIRELESS
                                     (6/1/2007)    BRIDGING OF COMMUNICATION
                                                   CHANNEL SEGMENTS

                                                   RIMMER JAMES

     (15/935928)           US                      SCALABLE MEDIA ACCESS
                                                   CONTROL FOR MULTI-HOP HIGH
                                     (3/26/2018)   BANDWIDTH COMMUNICATIONS

                                                   Weilin Wang

     7289456               US        10/30/2007    Determining and provisioning paths
                                                   within a network of communication
     (10/118187)                     (4/8/2002)    elements

                                                   Gupta, Sanyogita

     (60/614609)           US                      Modeling of topology connectivity
                                                   map for efficient layer 1 routing
                                     (9/30/2004)
                                                   Sanyogita Gupta

     (PCT/US2005/034418)   WO                      Determining and provisioning paths in
                                                   a network
                                     (9/28/2005)
                                                   Sanyogita Gupta

     EP1797670             EP   _    11/22/2017    Determining and provisioning paths in
                                                   a network
     (EP05857725.5)                  (9/28/2005)
                                                   Sanyogita Gupta

     (60/121552)           US                      Adaptive mobility-aware signaling for
                                                   wireless IP telephony
                                     (2/25/1999)
                                                   Agrawal, Prathima

     (PCT/US2000/004629)   WO        (2/24/2000)   Adaptive signaling and mobility for
                                                   wireless telephony



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                                                                 PATENT
                                                         REEL: 051407 FRAME: 0112
    Case 1:21-cv-01323-CFC Document 1-1 Filed 09/17/21 Page 368 of 440 PageID #: 417


     Patent/Application              Issue Date/   Title of Patent
     Number                Country   Filing Date   and First Named Inventor

                                                   Agrawal, Prathima

     (60/139471)           US                      PCS-to-mobile IP internetworking

                                     (6/16/1999)   Chang, Li-Fung

     (PCT/US2000/014059)   WO                      ACTIVE LINK LAYER AND
                                                   INTRA-DOMAIN MOBILITY FOR
                                     (5/22/2000)   IP NETWORKS

                                                   AGRAWAL PRATHIMA

     (60/485880)           US                      Enhanced Phone-Based Collaboration

                                     (7/8/2003)    Korycki, Jacek

     6975622               US        12/13/2005    Enhanced Phone-Based Collaboration

     (10/756526)                     (1/13/2004)   Korycki, Jacek

     (PCT/US2004/021407)   WO                      Enhanced Phone-Based Collaboration

                                     (7/2/2004)    Korycki, Jacek

     SE522377              SE        2/3/2004      Device for transmitting data and
                                                   control commands via radio
     (SE0001148-6)                   (3/31/2000)   connections in a distributed control
                                                   system for one or more machines
                                                   and/or processes

                                                   Fredriksson, Lars-Berno

    (PCT/SE2001/000423)    WO                      Device for transmitting data and
                                                   control commands via radio
                                     (2/27/2001)   connections in a distributed control
                                                   system for one or more machines
                                                   and/or processes

                                                   Fredriksson, Lars-Berno

    EP 1269688             EP        12/21/2011    Device for transmitting data and
                                                   control commands via radio
    (EP01910283.9)                   (2/27/2001)   connections in a distributed control
                                                   system for one or more machines
                                                   and/or processes

                                                   Fredriksson, Lars-Berno

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                                                                 PATENT
                                                         REEL: 051407 FRAME: 0113
    Case 1:21-cv-01323-CFC Document 1-1 Filed 09/17/21 Page 369 of 440 PageID #: 418


     Patent/Application              Issue Date/   Title of Patent
     Number                Country   Filing Date   and First Named Inventor

     DE60145827.3          DE        12/21/2011    Device for transmitting data and
                                                   control commands via radio
     (DE60145827.3)                  (2/27/2001)   connections in a distributed control
                                                   system for one or more machines
                                                   and/or processes

                                                   Fredriksson, Lars-Berno

     FR1269688             FR        12/21/2011    Device for transmitting data and
                                                   control commands via radio
     (FR01910283.9)                  (2/27/2001)   connections in a distributed control
                                                   system for one or more machines
                                                   and/or processes

                                                   Fredriksson, Lars-Berno

     GB1269688             GB        12/21/2011    Device for transmitting data and
                                                   control commands via radio
     (GB01910283.9)                  (2/27/2001)   connections in a distributed control
                                                   system for one or more machines
                                                   and/or processes

                                                   Fredriksson, Lars-Berno

     (60/229317)           US                      Personal digital assistant based
                                                   communication system
                                     (8/30/2000)
                                                   Bloomfield, Mark C.

     (PCT/US2001/023402)   WO                      Personal digital assistant facilitated
                                                   communication system
                                     (7/26/2001)
                                                   Bloomfield, Mark C.

     (10/681562) _         US                      Personal digital assistant facilitated
                                                   communication system
                                     (10/8/2003)
                                                   Bloomfield, Mark C.

     (PCT/US1997/018071)   WO                      Unable to verify

                                     (10/7/1997)   Unable to Verify

    (PCT/US2004/000860)    WO                      Time based wireless access
                                                   provisioning
                                     (1/13/2004)
                                                   Roskind, James A.

6
                                                                  PATENT
                                                          REEL: 051407 FRAME: 0114
    Case 1:21-cv-01323-CFC Document 1-1 Filed 09/17/21 Page 370 of 440 PageID #: 419


     Patent/Application                Issue Date/    Title of Patent
     Number                Country     Filing Date    and First Named Inventor

     (10/542183)           US                         Time based wireless access
                                                      provisioning
                                       (7/13/2005)
                                                      Roskind, James

     (60/299454)           US                         Client device identification when
                                                      communicating through a network
                                       (6/21/2001)    address translator device

                                                      Rodriguez-Val, Richard

     (EP01912047.6)        EP                         Apparatus, and associated method, for
                                                      routing packet data in an ad hoc,
                                       (3/13/2001)    wireless communication system

                                                      Van Valkenburg, Sander

     (PCT/IB2001/000352)   WO                         Apparatus, and associated method, for
                                                      routing packet data in an ad hoc,
                                       (3/13/2001)    wireless communication system

                                                      Van Valkenburg, Sander

     FI112565              F1          2003-12-       METHOD AND RADIO SYSTEM
                                       15Salesforce   FOR DIGITAL SIGNAL
     (FI20000406)                                     TRANSMISSION
                                       (2/22/2000)
                                                      HOTTINEN,ARI

     (60/193402)           US                         Class of space-time block codes for
                                                      more than two transmit antennas
                                       (3/29/2000)
                                                      Boariu, Adrian

     (FI20001944)          FI    ' -                  Method and arrangement for digital
                                                      signal transmission
                                       (9/4/2000)
                                                      Tirkkonen, Olav

     (PCT/FI2000/000916)   WO                         Method and arrangement for digital
                                                      signal transmission
                                       (10/23/2000)
                                                      Tirkkonen, Olav

     EP1336268             EP          7/23/2014      Method and arrangement for digital
                                                      signal transmission
    (EP00969617.0)                     (10/23/2000)

7
                                                                    PATENT
                                                            REEL: 051407 FRAME: 0115
Case 1:21-cv-01323-CFC Document 1-1 Filed 09/17/21 Page 371 of 440 PageID #: 420


 Patent/Application              Issue Date/    Title of Patent
 Number                Country   Filing Date    and First Named Inventor

                                                Tirkkonen, Olav

 DE60048671.0          DE        7/23/2014      Method and arrangement for digital
                                                signal transmission
 (DE60048671.0)                  (10/23/2000)
                                                Tirkkonen, Olav

 FR11336268            FR        7/23/2014      Method and arrangement for digital
                                                signal transmission
 (FR00969617.0)                  (10/23/2000)
                                                Tirkkonen, Olav

 GB1336268             GB        7/23/2014      Method arid arrangement for digital
                                                signal transmission
 (GB00969617.0)                  (10/23/2000)
                                                Tirkkonen, Olav

 (FI20002845)          FI                       Transmitting digital signal
                                 (12/22/2000)
                                                Tirkkonen, Olav

 (PCT/FI2001/000166)   WO                       Method and radio system for digital
                                 (2/20/2001)    signal transmission

                                                Tirkkonen, Olav

 (EP01911785.2)        EP                       Method and radio system for digital
                                 (2/20/2001)    signal transmission

                                                Tirkkonen, Olav

 (F120011.35.7)        FI                       Transmitting digital signal
                                 (6/25/2001)
                  ,_                            Tirkkonen, Olav

 (PCT/FI2001/001133)   WO                       Transmitting digital signal
                                 (12/19/2001)
                                                Tirkkonen, Olav

 EP1350354             EP        9/20/2006      Transmitting digital signal

 (EP01273305.1)                  (12/19/2001)   Tirkkonen, Olav

 (PCT/FI2002/000553)   WO                       Transmission method
                                 (6/24/2002)
                                                Tirkkonen, Olav



                                                              PATENT
                                                      REEL: 051407 FRAME: 0116
    Case 1:21-cv-01323-CFC Document 1-1 Filed 09/17/21 Page 372 of 440 PageID #: 421


     Patent/Application               Issue Date/       Title of Patent
     Number                 Country   Filing Date       and First Named Inventor

     EP1405453              EP        1/2/2013          Transmission method

     (EP02743313.5)                   (6/24/2002)       Tirkkonen, Olav

     (10/225457)            US                          Method and radio system for digital
                                                        signal transmission
                                      (8/22/2002)
                                                        Ari Hottinen

     (10/378068)            US                          Method and arrangement for digital
                                                        signal transmission
                                      (3/4/2003)
                                                        Tirkkonen, Olav

     7477703                US        1/13/2009         Method and radio system for digital
                                                        signal transmission using complex
     (11/070717)                      (3/2/2005)        space-time codes

                                                        Tirkkonen, Olav

     (MX03009987)           MX                          RFID system and method for ensuring
                                                        safety of hazardous or dangerous
                                      (10/31/2003)      substances

                                                        Reade, Walter Caswell

     FI106507               Fl        2/15/2001         PROCESSING OF DATA MESSAGE
                                                        IN A NETWORK ELEMENT OF A
     (FI980824)                       (4/9/1998)        COMMUNICATIONS NETWORK

                                                        LEHTINEN PEKKA

     (PCT/FI-1999/000300)   WO -                        PROCESSING OF DATA MESSAGE
                                                        IN A NETWORK ELEMENT OF A
                                      (4/9/1999)        COMMUNICATIONS NETWORK

                                                        LEHTINEN PEKKA

     FI108604               FI        2/15/2002         METHOD FOR MANAGING
                                                    '   MOBILE STATION FACILITIES
     (FI990963)                       (4/28/1999)
                                                        Wallenius, Jukka

     (PCT/FI2000/000359)    WO                          METHOD FOR MANAGING
                                                        MOBILE STATION FACILITIES
                                      (4/26/2000)
                                                        Wallenius, Jukka


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                                                                      PATENT
                                                              REEL: 051407 FRAME: 0117
 Case 1:21-cv-01323-CFC Document 1-1 Filed 09/17/21 Page 373 of 440 PageID #: 422


     Patent/Application              Issue Date/   Title of Patent
     Number                Country   Fi1ini Date   and First Named Inventor

     (EP00920786.1)        EP                      METHOD FOR MANAGING
                                                   MOBILE STATION FACILITIES
                                     (4/26/2000)
                                                   Wallenius, Jukka

     6975855               US        12/13/2005    Method for managing mobile station
                                                   facilities
     (09/958065)                     (4/26/2000)
                                                   Wallenius, Jukka

     FI108979              FI        4/30/2002     INITIATING A CONTROLLING
                                                   SERVICE
     (FI991360)                      (6/14/1999)
                                                   Tuunanen, Heikki

     (PCT/F12000/000530)   WO                      INITIATING A CONTROLLING
                                                   SERVICE
                                     (6/13/2000)
                                                   Tuunanen, Heikki

     EP1192811             EP        7/29/2009     CALL SET-UP CONTROL IN AN
                                                   INTELLIGENT NETWORK BY
     (EP00942154.6)                  (6/13/2000)   CONDITIONAL INITIATION OF
                                                   MORE THAN ONE CONTROLLING
                                                   SERVICE

                                                   Tuunanen, Heikki

     FR1192811             FR        7/29/2009     CALL SET-UP CONTROL IN AN
                                                   INTELLIGENT NETWORK BY
     (FR00942154.6)                  (6/13/2000)   CONDITIONAL INITIATION OF
                                                   MORE THAN ONE CONTROLLING
                                                   SERVICE

                                                   Tuunanen, Heikki

     (JP2001-504184)       JP                      INITIATING A CONTROLLING
                                                   SERVICE
                                     (6/13/2000)
                                                   Tuunanen, Heikki

     FI1 09506             FI        8/15/2002     A METHOD OF MANAGING A
                                                   SUBSCRIBER SERVICE BY
     (FI981113)                      (5/9/1998)    MEANS OF AN INTELLIGENT
                                                   NETWORK SERVICE

                                                   Huotari, Seppo

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                                                                 PATENT
                                                         REEL: 051407 FRAME: 0118
 Case 1:21-cv-01323-CFC Document 1-1 Filed 09/17/21 Page 374 of 440 PageID #: 423


     Patent/Application                 Issue Date/   Title of Patent
     Number                  Country    Filing Date   and First Named Inventor

     (PCT/FI 1 999/000430)   WO                       A METHOD OF MANAGING A
                                                      SUBSCRIBER SERVICE BY
                                        (5/18/1999)   MEANS OF AN INTELLIGENT
                                                      NETWORK SERVICE

                                                      Huotari, Seppo

     CNZL99806247.2          CN         2/18/2004     A METHOD OF MANAGING A
                                                      SUBSCRIBER SERVICE BY
     (CN99806247.2)                     (5/18/1999)   MEANS OF AN INTELLIGENT
                                                      NETWORK SERVICE

                                                      Huotari, Seppo

     EP1080587               EP         11/22/2006    A METHOD OF MANAGING A
                                                      SUBSCRIBER SERVICE BY
     (EP99952144.6)                     (5/18/1999)   MEANS OF AN INTELLIGENT
                                                      NETWORK SERVICE

                                                      HUOTARI SEPPO

     DE69934114.0            DE         11/22/2006    A METHOD OF MANAGING A
                                                      SUBSCRIBER SERVICE BY
     (DE69934114.0)                     (5/18/1999)   MEANS OF AN INTELLIGENT
                                                      NETWORK SERVICE

                                                      Huotari, Seppo

     ES1080587               ES         11/22/2006    A METHOD OF MANAGING A
                                                      SUBSCRIBER SERVICE BY
     (ES99952144.6)                     (5/18/1999)   MEANS OF AN INTELLIGENT
                                                      NETWORK SERVICE

                                                      Huotari, Seppo

     FR1080587               FR         11/22/2006    A METHOD OF MANAGING A
                                                      SUBSCRIBER SERVICE BY
     (FR99952144.6)                --   (5/18/1999)   MEANS OF AN INTELLIGENT
                                                      NETWORK SERVICE

                                                      Huotari, Seppo

     GB1080587               GB         11/22/2006    A METHOD OF MANAGING A
                                                      SUBSCRIBER SERVICE BY
     (GB99952144.6)                     (5/18/1999)   MEANS OF AN INTELLIGENT
                                                      NETWORK SERVICE


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                                                                   PATENT
                                                           REEL: 051407 FRAME: 0119
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     Patent/Application                Issue Date/    Title of Patent
     Number                Country     Filing Date    and First Named Inventor

                                                      Huotari, Seppo

     IT1080587             IT          11/22/2006     A METHOD OF MANAGING A
                                                      SUBSCRIBER SERVICE BY
     (IT99952144.6)                    (5/18/1999)    MEANS OF AN INTELLIGENT
                                                      NETWORK SERVICE

                                                      Huotari, Seppo

     NL1080587             NL          11/22/2006     A METHOD OF MANAGING A
                                                      SUBSCRIBER SERVICE BY
     (NL99952I44.6)                    (5/18/1999)    MEANS OF AN INTELLIGENT
                                                      NETWORK SERVICE

                                                      Huotari, Seppo

     SE1080587             SE          11/22/2006     A METHOD OF MANAGING A
                                                      SUBSCRIBER SERVICE BY
     (SE99952144.6)                    (5/18/1999)    MEANS OF AN INTELLIGENT
                                                      NETWORK SERVICE

                                                      Huotari, Seppo

     6341221               US          1/22/2002      Method of managing a subscriber
                                                      service by an intelligent network
     (09/702495)                       (10/31/2000)   service

                                                      Huotari, Seppo

     (PCT/EP1999/010097)   WO                         A METHOD FOR CONTENTION
                                                      FREE TRAFFIC DETECTION
                                       (12/17/1999)
                                                      Hautala Petri

     (EP99965493.2)        EP   . ..                  A METHOD FOR CONTENTION
                                                      FREE TRAFFIC DETECTION
                                       (12/17/1999)
                                                      Hautala Petri

     7555014               US          6/30/2009      METHOD FOR CONTENTION FREE
                                                      TRAFFIC DETECTION
     (11/402621)                       (4/11/2006)
                                                      Hautala Petri

     (60/225603)           US                         Cellular network independent short
                                                      message delivery system
                                       (8/15/2000)

12
                                                                    PATENT
                                                            REEL: 051407 FRAME: 0120
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     Patent/Application                    Issue Date/         Title of Patent
     Number                   Country      Filing Date         and First Named Inventor

                                                               Simon Bennett

     (PCT/US2001/024475)      WO                               Method And Apparatus For A Network
                                           (8/2/2001)          Independent Short Message Delivery
                                                               System

                                                               Simon Bennett

     (11/741894)             US                                Wireless sensor data processing
                                           (4/30/2007)         systems

                                                               Bao Q. Tran

     (60/224031)             US                                Non-intrusive coupler for a broadband
                                           (8/9/2000)          commnications system using high
                                                               voltage shielded power distributed
                                                               cables

                                                               Paul A. Kline

     (PCT/US2005/041148)     WO                                Power line coupling device and method
                                           (11/14/2005)        of using the same

                                                               William O. Radtke

     (EP05849637.3)          EP                                Power line coupling device and method
                                           (11/14/2005)        of using the same

                                                               William O. Radtke

     (PCT/US2001/011311)     WO                                Method and system for scheduling
                                           (4/6/2001)          inbound inquiries

                                                               Daniel N. Duncan

     JP3810956               JP            6/2/2006            Operational supervisory system for a
                                                               server
     (JP11-212974)                         (7/28/1999)
                                                               Miwa Nishio

        Assignor assigns to Assignee all of its rights to the inventions, invention disclosures, and
discoveries in the assets listed above, together, with its rights, if any, to revive prosecution of
claims under such assets and to sue or otherwise enforce any claims under such assets for past,
present or future infringement.

        Assignor hereby authorizes the respective patent office or governmental agency in each
jurisdiction to make available to Assignee all records regarding the Certain Assets.

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                                                                              PATENT
                                                                      REEL: 051407 FRAME: 0121
 Case 1:21-cv-01323-CFC Document 1-1 Filed 09/17/21 Page 377 of 440 PageID #: 426




          The terms and conditions of this Assignment of Rights in Certain Assets will inure to the
  bone it of \ssignee, itti SUCCessors, assigns. and ,,ther legal representatives. and will be binding
  upoa ASsi&nor, its suecessor,, assigns,. and other legal represemati yes.

          EXECUTED €his         day of   pkvAvwd,„---         3.2019, to be effective as of
                                         2019.,

  ASSIGNOR:

  INTIEL,E,crii AI, VENTI RY-:$:"5E. 1 30 "


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  Title   "Ft )




  14                                                                         PATENT
RECORDED: 01/03/2020                                                 REEL: 051407 FRAME: 0122
Case 1:21-cv-01323-CFC Document 1-1 Filed 09/17/21 Page 378 of 440 PageID #: 427




                        Exhibit Y
                                      505845403       01/03/2020
         Case 1:21-cv-01323-CFC Document 1-1 Filed 09/17/21 Page 379 of 440 PageID #: 428
                             PATENT ASSIGNMENT COVER SHEET

Electronic Version v1.1                                                      EPAS ID: PAT5892339
Stylesheet Version v1.2

SUBMISSION TYPE:                      NEW ASSIGNMENT
NATURE OF CONVEYANCE:                 ASSIGNMENT

 CONVEYING PARTY DATA
                                      Name                              Execution Date
 INTELLECTUAL VENTURES ASSETS 130 LLC                                  11/15/2019


 RECEIVING PARTY DATA
 Name:                    COMMWORKS SOLUTIONS, LLC
 Street Address:          44 MILTON AVENUE
 Internal Address:        SUITE 254
 City:                    ALPHARETTA
 State/Country:           GEORGIA
 Postal Code:             30009


 PROPERTY NUMBERS Total: 35
          Property Type                      Number
 Patent Number:                   7050962
 Patent Number:                   7266490
 Patent Number:                   7289456
 Patent Number:                   6975622
 Patent Number:                   7477703
 Patent Number:                   6975855
 Patent Number:                   6341221
 Patent Number:                   7555014
 Application Number:              60193169
 Application Number:              10158772
 Application Number:              11557057
 Application Number:              11557053
 Application Number:              13766960
 Application Number:              60380425
 Application Number:              10437129
 Application Number:              60557954
 Application Number:              10816481
 Application Number:              11076738
 Application Number:              11095349

                                                                      PATENT
     505845403                                                REEL: 051407 FRAME: 0106
       Case 1:21-cv-01323-CFC Document 1-1 Filed 09/17/21 Page 380 of 440 PageID #: 429
         Property Type                          Number
 Application Number:             60747409
 Application Number:             15935928
 Application Number:             60614609
 Application Number:             60121552
 Application Number:             60139471
 Application Number:             60485880
 Application Number:             60229317
 Application Number:             10681562
 Application Number:             10542183
 Application Number:             60299454
 Application Number:             60193402
 Application Number:             10225457
 Application Number:             10378068
 Application Number:             60225603
 Application Number:             11741894
 Application Number:             60224031


 CORRESPONDENCE DATA
 Fax Number:                    (404)645-7707
 Correspondence will be sent to the e-mail address first; if that is unsuccessful, it will be sent
 using a fax number, if provided; if that is unsuccessful, it will be sent via US Mail.
 Phone:                         4046457700
 Email:                         docketing@mcciplaw.com
 Correspondent Name:            LAWRENCE AARONSON
 Address Line 1:                999 PEACHTREE STREET NE
 Address Line 2:                SUITE 1300
 Address Line 4:                ATLANTA, GEORGIA 30309

ATTORNEY DOCKET NUMBER:                11201-001GEN
NAME OF SUBMITTER:                     LAWRENCE A. AARONSON
SIGNATURE:                             /Lawrence A. Aaronson/
DATE SIGNED:                           01/03/2020
Total Attachments: 14
source=IV 130 to CommWorks Solutions (Lapsed-Expired)#page1.tif
source=IV 130 to CommWorks Solutions (Lapsed-Expired)#page2.tif
source=IV 130 to CommWorks Solutions (Lapsed-Expired)#page3.tif
source=IV 130 to CommWorks Solutions (Lapsed-Expired)#page4.tif
source=IV 130 to CommWorks Solutions (Lapsed-Expired)#page5.tif
source=IV 130 to CommWorks Solutions (Lapsed-Expired)#page6.tif
source=IV 130 to CommWorks Solutions (Lapsed-Expired)#page7.tif
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                                                                              PATENT
                                                                      REEL: 051407 FRAME: 0107
       Case 1:21-cv-01323-CFC Document 1-1 Filed 09/17/21 Page 381 of 440 PageID #: 430
source=IV 130 to CommWorks Solutions (Lapsed-Expired)#page10.tif
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source=IV 130 to CommWorks Solutions (Lapsed-Expired)#page12.tif
source=IV 130 to CommWorks Solutions (Lapsed-Expired)#page13.tif
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                                                                           PATENT
                                                                   REEL: 051407 FRAME: 0108
Case 1:21-cv-01323-CFC Document 1-1 Filed 09/17/21 Page 382 of 440 PageID #: 431

                                                                                     Exhibit B-2
                     ASSIGNMENT OF RIGHTS IN CERTAIN ASSETS

        For good and valuable consideration, the receipt of which is hereby acknowledged,
Intellectual Ventures Assets 130 LLC, a Delaware limited liability company, with an address at
251 Little Falls Drive, Wilmington, DE 19808 ("Assignor"), does hereby sell, assign, transfer, and
convey unto CommWorks Solutions, LLC, a Georgia limited liability company with an address at
44 Milton Avenue, Suite 254, Alpharetta, GA 30009 ("Assignee"), its right, title, and interest in
and to any and all of the following provisional patent applications, patent applications, patents,
and other governmental grants or issuances of any kind (the "Certain Assets"):

Inactive Patent(s) — (Abandoned; Lapsed; Expired)

  Patent/Application                     Issue Date/        Title of Patent
  Number                    Country      Filing Date        and First Named Inventor

  EP1150530                 EP           6/28/2006          Mobile network system and service
                                                            control information changing method
  (EP01102111.0)                         (1/31/2001)
                                                            KAKEMIZU MITSUAKI (JP)

  SE1150530                 SE           6/28/2006          Mobile network system and service
                                                            control information changing method
  (SE01102111.0)                         (1/31/2001)
                                                            KAKEMIZU MITSUAKI (JP)

  (60/193169)               US                              Method for connecting a hardware
                                         (3/28/2000)        emulator to a network

                                                            Robert M. Zeidman

  7050962                   US           5/23/2006          Method for connecting a hardware
                                                            emulator to a network
  (09/751573)                       '    (12/28/2000)
                                                            Robert M. Zeidman

  7266490                   US           9/4/2007           Apparatus and method for connecting
                                                            hardware to a circuit simulation
  (10/158648)                            (5/31/2002)
                                                            Robert Marc Zeidman

  (10/158772)              US                               Apparatus and method for connecting a
                                                            hardware emulator to a computer
                                        (5/31/2002)         peripheral

                                                            Robert Marc Zeidman

 (11/557057)               US                               APPARATUS AND METHOD FOR
                                                            CONNECTING A HARDWARE
                                        (11/6/2006)         EMULATOR TO A COMPUTER
                                                            PERIPHERAL

                                             1
                                                                          PATENT
                                                                  REEL: 051407 FRAME: 0109
    Case 1:21-cv-01323-CFC Document 1-1 Filed 09/17/21 Page 383 of 440 PageID #: 432


     Patent/Application              Issue Date/    Title of Patent
     Number                Country   Filing Date    and First Named Inventor

                                                    Robert Marc Zeidman

     (11/557053)           US                       SYSTEM AND METHOD FOR
                                                    CONNECTING A LOGIC CIRCUIT
                                     (11/6/2006)    SIMULATION TO A NETWORK

                                                    Robert M. Ziedman

     (13/766960)           US                       CONVEYING DATA FROM A
                                                    HARDWARE DEVICE TO A
                                     (2/14/2013)    CIRCUIT SIMULATION

                                                    Robert Marc Zeidman

     (60/380425)           US                       Low cost, minimal software footprint,
                                                    self configuring, ad hoc, autonomic
                                     (5/13/2002)    networking apparatus and method of
                                                    use

                                                    Michael P. Nova

     (10/437129)           US                       SYSTEMS AND METHODS FOR
                                                    ROUTING PACKETS IN A WIRED
                                     (5/13/2003)    OR WIRELESS NETWORK

                                                    Michael P. Nova

     (PCT/US2003/034799)   WO                       SYSTEM AND METHOD FOR
                                                    ROUTING PACKETS IN A WIRED
                                     (10/31/2003)   OR WIRELESS NETWORK

                                                    GILLIES DONALD W

     (CN200380110363.0)    •CN                      System and method for routing packets
                                                    in a wired or wireless network
                                     (10/31/2003)
                                                    GILLIES DONALD W WANG
                                                    WEILIN N

     (EP03778062.4)        EP                       SYSTEM AND METHOD FOR
                                                    ROUTING PACKETS IN A WIRED
                                     (10/31/2003)   OR WIRELESS NETWORK

                                                    GILLIES DONALD W




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                                                                  PATENT
                                                          REEL: 051407 FRAME: 0110
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     Patent/Application              Issue Date/    Title of Patent
     Number                Country   Filing Date    and First Named Inventor

     (PCT/US2003/034884)   WO                       SYSTEM AND METHOD FOR
                                                    BOUNDRY SCAN TEST OF A
                                     (10/31/2003)   WIRED OR WIRELESS NETWORK

                                                    NOVA MICHAEL P

     (CN200380110362.6)    CN                       SYSTEM AND METHOD FOR
                                                    BOUNDRY SCAN TEST OF WIRED
                                     (10/31/2003)   OR WIRELESS NETWORK

                                                    GILLIES DONALD W WANG
                                                    WEILIN N

     (EP03778075.6)        EP                       SYSTEM AND METHOD FOR
                                                    BOUNDRY SCAN TEST OF WIRED
                                     (10/31/2003)   OR WIRELESS NETWORK

                                                    WANG WEILIN

     (60/557954)           US                       Broadband applications for wireless
                                                    mesh networks
                                     (3/31/2004)
                                                    Weilin Wang

     (10/816481)           US                       Systems and methods for congestion
                                                    control in a wireless mesh network
                                     (4/1/2004)
                                                    Michael P. Nova

     (11/076738)           US                       Distributed TDMA for wireless mesh
                                                    network
                                     (3/9/2005)
                                                    Weilin Wang

     (11/095349)           US                       SYSTEMS AND METHODS FOR
                                                    BROADBAND DATA
                                     (3/31/2005)    COMMUNICATION IN A
                                                    WIRELESS MESH NETWORK

                                                    Weilin Wang

     (60/747409)           US                       Distributed Multi-Channel TDMA
                                                    MAC for Wireless Mesh Networks
                                     (5/16/2006)
                                                    Xudong Wang




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                                                                  PATENT
                                                          REEL: 051407 FRAME: 0111
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     Patent/Application              Issue Date/   Title of Patent
     Number                Country   Filing Date   and First Named Inventor

     (PCT/US2007/069031)   WO                      DISTRIBUTED MULTICHANNEL
                                                   WIRELESS COMMUNICATION
                                     (5/16/2007)
                                                   GUI CHAO

     (PCT/US2007/070225)   WO                      SYSTEM AND METHOD FOR
                                                   TRANSPARENT WIRELESS
                                     (6/1/2007)    BRIDGING OF COMMUNICATION
                                                   CHANNEL SEGMENTS

                                                   RIMMER JAMES

     (15/935928)           US                      SCALABLE MEDIA ACCESS
                                                   CONTROL FOR MULTI-HOP HIGH
                                     (3/26/2018)   BANDWIDTH COMMUNICATIONS

                                                   Weilin Wang

     7289456               US        10/30/2007    Determining and provisioning paths
                                                   within a network of communication
     (10/118187)                     (4/8/2002)    elements

                                                   Gupta, Sanyogita

     (60/614609)           US                      Modeling of topology connectivity
                                                   map for efficient layer 1 routing
                                     (9/30/2004)
                                                   Sanyogita Gupta

     (PCT/US2005/034418)   WO                      Determining and provisioning paths in
                                                   a network
                                     (9/28/2005)
                                                   Sanyogita Gupta

     EP1797670             EP   _    11/22/2017    Determining and provisioning paths in
                                                   a network
     (EP05857725.5)                  (9/28/2005)
                                                   Sanyogita Gupta

     (60/121552)           US                      Adaptive mobility-aware signaling for
                                                   wireless IP telephony
                                     (2/25/1999)
                                                   Agrawal, Prathima

     (PCT/US2000/004629)   WO        (2/24/2000)   Adaptive signaling and mobility for
                                                   wireless telephony



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                                                                 PATENT
                                                         REEL: 051407 FRAME: 0112
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     Patent/Application              Issue Date/   Title of Patent
     Number                Country   Filing Date   and First Named Inventor

                                                   Agrawal, Prathima

     (60/139471)           US                      PCS-to-mobile IP internetworking

                                     (6/16/1999)   Chang, Li-Fung

     (PCT/US2000/014059)   WO                      ACTIVE LINK LAYER AND
                                                   INTRA-DOMAIN MOBILITY FOR
                                     (5/22/2000)   IP NETWORKS

                                                   AGRAWAL PRATHIMA

     (60/485880)           US                      Enhanced Phone-Based Collaboration

                                     (7/8/2003)    Korycki, Jacek

     6975622               US        12/13/2005    Enhanced Phone-Based Collaboration

     (10/756526)                     (1/13/2004)   Korycki, Jacek

     (PCT/US2004/021407)   WO                      Enhanced Phone-Based Collaboration

                                     (7/2/2004)    Korycki, Jacek

     SE522377              SE        2/3/2004      Device for transmitting data and
                                                   control commands via radio
     (SE0001148-6)                   (3/31/2000)   connections in a distributed control
                                                   system for one or more machines
                                                   and/or processes

                                                   Fredriksson, Lars-Berno

    (PCT/SE2001/000423)    WO                      Device for transmitting data and
                                                   control commands via radio
                                     (2/27/2001)   connections in a distributed control
                                                   system for one or more machines
                                                   and/or processes

                                                   Fredriksson, Lars-Berno

    EP 1269688             EP        12/21/2011    Device for transmitting data and
                                                   control commands via radio
    (EP01910283.9)                   (2/27/2001)   connections in a distributed control
                                                   system for one or more machines
                                                   and/or processes

                                                   Fredriksson, Lars-Berno

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                                                                 PATENT
                                                         REEL: 051407 FRAME: 0113
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     Patent/Application              Issue Date/   Title of Patent
     Number                Country   Filing Date   and First Named Inventor

     DE60145827.3          DE        12/21/2011    Device for transmitting data and
                                                   control commands via radio
     (DE60145827.3)                  (2/27/2001)   connections in a distributed control
                                                   system for one or more machines
                                                   and/or processes

                                                   Fredriksson, Lars-Berno

     FR1269688             FR        12/21/2011    Device for transmitting data and
                                                   control commands via radio
     (FR01910283.9)                  (2/27/2001)   connections in a distributed control
                                                   system for one or more machines
                                                   and/or processes

                                                   Fredriksson, Lars-Berno

     GB1269688             GB        12/21/2011    Device for transmitting data and
                                                   control commands via radio
     (GB01910283.9)                  (2/27/2001)   connections in a distributed control
                                                   system for one or more machines
                                                   and/or processes

                                                   Fredriksson, Lars-Berno

     (60/229317)           US                      Personal digital assistant based
                                                   communication system
                                     (8/30/2000)
                                                   Bloomfield, Mark C.

     (PCT/US2001/023402)   WO                      Personal digital assistant facilitated
                                                   communication system
                                     (7/26/2001)
                                                   Bloomfield, Mark C.

     (10/681562) _         US                      Personal digital assistant facilitated
                                                   communication system
                                     (10/8/2003)
                                                   Bloomfield, Mark C.

     (PCT/US1997/018071)   WO                      Unable to verify

                                     (10/7/1997)   Unable to Verify

    (PCT/US2004/000860)    WO                      Time based wireless access
                                                   provisioning
                                     (1/13/2004)
                                                   Roskind, James A.

6
                                                                  PATENT
                                                          REEL: 051407 FRAME: 0114
    Case 1:21-cv-01323-CFC Document 1-1 Filed 09/17/21 Page 388 of 440 PageID #: 437


     Patent/Application                Issue Date/    Title of Patent
     Number                Country     Filing Date    and First Named Inventor

     (10/542183)           US                         Time based wireless access
                                                      provisioning
                                       (7/13/2005)
                                                      Roskind, James

     (60/299454)           US                         Client device identification when
                                                      communicating through a network
                                       (6/21/2001)    address translator device

                                                      Rodriguez-Val, Richard

     (EP01912047.6)        EP                         Apparatus, and associated method, for
                                                      routing packet data in an ad hoc,
                                       (3/13/2001)    wireless communication system

                                                      Van Valkenburg, Sander

     (PCT/IB2001/000352)   WO                         Apparatus, and associated method, for
                                                      routing packet data in an ad hoc,
                                       (3/13/2001)    wireless communication system

                                                      Van Valkenburg, Sander

     FI112565              F1          2003-12-       METHOD AND RADIO SYSTEM
                                       15Salesforce   FOR DIGITAL SIGNAL
     (FI20000406)                                     TRANSMISSION
                                       (2/22/2000)
                                                      HOTTINEN,ARI

     (60/193402)           US                         Class of space-time block codes for
                                                      more than two transmit antennas
                                       (3/29/2000)
                                                      Boariu, Adrian

     (FI20001944)          FI    ' -                  Method and arrangement for digital
                                                      signal transmission
                                       (9/4/2000)
                                                      Tirkkonen, Olav

     (PCT/FI2000/000916)   WO                         Method and arrangement for digital
                                                      signal transmission
                                       (10/23/2000)
                                                      Tirkkonen, Olav

     EP1336268             EP          7/23/2014      Method and arrangement for digital
                                                      signal transmission
    (EP00969617.0)                     (10/23/2000)

7
                                                                    PATENT
                                                            REEL: 051407 FRAME: 0115
Case 1:21-cv-01323-CFC Document 1-1 Filed 09/17/21 Page 389 of 440 PageID #: 438


 Patent/Application              Issue Date/    Title of Patent
 Number                Country   Filing Date    and First Named Inventor

                                                Tirkkonen, Olav

 DE60048671.0          DE        7/23/2014      Method and arrangement for digital
                                                signal transmission
 (DE60048671.0)                  (10/23/2000)
                                                Tirkkonen, Olav

 FR11336268            FR        7/23/2014      Method and arrangement for digital
                                                signal transmission
 (FR00969617.0)                  (10/23/2000)
                                                Tirkkonen, Olav

 GB1336268             GB        7/23/2014      Method arid arrangement for digital
                                                signal transmission
 (GB00969617.0)                  (10/23/2000)
                                                Tirkkonen, Olav

 (FI20002845)          FI                       Transmitting digital signal
                                 (12/22/2000)
                                                Tirkkonen, Olav

 (PCT/FI2001/000166)   WO                       Method and radio system for digital
                                 (2/20/2001)    signal transmission

                                                Tirkkonen, Olav

 (EP01911785.2)        EP                       Method and radio system for digital
                                 (2/20/2001)    signal transmission

                                                Tirkkonen, Olav

 (F120011.35.7)        FI                       Transmitting digital signal
                                 (6/25/2001)
                  ,_                            Tirkkonen, Olav

 (PCT/FI2001/001133)   WO                       Transmitting digital signal
                                 (12/19/2001)
                                                Tirkkonen, Olav

 EP1350354             EP        9/20/2006      Transmitting digital signal

 (EP01273305.1)                  (12/19/2001)   Tirkkonen, Olav

 (PCT/FI2002/000553)   WO                       Transmission method
                                 (6/24/2002)
                                                Tirkkonen, Olav



                                                              PATENT
                                                      REEL: 051407 FRAME: 0116
    Case 1:21-cv-01323-CFC Document 1-1 Filed 09/17/21 Page 390 of 440 PageID #: 439


     Patent/Application               Issue Date/       Title of Patent
     Number                 Country   Filing Date       and First Named Inventor

     EP1405453              EP        1/2/2013          Transmission method

     (EP02743313.5)                   (6/24/2002)       Tirkkonen, Olav

     (10/225457)            US                          Method and radio system for digital
                                                        signal transmission
                                      (8/22/2002)
                                                        Ari Hottinen

     (10/378068)            US                          Method and arrangement for digital
                                                        signal transmission
                                      (3/4/2003)
                                                        Tirkkonen, Olav

     7477703                US        1/13/2009         Method and radio system for digital
                                                        signal transmission using complex
     (11/070717)                      (3/2/2005)        space-time codes

                                                        Tirkkonen, Olav

     (MX03009987)           MX                          RFID system and method for ensuring
                                                        safety of hazardous or dangerous
                                      (10/31/2003)      substances

                                                        Reade, Walter Caswell

     FI106507               Fl        2/15/2001         PROCESSING OF DATA MESSAGE
                                                        IN A NETWORK ELEMENT OF A
     (FI980824)                       (4/9/1998)        COMMUNICATIONS NETWORK

                                                        LEHTINEN PEKKA

     (PCT/FI-1999/000300)   WO -                        PROCESSING OF DATA MESSAGE
                                                        IN A NETWORK ELEMENT OF A
                                      (4/9/1999)        COMMUNICATIONS NETWORK

                                                        LEHTINEN PEKKA

     FI108604               FI        2/15/2002         METHOD FOR MANAGING
                                                    '   MOBILE STATION FACILITIES
     (FI990963)                       (4/28/1999)
                                                        Wallenius, Jukka

     (PCT/FI2000/000359)    WO                          METHOD FOR MANAGING
                                                        MOBILE STATION FACILITIES
                                      (4/26/2000)
                                                        Wallenius, Jukka


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                                                                      PATENT
                                                              REEL: 051407 FRAME: 0117
 Case 1:21-cv-01323-CFC Document 1-1 Filed 09/17/21 Page 391 of 440 PageID #: 440


     Patent/Application              Issue Date/   Title of Patent
     Number                Country   Fi1ini Date   and First Named Inventor

     (EP00920786.1)        EP                      METHOD FOR MANAGING
                                                   MOBILE STATION FACILITIES
                                     (4/26/2000)
                                                   Wallenius, Jukka

     6975855               US        12/13/2005    Method for managing mobile station
                                                   facilities
     (09/958065)                     (4/26/2000)
                                                   Wallenius, Jukka

     FI108979              FI        4/30/2002     INITIATING A CONTROLLING
                                                   SERVICE
     (FI991360)                      (6/14/1999)
                                                   Tuunanen, Heikki

     (PCT/F12000/000530)   WO                      INITIATING A CONTROLLING
                                                   SERVICE
                                     (6/13/2000)
                                                   Tuunanen, Heikki

     EP1192811             EP        7/29/2009     CALL SET-UP CONTROL IN AN
                                                   INTELLIGENT NETWORK BY
     (EP00942154.6)                  (6/13/2000)   CONDITIONAL INITIATION OF
                                                   MORE THAN ONE CONTROLLING
                                                   SERVICE

                                                   Tuunanen, Heikki

     FR1192811             FR        7/29/2009     CALL SET-UP CONTROL IN AN
                                                   INTELLIGENT NETWORK BY
     (FR00942154.6)                  (6/13/2000)   CONDITIONAL INITIATION OF
                                                   MORE THAN ONE CONTROLLING
                                                   SERVICE

                                                   Tuunanen, Heikki

     (JP2001-504184)       JP                      INITIATING A CONTROLLING
                                                   SERVICE
                                     (6/13/2000)
                                                   Tuunanen, Heikki

     FI1 09506             FI        8/15/2002     A METHOD OF MANAGING A
                                                   SUBSCRIBER SERVICE BY
     (FI981113)                      (5/9/1998)    MEANS OF AN INTELLIGENT
                                                   NETWORK SERVICE

                                                   Huotari, Seppo

10
                                                                 PATENT
                                                         REEL: 051407 FRAME: 0118
 Case 1:21-cv-01323-CFC Document 1-1 Filed 09/17/21 Page 392 of 440 PageID #: 441


     Patent/Application                 Issue Date/   Title of Patent
     Number                  Country    Filing Date   and First Named Inventor

     (PCT/FI 1 999/000430)   WO                       A METHOD OF MANAGING A
                                                      SUBSCRIBER SERVICE BY
                                        (5/18/1999)   MEANS OF AN INTELLIGENT
                                                      NETWORK SERVICE

                                                      Huotari, Seppo

     CNZL99806247.2          CN         2/18/2004     A METHOD OF MANAGING A
                                                      SUBSCRIBER SERVICE BY
     (CN99806247.2)                     (5/18/1999)   MEANS OF AN INTELLIGENT
                                                      NETWORK SERVICE

                                                      Huotari, Seppo

     EP1080587               EP         11/22/2006    A METHOD OF MANAGING A
                                                      SUBSCRIBER SERVICE BY
     (EP99952144.6)                     (5/18/1999)   MEANS OF AN INTELLIGENT
                                                      NETWORK SERVICE

                                                      HUOTARI SEPPO

     DE69934114.0            DE         11/22/2006    A METHOD OF MANAGING A
                                                      SUBSCRIBER SERVICE BY
     (DE69934114.0)                     (5/18/1999)   MEANS OF AN INTELLIGENT
                                                      NETWORK SERVICE

                                                      Huotari, Seppo

     ES1080587               ES         11/22/2006    A METHOD OF MANAGING A
                                                      SUBSCRIBER SERVICE BY
     (ES99952144.6)                     (5/18/1999)   MEANS OF AN INTELLIGENT
                                                      NETWORK SERVICE

                                                      Huotari, Seppo

     FR1080587               FR         11/22/2006    A METHOD OF MANAGING A
                                                      SUBSCRIBER SERVICE BY
     (FR99952144.6)                --   (5/18/1999)   MEANS OF AN INTELLIGENT
                                                      NETWORK SERVICE

                                                      Huotari, Seppo

     GB1080587               GB         11/22/2006    A METHOD OF MANAGING A
                                                      SUBSCRIBER SERVICE BY
     (GB99952144.6)                     (5/18/1999)   MEANS OF AN INTELLIGENT
                                                      NETWORK SERVICE


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                                                                   PATENT
                                                           REEL: 051407 FRAME: 0119
 Case 1:21-cv-01323-CFC Document 1-1 Filed 09/17/21 Page 393 of 440 PageID #: 442


     Patent/Application                Issue Date/    Title of Patent
     Number                Country     Filing Date    and First Named Inventor

                                                      Huotari, Seppo

     IT1080587             IT          11/22/2006     A METHOD OF MANAGING A
                                                      SUBSCRIBER SERVICE BY
     (IT99952144.6)                    (5/18/1999)    MEANS OF AN INTELLIGENT
                                                      NETWORK SERVICE

                                                      Huotari, Seppo

     NL1080587             NL          11/22/2006     A METHOD OF MANAGING A
                                                      SUBSCRIBER SERVICE BY
     (NL99952I44.6)                    (5/18/1999)    MEANS OF AN INTELLIGENT
                                                      NETWORK SERVICE

                                                      Huotari, Seppo

     SE1080587             SE          11/22/2006     A METHOD OF MANAGING A
                                                      SUBSCRIBER SERVICE BY
     (SE99952144.6)                    (5/18/1999)    MEANS OF AN INTELLIGENT
                                                      NETWORK SERVICE

                                                      Huotari, Seppo

     6341221               US          1/22/2002      Method of managing a subscriber
                                                      service by an intelligent network
     (09/702495)                       (10/31/2000)   service

                                                      Huotari, Seppo

     (PCT/EP1999/010097)   WO                         A METHOD FOR CONTENTION
                                                      FREE TRAFFIC DETECTION
                                       (12/17/1999)
                                                      Hautala Petri

     (EP99965493.2)        EP   . ..                  A METHOD FOR CONTENTION
                                                      FREE TRAFFIC DETECTION
                                       (12/17/1999)
                                                      Hautala Petri

     7555014               US          6/30/2009      METHOD FOR CONTENTION FREE
                                                      TRAFFIC DETECTION
     (11/402621)                       (4/11/2006)
                                                      Hautala Petri

     (60/225603)           US                         Cellular network independent short
                                                      message delivery system
                                       (8/15/2000)

12
                                                                    PATENT
                                                            REEL: 051407 FRAME: 0120
 Case 1:21-cv-01323-CFC Document 1-1 Filed 09/17/21 Page 394 of 440 PageID #: 443


     Patent/Application                    Issue Date/         Title of Patent
     Number                   Country      Filing Date         and First Named Inventor

                                                               Simon Bennett

     (PCT/US2001/024475)      WO                               Method And Apparatus For A Network
                                           (8/2/2001)          Independent Short Message Delivery
                                                               System

                                                               Simon Bennett

     (11/741894)             US                                Wireless sensor data processing
                                           (4/30/2007)         systems

                                                               Bao Q. Tran

     (60/224031)             US                                Non-intrusive coupler for a broadband
                                           (8/9/2000)          commnications system using high
                                                               voltage shielded power distributed
                                                               cables

                                                               Paul A. Kline

     (PCT/US2005/041148)     WO                                Power line coupling device and method
                                           (11/14/2005)        of using the same

                                                               William O. Radtke

     (EP05849637.3)          EP                                Power line coupling device and method
                                           (11/14/2005)        of using the same

                                                               William O. Radtke

     (PCT/US2001/011311)     WO                                Method and system for scheduling
                                           (4/6/2001)          inbound inquiries

                                                               Daniel N. Duncan

     JP3810956               JP            6/2/2006            Operational supervisory system for a
                                                               server
     (JP11-212974)                         (7/28/1999)
                                                               Miwa Nishio

        Assignor assigns to Assignee all of its rights to the inventions, invention disclosures, and
discoveries in the assets listed above, together, with its rights, if any, to revive prosecution of
claims under such assets and to sue or otherwise enforce any claims under such assets for past,
present or future infringement.

        Assignor hereby authorizes the respective patent office or governmental agency in each
jurisdiction to make available to Assignee all records regarding the Certain Assets.

13
                                                                              PATENT
                                                                      REEL: 051407 FRAME: 0121
 Case 1:21-cv-01323-CFC Document 1-1 Filed 09/17/21 Page 395 of 440 PageID #: 444




          The terms and conditions of this Assignment of Rights in Certain Assets will inure to the
  bone it of \ssignee, itti SUCCessors, assigns. and ,,ther legal representatives. and will be binding
  upoa ASsi&nor, its suecessor,, assigns,. and other legal represemati yes.

          EXECUTED €his         day of   pkvAvwd,„---         3.2019, to be effective as of
                                         2019.,

  ASSIGNOR:

  INTIEL,E,crii AI, VENTI RY-:$:"5E. 1 30 "


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  Title   "Ft )




  14                                                                         PATENT
RECORDED: 01/03/2020                                                 REEL: 051407 FRAME: 0122
Case 1:21-cv-01323-CFC Document 1-1 Filed 09/17/21 Page 396 of 440 PageID #: 445




                        Exhibit Z
Case 1:21-cv-01323-CFC Document 1-1 Filed 09/17/21 Page 397 of 440 PageID #: 446




      UCC FINANCING STATEMENT
     FOLLOW INSTRUCTIONS
                                                                                                                                            Cnt   YEAR        UCC
      A. NAME & PHONE OF CONTACT AT FILER (optimal)
                                                                                                                                           O6O2O1.     9 - O9'45O
         UNISEARCH, INC. 360-956-9500                                                                                           Filed      and Recorded Dec - 05- 2019 03:39pta
      8. E-MAIL CONTACT AT FILER (optional)                                                                                 CATHELENE ROBINSON
         Kristy.Bertsch/gunisearch.com                                                                                                       Clerk of Superior Court
      C, SEND ACKNOWLEDGMENT TO: (Name and Address)                                                                                           Fulton County, Georgia

        FUN1SEARCH
          1780 BARNES BLVD SW
          TUMWATER, WA 98512


       L                                                                                             THE ABOVE SPACE 18 FOR FILING OFFICE USE ONLY
     1. DEBTOR'S NAME: Provide °dyad, Debby name (law lb) (use and. NT nem: do no omit. Moldy. or abbrolets any pert of to Debtor's name); g any awl of On Individual Gobtorl
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          ter. ORCIANUATION'S NAME
          CommWorks Solutions, LLC
     OR
          lb. UCODUALIS SURNAME                                                        FIRST PERSONAL NAME                          ADOITIONAL NAUETEGANITIAL(S)        SUFFIX


     In. MAILINGAITORESS                                                               CITY                                          STATE    POSTALCODE                COUNTRY
      44 Milton Avenue, Suite 254                                                       Alpharetta                                   GA 30009                            USA
                     NAME: Prorlda only go Oak. name (2m m 2b) (ors asset IUO n me; do not arnl‘ way, or abbravIsla any pad or he Debtor name) N any part of Me Ofhldual MOW,
       name will not AI M Ors lb: have al al bent 2 bird% check here       and prodder/pa Individual Cobh Information In gam 10 eft Financing Statem•M Addendum (ForrsUCCIAd)
                                                                       ❑
          2a. ORGANIZATIONS /UWE

     OR
          Th. INCMDUAUS SURNAME                                                        FIRST PERSONAL NAME,                          ADOMONALNNJEISIIINITLAL(8)         BUFFO(

     20. iIMUNGADDRESS                                                                 CITY                                          STATE    POSTAL CODE               COUNTRY


     3. SECURED PARTYS NAME (or NAME ol ASSIGNEE at ASSIGNOR SECURED PARTY): Pri:Mde ardy Mg Blond Poly name Oa et 3b)
             ORGANIZSTIONG NAME
          Intellectual Ventures Assets 135 LLC
          als. PCIIVIDUAUSSURNAME                                                      FIRST PERSONAL NAME                          ADOITIONAL NAMEOWINITIAl(S)         SUFFIX


     Sc. WAILING ADDRESS                                                               CITY                                         STATE     POSTAL COOK               COUNTRY
      251 Little Falls Drive                                                            Wilmington ,                                 DE 19808                            USA
     4. COLLATERAL; 7NY nnandngatalemenl Poore the folbMng callateral.
 —    A first priority security Interest in all Collateral to secure all present and future paymen and performance obligations of
      Debtor to Secured Party or any of Secured Party's affiliates, including, Without limitation, Debtor's obligations under the
      PSA (collectively, the "Obligations"), "Collateral" means the Assigned Patent Rights and the Certain Other Assets, and all
      Revenue (as such term is defined In the PSA);

      It is understood and agreed that ony Revenue that Is properly distributed to either Secured Party or any of Secured Party's
      Affiliates or Debtor and/or its Affiliates In accordance with the terms mid conditions of the PSA are not considered
      Collateral under this Security Interest Addendum.

      Additional Collateral included on Attachment A.




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     8. OPTIONAL FILER REFERENCE DATA:

                                                                                                               International Association of Commercial Administrators (IACA)
     FILING OFFICE COPY — UCC FINANCING STATEMENT (Form UCCI) (Rev. 04/20/11)
Case 1:21-cv-01323-CFC Document 1-1 Filed 09/17/21 Page 398 of 440 PageID #: 447




                                                                                                CTY4 YEAR             UCC 4
                                                                                               O6O2n1 9-O94So
                       ATTACHMENT A TO UCC FINANCING STATEMENT
                             DEBTOR: CommWorks Solutions, LLC
                       SECURED PARTY: Intellectual Ventures Assets 135 LLC

        "Assigned Patent Rights" means (a) the patents and patent applications listed below; (b) any future
        reissues, reexaminations, extensions, continuations, continuing prosecution applications, requests for
        continuing examinations, divisions, and registrations of any of the items described in (a); (c) rights to
        apply in any or all countries of the world for future patents, certificates of invention, utility models,
        industrial design protections, design patent protections, or other future governmental grants or issuances
        of any type related to any of the items in (a) and/or (b); (d) rights to make, have made, use, sell, offer for
        sale, import, and otherwise commercialize any product or service under, or on account of, any of the
        items described in any of the foregoing categories (a), (b), or (c); and (e) exclusive right to bring causes of
        action and enforcement rights of any kind under, or on account of; any of the items described in any of the
        foregoing categories (a), (b), or (a), including, without limitation, all causes of action, enforcement rights
        and all other rights to seek and obtain any other remedies of any kind for past, current and future
        infringement.

           Patent/                           Issue Date/
           Application Number        Country Filing Date         Title of Patent and Inventor(s)

           6832249                   US          12/14/2004      Globally accessible computer network-based
                                                                 broadband communication system with user-
           (09/860801)                           (5/18/2001)     controllable quality of information delivery and
                                                                 flow priority

                                                                 Ciscon, Larry

           8423630                   US          4/16/2013       Responding to Quality of Service Events in a
                                                                 Multi-Layered Communication System
           (10/978953)                           (11/1/2004)
                                                                 Steven Reynolds

           8812665                   US          8/19/2014       MONITORING FOR. AND RESPONDING TO
                                                                 QUALITY OF SERVICE EVENTS IN A
           (13/781130)                           (2/28/2013)     MULTI-LAYERED COMMUNICATION
                                                                 SYSTEM

                                                                 Ciscon, Larry

          6621854                   US           9/16/2003       Spread-spectrum electromagnetic signals

           (08/003996)                           (1/15/1993)     Bad F. Rice

           6711122                  US           3/23/2004       FREQUENCY OFFSET DIFFERENTIAL
                                                                 PULSE POSITION MODULATION
           (09/500750)                           (2/8/2000)
                                                                 John B. Langley

        ATTACHMENT A TO MC FINANCING STATEMENT
        DEBTOR; Com,nWerks Solutions, LLC
        SECURED PARTY: Intellectual Ventura Aside 135 LLC

        Page 1 otlit
Case 1:21-cv-01323-CFC Document 1-1 Filed 09/17/21 Page 399 of 440 PageID #: 448




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                                                                                              O6O2O19-n94F:n

           Patent/                    Issue Date/
           Application Number Country Filing Date                Title of Patent and Inventors

           7180850                   US           2/20/2007      FREQUENCY OFFSET DIFFERENTIAL
                                                                 PULSE POSITION MODULATION
           (10/762197)                            (1/20/2004)
                                                                 John B. Langley

           7564863                   US           7/21/2009      Frequency offset differential pulse position
                                                                 modulation
           (11/504144)                            (8/14/2006)
                                                                 Langley, John B.

           7626918                   US           12/1/2009      Frequency offset differential pulse position
                                                                 modulation
           (11/504252)                            (8/14/2006)
                                                                 Michael Mancusi

           7609712                   US           10/27/2009     Frequency offset differential pulse position
                                                                 modulation
           (11/504967)                            (8/15/2006)
                                                                 Michael Mancusi

           7062475                   US           6/13/2006      PERSONALIZED MULTI-SERVICE
                                                                 COMPUTER ENVIRONMENT
           (10/715218)                            (11/17/2003)
                                                                 Andrew Szabo

           7596533                   US           9/29/2009      PERSONALIZED MULTI-SERVICE
                                                                 COMPUTER ENVIRONMENT
           (11/467888)                            (8/28/2006)
                                                                 Seth Elliott

           RE42232                   US           3/22/2011      RF chipset architecture

           (11/376700)                            (3/15/2006)    Dominik J. Schmidt

           6931003                   US           8/16/2005      PACKET PRIORITIZATION PROTOCOL
                                                                 FOR A LARGE-SCALE, HIGH SPEED
           (09/753743)                            (12/27/2000)   COMPUTER NETWORK

                                                                 Keith R. Anderson

           7835350                   US           11/16/2010     PRIORITIZING DATA TRANSMISSIONS
                                                                 USING THE NUMBER OF ASSOCIATED
          (11/180764)                             (7/13/2005)    ORIGIN ADDRESSES

                                                                 Keith R. Anderson

        ATTACHMENT ATO UCC FINANCING STATEMENT
        DEBTOR: CommWorla Solutions, LLC •
        SECURED PARTY: Intellectual Ventura Assets 135 LLC

        Page 2 of 18
Case 1:21-cv-01323-CFC Document 1-1 Filed 09/17/21 Page 400 of 440 PageID #: 449




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                                                                                        O61)2O1 9---re94!aio

          Patent/                    Issue Date/
          Application Number Country Filing Date               Title of Patent and Inventors

          RFA3I63                  US           2/7/2012       HIGH-SPEED NETWORK OF
                                                               INDEPENDENTLY LINKED NODES
          (11/318396)                           (12/22/2005)
                                                               Keith IL Anderson

          7079823                  US           7/18/2006      BAND-PASS FILTER WITH CARRIER
                                                               FREQUENCY REDUCTION
          (09/980027)                           (2/27/2002)
                                                               MORCHE, Dominique

          6490067                  US           12/3/2002      MULTI-CHANNEL OPTICAL
                                                               TRANSCEIVER
          (09/860078)                           (5/16/2001)
                                                               Scott H. Bloom

          6748064                  US           6/8/2004       SYSTEMS AND METHODS FOR LEAST
                                                               COST ROUTING OF LONG DISTANCE OR.
          (09/749994)                          (12/28/2000)    INTERNATIONAL TELEPHONE CALLS

                                                               Oussama Zbib

          6636742                  US          10/21/2003      TRACKING OP MOBILE TERMINAL
                                                               EQUIPMENT IN A MOBILE
          (09/599201)                          (6/22/2000)     COMMUNICATIONS SYSTEM

                                                               TORICKI, Markus

          6868268                  US          3/15/2005       AUDIO CALLING NAME AND NUMBER
                                                               DELIVERY
          (09/896835)                          (6/29/2001)
                                                               James A. Worsham

          RE42539                  US          7/12/2011       NETWORK AND METHOD FOR.
                                                               PROVIDING A CALLING NAME
          (11/727638)                          (3/27/2007)     TELECOMMUNICATIONS SERVICE WITH
                                                               AUTOMATIC SPEECH RECOGNITION
                                                               CAPABILITY

                                                               Zeeman Zhang

          8117068                  US          2/14/2012       METHOD AND APPARATUS FOR
                                                               PROVIDING AUDIO ADVERTISEMENTS IN
          (12/464782)                          (5/12/2009)     A COMPUTER. NETWORK

                                                               Brian Mark Shuster

       ATTACHMENT A TO UCC FINANCING STATEMENT
       DEBTOR: ConunWorla Saluda; LLC
       SECURED PARTY: Intellectual Ventures Amu 135 LLC

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           Patent/                           Issue Date/
           Application Number        Country Filing Date       Title of Patent and Inventor(s

           7412514                   US          8/12/2008     METHOD AND APPARATUS FOR
                                                               IMPROVING BANDWIDTH EFFICIENCY IN
           (09/932431)                           (8/17/2001)   A COMPUTER NETWORK

                                                               Gary Stephen Shuster

           7734807                   US          6/8/2010      METHOD AND APPARATUS FOR.
                                                               IMPROVING BANDWIDTH EFFICIENCY IN
           (12/189417)                           (8/11/2008)   A COMPUTER NETWORK

                                                               Gary Stephen Shuster

           8671216                   US          3/11/2014     METHOD AND APPARATUS FOR
                                                               IMPROVING BANDWIDTH EFFICIENCY IN
           (12/795597)                           (6/7/2010)    A COMPUTER NETWORK

                                                               Gary Stephen Shuster

           6771971                   US          8/3/2004      SUBSCRIBER INFORMATION SERVICE
                                                               CENTER (SISC)
           (09/764696)                           (1/18/2001)
                                                               Steven W. Smith

           7206806                   US          4/17/2007     Method and system for remote utilizing a mobile
                                                               device to share data objects
           (09/870536)                           (5/30/2001)
                                                               Richard A. Pineau

           6866587                   US          3/15/2005     WIDE AREA REAL-TIME SOFTWARE
                                                               ENVIRONMENT
           (09/669479)                           (9/25/2000)
                                                               Greg Lane

           6427001                   US          7/30/2002     SYSTEM AND METHOD FOR
                                                               NOTIFICATION OF 911 TELEPHONE
           (09/874998)                           (6/7/2001)    CALLS USING LINK MONITORING
                                                               SYSTEM

                                                               Sunil H. Contractor




        ATTACHMENT A TO UCC FINANCING STATEMENT
        DEBTOR: CornntWorks Solution, LLC
        SECURED ?ARTY: Intellectual Ventures Ands 135 LLC

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          Patent/                    Issue Date/
          Application Number Country Filing Date               Title of Patent and Invento

          6505163                   US           1/7/2003      NETWORK AND METHOD POR
                                                               PROVIDING AN AUTOMATIC RECALL
          (09/634794)                           (8/9/2000)     TELECOMMUNICATIONS SERVICE WITH
                                                               AUTOMATIC SPEECH RECOGNITION
                                                               CAPABILITY

                                                               Zeeman Zhang

          6721415                   US          4/13/2004      TELEPHONE VOICE MESSAGING SYSTEM
                                                               AND METHOD USING OFF-HOOK
          (09/506021)                           (2/17/2000)    IMMEDIATE TRIGGER

                                                               Quenton Lanny Gilbert

          7023978                   US          4/4/2006       TELEPHONE VOICE MESSAGING SYSTEM
                                                               AND METHOD USING OFF-HOOK
          (10/818817)                           (4/6/2004)     IMMEDIATE TRIGGER

                                                               Quenton Lanny Gilbert

          6795530                   US          9/21/2004      SYSTEM AND METHOD FOR
                                                               CUSTOMIZED TELEPHONE GREETING
          (09/606062)                           (6/29/2000)    ANNOUNCEMENTS

                                                               Lanny Gilbert

          RPA2122                   US          2/8/2011       SYSTEM AND METHOD FOR
                                                               CUSTOMIZED TELEPHONE GREETING
          (11/971456)                           (1/9/2008)     ANNOUNCEMENTS

                                                               Raymond I, Smeta

          6792094                   US          9/14/2004      INTELLIGENT CALL CONNECTION
                                                               SERVICE
          (09/863477)                           (5/23/2001)
                                                               Mark Kirkpatrick

          6754323                  US           6/22/2004      ESTABLISHING A CONFERENCE CALL
                                                               FROM A CALL-LOG
          (10/025722)                           (12/19/2001)
                                                               E-Lee Chang

          7363030                  US           4/2/2008       ESTABLISHING A CONFERENCE CALL
                                                               FROM A CALL-LOG
         (1D/852528)                            (5/24/2004)
                                                               Linda Ann Roberts
       ATTACHMENT A TO UCC FINANCING STATEMENT
       DEBTOR, ComaWorks Solutions. LLC
       SECURED PARTY: Intellectual Ventura Assets 135 LW

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          Patent/                    Issue Date/
          Application Number Country FIDng Date

          6967951                    US           11/22/2005    SYSTEM FOR REORDERING SEQUENCTI")
                                                                BASED PACKETS IN A SWITCHING
          (10/044244)                             (1/11/2002)   NETWORK

                                                                Vic Alfano

          7856011                    US           12/21/2010    Reordering packets
          (11/237482)        _                   (9/27/2005)    Vic Alfano

          8107377                   US           1/31/2012      Reordering packets

          (12/759221)                            (4/13/2010)    Vic Alfano

          8913618                   US           12/16/2014     Reordering packets

          (13/337717)                            (12/27/2011)   Vic Alfano

          6785534                   US           8/31/2004      PREPAID/POSTPAID AUTOMATIC
                                                                CHANGE OF PAYMENT OPTION
          (09/832011)                            (4/11/2001)
                                                                Dare Ung

          6754716                   US           6/22/2004      RESTRICTING COMMUNICATION
                                                                BETWEEN NETWORK DEVICES ON A
          (09/502155)                            (2/11/2000)    COMMON NETWORK

                                                                Rosen Sharma

          DE60037651.6              DE           1/2/2008       OPTICAL ADD/DROP MULTIPLEXER

          (DE60037651.6)                         (2/4/2000)     Ari Tervonen

          FR.1151567                FR           1/2/2008       OPTICAL ADD/DROP MULTIPLEXER

          (FR00903718.5)                         (2/4/2000)     Ari Tervonen

          GB1151567                 GB           1/212008       OPTICAL ADD/DROP MULTIPLEXER

          (GB00903718,5)                         (2/4/2000)     Ari Tervonen

          6678080                   US           1/13/2004      OPTICAL ADD/DROP MULTIPLEXER

          (09/923845)                            (8/7/2001)     Ari Tervonen



       ATTACHMENT A TO UCC FINANCING STATEMENT
       DEBTOR: CommWorke Solution, LLC
       SECURED PARTY:Intellectual Ventures Assets 135 LLC

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          Patent/                    Issue Date/
          Application Number Country Filing Date              Title of Patent and Inventors

          7937081                  US           5/3/2011      RECOVERY TECHNIQUES IN MOBILE
                                                              NETWORKS
          (12/720862)                           (3/10/2010)
                                                              Heikki Juhani Einola

          8200211                  US          6/12/2012      RECOVERY TECHNIQUES IN MOBILE
                                                              NETWORKS
          (13/097709)                          (4/29/2011)
                                                              Heikki 'Mimi Einola

          8351924                  US          1/8/2013       RECOVERY TECHNIQUES IN MOBILE
                                                              NETWORKS
          (13/484583)                          (5/31/2012)
                                                              Heikki Jubani Einola

          8600372                  US          12/3/2013      RECOVERY TECHNIQUES IN MOBILE
                                                              NETWORKS
          (13/682230)                          (11/20/2012)
                                                              Heikki Juhani Einola

          8923846                  US          12/30/2014     RECOVERY TECHNIQUES IN MOBILE
                                                              NETWORKS
          (14/058473)                          (10/21/2013)
                                                              Heikki Juhani Einola

          9432842                  US          8/30/2016      RECOVERY TECHNIQUES IN MOBILE
                                                              NETWORKS
         (14/549714)                           (11/21/2014)
                                                              Heikki Jubani Einola

          9918222                  US          3/13/201g      RECOVERY TECHNIQUES IN MOBILE
                                                              NETWORKS
          (15/226422)                          (8/2/2016)
                                                              Heikki Juhani Einola

          6665495                  US          12/16/2003     NON-BLOCKING, SCALABLE OPTICAL
                                                              ROUTER ARCHITECTURE AND METHOD
          (09/698666)                          (10/27/2000)   FOR ROUTING OPTICAL TRAFFIC

                                                              Miles, Latry L.

          7145867                  US          12/5/2006      SYSTEM AND METHOD FOR SLOT
                                                              DELFECTION ROUTING
          (10/114564)                         • (4/2/2002)
                                                              Aicklen, Gregory H.

       ATTACHMENT A TO UCC FINANCING STATEMENT
       DEBTOR: Comm Works Solutions, LW
       SECURED PARTY' Imtelleetual Valuta Assets WS LLC

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           Patent/                    Issue Date/
           Application Number Country Ealing Date                Title of Patent and In

           7184444                   US           2/27/2007      SYSTEM AND METHOD FOR PACKET
                                                                 CLASSIFICATION
           (10/138760)                            (5/3/2002)
                                                                 Posey, Nolan J. JR.

           7526203                   US           4/28/2009      Apparatus and method for optical switching at
                                                                 an optical switch fabric
           (10/659485)                            (9/10/2003)
                                                                 Tamil, Lakslunan S.

          7443790                    US           10/28/2008     System and method for slot deflection routing at
                                                                 optical router/switch
           (11/368867)                            (3/6/2006)
                                                                 Aidden, Gregory H.

           8116315                   US           2/14/2012      SYSTEM AND METHOD FOR PACKET
                                                                 CLASSIFICATION
           (11/471149)                            (6/20/2006)
                                                                 Posey, Nolan J. JR.

          7106697                   US            9/12/2006      METHOD FOR DYNAMICALLY
                                                                 COMPUTING A SWITCHING SCHEDULE
          (10/114925)                             (4/3/2002)
                                                                 Robert E. Best

          7218637                   US            5/15/2007      System For Switching Data Using Dynamic
                                                                 Scheduling
          (10/114928)                             (4/3/2002)
                                                                 Robert B. Best

           7190900                  US            3/13/2007      System and method for implementing dynamic
                                                                 scheduling of data in a non-blocking all-optical
          (10/063301)                             (4/9/2002)     switching network

                                                                 Best, Robert E.

          7474853                   US            1/6/2009       NON-BLOCKING ALL- OPTICAL
                                                                 SWITCHING NETWORK DYNAMIC DATA
           (11/299889)                            (12/12/2005)   SCHEDULING SYSTEM AND
                                                                 IMPLEMENTATION METHOD

                                                                 Robed Best , Ramaswamy Chandrasekaran




       ATTACHMENT A TO UCC FINANCING STATEMENT
       DEBTOR: CommWorke Solutions, LLC
       SECURED PARTY: Intellectuat Ventures Asset' 135 LLC

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           Patent/                    Issue Date/
           Application Number Country Filing Date               Title of Patent and Inve

           7496033                  US           02/24/2009     Method for dynamically computing a switching
                                                                schedule
           (11/453755)                           (6/15/2006)
                                                                Robert Best

           7869427                  US           01/11/2011     SYSTEM FOR SWITCHING DATA USING
                                                                DYNAMIC SCHEDULING
           (11/796682)                           (04/27/2007)
                                                                Robert E. Beet

           7715712                  US           5/11/2010      SYSTEM AND METHOD FOR
                                                                IMPLEMENTING DYNAMIC SCHEDULING
           (12/185198)                           (08/04/2008)   OF DATA IN A NON-BLOCKING ALL-
                                                                OPTICAL SWITCHING NETWORK

                                                                Robert E. Best

           7124435                  US           10/17/2006     Information management system and method

           (10/040933)                           (10/23/2001)   Philippe Richard

           7254709                  US           8/7/2007       Managed information transmission of electronic
                                                                items'in a network environment
          (10/699632)                            (11/1/2003)
                                                                Philippe Richard

           8719326                  US           5/6/2014       Adaptive data transformation engine

          (11/188095)                            (7/22/2005)    Philippe Richard

          9230039                   US           1/5/2016       Adaptive data transformation engine

          (14/223936)                            (3/24/2014)    PhitipPe Richard

           6456242                  US           9/24/2002      CONFORMAL BOX ANTENNA

           (09/799411)                           (3/5/2001)     James A. Crawford

          6433742                   US           8/13/2002      DIVERSITY ANTENNA STRUCTURE FOR
                                                                WIRELESS COMMUNICATIONS
          (09/693465)                            (10/19/2000)
                                                                CRAWFORD JAMES A




       ATTACHMENT A TO UCC FINANCING STATEMENT
       DEBTOR: CommWorks Solutions, LLC
       SECURED PARTYt Intellectual Ventura Assets 135 LLC

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           Patent/                    Issue Date/
           Application_Number Country Filing Date                 Title of Pate

           6456245                    US           9/24/2002      CARD-BASED DIVERSITY ANTENNA
                                                                  STRUCTURE FOR WIRELESS
           (09/735977)                             (12/13/2000)   COMMUNICATIONS

                                                                  James A. Crawford

           6438367                    US           8/20/2002      TRANSMISSION SECURITY FOR
                                                                  WIRELESS COMMUNICATIONS
          (09/710614)                              (11/9/2000)
                                                                  CRAWFORD JAMES A



        "Certain Other Assets"


           Patent/                    Issue Date/
           Application Number Country Filing Date                  Title of Patent and Invento s
           (PCT/US2001/016291) WO                                  Globally accessible computer network-based
                                      (5/18/2001)                  broadband communication system with user-
                                                                   controllable quality of information delivery
                                                                   and flow priority

                                                                   Chicon, Laity
           5210770                     US           5/11/1993      MULTIPLE-SIGNAL SPREAD-SPECTRUM
                                                                   TRANSCEIVER
           (07/766372)                              (9/27/1991)
                                                                   Bart R Rice
           5267271                     US           11)30/1993     Signal analysis technique for determining a
                                                                   subject of binary sequences most likely to have
          (07/907358)                               (7/1/1992)     been transmitted in a multi-node
                                                                   communication network

                                                                   Bart E. Rice
           5452328                     US           9/19/1995      Technique for generating sets of binary
                                                                   spreading-code sequences for a high data-rate
          (08/100334)                               (7/30/1993)    spread-spectrum network

                                                                   Bart F. Rice




        ATTACHMENT A TO UCC FINANCING STATEMENT
        DEBTOR: CommWorks Mullane, LLC
        SECURED PARTY; Intellectual Ventures Ane Is 135 LLC

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          Patent/                               Issue Date/
          Application Number        Country     Filing Date    Title of Patent and I
          5815526                   US          9/29/1998      Signal comprising binary spreading-code
                                                               sequences
         (08/456077)                            (5/31/1995)
                                                               Bart F. Rice
          5991333                   US           11/23/1999    Spread-spectrum transceiver

         (09/113410)                            (7/10/1998)    Bart F. Rice
         7760792                    US          7/20/2010      Spread spectrum electromagnetic signals

         (09/759425)                            (1/12/2001)    Bart F. Rice
         7457345                    US          11/25/2008     Spread-spectrum transceiver

         (10/873784)                            (6/2 1/2004)   Bart E. Rice
         7457348                    US          11/25/2008     Spread-spectrum transceiver

         (11/468923)                            (8/31/2006)    Hart F. Rice
         7924906                    US          4/12/2011      SPREAD-SPECTRUM RECEIVER

         (11/470967)                            (9/1/2006)     Bart F. Rice
         (12/755012)                US                         SPREAD SPECTRUM TRANSCEIVER

                                                (4/6/2010)     Bart F. Rice
         7706247                    US          4/27/2010      Frequency offset differential pulse position
                                                               modulation
         (11/504249)                            (8/14/2006)
                                                               Michael Mancusi
         (09/584057)                US                         PERSONALIZED MULTI-SERVICE
                                                               COMPUTER ENVIRONMENT
                                                (5/30/2000)
                                                               Seth Elliott
         (11/423847)                US                         PERSONALIZED MULTI-SERVICE
                                                               COMPUTER ENVIRONMENT
                                                (6/13/2006)
                                                               Seth Elliott




       ATTACHMENT A TO UCC FINANCING STATEMENT
       DEBTOR r CanunWorks Solutions, TLC
       SECURED PARTY: IntelleClud Ventura Meets 135 EEC

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          Patent/                              Issue Date/
          Application Number           Country Filing Date       Title of Patent and Inventors
          6710424                      US      3/23/2004         RF CHIPSET ARCHITECTURE

          (09/962717)                              (9/21/2001)   Dominik J. Schmidt
          6667967                      US          12/23/2003    HIGH-SPEED NETWORK OF
                                                                 INDEPENDENTLY LINKED NODES
          (09/500887)                              (219/2000)
                                                                 Richard H. Christensen
          (11/147853)                  US                        SYSTEM AND METHOD FOR
                                                                 DISTRIBUTING ADDRESSES
                                                   (6/8/2005)
                                                                 Keith R. Anderson
          (11/514294)                 US                         NEIGHBORHOOD AREA NETWORK
                                                                 WITH RING BACKBONE TOPOLOGY
                                                   (8/31/2006)
                                                                 Keith R. Anderson
          FR2794311                   FR           12/14/2007    BAND-PASS FILTER WITH CARRIER
                                                                 FREQUENCY REDUCTION
         (FR9906710)                               (5/27/1999)
                                                                 MORCHE, Dominique
          GB1183777                   GB           7/30/2003     BAND-PASS FILTER WITH CARRIER
                                                                 FREQUENCY REDUCTION
         (GB00936952.1)                            (5/26/2000)
                                                                 MORCHE, Dominique
         IT1183777                    IT           7/30/2003     BAND-PASS FILTER WITH CARRIER
                                                                 FREQUENCY REDUCTION
         (1T00936952.1)                            (5/26/2000)
                                                                 MORCHE, Dominique
         7555273                      US           6/30/2009     BAND-PASS FILTER WITH CARRIER
                                                                 FREQUENCY REDUCTION
         (11/330275)                               (1/11/2006)
                                                                 MORCHE, Dominique
         (PCT/US2001/015840) WO                                  DOUBLE POWER-BYE SAFE LASER
                                                                 OUTPUT
                                                   (5/16/2001)
                                                                 ALWAN JAMES J




       ATTACHMENT A TO UCC FINANCING STATEMENT
       DEBTOR' ConunWorke Solutions, LLC
       SECURED PARTY: la telleeta el Ventures Aug, 135 LLC

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          Patent/                             Issue Date/
          Application Number          Country Filing Date        Title of Patent and Inventors
          (10/287109)                 US                         MULTI-CHANNEL OPTICAL
                                                                 TRANSCEIVER
                                                   (11/1/2002)
                                                                 Scott H. Bloom
          (PCDUS2001/030144) WO                                  SYSTEMS & METHODS FOR LEAST COST
                                                                 ROUTING OF LONG DISTANCE OR
                                                   (9/27/2001)   INTERNATIONAL TELEPHONE CALLS

                                                                 Oussama Zbib
          (11/447279)                 US                         SYSTEMS AND METHODS FOR LEAST
                                                                 COST ROUTING OF LONG DISTANCE OR
                                                   (6/6/2006)    INTERNATIONAL TELEPHONE CALLS

                                                                 Oussama Zbib
          (11/256618)                 US                         TRACKING OF MOBILE TERMINAL
                                                                 EQUIPMENT IN A MOBILE
                                                  (10/21/2005)   COMMUNICATIONS SYSTEM

                                                                 TORIC.KL Markus
          (PCT/US2002/012963) WO                                 AUDIO CALLING NAME SERVICE

                                                  (4/26/2002)    WORSHAM JAMES A
          (11/724311)                 US                         AUDIO CALLING NAME AND NUMBER
                                                                 DELIVERY
                                                  (3/15/2007)
                                                                 WORSHAM JAMES A
          6873686                     US          3/29/2005      NETWORK AND METHOD FOR
                                                                 PROVIDING A CALLING NAME
          (09/634793)                             (8/9/2000)     TELECOMMUNICATIONS SERVICE WITH
                                                                 AUTOMATIC SPEECH RECOGNITION
                                                                 CAPABILITY

                                                                 Zeeman Zhang
          (60/213827)                US                          Method of cross-promoting and monetizing
                                                                 web sites by means of audio advertisement
                                                  (6/23/2000)
                                                                 Brian Mark Shuster


       AITACHNDENT A TO UCC FINANCING STATEMENT
       DEBTOR: CommWorIce Solution; LLC
       SECURED PARTY: Intellectual Ventures Miele 135 LLC

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          Patent/                            Issue Date/
          Application Number         Country Filing Date        Title of Patent and Invent°
          (60/213396)                US                         Method of delivering audio commerical
                                                                advertisements
                                                 (6/23/2000)
                                                                Brian Mark Schuster
         (60/226108)                US                          Method and system of increasing user response
                                                                to audio advertisements on the Internet
                                                 (8/17/2000)
                                                                Brian Mark Shuster
          (60/225943)                US                         Method and system of enhancing the
                                                                effectiveness of audio advertisements on the
                                                 (8/17/2000)    interne!

                                                                Brian Mark Shuster
         (09/893362)                US                          METHOD AND APPARATUS FOR
                                                                PROVIDING AUDIO ADVERTISEMENTS
                                                (6/25/2001)     IN A COMPUTER NETWORK

                                                                Brian Mark Shuster
         (13/353787)                US                          METHOD AND APPARATUS FOR
                                                                PROVIDING AUDIO ADVERTISEMENTS
                                                (1/19/2012)     N A COMPUTER NETWORK

                                                                Brian Mark Shuster      '
         (60/225888)                US                          Application and method for maximizing the
                                                                value of bandwidth usage on wide area
                                                (8/17/2000)     networks

                                                                Gary Stephen Sinister
         (60/190646)                US                          SUBSCRIBER INFORMATION SERVICE
                                                                CENTER (SISC)
                                                 (3/20/2000)
                                                                Steven W. Smith
         (09/686598)                US .                        SUBSCRIBER INFORMATION SERVICE
                                                                CENTER (SISC)
                                                 (10/10/2000)
                                                                Steven W. Smith



       ATTACHMENT A TO UCC FINANCING STATEMENT
       DEBTOR: CommWorIai Solotloms,LLC
       SECURED PARTY: Well eaten' Venturer Audi I35 LLC

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         Patent/                    Issue Date/
         Application Number Country Filing Date               Title of Patent and Inventors
         (PCT/US2002/015636) WO                               Method and system for remote utilizing a
                                                              mobile device to share data objects
                                                (5/17/2002)
                                                              Richard A Pineau
         (EP02774105.7)             EP                        Method and system for remote utilizing a
                                                              mobile device to share data objects
                                                (5/17/2002)
                                                              Richard A Pineau
         (312003-500782)            JP                        METHOD AND SYSTEM FOR REMOTE
                                                              UTILIZING A MOBILE DEVICE TO
                                                (5/17/2002)   SHARE DATA OBJECTS

                                                              Richard A Pineau
         (11/725192)                US                        WIDE AREA REAL-TIME SOFTWARE
                                                              ENVIRONMENT
                                                (3/15/2007)
                                                              Greg Lane
         (PCT/US2001/004776) WO                               TELEPHONE VOICE MESSAGING
                                                              SYSTEM AND METHOD USING OFF-
                                                (2/15/2001)   HOOK IMMEDIATE TRIGGER

                                                              GILBERT QUENTON LANNY
         (CA2400388)                CA                        TELEPHONE VOICE MESSAGING
                                                              SYSTEM AND METHOD USING OFF-
                                                (2/15/2001)   HOOK IMMEDIATE TRIGGER

                                                              GILBERT QUENTON LANNY
         (EP01909237.8)             EP                        TELEPHONE VOICE MESSAGING
                                                              SYSTEM AND METHOD USING OFF-
                                                (2/15/2001)   HOOK IMMEDIATE TRIGGER

                                                              GILBERT QUENTON LANNY
         6985561                    US           1/10/2006    SYSTEM AND METHOD FOR
                                                              CUSTOMIZED TELEPHONE GREETING
         (10/853642)                            (5/26/2004)   ANNOUNCEMENTS

                                                              Raymond J. Smets


       ATTACRAIENT A To UCC FINANCING STATEMENT
       DEBTOR: ConiunWorka Solution% LLC
       SECURED PARTY: Intellectual Ventura Mach 135 LLC

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                                                                                             CTY.1 YEAR UCC
                                                                                            0602019-0949n


          Patent/                    Issue Date/
          Application Number Country Filing Date                 Title of Patent and inventors
          (PCDUS2002/040139) WO                                  ESTABLISHING A CONFERENCE CALL
                                                                 FROM A CALL-LOG
                                                  (12/13/2002)
                                                                 CHANG H-LEE
          (12/046610)                US                          ESTABLISHING A CONFERENCE CALL
                                                                 FROM A CALL-LOG
                                                  (3/12/2008)
                                                                 Linda Ann Roberts
          (60/196095)                US                          Prepaid/postpaid automatic change of payment
                                                                 option
                                                  (4/11/2000)
                                                                 Data Ung
          FI4119                     FI           8/31/1999      Optical adcVdrop multiplexer

          (FI990238)                              (2/8/1999)     Ari Tervonen
          (PCI7F12000/000082)        WO                          OPTICAL ADD/DROP MULTIPLEXER

                                                  (2/4/2000)     Ari Tervonen
          EP1151567                  HP           1/2/2008       OPTICAL ADD/DROP MULTIPLEXER

          (EP00903718.5)                          (2/4/2000)     Ari Tervonen
          7769374                    US       •   8/3/2010       RECOVERY TECHNIQUES IN MOBILE
                                                                 NETWORKS
          (09/802861)                             (3/12/2001)
                                                                 Heikki Juhani Einola
          (15/887481)                US                          RECOVERY TECHNIQUES IN MOBILE
                                                                 NETWORKS
                                                  (2/2/2018)
                                                                 Heikki Athol Einala
         (10/063268)        ,        US                          System and method for implementing dynamic
                                                                 scheduling of data in a non-blocking all-optical
                                                  (4/4/2002)     switching network

                                                                 Robert E. Best




       ATTACHMENT A TO UCC FINANCING STATEMENT
       DEBTOR: CommWorla Selellans, LLC
       SECURED PARTY: lalelledual Van luta Asset 135 LLC

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          Patent/                             Issue Date/
          Application Number          Country fling Date          Title of Patent and Inventor(s)
          (60/246821)                 US                          Method and system for passing business
                                                                  objects
                                                   (11/7/2000)
                                                                  Marc Asheghian
          (10/012240)                 US                          Method and system for passing business
                                                                  objects
                                                   (11/5/2001)
                                                                  Philippe Richard
          (60/403873)                 US                          MANAGED INFORMATION
                                                                  TRANSMISSION IN A NETWORK
                                                   (8/16/2002)    ENVIRONMENT

                                                                  Phillippe Richard
          (60/484885)                 US                          MANAGED INFORMATION
                                                                  TRANSMISSION OF ELECTRONIC MAIL
                                                   (7/3/2003)     IN A NETWORK ENVIRONMENT

                                                                  Phillippe Richard
          (10/643734)                 US                          Managed information transmission of
                                                                  electronic items in a network environment
                                                   (8/18/2003)
                                                                  Phillippe Richard
          (60/590489)                 US                          Adaptive data transformation engine

                                                   (7/22/2004)    Phillippe Richard
          (PCT/US2001/032613) WO                                  DIVERSITY ANTENNA STRUCTURE FOR
                                                                  WIRELESS COMMUNICATIONS
                                                   (10/18/2001)
                                                                  CRAWFORD JAMES A
          (PCT/US2001/044619) WO                                  CARD•BASED DIVERSITY ANTENNA
                                                                  STRUCTURE FOR. WIRELESS
                                                   (11/27/2001)   COMMUNICATIONS

                                                                  James A. Crawford
          (PCT/US2001/047183) WO                                  TRANSMISSION SECURITY FOR
                                                                  WIRELESS COMMUNICATIONS
                                                   (10/30/2001)
                                                                  CRAWFORD JAMES A
       ATTACHMENT A TO UCC FINANCING STATEMENT
       DEBTOR:Coma:Works Solution,, LLC
       SECURED PARTY; Intellectual Ventures Assets l3! LLC

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Case 1:21-cv-01323-CFC Document 1-1 Filed 09/17/21 Page 415 of 440 PageID #: 464




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                                                                                 CATHELENE ROBINSON
                                                                                     Clerk of Superior Court
                                                                                      Ful ton Counts, Georsi a
         Patent/                                  Issue .Date/
         Application Number          County       Filing Date    Title of Patent and Inventor(s)
         TV/1171699                  TW           1/11/2003      Transmission security for wireless
                                                                 communications
         (TW090127391)                            (11/5/2001)
                                                                 CRAWFORD JAMES A
         6650616                     US           11/18/2003     TRANSMISSION SECURITY FOR
                                                                 WIRELESS COMMUNICATIONS
         (10/178207)                              (6/24/2002)
                                                                 James A. Crawford




       ATTACHMENT A TO UCC FINANCING STATEMENT
       DEBTOR: CommWorle Solution; LLC
       SECURED PARTY: Intellectual Ventura Assets 135 LLC

       Page IS of IS
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                     Exhibit AA
Case 1:21-cv-01323-CFC Document 1-1 Filed 09/17/21 Page 417 of 440 PageID #: 466




     UCC FINANCING STATEMENT
     FOLLOW INSTRUCTIONS                                                                                                            Crft YEAR       (ICC
      A. NAME 6 PHONE OF CONTACT AT FILER (OplIOnal)                                                                               0602019-09451
          DNISEARCH, INC.360-956-9500                                                                                        Filed and Recorded Dec-05-2019 03:29om
      B. EMAIL CONTACT AT FILER (optional)                                                                                  CATHELENE          RDBI NSONI
          Kthtyaktha@IIEWSEa000M
                                                                                                                                    Clerk of Superior Court
                                                                                                                                     Fulton County, Georgia
      C. SEND ACKNOWLEDGMENT TO: {Name end Address)

         FUNISEARCH
          . 1780 BARNES BLVD SW
            ThMWATER, WA 98512

         L                                                                                     _J                THE ABOVE SPACE IS FOR FILING OFFICE USE ONLY
     1. DEBTOR'S NAME: mould' orgyCos Debts name (I• or lb) (Loa tact, LS harm do riel erna. motley, or abbreviatethypen oldie nebtoye nthris); II any part of the idict:1ml Deblorb
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          Is. ORGANIZATIONS NAME
          CommWorks Solutions, LLC
     OR
          lb. INDMDUN.S SURNAME                                                        FIRST PERSON4LNMIE                            ADDITIONAL NAMEMANTIAL(S)            SUFFIX


     1c. MAILING ADDRESS                                                               CITY                                          STATE    POSTAL CODE                 COUNTRY
      44 Milton Avenue, Suite 254                                                      Alpharetta                                    GA       30009                        USA
     2. DEBTOR'S NAME; Fleas only Dis Debtor name (2e or 2b) (use mob hsk n sn do not emit inocliG. of 'theorists any part of the Debtor's name); If any pat of the MARIAM Debtors
        name Wd the II In hoe 2b, Nave al darn 2 bleat, check here O and provide the Individual Debtor Infoimation In Mini° li the Financing GU arrieM Addendum (Form UCCIAS
          2a.ORGANDATIONS NAME

     OR
          2b. INDNIDUALS SURNAME                                                       FIRST PERSONAL/CARE                           ADDITIONAL NALIE(SylNITIALUN         SUFFIX


     2th AIMUNGADDRES6                                                                 CITY                                          STATE    POSTAL CODE                 COUNTRY


     3. SECURED PARTY'S NAME for tame a Aaslarcr al ASSIGNOR SECURED PARTY): Fthydde onlyafte Secured NM/1M Pe a OIS
         3a. ORGANIZAM/CS NAME
          Intellectual Ventures Assets 130 LW
     u    3b. WONG/UAL" SURNAME                                                        FIRST PERSONAL NAME                           ADDITIONAL NAMEMANITLAL(S)           SUFFIX


     do. IlAIUNG ADDRESS                                                               CITY                                          STATE    POSTAL CODE                 COUNTRY
      251 Little Falls Drive                                                           Wilmington                                    DE       19808                        USA
     4. COLLATERAL. This Marring sialoment caws the loathers a/Debut
 —    A first priority security interest in all Collateral to secure all present and future payment and performance obligations of
      Debtor to Secured Party or any of Secured Party's affiliates, Including, without limitation, Debtor's obligations under the
      PSA (collectively, the "Obligations"). "Collateral" means the Assigned Patent Rights and the Certain Other Assets, and all
      Revenue (as such term Is defined In the PSA).

      It is understood and agreed that any Revenue that is properly distributed to either Secured Party or any of Secured Party's
      Affiliates or Debtor and/or Its Affiliates in accordance with the terms and conditions of the PSA are not considered
      Collateral under this Security Interest Addendum.

      Additional Collateral Included on Attachment A.



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     8. OPTIONAL FILER REFERENCE DATA:


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     FILING OFFICE COPY — UCC FINANCING STATEMENT (Form UCC1) (Rev. 04/20/11)
Case 1:21-cv-01323-CFC Document 1-1 Filed 09/17/21 Page 418 of 440 PageID #: 467




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                      ATTACHMENT A TO UCC FINANCING STATEMENT
                            DEBTOR: CommWorks Solutions, LLC
                      SECURED PARTY: Intellectual Ventures Assets 130 LLC

       "Assigned Patent Rights" means (a) the patents and patent applications listed below; (13) any future
       reissues, reexaminations, extensions, continuations, continuing prosecution applications, requests for
       continuing examinations, divisions, and registrations of any of the items described in (a); (c) rights to
       apply in any or all countries of the world for future patents, certificates of invention, utility models,
       industrial design protections, design patent protections, or other future governmental grants or issuances
       of any type related to any of the items in (a) and/or (b); (d) rights to make, have made, use, sell, offer for
       sale, import, and otherwise commercialize any product or service under, or on account of, any of the
       items described in any of the foregoing categories (a), (b), or (c); and (e) exclusive right to bring causes of
       action and enforcement tights of any kind under, or on account of, any of the items described in any of the
       foregoing categories (a), (b), or (c), including, without limitation, all causes of action, enforcement rights
       and all other rights to seek and obtain any other remedies of any kind for past, current and future
       infringement.

         Patent/                    Issue Date/
         Application Number Country Flling Date                Title of Patent and Inventor(e

         6721787                    US           4/13/2004     SYSTEM AND METHOD FOR WIRELESS
                                                               HOT-SYNCHRONIZATION OF A
         (09/501204)                             (2/10/2000)   PERSONAL DIGITAL ASSISTANT

                                                               James Scott Hiscock

         J1'4294829                 JP           4/17/2009     MOBILE NETWORK SYSTEM AND
                                                               SERVICE CONTROL INFORMATION
         (JP2000-125968)                         (4/26/2000)   REVISION METHOD                                 .

                                                               KAKEMIZU MITSUAKI

         DE60121094.8               DE           6/28/2006     Mobile network system and service control
                                                               information changing method
         (DE60121094.8)                          (1/31/2001)
                                                               KAKEMIZU MITSUAKI (IP)

         FRI 150530                 FR .         6/28/2006     Mobile network system and service control
                                                               information changing method
         (FR01102111.0)                          (1/31/2001)
                                                               KAKEMIZU MITSUAKI (IP)

         GB1150530                  GB           6/28/2006     Mobile network system and service control
                                                               information changing method
        (GB01102111.0)                           (1/31/2001)
                                                               KAKEMIZU MITSUAKI (JP)



      ATTACHMENT A TO UCC FINANCING STATEMENT
      DEBTOR: CommWorla Solution; LLC
      SECURED PARTY: Intellectual Ventures Asseil 130 LLC
      Paso 1of 23
Case 1:21-cv-01323-CFC Document 1-1 Filed 09/17/21 Page 419 of 440 PageID #: 468




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          Patent/                    Issue Date/
          Application Number Country Filing Date                 Title of Patent and Inventors

          6917605                    US           7/12/2005      MOBILE NETWORK SYSTEM AND
                                                                 SERVICE CONTROL INFORMATION
          (09/770019)                             O/25/2001)     CHANGING METHOD

                                                                 Kakemizu, Mitsuaki

          8160863                    US           4/17/2012      System and method for connecting a logic circuit
                                                                 simulation to a network
         (10/044217)                              (11/19/2001)
                                                                 Robert M. Zeidman

         7835897                     US           11/16/2010     APPARATUS AND METHOD FOR
                                                                 CONNECTING HARDWARE TO A CIRCUIT
         (11/557064)                              (11/6/2006)    SIMULATION

                                                                 Robert Marc Zeidman

         RE42227                     US           3/15/2011      Apparatus and method for connecting hardware
                                                                 to a circuit simulation
         (12/481943)                              (6/1W2009)
                                                                 Robert Maro Zeidman

         8195442                     US           6/5/2012       APPARATUS AND METHOD FOR
                                                                 CONNECTING HARDWARE TO A CIRCUIT
         (12/946721)                              (11/15/2010)   SIMULATION

                                                                 Robert Marc Zeidman

         8380481                     US           2/19/2013      CONVEYING DATA FROM A HARDWARE
                                                                 DEVICE TO A CIRCUIT SIMULATION
         (13/487750)                              (6/4/2012)
                                                                 Robert Marc Zeidman

         7069483                     US           6/27/2006      System and method for identifying nodes in a
                                                                 wireless mesh network
         (10/437128)                              (5/13/2003)
                                                                 Michael P. Nova

         JP4874550                   JP           12/2/2011      System and method for routing packets in a
                                                                 wired or wireless network
         (JP2004.572210)                          (10/31/2003)
                                                                 GILLIES DONALD W




       ATTACHMENT A TO UCC FINANCING STATEMENT
       DEBTOR: CommWorla Solutions, LLC
       SECURED PARTY: Intellectual Ventures Assets 130 LLC
       Page 2 of 23
Case 1:21-cv-01323-CFC Document 1-1 Filed 09/17/21 Page 420 of 440 PageID #: 469




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                                                                                           O6O2O1 9-O9451

          Patent/                      Issue Date/
          Application Number Country • Filing Date              Title of Patent and Invent . .

          JP4369374                 IP            11/18/2009    SYSTEM AND METHOD FOR BOUNDRY
                                                                SCAN TEST OF WIRED OR WIRELESS
          (JP2004-572211)                        (10/31/2003)   NETWORK

                                                                WANG WEILIN

         7852796                    US           12/14/2010     DISTRIBUTED MULTICHANNEL
                                                                WIRELESS COMMUNICATION
         (11/420668)                             (5/26/2006)
                                                                Xudong Wang
         7835372                    US           11/16/2010     System and Method for Transparent Wireless
                                                                Bridging of Communication Channel Segments
         (11/421998)                             (6/2/2006)
                                                                Weilin Wang

         7451365                    US           11/11/2008     System and Method for Identifying Nodes in a
                                                                Wireless Network
         (11/425114)                             (6/19/2006)
                                                                Donald W. Gullies

         7957356                    US           6/7/2011       SCALABE MEDIA ACCESS CONTROL FOR
                                                                MULTI-HOP HIGH BANDWIDTH
         (11/462663)                             (8/4/2006)     COMMUNICATIONS

                                                                Xudong Wang

         7941149                    US           5/10/2011      Multi-Hop Ultra Wide Band Wireless Network
                                                                Communication
         (11/615582)                             (12/22/2006)
                                                                Weilin Wang

         8175613                    US           5/8/2012       SYSTEMS AND METHODS FOR
                                                                DETERMINING LOCATION OF DEVICES
         (11/741630)                             (4/27/2007)    WITHIN A WIRELESS NETWORK

                                                                Chao Gui

         8780770                    US           7/15/2014      SYSTEMS AND METHODS FOR VOICE
                                                                COMMUNICATION OVER A WIRELESS
         (11/741637)                             (4/27/2007)    NETWORK

                                                                Weiguang Shi




       ATTACHMENT A TO 11CC FINANCING STATEMENT
       DFJITOR: CommWorks Solutions, LLC
       SECURED PARTY: Inlelleclual Ventures Anal' 130 LLC
       Page 3 of 23
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         Patent/                                  Issue Date/
           ',Hermon Number           Country      Filbtg Date    Title of Patent and Inventor

         8611320                     US           12/17/2013     SCALABLE MEDIA ACCESS CONTROL
                                                                 FOR MULTI-HOP HIGH BANDWIDTH
         (12/950558)                              (11/19/2010)   COMMUNICATIONS

                                                                 Weilin Wang

         9554304                     US           1/24/2017      SCALABLE MEDIA ACCESS CONTROL
                                                                 FOR MULTI•HOP HIGH BANDWIDTH
         (14/090760)                              (11/26/2013)   COMMUNICATIONS

                                                                 Xudong Wang

         9930575                     US           3/27/2018      SCALABLE MEDIA ACCESS CONTROL
                                                                 FOR MULTI-HOP HIGH BANDWIDTH
         (15/409896)                              (1/19/2017)    COMMUNICATIONS

                                                                 Wallin Wang

         7092986                     US           8/15/2006      Transparent mobile      agent

         (10/067278)                              (2/7/2002)     Wang, Mei Na

         RB43704                     US           10/2/2012      Determining and provisioning paths within a
                                                                 network of communication elements
         (12/608732)                              (10/29/2009)
                                                                 Gupta, Sanyogita

         7760664                    US            7/20/2010      Determining and provisioning paths in a network

         (11/101136)                              (4/7/2005)     Sanyogita Gupta

         CA2581734                  CA            8/28/2012      Determining and provisioning paths in a network

         (CA2581734)                              (9/28/2005)    Sanyogita Gupta

         DE602005053126.2           DE            11/22/2017     Determining and provisioning paths in a network

         (DE602005053126.2)                       (9/28/2005)    Sanyogita Gupta

         GB1797670                  GB            11/22/2017     Determining and provisioning paths in a network

         (GB05857725.5)                           (9/28/2005)    Sanyogita Gupta

         IP4777990                   JP           7/8/2011       Determining and provisioning paths in a network

         (IP2007.534687)                          (9/28/2005)    Sanyogita Gupta

       ATTACHMENT A TO UCC FINANCING STATEMENT
       DEBTOR: CommWorks Solutions, LEO
       SECURED PARTY: I atelledual VenturesAsset s 130 LLC
       Paged of 23
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          Patent/                   Issue Date/
          Ap Matters Number Country Filing Date                 Title of Patent and Inventor(s)

          6836466                    US            12/28/2004   Method and system for measuring IP
                                                                performance metrics
          (09/579371)                             (5/26/2000)
                                                                Krishna Kant

          6775253                    US           8/10/2004     Adaptive signaling for wireless packet telephony

          (09/512644)                             (2/24/2000)   Prathima Agrawal

         6628943                     US           9/30/2003     Mobility management utilizing active address
                                                                propagation
         (09/512645)                              (2/24/2000)
                                                                Prathima Agrawal

         6788660                     US           9/7/2004      Adaptive mobile signaling for wireless intemet
                                                                telephony
         (09/512646)                              (2/24/2000)
                                                                Prathima Agrawal

         6487406                     US           11/26/2002    PCS-to-mobile IP internetworking

         (09/545619)                              (4/10/2000)   Li-Fung Chang

         TWIl 83532                  TW           8/11/2003     PCS-to-mobile IP intemetworking

         (TWO8911O383)                            (5/29/2000)   Chang, Li-Fung

         CA231O783                   CA           2/3/2004      PCS-to-mobile IP intemetworking

         (CA231O783)                              (6/6/2000)    Chang, Li-Fung

         6490259                     US           12/3/2002     Active link layer and intra-domain mobility for
                                                                IP networks
         (09/512514)                              (2/24/2000)
                                                                AGRAWAL PRATHIMA

         RE42883                     US           11/1/2011     Enhanced Phone-Based Collaboration.

         (12/001975)                              O2/13/2007)   Korycki, lactic

         6985724                     US           1/10/2006     Device for transmitting data and control
                                                                commands via radio connections in a distributed
         (10/239763)                              (2/27/2001)   control system for one or more machines and/or
                                                                processes

                                                                Fredriksson, Lars-Bemo

       ATTACHMENT A TO UCC FINANCING STATEMENT
       DEBTOR: CoaunWorks Solutions, LLC
       SECURED PARTY: Intellectual Ventures Assets 130 LLC
       Page 5 of 23
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          Patent/                    Issue Date/
          Application Number Country Flling Date                .Title of Patent and Inventor

          6857007                   US           2/15/2005      Personal digital assistant facilitated
                                                                communication system
          (09/723349)                            (11/27/2000)
                                                                BloomfielLMark C.

          8224909                   US           7/17/2012      Personal digital assistant facilitated
                                                                communication system
          (12/369785)                            (2/12/2009)
                                                                Bloomfield, Mark C.

         8533278                    US           9/10/2013      Mobile computing device based communication
                                                                systems and methods
         (13/490403)                             (6/6/2012)
                                                                Mark C. Bloomfield

          6891807                   US           5/10/2005      Time based wireless access provisioning

         (10/341847)                            (1/13/2003)     Roskind, James A.

         7177285                    US          2/13/2007       Time based wireless access provisioning

         (10/961959)                            (10/8/2004)     Roskind, James A.

         7463596                    US           12/9/2008      TIME BASED WIRELESS ACCESS
                                                                PROVISIONING
         (11/673513)                            (2/9/2007)
                                                                Roskind, James A.

         7911979                    US          3/22/2011       Time Based Access Provisioning System and
                                                                Process
         (12/323399)                            (11/25/2008)
                                                                James A. Roskind

         7051116                    US          5/23/2006       Client device identification when
                                                                communicating through a network address
         (09/983042)                            (10/22/2001)    translator device

                                                                Rodriguez-Val, Richard

         7484005                   US           1/27/2009       Client device identification when
                                                                communicating through a network address
         (11/351116)                            (2/10/2006)     translator device

                                                                Richard Rodriguez-Val



       ATTACHMENT A TO UCC F1NANCINC STATEMENT
       DEBTOR: Comm Works Solutions, LLC
       SECURED PARTY: Intellectual Venture. Ands 130 LLC
       Pago 6 of 23
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          Patent/                    Issue Date/
          Application Number Country Filing Date                Title of Patent and Inventor

          7814230                   US           10/12/2010     Client device identification when
                                                                communicating through a network address
          (12/337854)                            (12/18/2008)   translator device

                                                                Rodriguez-Val, Richard

          6775258                   US          8/10/2004       Apparatus, and associated method, for muting
                                                                packet data in an ad hoc, wireless
          (09/527786)                           (3/17/2000)     communication system

                                                                Van Valkenburg, Sander

          6865237                   US           3/8/2005       Method and system for digital signal
                                                                transmission
          (09/676373)                           (9/29/2000)
                                                                Boariu, Adrian

          7006579                   US          2/28/2006       ISI-robust slot formats for non-orthogonal-based
                                                                space-time block codes
          (10/023924)                           (12/18/2001)
                                                                Kuehl, Kiran

          DE60123282.8              DE          9/20/2006       Transmitting digital signal

          (DE01273305.1)                        (12/19/2001)    Tirkkonen, Olav

          GB1350354                 GB          9/20/2006       Transmitting digital signal

          (GB01273305.1)                        (12/19/2001)    Tirkkonen, Olav

          8031800                   US          10/4/2011       Transmitting digital signal

          (10/450997)                           (12/19/2001)    Tirkkonen, Olav

          DE60244331.8              DE          1/2/2013        Transmission method

          (DE60244331,8)                        (6/24/2002)     Tirkkonen, Olav

          FR1405453                 FR          1/2/2013        Transmission method

          (FR02743313.5)                        (6/24/2002)     Tirkkonen, Olav

          GB1405453                 GB          1/2/2013        Transmission method

          (OB02743313.5)                      _ (6/24/2002)     Tirkkonen, Olav


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        DEBTOR! CruninWorke Solution; LLC
        SECURED PARTY: Intellectual Ventura Ands 130 LLC
        Page 7 of 23
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        Patent/                                 Issue Date/
        Application Number Country              Filing Date     Title of Patent and Inventor(s)

        7460609                    US           12/2/2008       Transmission method using complex channel
                                                                symbols
        (10/739017)                             (12/19/2003)
                                                                Tirkkonen, Olav

        7355961                    US           4/8/2008        Method and arrangement for digital signal
                                                                transmission using layered space-time codes
        (11/070624)                             (3/2/2005)
                                                                Tirkkonen, Olav

         RE43746                    US           10/16/2012     Method and radio system for digital signal
                                                                transmission using complex space-time codes
         (13/166702)                            (6/22/2011)
                                                                Tirkkonen, Olav

         7061379                    US           6/13/2006      RFID system and method for ensuring safety of
                                                                hazardous or dangerous substances
        (10/301846)                              (11/21/2002)
                                                                Chen, Fung-Jou

         6724883                    US           4/20/2004      Processing of data message in a network element
                                                                of a communications network
         (09/660133)                             (9/12/2000)
                                                                Lehtinen, Pekka

         CNZL00808958.2             CN           11/10/2004     INITIATING A CONTROLLING SERVICE

         (CN00808958.2)                          (6/13/2000)    Tuunanen. Heikki

         DE60042650.5               DE           7/2912009      CALL SET-UP CONTROL IN AN
                                                                INTELLIGENT NETWORK BY
         (DE60042650.5)                          (6/13/2000)    CONDITIONAL INITIATION OF MORE
                                                                THAN ONE CONTROLLING SERVICE

                                                                Tuunanen, Heikki

         ES1192811                  ES           7/29/2009      CALL SET-UP CONTROL IN AN
                                                                INTELLIGENT NETWORK BY
         (ES00942154.6)                          (6/13/2000)    CONDITIONAL INITIATION OF MORE
                                                                THAN ONE CONTROLLING SERVICE

                                                                Tuunanen, Heikki




       ATTACHMENT ATO UCC FINANCING STATEMENT
       DEBTOR: CommWorks Solutions, LLC
       SECURED PARTY: Intellectual Ventures Auets 130 LLC
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                                                                                              O6O2O1 9-O9451

          Patent/                                Issue Date/
          Application Number Country             Filing Date    Title of Patent and Inventors

          GB1192811                 GB           7/29/2009      Call set-up control in an intelligent network by
                                                                conditional initiation of more than one
          (GB00942154.6)                         (6/13/2000)    controlling service

                                                                Tuunanen, Heikki

         111192811                  IT           7/29/2009      INITIATING A CONTROLLING SERVICE

          (IT00942154.6)                         (6/13/2000)    Tuunanen, Heikki

          6594356                   US           7/15/2003      Initiating a controlling service

         (10/014918)                             (12/14/2001)   Tuunanen, Heikki

          7027465                   US           4/11/2006      Method for contention free traffic detection

         (10/167986)                             (6/11/2002)    Hautala Petri

         RE44904                    US           5/20/2014      A METHOD FOR CONTENTION FREE
                                                                TRAFFIC DETECTION
         (13/171882)                             (6/29/2011)
                                                                Hautala Petri

         7209950                    US           4/24/2007      Method and apparatus for a network independent
                                                                short message delivery system      '
         (09/921167)                             (8/2/2001)
                                                                Simon Bennett

         7224642                    US          5/29/2007       Wireless sensor data processing systems

         (11/340733)                            (1/26/2006)     Bao Q. Tran

         6980089                    US          12/27/2005      Non-intrusive coupling to shielded power cable

         (09/924730)                            (8/8/2001)      Paul A. Kline

         7245201                    US          7/17/2007       Power line coupling device and method of using
                                                                the same
         (10/947929)                            (9/23/2004)
                                                                Paul A. Kline

         7248148                    US          7/24/2007       Power line coupling device and method of using
                                                                the same
         (11/265230)                            (11/3/2005)
                                                                Paul A. Kline


       ATTACHMENTA TO UCC FINANCING STATEMENT
       DEBTOR: CommWorlin Solutions, LLC
       SECURED PARTY; Intelleauel Ventura Assets t3e LLC
       Page 9 of 23
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                                                                                              O6'12O19-O5451

          Patent/                    Issue Date/
          Application Number Country Filing Date                Title of Patent and Invento s

          6956941 •                 US            10/18/2005    METHOD AND SYSTEM FOR
                                                                SCHEDULING INBOUND INQUIRIES
          (09/547627)                             (4/12/2000)
                                                                Daniel N. Duncan

          6859529                    US          2/22/2005      Method and system for self-service scheduling
                                                                of inbound inquiries
         (10/082386)                             (2/25/2002)
                                                                Daniel N. Duncan

         6456764                     US          9/24/2002      Optical directional coupler

         (09/668372)                             (9/25/2000)    Hideaki Okayama

         6804713                    US           10/12/2004     Operational supervisory system for a server

         (09/549687)                             (4/14/2000)    Miwa Nishio

         6335821                    US •         1/1/2002       Optical fiber amplifier and a method for
                                                                controlling the same
         (09/501606)                             (2/1W2000)
                                                                Mikiya Suzuki

         6483634                    US           11/19/2002     Optical amplifier

         (09/662904)                             (9/15/2000)    Andrew It Pratt

         6427037                    US           7/30/2002      Two-stage optical switch circuit network

         (09/497235)                             (2/3/2000)     Hideaki Okayama

         6901437                    US           5/31/2005      Mobile cache for dynamically composing user-
                                                                specific information
         (09/684047)                             (10/6/2000)
                                                                Benjamin Bin Li

         9648122                    US           5/9/2017       Mobile cache for dynamically composing user-
                                                                specific information
         (11/133755)                             (5/19/2005)
                                                                Benjamin Bin Li

         10051077                   US           8/14/2018      Mobile cache for dynamically composing user-
                                                                specific information
         (15/486546)                             (4/13/2017)
                                                                Benjamin Bin Li


       ATTACHMENT A TO UCC FINANCING STATEMENT
       DEBTOR: CommWorks Solution', LLC
       SECURED PARTY: Intellectual Ventures Amigo 130 LLC
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        "Certain Other Assets"

          Patent/                              Issue Date/
          Application Number           Country Filing Date        Title of Patent and In ento s
          EP1150530                    EP      6/28/2006          Mobile network system and service control
                                                                  information changing method
          (EP01102111.0)                           (1/31/2001)
                                                                  1CAICEMIZU MITSUAKI (JP)
          SE1150530                    SE          6/28/2006      Mobile network system and service control
                                                                  information changing method
          (SE01102111.0)                           (1/31/2001)
                                                                  KA10EMIZU MITSUAKI (JP)
         (60/193169)                  US                          Method for connecting a hardware emulator to
                                                   (3/28/2000)    a network

                                                                  Robert M. Zeidman
         7050962                      US           5/23/2006      Method for connecting a hardware emulator to
                                                                  a network
         (09/751573)                               (12/28/2000)
                                                                  Robert M. Zeidman
         7266490                      US           9/4/2007       Apparatus and method for connecting
                                                                  hardware to a circuit simulation
         (10/158648)                               (5/31/2002)
                                                                  Robert Marc Zeidman
         (10/158772)                  US                          Apparatus and method for connecting a
                                                                  hardware emulator to a computer peripheral
                                                   (5/31/2002)
                                                                  Robert Marc Zeidman
         (11/557057)                  US                          APPARATUS AND METHOD FOR
                                                                  CONNECTING A HARDWARE
                                                   (11/6/2006)    EMULATOR TO A COMPUTER
                                                                  PERIPHERAL

                                                                  Robert Marc Zeidman
         (11/557053)                  US                          SYSTEM AND METHOD FOR
                                                                  CONNECTING A LOGIC CIRCUIT
                                                   (11/6/2006)    SIMULATION TO A NETWORK

                                                                  Robert M. Ziedman




       ATTACHMENT A TO UCC FINANCING STATEMENT
       DEBTOR: ComnaVorks Solutions, LLC
       SECURED PARTY: Intellectual Ventures Assets 130 LLC
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          Patent/                             Issue Date/
          Application Number          Country Filing Date        Title of Patent and Inventor(s)
          (13/766960)                 US                         CONVEYING DATA FROM A
                                                                 HARDWARE DEVICE TO A CIRCUIT
                                                   (2/14/2013)   SIMULATION

                                                                 Robert Marc Zeidman
          (60/380425)                 US                         Low cost, minimal software footprint, self
                                                                 configuring, ad hoc, autonomic networking
                                                   (5113/2002)   apparatus and method of use

                                                                 Michael P. Nova
          (10/437129)                 US                         SYSTEMS AND METHODS FOR ROUTING
                                                                 PACKETS IN A WIRED OR WIRELESS
                                                  (5/13/2003)    NETWORK

                                                                 Michael P. Nova
          (PCIYUS2003/034799) WO                                 SYSTEM AND METHOD FOR ROUTING
                                                                 PACKETS IN A WIRED OR WIRELESS
                                                  (10/31/2003)   NETWORK

                                                                 DILLIES DONALD W
          (CN200380110363.0)          CN                         System and method for routing packets in a
                                                                 wired or wireless network
                                                  (10/31/2003)
                                                                 DILLIES DONALD W WANG WEILIN N
          (3P03778062.4)              EP                         SYSTEM AND METHOD FOR ROUTING
                                                                 PACKETS IN A WIRED OR WIRELESS
                                                  (10/31/2003)   NETWORK

                                                                 GILLIES DONALD W
          (PCIYUS2003/034884) WO                                 SYSTEM AND METHOD FOR BOUNDRY
                                                                 SCAN TEST OF A WIRED OR. WIRELESS
                                                  (10/31/2003)   NETWORK

                                                                 NOVA MICHAEL P
          (CN200380110362,6)          CN                         SYSTEM AND METHOD FOR BOUNDRY
                                                                 SCAN TEST OF WIRED OR WIRELESS
                                                  (10/31/2003)   NETWORK

                                                                 DILLIES DONALD W WANG WBILIN N

        ATTACHMENT A TO UCC FINANCING STATEMENT
        DEBTOR: CommWorka Solutions LLC
        SECURED PARTY: lotellectual Ventures And. 130 LLC
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           Patent/                             Issue Date/
           Application Number          Country Filing Date        Title of Patent and Inventor(s
           (EP03778075.6)              BP                         SYSTEM AND METHOD FOR BOUNDRY
                                                                  SCAN TEST OF WIRED OR. WIRELESS
                                                   (10/31/2003)   NETWORK

                                                                  WANG WEILIN
          (60/557954)                  US                         Broadband applications for wireless mesh
                                                                  networks
                                                   (3/31/2004)
                                                                  Weilin Wang
          (10/816481)                  US                         Systems and methods for congestion control in
                                                                  a wireless mesh network
                                                   (4/1/2004)
                                                                  Michael P. Nova
          (11/076738)                  US                         Distributed TDIvIA for wireless mesh network

                                                   (3/9/2005)     Weilin Wang
          (11/095349)                  US                         SYSTEMS AND METHODS FOR
                                                                  BROADBAND DATA COMMUNICATION
                                                   (3/31/2005)    IN A WIRELESS MESH NETWORK

                                        •                         Weilin Wang
          (60/747409)                  US                         Distributed Multi-Channel TDMA MAC for
                                                                  Wireless Mesh Networks
                                                   (5/16/2006)
                                                                  Xudong Wang
          (PCT/US2007/069031) WO                                  DISTRIBUTED MULTICHANNEL
                                                                  WIRELESS COMMUNICATION
                                                   (5/16/2007)
                                                                  GUI CHAO
          (PCIYUS2007/070225) WO                                  SYSTEM AND METHOD FOR
                                                                  TRANSPARENT WIRELESS BRIDGING OF
                                                   (6/1/2007)     COMMUNICATION CHANNEL
                                                                  SEGMENTS

                                                                  RIMMER JAMES




        ATTACHMENT A TO UCC FINANCING STATEMENT
        DEBTOR: CommWorla SolutIona, LLC
        SECURED PARTY: Intellectual Ventures Anita 130 LLC
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          Patent/                      Issue Date/
          Application Number • Country Filing Date            Title of Patent and Inventors
          (15/935928)          US                             SCALABLE MEDIA ACCESS CONTROL
                                                              FOR MULTI-HOP HIGH BANDWIDTH
                                                (3/26/2018)   COMMUNICATIONS

                                                              Wallin Wang
          7289456                   US          10/30/2007    Determining and provisioning paths within a
                                                              network of communication elements
          (10/118187)                           (4/8/2002)
                                                              Gupta, Sanyogita
          (60/614609)               US                        Modeling of topology connectivity map for
                                                              efficient layer 1 routing
                                                (9/30/2004)
                                                              Sanyogita Gupta
          (PCT/US2005/034418) WO                              Determining and provisioning paths in a
                                                              network
                                                (9/28/2005)
                                                              Sanyogita Gupta
          EP1797670                 EP          11/22/2017    Determining and provisioning paths in a
                                                              network
          (EP05857725.5)                        (9/28/2005)
                                                              Sanyogita Gupta
          (60/121552)               US                        Adaptive mobility-aware signaling for wireless
                                                              IP telephony
                                                (2/25/1999)
                                                              Agrawal, Prathima
          (PCT/US2000/004629) WO                (2/24/2000)   Adaptive signaling and mobility for wireless
                                                              telephony

                                                              Agrawal, Prathima
          (60/139471)               US                        PCS-to-mobile IP internetworking

                                                (6/16/1999)   Chang, Li-Fung
          (PCT/US2000/014059) WO                              ACTIVE LINK LAYER AND INTRA-
                                                              DOMAIN MOBILITY FOR ]P NETWORKS
                                                (5/22/2000)
                                                              AGRAWAL PRATHIMA




        ATTACHMENT A TO UCC FINANCING STATEMENT
        DEBTOR: CoromWorke Solution LLC
        SECURED PARTY: Wolk:dud Ventura Assets 130 LLC
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          Patent/                              Issue Date/
          Application Number           Country Filing Date        Title of Patent and Inventor(s)
          (60/485880)                  US                         Enhanced Phone-Based Collaboration

                                                    (7/8/2003)    Korycki, Jacek
          6975622                      US           12/13/2005    Enhanced Phone-Based Collaboration

          (10/756526)                               (1/13/2004)   Korycki, Jacek
          (PCIYUS2004/021407) WO                                  Enhanced Phone-Based Collaboration

                                                    (7/2/2004)    Korycki, Jacek
          SE522377                     SE           2/3/2004      Device for transmitting data and control
                                                                  commands via radio connections in a
          (SE0001148-6)                             (3/31/2000)   distributed control system for one or more
                                                                  machines and/or processes

                                                                  Fredriksson, Lars-Bemo
          (PCT/SE2001/000423)          WO                         Device for transmitting data and control
                                                                  commands via radio connections in a
                                                    (2/27/2001)   distributed control system for one or more
                                                                  machines and/or processes

                                                                  Fredriksson, Lars-Bemo
          HP1269688                    EP           12/21/2011    Device for transmitting data and control
                                                                  commands via radio connections in a
          (EP01910283.9)                            (2/27/2001)   distributed control system for one or more
                                                                  machines and/or processes

                                                                  Fredriksson, Lars-Berno
          DE60145827.3                 DE           12/21/2011    Device for transmitting data and control
                                                                  commands via radio connections in a
          (DE60145827.3)                            (2/27/2001)   distributed control system for one or more
                                                                  machines and/or processes

                                                                  Fredriksson, Lars-Bemo
          FR1269688                    FR           12/21/2011    Device for transmitting data and control
                                                                  commands via radio connections in a
          (FR01910283.9)                            (2/27/2001)   distributed control system for one or more
                                                                  machines and/or processes

                                                                  Fredriksson, Lars-Berno

        ATTACHMENT A TO UCC FINANCING STATEMENT
        DEBTOR: CommWorks Solutions, ESC
        SECURED PARTY: Intellectual Ventures Assets 130 LLC
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         Patent/                              Issue Date/
         Application Number           Country Filing Date         Title of Patent and Inventor(s
         GB1269688                    GB      12/21/2011          Device for transmitting data and control
                                                                  commands via radio connections in a
         (GB01910283.9)                            (2/27/2001)    distributed control system for one or more
                                                                  machines and/or processes

                                                                  Fredriksson, Lars-Bemo

          (60/229317)                 US                          Personal digital assistant based communication
                                                                  system
                                                   (8130/2000)
                                                                  Bloomfield, Mark C.
          (PCT/US2001/023402) WO                                  Personal digital assistant facilitated
                                                                  communication system
                                                   (7/26/2001)
                                                                  Bloomfield, Mark C.
          (10/681562)                 US                          Personal digital assistant facilitated
                                                                  communication system
                                                   (10/8/2003)
                                                                  Bloomfield, Mark C.

          (PCT7US1997/018071) WO                                  Unable to verify

                                                    (10/7/1997)   Unable to Verify
          (PCT/US2004/000860) WO                                  Time based wireless access provisioning

                                                    (1/13/2004)   Roskind, James A.

          (10/542183)                 US                          Time based wireless access provisioning

                                                    (7/13/2005)   Roskind, James

          (60/299454)                  US                         Client device identification when
                                                                  communicating through a network address
                                                    (6/21/2001)   translator device

                                                                  Rodriguez-Val, Richard

          (EP01912047.6)               EP                         Apparatus, and associated method, for routing
                                                                  packet data in an ad hoc, wireless
                                                    (3/13/2001)   communication system

                                                                  Van Valkenburg, Sander



        ATTACHMENT A 70 UCC FINANCING STATEMENT
        DEBTOR, CommWorks Solution; LAX
        SECURED PARTY; Intellectual Ventures Assets 130 LIE
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          Patent/                               Issue Date/
          Application Number            Country Filing Date        Title of Patent and Inventor(,
          (PCT/1132001/000352)          WO                         Apparatus, and associated method, for routing
                                                                   packet data in an ad hoc, wireless
                                                    (3/13/2001)    communication system

                                                                   Van Valkenburg, Sander
          FI112565                     Fl           2003.12-      METHOD AND RADIO SYSTEM FOR
                                                    15_8alesforce DIGITAL SIGNAL TRANSMISSION
          (FI20000406)
                                                    (2/22/2000)    HOTTINEN,ARI
          (60/193402)                  US                          Class of space-time block codes for more than
                                                                   two transmit antennas
                                                    (3/29/2000)
                                                                   &will, Adrian
          (FI20001944)                 Fl                          Method and arrangement for digital signal
                                                                   transmission
                                                    (9/4/2000)
                                                                   Tirkkonen, Olav
          (PCT/FI2000/000916)          WO                          Method and arrangement for digital signal
                                                                   transmission
                                                    (10/23/2000)
                                         •                         Tirkkonen, Olav    •       .
          EP1336268                    BP           7/23/2014      Method and arrangement for digital signal
                                                                   transmission
          (EP00969617,0)                            (10/23/2000)
                                                                   Tirkkonen, Olav
          DE60048671.0                 DE           7/23/2014      Method and arrangement for digital signal
                                                                   transmission
          (DE60048671,0)                            (10/23/2000)
                                                                   Tirkkonen, Olav
          FR11336268                   FR           7/23/2014      Method and arrangement for digital signal
                                                                   transmission
          (FR00969617.0)                            (10/23/2000)
                                                                   Tirkkonen, Olav
          GE1336268                    GB           7/23/2014      Method and arrangement for digital signal
                                                                   transmission
          (GB00969617.0)                            (10/23/2000)
                                                                   Tirkkonen, Olav



        ATTACHMENT A TO UCC FINANCING STATEMENT
        DEBTOR: ConunWorka SOlUtio% LLC
        SECURED PARTY: Intellectual Ventures Assets 130 LLC
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           Patent/                            Issue Date!
           Appilcaticn Number         Country Filing Date        Tide of Patent and Inventors
           (PI20002845)               FI                         Transmitting digital signal
                                              (12/22/2000)
                                                                 Tirkkonen, Olav
           (PCT/FI2001/000166)        WO                         Method and radio system for digital signal
                                                  (2/20/2001)    transmission

                                                                 Tirkkonen, Olav
           (BP01911785.2)             EP                         Method and radio system for digital signal
                                                  (2/20/2001)    transmission

                                                                 Tirkkonen, Olav
           (F120011357)               FI                         Transmitting digital signal
                                                  (6/25/2001)
                                                                 Tirkkonen, Olin,
          (POT/FI2001/001133)         WO                         Transmitting digital signal
                                                  (12/19/2001)
                                                                 Tirkkonen, Olav
          13P1350354                  EP          9/20/2006      Transmitting digital signal

          (BP01273305.1)                          (12/19/2001) Tirkkonen, Olav
          (PCT/FI2002/000553)         WO                         Transmission method
                                                  (6/24/2002)
                                                                 Tirkkonen, Olav
          BP1405453                   BP          1/2/2013       Transmission method

          (EP02743313.5)                          (6/24/2002)    Tirkkonen, Olav
          (10/225457) -              US                          Method and radio system for digital signal
                                                                 transmission
                                                 (8/22/2002)
                                                                 Ad Hottinen
          (10/378068)                US                          Method and arrangement for digital signal
                                                                 transmission
                                                 (3/4/2003)
                                                                 Tirkkonen, Olav
          7477703                    US           1/13/2009      Method and radio system for digital signal
                                                                 transmission using complex space-time codes
          (11/070717)                            (3/2/2005)
                                                                 Tirkkonen, Olav
        ATTACHMENT A TO UCC FINANCING STATEMENT
        DEBTOR, CatamWarks Soludans, LLC
        SECURED PARTY' luta:dual Ventures Aasets 130 LLC
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          Patent/                             Issue Date/
          Application Number          Country Filing Date         Title of Patent and Inventors
          (MX03009987)                MX                          RFID system and method for ensuring safety
                                                                  of hazardous or dangerous substances
                                                   (10/31/2003)
                                                                  Read; Walter Caswell
          F1106507                    FI          2/15/2001       PROCESSING OF DATA MESSAGE INA
                                                                  NETWORK ELEMENT OF A
          (FI980824)                              (4/9/1998)      COMMUNICATIONS NETWORK

                                                                  LEHTTNEN PEICKA
          (PCI1F11999/000300)         WO                          PROCESSING OF DATA MESSAGE IN A
                                                                  NETWORK ELEMENT OF A
                                                  (4/9/1999)      COMMUNICATIONS NETWORK

                                                                  LEHTINEN PEKKA
          FI108604                    FI          2/15/2002       METHOD FOR MANAGING MOBILE
                                                                  STATION FACILITIES
          (FI990963)                              (4/28/1999)
                                                                  Wallenius, Jukka
          (PCT/FI2000/000359)         WO                          METHOD FOR MANAGING MOBILE
                                                                  STATION FACILITIES
                                                  (4/26/2000)
                                                                  Wallenius, Iukka
          (EP00920786.1)              EP                          METHOD FOR MANAGING MOBILE
                                                                  STATION FACILITIES
                                                  (4/26/2000)
                                                                  Wallenius, Jukka
          6975855                     US          12/13/2005      Method for managing mobile station facilities

          (09/958065)                             (4/26/2000)     Wallenius, Jukka
          FI108979                    FI          4/30/2002       INITIATING A CONTROLLING SERVICE

          (P1991360)                              (6/14/1999)     Tuututnen, Heikki
          (PCT/FI2000/000530)         WO                          INITIATING A CONTROLLING SERVICE

                                                  (6/13/2000)     Tuunanen, Heikki




        A'TTACIIMENT A TO UCC FINANCING STATEMENT
        DEBTOR: CommWorlo Solutkm, [IC
        SECURED PARTY: Intelleettol Ventures Audi 130 LLC
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         Patent/                             Issue Date/
         Application Number          Country Filing Date       Title of Patent and Inventor(s
         HP1192811                   HP      7/29/2009         CALL SET-UP CONTROL IN AN
                                                               INTELLIGENT NETWORK BY
         (EP00942154.6)                          (6/13/2000)   CONDITIONAL INITIATION OF MORE
                                                               THAN ONE CONTROLLING SERVICE

                                                               Tuunanen, Heikki
         FR1192811                   FR.         7/29/2009     CALL SET-UP CONTROL IN AN •
                                                               INTELLIGENT NETWORK BY '
         (FR00942154.6)                          (6/13/2000)   CONDITIONAL INITIATION OF MORE
                                                               THAN ONE CONTROLLING SERVICE

                                                               Tuunanen, Heikki
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                                                               HUOTARI SEPPO




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       DEBTOR: CommWo rice Salullons,LI,C
       SECURED PARTY: Intellectual Ventures Amen 130 LW
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         Application Number          Country Flling Date       Title of Patent and Inventor(e
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                                                               SUBSCRIBER SERVICE BY MEANS OF
         (DE69934114.0)                          (5/18/1999)   AN INTELLIGENT NETWORK SERVICE

                                                               Huotari„ Seppo
         ES1080587                   ES          11/22/2006    A METHOD OF MANAGING A
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       DEBTOR: CommWerks Solutions, LLC
       SECURED PARTY: Intelleetua/ Ventura Assets MO LW
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       DEBTOR: ComenWorEs Solutions, LLC
       SECURED PARTY: Intellectual Ventura Assets 130 LLC
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       ATTACHMENT A TO UCC FINANCING STATEMENT
       DESTOR; CarrunWorke Solutions, LW
       SECURED PARTY:Intellectual Ventures Anne 130 LLC
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